     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 1 of 348




              DEPARTMENT OF JUSTICE




                  OFFICE OF
         PROFESSIONAL RESPONSIBILITY

                               REPORT

                           Investigation into the
       U.S. Attorney’s Office for the Southern District of Florida’s
      Resolution of Its 2006–2008 Federal Criminal Investigation of
Jeffrey Epstein and Its Interactions with Victims during the Investigation

                             November 2020



NOTE: THIS REPORT CONTAINS SENSITIVE, PRIVILEGED, AND PRIVACY
ACT PROTECTED INFORMATION. DO NOT DISTRIBUTE THE REPORT OR
ITS CONTENTS WITHOUT THE PRIOR APPROVAL OF THE OFFICE OF
PROFESSIONAL RESPONSIBILITY.
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 2 of 348
        Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 3 of 348




                                     EXECUTIVE SUMMARY

         The Department of Justice (Department) Office of Professional Responsibility (OPR)
investigated allegations that in 2007-2008, prosecutors in the U.S. Attorney’s Office for the
Southern District of Florida (USAO) improperly resolved a federal investigation into the criminal
conduct of Jeffrey Epstein by negotiating and executing a federal non-prosecution agreement
(NPA). The NPA was intended to end a federal investigation into allegations that Epstein engaged
in illegal sexual activity with girls. 1 OPR also investigated whether USAO prosecutors committed
professional misconduct by failing to consult with victims of Epstein’s crimes before the NPA was
signed or by misleading victims regarding the status of the federal investigation after the signing.

I.      OVERVIEW OF FACTUAL BACKGROUND

        The Palm Beach (Florida) Police Department (PBPD) began investigating Jeffrey Epstein
in 2005, after the parents of a 14-year-old girl complained that Epstein had paid her for a massage.
Epstein was a multi-millionaire financier with residences in Palm Beach, New York City, and
other United States and foreign locations. The investigation led to the discovery that Epstein used
personal assistants to recruit girls to provide massages to him, and in many instances, those
massages led to sexual activity. After the PBPD brought the case to the State Attorney’s Office, a
Palm Beach County grand jury indicted Epstein, on July 19, 2006, for felony solicitation of
prostitution in violation of Florida Statute § 796.07. However, because the PBPD Chief and the
lead Detective were dissatisfied with the State Attorney’s handling of the case and believed that
the state grand jury’s charge did not address the totality of Epstein’s conduct, they referred the
matter to the Federal Bureau of Investigation (FBI) in West Palm Beach for a possible federal
investigation.

        The FBI brought the matter to an Assistant U.S. Attorney (AUSA), who opened a file with
her supervisor’s approval and with the knowledge of then U.S. Attorney R. Alexander Acosta.
She worked with two FBI case agents to develop a federal case against Epstein and, in the course
of the investigation, they discovered additional victims. In May 2007, the AUSA submitted to her
supervisors a draft 60-count indictment outlining charges against Epstein. She also provided a
lengthy memorandum summarizing the evidence she had assembled in support of the charges and
addressing the legal issues related to the proposed charges.

        For several weeks following submission of the prosecution memorandum and proposed
indictment, the AUSA’s supervisors reviewed the case to determine how to proceed. At a
July 31, 2007 meeting with Epstein’s attorneys, the USAO offered to end its investigation if
Epstein pled guilty to state charges, agreed to serve a minimum of two years’ incarceration,
registered as a sexual offender, and agreed to a mechanism through which victims could obtain
monetary damages. The USAO subsequently engaged in additional meetings and communications
with Epstein’s team of attorneys, ultimately negotiating the terms of a state-based resolution of the
federal investigation, which culminated in the signing of the NPA on September 24, 2007. The

1
        As used in this Report, including in quoted documents and statements, the word “girls” refers to females who
were under the age of 18 at the time of the alleged conduct. Under Florida law, a minor is a person under the age
of 18.
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 4 of 348




NPA required Epstein to plead guilty in state court to the then-pending state indictment against
him and to an additional criminal information charging him with a state offense that would require
him to register as a sexual offender—specifically, procurement of minors to engage in prostitution,
in violation of Florida Statute § 796.03. The NPA required Epstein to make a binding
recommendation that the state court sentence him to serve 18 months in the county jail followed
by 12 months of community control (home detention or “house arrest”). The NPA also included
provisions designed to facilitate the victims’ recovery of monetary damages from Epstein. In
exchange, the USAO agreed to end its investigation of Epstein and to forgo federal prosecution in
the Southern District of Florida of him, four named co-conspirators, and “any potential
co-conspirators.” Victims were not informed of, or consulted about, a potential state resolution or
the NPA prior to its signing.

         The signing of the NPA did not immediately lead to Epstein’s guilty plea and incarceration,
however. For the next nine months, Epstein deployed his extensive team of prominent attorneys
to try to change the terms that his team had negotiated and he had approved, while simultaneously
seeking to invalidate the entire NPA by persuading senior Department officials that there was no
federal interest at issue and the matter should be left to the discretion of state law enforcement
officials. Through repeated communications with the USAO and senior Department officials,
defense counsel fought the government’s interpretation of the NPA’s terms. They also sought and
obtained review by the Department’s Criminal Division and then the Office of the Deputy Attorney
General, primarily on the issue of federal jurisdiction over what the defense insisted was “a
quintessentially state matter.” After reviewing submissions by the defense and the USAO, on
June 23, 2008, the Office of the Deputy Attorney General informed defense counsel that the
Deputy Attorney General would not intervene in the matter. Only then did Epstein agree to fulfill
his obligation under the NPA, and on June 30, 2008, he appeared in state court and pled guilty to
the pending state indictment charging felony solicitation of prostitution and, pursuant to the NPA,
to a criminal information charging him with procurement of minors to engage in prostitution.
Upon the joint request of the defendant and the state prosecutor, and consistent with the NPA, the
court immediately sentenced Epstein to consecutive terms of 12 months’ incarceration on the
solicitation charge and 6 months’ incarceration on the procurement charge, followed by 12 months
of community control. Epstein began serving the sentence that day, in a minimum-security Palm
Beach County facility. A copy of the NPA was filed under seal with the state court.

        On July 7, 2008, a victim, identified as “Jane Doe,” filed in federal court in the Southern
District of Florida an emergency petition alleging that the government violated the Crime Victims’
Rights Act (CVRA), 18 U.S.C. § 3771, when it resolved the federal investigation of Epstein
without consulting with victims, and seeking enforcement of her CVRA rights. 2 In responding to
the petition, the government, represented by the USAO, revealed the existence of the NPA, but did
not produce it to the petitioners until the court directed it to be turned over subject to a protective
order; the NPA itself remained under seal in the federal district court. After the initial filings and
hearings, the CVRA case was dormant for almost two years while the petitioners pursued civil
cases against Epstein.


2
          Emergency Victim’s Petition for Enforcement of Crime Victim’s [sic] Rights Act, 18 U.S.C. Section 3771,
Doe v. United States, Case No. 9:08-cv-80736-KAM (S.D. Fla. July 7, 2008). Another victim subsequently joined
the litigation as “Jane Doe 2.”


                                                       ii
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 5 of 348




        Soon after he was incarcerated, Epstein applied for the Palm Beach County Sheriff’s work
release program, and the Sheriff approved his application. In October 2008, Epstein began
spending 12 hours a day purportedly working at the “Florida Science Foundation,” an entity
Epstein had recently incorporated that was co-located at the West Palm Beach office of one of
Epstein’s attorneys. Although the NPA specified a term of incarceration of 18 months, Epstein
received “gain time,” that is, time off for good behavior, and he actually served less than 13 months
of incarceration. On July 22, 2009, Epstein was released from custody to a one-year term of home
detention as a condition of community control, and he registered as a sexual offender with the
Florida Department of Law Enforcement. After victims and news media filed suit in Florida courts
for release of the copy of the NPA that had been filed under seal in the state court file, a state judge
in September 2009 ordered it to be made public.

        By mid-2010, Epstein reportedly settled multiple civil lawsuits brought against him by
victims seeking monetary damages, including the two petitioners in the CVRA litigation. During
the CVRA litigation, the petitioners sought discovery from the USAO, which made substantial
document productions, filed lengthy privilege logs in support of its withholding of documents, and
submitted declarations from the AUSA and the FBI case agents who conducted the federal
investigation. The USAO opposed efforts to unseal various records, as did Epstein, who was
permitted to intervene in the litigation with respect to certain issues. Nevertheless, the court
ultimately ordered that substantial records relating to the USAO’s resolution of the Epstein case
be made public. During the course of the litigation, the court made numerous rulings interpreting
the CVRA. After failed efforts to settle the case, the parties’ cross motions for summary judgment
remained pending for more than a year.

       In 2017, President Donald Trump nominated Acosta to be Secretary of Labor. At his
March 2017 confirmation hearing, Acosta was questioned only briefly about the Epstein case. On
April 17, 2017, the Senate confirmed Acosta’s appointment as Labor Secretary.

        In the decade following his release from incarceration, Epstein reportedly continued to
settle multiple civil suits brought by many, but not all, of his victims. Epstein was otherwise able
to resume his lavish lifestyle, largely avoiding the interest of the press. On November 28, 2018,
however, the Miami Herald published an extensive investigative report about state and federal
criminal investigations initiated more than 12 years earlier into allegations that Epstein had coerced
girls into engaging in sexual activity with him at his Palm Beach estate. 3 The Miami Herald
reported that in 2007, Acosta entered into an “extraordinary” deal with Epstein in the form of the
NPA, which permitted Epstein to avoid federal prosecution and a potentially lengthy prison
sentence by pleading guilty in state court to “two prostitution charges.” According to the Miami
Herald, the government also immunized from prosecution Epstein’s co-conspirators and
concealed from Epstein’s victims the terms of the NPA. Through its reporting, which included
interviews of eight victims and information from publicly available documents, the newspaper
painted a portrait of federal and state prosecutors who had ignored serious criminal conduct by a
wealthy man with powerful and politically connected friends by granting him a “deal of a lifetime”
that allowed him both to escape significant punishment for his past conduct and to continue his

3
        Julie K. Brown, “Perversion of Justice,” Miami Herald, Nov. 28, 2018. https://www.miamiherald.com/
news/local/article220097825 html.


                                                   iii
          Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 6 of 348




abuse of minors. The Miami Herald report led to public outrage and media scrutiny of the
government’s actions. 4

        On February 21, 2019, the district court granted the CVRA case petitioners’ Motion for
Partial Summary Judgment, ruling that the government violated the CVRA in failing to advise the
victims about its intention to enter into the NPA.5 The court also found that letters the government
sent to victims after the NPA was signed, describing the investigation as ongoing, “mislead [sic]
the victims to believe that federal prosecution was still a possibility.” The court also highlighted
the inequity of the USAO’s failure to communicate with the victims while at the same time
engaging in “lengthy negotiations” with Epstein’s counsel and assuring the defense that the NPA
would not be “made public or filed with the court.” The court ordered the parties to submit
additional briefs regarding the appropriate remedies. After the court’s order, the Department
recused the USAO from the CVRA litigation and assigned the U.S. Attorney’s Office for the
Northern District of Georgia to handle the case for the government. Among the remedies sought
by the petitioners, and opposed by the government, was rescission of the NPA and federal
prosecution of Epstein.

        On July 2, 2019, the U.S. Attorney’s Office for the Southern District of New York obtained
a federal grand jury indictment charging Epstein with one count of sex trafficking of minors and
one count of conspiracy to commit sex trafficking of minors. The indictment alleged that from
2002 until 2005, Epstein created a vast network of underage victims in both New York and Florida
whom he sexually abused and exploited. Epstein was arrested on the charges on July 6, 2019. In
arguing for Epstein’s pretrial detention, prosecutors asserted that agents searching Epstein’s
Manhattan residence found thousands of photos of nude and half-nude females, including at least
one believed to be a minor. The court ordered Epstein detained pending trial, and he was remanded
to the custody of the Bureau of Prisons and held at the Metropolitan Correctional Center in
Manhattan.

        Meanwhile, after publication of the November 2018 Miami Herald report, the media and
Congress increasingly focused attention on Acosta as the government official responsible for the
NPA. On July 10, 2019, Acosta held a televised press conference to defend his and the USAO’s
actions. Acosta stated that the Palm Beach State Attorney’s Office “was ready to allow Epstein to
walk free with no jail time, nothing.” According to Acosta, because USAO prosecutors considered
this outcome unacceptable, his office pursued a difficult and challenging case and obtained a
resolution that put Epstein in jail, forced him to register as a sexual offender, and provided victims
with the means to obtain monetary damages. Acosta’s press conference did not end the
controversy, however, and on July 12, 2019, Acosta submitted to the President his resignation as

4
          See, e.g., Ashley Collman, “Stunning new report details Trump’s labor secretary’s role in plea deal for
billionaire sex abuser,” The Business Insider, Nov. 29, 2018; Cynthia McFadden, “New Focus on Trump Labor
Secretary’s role in unusual plea deal for billionaire accused of sexual abuse,” NBC Nightly News, Nov. 29, 2018; Anita
Kumar, “Trump labor secretary out of running for attorney general after Miami Herald report,” McClatchy Washington
Bureau, Nov. 29, 2018; Emily Peck, “How Trump’s Labor Secretary Covered For A Millionaire Sex Abuser,”
Huffington Post, Nov. 29, 2018; Julie K. Brown, et al., “Lawmakers issue call for investigation of serial sex abuser
Jeffrey Epstein’s plea deal,” Miami Herald, Dec. 6, 2018.
5
          Doe v. United States, 359 F. Supp. 3d 1201 (S.D. Fla., Feb. 21, 2019) (Opinion and Order, 9:08-80736-CIV-
Marra).


                                                         iv
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 7 of 348




Secretary of Labor. In a brief oral statement, Acosta explained that continued media attention on
his handling of the Epstein investigation rather than on the economy was unfair to the Labor
Department.

      On August 10, 2019, Epstein was found hanging in his cell and was later pronounced dead.
The New York City Chief Medical Examiner concluded that Epstein had committed suicide.

       As a result of Epstein’s death, the U.S. Attorney’s Office for the Southern District of
New York filed a nolle prosequi to dismiss the pending indictment against Epstein. On
August 27, 2019, the district court held a hearing at which more than a dozen of Epstein’s
victims—including victims of the conduct in Florida that was addressed through the NPA—spoke
about the impact of Epstein’s crimes. The court dismissed the Epstein indictment on
August 29, 2019.

        After Epstein’s death, the federal district court in Florida overseeing the CVRA litigation
denied the petitioners their requested remedies and closed the case as moot. Among its findings,
the court concluded that although the government had violated the CVRA, the government had
asserted “legitimate and legally supportable positions throughout this litigation,” and therefore had
not litigated in bad faith. The court also noted it expected the government to “honor its
representation that it will provide training to its employees about the CVRA and the proper
treatment of crime victims,” as well as honoring its promise to meet with the victims.

        On September 30, 2019, CVRA petitioner “Jane Doe 1” filed in her true name a petition
for a writ of mandamus in the United States Court of Appeals for the Eleventh Circuit, seeking
review of the district court’s order denying all of her requested remedies. In its responsive brief,
the government argued that “as a matter of law, the legal obligations under the CVRA do not attach
prior to the government charging a case” and thus, “the CVRA was not triggered in [the Southern
District of Florida] because no criminal charges were brought.” Nevertheless, during oral
argument, the government conceded that the USAO had not been “fully transparent” with the
petitioner and had “made a mistake in causing her to believe that the case was ongoing when in
fact the NPA had been signed.” On April 14, 2020, a divided panel of the Court of Appeals denied
the petition, ruling that CVRA rights do not attach until a defendant has been criminally charged.
On August 7, 2020, the court granted the petition for rehearing en banc and vacated the panel’s
opinion; as of the date of this Report, a briefing schedule has been issued, and oral argument is set
for December 3, 2020.

II.    THE INITIATION AND SCOPE OF OPR’S INVESTIGATION

        After the Miami Herald published its investigative report on November 28, 2018,
U.S. Senator Ben Sasse, Chairman of the Senate Judiciary Subcommittee on Oversight, Agency
Action, Federal Rights and Federal Courts, sent a December 3, 2018 letter to OPR, citing the Miami
Herald’s report and requesting that OPR “open an investigation into the instances identified in this
reporting of possible misconduct by Department of Justice attorneys.” On February 6, 2019, the
Department of Justice Office of Legislative Affairs advised Senator Sasse that OPR had opened




                                                 v
        Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 8 of 348




an investigation into the matter and would review the USAO’s decision to resolve the federal
investigation of Epstein through the NPA. 6

        After the district court issued its ruling in the CVRA litigation, on February 21, 2019, OPR
included within the scope of its investigation an examination of the government’s conduct that
formed the basis for the court’s findings that the USAO violated the CVRA in failing to afford
victims a reasonable right to confer with the government about the NPA before the agreement was
signed and that the government affirmatively misled victims about the status of the federal
investigation.

        During the course of its investigation, OPR obtained and reviewed hundreds of thousands
of records from the USAO, the FBI, and other Department components, including the Office of
the Deputy Attorney General, the Criminal Division, and the Executive Office for U.S. Attorneys.
The records included emails, letters, memoranda, and investigative materials. OPR also collected
and reviewed materials relating to the state investigation and prosecution of Epstein. OPR also
examined extensive publicly available information, including depositions, pleadings, orders, and
other court records, and reviewed media reports and interviews, articles, podcasts, and books
relating to the Epstein case.

        In addition to this extensive documentary review, OPR conducted more than 60 interviews
of witnesses, including the FBI case agents, their supervisors, and FBI administrative personnel;
current and former USAO staff and attorneys; current and former Department attorneys and senior
managers, including a former Deputy Attorney General and a former Assistant Attorney General
for the Criminal Division; and the former State Attorney and former Assistant State Attorney in
charge of the state investigation of Epstein. OPR also interviewed several victims and attorneys
representing victims, and reviewed written submissions from victims, concerning victim contacts
with the USAO and the FBI.

        OPR identified former U.S. Attorney Acosta, three former USAO supervisors, and the
AUSA as subjects of its investigation based on preliminary information indicating that each of
them was involved in the decision to resolve the case through the NPA or in the negotiations
leading to the agreement. OPR deems a current or former Department attorney to be a subject of
its investigation when the individual’s conduct is within the scope of OPR’s review and may result
in a finding of professional misconduct. OPR reviewed prior public statements made by Acosta
and another subject. All five subjects cooperated fully with OPR’s investigation. OPR requested
that all of the subjects provide written responses detailing their involvement in the federal
investigation of Epstein, the drafting and execution of the NPA, and decisions relating to victim
notification and consultation. OPR received and reviewed written responses from all of the
subjects, and subsequently conducted extensive interviews of each subject under oath and before
a court reporter. Each subject was represented by counsel and had access to relevant
contemporaneous documents before the subject’s OPR interview. The subjects reviewed and
provided comments on their respective interview transcripts and on OPR’s draft report. OPR


6
          The federal government was closed from December 22, 2018, to January 25, 2019. After initiating its
investigation, OPR also subsequently received other letters from U.S. Senators and Representatives inquiring into the
status of the OPR investigation.


                                                         vi
        Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 9 of 348




carefully considered the comments and made changes, or noted comments, as OPR deemed
appropriate; OPR did not, however, alter its findings and conclusions.

        Finally, OPR reviewed relevant case law, statutes, regulations, Department policy, and
attorney professional responsibility rules as necessary to resolve the issues presented in this case
and to determine whether the subjects committed professional misconduct.

        As part of its investigation, OPR examined the interactions between state officials and the
federal investigators and prosecutors, but because OPR does not have jurisdiction over state
officials, OPR did not investigate, or reach conclusions about, their conduct regarding the state
investigation. 7 Because OPR’s mission is to ensure that Department attorneys adhere to the
standards of professional conduct, OPR’s investigation focused on the actions of the subject
attorneys rather than on determining the full scope of Epstein’s and his assistants’ criminal
behavior. Accordingly, OPR considered the evidence and information regarding Epstein’s and his
assistants’ conduct as it was known to the subjects at the time they performed their duties as
Department attorneys. Additional evidence and information that came to light after June 30, 2008,
when Epstein entered his guilty plea under the NPA, did not affect the subjects’ actions prior to
that date, and OPR did not evaluate the subjects’ conduct on the basis of that subsequent
information.

        OPR’s investigation occurred approximately 12 years after most of the significant events
relating to the USAO’s investigation of Epstein, the NPA, and Epstein’s guilty plea. As a result,
many of the subjects and witnesses were unable to recall the details of events or their own or
others’ actions occurring in 2006-2008, such as conversations, meetings, or documents they
reviewed at the time. 8 However, OPR’s evaluation of the subjects’ conduct was aided significantly
by extensive, contemporaneous emails among the prosecutors and communications between the
government and defense counsel. These records often referred to the interactions among the
participants and described important decisions and, in some instances, the bases for them.

III.     OVERVIEW OF OPR’S ANALYTICAL FRAMEWORK

       OPR’s primary mission is to ensure that Department attorneys perform their duties in
accordance with the highest professional standards, as would be expected of the nation’s principal
law enforcement agency. Accordingly, OPR investigates allegations of professional misconduct
against current or former Department attorneys related to the exercise of their authority to

7
         In August 2019, Florida Governor Ron DeSantis announced that he had directed the Florida Department of
Law Enforcement to open an investigation into the conduct of state authorities relating to Epstein. As reported, the
investigation focuses on Epstein’s state plea agreement and the Palm Beach County work release program.
8
          OPR was cognizant that Acosta and the three managers all left the USAO during, or not long after resolution
of, the Epstein case, while the AUSA remained with the USAO until mid-2019. Moreover, as the line prosecutor in
the Epstein investigation and also as co-counsel in the CVRA litigation until the USAO was recused from that
litigation in early 2019, the AUSA had continuous access to the USAO documentary record and numerous occasions
to review these materials in the course of her official duties. Additionally, in responding to OPR’s request for a written
response, and in preparing to be interviewed by OPR, the AUSA was able to refresh her recollection with these
materials to an extent not possible for the other subjects, who were provided with relevant documents by OPR in
preparation for their interviews.


                                                           vii
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 10 of 348




investigate, litigate, or provide legal advice. 9 OPR also has jurisdiction to investigate allegations
of misconduct against Department law enforcement agents when they relate to a Department
attorney’s alleged professional misconduct.

        In its investigations, OPR determines whether a clear and unambiguous standard governs
the challenged conduct and whether a subject attorney violated that standard. Department
attorneys are subject to various legal obligations and professional standards in the performance of
their duties, including the Constitution, statutes, standards of conduct imposed by attorney
licensing authorities, and Department regulations and policies. OPR finds misconduct when it
concludes by a preponderance of the evidence that a subject attorney violated such a standard
intentionally or recklessly. Pursuant to OPR’s analytical framework, when OPR concludes that
(1) no clear and unambiguous standard governs the conduct in question or (2) the subject did not
intentionally or recklessly violate the standard that governs the conduct, then it concludes that the
subject’s conduct does not constitute professional misconduct. In some cases, OPR may conclude
that a subject attorney’s conduct does not satisfy the elements necessary for a professional
misconduct finding, but that the circumstances warrant another finding. In such cases, OPR may
conclude that a subject attorney exercised poor judgment, made a mistake, or otherwise acted
inappropriately under the circumstances. OPR may also determine that the subject attorney’s
conduct was appropriate under the circumstances. 10

IV.      ISSUES CONSIDERED

        In this investigation, OPR considered two distinct sets of allegations. The first relates to
the negotiation, execution, and implementation of the NPA. The second relates to the USAO’s
interactions with Epstein’s victims and adherence to the requirements of the CVRA. The two sets
of issues are described below and are analyzed separately in this Report.

         A.       The Negotiation, Execution, and Implementation of the NPA

       In evaluating whether any of the subjects committed professional misconduct, OPR
considered whether any of the NPA’s provisions violated a clear or unambiguous statute,
professional responsibility rule or standard, or Department regulation or policy. In particular, OPR
considered whether the NPA violated standards relating to (1) charging decisions, (2) declination
of criminal charges, (3) deferred or non-prosecution agreements, (4) plea agreements, (5) grants

9
         28 C.F.R. § 0.39a(a)(1). OPR has authority to investigate the professional conduct of attorneys occurring
during their employment by the Department, regardless of whether the attorney left the Department before or during
OPR’s investigation. Over its 45-year history, OPR has routinely investigated the conduct of former Department
attorneys. Although former Department attorneys cannot be disciplined by the Department, OPR’s determination that
a former Department attorney violated state rules of professional conduct for attorneys could result in a referral to an
appropriate state attorney disciplinary authority. Furthermore, findings resulting from investigations of the conduct
of Department attorneys, even former employees, may assist Department managers in supervising future cases.
10
          In some instances, OPR declines to open an investigation based upon a review of the initial complaint or after
a preliminary inquiry into the matter. In December 2010, one of the attorneys representing victims in the CVRA
litigation raised allegations that Epstein may have exerted improper influence over the federal criminal investigation
and that the USAO had deceived the victims of Epstein’s crimes about the existence of the NPA. Pursuant to its
standard policy, OPR declined to open an investigation into those allegations at that time in deference to the
then-pending CVRA litigation.


                                                         viii
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 11 of 348




of immunity, or (6) the deportation of criminal aliens. The potentially applicable standards that
OPR considered as to each of these issues are identified and discussed later in this Report. OPR
also examined whether the evidence establishes that any of the subjects were influenced to enter
into the NPA, or to include in the NPA terms favorable to Epstein, because of an improper motive,
such as a bribe, political consideration, personal interest, or favoritism. OPR also examined and
discusses in this Report significant events that occurred after the NPA was negotiated and signed
that shed additional light on the USAO’s handling of the Epstein investigation.

       B.      The District Court’s Conclusion That the USAO Violated the CVRA

       To address the district court’s adverse judicial findings, OPR assessed the manner, content,
and timing of the government’s interactions with victims both before and after the NPA was
signed, including victim notification letters issued by the USAO and the FBI and interviews
conducted by the USAO. OPR considered whether any of the subject attorneys violated any clear
and unambiguous standard governing victim consultation or notification. OPR examined the
government’s lack of consultation with the victims before the NPA was signed, as well as the
circumstances relating to the district court’s finding that the USAO affirmatively misled Epstein’s
victims about the status of the federal investigation after the NPA was signed.

V.     OPR’S FINDINGS AND CONCLUSIONS

         OPR evaluated the conduct of each subject and considered his or her individual role in
various decisions and events. Acosta, however, made the pivotal decision to resolve the federal
investigation of Epstein through a state-based plea and either developed or approved the terms of
the initial offer to the defense that set the beginning point for the subsequent negotiations that led
to the NPA. Although Acosta did not sign the NPA, he participated in its drafting and approved
it, with knowledge of its terms. During his OPR interview, Acosta acknowledged that he approved
the NPA and accepted responsibility for it. Therefore, OPR considers Acosta to be responsible for
the NPA and for the actions of the other subjects who implemented his decisions. Acosta’s overall
responsibility for the government’s interactions or lack of communication with the victims is less
clear, but Acosta affirmatively made certain decisions regarding victim notification, and OPR
evaluates his conduct with respect to those decisions.

       A.      Findings and Conclusions Relating to the NPA

        With respect to all five subjects of OPR’s investigation, OPR concludes that the subjects
did not commit professional misconduct with respect to the development, negotiation, and
approval of the NPA. Under OPR’s framework, professional misconduct requires a finding that a
subject attorney intentionally or recklessly violated a clear and unambiguous standard governing
the conduct at issue. OPR found no clear and unambiguous standard that required Acosta to indict
Epstein on federal charges or that prohibited his decision to defer prosecution to the state.
Furthermore, none of the individual terms of the NPA violated Department or other applicable
standards.

       As the U.S. Attorney, Acosta had the “plenary authority” under established federal law and
Department policy to resolve the case as he deemed necessary and appropriate, as long as his
decision was not motivated or influenced by improper factors. Acosta’s decision to decline to

                                                 ix
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 12 of 348




initiate a federal prosecution of Epstein was within the scope of his authority, and OPR did not
find evidence that his decision was based on corruption or other impermissible considerations,
such as Epstein’s wealth, status, or associations. Evidence shows that Acosta resisted defense
efforts to have the matter returned to the state for whatever result state authorities deemed
appropriate, and he refused to eliminate the incarceration and sexual offender registration
requirements. OPR did not find evidence establishing that Acosta’s “breakfast meeting” with one
of Epstein’s defense counsel in October 2007 led to the NPA, which had been signed weeks earlier,
or to any other significant decision that benefited Epstein. The contemporaneous records show
that USAO managers’ concerns about legal issues, witness credibility, and the impact of a trial on
the victims led them to prefer a pre-charge resolution and that Acosta’s concerns about the proper
role of the federal government in prosecuting solicitation crimes resulted in his preference for a
state-based resolution. Accordingly, OPR does not find that Acosta engaged in professional
misconduct by resolving the federal investigation of Epstein in the way he did or that the other
subjects committed professional misconduct through their implementation of Acosta’s decisions.

        Nevertheless, OPR concludes that Acosta’s decision to resolve the federal investigation
through the NPA constitutes poor judgment. Although this decision was within the scope of
Acosta’s broad discretion and OPR does not find that it resulted from improper factors, the NPA
was a flawed mechanism for satisfying the federal interest that caused the government to open its
investigation of Epstein. In Acosta’s view, the federal government’s role in prosecuting Epstein
was limited by principles of federalism, under which the independent authority of the state should
be recognized, and the federal responsibility in this situation was to serve as a “backstop” to state
authorities by encouraging them to do more. However, Acosta failed to consider the difficulties
inherent in a resolution that relied heavily on action by numerous state officials over whom he had
no authority; he resolved the federal investigation before significant investigative steps were
completed; and he agreed to several unusual and problematic terms in the NPA without the
consideration required under the circumstances. In sum, Acosta’s application of federalism
principles was too expansive, his view of the federal interest in prosecuting Epstein was too
narrow, and his understanding of the state system was too imperfect to justify the decision to use
the NPA. Furthermore, because Acosta assumed a significant role in reviewing and drafting the
NPA and the other three subjects who were supervisors left the USAO, were transitioning to other
jobs, or were absent at critical junctures, Acosta should have ensured more effective coordination
and communication during the negotiations and before approving the final NPA. The NPA was a
unique resolution, and one that required greater oversight and supervision than Acosta provided.

       B.      Findings and Conclusions Relating to the Government’s Interactions with
               Victims

        OPR further concludes that none of the subject attorneys committed professional
misconduct with respect to the government’s interactions with victims. The subjects did not have
a clear and unambiguous duty under the CVRA to consult with victims before entering into the
NPA because the USAO resolved the Epstein investigation without a federal criminal
charge. Significantly, at the time the NPA was signed, the Department did not interpret CVRA
rights to attach unless and until federal charges had been filed, and the federal courts had not
established a clear and unambiguous standard applying the CVRA before criminal charges were
brought. In addition, OPR did not find evidence that the lack of consultation was for the purpose
of silencing victims. Nonetheless, the lack of consultation was part of a series of government

                                                 x
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 13 of 348




interactions with victims that ultimately led to public and court condemnation of the government’s
treatment of the victims, reflected poorly on the Department as a whole, and is contradictory to the
Department’s mission to minimize the frustration and confusion that victims of a crime endure.

        OPR determined that none of the subjects was responsible for communications sent to
certain victims after the NPA was signed that described the case as “under investigation” and that
failed to inform them of the NPA. The letters were sent by an FBI administrative employee who
was not directly involved in the investigation, incorporated standard form language used by the
FBI when communicating with victims, and were not drafted or reviewed by the subjects.
Moreover, the statement that the matter was “under investigation” was not false because the
government in fact continued to investigate the case in anticipation that Epstein would not fulfill
the terms of the NPA. However, the letters risked misleading the victims and contributed to victim
frustration and confusion by failing to provide important information about the status of the
investigation. The letters also demonstrated a lack of coordination between the federal agencies
responsible for communicating with Epstein’s victims and showed a lack of attention to and
oversight regarding communication with victims.

        After the NPA was signed, Acosta elected to defer to the State Attorney the decision
whether to notify victims about the state’s plea hearing pursuant to the state’s own victim’s rights
requirements. Although Acosta’s decision was within his authority and did not constitute
professional misconduct, OPR concludes that Acosta exercised poor judgment when he failed to
make certain that the state intended to and would notify victims identified through the federal
investigation about the state plea hearing. His decision left victims uninformed about an important
proceeding that resolved the federal investigation, an investigation about which the USAO had
communicated with victims for months. It also ultimately created the misimpression that the
Department intentionally sought to silence the victims. Acosta failed to ensure that victims were
made aware of a court proceeding that was related to their own cases, and thus he failed to ensure
that victims were treated with forthrightness and dignity.

         OPR concludes that the decision to postpone notifying victims about the terms of the NPA
after it was signed and the omission of information about the NPA during victim interviews and
conversations with victims’ attorneys in 2008 do not constitute professional misconduct.
Contemporaneous records show that these actions were based on strategic concerns about creating
impeachment evidence that Epstein’s victims had financial motives to make claims against him,
evidence that could be used against victims at a trial, and were not for the purpose of silencing
victims. Nonetheless, the failure to reevaluate the strategy prior to interviews of victims and
discussions with victims’ attorneys occurring in 2008 led to interactions that contributed to
victims’ feelings that the government was intentionally concealing information from them.

        After examining the full scope and context of the government’s interactions with victims,
OPR concludes that the government’s lack of transparency and its inconsistent messages led to
victims feeling confused and ill-treated by the government; gave victims and the public the
misimpression that the government had colluded with Epstein’s counsel to keep the NPA secret
from the victims; and undercut public confidence in the legitimacy of the resulting agreement. The
overall result of the subjects’ anomalous handling of this case understandably left many victims
feeling ignored and frustrated and resulted in extensive public criticism. In sum, OPR concludes


                                                 xi
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 14 of 348




that the victims were not treated with the forthrightness and sensitivity expected by the
Department.

VI.    ORGANIZATION OF THE REPORT

        The Report is divided into three chapters. In Chapter One, OPR describes the relevant
federal, state, and local law enforcement entities involved in investigating Epstein’s criminal
conduct, as well as the backgrounds of the five subjects and their roles in the events in question.
OPR provides a brief profile of Epstein and identifies the defense attorneys who interacted with
the subjects.

         In Chapter Two, OPR sets forth an extensive account of events relating to the federal
investigation of Epstein. The account begins with the initial complaint in March 2005 by a young
victim and her parents to the local police—a complaint that launched an investigation by local law
enforcement authorities—and continues through the mid-2006 opening of the federal
investigation; the September 2007 negotiation and signing of the NPA; Epstein’s subsequent
efforts to invalidate the NPA through appeals to senior Department officials; Epstein’s June 2008
guilty plea in state court; and, finally, efforts by the AUSA to ensure Epstein’s compliance with
the terms of the NPA during his incarceration and until his term of home detention ended in July
2010. After describing the relevant events, OPR analyzes the professional misconduct allegations
relating to the decisions made regarding the development and execution of the NPA. OPR
describes the relevant standards and sets forth its findings and conclusions regarding the subjects’
conduct.

       Chapter Three concerns the government’s interactions with victims and the district court’s
findings regarding the CVRA. OPR describes the relevant events and analyzes the subjects’
conduct in light of the pertinent standards.

        OPR sets forth the extensive factual detail provided in Chapters Two and Three, including
internal USAO and Department communications, because doing so is necessary for a full
understanding of the subjects’ actions and of the bases for OPR’s conclusions.




                                                xii
        Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 15 of 348




                                              TABLE OF CONTENTS
EXECUTIVE SUMMARY ............................................................................................................. i
I.       OVERVIEW OF FACTUAL BACKGROUND ................................................................. i
II.      THE INITIATION AND SCOPE OF OPR’S INVESTIGATION......................................v
III.     OVERVIEW OF OPR’S ANALYTICAL FRAMEWORK ............................................. vii
IV.      ISSUES CONSIDERED .................................................................................................. viii
         A.         The Negotiation, Execution, and Implementation of the NPA ............................ viii
         B.         The District Court’s Conclusion That the USAO Violated the CVRA ................. ix
V.       OPR’S FINDINGS AND CONCLUSIONS ...................................................................... ix
         A.         Findings and Conclusions Relating to the NPA .................................................... ix
         B.         Findings and Conclusions Relating to the Government’s Interactions
                    with Victims .............................................................................................................x
VI.      ORGANIZATION OF THE REPORT ............................................................................. xii
CHAPTER ONE: SIGNIFICANT ENTITIES AND INDIVIDUALS .......................................... 1
I.       THE FEDERAL AND LOCAL LAW ENFORCEMENT AGENCIES ............................. 1
         A.         The Department of Justice, the U.S. Attorney’s Office for the
                    Southern District of Florida, and the Federal Bureau of Investigation ....................1
         B.         The State and Local Law Enforcement Agencies ....................................................4
II.      THE SUBJECT ATTORNEYS AND THEIR ROLES IN THE EPSTEIN CASE ............. 4
III.     JEFFREY EPSTEIN AND HIS DEFENSE ATTORNEYS................................................ 8
         A.         Jeffrey Epstein .........................................................................................................8
         B.         Epstein’s Defense Attorneys ....................................................................................8
CHAPTER TWO: THE NON-PROSECUTION AGREEMENT ................................................11
PART ONE: FACTUAL BACKGROUND .................................................................................11
I.       OVERVIEW ...................................................................................................................... 11
II.      MARCH 2005 – MAY 2006: EPSTEIN IS INVESTIGATED BY THE PALM
         BEACH POLICE DEPARTMENT AND THE PALM BEACH COUNTY
         STATE ATTORNEY’S OFFICE ...................................................................................... 11
         A.         The Initial Allegations and the PBPD Investigation ..............................................11
         B.         The State Attorney’s Office Decides to Present the Case to a State
                    Grand Jury..............................................................................................................14
         C.         Florida State Procedure for Bringing Criminal Charges........................................15
         D.         PBPD Chief Reiter Becomes Concerned with the State Attorney’s Office’s
                    Handling of the State Investigation and Seeks a Federal Investigation .................16

                                                                   xiii
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 16 of 348




III.   THE FBI AND THE USAO INVESTIGATE EPSTEIN, AND THE
       DEFENSE TEAM ENGAGES WITH THE USAO .......................................................... 16
        A.     May 2006 – February 2007: The Federal Investigation Is Initiated,
               and the USAO Opens a Case File ..........................................................................16
               1.         The PBPD Presents the Matter to the FBI and the USAO.........................17
               2.         May 2006: The USAO Accepts the Case and Opens a Case File .............18
               3.         July 14, 2006: Villafaña Informs Acosta and Sloman about the Case......18
               4.         Late July 2006: The State Indicts Epstein, and the USAO
                          Moves Forward with a Federal Investigation ............................................20
               5.         October 2006 – February 2007: Epstein’s Defense Counsel
                          Initiate Contact with Villafaña, Lourie, and Sloman, and
                          Press for a Meeting ....................................................................................22
               6.         February 2007: Defense Counsel Meet with Lourie and
                          Villafaña and Present the Defense Objections to a Federal Case ..............24
        B.     February – May 2007: Villafaña and the FBI Continue to Investigate;
               Villafaña Drafts a Prosecution Memorandum and Proposed Indictment
               for USAO Managers to Review .............................................................................24
        C.     May – June 2007: Miami Managers Consider the Prosecution Memorandum
               and Proposed Charges ............................................................................................27
        D.     Defense Counsel Seek a Meeting with Senior USAO Managers, which
               Villafaña Opposes ..................................................................................................30
        E.     June 2007: Villafaña Supplements the Prosecution Memorandum ......................33
        F.     The June 26, 2007 Meeting with Defense Counsel ...............................................33
IV.    ACOSTA DECIDES TO OFFER EPSTEIN A TWO-YEAR STATE PLEA TO
       RESOLVE THE FEDERAL INVESTIGATION .............................................................. 35
        A.     June – July 2007: The USAO Proposes a State Plea Resolution,
               which the Defense Rejects .....................................................................................36
               1.         Acosta’s Explanation for His Decision to Pursue a
                          State-based Resolution ...............................................................................37
               2.         July 2007: Villafaña and Menchel Disagree about the
                          Proposed State Resolution .........................................................................40
        B.     Villafaña Attempts to Obtain the Computer Equipment Missing from
               Epstein’s Palm Beach Home, but the Defense Team Opposes Her Efforts...........45
        C.     July 2007: The Defense Continues Its Efforts to Stop the
               Federal Investigation ..............................................................................................47
        D.     Acosta Decides on a Resolution That Includes a Two-Year Term of
               Incarceration ..........................................................................................................48
               1.         The July 26, 2007 Meeting in Miami.........................................................48

                                                              xiv
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 17 of 348




            2.        The Subjects’ Explanations for the Decision to Offer Epstein
                      a Sentence with a Two-Year Term of Incarceration ..................................49
       E.   Villafaña Drafts a “Term Sheet” Listing the Requirements of a Potential
            Agreement with the Defense..................................................................................51
V.    THE USAO PRESENTS EPSTEIN WITH KEY TERMS OF A DEAL: PLEAD
      GUILTY TO STATE CHARGES REQUIRING A TWO-YEAR TERM OF
      INCARCERATION AND SEXUAL OFFENDER REGISTRATION, AND AGREE
      TO A MEANS FOR THE VICTIMS TO OBTAIN MONETARY DAMAGES ............. 53
       A.   July 31, 2007: The USAO Presents Its Proposal to the Defense Team,
            which Makes a Counteroffer ..................................................................................54
       B.   In an August 3, 2007 Letter, the USAO States That a Two-Year Term of
            Imprisonment Is the Minimum That Will Vindicate the Federal Interest .............55
       C.   August – September 2007: Epstein Hires Additional Attorneys, Who
            Meet with Acosta ...................................................................................................59
            1.        Acosta Agrees to Meet with Epstein’s New Attorneys .............................59
            2.        Leading to the Meeting with Defense Counsel, Investigative
                      Steps Are Postponed, and the Defense Continues to Oppose
                      Villafaña’s Efforts to Obtain the Computer Evidence ...............................60
            3.        September 7, 2007: Acosta, Other USAO Attorneys, and
                      FBI Supervisors Meet with Epstein Attorneys Starr, Lefkowitz,
                      and Sanchez ...............................................................................................62
VI.   SEPTEMBER 2007: THE PLEA NEGOTIATIONS INTENSIFY, AND IN THE
      PROCESS, THE REQUIRED TERM OF IMPRISONMENT IS REDUCED ................. 63
       A.   The Incarceration Term Is Reduced from 24 Months to 20 Months .....................63
       B.   September 12, 2007: The USAO and Defense Counsel Meet with
            the State Attorney ..................................................................................................64
       C.   The Evidence Does Not Clearly Show Why the Term of Incarceration
            Was Reduced from 24 Months to 20 Months to 18 Months ..................................66
       D.   The Parties Continue to Negotiate but Primarily Focus on a Potential Plea
            to Federal Charges .................................................................................................68
       E.   The Parties Appear to Reach Agreement on a Plea to Federal Charges ................72
       F.   Defense Counsel Offers New Proposals Substantially Changing the
            Terms of the Federal Plea Agreement, which the USAO Rejects .........................73
       G.   Villafaña and Lourie Recommend Ending Negotiations, but Acosta
            Urges That They “Try to Work It Out” .................................................................76
       H.   Acosta Edits the Federal Plea Agreement, and Villafaña Sends a
            Final Version to the Defense..................................................................................77



                                                          xv
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 18 of 348




         I.        The Defense Rejects the Federal Plea Agreement, Returns to the NPA
                   “State-Only” Resolution, and Begins Opposing the Sexual Offender
                   Registration Requirement ......................................................................................78
         J.        The USAO Agrees Not to Criminally Charge “Potential Co-Conspirators” .........79
         K.        The USAO Rejects Defense Efforts to Eliminate the Sexual Offender
                   Registration Requirement ......................................................................................81
         L.        The Defense Adds a Confidentiality Clause ..........................................................83
VII.    SEPTEMBER 24, 2007: ACOSTA MAKES FINAL EDITS, AND THE
        NPA IS SIGNED ............................................................................................................... 84
VIII. POST-NPA NEGOTIATIONS .......................................................................................... 87
         A.        September – October 2007: Sloman’s Concerns about Selection of an
                   Attorney Representative Lead to a Proposed NPA Addendum .............................87
         B.        October 12, 2007: Acosta and Defense Attorney Lefkowitz
                   Meet for Breakfast .................................................................................................89
         C.        Acosta Agrees to the Defense Request to Postpone Epstein’s Guilty Plea;
                   the Parties Continue to Negotiate Issues concerning the Attorney
                   Representative and Finally Reach Agreement on the NPA Addendum ................91
         D.        Epstein Further Delays His Guilty Plea .................................................................94
         E.        Epstein Seeks Departmental Review of the NPA’s § 2255 Provision
                   Relating to Monetary Damages for the Victims ....................................................94
         F.        Despite Affirming the NPA, Defense Counsel Intensify Their Challenges
                   to It and Accuse Villafaña of Improper Conduct ...................................................98
                   1.         December 7 and 11, 2007: Starr and Lefkowitz Send to
                              Acosta Letters and “Ethics Opinions” Complaining about
                              the Federal Investigation and Villafaña .....................................................98
                   2.         As a Result of the Starr and Lefkowitz Submissions, the New
                              USAO Criminal Chief Begins a Full Review of the Evidence,
                              and Acosta Agrees to Meet Again with Defense Counsel .........................99
                   3.         The Defense Notifies Acosta That It May Pursue a Department
                              Review of the USAO’s Actions .................................................................99
                   4.         Acosta Attempts to Revise the NPA § 2255 Language concerning
                              Monetary Damages, but the Defense Does Not Accept It .......................100
                   5.         January 7, 2008: Acosta and Sloman Meet with Sanchez, Who
                              Makes Additional Allegations of USAO Misconduct .............................101
                   6.         Acosta Asks CEOS to Review the Evidence ...........................................102
IX.     FEBRUARY – JUNE 2008: THE DEPARTMENT’S REVIEW................................... 103
         A.        February – May 15, 2008: Review by CEOS and the Criminal Division...........104


                                                                xvi
        Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 19 of 348




         B.        May – June 23, 2008: Review by the Office of the Deputy
                   Attorney General ..................................................................................................108
X.      JUNE 2008 – JUNE 2009: EPSTEIN ENTERS HIS PLEAS AND
        SERVES HIS CUSTODIAL SENTENCE ...................................................................... 110
         A.        June 30, 2008: Epstein Enters His Guilty Pleas in State Court ..........................111
         B.        Epstein Is Placed on Work Release .....................................................................113
XI.     POST-RELEASE DEVELOPMENTS ............................................................................ 117
PART TWO: APPLICABLE STANDARDS ............................................................................ 119
I.      OPR’S ANALYTICAL FRAMEWORK ........................................................................ 119
II.     APPLICABLE STANDARDS OF CONDUCT .............................................................. 120
         A.        The United States Attorneys’ Manual..................................................................120
                   1.         USAM Provisions Relating to the Initiation and Declination
                              of a Federal Prosecution...........................................................................120
                   2.         USAM § 9-2.031: The Petite Policy .......................................................122
                   3.         USAM Provisions Relating to Plea Agreements .....................................123
                   4.         USAM Provisions Relating to Non-Prosecution Agreements .................124
                   5.         USAM Provisions Relating to Grants of Immunity.................................125
                   6.         USAM/C.F.R. Provisions Relating to Financial Conflicts of Interest .....125
         B.        Other Department Policies ...................................................................................125
                   1.         Department Policies Relating to the Disposition of Charges...................125
                   2.         Department Policy Relating to Deportation of Criminal Aliens ..............127
         C.        Case Law ..............................................................................................................127
                   1.         Prosecutorial Discretion ...........................................................................127
                   2.         Plea Agreement Promises of Leniency towards a Third Party ................128
         D.        State Bar Rules .....................................................................................................129
                   1.         FRPC 4-1.1 – Competence ......................................................................130
                   2.         FRPC 4-1.3 – Diligence ...........................................................................130
                   3.         FRPC 4-4.1 – Candor in Dealing with Others .........................................130
                   4.         FRPC 4-8.4 – Conduct Prejudicial to the Administration of Justice .......131
PART THREE: ANALYSIS...................................................................................................... 133
I.      OVERVIEW .................................................................................................................... 133
II.     ACOSTA REVIEWED AND APPROVED THE TERMS OF THE NPA AND IS
        ACCOUNTABLE FOR IT .............................................................................................. 133


                                                                  xvii
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 20 of 348




III.   OPR FOUND THAT NONE OF THE SUBJECTS VIOLATED A CLEAR AND
       UNAMBIGUOUS STATUTE, PROFESSIONAL RESPONSIBILITY RULE OR
       STANDARD, OR DEPARTMENT REGULATION OR POLICY, IN
       NEGOTIATING, APPROVING, OR ENTERING INTO THE NPA ............................ 134
        A.       U.S. Attorneys Have Broad Discretion to Resolve Investigations or
                 Cases as They Deem Appropriate, and Acosta’s Decision to Decline
                 to Prosecute Epstein Federally Does Not Constitute Professional
                 Misconduct ...........................................................................................................135
        B.       No Clear and Unambiguous Standard Precluded Acosta’s Use of a
                 Non-Prosecution Agreement to Resolve the Federal Investigation
                 of Epstein .............................................................................................................136
        C.       The NPA’s Individual Provisions Did Not Violate Any Clear and
                 Unambiguous Standards ......................................................................................137
                 1.         Acosta Had Authority to Approve an Agreement That Required
                            Epstein to Plead to Offenses Resulting in an 18-Month Term of
                            Incarceration ............................................................................................137
                 2.         The USAO’s Agreement Not to Prosecute Unidentified “Potential
                            Co-Conspirators” Did Not Violate a Clear and Unambiguous
                            Department Policy ...................................................................................139
                 3.         The NPA Did Not Violate Department Policy Relating to
                            Deportation of Criminal Aliens ...............................................................140
IV.    THE EVIDENCE DOES NOT ESTABLISH THAT THE SUBJECTS WERE
       INFLUENCED BY IMPROPER MOTIVES TO INCLUDE IN THE NPA
       TERMS FAVORABLE TO EPSTEIN OR TO OTHERWISE EXTEND
       BENEFITS TO EPSTEIN................................................................................................ 140
        A.       OPR Found No Evidence of Criminal Corruption, Such as Bribery, Gratuity,
                 or Illegal Political or Personal Consideration ......................................................141
        B.       Contemporaneous Written Records and Witness and Subject Interviews
                 Did Not Reveal Evidence Establishing That the Subjects Were
                 Improperly Influenced by Epstein’s Status, Wealth, or Associations .................142
                 1.         The Contemporaneous Records Did Not Reveal Evidence
                            Establishing That the NPA Resulted from Improper Factors ..................142
                 2.         The Subjects Asserted That They Were Motivated by
                            Reasonable Strategic and Policy Considerations, Not
                            Improper Influences .................................................................................143
                 3.         Subject and Witness Interviews and Contemporaneous Records
                            Identified Case-Specific Considerations Relating to Evidence,
                            Legal Theories, Litigation Risk, and a Trial’s Potential Impact
                            on Victims ................................................................................................144
        C.       Other Significant Factors Are Inconsistent with a Conclusion That
                 the Subjects’ Actions Were Motivated by Improper Influences ..........................149

                                                               xviii
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 21 of 348




      D.      OPR Does Not Find That the Subjects’ Preexisting Relationships with
              Defense Counsel, Decisions to Meet with Defense Counsel, and Other
              Factors Established That the Subjects Acted from Improper Influences or
              Provided Improper Benefits to Epstein ................................................................150
              1.        The Evidence Does Not Establish That the Subjects Extended
                        Any Improper Benefit to Epstein because of Their Preexisting
                        Relationships with His Attorneys ............................................................150
              2.        The Subjects Asserted That Their Relationships with Defense
                        Counsel Did Not Influence Their Actions ...............................................151
      E.      The Evidence Does Not Establish That the Subjects’ Meetings with
              Defense Counsel Were Improper Benefits to Epstein .........................................155
              1.        The Evidence Shows That the Subjects’ Decisions to Meet with
                        Epstein’s Legal Team Were Warranted by Strategic Considerations ......155
              2.        The Evidence Does Not Establish That Acosta Negotiated a
                        Deal Favorable to Epstein over Breakfast with Defense Counsel ...........160
      F.      Villafaña’s Emails with Defense Attorney Lefkowitz during the NPA
              Negotiations Do Not Establish That Villafaña, or Other Subjects,
              Intended to Give Epstein Preferential Treatment or Were Motivated by
              Favoritism or Other Improper Influences ............................................................163
      G.      The Evidence Does Not Establish That Acosta, Lourie, or Villafaña
              Agreed to the NPA’s Provision Promising Not to Prosecute “Potential
              Co-conspirators” in Order to Protect Any of Epstein’s Political, Celebrity,
              or Other Influential Associates ............................................................................166
      H.      OPR’s Investigation Did Not Reveal Evidence Establishing That Epstein
              Cooperated in Other Federal Investigations or Received Special Treatment
              on That Basis........................................................................................................168
V.    ACOSTA EXERCISED POOR JUDGMENT BY RESOLVING THE FEDERAL
      INVESTIGATION THROUGH THE NPA ....................................................................169
      A.      Acosta’s Decision to Resolve the Federal Investigation through a State Plea
              under Terms Incorporated into the NPA Was Based on a Flawed Application
              of the Petite Policy and Federalism Concerns, and Failed to Consider the
              Significant Disadvantages of a State-Based Resolution ......................................170
      B.      The Assessment of the Merits of a Potential Federal Prosecution Was
              Undermined by the Failure to Obtain Evidence or Take Other Investigative
              Steps That Could Have Changed the Complexion of the Case ...........................175
      C.      OPR Was Unable to Determine the Basis for the Two-Year Term of
              Incarceration, That It Was Tied to Traditional Sentencing Goals, or
              That It Satisfied the Federal Interest in the Prosecution ......................................179
      D.      Acosta’s Decisions Led to Difficulties Enforcing the NPA ................................182
      E.      Acosta Did Not Exercise Sufficient Supervisory Review over the Process ........182

                                                            xix
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 22 of 348




CHAPTER THREE: ISSUES RELATING TO THE GOVERNMENT’S INTERACTIONS
AND COMMUNICATIONS WITH VICTIMS ......................................................................... 189
PART ONE: FACTUAL BACKGROUND .............................................................................. 189
I.     OVERVIEW .................................................................................................................... 189
II.    THE CVRA, 18 U.S.C. § 3771 ........................................................................................ 189
        A.        History..................................................................................................................189
        B.        Enumerated Rights ...............................................................................................191
III.   THE DEPARTMENT’S INTERPRETATION OF THE CVRA’S DEFINITION OF
       “CRIME VICTIM” AT THE TIME OF THE EPSTEIN INVESTIGATION ................ 192
        A.        April 1, 2005 Office of Legal Counsel “Preliminary Review” ............................192
        B.        2005 Attorney General Guidelines for Victim and Witness Assistance ..............193
IV.    USAO AND FBI VICTIM/WITNESS NOTIFICATION PRACTICE AT THE
       TIME OF THE EPSTEIN INVESTIGATION ................................................................ 194
        A.        USAO Training ....................................................................................................194
        B.        The Automated Victim Notification System .......................................................195
        C.        FBI Victim Notification Pamphlets .....................................................................196
V.     THE INTRODUCTORY USAO AND FBI LETTERS TO VICTIMS........................... 196
        A.        August 2006: The FBI Victim Notification Letters ............................................196
        B.        August 2006: The USAO’s Letters to Victims ...................................................198
        C.        USAO and FBI Letters Are Hand Delivered .......................................................200
VI.    AUGUST 2006 – SEPTEMBER 2007: FBI AND USAO CONTACTS WITH
       VICTIMS BEFORE THE NPA IS SIGNED ................................................................... 200
        A.        The Case Agents and Villafaña Solicit Some Victims’ Opinions about
                  Resolving the Federal Investigation.....................................................................201
        B.        Before the NPA Is Signed, Villafaña Expresses Concern That Victims
                  Have Not Been Consulted ....................................................................................202
                  1.         July 2007: Villafaña’s Email Exchanges with Menchel .........................202
                  2.         Villafaña Asserts That Her Supervisors Gave Instructions Not
                             to Consult Victims about the Plea Discussions, but Her Supervisors
                             Do Not Currently Recall Such Instructions .............................................204
                  3.         September 6, 2007: Villafaña Informs Sloman, Who Informs
                             Acosta, of Oosterbaan’s Opinion That Consultation with Victims
                             Was Required ...........................................................................................204
VII.   SEPTEMBER 24, 2007 – JUNE 30, 2008: AFTER THE NPA IS SIGNED, THE
       USAO MAKES VARIOUS VICTIM NOTIFICATION DECISIONS........................... 206



                                                                  xx
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 23 of 348




        A.        September – October 2007: The Case Agents Notify Some Victims about
                  the NPA, but Stop When the Case Agent Becomes Concerned about
                  Potential Impeachment.........................................................................................207
        B.        October 2007: Defense Attorneys Object to Government Victim
                  Notifications .........................................................................................................210
        C.        October – November 2007: The FBI and the USAO Continue to
                  Investigate, and the FBI Sends a Notice Letter to One Victim Stating
                  That the Case is “Under Investigation” ...............................................................211
        D.        The USAO Informs the Defense That It Intends to Notify Victims by
                  Letter about Epstein’s State Plea Hearing and the Resolution of the Federal
                  Investigation, but the Defense Strongly Objects to the Notification Plan ...........212
        E.        December 19, 2007: Acosta Advises the Defense That the USAO Will
                  Defer to the State Attorney the Decision Whether to Notify Victims of the
                  State Plea Hearing, but the USAO Would Notify Them of the Federal
                  Resolution, “as Required by Law”.......................................................................216
        F.        January – June 2008: While the Defense Presses Its Appeal to the
                  Department in an Effort to Undo the NPA, the FBI and the USAO
                  Continue Investigating Epstein ............................................................................220
                  1.         Villafaña Prepares to Contact Victims in Anticipation That
                             Epstein Will Breach the NPA ..................................................................220
                  2.         The FBI Uses VNS Form Letters to Re-Establish Contact with
                             Victims .....................................................................................................221
                  3.         Villafaña, the FBI, and the CEOS Trial Attorney Interview Victims ......224
                  4.         February – March 2008: Villafaña Takes Additional Steps to
                             Prepare for a Prosecution of Epstein, Arranges for Pro Bono
                             Attorneys for Victims, and Cautions about Continued Delay .................227
                  5.         March – April 2008: Villafaña Continues to Prepare for Filing
                             Federal Charges .......................................................................................227
VIII. USAO SUPERVISORS CONSIDER CVRA OBLIGATIONS IN AN UNRELATED
      MATTER AND IN LIGHT OF A NEW FIFTH CIRCUIT OPINION........................... 228
IX.    JUNE 2008: VILLAFAÑA’S PRE-PLEA CONTACTS WITH THE
       ATTORNEY REPRESENTING THE VICTIMS WHO LATER BECAME
       THE CVRA PETITIONERS ........................................................................................... 229
X.     JUNE 2008: EFFORTS TO NOTIFY VICTIMS ABOUT THE JUNE 30, 2008
       PLEA HEARING............................................................................................................. 231
XI.    JUNE 30, 2008: EPSTEIN ENTERS HIS GUILTY PLEAS IN A STATE
       COURT HEARING AT WHICH NO VICTIMS ARE PRESENT................................. 234
XII.   SIGNIFICANT POST-PLEA DEVELOPMENTS.......................................................... 235
        A.        Immediately After Epstein’s State Guilty Pleas, Villafaña Notifies Some
                  Victims’ Attorneys ...............................................................................................235
                                                                 xxi
        Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 24 of 348




         B.        July 7, 2008: The CVRA Litigation Is Initiated .................................................236
         C.        July 2008: Villafaña Prepares and Sends a Victim Notification Letter
                   to Listed Victims ..................................................................................................237
         D.        July – August 2008: The FBI Sends the Victim Notification Letter to
                   Victims Residing Outside of the United States....................................................238
         E.        August – September 2008: The Federal Court Orders the USAO to
                   Disclose the NPA to Victims, and the USAO Sends a Revised Victim
                   Notification Letter ................................................................................................239
         F.        2010 – 2011: Department and Congressional Actions Regarding
                   Interpretation of the CVRA .................................................................................241
         G.        The CVRA Litigation Proceedings and Current Status .......................................242
PART TWO: APPLICABLE STANDARDS ............................................................................ 247
I.      STATUTORY PROVISIONS ......................................................................................... 247
         A.        The CVRA, 18 U.S.C. § 3771 .............................................................................247
         B.        The Victims’ Rights and Restitution Act of 1990 (VRRA), 34 U.S.C. § 20141,
                   Services to Victims (formerly cited as 42 USCA § 10607) .................................248
II.     DEPARTMENT POLICY: THE 2005 ATTORNEY GENERAL GUIDELINES
        FOR VICTIM AND WITNESS ASSISTANCE (2005 GUIDELINES) ......................... 249
III.    FLORIDA RULES OF PROFESSIONAL CONDUCT .................................................. 253
         A.        FRPC 4-4.1 – Candor in Dealing with Others .....................................................253
         B.        FRPC 4-8.4 – Conduct Prejudicial to the Administration of Justice ...................253
PART THREE: ANALYSIS...................................................................................................... 255
I.      OVERVIEW .................................................................................................................... 255
II.     THE SUBJECTS DID NOT VIOLATE A CLEAR AND UNAMBIGUOUS
        STANDARD BY ENTERING INTO THE NPA WITHOUT CONSULTING
        THE VICTIMS ................................................................................................................ 255
         A.        At the Time, No Clear and Unambiguous Standard Required the USAO
                   to Notify Victims Regarding Case-Related Events until after the Filing
                   of Criminal Charges .............................................................................................256
         B.        OPR Did Not Find Evidence Establishing That the Lack of Consultation
                   Was Intended to Silence Victims .........................................................................258
III.    LETTERS SENT TO VICTIMS BY THE FBI WERE NOT FALSE
        STATEMENTS BUT RISKED MISLEADING VICTIMS ABOUT THE
        STATUS OF THE FEDERAL INVESTIGATION......................................................... 261
         A.        The USAO Was Not Responsible for Victim Notification Letters Sent
                   by the FBI in October 2007, January 2008, and May 2008 Describing
                   the Status of the Case as “Under Investigation” ..................................................262


                                                                xxii
        Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 25 of 348




          B.         Because the Federal Investigation Continued after the NPA Was Signed,
                     the FBI Letters Were Accurate but Risked Misleading Victims regarding
                     the Status of the Federal Investigation .................................................................263
IV.      ACOSTA’S DECISION TO DEFER TO THE STATE ATTORNEY’S
         DISCRETION WHETHER TO NOTIFY VICTIMS ABOUT EPSTEIN’S STATE
         COURT PLEA HEARING DID NOT VIOLATE A CLEAR OR UNAMBIGUOUS
         STANDARD; HOWEVER, ACOSTA EXERCISED POOR JUDGMENT BY
         FAILING TO ENSURE THAT VICTIMS IDENTIFIED IN THE FEDERAL
         INVESTIGATION WERE ADVISED OF THE STATE PLEA HEARING ................. 265
          A.         Acosta’s Decision to Defer to the State Attorney’s Discretion Whether
                     to Notify Victims about Epstein’s State Court Plea Hearing Did Not
                     Violate Any Clear or Unambiguous Standard .....................................................265
          B.         Acosta Exercised Poor Judgment When He Failed to Ensure That
                     Victims Identified in the Federal Investigation Were Informed of the
                     State Plea Hearing ................................................................................................269
V.        VILLAFAÑA DID NOT COMMIT PROFESSIONAL MISCONDUCT IN HER
          ORAL COMMUNICATIONS TO VICTIMS AND VICTIMS’ ATTORNEYS, IN
          WHICH SHE DESCRIBED THE CASE AS “UNDER INVESTIGATION”
          BUT DID NOT DISCLOSE THE EXISTENCE OF THE NPA TO SOME
          VICTIMS .........................................................................................................................273
VI.      THE GOVERNMENT FAILED TO TREAT VICTIMS FORTHRIGHTLY AND
         WITH SENSITIVITY WHEN IT FAILED TO TIMELY PROVIDE VICTIMS
         WITH IMPORTANT INFORMATION ABOUT THE RESOLUTION OF THE
         FEDERAL INVESTIGATION ........................................................................................ 280
CONCLUSION ........................................................................................................................... 283
METHODOLOGY ..................................................................................................................... 287

Exhibit 1: State Indictment
Exhibit 2: September 6, 2007 Draft Non-Prosecution Agreement
Exhibit 3: September 24, 2007 Non-Prosecution Agreement
Exhibit 4: Addendum to the Non-Prosecution Agreement
Exhibit 5: State Information




                                                                   xxiii
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 26 of 348




                   [Page Intentionally Left Blank]




                                xxiv
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 27 of 348




                                            CHAPTER ONE

                     SIGNIFICANT ENTITIES AND INDIVIDUALS

I.      THE FEDERAL AND LOCAL LAW ENFORCEMENT AGENCIES

        A.       The Department of Justice, the U.S. Attorney’s Office for the Southern District
                 of Florida, and the Federal Bureau of Investigation

        The Department of Justice (Department) is a cabinet-level executive branch department
headed by the United States Attorney General. The stated mission of the Department is to enforce
federal law and defend the interests of the United States; ensure public safety; provide federal
leadership in preventing and controlling crime; seek just punishment for those guilty of unlawful
behavior; and ensure the fair and impartial administration of justice. The Department enforces
federal criminal law through investigations and prosecutions of violations of federal criminal
statutes. It also engages in civil litigation. During the period relevant to this Report, the
Department had approximately 110,000 employees in 40 components. The Department’s
headquarters are in Washington, D.C., and it conducts most of its work through field locations
around the nation and overseas.

        The prosecution of federal criminal laws is handled primarily through 94 U.S. Attorney’s
Offices, each headed by a presidentially appointed (with advice and consent of the U.S. Senate)
U.S. Attorney who has independent authority over his or her office but is overseen by the Attorney
General through the Deputy Attorney General. 1 The Department’s Criminal Division, headed by
an Assistant Attorney General, includes components with specialized areas of expertise that also
prosecute cases, assist in the prosecutions handled by U.S. Attorney’s Offices, and provide legal
expertise and policy guidance. Among the Criminal Division components mentioned in this
Report are the Appellate Section, the Office of Enforcement Operations, the Computer Crime and
Intellectual Property Section, and, most prominently, the Child Exploitation and Obscenity Section
(CEOS).

        CEOS, based in Washington, D.C., comprises attorneys and investigators who specialize
in investigating and prosecuting child exploitation crimes, especially those involving technology,
and they assist U.S. Attorney’s Offices in investigations, trials, and appeals related to these
offenses. CEOS provides advice and training to federal prosecutors, law enforcement personnel,
and government officials. CEOS also works to develop and refine proposals for prosecution
policies, legislation, government practices, and agency regulations.

        The U.S. Attorneys’ Manual (USAM) (revised in 2018 and renamed the Justice Manual)
is a compilation of Department rules, policies, and guidance governing the conduct of Department
employees. It includes requirements for approval by, or consultation with, the Criminal Division


1
         Two U.S. Attorney’s Offices, in the judicial districts of Guam and of the Northern Mariana Islands, are
headed by a single U.S. Attorney. The Attorney General and the U.S. District Court have authority to appoint acting
and interim U.S. Attorneys.
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 28 of 348




or other divisions having responsibility for specific criminal enforcement, such as the Civil Rights
Division. In this Report, OPR applies the USAM provisions in effect at the relevant time.

       During the period most relevant to this Report, the Attorney General was Michael
Mukasey, the Deputy Attorney General was Mark Filip, and the Assistant Attorney General for
the Criminal Division was Alice Fisher. The Chief of CEOS was Andrew Oosterbaan.

        The U.S. Attorney’s Office for the Southern District of Florida (USAO) handles federal
matters in the Southern District of Florida judicial district, which covers the counties of Miami-
Dade, Broward, Monroe, Palm Beach, Martin, St. Lucie, Indian River, Okeechobee, and
Highlands, an area of over 15,000 square miles. During the period relevant to this Report, the
USAO had a staff of approximately 200 Assistant U.S. Attorneys (AUSAs) and 200 support
personnel. The main office is in Miami; staffed branch offices are located in Fort Lauderdale,
West Palm Beach (covering Palm Beach County), and Fort Pierce; and an unstaffed branch office
is located in Key West. The West Palm Beach USAO office is approximately 70 miles from the
Miami office. The USAO is headed by the U.S. Attorney; the second-in-command is the First
Assistant U.S. Attorney (FAUSA), who serves as principal advisor to the U.S. Attorney and
supervises all components of the USAO, including the Criminal, Civil, and Appellate Divisions,
each of which is headed by a Chief. During the period relevant to this Report, the West Palm
Beach office consisted of two criminal sections and was headed by a Managing AUSA.

        The Federal Bureau of Investigation (FBI) is the principal federal law enforcement agency
and is part of the Department. It maintains field offices that work with U.S. Attorney’s Offices.
The FBI field office in Miami, headed by a Special Agent in Charge, has satellite offices, known
as Resident Agencies, one of which is located in West Palm Beach and covers Palm Beach County.
The Epstein investigation was handled by Special Agents assigned to a particular West Palm Beach
Resident Agency squad, headed by a Supervisory Special Agent. FBI responsibility for advising
crime victims of their rights and of victim services available to them is handled by non-agent
Victim Specialists.

       The following chart shows the Department’s organizational structure during the period
relevant to this Report:




                                                 2
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 29 of 348



                    U.S. Department of Justice
                           2006 - 2008




                                 3
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 30 of 348




       B.      The State and Local Law Enforcement Agencies

        Florida state criminal prosecutions are primarily managed by an Office of State Attorney
in each of the state’s 20 judicial circuits, headed by a State Attorney who is elected to a four-year
term. Palm Beach County constitutes the 15th Judicial Circuit. Barry Krischer was the elected
State Attorney for that circuit from 1992 until January 2009. During the period relevant to this
Report, the Palm Beach County State Attorney’s Office, based in the City of West Palm Beach,
had more than 100 attorneys and several investigators, and a Crimes Against Children Unit headed
by Assistant State Attorney Lanna Belohlavek.

      The incorporated Town of Palm Beach occupies the coastal barrier island off the city of
West Palm Beach. Its law enforcement agency is the Palm Beach Police Department (PBPD).
Michael Reiter, who joined the PBPD in 1981, served as PBPD Chief from 2001 to February 2009.

        The Palm Beach County Sheriff’s Office (PBSO), based in the City of West Palm Beach, is
the largest law enforcement agency in the county. Through its Department of Corrections, the
PBSO operates the Main Detention Center and, during the period relevant to this Report, housed
minimum-security detainees, including those on work release, at its Stockade facility. The current
Sheriff has served continuously since January 2005.

II.    THE SUBJECT ATTORNEYS AND THEIR ROLES IN THE EPSTEIN CASE

       R. Alexander Acosta was appointed Interim U.S. Attorney for the Southern District of
Florida in June 2005, at age 36. In June 2006, President George W. Bush formally nominated
Acosta, and after Senate confirmation, Acosta was sworn in as the U.S. Attorney in October 2006.

        After graduating from law school, Acosta served a federal appellate clerkship; an 18-month
term as an associate at the firm of Kirkland & Ellis in Washington, D.C.; approximately four years
as a policy fellow and law school lecturer; and nearly two years as a Deputy Assistant Attorney
General in the Department’s Civil Rights Division. He was presidentially appointed in 2002 as a
member of the National Labor Relations Board, and in 2003 as Assistant Attorney General in
charge of the Department’s Civil Rights Division, where he served from August 2003 until his
appointment as Interim U.S. Attorney, and where he oversaw, among other things, the prosecution
of human trafficking and child sex-trafficking cases. As U.S. Attorney, Acosta’s office was in the
USAO’s Miami headquarters, although he traveled to the USAO’s branch offices.

        During Acosta’s tenure as U.S. Attorney, the USAO initiated the federal investigation of
Epstein, engaged in plea discussions with Epstein’s counsel, and negotiated the federal non-
prosecution agreement (NPA) that is the subject of this Report. Acosta made the decision to
resolve the federal investigation into Epstein’s conduct by allowing Epstein to enter a state plea.
Acosta was personally involved in the negotiations that led to the NPA, reviewed various iterations
of the agreement, and approved the final agreement signed by the USAO. Acosta continued to
provide supervisory oversight and to have meetings and other communications with Epstein’s
attorneys during the nine-month period between the signing of the NPA on September 24, 2007,
and Epstein’s entry of guilty pleas in state court pursuant to the terms of the agreement, on June 30,
2008. On December 8, 2008, after the presidential election and while Epstein was serving his state
prison sentence, Acosta was formally recused from all matters involving the law firm of

                                                  4
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 31 of 348




Kirkland & Ellis, which was representing Epstein, because Acosta had begun discussions with the
firm about possible employment.

        After leaving the USAO in June 2009, Acosta became the Dean of the Florida International
University College of Law. In April 2017, Acosta became the U.S. Secretary of Labor, but he
resigned from that post effective July 19, 2019, following public criticism of the USAO’s handling
of the Epstein case.

       Jeffrey H. Sloman joined the USAO in 1990 as a line AUSA. In 2001, he became Deputy
Chief of the USAO’s Fort Lauderdale branch office Narcotics and Violent Crimes Section, and in
2003, became the Managing AUSA for that branch office. In early 2004, Sloman was appointed
Chief of the USAO’s Criminal Division. In October 2006, Sloman became the FAUSA, and
Sloman’s office was located with Acosta’s in the Miami office’s executive suite.

        As FAUSA, Sloman was responsible for supervising the Civil, Criminal, and Appellate
Divisions, and he was part of the supervisory team that oversaw the Epstein investigation.
Although Sloman had relatively little involvement in the decisions and negotiations that led to the
NPA and did not review it before it was signed, he personally negotiated an addendum to the NPA,
which he signed on behalf of the USAO in October 2007. After subordinates Matthew Menchel
and Andrew Lourie left the USAO, Sloman directly engaged with the line AUSA, Marie Villafaña,
on Epstein matters, and participated in meetings and other communications with defense counsel.
After Acosta was formally recused from the Epstein matter in December 2008, Sloman became
the senior USAO official supervising the matter. When Acosta left the USAO, Sloman became
the Acting U.S. Attorney for the Southern District of Florida, and in January 2010, the Attorney
General appointed Sloman to be the Interim U.S. Attorney for the district. Sloman left the USAO
to enter private practice in June 2010.

         Matthew I. Menchel joined the USAO in 1998 after having served as a New York County
(Manhattan) Assistant District Attorney for 11 years. After several years as a line AUSA, Menchel
became Chief of the USAO’s Major Crimes Section. In October 2006, Menchel became the Chief
of the USAO’s Criminal Division, based in Miami. As Criminal Division Chief, Menchel was
part of the supervisory team that oversaw the Epstein investigation, and he participated in meetings
and other communications with defense counsel. Menchel participated in the decision to extend a
two-year state-based plea proposal to Epstein and communicated it to the defense. Shortly after
that plea offer was extended to Epstein in early August 2007, and before the precise terms of the
NPA were negotiated with defense counsel, Menchel left the USAO to enter private practice.

        Andrew C. Lourie joined the USAO as a line AUSA in 1994, after having served for three
years as an AUSA in New Jersey. During his 13-year tenure at the USAO, Lourie served two
terms on detail as the Acting Chief of the Department’s Criminal Division’s Public Integrity
Section, first from September 2001 until September 2002, and then from February 2006 until July
2006. Between those two details, and again after his return to the USAO in July 2006, Lourie was
a Deputy Chief of the USAO’s Criminal Division, serving as the Managing AUSA for the West
Palm Beach branch office. Lourie was part of the supervisory team that oversaw the Epstein
investigation and negotiated the NPA, participating in meetings and other communications with
defense counsel. During September 2007, while the NPA was being negotiated, Lourie
transitioned out of the USAO to serve on detail as the Principal Deputy Assistant Attorney General

                                                 5
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 32 of 348




for the Department’s Criminal Division, a position in which he served as Chief of Staff to Assistant
Attorney General Alice Fisher. Lourie left the Department in February 2008 to enter private
practice.

        Ann Marie C. Villafaña joined the USAO in September 2001 as a line AUSA. She served
in the Major Crimes Section in Miami until January 2004, when she transferred to the West Palm
Beach branch office. Villafaña handled the majority of the child exploitation cases in West Palm
Beach, along with other criminal matters. In 2006, she was designated as the USAO’s first
coordinator for Project Safe Childhood, a new Department initiative focusing on child sexual
exploitation and abuse. 2

         In 2006, Villafaña assumed responsibility for the Epstein investigation. As the line AUSA,
Villafaña handled all aspects of the investigation. Villafaña determined the lines of inquiry to
pursue, identified the witnesses to be interviewed, conducted legal research to support possible
charges, and sought guidance from others at the USAO and in the Department. Villafaña, along
with the FBI case agents and the FBI Victim Specialist, had direct contact with Epstein’s victims.
She handled court proceedings related to the investigation. She drafted a prosecution
memorandum, indictment, and related documents, and revised those documents in response to
comments from those in her supervisory chain of command. Villafaña participated in meetings
between members of the USAO and counsel for Epstein, and prepared briefing materials for
management in preparation for those meetings and in response to issues raised during those
meetings. Although Acosta made the decision to utilize a non-prosecution agreement to resolve
the federal investigation and approved the terms of the NPA, Villafaña was the primary USAO
representative negotiating with defense counsel and drafting the language of the NPA, under her
supervisors’ direction and guidance, and she signed the NPA on behalf of the USAO. Thereafter,
Villafaña monitored Epstein’s compliance with the NPA and addressed issues relating to his
conduct. After two victims pursued a federal civil lawsuit seeking enforcement of their rights
under the Crime Victims’ Rights Act (CVRA), 18 U.S.C. § 3771 (“the CVRA litigation” or “the
CVRA case”), in July 2008, Villafaña served as co-counsel to the lead attorney representing the
USAO until February 2019, when the USAO was recused from handling the litigation. 3 Villafaña
left the USAO in August 2019 to join another federal government agency.

       The following chart shows the USAO positions filled by the subjects, or other USAO
personnel, during the period of the Epstein investigation.




2
         Project Safe Childhood is a nationwide initiative launched by the Department in May 2006 to combat the
growing epidemic of technology-facilitated child sexual exploitation and abuse. Led by the U.S. Attorneys’ Offices
and CEOS, Project Safe Childhood marshals federal, state, and local resources to locate, apprehend, and prosecute
individuals who exploit children via the internet, as well as to identify and rescue victims.
3
        After the district court issued its February 21, 2019 opinion finding misconduct on the part of the government,
the Department re-assigned the CVRA case to the U.S. Attorney’s Office for the Northern District of Georgia.


                                                          6
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 33 of 348




                                 7
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 34 of 348




III.    JEFFREY EPSTEIN AND HIS DEFENSE ATTORNEYS

        A.       Jeffrey Epstein

        Jeffrey Epstein was born in Brooklyn, New York, in 1953. 4 Although he did not graduate
from college, he taught physics and mathematics to teens at an elite private school in Manhattan
from 1974 until 1976. Through connections made at the school, he was hired at the Wall Street
firm of Bear Stearns, where he rose from junior assistant to a floor trader to become a limited
partner before leaving in 1981. An enigmatic individual whose source of wealth was never clear,
Epstein reportedly provided wealth management and advisory services to a business entrepreneur
through whom Epstein acquired a mansion in midtown Manhattan, where he resided. In the early
1990s, Epstein acquired a large residence in Palm Beach, Florida. He also owned a private island
in the U.S. Virgin Islands, a ranch in New Mexico, and a residence in Paris, France. He traveled
among his residences in a private Boeing 727 jet.

        Epstein reportedly was an investor, founder, or principal in myriad businesses and other
entities, in numerous locations. Although frequently referred to as a billionaire, the sources and
extent of his wealth were never publicly established during his lifetime. 5 He associated with
prominent and wealthy individuals from business, political, academic, and social circles, and
engaged in substantial philanthropy. Epstein maintained a large corps of employees, including
housekeeping staff and pilots, as well as numerous female personal assistants, several of whom
traveled with him.

        B.       Epstein’s Defense Attorneys

        Jeffrey Epstein employed numerous criminal defense attorneys in responding to the
allegations that he had coerced girls into engaging in sexual activity with him at his Palm Beach,
Florida estate. As different law enforcement entities became involved in investigating the
allegations, he added attorneys having particular relevant knowledge of, or connections with, those
entities. At the outset of the state investigation, Epstein retained nationally prominent Miami
criminal trial attorney Roy Black. He was also represented by a local criminal defense attorney
who was a former Palm Beach County Assistant State Attorney, and by nationally prominent
Harvard Law School professor and criminal defense attorney Alan Dershowitz, who was a self-
described close friend of Epstein. After initial plea negotiations with the State Attorney’s Office,
Epstein replaced the local attorney with Jack Goldberger, a prominent West Palm Beach criminal
defense attorney whose law partner was married to the Assistant State Attorney handling the
Epstein case; once Epstein hired Goldberger, the Assistant State Attorney was removed from the
Epstein case on the basis of that conflict of interest. Another prominent attorney who began
representing Epstein during the state investigation was New York City attorney Gerald Lefcourt,
4
           Epstein’s background has been extensively researched and reported in the media. See, e.g., Landon Thomas
Jr., “Jeffrey Epstein: International Moneyman of Mystery,” New York, Oct. 28, 2002; Vicky Ward, “The Talented Mr.
Epstein,” Vanity Fair, Mar. 2003; James Barron, “Who Is Jeffrey Epstein? An Opulent Life, Celebrity Friends and
Lurid Accusations,” New York Times, July 9, 2019; Lisette Voytko, “Jeffrey Epstein’s Dark Façade Finally Cracks,”
Forbes, July 12, 2019.
5
         After Epstein’s death, his net worth was estimated to be approximately $577 million, based on his will and
trust documents. https://time.com/5656776/jeffrey-epstein-will-estate/.


                                                        8
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 35 of 348




whose law firm website cites his “national reputation for the aggressive defense” of “high-profile
defendants in criminal matters.”

         In late 2006, after the USAO opened its investigation, Epstein hired Miami criminal
defense attorneys who were former AUSAs. One, Guy Lewis, had also served as the U.S.
Attorney for the Southern District of Florida and as Director of the Department’s Executive Office
for United States Attorneys, the component charged with providing close liaison between the
Department and the U.S. Attorneys. Another, Lilly Ann Sanchez, had served in the USAO and
as a Deputy Chief in the Major Crimes Section before leaving in 2005. In August 2007,
immediately after the USAO offered the terms that ultimately led to the NPA, two attorneys from
the firm of Kirkland & Ellis, one of the largest law firms in the country, contacted the USAO on
Epstein’s behalf: Kenneth Starr, former federal judge and Solicitor General, who was serving as
Dean of Pepperdine University School of Law while of counsel to the firm; and Jay Lefkowitz, a
litigation partner who had served in high-level positions in the administrations of Presidents
George H.W. Bush and George W. Bush. They were joined by nationally prominent Boston
criminal defense attorney Martin Weinberg. After the NPA was signed, former U.S. Attorney
Joe D. Whitley joined the defense team, as did the former Principal Deputy Chief of CEOS and
another former U.S. Attorney, who was also a retired federal judge.




                                                9
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 36 of 348




                   [Page Intentionally Left Blank]




                                 10
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 37 of 348




                                            CHAPTER TWO

                        THE NON-PROSECUTION AGREEMENT
                              PART ONE: FACTUAL BACKGROUND


I.      OVERVIEW

        In the following sections in this chapter, the Office of Professional Responsibility (OPR)
details the significant events leading to, and during, the federal investigation of Epstein; the
negotiation and signing of the NPA; and the defense’s subsequent nine-month effort to stop the
NPA from taking effect. OPR also describes more briefly the events occurring after Epstein pled
guilty in state court, as the USAO sought to hold him to the terms of the agreement. In describing
events, OPR relies heavily on contemporaneous documents, particularly emails. In many
instances, the emails not only describe meetings and identify the participants, but also set forth the
issues under discussion, the alternatives considered, and the basis for certain decisions. When
helpful to explain the actions taken by the subjects, OPR also includes the subjects’ explanations
as provided in their written responses to, or interviews with, OPR, or explanations provided by
witnesses.

        A timeline of key events is set forth on the following page.

II.     MARCH 2005 – MAY 2006: EPSTEIN IS INVESTIGATED BY THE PALM
        BEACH POLICE DEPARTMENT AND THE PALM BEACH COUNTY STATE
        ATTORNEY’S OFFICE

        A.       The Initial Allegations and the PBPD Investigation

        In March 2005, the parents of a 14-year-old girl reported to the PBPD that a man had paid
their daughter $300 to give him a massage in his Palm Beach home. 6 The PBPD began
investigating Epstein, identified as the recipient of the massage, and two of his personal assistants,
who were also implicated by the complainant. The investigation soon expanded beyond the initial
claim, to encompass allegations that during 2004 and 2005, Epstein, through his female assistants



6
         As previously noted, “girls” refers to females under the age of 18. Epstein’s contacts with girls and young
women previously had come to the attention of the PBPD. In March 2004, a PBPD officer documented a telephone
complaint that a 17-year-old girl had been giving Epstein topless massages at his residence for several months for
$200 per massage. The girl claimed that there were nude photos of other girls throughout Epstein’s home and offered
to cooperate with a police investigation. The PBPD report relating to this complaint described the information as
“unverified,” and it was not pursued.

         On November 28, 2004, the police received and recorded information that young women had been observed
coming and going from Epstein’s residence. The police suspected Epstein was procuring prostitutes, but because the
PBPD did not have evidence that the women seen entering Epstein’s home were minors, and typically did not
investigate prostitution occurring in private residences, it did not open an investigation into the matter.


                                                        11
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 38 of 348




                                12
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 39 of 348




and some of the victims as well, regularly recruited local high-school-age girls to give him
massages in his home that, in some cases, led to sexual activity.

        Through their interviews with victims, the police learned more about Epstein’s conduct.
Some girls had only one encounter with Epstein, while others had many encounters with him. The
nature of the massages varied. According to victims, some girls remained fully clothed while they
massaged Epstein, some wore only their underwear, and some were fully nude. Victims stated
that during these massages, Epstein masturbated himself. Some victims alleged that he touched
them during the massage, usually fondling their breasts or touching their vaginas directly or
through their clothing. Some victims reported that Epstein used a vibrator to masturbate them, and
some stated that he digitally penetrated them. Some victims who stated that they saw him more
often alleged that Epstein engaged in oral and vaginal sex with them. According to one victim, an
Epstein female assistant participated, on at least one occasion, in sexual activity with the victim at
Epstein’s direction. 7

        Although the allegations varied in the specific details, for the most part they were consistent
in describing a general pattern of conduct by Epstein and several of his assistants. According to
the information provided to, and evidence gathered by, the PBPD, Epstein’s assistants scheduled
up to three massage appointments each day, often contacting the girls to make an appointment
while Epstein was en route to Palm Beach from one of his other residences. Typically, when a girl
arrived at Epstein’s home for a massage, she was taken upstairs to the master bedroom and
bathroom area by one of Epstein’s assistants, who set up a massage table and massage oils. When
the assistant left the room, Epstein entered, wearing only a robe or a towel. After removing his
clothing, Epstein lay face down and nude on the massage table, instructed the girl to remove her
clothing, and then explained to her how he wished her to perform the massage. During the
massage, Epstein masturbated himself, often while fondling the girl performing the massage.
When Epstein climaxed, the massage was over. Usually, Epstein paid the girl $200 for the
massage, and if she had not been to his home before, Epstein asked for her phone number to contact
her in the future. Epstein encouraged the girls who performed these massages to find other girls
interested in performing massages for him, and promised that if a girl brought a friend along to
perform a massage, each girl would receive $200. Several of the victims acknowledged to the
PBPD that they had recruited other girls on Epstein’s behalf.

        The evidence regarding Epstein’s knowledge of the girls’ ages was mixed. Some girls who
recruited other girls reportedly instructed the new recruits to tell Epstein, if asked, that they were
over 18 years old. However, some girls informed the PBPD that they told Epstein their real ages.
Police were able to corroborate one girl’s report that Epstein sent flowers to her at her high school
after she performed in a school play. In addition, an employee of Epstein told the PBPD that some
of the females who came to Epstein’s residence appeared to be underage.

       Epstein was aware of the PBPD investigation almost from the beginning. He retained local
criminal defense counsel, who in turn hired private investigators. In October 2005, the PBPD,
with the assistance of the State Attorney’s Office, obtained a search warrant for Epstein’s
residence. When police arrived at Epstein’s home on October 20, 2005, to execute the warrant,
7
         According to the PBPD records, investigators obtained no allegations or evidence that any person other than
this female assistant participated in the sexual activity with the girls.


                                                        13
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 40 of 348




they found computer monitors and keyboards in the home, as well as disconnected surveillance
cameras, but the computer equipment itself—including video recordings and other electronic
storage media—were gone. Nonetheless, the PBPD retrieved some evidence from Epstein’s home,
including notepads on which Epstein’s assistants documented messages from many girls over a
two-year span returning phone calls to confirm appointments. The police also found numerous
photographs of naked young females of indeterminate age. Police photographs taken of the interior
of Epstein’s home corroborated the victims’ descriptions to police of the layout of the home and
master bedroom and bathroom area. The police also found massage tables and oils, one victim’s
high school transcript, and items the police believed to be sex toys.

         B.       The State Attorney’s Office Decides to Present the Case to a State Grand Jury

         State Attorney Barry Krischer explained to OPR that the Epstein case was unusual in that
police brought the case to his office without having made an arrest. Krischer was unfamiliar with
Epstein, and the case was assigned to the Crimes Against Children Unit. PBPD Chief Michael
Reiter stated in a 2009 civil deposition that when the PBPD initially brought the case to the State
Attorney’s Office in 2005, Krischer was supportive of the investigation and told Reiter, “Let’s go
for it,” because, given the nature of the allegations, Epstein was “somebody we have to stop.”
Krischer told OPR, however, that both the detectives and the prosecutors came to recognize that
“there were witness problems.”

       Assistant State Attorney and Crimes Against Children Unit Chief Lanna Belohlavek told
OPR that she and an experienced Assistant State Attorney who initially worked with her on the
case “were at a disagreement” with the PBPD “over what the state . . . could ethically charge.”
According to Belohlavek, she did not believe the evidence the police presented would satisfy the
elements of proof required to charge Epstein with the two felony crimes the police wanted filed,
unlawful sexual activity with a minor (Florida Statute § 794.05(1)) and lewd and lascivious
molestation of a minor (Florida Statute § 800.04(5)), and the police “were not happy with that.” 8
In addition, victims had given contradictory statements to police, and the original complainant,
who could have supported a charge requiring sexual offender registration, recanted her allegation
of sexual contact. Belohlavek offered Epstein a resolution that would result in a five-year term of
probation, which he rejected. 9

       Records publicly released by the State Attorney’s Office show that, beginning in early
2006, attorneys for Epstein sought to persuade the state prosecutors to allow Epstein to plead “no
contest” rather than guilty. To that end, the defense team aggressively investigated victims and
presented the State Attorney’s Office with voluminous material in an effort to undermine some of
the victims’ credibility, including criminal records, victims’ social media postings (such as
MySpace pages) about their own sexual activity and drug use, and victim statements that appeared
to undercut allegations of criminal activity and Epstein’s knowledge of victims’ ages. Krischer

8
         Belohlavek stated that she did not consider charging procurement of a minor for prostitution—the charge
Epstein ultimately pled to pursuant to the NPA—because the police had not presented it.
9
         In April 2006, the State Attorney’s Office offered Epstein an opportunity to plead guilty to the third degree
felony of aggravated assault with the intent to commit a felony, with adjudication withheld and five years of probation
with no unsupervised contact with minors.


                                                         14
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 41 of 348




told OPR that Epstein’s local counsel brought attorney Alan Dershowitz to see Krischer and the
Assistant State Attorney, but Dershowitz was “overly aggressive” and threatened, “We’re going
to destroy your witnesses; don’t go to court because we’re going to destroy those girls.” According
to Krischer, Dershowitz so “tainted the waters” that Epstein also hired local attorney Jack
Goldberger, with whom Krischer had “a working relationship.” Because the husband of the
Assistant State Attorney was Goldberger’s law partner, Belohlavek recused the Assistant State
Attorney to remove “even the appearance of any kind of conflict” of interest, and Belohlavek took
over the case. Goldberger, together with Gerald Lefcourt, a nationally known New York criminal
defense attorney also representing Epstein, then directed their efforts at Belohlavek and Krischer
to dissuade the office from prosecuting Epstein, largely by attacking the credibility of the victim
witnesses.

        Meanwhile, the State Attorney’s Office took the unusual step of preparing to present the
case to a grand jury. Krischer told OPR that under state law as it existed until changed in 2016,
his office prosecuted minors as young as 14 for prostitution.10 The possibility that Epstein’s
victims themselves could have been prosecuted caused “great consternation within the office,” and
according to Krischer, resulted in the decision to put the case before the grand jury. 11 Belohlavek
told OPR that her office took the allegations against Epstein “seriously, because . . . it was an
organized scheme to involve young girls by offering them money. And I wouldn’t say that we . . .
thought they were prostitutes . . . [but] I think there was solicitation.” However, she said, although
Epstein’s “behavior was reprehensible, . . . I’m limited by . . . the state statutes as to what I can
charge.” Krischer told OPR, “There were so many issues involving the victim-witnesses that to
my mind, in consultation with my [prosecutors], the only way to achieve, to my mind, real justice
was to present the case to the grand jury and not to direct-file” criminal charges against Epstein.

        C.       Florida State Procedure for Bringing Criminal Charges

        Federal criminal procedure requires that a felony charge—that is, any charge punishable
by imprisonment for one year or more—be brought by a grand jury unless waived by a defendant.12
Under Florida law, however, a grand jury is required to bring criminal charges only in a death
penalty case. 13 For all other cases, a State Attorney has concurrent authority to file criminal
charges by means of a document called an “information” or to seek a grand jury indictment.
Although Florida criminal cases are routinely charged by information, state grand juries are often
utilized in sensitive or high-profile cases, such as those involving allegations of wrongdoing by
public officials. 14 Florida grand jury proceedings are subject to strict secrecy rules that, among

10
        Belohlavek told OPR that prostitution was a misdemeanor charge, and she did not handle misdemeanors.
11
          Because the Florida Department of Law Enforcement investigation into the State Attorney’s Office’s
handling of the Epstein case was pending at the time OPR interviewed Krischer, he declined to further explain to OPR
his office’s prosecutive decisions.
12
        U.S. Const. amend. V; Fed. R. Crim. P. 7(a), (b). The sole exception under the rule is felony criminal
contempt, which need not be charged by indictment. Fed. R. Crim. P. 7(a)(1).
13
        Fla. Const. Art. I, § 15(a).
14
        The Florida Bar, The Grand Jury, Reporters Handbook – The Grand Jury, available at https://www floridabar.
org/news/resources/rpt-hbk/rpt-hbk-13/.


                                                        15
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 42 of 348




other things, prohibit anyone from being present while grand jurors deliberate and vote, and
proscribe the release of the notes, records, and transcripts of a grand jury. 15

         D.       PBPD Chief Reiter Becomes Concerned with the State Attorney’s Office’s
                  Handling of the State Investigation and Seeks a Federal Investigation

      In 2006, PBPD Chief Reiter perceived that Krischer’s attitude had changed and, according
to Reiter’s statements in his 2009 deposition, Krischer said that he did not believe the victims were
credible. Reiter was disturbed when Krischer suggested that the PBPD issue a notice for Epstein
to appear in court on misdemeanor charges, leading Reiter to begin questioning Krischer’s
objectivity and the State Attorney’s Office’s approach to the case. As Reiter explained in his
deposition:

                  This was a case that I felt absolutely needed the attention of the State
                  Attorney’s Office, that needed to be prosecuted in state court. It’s
                  not generally something that’s prosecuted in a federal court. And I
                  knew that it didn’t really matter what the facts were in this case, it
                  was pretty clear to me that Mr. Krischer did not want to prosecute
                  this case.

         On May 1, 2006, Reiter submitted to Krischer probable cause affidavits and a case filing
package relating to Epstein, one of his personal assistants, and a young local woman whom Epstein
first victimized and then used to recruit other girls. In his transmittal letter, which was later made
public, Reiter criticized Krischer, noting that he found the State Attorney’s Office’s “treatment of
these cases [to be] highly unusual.” 16 Reiter urged Krischer “to examine the unusual course that
your office’s handling of this matter has taken” and to consider disqualifying himself from
prosecuting Epstein. 17

III.     THE FBI AND THE USAO INVESTIGATE EPSTEIN, AND THE DEFENSE
         TEAM ENGAGES WITH THE USAO

         A.       May 2006 – February 2007: The Federal Investigation Is Initiated, and the
                  USAO Opens a Case File

        In early 2006, a West Palm Beach FBI Special Agent who worked closely with
AUSA Ann Marie Villafaña on child exploitation cases—and who is referred to in this Report as
“the case agent”—mentioned to Villafaña in “casual conversations” having learned that the PBPD
was investigating a wealthy Palm Beach man who recruited minors for sexual activity. The case
agent told Villafaña that the PBPD had reached out to the FBI because the State Attorney’s Office
was considering either not charging the case or allowing the defendant to plead to a misdemeanor
15
         Fla. Stat. § 905.27 (2007).
16
         See Larry Keller, “Palm Beach chief focus of fire in Epstein case,” Palm Beach Post, Aug. 14, 2006.
17
        As noted, Krischer generally declined in his OPR interview to explain his office’s prosecutive decisions;
however, regarding allegations of favoritism to Epstein’s defense counsel, Krischer told OPR, “I just don’t play that
way.”


                                                        16
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 43 of 348




charge. Villafaña suggested meeting with the PBPD, but the case agent explained that before
formally presenting the case to the FBI, the PBPD wanted to see how the State Attorney’s Office
decided to charge Epstein.

                   1.       The PBPD Presents the Matter to the FBI and the USAO

        In May 2006, the lead Detective handling the state’s investigation met with Villafaña and
the FBI case agent to summarize for them the information learned during the state’s
investigation. 18 At the time, neither Villafaña nor the case agent had heard of Epstein or had any
knowledge of his background.

        According to Villafaña, during this meeting, the Detective expressed concern that “pressure
had been brought to bear on . . . Krischer by Epstein’s attorneys,” and he and Chief Reiter were
concerned the state would charge Epstein with only a misdemeanor or not at all. 19 The Detective
explained that the defense had hired private investigators to trail Reiter and the Detective, had
raised claims of various improprieties by the police, and, in the view of the PBPD, had orchestrated
the removal of the Assistant State Attorney initially assigned to handle the matter, who was viewed
as an aggressive prosecutor, by hiring a defense attorney whose relationship with the Assistant
State Attorney created a conflict of interest for the prosecutor. Further, given the missing computer
equipment and surveillance camera videotapes, the Detective believed Epstein may have been
“tipped off” in advance about the search warrant.

        During the meeting, Villafaña reviewed the U.S. Code to see what federal charges could
be brought against Epstein. She focused on 18 U.S.C. §§ 2422 (enticement of minors into
prostitution or other illegal sexual activity and use of a facility of interstate or foreign commerce
to persuade or induce a minor to engage in prostitution or other illegal sexual activity) and 2423
(travel for purposes of engaging in illegal sexual conduct). As they discussed these charges, the
Detective told Villafaña that Epstein and his assistants had traveled out of the Palm Beach
International Airport on Epstein’s private airplane, and flight logs sometimes referred to
passengers as “female” without a name or age, which the Detective suspected might be references
to underage girls. However, the Detective acknowledged that he was unable to confirm that
suspicion and did not have firm evidence indicating that Epstein had transported any girls interstate
or internationally. Nevertheless, Villafaña believed Epstein could be prosecuted federally, in part
because of his own interstate and international travel to the Southern District of Florida to abuse
girls. Villafaña discussed with the Detective and the case agent the additional investigation needed
to prove violations of the federal statutes she had identified. She told them that if the evidence
supported it, the case could be prosecuted federally, but she assured them that opening a federal
investigation would not preclude the State Attorney’s Office from charging Epstein should it
choose to do so.



18
         The Detective died in May 2018.
19
         In his 2009 deposition, Reiter testified that after he referred the Epstein matter to the FBI, a Town of Palm
Beach official approached Reiter and criticized his referral of the investigation to the FBI, telling Reiter that the victims
were not believable and “Palm Beach solves its own problems.”


                                                            17
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 44 of 348




                 2.       May 2006: The USAO Accepts the Case and Opens a Case File

        On May 23, 2006, Villafaña prepared the paperwork to open a USAO case file. Villafaña
told OPR that several aspects of the case implicated federal interests and potentially merited a
federal prosecution: (1) the victimization of minors through the use of facilities of interstate
commerce (the telephone and airports); (2) the number of victims involved; (3) the possibility that
Epstein had been producing or possessing child pornography (suggested by the removal of the
computer equipment from his residence); and (4) the possibility that improper political pressure
had affected the State Attorney Office’s handling of the case. The investigation was named
“Operation Leap Year” because the state investigation had identified approximately 29 girls as
victims of Epstein’s conduct. 20

        Villafaña told OPR that from the outset of the federal investigation, she understood that
the case would require a great deal of time and effort given the number of potential victims and
Epstein’s financial resources. Nonetheless, Villafaña was willing to put in the effort and believed
that the FBI was similarly committed to the case. Villafaña discussed the case with her immediate
supervisor, who also “thought it would be a good case” and approved it to be opened within the
USAO’s file management system, and on May 23, 2006, it was formally initiated.

                 3.       July 14, 2006: Villafaña Informs Acosta and Sloman about the Case

        Because Villafaña was not familiar with Epstein, she researched his background and
learned that he “took a scorched earth approach” to litigation. Villafaña was aware that Epstein
had hired multiple lawyers to interact with the State Attorney’s Office in an effort to derail the
state case, and she believed he would likely do the same in connection with any federal
investigation.

        Therefore, Villafaña arranged to meet with U.S. Attorney Alexander Acosta and Jeffrey
Sloman, who at the time was the Criminal Division Chief. 21 Villafaña told OPR that she had never
before asked to meet with “executive management” about initiating a case, but the allegations that
Epstein had improperly influenced the State Attorney’s Office greatly troubled her. Villafaña
explained to OPR that she wanted to ensure that her senior supervisors were “on board” with the
Epstein investigation. In addition, she viewed Sloman as a friend, in whom she had particular
confidence. At this point, although Villafaña’s immediate supervisor was aware of the case,
Villafaña did not inform Andrew Lourie, who was then in charge of the West Palm Beach office
and her second-line supervisor, about the matter or that she was briefing Acosta and Sloman.

       Villafaña met with Acosta and Sloman in Miami on July 14, 2006. She told OPR that at
the meeting, she informed them that the PBPD had identified a group of girls who had provided to

20
         Villafaña opened “Operation Leap Year” during the same month in which the Department launched its
“Project Safe Childhood” initiative, and Acosta designated Villafaña to serve as the USAO’s Project Safe Childhood
coordinator.
21
         Although Acosta had been formally nominated to the U.S. Attorney position on June 9, he was not confirmed
by the Senate until August 3, 2006, and was not sworn in until October 2006. In September 2006, Acosta announced
the appointments of Sloman as FAUSA and Matthew Menchel as Chief of the USAO’s Criminal Division, and they
assumed their respective new offices in October 2006.


                                                       18
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 45 of 348




Epstein massages that were sexual in nature, and that Epstein had used “various types of pressure”
to avoid prosecution by the state, including hiring attorneys who had personal connections to the
State Attorney. Villafaña said that part of her goal in speaking to Acosta and Sloman at the outset
of the federal investigation was to sensitize them to the tactics Epstein’s legal team would likely
employ. Villafaña explained, “When you have a case that you know people are going to be getting
calls about . . . you just want to make sure that they know about it so they don’t get . . . a call from
out of the blue.” According to Villafaña, she told Acosta and Sloman that the FBI was willing to
put the necessary resources into the case, and she was willing to put in the time, but she “didn’t
want to get to the end and have [the] same situation occur” with a federal prosecution as had
occurred with the state. She told OPR, “I remember specifically saying to them that I expected
the case would be time and resource-intensive and I did not want to invest the time and the FBI’s
resources if the Office would just back down to pressure at the end.” According to Villafaña,
Acosta and Sloman promised that “if the evidence is there, we will prosecute the case.” In a later
email to Lourie and her immediate supervisor, Villafaña recounted that she spoke with Acosta and
Sloman because she “knew that what has happened to the state prosecution can happen to a federal
prosecution if the U.S. Attorney isn’t on board,” but Acosta and Sloman had given her “the green
light” to go forward with the Epstein investigation.

       Both Acosta and Sloman told OPR that they did not recall the July 2006 meeting with
Villafaña. Each told OPR that at the time the federal investigation was initiated, he had not
previously heard of Epstein. 22

        Acosta told OPR that he understood from the outset that the case involved a wealthy man
who was “doing sordid things” with girls, and that it “seemed a reasonable matter to pursue”
federally. Epstein’s wealth and status did not raise any concern for him, because, as Acosta told
OPR, the USAO had prosecuted “lots of influential folks.” When asked by OPR to articulate the
federal interest he perceived at the time to be implicated by the case, Acosta responded, “the
exploitation of girls or minor females.” Regarding Villafaña’s view that she had been given a
“green light” to proceed with the investigation, Acosta told OPR that he would not likely have
explicitly told Villafaña to “go spend your time” on the case; rather, his practice would have been
simply to acknowledge the information she shared about the case and confirm that a federal
investigation “sound[ed] reasonable.”

        Sloman told OPR that he could not recall what he initially knew about the Epstein
investigation, other than that he had a basic understanding that the State Attorney’s Office had
“abdicated their responsibility” to investigate and prosecute Epstein. In his OPR interview,
Sloman did not recall with specificity Villafaña’s concern about Epstein’s team pressuring the
State Attorney’s Office, but he said he was never concerned that political pressure would affect
the USAO, noting that as of July 2006, the USAO had recently prosecuted wealthy and politically
connected lobbyist Jack Abramoff.



22
         Lourie told OPR that when he first heard about the Leap Year investigation, he likewise was unaware of
Epstein. On July 24, 2006, Villafaña emailed to Sloman a link to a Palm Beach Post article that described Epstein as
a “Manhattan money manager” and “part-time Palm Beacher who has socialized with Donald Trump, Bill Clinton and
Kevin Spacey.” Sloman forwarded the article to Acosta.


                                                        19
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 46 of 348




                  4.       Late July 2006: The State Indicts Epstein, and the USAO Moves
                           Forward with a Federal Investigation

         Several days after Villafaña spoke with Acosta and Sloman, on July 19, 2006, Assistant
State Attorney Belohlavek presented the case to the state grand jury. 23 Krischer told OPR that
“the whole thing” was put before the grand jury. According to a statement made at the time by the
State Attorney’s Office spokesman, the grand jury was presented with a list of charges from highest
to lowest, without a recommendation by the prosecutor, and deliberated with the prosecutor out of
the room. 24 The state grand jury returned an indictment charging Epstein with one count of felony
solicitation of prostitution, in violation of Florida Statute § 796.07, a felony under state law because
it alleged three or more instances of solicitation. 25 The indictment did not identify the person or
persons solicited and made no mention of the fact that Epstein had solicited minors. 26 On July 23,
2006, Epstein self-surrendered to be arrested on the indictment, but was not detained, and the
charges were made public.

        Villafaña told OPR that she decided to move forward with the federal investigation at that
point because she believed the State Attorney’s Office would permit Epstein to enter a plea to a
reduced misdemeanor charge and that once he entered a guilty plea, the Department’s Petite policy
might preclude a federal prosecution. 27 Villafaña told OPR that at the time, she “definitely
believed that we were going to proceed to [a federal] indictment, assuming that . . . we had
sufficient evidence.”




23
          Villafaña and the FBI obtained and examined records of the state grand jury proceeding, and Lourie reviewed
them. Because the grand jury records have not been ordered released publicly, OPR does not discuss their substance
in this Report.
24
        Larry Keller, “Police say lawyer tried to discredit teenage girls,” Palm Beach Post, July 29, 2006, citing
statement by State Attorney’s Office spokesman Michael Edmondson.
25
         Indictment in State v. Epstein, 2006CF9454AXX (July 19, 2006), attached as Exhibit 1 to this Report.
26
          In pertinent part, the state indictment read, “[B]etween the 1st day of August [2004] and October 31, 2005,
[Epstein] did solicit, induce, entice, or procure another to commit prostitution lewdness, or assignation, . . . on three
or more occasions.” The 15-month time frame and lack of detail regarding the place or manner of the offense made
it impossible to identify from the charging document which victim or victims served as the basis for the charge in the
state indictment. Belohlavek explained to OPR that the charge did not list specific victims so that she could go forward
at trial with whichever victim or victims might be available and willing to testify at that time.
27
         The Petite policy is a set of guidelines used by federal prosecutors when considering whether to pursue federal
charges for defendants previously prosecuted for state or local offenses. The Constitution does not prohibit the federal
government from prosecuting defendants who have been charged, acquitted, or convicted on state charges based on
the same criminal conduct. The Supreme Court has repeatedly upheld the long-standing principle that the prohibition
against double jeopardy does not apply to prosecutions brought by different sovereigns. See, e.g., Gamble v. United
States, 587 U.S. ___, 139 S. Ct. 1960, 1966-67 (2019) (and cases cited therein); Abbate v. United States, 359 U.S.
187, 195 (1959) (and cases cited therein); and United States v. Lanza, 260 U.S. 377, 382 (1922). Nonetheless, to
better promote the efficient use of criminal justice resources, the Department developed policies in 1959 and 1960 to
guide federal prosecutors in the use of their charging discretion. See Chapter Two, Part Two, Section II.A.2, for a
more detailed discussion of the Petite policy.


                                                          20
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 47 of 348




        On July 24, 2006, Villafaña alerted Sloman, who informed Acosta, that the State Attorney’s
Office had charged and arrested Epstein. 28 On that same day, the FBI in West Palm Beach formally
opened the case, assigning the case agent and, later, a co-case agent, to investigate it. Villafaña
told Sloman that the FBI agents “are getting copies of all of the evidence and we are going to
review everything at [the] FBI on Wednesday,” and she noted that her target date for filing federal
charges against Epstein was August 25, 2006. Acosta emailed Sloman, asking whether it was
“appropriate to approach [State Attorney Krischer] and give him a heads up re where we might
go?” Sloman replied, “No for fear that it will be leaked straight to Epstein.” 29

         Although Lourie learned of the case at this point from Sloman, and eventually took a more
active role in supervising the investigation, Villafaña continued to update Acosta and Sloman
directly on the progress of the case. 30 Villafaña’s immediate supervisor in West Palm Beach had
little involvement in supervising the Epstein investigation, and at times, Villafaña directed her
emails to Sloman, Menchel, and Lourie without copying her immediate supervisor. In the
immediate supervisor’s view, however, “Miami” purposefully assumed all the “authority” for the
case, which the immediate supervisor regarded as “highly unusual.” 31

        By late August 2006, Villafaña and the FBI had identified several additional victims and
obtained “some flight manifests, telephone messages, and cell phone records that show the
communication and travel in interstate commerce” by Epstein and his associates. Villafaña
reported to her supervisors that the State Attorney’s Office would not provide transcripts from the
state grand jury voluntarily, and that she would be meeting with Chief Reiter “to convince him to
relinquish the evidence to the FBI.” Villafaña also told her supervisors that she expected “a
number of fights” over her document demands, and that some parties were refusing to comply
“after having contact with Epstein or his attorneys.”

       Villafaña’s reference to anticipated “fights” and lack of compliance led Sloman to ask
whether she was referring to the victims. Villafaña responded that the problems did not involve
victims, but rather a former employee of Epstein and some business entities that had objected to
document demands as overly burdensome. Villafaña explained to Sloman and Lourie that some
victims were “scared and/or embarrassed,” and some had been intimidated by the defense, but
“everyone [with] whom the agents have spoken so far has been willing to tell her story.” Villafaña

28
        On the same day, Sloman emailed Lourie, whom Villafaña had not yet briefed about the case, noting that
Operation Leap Year was “a highly sensitive case involving some Palm Beach rich guy.”
29
          During his OPR interview, Sloman did not recall what he meant by this remark, but speculated that it was
likely that “we didn’t trust the Palm Beach State Attorney’s Office,” and that he believed there may have been “some
type of relationship between somebody in the [State Attorney’s Office] and the defense team.”
30
         After Villafaña sent a lengthy substantive email about the case to her immediate supervisor, Lourie, Sloman,
and Acosta on August 23, 2006, Lourie emailed Sloman: “Do you and Alex [Acosta] want her updating you on the
case?” Sloman responded, “At this point, I don’t really care. If Alex says something then I’ll tell her to just run it
through you guys.”
31
          OPR understood “Miami” to be a reference to the senior managers who were located in the Miami office,
that is, Acosta, Sloman, and Menchel. Records show, and Villafaña told OPR, that she believed Epstein’s attorneys
“made a conscious decision to skip” her immediate supervisor and directed their communications to the supervisory
chain above the immediate supervisor—Lourie, Menchel, Sloman, and Acosta.


                                                         21
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 48 of 348




also informed Sloman and Lourie that the FBI was re-interviewing victims who had given taped
statements to the PBPD, to ensure their stories “have not changed,” and that “[a]ny discrepancies
will be noted and considered.” She conceded that “[g]etting them to tell their stories in front of a
jury at trial may be much harder,” but expressed confidence that the two key victims “will stay the
course.” She acknowledged that the case “needs to be rock solid.”

        The case agent told OPR that in this initial stage of the investigation, the FBI “partnered
up very well” with the USAO. She recalled that there was little higher-level management oversight
either from the FBI or the USAO, and “we were allowed to do what we needed to do to get our
job done.” This included continuing to identify, locate, and interview victims and Epstein
employees, and obtaining records relating to Epstein’s travel, communications, and financial
transactions. The case agent viewed the case as “strong.”

                  5.       October 2006 – February 2007: Epstein’s Defense Counsel Initiate
                           Contact with Villafaña, Lourie, and Sloman, and Press for a Meeting

        Just as Epstein had learned of the PBPD investigation at its early stage, he quickly became
aware of the federal investigation, both because the FBI was interviewing his employees and
because the government was seeking records from his businesses. One of Epstein’s New York
attorneys, Gerald Lefcourt, made initial contact with Villafaña in August 2006. As the
investigation progressed, Epstein took steps to persuade the USAO to decline federal
prosecution. 32 As with the state investigation, Epstein employed attorneys who had experience
with the Department and relationships with individual USAO personnel. 33 One of Epstein’s
Miami lawyers, Guy Lewis, a former career AUSA and U.S. Attorney for the Southern District of
Florida, made an overture on Epstein’s behalf in early November 2006. 34 Lewis telephoned
Villafaña, a call that Sloman joined at Villafaña’s request. Lewis offered to provide Villafaña



32
         Villafaña told OPR that Epstein’s lawyers wanted to stop the investigation “prematurely.”
33
         Chapter One, Section III.B of this Report identifies several of the attorneys known to have represented
Epstein in connection with the federal investigation, along with a brief summary of their connections to the
Department, the USAO, or individuals involved in the investigation. At least one former AUSA also represented
during civil depositions individuals associated with Epstein. Menchel told OPR that he and his colleagues recognized
Epstein was selecting attorneys based on their perceived influence within the USAO, and they viewed this tactic as
“ham-fisted” and “clumsy.” Menchel told OPR, “[O]ur perspective was this is not going to . . . change anything.”
34
         Lewis served in the USAO for over 10 years, and was U.S. Attorney from 2000 to 2002. He then served for
two years as Director of the Executive Office for U.S. Attorneys, the Department’s administrative office serving the
U.S. Attorneys.

          Early in the investigation, Lourie voluntarily notified the USAO’s Professional Responsibility Officer that
Lourie was friends with Lewis and also had a close friendship with Lewis’s law partner, who also was a former AUSA
and also represented Epstein. Lourie requested guidance as to whether his relationships with Lewis and Lewis’s law
partner created either a conflict of interest or an appearance of impropriety mandating recusal. The Professional
Responsibility Officer responded that Lourie’s relationships with the two men were not “covered” relationships under
the conflict of interest guidelines but deferred to Sloman or Menchel “to make the call.” Thereafter, Sloman authorized
Lourie to continue supervising the case. During his OPR interview, Lourie asserted that his personal connection to
Lewis did not influence his handling of the case.


                                                         22
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 49 of 348




“‘anything’ she wanted” without the necessity of legal process. Lewis asked to meet with Villafaña
and Sloman to discuss the Epstein investigation, but Villafaña declined.

        Shortly thereafter, Lilly Ann Sanchez, a former AUSA, contacted Sloman and advised him
that she also represented Epstein. Sanchez was employed by the USAO from 2000 to September
2005 and had been a Deputy Chief of the USAO’s Major Crimes section at the time Menchel was
the Chief. According to Sloman’s contemporaneous email recounting the conversation, when
Sanchez indicated to him that his participation in Lewis’s call with Villafaña led the defense team
to believe that the matter had been “elevated” within the USAO, Sloman tried to “disabuse” her of
that notion. Sanchez said that Epstein “wanted to be as transparent and cooperative as possible”
in working with the USAO. Despite the fact that Lewis had already made contact with the USAO
on Epstein’s behalf, Sanchez sent a letter to Villafaña on November 15, 2006, in which she asserted
that she and Gerald Lefcourt were representing Epstein and asked that the USAO direct all contact
or communications about Epstein to them. In response, Villafaña requested that the defense
provide documents and information pertinent to the federal investigation, including the documents
and information that Epstein had previously provided to the State Attorney’s Office, and
“computers, hard drives, CPUs [computer processing units], and any other computer media”
removed from Epstein’s home before the PBPD executed its search warrant in October 2005. In
January 2007, Sanchez contacted Villafaña to schedule a meeting, but Villafaña responded that
she wanted to receive and review the documents before scheduling a meeting with Sanchez.

        Immediately after receiving Villafaña’s response, Sanchez bypassed Villafaña and phoned
Lourie, with whom she had worked when she was an AUSA, to press for a meeting. Lourie agreed
to meet with Sanchez and Lefcourt. Lourie explained to Villafaña that Sanchez was concerned
that federal charges were “imminent,” wanted to meet with the USAO and “make a pitch,” and
promised that once given the opportunity to do so, if the USAO “wanted to interview Epstein, that
would be a possibility.” Villafaña told Lourie that Sanchez had not yet provided the documents
she had promised, and Villafaña wanted “the documents not the pitch.” Lourie explained to OPR,
however, that it was his practice to grant meetings to defense counsel; he considered it “good for
us” to learn the defense theories of a case and believed that “information is power.” Lourie further
explained that learning what information the defense viewed as important could help the USAO
form its strategy and determine which counts relating to which victims should be charged. Lourie
also believed that as a general matter, prosecutors should grant defense requests to make a
presentation, because “[p]art of [the] process is for them to believe they are heard.” In addition to
agreeing to a meeting, Lourie sent Sanchez a narrowed document request, which responded to
Sanchez’s complaint that the USAO’s earlier request was overbroad but which retained the
demand for the computer-related items removed from Epstein’s home. The meeting was scheduled
for February 1, 2007, and Lourie asked Sanchez to provide the documents and materials to the
USAO by January 25, 2007.

        Villafaña did not agree with Lourie’s decision to meet with Sanchez and Lefcourt. Indeed,
two days after Lourie agreed to the meeting, Villafaña alerted him that she had spoken again with
Sanchez and learned that Epstein was not going to provide the requested documents. As Villafaña
told Lourie, “I just get to listen to the pitch and hear about how the girls are liars and drug users.”
She told OPR that in her view, “it was way too early to have a meeting,” she already knew what
the defense would say, and she could not see how a meeting would benefit the federal investigation.
She explained to Lourie the basis for her objections to the meeting, but Lourie “vehemently”

                                                  23
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 50 of 348




disagreed with her position. Villafaña and a West Palm Beach AUSA with whom she was
consulting about the investigation, and who served for a time as her co-counsel, both recalled
meeting with Lourie in his office to express their concerns about meeting with defense counsel.
They perceived Lourie to be dismissive of their views. 35 According to Villafaña, Lourie believed
that a meeting with the defense attorneys would be the USAO’s chance to learn the defense’s legal
theories and would position the USAO to arrange a debriefing of Epstein, through which the USAO
might learn information helpful to a prosecution. Villafaña told OPR, however, that while this
strategy might make sense in a white-collar crime case, she did not believe it was appropriate or
worthwhile in a child exploitation case, in which the perpetrator would be unlikely to confess to
the conduct. Villafaña also told OPR that she did not believe the USAO could extract information
about the defense legal theories without telling the defense the precise crimes the USAO intended
to charge, which Villafaña did not want to reveal.

                 6.       February 2007: Defense Counsel Meet with Lourie and Villafaña and
                          Present the Defense Objections to a Federal Case

        At the February 1, 2007 meeting with Lourie and Villafaña, Sanchez and Lefcourt set out
arguments that would be repeated throughout the months-long defense campaign to stop the federal
investigation. In support of their arguments, the defense attorneys provided a 25-page letter, along
with documents the defense had obtained from the state’s investigative file and potential
impeachment material the defense had developed relating to the victims.

        In the letter and at the meeting, defense counsel argued that (1) the allegations did not
provide a basis for the exercise of federal jurisdiction; (2) the evidence did not establish that
Epstein knew girls who provided him with massages were minors; (3) no evidence existed proving
that any girl traveled interstate to engage in sex with Epstein; (4) the USAO would violate the
Petite policy by initiating federal prosecution of a matter that had already been addressed by the
state; and (5) there were “forensic barriers” to prosecution, referring to witness credibility issues.
The letter suggested that “misleading and inaccurate reports” from the PBPD “may well have
affected” the USAO’s view of the case. The letter also claimed that the State Attorney’s Office
had taken into account the “damaging histories of lies, illegal drug use, and crime” of the state’s
two principal victims (identified by name in the letter), and argued that “with witnesses of their
ilk,” the state might have been unable “to make any case against Epstein at all.” Lourie told OPR
that he did not recall the meeting, but Villafaña told OPR that neither she nor Lourie was persuaded
by the defense presentation at this “listening session.”

        B.       February – May 2007: Villafaña and the FBI Continue to Investigate;
                 Villafaña Drafts a Prosecution Memorandum and Proposed Indictment for
                 USAO Managers to Review

       Correspondence between Villafaña and defense counsel show that Villafaña carefully
considered the defense arguments concerning the victims’ credibility, and she reviewed audiotapes

35
          Villafaña told OPR that in a “heated conversation” on the subject, Lourie told them they were not being
“strategic thinkers.” Her fellow AUSA remembered Lourie’s “strategic thinker” comment as well, but recalled it as
having occurred later in connection with another proposed action in the Epstein case. Lourie did not recall making
the statement but acknowledged that he could have.


                                                       24
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 51 of 348




of the state’s victim interviews and partial transcripts provided by defense counsel. 36 Villafaña
also pursued other investigative steps, which included working with the FBI to locate an expert
witness to testify about the effect of sexual abuse on victims. She also continued collecting records
relating to Epstein’s business entities, in part to help establish the interstate nexus of Epstein’s
activity. On several occasions, Villafaña sought guidance from CEOS, which had considerable
national expertise in child exploitation cases, about legal issues relating to the case, such as
whether charges she was considering required proof that the defendant knew a minor victim’s age.

       USAO procedures generally required that a proposed indictment be accompanied by a
prosecution memorandum from the AUSA handling the case. The prosecution memorandum was
expected to explain the factual and legal bases for the proposed charges and address any significant
procedural, factual, and legal issues of which the AUSA was aware; witness-related issues;
expected defenses; and sentencing issues. Routine prosecutions could be approved by lower-level
supervisors, but in high-profile or complex cases, proposed indictments might require review and
approval by the Criminal Division Chief, the FAUSA, or even the U.S. Attorney.

        Accordingly, Villafaña drafted an 82-page prosecution memorandum directed to Acosta,
Sloman, Menchel (who had replaced Sloman as the USAO’s Criminal Division Chief the previous
October, when Sloman became the FAUSA), Lourie, and her immediate supervisor, dated May 1,
2007, supporting a proposed 60-count indictment that charged Epstein with various federal crimes
relating to sexual conduct with and trafficking of minors. The prosecution memorandum set forth
legal issues and potential defenses relating to each proposed charge; explained why certain other
statutes were rejected as proposed charges; described the evidence supporting each count and
potential evidentiary issues; and addressed the viability and credibility of each of the victims who
were expected to testify at trial.

       Villafaña’s immediate supervisor told OPR that she read the prosecution memorandum,
had only a few small edits to the indictment, and advised Lourie that she approved of it. The
immediate supervisor told OPR that she viewed the case as prosecutable, but recognized that the
case was complex and that Villafaña would need co-counsel.

        In his OPR interview, Lourie recalled thinking that the prosecution memorandum and
proposed indictment “were very thorough and contained a lot of hard work,” but that he wanted to
employ a different strategy for charging the case, focusing initially only on the victims that
presented “the toughest cases” for Epstein—meaning those about whom Epstein had not already
raised credibility issues to use in cross-examination. Lourie told OPR that although he had some
concerns about the case—particularly the government’s ability to prevail on certain legal issues
and the credibility challenges some of the victims would face—he did not see those concerns as
insurmountable and was generally in favor of going forward with the prosecution.

       Although indictments coming out of the West Palm Beach office usually did not require
approval in Miami, in this case, Lourie understood that “[b]ecause there was front office
involvement from the get-go,” he would not be the one making the final decision whether to go


36
        Lefcourt and Sanchez provided the recordings during a follow-up meeting with Lourie and Villafaña on
February 20, 2007, and thereafter furnished the transcripts.


                                                    25
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 52 of 348




forward with charges in this case. Lourie forwarded a copy of the prosecution memorandum to
Menchel. Lourie’s transmittal message read:

                  Marie did a 50 [sic] page pros memo in the Epstein case. I am going
                  to start reading it tonight. . . . It’s a major case because the target is
                  one of the richest men in the country and it has been big news. He
                  has a stable of attorneys, including Dershowitz, [Roy] Black,
                  Lefcourt, Lewis, and Lily [sic] Sanchez. Jeff Sloman is familiar
                  with the investigation. The state intentionally torpedoed it in the
                  grand jury so it was brought to us. I am going to forward the pros
                  memo to you so you can start reading it at the same time I do. The
                  FBI is pushing to do it in Mid [sic] May, which I think is not critical,
                  but we might as well get a jump on it. I have some ideas about the
                  indictment (needs to be ultra lean with only clean victims), so I am
                  not sending that yet.

Lourie explained to OPR that by “clean” victims, he meant those for whom the defense did not
have impeachment evidence to use against them.

        A few days later, Lourie emailed Menchel, asking if Menchel had read the prosecution
memorandum. Lourie directed Menchel’s attention to particular pages of the prosecution
memorandum, noting that the “keys” were whether the USAO could prove that Epstein traveled
for the purpose of engaging in sexual acts, and the fact that some minor victims told Epstein they
were 18. 37 Lourie asked for Menchel’s “very general opinion as to whether this is a case you think
the office should do,” and reminded Menchel that the State Attorney’s Office “went out of their
way to get a no-bill on this . . . and thus only charged adult solicitation, which they would bargain
away to nothing.”

       During his OPR interview, Menchel said that Lourie’s email transmitting the prosecution
memorandum was his “official introduction” to the case and at that point in time, he had never
heard of Epstein and had no information about his background. He recalled that the USAO had
been asked to review the case because the state had not handled it appropriately. Menchel told
OPR, however, that he had little memory about the facts of the case or what contemporaneous
opinions he formed about it.

       Acosta told OPR that he could not recall whether he ever read Villafaña’s prosecution
memorandum, explaining that he “would typically rely on senior staff,” who had more
prosecutorial experience, and that instead of reading the memorandum, he may have discussed the
case with Sloman, Menchel, and Lourie, who he assumed would have read the document. Acosta

37
         In various submissions to the USAO, the defense contended that the federal statute required proof that
engaging in a sexual act was the “paramount or dominant purpose” of Epstein’s travel, but that Epstein’s travel was
motivated by his desire to live outside of New York for over half of each year for tax purposes. The defense also
asserted that the federal statutes at issue required proof that the defendant knew the victims were under 18, but that
Epstein “took affirmative steps to ensure that every woman was at least 18 years of age.” In her prosecution
memorandum, however, Villafaña set forth her conclusion that the statute only required proof that engaging in a sexual
act was one of the motivating factors for the travel. She also concluded that the statutes did not require proof that the
defendant knew the victims were minors.


                                                          26
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 53 of 348




recalled generally having conversations with Sloman and Menchel about the Epstein case, but he
could not recall with specificity when those conversations took place or the details of the
discussions.

        Sloman told OPR that because of his broad responsibilities as FAUSA, he left it to
Menchel, as a highly experienced trial attorney and the Criminal Division Chief, to work directly
with Acosta, and Sloman recalled that it was Menchel and Lourie who conducted a “granular
review” of the charging package. Acosta confirmed to OPR that Sloman and Menchel “were a
team” who became involved in issues as needed, and if Sloman perceived that Menchel was taking
the lead on the Epstein matter, Sloman may have deferred to Menchel.

         C.       May – June 2007: Miami Managers Consider the Prosecution Memorandum
                  and Proposed Charges

        When she submitted the prosecution memorandum, Villafaña intended to file charges by
May 15, 2007, and the FBI planned to arrest Epstein immediately thereafter. Villafaña, however,
had not obtained authorization to indict on that schedule. The managers in Miami wanted time to
analyze the lengthy prosecution memorandum and consider the potential charges and charging
strategy. Just a few days after he received the prosecution memorandum, and after learning that
the FBI was planning a press conference for May 15, Sloman advised Villafaña that “[t]his Office
has not approved the indictment. Therefore, please do not commit us to anything at this time.” 38

        On May 10, 2007, with Menchel’s concurrence, Lourie sent a copy of Villafaña’s
prosecution memorandum to CEOS Chief Andrew Oosterbaan, who in turn sent it to his deputy
and another CEOS attorney, asking them to assess the legal issues involved in the case and
describing it as a “highly sensitive” case involving “a high profile, very rich defendant.” 39 After
CEOS reviewed the materials, Oosterbaan responded to Lourie with an email stating that the
memorandum was “exhaustive” and “well done” and noting that Villafaña “has correctly focused
on the issues as we see them.” He summarized CEOS’s analysis of the application of key facts to
the statutes she proposed charging, concurring in Villafaña’s assessments but noting that further
research was needed to determine whether certain statutes required proof of a defendant’s
knowledge of victims’ ages. Oosterbaan offered to assign a CEOS attorney to work with Villafaña
on the case. Lourie forwarded Oosterbaan’s email to Menchel and Villafaña.

        Meanwhile, contemporaneous emails show that Lourie, at least, was already considering
an early resolution of the case through a pre-indictment plea agreement. 40 After Lourie spoke with
38
         Lourie later reported to Menchel that the FBI had “wanted to arrest [Epstein] in [the] Virgin Islands during a
beauty pageant . . . where he is a judge.” The case agent recalled that she and her co-case agent were disappointed
with the decision, and that the Supervisory Special Agent was “extremely upset” about it. After the federal
investigation began, and except for his self-surrender to face the state indictment in July 2006, Epstein largely stayed
away from West Palm Beach, only returning occasionally.
39
         Before becoming Chief of CEOS, Oosterbaan was an AUSA at the USAO for about ten years and was good
friends with Lourie.
40
          In her prosecution memorandum, Villafaña argued against pre-charge plea negotiations, arguing that it “may
undermine our arguments for pretrial detention.” Menchel, however, told OPR that he did not consider strengthening
a bail argument to be a valid ground to decline to meet with defense counsel about a case.


                                                          27
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 54 of 348




the FBI squad supervisor on May 9, 2007, to explain that charges against Epstein would not be
quickly approved, he reported to Menchel that the FBI was “not happy” about the delay, adding,
“I did not even tell them I think we should bring [Epstein] in, once we decide to charge him, and
offer a pre-indictment deal, figuring a judge might never agree to such a deal post indictment. That
would have sent them thru the roof.” Lourie explained to OPR that he thought a judge, after seeing
an indictment charging the full nature and scope of Epstein’s conduct, might not agree to a plea
involving substantially less time or to dismiss substantive charges. 41

         Lourie told OPR that despite Oosterbaan’s favorable opinion of the case, “[t]his was . . . a
bit of uncharted territory,” involving facts that were unlike the case law Oosterbaan had cited.
Although Lourie had some concerns about the legal issues and about the witnesses, he “probably”
did not see any impediment to going forward with the case; in fact, Lourie “was not in favor of
walking away, which is what the defense wanted [the USAO] to do.” But while Lourie “thought
we could have won and we could have prevailed through appeal,” he “didn’t think the odds were
nearly as good as you want in a criminal case, and . . . the things that we had to gain [through a
plea agreement] were much more than [in] a normal criminal case,” in which the only cost of a
loss would be that the defendant did not go to jail. Lourie told OPR that to the best of his
recollection, he thought a plea agreement would be a good result, and although the government
might have to “give up some jail time,” there were other benefits to a plea, such as the ability to
require Epstein to register as a sex offender and the availability of monetary damages for the
victims. Lourie recalled “thinking that this case should settle and we should set it up so we can
settle it” by, for example, charging Epstein by complaint and then negotiating a plea to limited
charges in a criminal information. Villafaña told OPR that she agreed with Lourie that a criminal
complaint charging an “omnibus conspiracy” containing “all of the information related to what the
case was about” would be a good way to “get things moving” toward a pre-indictment plea.

        Although Lourie and Villafaña believed a pre-indictment plea agreement was a desired
resolution, there was no guarantee that Epstein would agree to plead guilty, and they continued to
work together to shape an indictment. On May 10, 2007, Lourie emailed Villafaña:

                  [M]arie
                  I believe that Epstein’s att[orneys] are scared of the victims they
                  don’t know. Epstein has no doubt told them that there were many.
                  Thus I believe the f[ir]st indictment should contain only the victims
                  they have nothing on at all. We can add in the other ones that have
                  myspace [sic] pages and prior testimony in a [superseding
                  indictment]. I think for the first strike we should make all their
                  nightmare[]s come true. Thoughts? 42




41
          Lourie explained to OPR that the government’s dismissal of counts in an indictment required the court’s
approval, and that, while “it’s rare,” it was possible that a judge, seeing the nature and extent of Epstein’s conduct as
set forth in an extensive indictment, might not allow substantive counts to be dismissed.
42
         Lourie’s references to MySpace pages and “prior testimony” referred to the impeachment information
brought forward by defense counsel.


                                                          28
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 55 of 348




        Lourie followed up his email to Villafaña with one to Menchel, in which Lourie reiterated
the potential benefits of a pre-indictment plea, explaining that he and Villafaña believed “the best
thing to do is charge Epstein by complaint, assuming we decide to charge him. . . . The
[sentencing] guidelines will be in the 20 year range, so we would need to plead him to one or two
conspiracies to cap him and there is no telling if a judge would go for that once we indict.”43
Menchel responded that he and Acosta would read the prosecution memorandum and “[w]e can
discuss after that.”

       Later that afternoon, Villafaña sent Lourie an email, which Lourie forwarded to Menchel,
explaining that a “conservative calculation” of Epstein’s potential sentencing exposure under the
U.S. Sentencing Guidelines would be 168 to 210 months, and that in her view, the facts warranted
an upward departure from that range. Villafaña told OPR that although Lourie proposed some
changes to the draft indictment, at that point no one had told her that the evidence was insufficient
to support the proposed charges or that the office did not want to go forward with the case.

       In an email to Acosta and Menchel on May 11, 2007, Lourie recommended charging
Epstein by complaint and seeking a pre-indictment plea:

                 My current thoughts are that we should charge him. Not sure that I
                 agree with the charging strategy as it is now, but at this point I think
                 we only need to get on the same page as to whether the statutes cover
                 the conduct and whether the conduct is the type we should charge.
                 I think the answer to both is yes, although there is some risk on some
                 of the statutes as this is uncharted territory to some degree. We can
                 decide later what the [charging document] should look like precisely
                 and which victims should be charged.

                 I also think if we choose to go forward, we should start with a
                 complaint, arrest him, detain him . . . and then try to see if he wants
                 a pre-indictment resolution. That would give us more control [over]
                 a plea than if we indict him and need the court’s approval to dismiss
                 counts. We will need to cap him with conspiracy counts to make a
                 plea attractive and the court could give us a hard time with that if we
                 try to dismiss indicted counts.

       Although her supervisors were communicating among themselves about the case, Villafaña
was unaware of those discussions and was frustrated that she was not receiving more feedback.
She continued preparing to charge Epstein. Two weeks after submitting the prosecution
memorandum, on May 14, 2007, Villafaña informed Lourie and Menchel by email that Epstein
was flying to New Jersey from the Virgin Islands, and she asked whether she could file charges
the next day. Menchel responded that “[y]ou will not have approval to go forward tomorrow,”
and explained that Acosta “has your [prosecution] memo,” but was at an out-of-town conference,
adding, “This is obviously a very significant case and [A]lex wants to take his time making sure


43
       Lourie told OPR that he was referring to one or two counts of conspiracy under 18 U.S.C. § 371, the general
“omnibus” federal conspiracy statute that carries a maximum sentence of five years.


                                                       29
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 56 of 348




he is comfortable before proceeding.” Menchel told Villafaña he had “trouble understanding” why
she was in a “rush” “given how long this case has been pending.” 44

        OPR questioned Lourie, Menchel, Sloman, and Acosta about the timeline for reviewing
the prosecution memorandum and the proposed charges. Acosta and Menchel believed Villafaña’s
timeline was unrealistic from the start. Acosta told OPR that Villafaña was “very hard charging,”
but her timeline for filing charges in the case was “really, really fast.” Menchel described Villafaña
as “out over her skis a little bit” and “ahead of” Acosta in terms of his analysis of the case. 45
Menchel said it was clear to him that Acosta “was going to be the one making the call” about
whether to go forward with charges, and Acosta needed more time to make a decision. Menchel
told OPR, “This [was] not a case [we were] going to review in two weeks and make a decision
on.” Sloman told OPR that although he did not conduct a “granular review” of the proposed
charges, he believed Menchel and Lourie had done so and “obviously” had concluded that “the
facts and the law didn’t suggest that the right thing to do was to automatically indict.” Lourie told
OPR that he believed “the case was moving ahead.”

        Villafaña continued to seek direction from her managers. On May 15, 2007, she emailed
Sloman, noting that “[i]t seemed from our discussion yesterday that pestering Alex [Acosta] will
not do any good. Am I right about that?” Sloman responded, “Yes.” On May 21, 2007, three
weeks after submitting the prosecution memorandum, Villafaña emailed Sloman and Menchel
asking for “a sense of the direction where we are headed–i.e., approval of an indictment something
like the current draft, a complaint to allow for pre-indictment negotiations, an indictment
drastically different from the current draft?” Sloman responded only, “Taken care of.” 46

         D.       Defense Counsel Seek a Meeting with Senior USAO Managers, which
                  Villafaña Opposes

        Meanwhile, Epstein’s defense counsel continued to seek additional information about the
federal investigation and a meeting with senior USAO managers, including Acosta. In a May 10,
2007 email to Menchel, Lourie reported that Epstein’s attorneys “want me to tell them the statutes

44
          Villafaña explained to OPR that the “rush” related to her concern that Epstein was continuing to abuse girls:
“In terms of the issue of why the hurry, because child sex offenders don’t stop until they’re behind bars. That was our
time concern.” Menchel, however, told OPR that he did not recall Villafaña offering this explanation to him. OPR
notes that in their respective statements to OPR and in their comments on OPR’s draft report, Menchel and Villafaña
expressed contradictory accounts or interpretations of certain events. When it was necessary for OPR to resolve those
conflicts in order to reach its findings and conclusions, OPR considered the extensive documentary record and the
testimony of other subjects and witnesses, to the extent available.
45
          Sloman similarly recalled that Menchel thought Villafaña was “ahead of where the office was internally” and
that caused “discontent” between Villafaña and Menchel. Villafaña was not the only one, however, who was surprised
that the indictment was not approved immediately. The case agent told OPR that it seemed “everything changed”
after Villafaña submitted the prosecution memorandum, and the momentum towards an indictment abated. Villafaña’s
immediate supervisor told OPR that from her perspective, it appeared “Miami didn’t want the case prosecuted.”
However, Menchel rebuked Villafaña in his July 5, 2007 email to her for having “led the agents to believe that [filing
charges in] this matter was a foregone conclusion.”
46
        Sloman could not recall during his OPR interview what he meant by this remark, but he speculated that he
had spoken to Menchel, and Menchel was going to take care of it.


                                                         30
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 57 of 348




we are contemplating so Dershowitz can tell us why they don’t apply.” 47 Lourie told Menchel, “I
don’t see the downside,” but added, “Marie is against it.” Menchel responded that it was
“premature” to provide the information. During his OPR interview, Menchel could not specifically
recall why he believed it was “premature” to provide the defense with the requested information,
but speculated that it was too soon after the prosecution memorandum had been circulated for
Acosta to have made a decision about how he wanted to proceed. This recollection is consistent
with the May 2007 emails reflecting that Acosta wanted time to consider the proposed prosecution.

        On May 22, 2007, defense counsel Lefcourt emailed Lourie a letter to “confirm” that
Epstein’s attorneys would be given an opportunity to meet with Lourie before the USAO reached
a final decision on charging Epstein. Lourie forwarded the letter to Menchel and Sloman, but
noted that Epstein’s defense team was “really ready for the next level,” rather than another meeting
with him. Lourie suggested that Menchel meet with defense counsel, adding, “Whether Alex
would be present or grant them another meeting after that is his call.” Lourie also emailed
Lefcourt, clarifying that Lourie had not promised to call Epstein’s counsel before filing charges,
and suggesting that Epstein’s counsel make their next presentation to Menchel.

       Although Lourie’s emails show that he had no objection to more senior USAO managers
meeting with defense counsel, Villafaña opposed such a meeting. Several emails indicate that
Menchel traveled to West Palm Beach to meet with Lourie and Villafaña on the afternoon of
May 23, 2007. 48 On that same date, Villafaña drafted an email, which she planned to send to
Sloman and Menchel, expressing her disagreement with meeting with defense counsel. Although
the email was written for Sloman and Menchel, Villafaña sent it as a draft only to her immediate
supervisor, seeking her “guidance and counsel” as to how to proceed.

                 Hi Jeff and Matt – I just want to again voice my disagreement with
                 promising to have a meeting or having a meeting with Lefcourt or
                 any other of Epstein’s attorneys. As I mentioned, this is not a case
                 where we will be sitting down to negotiate whether a defendant will
                 serve one year versus two years of probation. This is a case where
                 the defendant is facing the possibility of dozens of years of prison
                 time. Just as the defense will defend a case like that differently than
                 they would handle a probation-type case, we need to handle this case
                 differently. Part of our prosecution strategy was already disclosed
                 at the last meeting, and I am concerned that more will be disclosed
                 at a future meeting.

                 My co-chair . . . who has prosecuted more of these cases than the
                 rest of us combined and who actually worked on the drafting of
                 some of the child exploitation statutes, also opposes a meeting. We
                 have been accused of not being “strategic thinkers” because of our

47
        Dershowitz had joined Lefcourt and Sanchez in representing Epstein for the federal case.
48
         During her OPR interview, Villafaña could not recall the meeting with specificity, but believed the purpose
was to discuss whether the USAO should agree to additional meetings with Epstein’s counsel. Menchel, similarly,
told OPR that he could not remember anything specific about the meeting.


                                                        31
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 58 of 348




                 opposition to these meetings, but we are simply looking at this case
                 as a violent crime prosecution involving stiff penalties rather than as
                 a white collar or public corruption case where the parties can
                 amicably work out a light sentence. 49

                 With respect to the “policy reasons” that Lefcourt wants to discuss,
                 those were already raised in his letter (which is part of the indictment
                 package) and during his meeting with Andy and myself. Those
                 reasons are: (1) he wants the Petit [sic] policy to trump our ability
                 to prosecute Epstein, (2) this shouldn’t be a federal offense, and
                 (3) the victims were willing participants so the crime shouldn’t be
                 prosecuted at all. Unless the Office thinks that any of those
                 arguments will be persuasive, a meeting will not be beneficial to the
                 prosecution, it will only benefit the defense. With respect to
                 Lefcourt’s promised legal analysis, that also has already been
                 provided. The only way to get additional analysis is to expose to the
                 defense the other charges that we are considering. In my opinion
                 this would seriously undermine the prosecution.

                 The defense is anxious to have a meeting in order to delay the
                 investigation/prosecution, to find out more about our investigation,
                 and to use political pressure to stop the investigation.

                 I have no control over the Office’s decisions regarding whether to
                 meet with the defense or to whom the facts and analysis of the case
                 will be disclosed. However, if you all do decide to go forward with
                 these meetings in a way that is detrimental to the investigation, then
                 I will have to ask to have the case reassigned to an AUSA who is in
                 agreement with the handling of the case.

         After receiving this draft, the immediate supervisor cautioned Villafaña, “Let’s talk before
this is sent, please.” 50 Villafaña told OPR that the supervisor counseled Villafaña not to send the
email to Sloman or Menchel because Villafaña could be viewed as insubordinate. She also told
Villafaña that if Villafaña did not stay with the case, “the case would go away” and Epstein “would
never serve a day in jail.”

        Villafaña told OPR that at that point in time, she believed the USAO was preparing to file
charges against Epstein despite agreeing to accommodate the defense request for meetings. She
also told OPR, on the other hand, that she feared the USAO was “going down the same path that
the State Attorney’s Office had gone down.” Villafaña believed the purpose of the defense request

49
         In commenting on OPR’s draft report, Menchel’s counsel noted Menchel’s view that the nature of a
defendant’s crimes and potential penalty does not affect whether prosecutors are willing to meet with defense counsel
to discuss the merits of a case.
50
         The immediate supervisor recalled telling Villafaña that she and Villafaña were “not driving the ship,” and
once “the bosses” made the decision, “there’s nothing else you can do.”


                                                        32
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 59 of 348




for meetings was to cause delay, but “the people in my office either couldn’t see that or didn’t
want to see that,” perhaps because of “their lack of experience with these types of cases” or a
misguided belief “that [Epstein’s] attorneys would not engage in this behavior.” Villafaña told
OPR that she “could not seem to get [her supervisors] to understand the seriousness of Epstein’s
behavior and the fact that he was probably continuing to commit the behavior, and that there was
a need to move with necessary speed.” Nonetheless, Villafaña followed the guidance of her
immediate supervisor and did not send the email.

        Like Lourie, Menchel told OPR that he believed meeting with defense counsel was good
practice. Menchel told OPR that he saw “no downside” to hearing the defense point of view.
Defense counsel might make a persuasive point “that’s actually going to change our mind,” or
alternatively, present arguments the defense would inevitably raise if the case went forward, and
Menchel believed it would be to the USAO’s advantage to learn about such arguments in advance.
Menchel also told OPR that he did not recall Villafaña ever articulating a concern that Epstein was
continuing to offend, and in Menchel’s view, Epstein was “already under a microscope, at least in
Florida,” and it would have been “the height of stupidity” for Epstein to continue to offend in those
circumstances.

        E.       June 2007: Villafaña Supplements the Prosecution Memorandum

        While Villafaña’s supervisors were considering whether to go forward with the proposed
charges, Villafaña took additional steps to support them. On June 14, 2007, she supplemented the
prosecution memorandum with an addendum addressing “credibility concerns” relating to one of
the victims. In the email transmitting the addendum to Lourie, Menchel, Sloman, and her
immediate supervisor, Villafaña reported, “another Jane Doe has been identified and interviewed,”
and the “different strategies” about how to structure the charges left Villafaña unsure whether “to
make . . . changes now or wait until we have received approval of the current charging strategy.”
The addendum itself related to a particular victim referred to as the minor who “saw Epstein most
frequently” and who had allegedly engaged in sexual activity with both Epstein and an Epstein
assistant. In the addendum, Villafaña identified documents she had found corroborating four
separate statements made by this victim.

        Villafaña told OPR that the only victim about whom any supervisor ever articulated
specific credibility issues was the victim discussed in the addendum. Lourie told OPR that he had
no specific recollection of the addendum, but it was “reasonable” to assume that the addendum
addressed one particular victim because no one had identified specific concerns relating to any
other victim. Villafaña’s immediate supervisor similarly told OPR that to her recollection, the
discussions about credibility issues were generic rather than tied to specific victims.

        F.       The June 26, 2007 Meeting with Defense Counsel

         Menchel agreed to meet with defense counsel on June 26, 2007, communicating directly
with Sanchez about the arrangements. At Menchel’s instruction, on June 18, 2007, Villafaña sent
a letter to defense counsel identifying what she described as “the statutes under consideration.” 51


51
         Villafaña sent copies of this letter to both Menchel and Sanchez. Villafaña told OPR that she objected to
sending this information to the defense. Although Menchel did not recall directing Villafaña to send the letter to

                                                       33
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 60 of 348




On that same day, Villafaña emailed Lourie, Menchel, Sloman, and her immediate supervisor
complaining that she had received no reply to her query about making changes to the proposed
indictment and asking again for feedback. During his OPR interview, Lourie observed that
Villafaña’s request for feedback reflected her desire to “charge this case sooner than . . . everybody
else,” but Acosta was still considering what strategy to pursue. Sloman told OPR that he did not
know whether Villafaña received any response to her request, but he believed that at that point in
time, Menchel and Lourie were evaluating the case to make a decision about how to proceed.

         The day before the June 26 meeting, defense counsel Lefcourt transmitted to the USAO a
19-page letter intended to provide “an overview of our position and the materials we plan to present
in order to demonstrate that none of the statutes identified by you can rightly be applied to the
conduct at issue here.” Reiterating their prior arguments and themes, defense counsel strongly
contested the appropriateness of federal involvement in the matter. Among other issues, Lefcourt’s
letter argued:

             •   Voluntary sexual activity involving “young adults–16 or 17 years of age”–was
                 “strictly a state concern.”

             •   Federal statutes were not meant to apply to circumstances in which the defendant
                 reasonably believed that the person with whom he engaged in sexual activity was
                 18 years of age.

             •   One of the chief statutes the USAO had focused upon, 18 U.S.C. § 2422(b), was
                 intended to address use of the internet to prey upon child victims through “internet
                 trolling,” but Epstein did not use the internet to lure victims.

             •   The “travel” statute, 18 U.S.C. § 2423(b), prohibits travel “for the purpose of”
                 engaging in illicit sexual conduct, but Epstein traveled to Florida to visit family,
                 oversee his Florida-based flight operations, and “engage in the routine activities of
                 daily living.”

Lefcourt also argued again that “irregularities” had tainted the state’s case and would “have a
significant impact on any federal prosecution.” 52

        Lourie sent to Menchel, with a copy to Villafaña, an email dividing the defense arguments
into “weaker” and “stronger” points. Lourie disagreed with the argument that 18 U.S.C. § 2422(b)
was limited to “internet trolling,” and described this as “our best charge and the most defensible
for federal interest.” On the other hand, Lourie believed the defense argument that Epstein did not
travel to Florida “‘with the purpose’” of engaging in illicit sex with a minor was more persuasive.

Lefcourt, he told OPR that he “wouldn’t take issue” with Villafaña’s claim that he had done so. Menchel also told
OPR that he did not recall Villafaña objecting at that point to providing the information to the defense.
52
         Lefcourt claimed there were deficiencies in the PBPD search warrant and “material misstatements and
omissions” in the PBPD probable cause affidavit. As an example, he contended that the police had lacked probable
cause to search for videotapes, “since all the women who were asked whether they had been videotaped denied
knowledge of any videotaping.” (Emphasis in original).


                                                       34
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 61 of 348




Lourie opined that the government could argue “that over time [Epstein] set up a network of illegal
high school massage recruits that would be difficult to duplicate anywhere else,” which supported
the conclusion that the massages must have been a motivating purpose of his travel, if not the sole
purpose. However, Lourie expressed concern about “getting to the jury” on this issue and noted
that he had not found a legal case factually on point. Villafaña told OPR that she disagreed with
Lourie’s analysis of the purpose of travel issue and had discussed the matter with him. 53 Villafaña
also recalled that there were aspects of the defense submissions she and her colleagues considered
“particularly weak.”

        On June 26, 2007, Sloman, Menchel, Lourie, Villafaña, the case agent, and the West Palm
Beach squad supervisor met at the Miami USAO with Epstein attorneys Dershowitz, Black,
Lefcourt, and Sanchez. Dershowitz led the defense team’s presentation. From the USAO
perspective, the meeting was merely a “listening session.” 54 Echoing the arguments made in
Lefcourt’s letter, Dershowitz argued that the USAO should permit the state to handle the case
because these were “traditionally state offenses.” The case agent recalled being uncomfortable
that the defense was asking questions in an attempt to gain information about the federal
investigation, including the number of victims and the types of sexual contact that had been
involved.

        Villafaña told OPR that when Epstein’s attorneys left the meeting, they appeared to be
“under the impression that they had convinced us not to proceed.” But Menchel told OPR, “[T]hey
obviously did not persuade” the USAO because “we . . . didn’t drop the investigation.” According
to Villafaña, Lourie, and Menchel, during a short post-meeting discussion at which Lourie
expressed concern about the purpose of travel issue and Menchel raised issues related to general
credibility of the victims, the prevailing sense among the USAO participants was that the defense
presentation had not been persuasive. Villafaña told OPR that she “left [the meeting] with the
impression that we were continuing towards” filing charges.

IV.      ACOSTA DECIDES TO OFFER EPSTEIN A TWO-YEAR STATE PLEA TO
         RESOLVE THE FEDERAL INVESTIGATION

        USAO internal communications show that in July 2007, Acosta developed, or adopted, the
broad outline of an agreement that could resolve the federal investigation. The agreement would
leave the case in state court by requiring Epstein to plead guilty to state charges, but would
accomplish three goals important to the federal prosecutors: Epstein’s incarceration; his
registration as a sexual offender; and a mechanism to provide for the victims to recover monetary



53
         Villafaña also told OPR that Lourie had, at times, expressed concern about the prosecution’s ability to prove
Epstein’s knowledge of the victims’ ages, particularly with regard to those who were 16 or 17 at the time they provided
massages.
54
         In his written response to OPR, Menchel indicated that he had no independent recollection of the June 26,
2007 meeting. In his OPR interview, Menchel said that although he had little memory of the meeting, to the best of
his recollection the USAO simply listened to the defense presentation, and in a contemporaneous email, Menchel
opined that he viewed the upcoming June 26 meeting as “more as [the USAO] listening and them presenting their
position.”


                                                         35
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 62 of 348




damages. 55 During a two-month period, the subject attorneys were involved to varying degrees in
converting the broad outline into specific terms, resulting in the NPA signed by Epstein on
September 24, 2007. The subjects, including Acosta, were generally able to explain to OPR both
the larger goals and the case-related factors they likely considered during the process of
conceptualizing, negotiating, and finalizing this resolution. However, the contemporaneous emails
and other records do not reflect all of the conversations among the decision makers, and their
deliberative and decision-making process is therefore not entirely clear. In particular, Menchel
and Acosta had offices located near each other and likely spoke in person about the case, but
neither had a clear memory of their conversations. Therefore, OPR could not determine all of the
facts surrounding the development of the two-year state plea resolution or the NPA.

          In the following account, OPR discusses the initial key decision to resolve the federal
investigation through state, rather than federal, charges, and sets forth many of the numerous
communications that reflect the negotiations between the parties that led to the final NPA. OPR
questioned each of the subjects about how the decision was reached to pursue a state resolution,
and OPR includes below the subjects’ explanations. The subjects’ memories of particular
conversations about this topic were unclear, but from their statements to OPR, a general consensus
emerged that there were overlapping concerns about the viability of the legal theories, the
willingness of the victims to testify, the impact of a trial on the victims, the overall strength of the
case that had been developed at that time, and the uncertainty about the USAO’s ability to prevail
at trial and through appeal. In addition, Acosta was concerned about usurping the state’s authority
to prosecute a case involving an offense that was traditionally handled by state prosecutors. Based
on this evidence, OPR concludes that Acosta may well have formulated the initial plan to resolve
the matter through a state plea. In any event, Acosta acknowledged to OPR that, at a minimum,
he approved of the concept of a state-based resolution after being made aware of the allegations
and the evidence against Epstein as set forth in Villafaña’s prosecution memorandum.
Furthermore, Acosta approved of the final terms of the NPA.

         A.       June – July 2007: The USAO Proposes a State Plea Resolution, which the
                  Defense Rejects

        A few days after the June 26, 2007 meeting, Sanchez emailed Villafaña, advising her that
Epstein’s defense team would submit additional material to the USAO by July 11, 2007, and hoped
“to be able to reach a state-based resolution shortly thereafter.” 56 In a July 3, 2007 email, Villafaña
told Sloman, Menchel, Lourie, and her immediate supervisor that she intended to initiate plea
discussions by inviting Sanchez “to discuss a resolution of the federal investigation that could

55
         State laws require that a person convicted of specified sexual offenses register in a database intended to allow
law enforcement and the public to know the whereabouts of sexual offenders after release from punitive custody, and,
in some cases, to restrict such individuals’ movements and activities. The Florida Sexual Offender/Predator Registry
is administered by the Florida Department of Law Enforcement. The Adam Walsh Child Protection and Safety Act
of 2006 established a comprehensive, national sex offender registration system called the Sex Offender Registration
and Notification Act (SORNA), to close potential gaps and loopholes that existed under prior laws and to strengthen
the nationwide network of sex offender registrations.
56
         In this email, Sanchez also requested a two-week extension of time for compliance with the USAO’s demands
for records, which included a demand for the computer equipment that had been taken from Epstein’s residence before
the October 2005 state search warrant and that Villafaña had been requesting from the defense since late 2006.


                                                          36
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 63 of 348




include concurrent time.” The email primarily concerned other issues, and Villafaña did not
explain what the resolution she had in mind would entail. 57 Villafaña requested to be advised,
“[i]f anyone has communicated anything to Epstein’s attorneys that is contrary to this.” Villafaña,
who was aware that Menchel and Lourie had been in direct contact with defense counsel about the
case, explained to OPR that she made this request because “people were communicating with the
defense attorneys,” and she suspected that those communications may have included discussions
about a possible plea.

        In response to Villafaña’s email, Menchel notified Villafaña that he had told Sanchez “a
state plea [with] jail time and sex offender status may satisfy the [U.S. Attorney],” but Sanchez
had responded that it “was a non-starter for them.” 58 During his OPR interview, Menchel had no
independent recollection of his conversation with Sanchez and did not remember why the defense
deemed the proposal a “non-starter.” However, Menchel explained that he would not have made
the proposal to Sanchez without Acosta’s knowledge. He also pointed out that in numerous emails
before the June 26, 2007 meeting, he repeatedly noted that Acosta was still deciding what he
wanted to do with the Epstein case. Acosta agreed, telling OPR that although he did not remember
a specific conversation with Menchel concerning a state-based resolution, Menchel would not have
discussed a potential resolution with Sanchez “without having discussed it with me.”

                  1.       Acosta’s Explanation for His Decision to Pursue a State-based
                           Resolution

        Subsequent events showed that the decision to resolve the case through state charges was
pivotal, and OPR extensively questioned Acosta about his reasoning. In his OPR interview, Acosta
explained the various factors that influenced his decision to pursue a state-based resolution. Acosta
said that although he, Sloman, and Menchel “believed the victims” and “believed [Epstein] did
what he did,” they were concerned “about some of the legal issues . . . and some of the issues in
terms of testimony.” 59 Acosta also recalled discussions with his “senior team” about how the
victims would “do on the stand.”

       Acosta told OPR that “from the earliest point” in the investigation, he considered whether,
because the state had indicted the case, the USAO should pursue it.


57
         Villafaña explained to OPR that she intended to recommend a plea to a federal conspiracy charge and a
substantive charge, “consistent with the Ashcroft Memo, which would be the most readily provable offense,” with “a
recommendation that the sentence on the federal charges run concurrent with the state sentence, or that [Epstein]
would receive credit for time in state custody towards his federal release date.” See n.65 for an explanation of the
Ashcroft Memo.
58
          Villafaña was then in trial and on July 4, 2007, likely before reading Menchel’s email, Villafaña responded
to defense counsel regarding the demand for records and also noted, “If you would like to discuss the possibility of a
federal resolution . . . that could run concurrently with any state resolution, please leave a message on my voicemail.”
59
          In commenting on OPR’s draft report, Sloman stated he had no involvement in assessing the Epstein case or
deciding how to resolve it, and that OPR should not identify him as among the people upon whom Acosta relied in
reaching the two-year-state-plea resolution through the NPA. However, Sloman also told OPR that he had little
recollection of the Epstein case, while Acosta specifically recalled having discussed the case with both Sloman and
Menchel.


                                                          37
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 64 of 348




                  [The prosecution] was going forward on the part of the state, and so
                  here is the big bad federal government stepping on a sovereign . . .
                  state, saying you’re not doing enough, [when] to my mind . . . the
                  whole idea of the [P]etite policy is to recognize that the []state . . .
                  is an independent entity, and that we should presume that what
                  they’re doing is correct, even if we don’t like the outcome, except
                  in the most unusual of circumstances.

Acosta told OPR that “absent USAO intervention,” the state’s prosecution of Epstein would have
become final, and accordingly, it was “prudent” to employ Petite policy analysis. As Acosta
explained in a public statement he issued in 2011, “the federal responsibility” in this unique
situation was merely to serve as a “backstop [to] state authorities to ensure that there [was] no
miscarriage of justice.” 60 Furthermore, Acosta saw a distinction between a case that originated as
a federal investigation and one that had already been indicted by the state but was brought to the
federal government because of a perception that the state charge was inadequate. In the latter
circumstance, Acosta viewed the USAO’s role only as preventing a “manifest injustice.” 61 Acosta
explained that “no jail time” would have been a manifest injustice. But it was his understanding
that if Epstein had pled guilty to state charges and received a two-year sentence to a registrable
offense, “it would never have come to the office in the first place,” and therefore would not be
viewed as a manifest injustice.

        Acosta also told OPR he was concerned that a federal prosecution in this case would result
in unfavorable precedent, because the Epstein case straddled the line between “solicitation” or
“prostitution,” which Acosta described as a traditional state concern, and “trafficking,” which was
an emerging matter of federal interest. Acosta contended that in 2006, “it would have been
extremely unusual for any United States Attorney’s Office to become involved in a state
solicitation case, even one involving underage teens,” because solicitation was “the province of
state prosecutors.” Acosta told OPR, “I’m not saying it was the right view -- but there are at least
some individuals who would have looked at this and said, this is a solicitation case, not a trafficking
case.” Acosta was concerned that if the USAO convicted Epstein of a federal charge, an appeal
might result in an adverse opinion about the distinction between prostitution and sex trafficking.

        Acosta also told OPR that he was concerned that a trial would be difficult for Epstein’s
victims. In Acosta’s estimation, a trial court in 2007 might have permitted “victim shaming,”
which would have been traumatic for them. In addition, the fact that the state grand jury returned
a one-count indictment with a charge that would not require jail time suggested to Acosta that the
state grand jury found little merit to the case. 62 Acosta told OPR:


60
        Letter from R. Alexander Acosta “To whom it may concern” at 1 (Mar. 20, 2011), published online in The
Daily Beast.
61
          Acosta was referring to the Petite policy provision allowing the presumption that a prior state prosecution
has vindicated the relevant federal interest to be “overcome . . . if the prior [state] sentence was manifestly inadequate
in light of the federal interest involved and a substantially enhanced sentence . . . is available through the contemplated
federal prosecution.” USAM § 9-2.031.D.
62
         Acosta told OPR he was unaware that USAO prosecutors believed the State Attorney’s Office had
deliberately undermined the case before the state grand jury. Menchel told OPR that he understood that the State

                                                           38
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 65 of 348




                  I do think it’s important to look back on this, and try to be in the
                  shoes of the thought process in 2006 and ’07 when trafficking
                  prosecutions were fairly new, when . . . more so than today, some
                  jurors may have looked at this as prostitution, and . . . [a] judge’s
                  tolerance for victim shaming may have . . . caused more hesitation
                  on the part of victims . . . . 63

        Finally, Acosta told OPR that a state-based resolution offered more flexibility in fashioning
a sentence, because he believed prosecutors would have difficulty persuading a federal district
court in the Southern District of Florida to approve a federal plea for a stipulated binding sentence
that differed from the otherwise applicable federal sentencing guidelines range. 64

         In summarizing his thinking at the time, Acosta told OPR,

                  The way the matter came to the office was, the state wasn’t doing
                  enough. It didn’t provide for prison time. It didn’t provide for
                  registration, and then you had the restitution issue. There were legal
                  issues . . . . There were witness issues. And . . . we could go to trial
                  . . . and we may or may not prevail. Alternatively, we could look at
                  a pre-indictment resolution, and at various points, the office went
                  back and forth between a federal pre-indictment resolution, and a
                  state pre-indictment resolution.

Acosta told OPR that, in the end, “there was a preference for deferring to the state” because, in
part, the facts of the Epstein case at the time appeared to constitute solicitation or prostitution
rather than trafficking, and a federal prosecution would be “uncharted territory.” Acosta explained
that he did not view it as problematic to defer resolution of the case to the state, although as the
Epstein case played out, the federal role became “more intrusive” than he had anticipated, because
the defense tried to get the state to “circumvent and undermine” the outcome.


Attorney’s Office could have proceeded against Epstein by way of an information, but decided to go into the grand
jury because the State Attorney’s Office “didn’t like the case” and wanted “political cover” for declining the case or
proceeding on a lesser charge.
63
         Menchel told OPR, however, that the federal judges in West Palm Beach were highly regarded and were
generally viewed as “pro-prosecution.”
64
         Acosta said that “dismissing a number of counts and then doing a [R]ule 11 is not something that [South
Florida federal district] judges tend to do.” Other subjects also told OPR that the federal judges in the Southern District
of Florida were generally considered averse to pleas that bound them on sentencing, commonly referred to as “Rule
11(c) pleas.”

         Federal Rule of Criminal Procedure 11(c)(1)(C) allows the parties to agree on a specific sentence as part of
a plea agreement. The court is required to impose that sentence if the court accepts the plea agreement; if the court
does not accept the agreed upon plea and sentence, the agreement is void. Villafaña told OPR that Rule 11(c) pleas
were “uncommon” in the Southern District of Florida, as the “judges do not like to be told . . . what sentence to
impose.” Menchel similarly told OPR that the USAO viewed federal judges in the Southern District of Florida as
averse to Rule 11(c) pleas, although Menchel had negotiated such pleas. Villafaña told OPR that she had never offered
a Rule 11(c) plea in any of her cases and had no experience with such pleas.


                                                           39
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 66 of 348




        Menchel could not recall who initially suggested a state plea, but noted to OPR that his
own “emails . . . make clear that this course of action was ultimately decided by Alex Acosta.” He
referenced, among others, his May 14, 2007 email to Villafaña informing her that Acosta was
deciding how he wanted to handle the case. Menchel surmised that a state resolution accomplished
two things that Acosta viewed as important: first, it resolved any Petite policy concerns, and
second, it afforded more flexibility in sentencing than a federal plea would have allowed. Menchel
told OPR that the state plea proposal did not reflect any minimization of Epstein’s conduct and
that any state plea would have been to an offense that required sexual offender registration. He
told OPR, “I don’t think anybody sat around and said, you know, it’s not that big a deal. That was
not the reaction that I think anybody had from the federal side of this case.” Rather, Menchel said,
“The concern was if we charge him [as proposed], there’s going to be a trial.”

                 2.       July 2007: Villafaña and Menchel Disagree about the Proposed State
                          Resolution

        Villafaña told OPR that she was angry when she received Menchel’s July email explaining
that he had proposed to Sanchez resolving the federal investigation through a state plea. In
Villafaña’s view, the proposed state resolution “didn’t make any sense” and “did not correspond”
to Department policy requiring that a plea offer reflect “the most serious readily provable
offense.” 65 In her view, a plea to a state charge “obviously” would not satisfy this policy. Villafaña
also told OPR that in her view, the USAM required the USAO to confer with the investigative
agency about plea negotiations, and Villafaña did not believe the FBI would be in favor of a state
plea. Villafaña also believed the CVRA required attorneys for the government to confer with
victims before making a plea offer, but the victims had not been consulted about this proposal.
Villafaña told OPR she had met with some of the victims during the course of the investigation
who had negative impressions of the State Attorney’s Office, and she believed that “sending them
back to the State Attorney’s Office was not something” those victims would support.




65
         This policy was set forth in a September 22, 2003 memorandum from then Attorney General John Ashcroft
regarding “Department Policy Concerning Charging Criminal Offenses, Disposition of Charges, and Sentencing”
(known as the “Ashcroft Memo”), which provided, in pertinent part:

                 [I]n all federal criminal cases, federal prosecutors must charge and pursue the
                 most serious, readily provable offense or offenses that are supported by the facts
                 of the case, except as authorized by an Assistant Attorney General, United States
                 Attorney, or designated supervisory attorney in the limited circumstances
                 described below. The most serious offense or offenses are those that generate the
                 most substantial sentence under the Sentencing Guidelines, unless a mandatory
                 minimum sentence or count requiring a consecutive sentence would generate a
                 longer sentence. A charge is not “readily provable” if the prosecutor has a good
                 faith doubt, for legal or evidentiary reasons, as to the Government’s ability readily
                 to prove a charge at trial. Thus, charges should not be filed simply to exert
                 leverage to induce a plea. Once filed, the most serious readily provable charges
                 may not be dismissed except to the extent permitted [elsewhere in this
                 Memorandum].

See also Chapter Two, Part Two, Section II.B.1.


                                                         40
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 67 of 348




       In light of these concerns, Villafaña emailed Menchel, expressing her strong disagreement
with the process:

               [I]t is inappropriate for you to enter into plea negotiations without
               consulting with me or the investigative agencies, and it is more
               inappropriate to make a plea offer that you know is completely
               unacceptable to the FBI, ICE [Immigration and Customs
               Enforcement], the victims, and me. These plea negotiations violate
               the Ashcroft memo, the U.S. Attorney[s’] Manual, and all of the
               various iterations of the victims’ rights legislation. Strategically,
               you have started the plea negotiations as though we are in a position
               of weakness, anxious to make the case go away, by telling the
               defense that we will demand no federal conviction. We left the
               meeting on June 26th in a stronger position than when we entered,
               and your statement that a state resolution would satisfy us takes
               away that advantage. If you make it seem like the U.S. Attorney
               doesn’t have faith in our investigation, Epstein has no incentive to
               make a deal.

               Second, your discussion makes it appear that my investigation is for
               “show” only and completely undermines my ability to deal with
               Epstein’s attorneys directly. . . .

                       ....

               I would like to make a presentation to the U.S. Attorney, Jeff
               [Sloman], Andy [Lourie], and you with our side of the investigation
               and a revised indictment. The presentation will address the points
               raised by Epstein’s counsel and will convince you all of the strength
               of the case.

               In the meantime, please direct all communications from Epstein’s
               counsel to me.

        Menchel told OPR he realized Villafaña was “very anxious” to file charges in the case.
Villafaña had put a “tremendous” amount of effort into the investigation, and Menchel “was not
unsympathetic at all to her desires” to pursue a federal case. However, as Menchel told OPR,
Villafaña’s supervisors, including Acosta, were “trying to be a little bit more dispassionate,” and
her urgency was “not respectful” of Acosta’s position. Menchel viewed the tone of Villafaña’s
email as “highly unacceptable,” and her understanding of applicable law and policy incorrect. In
particular, Menchel pointed out that although the Ashcroft Memo requires prosecutors to charge
the “most readily provable offense,” there is nevertheless room for “flexibility,” and that the U.S.
Attorney has discretion—directly or through a designated supervisor such as Menchel—to waive
the policy.




                                                41
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 68 of 348




      Menchel’s reply email began with a rebuke:

              Both the tone and substance of your email are totally inappropriate
              and, in combination with other matters in the past, it seriously calls
              your judgment into question.

              As you well know, the US Attorney has not even decided whether
              to go forward with a prosecution in this matter, thus you should have
              respected his position before engaging in plea negotiations.

              Along that same line, despite whatever contrary representations you
              made to the agents in this matter, it was made clear to you by the US
              Attorney and the First Assistant from the time when you were first
              authorized to investigate Mr. Epstein that the office had concerns
              about taking this case because of petit [sic] policy and a number of
              legal issues. Despite being told these things, you prepared a pros
              memo and indictment that included a definitive date for indictment.
              It has come to my attention that you led the agents to believe that
              the indictment of this matter was a foregone conclusion and that our
              decision to put off that date and listen to the defense attorneys’
              concerns is indicative of the office having second thoughts about
              indicting. As you well knew, you were never given authorization
              by anyone to seek an indictment in this case. 66

      In the email, Menchel went on to explain the circumstances of his conversation with
Sanchez and respond to Villafaña’s complaints:

              Lilly Sanchez called me before, not after, the June 26th meeting. It
              was an informal discussion and not in the nature of an official plea
              offer but rather a feeling out by both sides as to what it might take
              to resolve the matter. As you are also well aware, the only reason
              why this office even agreed to look into the Epstein matter in the
              first instance was because of concerns that the State had not done an
              adequate job in vindicating the victims’ rights. As you and the
              agents conceded, had Epstein been convicted of a felony that
              resulted in a jail sentence and sex offender status, neither the FBI
              nor our office ever would have interceded. You should also know
              that my discussion with Lilly Sanchez was made with the US
              Attorney’s full knowledge. Had Lilly Sanchez expressed interest in
              pursuing this avenue further, I certainly would have raised it with all
              the interested individuals in this case, including you and the agents.
              In any event, I fail to see how a discussion that went nowhere has
              hurt our bargaining position. I am also quite confident that no one



66
      Menchel also sent this message to Sloman and copied Lourie.


                                                   42
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 69 of 348




                  on the defense team believes that the federal investigation in this
                  matter has been for show.

                  Nor are your arguments that I have violated the Ashcroft memo, the
                  USAM or any other policy well taken. As Chief of the Criminal
                  Division, I am the person designated by the US Attorney to exercise
                  appropriate discretion in deciding whether certain pleas are
                  appropriate and consistent with the Ashcroft memo and the USAM
                  – not you.

                  As for your statement that my concerns about this case hurting
                  Project Safe Childhood are unfounded, I made it clear to you that
                  those concerns were voiced by the US Attorney. 67 Whether or not
                  you are correct, matters of policy are always within his purview and
                  any decisions in that area ultimately rest with him.

                  Finally, you may not dictate the dates and people you will meet with
                  about this or any other case. If the U.S. Attorney or the First
                  Assistant desire to meet with you, they will let you know. Nor will
                  I direct Epstein’s lawyers to communicate only with you. If you
                  want to work major cases in the district you must understand and
                  accept the fact that there is a chain of command – something you
                  disregard with great regularity.

        Villafaña acknowledged to OPR that as Criminal Division Chief, Menchel had authority to
deviate from the Ashcroft Memo requiring that guilty pleas be to the most serious readily provable
offense. She disagreed, however, with his representation about her initial meeting with Acosta
and Sloman regarding the Epstein investigation, noting that Menchel had not been at that
meeting. 68 Villafaña told OPR that no one had communicated to her the “concerns” Menchel
mentioned, and she had not been given an opportunity to respond to those concerns. 69

       A week later, Villafaña replied to Menchel’s email, reiterating her concerns about the
process and that filing charges against Epstein was not moving forward:

                  Hi Matt -- My trial is over, so I now have [ ] time to focus back on
                  this case and our e-mail exchange. There are several points in your


67
          Neither Menchel nor Villafaña could recall for OPR to what concerns they were referring. In commenting
on OPR’s draft report, Acosta’s attorney noted that Acosta’s concerns were “the possibility that bringing a case with
serious evidentiary challenges pressing novel legal issues could result in an outcome that set back the development of
trafficking laws and result in an aggregate greater harm to trafficking victims.”
68
         Menchel confirmed to OPR that he was not involved in the decision to initiate the federal investigation.
69
         Villafaña characterized Menchel’s email as “meant to intimidate” and told OPR that she felt “put in [her]
place” by him. She perceived that Menchel was making it clear that she should not “jump the chain of command.”
Menchel, however, asserted to OPR that Villafaña had a “history of resisting supervisory authority” that warranted
his strong response.


                                                         43
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 70 of 348




      e-mail that I would like to address, and I also would like to address
      where we are in the case.

      First, I wanted to address the comment about jumping the chain of
      command. After that concern was brought to my attention several
      months ago, I have tried very hard to be cognizant of the chain of
      command. . . . If there is a particular instance of violating the chain
      of command that you would like to discuss, I would be happy to
      discuss it with you.

             ....

      The statement that I have not respected Alex’s position regarding
      the prosecution of the case demonstrates why you hear the
      frustration in the tone of my e-mail. For two and a half months I
      have been asking about what that position is. I have asked for
      direction on whether to revise the indictment, whether there are
      other issues that Alex wants addressed prior to deciding, whether
      there is additional investigation that needs to be done, etc. None of
      that direction has been forthcoming, so I am left with . . . victims,
      and agents all demanding to know why we aren’t presenting an
      indictment. Perhaps that lack of direction is through no fault of
      yours, but I have been dealing with a black box, so I do not know to
      whom I should address my frustration. My recollection of the
      original meeting with Alex and Jeff is quite different than your
      summary. In that meeting, I summarized the case and the State
      Attorney’s Office’s handling of it. I acknowledged that we needed
      to do work to collect the evidence establishing a federal nexus, and
      I noted the time and money that would be required for an
      investigation. I said that I was willing to invest that time and the
      FBI was willing to invest the money, but I didn’t want to get to the
      end and then have the Office be intimidated by the high-powered
      lawyers. I was assured that that would not happen. Now I feel like
      there is a glass ceiling that prevents me from moving forward while
      evidence suggests that Epstein is continuing to engage in this
      criminal behavior. Additionally, the FBI has identified two more
      victims. If the case is not going to go forward, I think it is unfair to
      give hope to more girls.

      As far as promising the FBI that an indictment was a foregone
      conclusion, I don’t know of any case in the Office where an
      investigation has been opened with the plan NOT to indict. And I
      have never presented an indictment package that has resulted in a
      declination. I didn’t treat this case any differently. I worked with
      the agents to gather the evidence, and I prepared an indictment
      package that I believe establishes probable cause that a series of
      crimes have been committed. More importantly, I believe there is

                                        44
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 71 of 348




                 proof beyond a reasonable doubt of Epstein’s criminal culpability.
                 Lastly, I was not trying to “dictate” a meeting with the U.S. Attorney
                 or anyone else. I stated that I “would like” to schedule a meeting,
                 asking to have the same courtesy that was extended to the defense
                 attorneys extended to the FBI and an Assistant in the Office. With
                 respect to your questions regarding my judgment, I will simply say
                 that disagreements about strategy and raising concerns about the
                 forgotten voices of the victims in this case should not be classified
                 as a lapse in judgment. This Office should seek to foster spirited
                 debate about the law and the use of prosecutorial discretion . . . .
                 [M]y first and only concern in this case (and my other child
                 exploitation cases) is the victims. If our personality differences
                 threaten their access to justice, then please put someone on the case
                 whom you trust more, and who will also protect their rights.

                 In the meantime, I will be meeting with the agents on Monday to
                 begin preparing a revised indictment package containing your
                 suggestions on the indictment and responding to the issues raised by
                 Epstein’s attorneys. . . . If there are any specific issues that you or
                 the U.S. Attorney would like to see addressed, please let me know. 70

        Villafaña did not get the meeting with Acosta that she requested. She viewed Menchel’s
message as a rejection of her request to make a presentation to Acosta, and she told OPR that even
though she regarded Sloman as a friend, she did not feel she could reach out even to him to raise
her concerns. 71 Menchel, however, told OPR that he did not “order” Villafaña to refrain from
raising her concerns with Acosta, Sloman, or Lourie, and he did not believe his email to Villafaña
foreclosed her from meeting with Acosta. Rather, “the context of this exchange is, she is running
roughshod over the U.S. Attorney, and what I am saying to her is, there is a process. You’re not
in charge of it. I’m not in charge of it. [Acosta’s] in charge of it.” Acosta, who was apparently
not aware of Villafaña’s email exchange with Menchel, told OPR that from his perspective,
Villafaña was not “frozen out” of the case and that he would have met with her had she asked him
directly for a meeting.

        B.       Villafaña Attempts to Obtain the Computer Equipment Missing from
                 Epstein’s Palm Beach Home, but the Defense Team Opposes Her Efforts

       As the USAO managers considered in July 2007 how to resolve the federal investigation,
one item of evidence they did not have available to assist in that decision was the computer
equipment removed from Epstein’s home before the PBPD executed its search warrant. Although
Villafaña took steps to obtain the evidence, defense counsel continued to oppose her efforts.



70
        Menchel forwarded this email to Sloman.
71
       Villafaña told OPR that she later spoke to Menchel, asking Menchel to redirect Sanchez to Villafaña, but that
Menchel responded it was not Villafaña’s “place” to tell him to whom he should direct communications.


                                                        45
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 72 of 348




        Early in the federal investigation, Villafaña recognized the potential significance of
obtaining the missing computer equipment. Villafaña told OPR that she and the FBI agents went
through every photograph found in Epstein’s house, but found none that could be characterized as
child pornography. Nevertheless, Villafaña told OPR that investigators had learned that Epstein
used hidden cameras in his New York residence to record his sexual encounters, and she believed
he could have engaged in similar conduct in his Palm Beach home. In addition, the computer
equipment potentially contained surveillance video that might have corroborated victim statements
about visiting Epstein’s home. More generally, in Villafaña’s experience, individuals involved in
child exploitation often possessed child pornography. 72 Villafaña’s co-counsel, who had
substantial experience prosecuting child pornography cases, similarly told OPR, “Epstein was a
billionaire. We knew his house was wired with video, it would be unusual [for] someone with his
capabilities not to be video recording” his encounters.

         As the investigation continued, Villafaña took various steps to acquire the computer
equipment removed from Epstein’s Palm Beach residence. As noted previously in this Report, in
her initial request to Epstein’s counsel for documents, she asked defense counsel to provide “[t]he
computers, hard drives, CPUs, and any other computer media (including CD-ROMs, DVDs,
floppy disks, flash drives, etc.) removed from” the residence. Although Lourie subsequently
narrowed the government’s request for documents, the request for computer equipment remained.
The defense, however, failed to comply with the request.

        Villafaña learned that the computer equipment was in the possession of a particular
individual. After consulting the Department’s Computer Crime and Intellectual Property Section
and Office of Enforcement Operations about the appropriate legal steps to obtain the computer
equipment, Villafaña described her plan in an email to Menchel. She asked Menchel for any
comments or concerns, but OPR did not find an email response from him, and Menchel told OPR
that he did not recall Villafaña’s efforts to obtain the computer equipment.

        In May 2007, following the plan she had outlined to Menchel, Villafaña initiated action
requiring production of the computer equipment by a particular date. In her email to Villafaña on
June 29, 2007, Sanchez requested a two-week extension, indicating that she hoped a “state-based
resolution” to the case would soon be reached. 73 Villafaña advised her supervisors of the request,
and responded to Sanchez that she “would like to get the computer equipment as soon as possible.”
Nonetheless, Villafaña eventually agreed to an extension.

      Meanwhile, Epstein attorney Roy Black wrote separately to Villafaña, demanding to know
whether Villafaña had complied with applicable Department policies before seeking the computer




72
           In addition, Villafaña became aware that in August 2007, FBI agents interviewed a minor victim who stated
that she had been photographed in the nude by Epstein’s assistant, who told the victim that Epstein took pictures of
the girls.
73
         This email led Villafaña to ask her supervisors if any of them had discussed with the defense a possible
resolution of the case, which resulted in Villafaña’s exchange of emails with Menchel about their respective views of
the case. See Section IV.A.2 in this Part.


                                                        46
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 73 of 348




equipment. 74 After further communications on this issue involving Black, Sanchez, Villafaña, and
Lourie, Black took legal action that effectively halted production of the computer equipment to the
USAO until the issue could be decided by the court—which, as explained below, never happened
because the parties entered into the NPA.

        C.        July 2007: The Defense Continues Its Efforts to Stop the Federal Investigation

         In addition to their efforts to stop the government from obtaining the computer equipment,
defense counsel also sent letters to the USAO, dated July 6, 2007, and July 25, 2007, reiterating
their objections to a federal investigation of Epstein. The July 25, 2007 letter included a lengthy
“case analysis chart” purporting to support the defense argument that Epstein had committed no
federal offense. The July 25 letter also noted that the defense had been consulting with the former
Principal Deputy Chief of CEOS, reporting that she “supports our position without reservation that
this is not a matter upon which the federal statu[t]es should be brought to bear.” 75

       While the defense was reiterating its objections to the federal investigation, CEOS
expressed its endorsement of Villafaña’s legal analysis and proposed charges. On July 18, 2007,
CEOS Chief Oosterbaan emailed Sloman, Menchel, and Lourie, stating that he had read
Villafaña’s prosecution memorandum “closely,” and noting that “[s]he did a terrific job. As we
opined to Andy [Lourie] back in May, [CEOS] agree[s] with her legal analysis. Her charging
decisions are legally sound.” Oosterbaan observed:

                  I have also reviewed the arguments contained in the letters from
                  defense counsel. Their legal analysis is detailed and comprehensive,
                  but I find none of their arguments persuasive. That is not to say that
                  all the arguments are completely devoid of merit. I expect the judge
                  to consider some of the arguments closely. Nevertheless, while the
                  law applicable here is not always crystal clear, the balance of
                  available precedent favors us. From the prosecution memorandum
                  it is clear that Marie has anticipated the strongest legal arguments,
                  scrutinized the applicable law, and has charged the case accordingly.
                  And, while with this prosecution the government clearly faces a
                  strong and determined defense team, it is a challenge well worth
                  facing. I also happen to know that there is absolutely no concern . . .
                  about facing the challenges this case presents.

In closing, Oosterbaan renewed his offer to have CEOS “help you with this prosecution,” and to
send “whatever and whoever you need” to assist.


74
        Villafaña forwarded Black’s letter to Menchel, explaining the circumstances relating to the removal of the
computer equipment from Epstein’s home, the steps she had taken to make the required consultations in the
Department, and that she and Lourie had worked together on her response to Black.
75
         The news that the former CEOS Principal Deputy Chief was advising the Epstein team led to an email
exchange between Sloman and CEOS Chief Oosterbaan, who commented, “By the way, let me know if you want me
to put something in writing to you with our position and detailing all of the child prostitution cases she supervised
with similar facts.”


                                                         47
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 74 of 348




        D.       Acosta Decides on a Resolution That Includes a Two-Year Term of
                 Incarceration

        The next critical step in the development of the NPA was the decision to propose a two-
year term of imprisonment. Although presented to the defense as the “minimum” the USAO would
accept, in actuality the two-year proposal became only the starting point for the negotiations, with
the result that the defense continued to chip away at it as the negotiations continued. The
contemporaneous emails make no mention of any rationale for the decision to propose two years
as the government’s beginning negotiating position, and nobody with whom OPR spoke was able
to recall how the decision was made. As discussed below, Acosta did offer OPR an explanation,
but OPR was unable to find contemporaneous evidence supporting it. 76

       While the defense was communicating its objections to the federal investigation to
Villafaña, Lourie, Menchel, and Sloman, Villafaña continued moving toward filing charges. On
July 19, 2007, the day after receiving Oosterbaan’s email supporting a potential prosecution,
Villafaña emailed Lourie and Menchel seeking approval to take further investigative steps
regarding three of Epstein’s assistants. However, Menchel directed Villafaña to “hold off . . . until
we decide what course of action we are going to take on [E]pstein which should happen next
week.” Menchel told OPR that he did not specifically recall why he asked Villafaña to wait, but
he assumed it was because Acosta was deciding what course of action to take on the case.

      On Monday, July 23, 2007, Menchel submitted a resignation notice to Acosta, stating that
he would be leaving the USAO effective August 6, 2007. 77

                 1.       The July 26, 2007 Meeting in Miami

        Early on the morning of Thursday, July 26, 2007, Villafaña informed Menchel that she was
preparing a new draft indictment containing revisions he had suggested, including removal of all
but three of the “travel counts” and “a large number of [the] overt acts,” and the addition of overt
acts and counts relating to two additional victims; she would not, however, have the revised
indictment ready in time “for our discussion today” at their 2:00 p.m. meeting. Menchel told OPR
that the fact that he had both proposed revisions to the indictment and also directed Villafaña to
delay the investigative steps involving the assistants indicated that he was “trying to do something”
with the case, but was waiting for Acosta to decide the “underlying issue” of whether to proceed
with federal charges.

        Acosta made that decision on or before July 26, 2007. On that afternoon, Villafaña met in
Miami with Menchel. She told OPR that Sloman, as well as the FBI case agents and their
supervisors, were also present, with Lourie participating by telephone. Villafaña told OPR that
she expected that the meeting, requested by Menchel, would address the direction of the
investigation. However, Villafaña told OPR that after everyone had assembled, Menchel entered
the room and stated that Acosta “has decided to offer a two-year state deal.” According to

76
        See Section IV.D.2 in this Part.
77
         As early as May 4, 2007, Menchel had informed Acosta that he was intending to leave the USAO to enter
private practice.


                                                     48
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 75 of 348




Villafaña, Menchel left the meeting after almost no discussion, leaving Villafaña “shocked and
stunned.”

        Menchel told OPR that he did not recall the July 26, 2007 meeting. Nonetheless, he
strongly disputed Villafaña’s description of events, asserting that it would have been “directly at
odds with his management style” to convene such a meeting, announce Acosta’s decision, and
leave without discussion. Acosta told OPR that he had “decided and endorsed this resolution at
some point,” but he did not recall being aware that Menchel was going to announce the decision
at the July 26 meeting; in addition, although Acosta did not recall the circumstances of Menchel’s
relaying of that decision, he said it “would have been consistent with” his decision for Menchel to
do so. Neither Sloman nor Lourie recalled the meeting. The FBI case agent recalled attending a
meeting at the USAO in Miami with her co-case agent and supervisors, together with Villafaña,
Lourie (by telephone), Menchel, and Sloman, at which they discussed how to proceed with the
Epstein case. According to the case agent, at this meeting the FBI insisted that Epstein be
registered for life as a sexual offender, and the co-case agent advocated for waiting until the court
had ruled on the USAO’s ability to obtain Epstein’s computer equipment.

        Regardless of exactly how Acosta’s decision regarding the two-year term was
communicated to Villafaña and the FBI agents, and regardless of who initially proposed the
specific term, the record shows that Acosta ultimately made the decision to offer Epstein a
resolution that included a two-year term of imprisonment, as he acknowledged. 78

                  2.       The Subjects’ Explanations for the Decision to Offer Epstein a Sentence
                           with a Two-Year Term of Incarceration

       Villafaña asserted that she was not consulted about the specific two-year term before the
decision was made. 79 Villafaña told OPR that she had worked hard to develop a strong case, and
none of her supervisors had identified to her any specific problem with the case that, in her view,
explained the decision to extend an offer for a two-year sentence. Villafaña also told OPR that
Menchel provided no explanation for this decision during the July 26, 2007 meeting, and Villafaña
did not ask for an explanation because she accepted his statement that it was Acosta’s decision.
Villafaña described the proposal as “random,” and told OPR, “[W]e’re all [sentencing] guidelines
people, so 24 months just makes no sense in the context of the guidelines. There’s no way to get
to 24 months with this set of offenses.” 80



78
          OPR notes that Villafaña did not appear hesitant to send emails to her supervisors setting forth her views and
objections, and there is no reference before this meeting in any of her emails indicating that a decision had been made
to offer a two-year term of incarceration. Therefore, given that a meeting had been arranged involving Menchel and
Villafaña, and possibly most of the other primary USAO and FBI participants, it seems logical that Acosta made a
decision to resolve the case with a two-year state plea not long before the meeting.
79
         OPR found no evidence in the documentary record indicating that Villafaña had knowledge of Acosta’s
decision or the two-year term before the July 26, 2007 meeting at which she said she learned of it.
80
         From the time the U.S. Sentencing Guidelines went into effect in 1987, they have been the mechanism for
calculating federal criminal sentences. Since 2005, the Guidelines have been non-binding, but the federal courts are
required to consider them. As noted in the commentary to USAM § 9-27.710,


                                                          49
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 76 of 348




         Sloman also told OPR that he did not know how the decision to offer a two-year plea offer
was reached, but he believed that Acosta made the decision based on recommendations from
Menchel, Lourie, and Villafaña. He opined to OPR that the decision was likely based on an
assessment by Menchel and Lourie of the litigation risks presented by the case. 81 Sloman added
that he did not know how a two-year sentence might have related to specific charges or to either
state or federal sentencing guidelines. Lourie likewise told OPR he did not recall how the two-year
term was decided upon, or by whom, but he speculated that it may have been presented by the
defense as the most Epstein would accept, and that the decision would have been reached by
Acosta following “extended consideration, research, and discussion,” among Acosta, Sloman,
Menchel, Lourie, and Villafaña. 82

         Menchel told OPR that he did not recall discussing a two-year plea deal with Acosta or
who reached the decision that two years was an appropriate sentence. Menchel also told OPR,
however, that he recalled believing that if the USAO had filed the contemplated federal charges,
Epstein would have felt he had “nothing to lose” and “undoubtedly” would have chosen to take
the case to trial. Menchel recalled believing there was a real risk that the USAO might lose at trial,
and in so doing, might cause more trauma to the victims, particularly those who were reluctant to
testify. Menchel told OPR that he did not believe that anyone at the time looked at two years “as
a fair result in terms of the conduct. I think that was not the issue. The issue was whether or not
if we took this case to trial, would we risk losing everything,” and “if we . . . felt we could have
gotten more time, we would have, without having to press it to the trial.”

        Acosta told OPR that “I had decided and endorsed” the two-year resolution “at some
point,” and that it resulted from “back and forth” discussion “over the course of some days or a
week or two.” As noted earlier in this Report, Acosta viewed the USAO’s role in this case merely
as a “backstop” to the state’s prosecution, which he explained to OPR was “a polite way of saying[,
‘]encouraging the state to do a little bit more.[’]” 83 Acosta said that he understood two years’
imprisonment to have represented the sentence Epstein faced under one of the original charges the
PBPD was considering at the outset of the state investigation. 84 Acosta also told OPR that he


                  the attorney for the government has a continuing obligation to assist the court in
                  its determination of the sentence to be imposed. The prosecutor must be familiar
                  with the guidelines generally and with the specific guideline provisions applicable
                  to his or her case. In discharging these duties, the attorney for the government
                  should . . . endeavor to ensure the accuracy and completeness of the information
                  upon which the sentencing decisions will be based.
81
         In Sloman’s view, Menchel and Lourie were “two of the finest trial lawyers” in the USAO.
82
         Lourie noted that Sloman and Menchel were “two extraordinarily experienced people in [Acosta’s] front
office who had tried . . . gobs and gobs of cases.”
83
          In commenting on OPR’s draft report, Acosta’s attorney asserted that OPR’s use of Acosta’s quote, “a little
bit more,” “unfairly minimized” Acosta’s and the USAO’s efforts to achieve justice in this case. Acosta’s attorney
also asserted that the phrase was “clearly soft-spoken understatement,” that the terms obtained were “substantially
more onerous than the state’s alternative resolution,” and that Acosta was “clearly declining the invitation to take the
State to task and soft-pedaling an obvious distinction.”
84
        OPR examined this assertion and was unable to verify that the proposed two-year term of imprisonment
corresponded with the charges that the PBPD considered at the outset of the state investigation or with the charge in

                                                          50
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 77 of 348




understood that the PBPD would not have asked the FBI to investigate Epstein if the state had
pursued the appropriate charges. In other words, in Acosta’s view, “[T]his was, rightly or wrongly,
an analysis that distinguished between what is necessary to prevent manifest injustice, versus what
is the appropriate federal outcome to that.” Acosta told OPR that he believed he had discussed his
concerns about the case with Lourie, Sloman, or Menchel, although he could not recall any specific
conversation with them.

        E.       Villafaña Drafts a “Term Sheet” Listing the Requirements of a Potential
                 Agreement with the Defense

        A meeting with defense counsel was scheduled for Tuesday, July 31, 2007. Villafaña told
OPR that between July 26 and July 30, 2007, she had “some sort of discussion” with her
supervisors that resulted in her creation of a “term sheet” identifying the proposed terms for
resolving the federal investigation through state charges. Sometime during that period, Villafaña
left a voicemail message for Menchel. During their OPR interviews, neither Villafaña nor
Menchel could recall what Villafaña said in that message. On July 30, 2007, Menchel emailed
Villafaña:

                 I received your voicemail this morning. I don’t see any reason to
                 change our approach. I think telling them that unless the state
                 resolves this in a way that appropriately vindicates our interests and
                 the interests of the victims, we will seek [federal charges] conveys
                 that we are serious. While Lilly [Sanchez] has represented in the
                 past that this would likely not happen, I never conveyed it in quite
                 these terms before. In any event, this is the course of action that the
                 US Attorney feels comfortable taking at this juncture.

         The following day, July 31, 2007, Villafaña emailed a one-page “Terms of Epstein
Non-Prosecution Agreement” to Sloman, Menchel, and Lourie. Villafaña told OPR she had never
before seen or heard of a non-prosecution agreement and that it was a concept “completely foreign”
to her. 85 Villafaña told OPR that the idea of styling the two-year state plea agreement with Epstein



the state indictment. OPR considered various potential state charges involving various numbers of victims and found
no obvious reasonable state sentencing guidelines calculation that would have resulted in a two-year sentence.
85
         Deferred prosecution and non-prosecution agreements were standard, though infrequently used, vehicles for
resolving certain federal criminal cases against corporate entities. A 2008 Departmental memorandum explained:

                 The terms “deferred prosecution agreement” and “non-prosecution agreement”
                 have often been used loosely by prosecutors, defense counsel, courts and
                 commentators. As the terms are used in these Principles [of Federal Prosecution
                 of Business Organizations], a deferred prosecution agreement is typically
                 predicated upon the filing of a formal charging document by the government, and
                 the agreement is filed with the appropriate court. In the non-prosecution
                 agreement context, formal charges are not filed and the agreement is maintained
                 by the parties rather than being filed with a court. Clear and consistent use of
                 these terms will enable the Department to more effectively identify and share best
                 practices and to track the use of such agreements. These Principles do not apply

                                                        51
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 78 of 348




as a “non-prosecution agreement” came from Acosta, although Menchel may have communicated
that terminology to her. According to Villafaña, she asked that it include a mechanism for the
victims to be provided monetary compensation through 18 U.S.C. § 2255 in lieu of the restitution
that would have been available if Epstein were pleading guilty to federal charges. 86 Acosta told
OPR that he “developed and approved” the term sheet.”

       Before the document was presented to defense counsel, two terms were dropped from
Villafaña’s draft—one providing that the agreement would apply only to already-identified
victims, and another requiring the deal to be accepted, and Epstein to plead guilty, within the
month. The final term sheet was as follows:




                 to plea agreements, which involve the formal conviction of a corporation in a
                 court proceeding.

Memorandum from Acting Deputy Attorney General Craig S. Morford to Heads of Departmental Components and
United States Attorneys at n.2 (Mar. 7, 2008), available at https://www.justice.gov/archives/jm/criminal-resource-
manual-163-selection-and-use-monitors. Villafaña did not have significant experience prosecuting corporate entities.
86
        A civil remedy for personal injuries suffered by victims of certain crimes is provided for in the federal
criminal code at 18 U.S.C. § 2255. Subsection (a) of the statute, as in effect from July 27, 2006, to
March 6, 2013, provided as follows:

                 Any person who, while a minor, was a victim of a violation of section
                 2241(c), 2242, 2243, 2251, 2251A, 2252, 2252A, 2260, 2421, 2422, or 2423 of
                 this title and who suffers personal injury as a result of such violation, regardless
                 of whether the injury occurred while such person was a minor, may sue in any
                 appropriate United States District Court and shall recover the actual damages such
                 person sustains and the cost of the suit, including a reasonable attorney’s fee. Any
                 person as described in the preceding sentence shall be deemed to have sustained
                 damages of no less than $150,000 in value.

Villafaña also told OPR that she asked that the terms include the requirement that Epstein plead to an offense that
required him to register as a sexual offender; however, sex offender status was also mentioned in Menchel’s July 3,
2007 email to Villafaña recounting his preliminary discussions with Sanchez.


                                                         52
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 79 of 348




V.     THE USAO PRESENTS EPSTEIN WITH KEY TERMS OF A DEAL: PLEAD
       GUILTY TO STATE CHARGES REQUIRING A TWO-YEAR TERM OF
       INCARCERATION AND SEXUAL OFFENDER REGISTRATION, AND AGREE
       TO A MEANS FOR THE VICTIMS TO OBTAIN MONETARY DAMAGES

        Although the USAO term sheet was presented to Epstein’s defense team on July 31, 2007,
it took almost another two months to reach a final agreement in the form of the NPA. The
contemporaneous emails show that over the course of those two months, defense counsel offered
multiple counter-proposals to the USAO’s stated terms, and alternated between working out the
state plea disposition and seeking an alternative federal plea arrangement. The emails make clear
that as the negotiations intensified in September 2007, the prosecutors became increasingly
frustrated, particularly with what they perceived as the defense tactic of agreeing to terms and
provisions but then backtracking or altering the agreed-upon terms in subsequent communications.
It is apparent that the defense persistence achieved some measure of success, at least concerning

                                               53
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 80 of 348




the period of imprisonment, because the USAO failed to hold firm to its proposal of “at least two
years in prison.” The USAO did, however, consistently reject defense proposals to change other
terms, particularly the requirement that Epstein register as a sexual offender.

        A.       July 31, 2007: The USAO Presents Its Proposal to the Defense Team, which
                 Makes a Counteroffer

       Menchel, Sloman, Lourie, Villafaña, and the case agents met with Epstein attorneys
Lefcourt, Sanchez, and Black on July 31, 2007, with Menchel “leading the meeting” for the
USAO. 87 The USAO presented the term sheet, and Villafaña distributed a federal sentencing
guidelines calculation showing that if prosecuted federally, Epstein faced a sentencing range of
188 to 235 months’ incarceration.

        Villafaña recalled that during the meeting, Epstein’s attorneys opposed the requirement of
sexual offender registration, argued that Epstein would not be safe in prison, suggested that Epstein
serve a sentence of home confinement or “community control” 88 in lieu of incarceration, and
emphasized that a state resolution provided greater sentencing flexibility. 89 Villafaña told OPR
that when Epstein’s attorneys expressed concern during the meeting about Epstein’s security in a
state prison and argued for a home confinement sentence, Menchel suggested Epstein plead to a
federal charge so that he could serve his time in a federal facility. A few days after the meeting,
Villafaña emailed Menchel, stating that she had “figured out a way to do a federal plea with a 2-1/2
year cap.”

       Although Acosta had authorized a plea to state charges, emails and other correspondence
show that during the negotiations, the parties also considered structuring a plea around federal


87
        Villafaña was the only witness with whom OPR spoke who had a substantive memory of this meeting.
88
        According to the Florida Department of Corrections fact sheet for defendants subjected to community control,

                 The Community Control supervision program was created as a diversion to
                 incarceration or imprisonment; therefore it is an intensive supervision program
                 where you are confined to your home unless you are working, attending school,
                 performing public service hours, participating in treatment or another special
                 activity that has been approved in advance by your officer. The program was
                 designed to build accountability and responsibility along with providing a
                 punishment alternative to imprisonment. While on Community Control
                 supervision (also known as “house arrest”) you will not be allowed to leave your
                 home to visit family or friends, go out to dinner or to the movies, go on vacation,
                 or many of the other activities you are used to being able to do . . . , but it does
                 allow you to continue to work to support yourself and your family or attend school
                 in lieu of being incarcerated and away from loved ones.

Florida Dept. of Corrections, Succeeding on Community Control at 1, http://www.dc.state.fl.us/cc/ccforms/
Succeeding-on-Community-Control.pdf.
89
         Villafaña told OPR that she was concerned about a state resolution because the defense team “had a lot of
experience with the state system. We did not.” Villafaña anticipated there would be ways to “manipulate” a state
sentence and the USAO would be “giving up all control,” and she told OPR that she discussed this concern with
Lourie, although she could not recall when that discussion occurred.


                                                         54
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 81 of 348




charges in addition to state charges. On behalf of the defense team, Sanchez followed up on the
July 31, 2007 meeting with an August 2, 2007 letter to Menchel:

                 We welcomed your recognition that a state prison sentence is neither
                 appropriate for, nor acceptable to, Mr. Epstein, as the dangers of the
                 state prison system pose risks that are clearly untenable. We
                 acknowledge that your suggestion of a plea to two federal
                 misdemeanors was an attempt to resolve this dilemma. Our
                 proposal is significantly punitive, and if implemented, would, we
                 believe, leave little doubt that the federal interest was demonstrably
                 vindicated. 90

Sanchez added, “We must keep in mind that Jeffrey Epstein is a 54-year-old man who has never
been arrested before. He has lived an otherwise exemplary life.”

         The “significantly punitive” proposal described in the defense letter involved no period of
mandatory incarceration. Instead, Sanchez suggested two years of home confinement, with regular
reporting to and visits from a community control officer; payment of restitution, damages, court
and probationary costs, and law enforcement costs; random drug testing; community service;
psychological counseling; and a prohibition on unsupervised contact with the victims. The letter
specifically referred to the victim damages-recovery procedure that the government had proposed
under 18 U.S.C. § 2255 and represented that Epstein was “prepared to fully fund the identified
group of victims which are the focus of the [USAO] – that is, the 12 individuals noted at the
meeting on July 31, 2007.” Under the defense proposal, the state would incarcerate Epstein only
if he failed to comply with the terms of supervised custody. Sanchez also advised that the defense
team was seeking a meeting with Acosta.

        B.       In an August 3, 2007 Letter, the USAO States That a Two-Year Term of
                 Imprisonment Is the Minimum That Will Vindicate the Federal Interest

        Villafaña told OPR that she and her managers agreed the counteroffer was unacceptable,
and she conferred with Lourie or Menchel about the government’s response. Villafaña drafted for
Menchel’s signature a letter asserting that the USAO considered a two-year term of imprisonment
to be the minimum sentence that would “vindicate” the federal interest in the Epstein investigation.
Villafaña’s draft stated that the USAO “has never agreed that a state prison sentence is not
appropriate for Mr. Epstein,” but was willing to allow Epstein to enter a guilty plea under Federal
Rule of Criminal Procedure 11(c)(1)(C) to a federal felony charge with a binding recommendation
for a two-year term of incarceration. Villafaña specified that Epstein would also be required to
concede liability under 18 U.S.C. § 2255 for all of the victims identified during the federal
investigation, “not just the 12 that formed the basis of an initial planned charging instrument.”


90
         The USAO countered, however, that it “never agreed that a state prison sentence is not appropriate” and that
“a plea to two federal misdemeanors was never extended or meant as an offer.” Records show that throughout the
Epstein matter, the USAO attorneys identified instances when defense attorneys misstated or otherwise did not
accurately describe events or statements. Accordingly, in evaluating the subject attorneys’ conduct, OPR did not rely
on uncorroborated defense assertions.


                                                        55
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 82 of 348




        Menchel made several substantive changes to Villafaña’s draft letter. He specified that “a
two-year term of state imprisonment” was the minimum sentence that would satisfy the federal
interest in the case. (Emphasis added.) With regard to the option of a federal plea, Menchel wrote
that the USAO “would be willing to explore a federal conviction” and retained the reference to a
Rule 11(c) plea. Menchel also removed the reference to the specific state offenses to which Epstein
would be required to plead guilty. Menchel forwarded the redraft to Acosta, suggesting that they
speak about it the next morning, as well as to Sloman, Lourie, and Villafaña.

         The final letter, as shown on the following pages, was identical to Menchel’s redraft, except
that it omitted all reference to a federal plea under Rule 11(c). 91




91
         Menchel told OPR that he did not disfavor Rule 11(c) pleas but knew that the USAO believed the judges
were generally averse to them. He did not recall why the provision was dropped from the letter, but “assumed” it was
a decision by Acosta. In a September 6, 2007 email, Villafaña told Sloman that she and Menchel had discussed a
Rule 11(c) plea, but she opined that Menchel “must have asked Alex about it and it was nixed.” Villafaña told OPR
that Lourie, too, had told her Acosta did not want to do a Rule 11(c) plea.


                                                        56
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 83 of 348




                                57
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 84 of 348




         Menchel told OPR that in his view, the two-year sentence established a “floor” for
negotiations and if Epstein rejected the offer, subsequent offers would require him to accept more
jail time rather than less. Menchel told OPR that the USAO was “leaving our options open” by
retaining the option of a federal plea because he thought the defense was “trying . . . to get him
into a federal penitentiary.” The letter’s deadline of August 17, 2007, for acceptance of the
government’s offer was intended to accommodate Villafaña’s request that the deadline provide
her with enough time to go to New York, pursue investigative steps involving two of Epstein’s
assistants, do witness interviews, and take additional legal steps to obtain Epstein’s computers if
Epstein rejected the deal. Menchel told OPR he considered August 17 to be a firm deadline: “[I]f
you tell someone they have two weeks, it should be two weeks.” Menchel signed and sent the
letter on Friday, August 3, 2007, which was his last day at the USAO before joining a private law
firm. 92

        The following Monday, August 6, 2007, Villafaña contacted Menchel by email at his new
firm to inquire whether the letter to Epstein’s counsel had gone out on Friday. Villafaña explained

92
          Menchel told OPR that the timing of the letter to Sanchez was a “total coincidence,” and had nothing to do
with his impending departure from the USAO.


                                                        58
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 85 of 348




to OPR that she “wanted to know whether this letter went out. Because . . . if the letter didn’t go
out we can make this all go away and restart.” Menchel confirmed to her that he had sent the letter
out by email.

        Later that day, the West Palm Beach FBI squad supervisor told Sloman that he understood
Epstein had rejected the USAO’s proposal, and he asked when Epstein would be charged.
Villafaña told OPR that the squad supervisor “yelled at” Sloman about the USAO’s decision not
to prosecute Epstein federally. Sloman similarly told OPR that the squad supervisor “like
[Villafaña] . . . [a]nd the agents felt very strongly about the case.” 93

         C.       August – September 2007: Epstein Hires Additional Attorneys, Who Meet
                  with Acosta

                  1.       Acosta Agrees to Meet with Epstein’s New Attorneys

         Villafaña told OPR that Epstein’s team was “incensed” that Acosta would not meet with
them and that the USAO had set such a short deadline to respond to its offer. Around this time,
Epstein added to his team Kenneth Starr and Jay Lefkowitz, two prominent attorneys from the law
firm Kirkland & Ellis, whom Acosta knew from his employment a decade earlier as an associate
at the firm. 94 On the evening of August 6, 2007, Sloman emailed Acosta: “Just saw Menchel. I
didn’t know Kirkland made a call into you. You were right. Unbelievable.” During their OPR
interviews, neither Acosta nor Sloman remembered the call from Kirkland & Ellis and could
provide no additional information about the contact. 95 A reply email from Acosta to Sloman
indicates that the Kirkland & Ellis attorneys were considering elevating to the Department their
objections to the USAO’s involvement in the Epstein matter. In that email, Acosta stated, “They
are likely to go to DC. We should strategize a bit. We are not changing positions, and that should
be made clear.”

         The next day, Acosta wrote to Sloman:

                  [Epstein’s] attorneys want to go to DC on the case, on the grounds
                  of a process foul, i.e., that I have not met with them. I’m concerned
                  that this will delay matters.

                  I am thinking of heading this off, by (i) agreeing to meet to discuss
                  general legal policy only (the only matter in which DC has arguable

93
         In an email to Lourie reporting the conversation, Sloman reported that he told the squad supervisor that “it’s
a tad more complicated” and commented, “The guy is killing me.” The squad supervisor told OPR that he did not
remember this exchange with Sloman, but he recalled the agents being “upset” with the proposed resolution of the
case and he likely would have told Sloman, “When do we indict? Why don’t we just move forward?”
94
        Acosta told OPR that as a junior associate with Kirkland & Ellis from September 1995 to March 1997, he
had worked on at least one matter each with Starr and Lefkowitz, and since that time, he had professional
acquaintanceships with both.
95
         Menchel told OPR that he did not remember the timing of the call, but he did remember an occasion on which
he entered Acosta’s office as Acosta was finishing a phone conversation, and Acosta stated, “[T]hat was Ken Starr,”
and told Menchel the call related to the Epstein case.


                                                         59
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 86 of 348




                 jurisdiction), while making clear that we are not talking about the
                 details of the case, and (ii) asking [CEOS Chief] Oosterba[an] to
                 participate by teleconference, thereby intercepting the DC meeting.

                 Thoughts?

Acosta told OPR that he had no concern about Departmental “scrutiny of the NPA scheme” and
that “[i]f anything,” he was concerned whether the Department might direct the USAO to “drop
this case.” 96

                 2.       Leading to the Meeting with Defense Counsel, Investigative Steps Are
                          Postponed, and the Defense Continues to Oppose Villafaña’s Efforts to
                          Obtain the Computer Evidence

        On August 8, 2007, Villafaña informed Acosta that she had spoken with Oosterbaan, who
was willing to join a meeting with the defense; although he could not do so in person until after
August 21, he was willing to participate by phone in order “to stay firm on our August 17th
deadline.” Villafaña also reiterated that she wanted to contact Epstein’s assistants in New York
and to interview some of Epstein’s colleagues and former employees there. Noting that “there was
some concern about [taking the proposed investigative steps] while we are trying to negotiate a
plea,” Villafaña asked Acosta for guidance. Lourie also emailed Acosta and Sloman, asking that
the USAO “stick to our deadline if possible.” Lourie pointed out that CEOS “has no approval
authority” and opined it was “a bit extreme to allow the defense to keep arguing this [case] to
different agencies.” Acosta replied, “This will end up [at the Department] anyhow, if we don’t
meet with them. I’d rather keep it here. Brin[g]ing [the Chief of CEOS] in visibly does so. If our
deadline has to slip a bit . . . it’s worth it.”

         As a result, the investigative steps were postponed. On August 10, 2007, Villafaña emailed
Lourie inquiring whether she could “still go ahead” with the New York trip and whether she could
oppose Black’s request to stay the litigation concerning the government’s efforts to obtain
Epstein’s computer equipment until after Acosta’s meeting with the defense team. Villafaña was
reluctant to delay the litigation and reported to Lourie that agents recently had interviewed a girl
who began seeing Epstein at age 14 and who was photographed in the nude by an Epstein assistant.
On August 13, 2007, Villafaña advised Black that the USAO was not willing to agree to a stay of
the litigation. However, Sanchez reached out to Lourie on August 22, 2007, and obtained his
agreement to a joint request for a stay until the week after Acosta’s meeting with defense counsel,
which was scheduled for September 7, 2007.

       Villafaña told OPR that, in her opinion, the defense efforts to put off the litigation
concerning the computers was “further evidence of the importance of [this] evidence.” 97 Villafaña
suspected the computers contained evidence that “would have put this case completely to bed.”

96
         In context, Acosta appeared to mean that although he was not concerned about the Department reviewing the
NPA or its terms, he did have concerns that the Department would decide the USAO should not have accepted the
case because of a lack of federal interest and might direct the USAO to end its involvement in the matter.
97
         Menchel told OPR, on the other hand, “there could be a lot of reasons why” defense counsel would resist
“turn[ing] over an entire computer.”


                                                       60
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 87 of 348




She believed that access to the computer evidence would strengthen the government’s negotiating
position, but that her supervisors “did not seem to recognize that.” Villafaña said she did not
understand why her supervisors were uninterested in determining what the computers contained.
Instead, they instructed Villafaña to “keep calling the judge” to ask for a delay in the litigation
proceedings.

        Sloman told OPR that he recalled an issue about the computers, but did not recall “what
the thinking was at the time” about pursuing that evidence or why Villafaña was “ordered to stand
down.” Acosta, Menchel, and Lourie all told OPR that they did not recall Villafaña’s effort to
obtain the computer evidence or that there had been litigation relating to it. Lourie, however, told
OPR that the computers might have contained “very powerful evidence” that possibly “could have
changed our advice to [Acosta], or his decision making.” In his OPR interview, Menchel was
uncertain whether the computer evidence would have been useful, but also acknowledged to OPR,
“You always want more as a prosecutor.”

        On August 31, 2007, in preparation for the upcoming September 7, 2007 meeting with
defense counsel that he planned to attend, CEOS Chief Oosterbaan traveled to West Palm Beach
to meet with Villafaña and the case agents and to examine the case file. He explained to OPR that
he wanted to see the file before meeting with the defense so that he could best “represent[] the
interests of the prosecution team,” and that he was in favor of going forward with the case.
According to Villafaña, during his review of the file, Oosterbaan told her that the case was “really
good” and offered to assist Villafaña at trial.

       On September 6, 2007, the day before the meeting with defense counsel, Sloman sent
Villafaña an email asking, “Please refresh my recollection. What is the ‘deal’ on the table?”
Sloman told OPR that his question reflected the fact that in his capacity as FAUSA, he was
involved in “a hundred other things” at that time. 98 Villafaña sent Sloman the term sheet and
explained to him, “You and Matt [Menchel] and I had also discussed a possible federal plea to an
Information charging a 371 conspiracy, with a Rule 11 plea with a two-year cap, but I think Matt
must have asked Alex about it and it was nixed.” Villafaña continued:

                  There are three concerns that I hope we can address tomorrow. First,
                  that there is an absolute drop-dead date for accepting or rejecting
                  because it is strategically important that we indict before the end of
                  September, which means . . . September 25th. Second, the agents
                  and I have not reached out to the victims to get their approval, which
                  as Drew [Oosterbaan] politely reminded me, is required under the
                  law. And third, I do not want to make any promises about allowing
                  Epstein to self-surrender because I still believe that we have a good
                  chance of getting him detained. 99


98
          Sloman noted that with the attention given to the Epstein investigation, “it seems like . . . this was the only
case [in the office], but there were other cases.”
99
        As Villafaña explained in her OPR interview, when a violent crime defendant self-surrenders, the government
may have difficulty winning an argument for pretrial detention or bond. Contrary to Villafaña’s assertion in the email,
the CVRA, even when applicable, required only victim consultation, not victim approval, and as is explained in

                                                          61
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 88 of 348




Villafaña added that the PBPD Chief had alerted the FBI that an upcoming news article would
report that Epstein was “going to plead to a state charge” and the PBPD Chief “wanted to know if
the victims had been consulted about the deal.” Sloman forwarded Villafaña’s email to Acosta
with a note that read simply, “fyi.”

        Later that evening, Villafaña circulated to Sloman, Lourie, and Oosterbaan two alternative
documents: a draft federal plea agreement and a draft NPA. 100 The draft federal plea agreement,
following the USAO’s standard format, called for Epstein to plead guilty to a five-year conspiracy
under 18 U.S.C. § 371 to entice minors to engage in prostitution, an offense requiring registration
as a sexual offender, with a Rule 11(c) binding sentence of two years’ imprisonment. The draft
NPA contained the terms presented to the defense team on July 31, 2007, and called for Epstein to
enter a state plea by September 28, 2007. Villafaña told OPR that because she had never seen a
non-prosecution agreement before, she relied on a template she found either using USAO or the
Department’s internal online resources, but she did not do any additional research regarding the
use of non-prosecution agreements. 101

                  3.       September 7, 2007: Acosta, Other USAO Attorneys, and FBI
                           Supervisors Meet with Epstein Attorneys Starr, Lefkowitz, and
                           Sanchez

        On Friday, September 7, 2007, Acosta, Sloman, Villafaña, Villafaña’s co-counsel,
Oosterbaan, and one or two supervisory FBI agents met at the USAO’s West Palm Beach office
with defense attorneys Sanchez and, for the first time, Starr and Lefkowitz. 102 This was Acosta’s
first meeting with Epstein’s defense team. Villafaña understood the purpose of this meeting was
to afford Epstein’s counsel an opportunity to “make a pitch” as to why the case should not be
prosecuted federally. Villafaña recalled that at a “pre-meet” before defense counsel arrived,
Acosta did not express concern about the viability of the prosecution or the strength of the case.

        Acosta told OPR that the meeting was not “a negotiation,” but a chance for the defense to
present their arguments, which were made by Starr and focused primarily on federalism. Villafaña
similarly recalled that the meeting mainly consisted of the defense argument that the Epstein case
should remain a state matter in which the USAO should not interfere. Both Villafaña and her
co-counsel recalled that Starr addressed himself directly to Acosta, and that Starr, who had held
Senate-confirmed positions in the government, commented to Acosta that he and Acosta were “the
only people in this room who have run the [gantlet] of confirmation by the Senate.” Acosta did
not recall the comment, but he told OPR, “[B]ack in July, we had decided that we were going

Chapter Three, the Department’s position at the time was that victim consultation was not required in matters in which
the government did not pursue a federal charge. The USAO’s actions with respect to victim consultation and the
Department’s interpretation of the CVRA are discussed in detail in Chapter Three of this Report.
100
         The initial draft NPA is attached as Exhibit 2 to this Report.
101
         OPR was unable to identify a template upon which she might have relied.
102
          Lourie was not present. During September 2007, he was traveling between Florida and Washington, D.C.,
as he transitioned to his new detail post as Principal Deputy Assistant Attorney General and Chief of Staff to the head
of the Department’s Criminal Division, Assistant Attorney General Alice Fisher. He served in that detail until he left
the Department in February 2008.


                                                          62
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 89 of 348




forward, that either there is this pre-indictment resolution, or we go forward with an indictment.
The September meeting did not alter or shift our position.” 103

        Villafaña told OPR that after hearing the defense argument, Acosta reiterated that the
federal interest in the case could be vindicated only by a state plea to an offense that required
sexual offender registration, resulted in a two-year term of incarceration, and was subject to the
18 U.S.C. § 2255 process for providing compensation to the victims. When defense counsel
objected to the registration requirement, Acosta held firm, and he also rejected the defense proposal
for a sentence of home confinement. In a subsequent email exchange with Criminal Division
Deputy Assistant Attorney General Sigal Mandelker, who supervised CEOS, Oosterbaan reported
that the meeting was “non-eventful,” noting that defense counsel argued “federalism” and might
approach Criminal Division Assistant Attorney General Alice Fisher to present that argument
directly to her.

VI.     SEPTEMBER 2007: THE PLEA NEGOTIATIONS INTENSIFY, AND IN THE
        PROCESS, THE REQUIRED TERM OF IMPRISONMENT IS REDUCED

        Acosta had dispensed with the August 17, 2007 plea deadline specified in Menchel’s
August 3, 2007 letter, in order to allow the defense to meet with him. After that meeting, and
although Villafaña continued to plan to file charges on September 25, no new plea deadline was
established, and the negotiations continued through most of September.

        The defense used that time to push the USAO to make concessions. Because Acosta was
not willing to compromise on the issue of sexual offender registration or providing a means
through which the victims could seek monetary damages, the negotiations focused on the term of
imprisonment. As the contemporaneous emails show, the USAO did not hold to its position that
a two-year term of imprisonment was “the minimum” that the USAO would accept. To reach an
agreement with the defense on Epstein’s sentence, the USAO explored possible pleas in either
federal or state court, or both, and Villafaña spent considerable time and effort working with
defense counsel on developing alternative pleas with various outcomes. In the course of that
process, the agreement was revised to require that Epstein accept a sentence of 18 months, with
the understanding that under the state’s sentencing procedures, he would likely serve just 15
months.

        A.       The Incarceration Term Is Reduced from 24 Months to 20 Months

        Shortly after the September 7, 2007 meeting, Epstein attorney Gerald Lefcourt, who had
not been present at the meeting, spoke with both Acosta and Lourie, and made a new counteroffer,
proposing that Epstein serve 15 months in jail followed by 15 months in home confinement. On
the afternoon of Monday, September 10, 2007, Villafaña emailed Sloman, identifying issues she
wanted to discuss with him, including her concern that defense counsel was pushing for a
resolution that would allow Epstein to avoid incarceration and possibly sexual offender
registration. Villafaña stated that Lefcourt’s counteroffer was “a reasonable counteroffer in light
of our starting position of 24 months,” but added that it was “a really low sentence.” Villafaña
103
      Sloman echoed this point, telling OPR that Starr’s presentation focused on the issue of federalism, but the
USAO had already decided to defer prosecution to the state and after the meeting, the USAO continued on that path.


                                                       63
        Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 90 of 348




noted that the revised charges involved 19 victims, so the defense proposal for a 15-month sentence
amounted to less than one month per victim. Villafaña requested that “whatever the U.S. Attorney
decides to do,” the agreement with Epstein should “follow . . . a version of my written non-
prosecution agreement” in order to “avoid any state shenanigans and . . . keep the defense on a
strict timeline.”

         Later that day, Villafaña circulated to Acosta and Sloman a revised NPA that called for a
20-month jail sentence to be followed by 10 months of home confinement. This redrafted NPA
contained a provision that specified, “With credit for gain time, Epstein shall serve at least
17 months in a state correctional institution.” 104 Acosta reviewed the revised NPA and amended
it to include a statement clarifying that it was Epstein’s obligation “to undertake discussions with
the State of Florida to ensure compliance with these procedures.” Villafaña sent her version of the
revised NPA to Lefcourt that afternoon and forwarded Acosta’s proposed change to him the
following day, after she learned of it.

        On September 11, 2007, the court contacted Villafaña to inquire whether the USAO would
be prepared to proceed with the litigation concerning the computers the following day. At
Sloman’s direction, Villafaña asked the court to delay the hearing, and the court rescheduled it for
the following week. At the same time, anticipating that plea negotiations would fail, Villafaña
circulated a revised indictment to her co-counsel and Oosterbaan, seeking their feedback before
sending it “through the chain of command.” Villafaña also sent Oosterbaan the revised NPA and
told him she was “still shooting for 9/25” to bring charges, assuming the defense declined the
USAO’s offer. Oosterbaan responded, “The counter-offering is unfortunate, but I suppose it’s
understandable.” 105

       That afternoon, Lourie asked Villafaña, “What is our latest offer?” Villafaña responded,
“Plead to the three specified [state] charges, a 30-month sentence, split 20 in jail and 10 in
‘community control,’ and agree that the girls are victims for purposes of damages. We also put in
deadlines for a plea and sentencing date.”

            B.      September 12, 2007: The USAO and Defense Counsel Meet with the State
                    Attorney

        Although the USAO and defense counsel had been discussing resolving the federal
investigation with a plea to state charges, there is no evidence that the USAO involved the State
Attorney’s Office in those discussions until September 12, 2007. On that day, Lourie, Villafaña,
and another USAO supervisor who would be replacing Lourie as manager of the USAO’s West
Palm Beach office, and Epstein attorneys Lefkowitz, Lefcourt, and Goldberger met with State
Attorney Barry Krischer and Assistant State Attorney Lanna Belohlavek. Other than Villafaña,
few of the participants had any memory of the meeting or the results of it. The available evidence
indicates that the USAO made additional concessions during the meeting.


104
            Through “gain time,” Florida inmates can earn a reduction in their sentence for good behavior.
105
            Oosterbaan told OPR that he did not recall having read the NPA at this juncture and “had no involvement
with it.”


                                                           64
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 91 of 348




        Villafaña told OPR that during the meeting, the group discussed the draft NPA, but she did
not think they gave a copy to Krischer and Belohlavek. Neither Krischer nor Belohlavek expressed
concern about proceeding as the USAO was proposing. According to Villafaña, Belohlavek
explained that a plea to the three state counts identified in the draft NPA would affect the state’s
sentencing guidelines, and that it would be better for the guidelines calculation if Epstein pled
guilty to just one of the three counts. Villafaña recalled that when Belohlavek confirmed that
Epstein would be required to register as a sexual offender if he pled to any one of the three charges,
Lourie, speaking for the USAO, agreed to allow Epstein to enter his plea to just one state charge
in addition to the pending state indictment, and the defense attorneys selected the charge of
procurement of minors to engage in prostitution. 106 Lourie, however, disputed Villafaña’s
recollection that he made the final decision, stating that it was “illogical” to conclude that he had
the authority to change the terms of agreement unilaterally. 107

         During the meeting, defense counsel raised concerns about Epstein serving time in state
prison. Villafaña also told OPR that Lourie, the other supervisor, and she made clear during the
meeting that they expected Epstein to be incarcerated 24 hours a day, seven days a week, during
the entirety of his sentence, and they did not “particularly care” whether it was in a state or local
facility. Belohlavek explained to OPR that in order for Epstein to serve his time in a county
facility, rather than state prison, his sentence on each charge could be no more than 12 months, so
that, for example, consecutive terms of 12 months and 6 months—totaling 18 months—could be
served in the county jail. Villafaña told OPR:

                 Our thing was incarceration 24 hours a day. So during this meeting,
                 I remember [the defense] talking about . . . a one year count followed
                 by a six-month count . . . that [Epstein] could serve them back to
                 back but at the county jail, rather than having to go to a state facility.
                 But then I said, “But if you do that, it’s still going to have to be round
                 the clock incarceration.” And Barry Krischer said yes. And [he]
                 said that to avoid [Epstein being extorted while incarcerated], he
                 would be kept in solitary confinement.

Villafaña did not recall whether she and Lourie agreed to an 18-month sentence during that
meeting, but she told OPR that in her view, allowing Epstein to serve his sentence in the county
jail was not a “concession” because he would be incarcerated regardless.

        Neither Lourie nor the other USAO supervisor present could recall any substantive details
of the September 12, 2007 meeting, and Krischer and Belohlavek told OPR they did not remember
the meeting at all. Krischer did, however, recall that he was “not offended at all” when he learned
of the proposed federal resolution, requiring Epstein to plead to both the pending state indictment
and an additional charge requiring sexual offender registration, explaining to OPR that Epstein
“was going to plead guilty to my indictment, we were going to add an additional charge, he was

106
         Later, the defense would claim that they had mistakenly understood that the selected charge would not
involve sexual offender registration.
107
        As noted below, a contemporaneous email indicates that shortly after the meeting, Lourie and Villafaña spoke
with Acosta and Sloman, who concurred with the agreement.


                                                        65
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 92 of 348




going to become a registered sex offender, and he was going to go actually do time—which he
hadn’t done up to this point.” Krischer asked, “Why would I turn that down?” Krischer also noted
that at that time, sexual offender registration “was not the norm” in Florida, and he recognized that
“it was clearly something that was important to the U.S. Attorney’s Office.” 108

       Acosta told OPR that he did not recall if he learned what transpired at the September 12
meeting, nor did he recall why the USAO team agreed to permit Epstein to plead guilty to only
one charge. Acosta told OPR, however, that he recognized that Villafaña and Lourie needed “some
degree of discretion to negotiate”; that “in the give and take” of negotiations, they might propose
a concession; and he was comfortable with the concession as long as the charge to which Epstein
ultimately pled “captured the conduct” in an “appropriate” way.

        Although Epstein’s attorneys expressed interest in Epstein serving his time in a county
facility (rather than state prison), one of Epstein’s attorneys alternatively expressed interest in
Epstein serving his time in a federal facility, and along with discussions about the possible state
resolution, the USAO and Epstein’s counsel also discussed a possible federal plea with a sentence
running concurrently to the sentence Epstein would receive on the already indicted state charge.
Later that day, Villafaña sent Lefkowitz an email advising that she and Lourie had talked with
Acosta and Sloman, and they were “all satisfied in principle with the agreement.” 109 The next day,
September 13, 2007, Villafaña sent an email to Acosta, Sloman, Lourie, and two other supervisors,
identifying potential federal offenses that would yield a two-year sentence. Villafaña also emailed
defense counsel, stating that she had been “spending some quality time with Title 18”—referring
to the code of federal criminal statutes—to make sure there would be a “factual basis” for any
federal plea, and identifying the federal statutes she was considering.

        C.       The Evidence Does Not Clearly Show Why the Term of Incarceration Was
                 Reduced from 24 Months to 20 Months to 18 Months

       OPR reviewed the contemporaneous records and asked Acosta, Villafaña, and Lourie to
explain how the jail term Epstein would have to accept came to be reduced from two years to 18
months. Lourie had no recollection of the process through which the term of incarceration was
reduced. Villafaña and Acosta offered significantly different explanations.

        Villafaña told OPR:

                 We had this flip flop between is it going to be a state charge, is it
                 going to be a federal charge, is it going to be [a] state charge, is it
                 going to be a federal charge? And to get to a federal charge, there
                 was no way to do 24 months that made any sense. So somehow it
                 ended up being 20 months and then it got to be 18 months. And
                 these were calls that if I remember correctly, Jay Lefkowitz was


108
          Belohlavek, however, told OPR that sexual offender registration “was a common occurrence” for enumerated
state crimes, but the state crime charged in the state indictment against Epstein was not one of them.
109
        The email does not indicate what the parties meant by “the agreement.”


                                                       66
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 93 of 348




               having directly with Alex Acosta, and Alex Acosta agreed to 18
               months.

       Villafaña further explained to OPR:

               Regarding going from 24 months to 20 months, I recall a discussion
               that 24 months of federal time was really 20 months after gain time,
               so Epstein should be allowed to plead to 20 months’ in the state.
               Epstein’s counsel represented that he wouldn’t get gain time like
               that in the [s]tate, and someone above me agreed. Later, of course,
               as shown in the agreements, Epstein’s counsel (Jay Lefkowitz) got
               Alex to agree that Epstein should be allowed to earn gain time in the
               [s]tate, so the 20 months in the state became at least 17 months.

               Regarding going from 20 months’ to 18 months, . . . this came from
               a negotiation between Epstein’s counsel and Andy or Alex where
               the federal statutory max could only be 24 or 18, so 18 was agreed
               to. I also recall that, after Epstein’s counsel decided that they
               wanted to proceed with an NPA and only a state guilty plea, I asked
               Alex why we didn’t return to 20 months because the reason why we
               went to 18 months was because that was the only way to end up with
               a federal statutory maximum. 110

        However, a subsequent account of the history of negotiations with Epstein’s attorneys,
drafted by Villafaña for Acosta several weeks after the September 12, 2007 meeting with the State
Attorney’s Office, stated that “a significant compromise” reached at the meeting “was a reduction
in the amount of jail time – from [the originally proposed] twenty-four months down to eighteen
months, which would be served at the Palm Beach County Jail rather than a state prison facility.”
Acosta also noted to OPR that Villafaña was engaged in a “tough negotiation,” and he was willing
to allow her the discretion to reduce the amount of incarceration time without him “second-
guessing” her. Acosta acknowledged that he “clearly approved it at some point.”

        Based on this record, OPR could not definitively determine when, how, or by whom the
decision was made to reduce the required term of imprisonment from 24 months to 18 months. It
is possible that the reduction was connected to Epstein’s effort to achieve a result that would allow
him to serve his time in a county facility, but it may also have resulted from the parties’ attempts
to reach agreement on federal charges that would not result in a sentence of incarceration greater
than what had been discussed with respect to state charges. In the end, the evidence shows that
Acosta approved of a reduced term of incarceration from 24 months to 18 months, and the USAO
understood at the time that the state gain time requirement would further reduce the actual amount
of time Epstein would spend incarcerated.




110
       By “federal statutory maximum,” Villafaña referred to 12-month and 6-month misdemeanors.


                                                    67
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 94 of 348




         D.       The Parties Continue to Negotiate but Primarily Focus on a Potential Plea to
                  Federal Charges

       During the remainder of September, Villafaña conducted plea negotiations and drafted the
final NPA, mainly with Epstein attorney Jay Lefkowitz. In a September 13, 2007 email to CEOS
Chief Oosterbaan, Villafaña reported that the plea negotiations were “getting fast and furious.”
She said that the defense wanted to establish a “victim’s fund” through which Epstein could make
payments to the victims, rather than having the victims file individual § 2255 court actions for
damages, which she speculated was “to keep this stuff out of the public [c]ourt files.”

        According to the email documentation, by Friday, September 14, 2007, the parties had
moved toward a “hybrid” federal plea agreement, incorporating a plea to state charges, which
would allow Epstein to serve his sentence for all the charges concurrently in a federal prison.
Villafaña informed Acosta, Sloman, Lourie, and other colleagues that negotiations with Lefkowitz
had resulted in a tentative agreement for Epstein to plead to two federal charges: harassment to
prevent a witness from reporting a crime (18 U.S.C. § 1512(d)(2), which was then a one-year
misdemeanor), and simple assault on an airplane (18 U.S.C. § 113(a)(5), a six-month
misdemeanor). Villafaña reported that Lefkowitz “put in a pitch for only 12 months, I put in a
pitch that [Epstein] plead to 24 with a 20-month recommendation, and we decided that we would
be stuck with the 18 months.”

        Later that day, Villafaña sent to Lefkowitz a draft “hybrid” plea agreement and information
mirroring the agreement in principle she had described to her supervisors, but which she noted had
“not yet been blessed” by them. The agreement provided that Epstein would plead guilty to the
two federal charges for which the parties would jointly recommend that he be sentenced to the
statutory maximum penalty of 18 months’ imprisonment followed by 2 years of supervised release,
and that he would also plead guilty to the state registrable offense of procurement of minors to
engage in prostitution, for which Epstein and the State Attorney’s Office would make a joint,
binding recommendation that he be sentenced to serve at least 20 months in prison followed by 10
months of community control (home confinement). Although not specified in the draft agreement,
the negotiations evidently expected the federal and state terms would run concurrently. In addition
to payment of restitution, Epstein would not oppose jurisdiction or victim status for any of the
victims identified in the federal investigation—at that point specified as numbering 40—who
elected to file suit for damages under 18 U.S.C. § 2255. A guardian ad litem would be appointed
to communicate with the defense on the victims’ behalf.

          Lourie, however, quickly made clear that he was not in favor of the proposal. In response
to Villafaña’s email about the potential federal charges, but after Villafaña sent the proposal to
Lefkowitz, Lourie told her, “The assault [charge] sounds like a stretch and factually [is] sort of
silly.” 111 Lourie also told Sloman, Acosta, and another supervisor that he did not “like the assault
charge” and believed that it would not “go smooth with every judge.” Acosta responded, “If we
need[,] let’s find a different charge.” On Saturday, September 15, 2007, Villafaña emailed
Lefkowitz, using her personal email address, reporting that she had “gotten some negative reaction

111
          The charge was to be based on “an incident in which Epstein ‘put great pressure’ . . . on [one of his female
assistants] to call the girls to set up appointments.”


                                                         68
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 95 of 348




to the assault charge” and suggesting a different factual scenario to support a federal charge. 112 At
this point, Sloman left on vacation, and he informed Acosta and Villafaña that in his absence
Lourie had agreed “to help finalize this.” Lourie spent the following work week at his new post
at the Department in Washington, D.C., but communicated with his USAO colleagues by phone
and email.

        In a Sunday, September 16, 2007 email, Villafaña informed Lefkowitz that she had drafted
a factual proffer to accompany a revised “hybrid” federal plea proposal. In that email, Villafaña
also noted that she was considering filing charges in the federal district court in Miami, “which
will hopefully cut the press coverage significantly.” This email received considerable attention 12
years later when it was made public during the CVRA litigation and was viewed as evidence of
the USAO’s efforts to conceal the NPA from the victims. Villafaña, however, explained to OPR
that she was concerned that news media coverage would violate the victims’ privacy. She told
OPR, “[I]f [the victims] wanted to attend [the plea hearing], I wanted them to be able to go into
the courthouse without their faces being splashed all over the newspaper,” and that such publicity
was less likely to happen in Miami, where the press “in general does not care about what happens
in Palm Beach.”

         Lefkowitz responded to Villafaña with a revised version of her latest proposed “hybrid”
plea agreement, in a document entitled “Agreement.” Significantly, this defense proposal
introduced two new provisions. The first related to four female assistants who had allegedly
facilitated Epstein in his criminal scheme. The defense sought a government promise not to
prosecute them, as well as certain other unnamed Epstein employees, and a promise to forego
immigration proceedings against two of the female assistants:

                  Epstein’s fulfilling the terms and conditions of the Agreement also
                  precludes the initiation of any and all criminal charges which might
                  otherwise in the future be brought against [four named female
                  assistants] or any employee of [a specific Epstein-owned corporate
                  entity] for any criminal charge that arises out of the ongoing federal
                  investigation . . . . Further, no immigration proceeding will be
                  instituted against [two named female assistants] as a result of the
                  ongoing investigation.

         The second new provision related to the USAO’s efforts to obtain Epstein’s computers:

                  Epstein’s fulfilling the terms and conditions of the Agreement
                  resolves any and all outstanding [legal process] that have requested
                  witness testimony and/or the production of documents and/or
                  computers in relation to the investigation that is the subject of the
                  Agreement. Each [legal process] will be withdrawn upon the
                  execution of the Agreement and will not be re-issued absent reliable

112
          Villafaña told OPR that she sometimes used her home email account because “[n]egotiations were occurring
at nights, on weekend[s], and while I was [away from the office for personal reasons], . . . and this occurred during a
time when out of office access to email was very limited.” Records show her supervisors were aware that at times she
used her personal email account in communicating with defense counsel in this case.


                                                         69
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 96 of 348




                  evidence of a violation of the agreement. Epstein and his counsel
                  agree that the computers that are currently under [legal process] will
                  be safeguarded in their current condition by Epstein’s counsel or
                  their agents until the terms and conditions of the Agreement are
                  fulfilled.

       Later that day, Villafaña sent Lefkowitz a lengthy email to convey two options Lourie had
suggested: “the original proposal” for a state plea but with an agreement for an 18-month sentence,
or pleas to state charges and two federal obstruction-of-justice charges. Villafaña also told
Lefkowitz she was willing to ask Acosta again to approve a federal plea to a five-year conspiracy
with a Rule 11(c) binding recommendation for a 20-month sentence. Villafaña explained:

                  As to timing, it is my understanding that Mr. Epstein needs to be
                  sentenced in the state after he is sentenced in the federal case, but
                  not that he needs to plead guilty and be sentenced after serving his
                  federal time. Andy recommended that some of the timing issues be
                  addressed only in the state agreement, so that it isn’t obvious to the
                  judge that we are trying to create federal jurisdiction for prison
                  purposes.

        With regard to prosecution of individuals other than Epstein, Villafaña suggested standard
federal plea agreement language regarding the resolution of all criminal liability, “and I will
mention ‘co-conspirators,’ but I would prefer not to highlight for the judge all of the other crimes
and all of the other persons that we could charge.” Villafaña told OPR that she was willing to
include a non-prosecution provision for Epstein’s co-conspirators, who at the time she understood
to be the four women named in the proposed agreement, because the USAO was not interested in
prosecuting those individuals if Epstein entered a plea. Villafaña told OPR, “[W]e considered
Epstein to be the top of the food chain, and we wouldn’t have been interested in prosecuting anyone
else.” She did not consider the possibility that Epstein might be trying to protect other, unnamed
individuals, and no one, including the FBI case agents, raised that concern. Villafaña also told
OPR that her reference to “all of the other crimes and all of the other persons that we could charge”
related to her concern that if the plea agreement contained information about uncharged conduct,
the court might ask for more information about that conduct and inquire why it had not been
charged, and if the government provided such information, Epstein’s attorneys might claim the
agreement was breached. 113

        With regard to immigration, Villafaña told OPR that the USAO generally did not take any
position in plea agreements on immigration issues, and that in this case, there was no evidence that
either of the two assistants who were foreign nationals had committed fraud in connection with
their immigration paperwork, “and I think that they were both in status. So there wasn’t any reason




113
         OPR understood Villafaña’s concern to be that if the government were required to respond to a court’s inquiry
into additional facts, Epstein would object that the government was trying to cast him in a negative light in order to
influence the court to impose a sentence greater than the agreed-upon term.


                                                         70
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 97 of 348




for them to be deported.” 114 As to whether the foreign nationals would be removable by virtue of
having committed crimes, Villafaña told OPR she did not consider her role as seeking removal
apart from actual prosecution.

        Villafaña concluded her email to Lefkowitz by expressing disappointment that they were
not “closer to resolving this than it appears that we are,” and offering to meet the next day to work
on the agreement:

                 Can I suggest that tomorrow we either meet live or via
                 teleconference, either with your client or having him within a quick
                 phone call, to hash out these items? I was hoping to work only a
                 half day tomorrow to save my voice for Tuesday’s hearing . . . , if
                 necessary, but maybe we can set a time to meet. If you want to meet
                 “off campus” somewhere, that is fine. I will make sure that I have
                 all the necessary decision makers present or “on call,” as well. 115

Villafaña told OPR that she offered to meet Lefkowitz away from the USAO because conducting
negotiations via email was inefficient, and Villafaña wanted “to have a meeting where we sat down
and just finalized things. And what I meant by off campus is, sometimes people feel better if you
go to a neutral location” for a face-to-face meeting.

        On the morning of Monday, September 17, 2007, the USAO supervisor who was taking
over Lourie’s duties as manager of the West Palm Beach office asked Villafaña for an update on
the plea negotiations, and she forwarded to him the email she had sent to Lefkowitz the previous
afternoon. Villafaña told the manager, “As you can see . . . there are a number of things in their
last draft that were unacceptable. All of the loopholes that I sewed up they tried to open.”

        Shortly thereafter, Villafaña alerted the new manager, Acosta, and Lourie that she had just
spoken with Lefkowitz, who advised that Epstein was leaning towards a plea to state charges under
a non-prosecution agreement, and she would be forwarding to Lefkowitz “our last version of the
Non-Prosecution Agreement.” Acosta asked that Villafaña “make sure they know it[’]s only a
draft” and reminded her that “[t]he form and language may need polishing.” Villafaña responded,
“Absolutely. There were a lot of problems with their last attempt. They tried to re-open all the
loopholes that I had sewn shut.” Villafaña sent to Lefkowitz the draft NPA that she had provided
to Lefcourt on September 11, 2007, noting that it was the “last version” and would “avoid [him]
having to reinvent the wheel.” She also updated the FBI case agents on the status of negotiations,
noting that she had told her “chain of command . . . that we are still on for the [September] 25th
[to bring charges] . . . , no matter what.”

        After receiving the draft NPA, Lefkowitz asked Villafaña to provide for his review a factual
proffer for a federal obstruction of justice charge, and, with respect to the NPA option, asked, “[I]f

114
         According to the case agents, the West Palm Beach FBI office had an ICE agent working with them at the
beginning of the federal investigation, and the ICE agent normally would have looked into the immigration status of
any foreign national, but neither case agent recalled any immigration issue regarding any of the Epstein employees.
115
        Lefkowitz was based in New York City but traveled to Miami in connection with the case.


                                                        71
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 98 of 348




we go that route, would you intend to make the deferred [sic] prosecution agreement public?”
Villafaña replied that while a federal plea agreement would be part of the court file and publicly
accessible, the NPA “would not be made public or filed with the Court, but it would remain part
of our case file. It probably would be subject to a FOIA [Freedom of Information Act] request,
but it is not something that we would distribute without compulsory process.” 116 Villafaña told
OPR that she believed Epstein did not want the NPA to be made public because he “did not want
people to believe him to have committed a variety of crimes.” As she explained to OPR, Villafaña
believed the NPA did not need to be disclosed in its entirety, but she anticipated notifying the
victims about the NPA provisions relating to their ability to recover damages.

        E.       The Parties Appear to Reach Agreement on a Plea to Federal Charges

        Negotiations continued the next day, Tuesday, September 18, 2007. Responding to
Villafaña’s revised draft of the NPA, Lefkowitz suggested that Epstein plead to one federal charge
with a 12-month sentence, followed by one year of supervised release with a requirement for home
detention and two years of state probation, with the first six months of the state sentence to be
served under community control. Villafaña replied, “I know that the U.S. Attorney will not go
below 18 months of prison/jail time (and I would strongly oppose the suggestion).” Shortly
thereafter, Villafaña emailed Acosta, Lourie, and the incoming West Palm Beach manager:

                 Hi all – I think that we may be near the end of our negotiations with
                 Mr. Epstein, and not because we have reached a resolution. As I
                 mentioned yesterday, I spent about 12 hours over the weekend
                 drafting Informations, changing plea agreements, and writing
                 factual proffers. I was supposed to receive a draft agreement from
                 them yesterday, which never arrived. At that time, they were
                 leaning towards pleading only to state charges and doing all of the
                 time in state custody.

                 Late last night I talked to Jay Lefkowitz who asked about Epstein
                 pleading to two twelve-month federal charges with half of his jail
                 time being spent in home confinement pursuant to the guidelines. I
                 told him that I had no objection to that approach but, in the interest
                 of full disclosure, I did not believe that Mr. Epstein would be eligible
                 because he will not be in Zone A or B. 117 This morning Jay
                 Lefkowitz called and said that I was correct but, if we could get
                 Mr. Epstein down to 14 months, then he thought he would be
                 eligible.

                 My response: have him plead to two separate Informations. On the
                 first one he gets 12 months’ imprisonment and on the second he gets

116
       FOIA requires disclosure of government records upon request unless an exemption applies permitting the
government to withhold the requested records. See 5 U.S.C. § 552.
117
          Sentences falling within Zones A or B of the U.S. Sentencing Guidelines permit probation or confinement
alternatives to imprisonment.


                                                       72
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 99 of 348




                 twelve months, with six served in home confinement, to run
                 consecutively.

                 I just received an e-mail asking if Mr. Epstein could just do 12
                 months imprisonment instead.

                 As you can see, Mr. Epstein is having second thoughts about doing
                 jail time. I would like to send Jay Lefkowitz an e-mail stating that
                 if we do not have a signed agreement by tomorrow at 5:00,
                 negotiations will end. I have selected tomorrow at 5:00 because it
                 gives them enough time to really negotiate an agreement if they are
                 serious about it, and if not, it gives me one day before the Jewish
                 holiday to get [prepared] for Tuesday . . . [September 25] , when I
                 plan to [file charges], and it gives the office sufficient time to review
                 the indictment package.

                 Do you concur?

A few minutes later, the incoming West Palm Beach manager emailed Lourie, suggesting that
Lourie “talk to Epstein and close the deal.” 118

        Within moments, Lourie replied to the manager, with a copy to Villafaña, reporting that he
had just spoken with Lefkowitz and agreed “to two fed[eral] obstruction[] charges (24 month cap)
with nonbinding recommendation for 18 months. When [Epstein] gets out, he has to plead to state
offenses, including against minor, registrable, and then take one year house arrest/community
confinement.” By reply email, Villafaña asked Lourie to call her, but there is no record of whether
they spoke.

        F.       Defense Counsel Offers New Proposals Substantially Changing the Terms of
                 the Federal Plea Agreement, which the USAO Rejects

        Approximately an hour after Lourie’s email reporting the deal he had reached with
Lefkowitz, Lefkowitz sent Villafaña a revised draft plea agreement. Despite the agreement Lourie
believed he and Lefkowitz had reached that morning, Lefkowitz’s proposal would have resulted
in a 16-month federal sentence followed by 8 months of supervised release served in the form of
home detention. Lefkowitz also inserted a statement in his proposal explicitly prohibiting the
USAO from requesting, initiating, or encouraging immigration authorities to institute immigration
proceedings against two of Epstein’s female assistants.

        Villafaña circulated the defense’s proposed plea agreement to Lourie and two other
supervisors, and expressed frustration that the new defense version incorporated terms that were
“completely different from what Jay just told Andy they would agree to.” Villafaña also pointed
out that the defense “wants us to recommend an improper calculation” of the sentencing guidelines

118
         The manager told OPR that he probably meant this as a joke because in his view the continued back-and-
forth communications with defense counsel “was ridiculous,” and the only way to “get this deal done” might be to
have a direct conversation with Epstein.


                                                      73
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 100 of 348




and had added language waiving the preparation of a presentence investigation (PSI) “so he can
keep all of his information confidential. I have already told Jay that the PSI language . . . was
unacceptable to our office.” Of even greater significance, in a follow-up email, Villafaña noted
that the defense had removed both the requirement that Epstein plead to a registrable offense and
the entire provision relating to monetary damages under 18 U.S.C. § 2255.

        In the afternoon, Villafaña circulated her own proposed “hybrid” plea agreement, first
internally to the management team with a note stating that it “contains the 18/12 split that Jay and
Andy agreed to,” and then to Lefkowitz. Regarding the prosecution of other individuals, she
included the following provision: “This agreement resolves the federal criminal liability of the
defendant and any co-conspirators in the Southern District of Florida growing out of any criminal
conduct by those persons known to the [USAO] as of the date of this plea agreement,” including
but not limited to the conspiracy to solicit minors to engage in prostitution.

         In her email to Lefkowitz, transmitting the plea agreement, Villafaña wrote:

                  Could you share the attached draft with your colleagues. It is in
                  keeping with what Andy communicated to me was the operative
                  “deal.” The U.S. Attorney hasn’t had a chance to review all of the
                  language, but he agrees with it in principle.

                           ....

                  [The West Palm Beach manager] and I will both be available at 2:00.
                  . . . One of my suggestions is going to be (again) that we all sit down
                  together in the same room, including Barry [Krischer] and/or Lanna
                  [Belohlavek], so we can hash out the still existing issues and get a
                  signed document.

         Villafaña also emailed Acosta directly, telling him she planned to meet with Epstein’s
attorneys to work on the plea agreement, and asking if Acosta would be available to provide final
approval. Acosta replied, “I don’t think I should be part of negotiations. I’d rather leave it to you
if that’s ok.” Acosta told OPR that “absent truly exceptional circumstances,” he believed it was
important for him “to not get involved” in negotiations, and added, “You can meet, like I did in
September, [to] reaffirm the position of the office, [and] back your AUSA, but ultimately, I think
your trial lawyer needs discretion to do their job.” Villafaña told OPR, however, that she did not
understand Acosta to be giving her discretion to conduct the negotiations as she saw fit; rather, she
believed Acosta did not want to engage in face-to-face negotiations because “he wanted to have
an appearance of having sort of an arm’s length from the deal.” 119 Villafaña replied to Acosta’s




119
         As noted throughout the Report, Villafaña’s interpretation of her supervisors’ motivations for their actions
often differed from the supervisors’ explanations for their actions. Because it involved subjective interpretations of
individuals’ motivations, OPR does not reach conclusions regarding the subjects’ differing views but includes them
as an indication of the communication issues that hindered the prosecution team. See Chapter Two, Part Three,
Section V.E.


                                                         74
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 101 of 348




message, “That is fine. [The West Palm Beach manager] and I will nail everything down, we just
want to get a final blessing.”

       Negotiations continued throughout the day on Wednesday, September 19, 2007, with
Villafaña and Lefkowitz exchanging emails regarding the factual proffer for a plea and the
scheduling of a meeting to finalize the plea agreement’s terms. During that exchange, Villafaña
made clear to Lefkowitz that the time for negotiating was reaching an end:

               I hate to have to be firm about this, but we need to wrap this up by
               Monday. I will not miss my [September 25 charging] date when this
               has dragged on for several weeks already and then, if things fall
               apart, be left in a less advantageous position than before the
               negotiations. I have had an 82-page pros memo and 53-page
               indictment sitting on the shelf since May to engage in these
               negotiations. There has to be an ending date, and that date is
               Monday.

        Early that afternoon, Lourie—who was participating in the week’s negotiations from his
new post at the Department in Washington, D.C.—asked Villafaña to furnish him with the last
draft of the plea agreement she had sent to defense counsel, and she provided him with the “18/12
split” draft she had sent to Lefkowitz the prior afternoon. After reviewing that draft, Lourie told
Villafaña it was a “[g]ood job” but he questioned certain provisions, including whether the
USAO’s agreement to suspend the investigation and hold all legal process in abeyance should be
in the plea agreement. Villafaña told Lourie that she had added that paragraph at the “insistence”
of the defense, and opined, “I don’t think it hurts us.” Villafaña explained to OPR that she held
this view because “Alex and people above me had already made the decision that if the case was
resolved we weren’t going to get the computer equipment.”

        At 3:44 p.m. that afternoon, Lefkowitz emailed a “redline” version of the federal plea
agreement showing his new revisions, and noted that he was “also working on a deferred [sic]
prosecution agreement because it may well be that we cannot reach agreement here.” The defense
redline version required Epstein to plead guilty to a federal information charging two misdemeanor
counts of attempt to intentionally harass a person to prevent testimony, the pending state
indictment charging solicitation of prostitution, and a state information charging one count of
coercing a person to become a prostitute, in violation of Florida Statute § 796.04 (without regard
to age). Neither of the proposed state offenses required sexual offender registration. Epstein
would serve an 18-month sentence and a concurrent 60 months on probation on the state charges.
The redline version again deleted the provisions relating to damages under 18 U.S.C. § 2255 and
replaced it with the provision requiring creation of a trust administered by the state court. It
retained language proposed by Villafaña, providing that the plea agreement “resolves the federal
criminal liability of the defendant and any co-conspirators in the Southern District of Florida
growing out of any criminal conduct by those persons known to the [USAO] as of the date of this
plea agreement,” but also re-inserted the provision promising not to prosecute Epstein’s assistants
and the statement prohibiting the USAO from requesting, initiating, or encouraging immigration
proceedings. It also included a provision stating the government’s agreement to forgo a
presentence investigation and a promise by the government to suspend the investigation and
withdraw all pending legal process.

                                                75
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 102 of 348




       G.      Villafaña and Lourie Recommend Ending Negotiations, but Acosta Urges
               That They “Try to Work It Out”

        In the late afternoon of Wednesday, September 19, 2007, Villafaña expressed her
increasing frustration to her supervisors. She emailed the defense redline version of the plea
agreement to Lourie and the incoming West Palm Beach manager, identifying all of the provisions
she had “specifically discussed with [the defense team] and rejected, that they have re-inserted into
the agreement.” (Emphasis in original). Villafaña opined, “This is NOT good faith negotiations.”
Lourie responded that he would “reach out to Alex to discuss.”

       Lourie immediately emailed Acosta the following:

               I looked at the latest draft from Jay [Lefkowitz] and I must agree
               with Marie. Based on my own conversations with him, his draft is
               out of left field. He claims to orally agree to our terms and then
               sends us a document that is the opposite. I suggest we simply tell
               him that his counter offer is rejected and that we intend to move
               forward with our case.

       Acosta replied:

               Why don’t we just call him. Tell him

               1.      You agree, and then change things.

               2.      That’s not acceptable, and is in bad faith. Stop it or we’ll
                       indict.

               3.      Try to work it out.

               It seems that we are close, and it[’]s worth trying to overcome what
               has to be painfully . . . annoying negotiating tactics.

Acosta explained to OPR that he recognized,

               [t]his negotiation was a pain, but if it was the right position, the fact
               that you’ve got annoying counsel on the other side doesn’t it make
               it less of a right position. You tell them stop being annoying, you
               try to work it out, and if not, then you indict.

       In response to Acosta’s instruction, Lourie responded, “Ok will do.” He also forwarded to
Acosta the latest version of the USAO draft “hybrid” plea agreement that Villafaña had sent to
Lefkowitz the previous day, which Lourie had requested and obtained from Villafaña earlier that
afternoon.

       Meanwhile, Villafaña sent to Lourie and his successor West Palm Beach manager a draft
message she proposed to send to Lefkowitz with her objections to the defense revisions,
explaining, “I know that you keep saying he is going to plead, and he will plead if we cave on

                                                  76
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 103 of 348




everything, but I really do not think that Mr. Epstein is going to engage in serious negotiations
until he sees the Indictment and shows up in mag [federal magistrate judge] court.” She suggested
charging Epstein on a federal conspiracy charge, and if he refused to plead to that offense,
superseding with additional charges and going to trial. She complained that after seven weeks of
negotiations, “we are just spinning our wheels.” Her proposed email to Lefkowitz detailed all of
the objectionable provisions in his draft, and concluded, “If you or your client insists on these,
there can be no plea agreement.”

        H.       Acosta Edits the Federal Plea Agreement, and Villafaña Sends a Final Version
                 to the Defense

       The next day, Thursday, September 20, 2007, Villafaña emailed Assistant State Attorney
Belohlavek and informed her:

                 Our deadline is Monday evening for a signed agreement and
                 arraignment in the federal system. At this time, things don’t look
                 promising anyway, but I will keep you posted. In their latest draft,
                 they changed what they agreed to plead to in the state from
                 solicitation of minors for prostitution (a registrable offense) to
                 forcing adults into prostitution (a non-registrable offense). We will
                 not budge on this issue, so it is looking unlikely that we will reach a
                 mutually acceptable agreement. If that changes, I will let you know.

        Acosta sent Lourie “[s]ome thoughts” about the USAO version of the proposed “hybrid”
federal plea agreement he had received from Lourie the evening before, commenting that “it seems
very straightforward” and “we are not changing our standard charging language” for the
defense. 120 Noting that the draft was prepared for his signature, Acosta told Lourie that he did not
typically sign plea agreements and “this should not be the first,” adding that the USAO “should
only go forward if the trial team supports and signs this agreement.” 121 Lourie forwarded the email
to Villafaña with a transmittal message simply reading, “I think Alex’s changes are all good ones.
Please try to incorporate his suggestions, change the signature block to your name and send as
final to Jay.” Lourie also noted to Acosta and Villafaña that he believed the defense would want
to go back to the initial offer of a state plea with a non-prosecution agreement. When Villafaña
sent the revised plea agreement to Lefkowitz later that afternoon, she advised him that if the
defense wanted to return to the original offer of a state plea only, the draft NPA she had sent to
him on September 17, 2007, would control.




120
         The USAO had standard federal plea agreement language, from which this “hybrid” plea agreement had
substantially diverged.
121
        The standard procedure was for documents such as plea agreements to be signed by an AUSA under the
name of the U.S. Attorney. In his OPR interview, Acosta further explained that wanted to give “the trial team” an
opportunity to voice any objections because “if it’s something they don’t feel comfortable with we . . . shouldn’t go
forward with it.”


                                                         77
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 104 of 348




       I.      The Defense Rejects the Federal Plea Agreement, Returns to the NPA
               “State-Only” Resolution, and Begins Opposing the Sexual Offender
               Registration Requirement

        After having spent days negotiating the federal charges to be included in a plea agreement,
by the afternoon of September 20, 2007, the defense rejected the federal plea option, and the parties
resumed negotiations over the details of an NPA calling for Epstein to plead to only state charges.
Through multiple emails and attempts (some successful) to speak directly with Acosta and other
supervisors, defense attorneys vigorously fought the USAO’s insistence that Epstein plead to a
state charge requiring sexual offender registration.

         After receiving the federal plea agreement, Lefkowitz spoke with Villafaña. She reported
to Acosta and Lourie that Lefkowitz told her the defense was “back to doing the state-charges-
only agreement” and wanted until the middle of the following week to work out the details, but
that she had told defense counsel that “we need a signed agreement by tomorrow [Friday] or we
are [filing charges] on Tuesday.”

         Lefkowitz emailed Villafaña about the draft NPA that she had sent to him, pointing out
that it called for a 20-month jail sentence followed by 10 months of community control, rather than
18 months in jail and 12 under community control, and to ask if the USAO had “any flexibility”
on the § 2255 procedure. Villafaña responded:

               The 18 and 12 has already been agreed to by our office, so that is
               not a problem. On the issue about 18 [U.S.C. §] 2255, we seem to
               be miles apart. Your most recent version not only had me binding
               the girls to a trust fund administered by the state court, but also
               promising that they will give up their [§] 2255 rights.

               I reviewed the e-mail that I sent you on Sunday with the comments
               on some of your other changes. In the context of a non-prosecution
               agreement, the office may be more willing to be specific about not
               pursuing charges against others. However, as I stated on Sunday,
               the Office cannot and will not bind Immigration.

               Also, your timetable will need to move up significantly. As [State
               Attorney] Barry [Krischer] said in our meeting last week, his office
               can put together a plea agreement, [and an] information, and get you
               all before the [state] judge on a change of plea within a day.

        Villafaña alerted Krischer that evening that negotiations were “not going very well” and
that defense counsel “changed their minds again, and they only want to plead to state charges, not
concurrent state and federal.” She added, “If we cannot reach . . . an agreement, then I need to
[charge] the case on Tuesday [September 25] and I will not budge from that date.”

       In response to Villafaña’s report of her conversation with Lefkowitz about the defense
preference for a “state-charges-only agreement,” Lourie alerted her that, “He wants to get out of
[sexual offender] registration which we should not agree to.” Lourie emailed Acosta:


                                                 78
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 105 of 348




                 I think Jay [Lefkowitz] will try to talk you out of a registrable
                 offense. Regardless of the merits of his argument, in order to get us
                 down in time they made us an offer that included pleading to an
                 offense against a minor (encouraging a minor into prostitution) and
                 touted that we should be happy because it was registrable. For that
                 reason alone, I don’t think we should consider allowing them to
                 come down from their own offer, either on this issue or on time of
                 incarceration.

        Lefkowitz attempted to reach Acosta that night, but Acosta directed Villafaña to return the
call, and told Lourie that he did not want to open “a backchannel” with defense counsel. Lourie
instructed Villafaña, “U can tell [J]ay that [A]lex will not agree to a nonregistration offense.”

         On the morning of Friday, September 21, 2007, Villafaña emailed Acosta informing him
that “it looks like we will be [filing charges against] Mr. Epstein on Tuesday,” reporting that the
charging package was being reviewed by the West Palm Beach manager, and asking if anyone in
the Miami office needed to review it. Villafaña also alerted Lourie that she had spoken that
morning to Lefkowitz, who “was waffling” about Epstein pleading to a state charge that required
sexual offender registration, and she noted that she would confer with Krischer and Belohlavek
“to make sure the defense doesn’t try to do an end run.”

        That same morning, Epstein attorney Sanchez, who had not been involved in negotiations
for several weeks, emailed Sloman, advising, “[I] want to finalize the plea deal and there is only
one issue outstanding and [I] do not believe that [A]lex has read all the defense submissions that
would assist in his determination on this point . . . [U]pon resolution, we will be prepared to sign
as soon as today.” From his out-of-town vacation, Sloman forwarded the email to Acosta, who
replied, “Enjo[y] vacation. Working with [M]arie on this.” Sloman also forwarded Sanchez’s
email to Lourie and asked, “Do you know what she’s talking about?” Lourie responded that
Sanchez “has not been in any negotiations. Don’t even engage with yet another cook.”

        J.       The USAO Agrees Not to Criminally Charge “Potential Co-Conspirators”

        Lefkowitz, in the meantime, sent Villafaña a revised draft NPA that proposed an 18-month
sentence in the county jail, followed by 12 months of community control, and restored the
provision for a trust fund for disbursement to an agreed-upon list of individuals “who seek
reimbursement by filing suit pursuant to 18 U.S.C. § 2255.” This defense draft retained the
provision promising not to criminally charge Epstein’s four female assistants and unnamed
employees of the specific Epstein-owned corporate entity, but also extended the provision to “any
potential co-conspirators” for any criminal charge arising from the ongoing federal investigation.
This language had evolved from similar language that Villafaña had included in the USAO’s
earlier proposed draft federal plea agreement. 122 Lefkowitz also again included the sentence



122
         The language in the USAO’s draft federal plea agreement stated, “This agreement resolves the federal
criminal liability of the defendant and any co-conspirators in the Southern District of Florida growing out of any
criminal conduct by those persons known to the [USAO] . . . .”


                                                       79
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 106 of 348




precluding the government from requesting, initiating, or recommending immigration proceedings
against the two assistants who were foreign nationals.

        At this point, Lefkowitz again sought to speak to Acosta, who replied by email: “I am
happy to talk. My caveat is that in the middle of negotiations, u try to avoid[] undermining my
staff by allowing ‘interlocutor[]y’ appeals so to speak so I’d want [M]arie on the call[.] I’ll have
her set something up.”

        Villafaña sent to Lefkowitz her own revised NPA, telling him it was her “attempt at
combining our thoughts,” but it had not “been approved by the office yet.” She inserted solicitation
of minors to engage in prostitution, a registrable offense, as the charge to which Epstein would
plead guilty; proposed a joint recommendation for a 30-month sentence, divided into 18 months
in the county jail and 12 months of community control; and amended the § 2255 provision.123
Villafaña’s revision retained the provision suspending the investigation and holding all legal
process in abeyance, and she incorporated the non-prosecution provision while slightly altering it
to apply to “any potential co-conspirator of Epstein, including” the four named assistants, and
deleting mention of the corporate entity employees. Finally, Villafaña deleted mention of
immigration proceedings, but advised in her transmittal email that “we have not and don’t plan to
ask immigration” proceedings to be initiated. 124

        Later that day, Villafaña alerted Lourie (who had arrived in Florida from Washington, D.C.
early that afternoon) and the new West Palm Beach manager (copying her first-line supervisor and
co-counsel) that she had included language that defense counsel had requested “regarding
promises not to prosecute other people,” and commented, “I don’t think it hurts us.” There is no
documentation that Lourie, the West Palm Beach manager, or anyone else expressed disagreement
with Villafaña’s assessment. Rather, within a few minutes, Villafaña re-sent her email, adding
that defense counsel was persisting in including an immigration waiver in the agreement, to which
Lourie responded, “No way. We don’t put that sort of thing in a plea agreement.” Villafaña replied
to Lourie, indicating she would pass that along to defense counsel and adding, “Any other
thoughts?” When Lourie gave no further response, Villafaña informed defense counsel that Lourie
had rejected the proposed immigration language.

        OPR questioned the subjects about the USAO’s agreement not to prosecute “any potential
co-conspirators.” Lourie did not recall why the USAO agreed to it, but he speculated that he left
that provision in the NPA because he believed at the time that it benefited the government in some
way. In particular, Lourie conjectured that the promise not to prosecute “any potential
co-conspirators” protected victims who had recruited others and thus potentially were
co-conspirators in Epstein’s scheme. Lourie also told OPR, “I bet the answer was that we weren’t
going to charge” Epstein’s accomplices, because Acosta “didn’t really want to charge Epstein” in

123
         Villafaña noted that she had consulted with a USAO employee who was a “former corporate counsel from a
hospital” about the § 2255 language, and thought that the revised language “addresses the concern about having an
unlimited number of claimed victims, without me trying to bind girls who I do not represent.”
124
          Villafaña gave OPR an explanation similar to that given by the case agents—that an ICE Special Agent had
been involved in the early stages of the federal investigation of Epstein, and Villafaña believed the agent knew two of
Epstein’s female assistants were foreign nationals and would have acted appropriately on that information. Villafaña
also said that the USAO generally did not get involved in immigration issues.


                                                         80
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 107 of 348




federal court. Sloman similarly said that he had the impression that the non-prosecution provision
was meant to protect named co-conspirators who were also victims, “in a sense,” of Epstein’s
conduct. Although later press coverage of the Epstein case focused on Epstein’s connection to
prominent figures and suggested that the non-prosecution provision protected these individuals,
Sloman told OPR that it never occurred to him that the reference to potential co-conspirators was
directed toward any of the high-profile individuals who were at the time or subsequently linked
with Epstein. 125 Acosta did not recall the provision or any discussions about it. He speculated
that if he read the non-prosecution provision, he likely assumed that Villafaña and Lourie had
“thought this through” and “addressed it for a reason.” The West Palm Beach manager, who had
only limited involvement at this stage, told OPR that the provision was “highly unusual,” and he
had “no clue” why the USAO agreed to it.

         Villafaña told OPR that, apart from the women named in the NPA, the investigation had
not developed evidence of “any other potential co-conspirators. So, . . . we wouldn’t be
prosecuting anybody else, so why not include it? . . . I just didn’t think that there was anybody
that it would cover.” She conceded, however, that she “did not catch the fact that it could be read
as broadly as people have since read it.”

        K.       The USAO Rejects Defense Efforts to Eliminate the Sexual Offender
                 Registration Requirement

       On the afternoon of Friday, September 21, 2007, State Attorney Krischer informed
Villafaña that Epstein’s counsel had contacted him and Epstein was ready to agree “to all the
terms” of the NPA—except for sexual offender registration. According to Krischer, defense
counsel had proposed that registration be deferred, and that Epstein register only if state or federal
law enforcement felt, at any point during his service of the sentence, that he needed to do so.
Krischer noted that he had “reached out” to Acosta about this proposal but had not heard back
from him. Villafaña responded, “I think Alex is calling you now.” Villafaña told OPR that, to her
knowledge, Acosta called Krischer to tell him that registration was not a negotiable term. 126

         Later that afternoon, Villafaña emailed Krischer for information about the amount of “gain
time” Epstein would earn in state prison. Villafaña explained in her email that she wanted to
include a provision in the NPA specifying that Epstein “will actually be in jail at least a certain
number of days to make sure he doesn’t try to ‘convince’ someone with the Florida prison
authorities to let him out early.” Krischer responded that under the proposal as it then stood,
Epstein would serve 15 months. He also told Villafaña that a plea to a registrable offense would
not prevent Epstein from serving his time “at the stockade”—the local minimum security detention
facility. 127


125
        Sloman also pointed out that the NPA was not a “global resolution” and other co-conspirators could have
been prosecuted “by any other [U.S. Attorney’s] office in the country.”
126
         Krischer told OPR that he did not recall meeting or having interactions with Acosta regarding the Epstein
case or any other matter.
127
         The State Attorney concluded his email: “Glad we could get this worked out for reasons I won’t put in
writing. After this is resolved I would love to buy you a cup at Starbucks and have a conversation.” Villafaña
responded, “Sounds great.” When asked about this exchange during her OPR interview, Villafaña said: “Everybody

                                                       81
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 108 of 348




        At some point that day, Acosta spoke with Lefkowitz by phone regarding the need for
Epstein to plead to a registrable offense. Throughout the weekend, with Villafaña’s Monday
deadline looming, defense counsel pressed hard to eliminate the sexual offender requirement. On
Saturday, September 22, 2007, Sanchez sent a series of emails to Lourie. In the first, she provided
details from a press report about a Florida public official who the previous day had pled guilty to
child sex abuse charges and was sentenced to a term of probation. She noted that she “spoke to
[M]att [Menchel]” and asked Lourie to call her. Two hours later she sent Lourie a second, lengthy
email, strongly objecting to the registration requirement, and outlining “all arguments against
registration [as a sexual offender] in this case.” In this email, Sanchez claimed that there had been
a “miscommunication” during the September 12, 2007 meeting, and that “we only agreed to the
solicitation with minors because we believed and [Krischer] and [Belohlavek] confirmed it was
NOT registrable.” Sanchez complained that lifetime sexual offender registration was a “life
sentence” that was “uncalled for,” “does not make sense,” and was “inappropriate” to impose
“simply [because] the FBI wants it, in return for all there [sic] efforts.” She listed numerous
reasons why Epstein should not have to register, including his lack of a prior record or history of
sexual offenses; the lack of any danger of recidivism; the ease with which he could be “tracked”
without registering; and that it would be “virtually impossible to comply” with four separate state
registration requirements. A few minutes later, Sanchez sent Lefcourt’s phone number to Lourie
“in case you want to speak to him directly.”

        In another email sent less than two hours later, Sanchez told Lourie she was writing again
because “you are a very fair person. This resolution in the Epstein case is not reasonable. [I]t is a
result of a misunderstanding at a meeting.” She stated that Epstein’s attorneys had “consistently
emphasized their goal of 18 months in a federal camp” and “[e]veryone knew that a registerable
offense precluded” a camp designation. Sanchez added, “Therefore it would have been wholly
inconsistent with that primary goal of [Epstein’s] safety to lightly concede to registration at that
meeting.” Sanchez concluded, “[I]mposing a life sentence on him is not something anyone will
eventually be proud of. Please reconsider and help me get a fair result.”

       Lourie responded to none of the Sanchez emails, but he did reach out to Acosta for a phone
conversation. By email late that night, at 10:26 p.m., Lefkowitz asked Lourie to phone him.

        The next day, Lefkowitz emailed Acosta—with copies to Sloman, Lourie, and Villafaña—
to “follow up on our conversation Friday,” asking Acosta again to reconsider the requirement that
Epstein plead to a registrable offense. Lefkowitz wrote that there had been a “misunderstanding”
at the September 12, 2007 meeting:

                 Before the meeting, Mr. Krischer and Ms. Belohlavek, a sex
                 prosecutor for 13 years, told us that solicitation of a minor . . . is not
                 a registerable offense. However, as it turned out, [it] is a registerable
                 offense and our discussion at the meeting was based on a mistaken
                 assumption. We suggest that Mr. Epstein enter two pleas—one to
                 the Indictment and a second to a non-registerable charge.


has offered to buy me a cup of coffee. I have had coffee with no one.” Krischer told OPR that the “reasons” to which
he referred related to the pressure he had been getting from Chief Reiter about the Epstein case.


                                                        82
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 109 of 348




Lefkowitz set forth arguments similar to those Sanchez had presented to Lourie, as to why
registration “based on the facts alleged in this case . . . simply does not make sense.” In the event
that Acosta did not agree to their proposed charges, Lefkowitz offered as an alternative “to stipulate
that the state offense” would “constitute a prior sexual offense for purposes of enhanced recidivist
sentencing” should Epstein ever again commit a federal sex offense against minors. As Lefkowitz
further argued, “By accepting this option, you would be substituting the certainty of recidivist
sentencing for the humiliation of registration.” Emails reflect that, early that afternoon, Acosta,
Lourie, and Villafaña discussed the matter in a conference call.

       Lefkowitz also sent a revised version of the NPA to Villafaña that omitted identification of
the charge to which Epstein would plead guilty. Later that day, Lefkowitz emailed Acosta:

               I got a call from [M]arie who said you had rejected our proposal.
               Does that mean you are not even prepared to have [Epstein] commit
               now to plead to the registerable offense near the end of his 18 month
               sentence and then be sentenced to 12 month[s] community control
               for that charge? I thought that was exactly what you proposed
               [F]riday (although you wanted, but were not able, to do it with some
               kind of federal charge).

               But that still gives you a registerable sex offense, 30 months total,
               and 18 in jail.

               How can that not satisfy you—while still ensuring that [E]pstein is
               not unduly endangered in jail?

Acosta responded, “I do not mean to be difficult, but our negotiations must take place with the
AUSAs assigned to the case.” Acosta added that he had spoken with Lourie and Villafaña, and
they had “discretion to proceed as they believe just and appropriate.” Acosta copied Villafaña,
and she emailed Acosta to thank him “for the support.”

       L.      The Defense Adds a Confidentiality Clause

         Throughout that Sunday evening, Lefkowitz had numerous email exchanges with
Villafaña, and apparently a conference call with Lourie (who was returning to Washington, D.C.)
and Villafaña. Later that evening, Lefkowitz sent Villafaña a new version of the NPA that, for the
first time, included a confidentiality term:

               It is the intention of the parties to this Agreement that it not be
               disseminated or disclosed except pursuant to court order. In the
               event the Government must disclose this Agreement in response to
               a request pursuant to the Freedom of Information Act, the
               Government agrees to provide Epstein notice before the disclosure
               of this Agreement.

        After making additional revisions, Villafaña sent this NPA to Acosta and Lourie as the
“final” version, asking Acosta to let her know what he thought of it. Among her revisions, she
changed the confidentiality provision to the following:
                                                 83
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 110 of 348




                 The parties anticipate that this agreement will not be made part of
                 any public record. If the United States receives a Freedom of
                 Information Act request or any compulsory process commanding
                 the disclosure of the agreement, it will provide notice to Epstein
                 before making that disclosure. 128

VII.    SEPTEMBER 24, 2007: ACOSTA MAKES FINAL EDITS, AND THE NPA IS
        SIGNED

        The contemporaneous emails show that Villafaña continued to update Acosta as the parties
negotiated the final language and that Acosta reviewed and edited the NPA. Shortly after midnight
on Monday, September 24, 2007, Acosta sent Villafaña “[s]mall edits” to the “final” NPA she had
sent to him. Among his changes was language modifying provisions that appeared to require the
State Attorney’s Office or the state court to take specific actions, such as requiring that Epstein
enter his guilty plea by a certain date. Acosta explained in his email, “I’m not comfortable with
requiring the State Attorney to enter into a [joint sentencing] recommendation” or “requiring a
State court to stick with our timeline” for entry of the guilty plea and sentencing. Accordingly,
Acosta substituted language that required Epstein alone to make a binding sentencing
recommendation to the state court, and required Epstein to use his “best efforts” to enter his guilty
plea and be sentenced by the specified dates. Acosta also instructed Villafaña to restore a reference
to Epstein’s wish “to reach a global resolution of his state and federal criminal liabilities.” Lourie,
who had returned to the Department in Washington, D.C., had a phone conversation with
Lefkowitz and sent additional comments on the final draft to Acosta and Villafaña. Villafaña sent
a new revision, incorporating edits from Acosta and Lourie, to Lefkowitz later that morning.

       On the afternoon of September 24, 2007, Villafaña circulated the new “final” version of
the NPA to Acosta, Sloman, Lourie, and other supervisors, and asked Lefkowitz to send her the
signed agreement. After Lefkowitz electronically transmitted to Villafaña a copy of the NPA
signed by Epstein, she emailed her immediate supervisor and her co-counsel: “They have scanned
and emailed the signed agreement. It is done.”

       In his transmittal email, Lefkowitz asked Villafaña to “[p]lease do whatever you can to
keep this from becoming public.” Villafaña responded:

                 I have forwarded your message only to Alex, Andy, and [the West
                 Palm Beach manager]. I don’t anticipate it going any further than
                 that. When I receive the originals, I will sign and return one copy
                 to you. The other will be placed in the case file, which will be kept
                 confidential since it also contains identifying information about the
                 girls.

                 When we reach an agreement about the attorney representative for
                 the girls, we can discuss what I can tell him and the girls about the

128
         In commenting on OPR’s draft report, Lourie observed that because the NPA contained names of uncharged
co-conspirators and other protected information, the USAO would have a duty to redact the information before
disclosing the NPA.


                                                      84
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 111 of 348




                 agreement. I know that Andy promised Chief Reiter an update when
                 a resolution was achieved. . . . [The West Palm Beach manager] is
                 calling, but [he] knows not to tell Chief Reiter about the money
                 issue, just about what crimes Mr. Epstein is pleading guilty to and
                 the amount of time that has been agreed to. [He] also is telling Chief
                 Reiter not to disclose the outcome to anyone.

       OPR questioned Villafaña about this email. She explained that she generally kept
confidential the terms of the resolution of any case. She understood that “the way that the [Epstein]
case was resolved” needed to remain confidential, but the victims could be informed about what
happened because by the NPA’s terms, they needed to know what the agreement was about.

        Villafaña emailed the West Palm Beach manager, asking him to tell PBPD Chief Reiter
“the good news” but “leave out the part about damages,” and explained that she wanted to meet
with the victims herself to explain how the damages provision would work. Villafaña also told
him that Lourie had asked that Reiter share information about the NPA only with the PBPD
Detective who had led the state investigation of Epstein. 129 Villafaña forwarded to Acosta, Lourie,
and the West Palm Beach manager Lefkowitz’s email asking that the USAO try to keep the NPA
from becoming public. Acosta responded that the agreement “already binds us not to make public
except as required by law under [the Freedom of Information Act],” and asked, “[W]hat more does
he want?” Villafaña replied, “My guess is that if we tell anyone else (like the police chief or FBI
or the girls), that we ask them not to disclose.” Soon thereafter, Acosta emailed Lourie, Villafaña,
and the West Palm Beach manager to set up a call to discuss “who we tell and how much,” adding,
“Nice job with a difficult negotiation.”

       The final NPA, as signed by Epstein, his attorneys Lefcourt and Sanchez, and Villafaña,
contained the following pertinent provisions:

        Charges:          Epstein would plead guilty to the pending Palm Beach County indictment,
                          plus one count of solicitation of minors to engage in prostitution, a
                          registrable offense.

        Sentence:         The parties would make a joint, binding recommendation for a 30-month
                          sentence divided as follows: consecutive terms of 12 months and 6 months
                          in the county jail, without opportunity for withholding adjudication or
                          sentencing and without community control or probation, followed by
                          12 months of community control, consecutive. 130

        Damages:          As long as the identified victims proceeded exclusively under 18 U.S.C.
                          § 2255, Epstein would not contest federal court jurisdiction or the victims’
                          status as victims. The USAO would provide to Epstein a list of individuals


129
        The West Palm Beach manager told OPR that he called Chief Reiter, who was “fine” with the outcome.
130
         Withholding adjudication or sentencing referred to a special sentence in which the judge orders probation
but does not formally convict the defendant of a criminal offense. See Fla. Stat. § 948.01 (2007).


                                                       85
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 112 of 348




                           it had identified as victims. 131 The USAO, with the good faith approval of
                           Epstein’s counsel, would select an attorney representative for the victims,
                           whom Epstein would pay.

         Timing:           Epstein would make his best efforts to enter his guilty plea and be sentenced
                           by October 26, 2007. The USAO had no objection to Epstein self-reporting
                           to begin serving his sentence by January 4, 2008.

         Immunity:         The USAO would not initiate criminal charges against “any potential
                           co-conspirator of Epstein,” including four named personal assistants.

         Other:            Epstein was obligated to undertake discussions with the State Attorney’s
                           Office to ensure compliance with this agreement.

                           Epstein waived his right to appeal.

                           Epstein agreed that he would not be afforded any benefits with respect to
                           gain time or other rights, opportunities, and benefits not available to any
                           other inmate.

                           The federal investigation would be suspended and all pending legal process
                           held in abeyance unless and until Epstein violated any term of the
                           agreement. Evidence “requested by or directly related to” the pending legal
                           process, “including certain computer equipment,” would be kept inviolate
                           until all the NPA terms had been satisfied.

         Breach:           The USAO would be required to notify Epstein of any alleged breach of the
                           agreement within 90 days of the expiration of the term of home
                           confinement, and would be required to initiate prosecution within 60 days
                           thereafter.

         Disclosure:       The parties “anticipate[d]” that the agreement would not be made part of
                           any public record, and if the USAO received a Freedom of Information Act
                           request or compulsory process commanding disclosure of the agreement, it
                           would provide notice to Epstein before making any disclosure. 132

       That evening, Lefkowitz emailed Lourie to express concern about the notification he
understood would be given to Chief Reiter, stating, “I am very concerned about leaks unduly
prejudicing Jeffrey [Epstein] in the media.” 133 He added, “I have enjoyed working with you on
131
          The USAO had not informed the defense of the victims’ identities at this point. The parties anticipated that
the USAO would send Epstein’s attorneys a list of victims when Epstein fulfilled his obligation under the NPA to
enter his state guilty pleas.
132
         The final NPA is attached as Exhibit 3 to this Report.
133
          On October 3, 2007, the Miami FBI media officer notified the USAO that the New York Post had reported
that federal authorities were not going to pursue federal charges against Epstein. According to the Post, Epstein would
plead guilty to soliciting underage prostitutes, “in a deal that will send him to prison for about 18 months,” followed
by “a shorter period of house confinement,” and, according to “sources,” federal authorities had “agreed to drop their

                                                         86
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 113 of 348




this matter.” Lourie responded with an assurance that the Reiter notification was only “so he does
not find out about it in the paper,” and he concluded: “I enjoyed it as well. Mr. Epstein was
fortunate to have such excellent representation.”

VIII. POST-NPA NEGOTIATIONS

        Almost immediately after the NPA was signed, conflicts arose about its terms, and the
difficult negotiation process began anew. The USAO quickly realized that there were numerous
issues concerning the monetary damages provision that were not resolved in the NPA, and the
parties differed in their interpretations of the § 2255 provision, in particular the role and duties of
the attorney representative for the victims. As negotiations regarding the damages provision
continued, the defense was able to delay having Epstein enter his guilty plea in state court.

        A.       September – October 2007: Sloman’s Concerns about Selection of an
                 Attorney Representative Lead to a Proposed NPA Addendum

        The first controversy centered on the appointment of an attorney representative for the
victims. Initially, Villafaña reached out to a private attorney who was one of several suggested to
her for that role. Villafaña notified Lefkowitz that she was recommending the attorney to serve as
the victims’ representative and suggested a phone conference to discuss what information the
USAO could disclose to the attorney about the case. Villafaña told Lefkowitz that she had never
met the attorney, but he had been recommended by “a good friend in our appellate section” and by
one of the district judges in Miami. 134 Over the next few days, Villafaña exchanged messages with
the attorney about the possibility of his serving as the attorney representative. She also exchanged
emails with Lefkowitz, passing along procedural questions raised by the attorney.

        By this time, Lourie had fully transitioned to his detail at the Department’s Criminal
Division. Sloman, who had been on vacation during the week the NPA was finalized, returned to
the office, reviewed the final agreement, and immediately expressed his disapproval of the
provision authorizing the USAO to select an attorney representative for the victims, which he
believed might raise the appearance of a conflict of interest. Instead, he proposed that a special
master make the selection. Although evidently frustrated by Sloman’s belated proposal, Villafaña
conveyed to Lefkowitz the suggestion that a special master be appointed to select the attorney
representative, rather than having the USAO make the selection. 135 She provided Lefkowitz with


probe into possible federal criminal violations in exchange for the guilty plea to the new state charge, with the
understanding that he will do prison time.” Dan Mangan, “‘Unhappy Ending’ Plea Deal—Moneyman to Get Jail For
Teen Sex Massages,” New York Post, Oct. 1, 2007. ABC News later reported that federal charges “could carry more
substantial prison time. Now, Epstein’s high-powered lawyers, including Kenneth Starr, . . . may try to get him out
of registering as a sex offender . . . .” Scott Michels, “Money Manager Said to Plan to Plead Guilty to Prostitution
Charges: Jeffrey Epstein may serve about 18 months in prison for soliciting prostitutes,” ABC News, Oct. 11, 2007.
134
         The “good friend” was an AUSA whom Villafaña was dating. The defense subsequently raised this as a
misconduct issue, alleging that Villafaña was “closely associated” with the individual nominated for the victims’
representative position.
135
         In a separate email to the proposed attorney representative, Villafaña commented, “[O]f course they tell me
this now.”


                                                        87
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 114 of 348




a proposal regarding the special master’s responsibilities, along with a draft letter to send to the
special master explaining the procedure for selecting an attorney representative.

        Lefkowitz objected to this proposal in a letter to Villafaña, pointing out that the NPA did
not provide for the appointment of a special master. More importantly, Lefkowitz used the
discussion of the special master as an opening to press for other alterations to the language of the
NPA or, at least, to its interpretation. Focusing on the attorney representative, Lefkowitz argued
that the attorney’s role should be viewed as limited to negotiating settlements and that the attorney
was precluded from filing lawsuits on behalf of victims who could not reach a negotiated
settlement with Epstein. Lefkowitz proposed:

                 [T]he selected attorney should evaluate the claims of each identified
                 individual, negotiate a total fund amount with Mr. Epstein, then
                 distribute the monies based on the strength of each case. For those
                 identified individuals who elect not to settle with Mr. Epstein, they
                 may proceed on their own, but by doing so, they would not be suing
                 under § 2255 as contemplated by [the NPA] and therefore may not
                 continue to be represented by the selected attorney.

Lefkowitz also objected to Villafaña’s draft letter to the special master, asserting that it was
essential for the defense to participate in crafting a “mutually acceptable communication” to the
victims. Going further, Lefkowitz claimed that any contact between the USAO and the victims
about the § 2255 provision would violate the agreement’s confidentiality provision. Lefkowitz
admonished the government not to contact the victims “to inform them of the resolution of the
case, including [the] appointment of the selected attorney and the settlement process.”

         Villafaña forwarded Lefkowitz’s letter to Sloman, complaining that the defense
interpretation of the § 2255 procedure violated the clear language of the NPA and asking, “Can I
please just indict him [Epstein]?” Days later, Sanchez emailed Sloman, and then sent a follow-up
letter, asking that Sloman “help resolve” the issue regarding the attorney representative’s role, and
arguing that Epstein had never intended by signing the NPA to promise to pay fees for the victims’
civil lawsuits in the event a settlement could not be reached. When Villafaña explained to Sloman
her views on Sanchez’s arguments, Sloman responded, “I suggest that you communicate your
proposal back to [Sanchez]. The more ‘voices’ they hear the more wedges they try to drive
between us.” Villafaña agreed, noting that “[t]here are so many of them over there, I am afraid we
are getting triple-teamed.” 136

       Villafaña sent Sanchez a letter regarding the roles of the special master and attorney
representative. The next day, October 10, 2007, Lefkowitz sent a six-page letter to Acosta, as a
“follow up to our conversation yesterday,” expressing “serious disagreements” with Villafaña’s
view of the process for victims to claim § 2255 damages under the NPA. Lefkowitz reiterated the
defense position that the attorney representative’s role was meant to be limited to negotiating
settlements for the victims, rather than pursuing litigation. Lefkowitz claimed that a requirement

136
         Villafaña also alerted Sloman that a newspaper was reporting that defense counsel was writing a letter to
Acosta asking for reconsideration of the requirement that Epstein register as a sexual offender. Villafaña commented,
“It appears they don’t understand that a signed contract is binding.”


                                                        88
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 115 of 348




that Epstein pay the victims’ legal fees incurred from contested litigation would “trigger profound
ethical problems,” in that the attorney representative would have an incentive to reject settlement
offers in order to incur more fees. In addition, Lefkowitz rejected Villafaña’s view that Epstein
had waived the right to challenge § 2255 liability as to victims who did not want to settle their
claims, and contended that any such victims “will have to prove, among other things, that they are
victims under the enumerated statutes.” Finally, Lefkowitz again argued that the USAO should
not discuss the settlement process with the victims who were to be identified as eligible for
settlement under § 2255:

                Ms. Villafaña proposes that either she or federal agents will speak
                with the [victims] regarding the settlement process. We do not think
                it is the government’s place to be co-counsel to the [victims], nor
                should the FBI be their personal investigators. Neither federal
                agents nor anyone from your Office should contact the [victims] to
                inform them of the resolution of the case, including appointment of
                the attorney representative and the settlement process. Not only
                would that violate the confidentiality of the Agreement, but
                Mr. Epstein also will have no control over what is communicated to
                the [victims] at this most critical stage. We believe it is essential
                that we participate in crafting a mutually acceptable communication
                to the [victims]. We further believe that communications between
                your Office or your case agents and the [victims] might well violate
                Rule 6(e)(2)(B) of the Federal Rules of Criminal Procedure. The
                powers of the federal grand jury should not, even in appearance, be
                utilized to advance the interests of a party to a civil lawsuit. 137

Lefkowitz concluded, “I look forward to resolving these open issues with you during our 4:30 call
today.” 138

        Villafaña was at that time on sick leave, and Sloman and Acosta exchanged emails about
crafting an addendum to the NPA to address the method of appointing an attorney representative
and to articulate the representative’s duties. The next day, October 11, 2007, Sloman exchanged
emails with Lefkowitz about the text of a proposed addendum.

       B.       October 12, 2007: Acosta and Defense Attorney Lefkowitz Meet for Breakfast

       On the morning after his scheduled afternoon phone call with Lefkowitz, Acosta exchanged
emails with Lefkowitz, arranging to meet for breakfast the following day, on October 12, 2007, at
a Marriott hotel in West Palm Beach. Contemporaneous records show that Acosta was previously
scheduled to be in West Palm Beach for a press event on October 11 and to speak at the Palm
Beach County Bench Bar conference the following midday, and that he stayed overnight at the
Marriott.


137
       Federal Rule of Criminal Procedure 6(e)(2)(B) relates to secrecy of federal grand jury matters.
138
       OPR did not locate any emails indicating what happened on the call.


                                                       89
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 116 of 348




       However, as with Villafaña’s publicly released emails to Lefkowitz, this meeting between
Acosta and Lefkowitz drew criticism when the media learned of it during the CVRA litigation. It
was seen either as further evidence of the USAO’s willingness to meet with Epstein’s attorneys
while simultaneously ignoring the victims, or as a meeting at which Acosta made secret
agreements with the defense.

        Two letters written later in 2007 refer to the breakfast meeting. In a December 2007 letter
to Sanchez, Acosta stated that he had “sua sponte proposed the Addendum to Mr. Lefkowitz at an
October meeting in Palm Beach . . . . in an attempt to avoid what I foresaw would likely be a
litigious selection process.” 139 In an October 23, 2007 letter from Lefkowitz to Acosta, less than
two weeks after the breakfast meeting, Lefkowitz represented that during the meeting, Acosta

                 assured me that [the USAO] would not intervene with the State
                 Attorney’s Office regarding this matter; or contact any of the
                 identified individuals, potential witnesses, or potential civil
                 claimants and their respective counsel in this matter; and that neither
                 [the USAO] nor the [FBI] would intervene regarding the sentence
                 Mr. Epstein receives pursuant to a plea with the State, so long as the
                 sentence does not violate state law. 140

        However, two days after receiving this letter, Acosta revised a response letter drafted by
Sloman, adding the term “inaccurate” to describe Lefkowitz’s claims that Acosta had promised
not to intervene with the State Attorney’s Office, contact individual witnesses or claimants, or
intervene regarding Epstein’s sentence. 141 The draft response stated, “[S]uch a promise equates to
the imposition of a gag order. Our Office cannot and will not agree to this.” 142

       Acosta told OPR that he did not remember the breakfast meeting, but he speculated that
the meeting may have been prompted by defense complaints that Villafaña had recommended “her
boyfriend’s partner” to serve as attorney representative. 143 Acosta said that “the way this was
reported [in the press] was that I negotiated [the NPA] over breakfast,” which was inaccurate
because the NPA had been signed weeks before the breakfast meeting. 144 When asked about

139
        In fact, Sloman and Lefkowitz had been working on language for the Addendum before Acosta’s breakfast
meeting with Lefkowitz. It is possible that Acosta was not aware of Sloman’s efforts or had forgotten about them
when writing the December 7, 2007 letter.
140
        This letter is discussed further in the following section of this Report.
141
        OPR did not find evidence establishing that the response was ever sent.
142
        Sloman’s initial draft response referred to a conversation the previous day in which Acosta had “clarified”
Lefkowitz’s claims about what Acosta had purportedly said in the October 12, 2007 breakfast meeting.
143
         As noted previously, the attorney whom Villafaña recommended was a friend of another AUSA whom
Villafaña was then dating, but had no professional relationship with either Villafaña or the other AUSA.
144
          For example, the Miami Herald’s November 2018 investigative report stated that “on the morning of the
breakfast meeting, a deal was struck—an extraordinary plea agreement that would conceal the full extent of Epstein’s
crimes and the number of people involved. . . . [T]he deal—called a non-prosecution agreement—essentially shut
down an ongoing FBI probe . . . .” Julie K. Brown, “Perversion of Justice: How a future Trump cabinet member gave
a serial sex abuser the deal of a lifetime,” Miami Herald, Nov. 28, 2018. The NPA, however, was finalized and signed

                                                          90
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 117 of 348




Lefkowitz’s description of their breakfast meeting discussion, Acosta told OPR that there were
“several instances” in which Lefkowitz and other defense counsel mischaracterized something he
or an AUSA said, in a way that was misleading.

        Emails show that, immediately after the breakfast, Acosta phoned Sloman, who then
emailed to Lefkowitz a revision to the Addendum language they had been negotiating and who
also later reported to Villafaña that Lefkowitz’s “suggested revision has been rejected.” Other
emails show that the parties continued to be at odds about the proposed language for the NPA
addendum for several days after the breakfast meeting.

         C.       Acosta Agrees to the Defense Request to Postpone Epstein’s Guilty Plea; the
                  Parties Continue to Negotiate Issues concerning the Attorney Representative
                  and Finally Reach Agreement on the NPA Addendum

         A week after his breakfast meeting with Acosta, Lefkowitz—citing a scheduling conflict—
sent Acosta an email seeking his agreement to postpone Epstein’s entry of his guilty plea in state
court from October 26, 2007, the date agreed to in the NPA, to November 20, 2007. In his email,
Lefkowitz reported that the State Attorney’s Office had agreed to the postponement, and he noted
that Acosta had said during the breakfast meeting that he “didn’t want to dictate a schedule to the
state.” 145 Acosta solicited input from Sloman, who later that day emailed Lefkowitz and agreed
to the postponement.

         With Lourie having departed from the USAO, Sloman became more involved in
negotiating the NPA addendum than he had been in the negotiations leading to the NPA, and he
quickly came up against the problem Villafaña and Lourie had faced: the defense attorneys
continued to negotiate provisions to which they had seemingly already agreed. Between October
12 and 19, 2007, in a series of email exchanges and phone conversations, Acosta, Sloman,
Villafaña, and Lefkowitz continued working on language for the NPA addendum addressing the
process for selection of the attorney representative and describing which of the representative’s
activities Epstein would be required to reimburse. Although it appeared that progress was being
made towards reaching agreement on the terms of an addendum, on October 19, 2007, Lefkowitz
emailed Sloman identifying “areas of concern” with a proposal the USAO had made days before.
Sloman forwarded this email to Acosta, noting that it “re-ploughs some of what we accomplished
this week,” and raised “unnecessary” issues. Sloman reported to Acosta that a victim in New York
had filed a civil lawsuit against Epstein, and Villafaña was concerned that “this may be the real
reason for the delay in the . . . plea. She thinks that [Epstein] . . . want[s] to knock that lawsuit out
before the guilty plea to deter others.” Sloman also alerted Acosta that newspaper reports
indicated that Epstein had planted false stories in the press in an attempt to discredit the victims.


almost three weeks before the breakfast meeting occurred. OPR discusses the breakfast meeting further in its analysis
at Chapter Two, Part Three, Section IV.E.2.
145
         Assuming Acosta made the remark Lefkowitz attributed to him, it was consistent with the position Acosta
had taken before the NPA was signed. As noted previously, during the NPA negotiations, Acosta had instructed
Villafaña to omit language requiring the State Attorney’s Office to take action by a certain date, because he was “not
comfortable with requiring the State” to comply with a specific deadline. During his interview, Acosta told OPR that
“we as federal prosecutors are not going to walk in and dictate to the state attorney.”


                                                         91
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 118 of 348




        On October 22, 2007, Sloman responded to the issues Lefkowitz had raised, rejecting some
defense proposals but agreeing to modify certain language in the proposed addendum to “satisfy
your concern.” 146 Noting that the addendum and a revised letter to the special master were
attached, Sloman ended by stating, “[T]his needs to be concluded. Alex and I believe that this is
as far as we can go. Therefore, please advise me whether we have a deal no later than COB
tomorrow . . . .”

        Nonetheless, the next day, Lefkowitz sent Acosta a three-page letter reiterating the Epstein
team’s disagreements with the USAO’s interpretation of the NPA. Lefkowitz noted, however, that
Epstein had “every intention of honoring the terms of [the NPA] in good faith,” and that the defense
letter was not intended to be “a rescission or withdrawal from the terms of the [NPA].” Lefkowitz
added:

                I also want to thank you for the commitment you made to me during
                our October 12 meeting in which you promised genuine finality with
                regard to this matter, and assured me that your Office would not
                intervene with the State Attorney’s Office regarding this matter; or
                contact any of the identified individuals, potential witnesses, or
                potential civil claimants and their respective counsel in this matter;
                and that neither your Office nor the [FBI] would intervene regarding
                the sentence Mr. Epstein receives pursuant to a plea with the State,
                so long as that sentence does not violate state law. Indeed, so long
                as Mr. Epstein’s sentence does not explicitly violate the terms of the
                Agreement, he is entitled to any type of sentence available to him,
                including but not limited to gain time and work release.

       Sloman forwarded the letter to Villafaña, commenting, “Wait [until] you see this one.”
Villafaña replied:

                Welcome to my world. I love the way that they want to interpret
                this agreement.

                         ....

                It also looks like they are planning to ask for and receive a sentence
                far lower than the one we agreed to. Has anyone talked to Barry
                [Krischer] about this? Maybe this is the real reason for the delay in
                entering the guilty plea? We also have to contact the victims to tell
                [them] about the outcome of the case and to advise them than an
                attorney will be contacting them regarding possible claims against
                Mr. Epstein. If we don’t do that, it may be a violation of the Florida
                Bar Rules for the selected attorney to “cold call” the girls.



146
         The defense raised issues concerning the attorney representative, the statutory limit on damages, and
inclusion of certain victims.


                                                     92
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 119 of 348




                        ....

               Why don’t we agree to mutual recission [sic] and indict him?

        Acosta also weighed in, sending both Villafaña and Sloman an email with a subject line
that read “This has to stop,” in which he stated:

               Just read the letter.

               1.    We specifically refused to include the provision saying that
               we would not communicate. If I recall the conference call, we told
               him we could not agree to a gag order using those words.

               2.     The purpose of the agreement was not an out of court
               settlement. Seems that they can’t take no. Let’s talk re how to
               proceed. I’m not sure we will ever agree on a letter [to the special
               master about how to select an attorney representative] at this point.

        Notwithstanding Acosta’s assessment and prediction, after Sloman sent to Lefkowitz a new
draft addendum and they spoke by phone, the parties reached agreement on the addendum’s
terms. 147

       On October 25, 2007, Sloman sent a letter to the person whom the USAO had selected to
serve as special master, outlining the special master’s duties. A few days later, on October 29,
2007, Epstein and his attorneys Lefcourt and Sanchez signed the NPA addendum. 148 Villafaña’s
name was printed as the USAO representative, but at Villafaña’s request, Sloman signed the
addendum for her on behalf of the USAO.

        Villafaña later emailed Sloman thanking him for “the advice and the pep talk,” which
apparently related to the defense attorneys’ allegation of impropriety concerning her initial
selection of the private attorney to assist the victims. Villafaña explained to Sloman:

               The funny thing is that I had never met (and still haven’t met) or
               spoken to [the private attorney] before I asked him if he would be
               willing to take on this case. . . . But as soon as you mentioned the
               appearance problem, I saw where the problem would arise and
               agreed that the Special Master would be a safer route. I just worry
               that the defense’s attacks on me could harm the victims.

Sloman responded that defense counsel had “put an . . . insidious spin” on Villafaña’s role in
proposing the private attorney, but Sloman added, “I hope that you understand that these ad
hominem attacks against you do not diminish in our eyes what you and the agents have
accomplished.”


147
       Acosta and Villafaña were copied on this email.
148
       The Addendum is attached as Exhibit 4 to this Report.


                                                     93
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 120 of 348




        D.       Epstein Further Delays His Guilty Plea

        The addendum did not bring the case to conclusion. Instead, the matter entered a new,
protracted phase, which involved the upper echelons of the Department of Justice. Despite the
fact that Epstein and his attorneys had signed the NPA, they pursued a new strategy of appealing
to senior Department managers with the goal of setting aside the NPA entirely. Although
ultimately unsuccessful, the strategy delayed the entry of Epstein’s guilty plea by months.

       On October 29, 2007, Villafaña emailed Sloman, raising several issues that she wanted
Sloman to address with Lefkowitz. Among other things, Villafaña pointed out that the NPA
required Epstein to use his “best efforts” to comply with the agreement, but he had failed to comply
with the timeline established by the NPA when he sought and obtained a plea hearing
postponement from October 26 to November 20. Responding to Lefkowitz’s attempts to limit the
USAO’s communications with various entities and individuals, Villafaña noted that the USAO
needed to be able to communicate with the State Attorney’s Office and the victims’ attorney “to
[e]nsure that Epstein is abiding by the terms of the agreement.”

        That same day, Assistant State Attorney Belohlavek informed Sloman that the state judge
assigned to the case had scheduled Epstein’s plea and sentence in early January 2008. Belohlavek
assured Sloman that the “plea and sentence will definitely occur before the January 4th date that
was agreed on by all for the sentencing.” 149 Nonetheless, emails over the course of the next month
show that the USAO, the State Attorney’s Office, and defense counsel continued to communicate
regarding the date of the guilty plea, with the USAO asserting that a proposed January 7, 2008
date for the entry of Epstein’s guilty plea was “unacceptable,” while the defense contended that
Epstein had not agreed to any date. Finally, after multiple communications referring to various
potential dates, on December 7, 2007, Epstein attorney Jack Goldberger issued a Notice of
Hearing, setting the case for January 4, 2008. 150

        E.       Epstein Seeks Departmental Review of the NPA’s § 2255 Provision Relating to
                 Monetary Damages for the Victims

        With Epstein’s plea hearing delayed, he launched a new effort to undermine the validity of
the NPA, this time within the Department. On November 16, 2007, Epstein attorney Kenneth Starr
called the office of Assistant Attorney General for the Criminal Division Alice Fisher and left a
message that he was calling regarding Epstein. 151 At Fisher’s request, Lourie, who in late
September 2007 had begun serving his detail as Fisher’s Principal Deputy and Chief of Staff,
returned the call. Fisher told OPR that she had no recollection of this call, and Lourie also could




149
         The NPA had required Epstein’s plea and sentencing to occur by October 26, 2007, but provided that Epstein
could report to begin serving his sentence on January 4, 2008.
150
        State v. Epstein, No. 2006-CF-9454, Notice of Hearing (Fifteenth Judicial Circuit, Dec. 7, 2007).
151
          In a meeting with Acosta and Sloman on November 21, 2007, Lefkowitz informed them that Starr had placed
a call to Fisher.


                                                        94
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 121 of 348




not recall for OPR the substance of his conversation with Starr, other than that it was likely about
Epstein’s wish to have the Department review the case. 152

        On November 28, 2007, Starr requested, by letter, a meeting with Fisher. In his letter, Starr
argued that the USAO improperly had compelled Epstein to agree to pay civil damages under
18 U.S.C. § 2255 as part of a state-based resolution of a criminal case. On the same day, Lefkowitz
emailed Sloman, complaining about the USAO’s plan to notify victims about the § 2255 provision
and alerting Sloman that Epstein’s counsel were seeking a meeting with the Assistant Attorney
General “to address what we believe is the unprecedented nature of the section 2255 component”
of the NPA. After Lourie sent to Sloman a copy of the Starr letter, Sloman forwarded it to
Villafaña, asking her to prepare a chronology of the plea negotiations and how the § 2255 provision
evolved. Villafaña responded that she was “going through all of the ways in which they have tried
to breach the agreement to convince you guys to let me indict.”

        In Washington, D.C., Lourie consulted with CEOS Chief Oosterbaan, asking for his
thoughts on defense counsel’s arguments. At the same time, at Lourie’s request, Villafaña sent
the NPA and its addendum to Lourie and Oosterbaan. Oosterbaan responded to Lourie that he was
“not thrilled” about the NPA; described Epstein’s conduct as unusually “egregious,” particularly
because of its serial nature; and observed that the NPA was “pretty advantageous for the defendant
and not all that helpful to the victims.” He opined, however, that the Assistant Attorney General
would not and should not consider or address the NPA “other than to say that she agrees with it.”
During her OPR interview, Fisher did not recall reading Starr’s letter or discussing it with
Oosterbaan, but believed the comment about her “agree[ing] with it” referred to a federal
prosecution of Epstein, which she believed was appropriate. She told OPR, however, that she
“played no role in” the NPA and did not review or approve the agreement either before or after it
was signed.

        As set forth in more detail in Chapter Three of this Report, Villafaña planned to notify the
victims about the NPA and its § 2255 provision, as well as about the state plea hearing, and she
provided a draft of the notification letter to Lefkowitz for comments. On November 29, 2007,
Lefkowitz sent Acosta a letter complaining about the draft notification to the victims. Lefkowitz
asked the USAO to refrain from notifying the victims until after defense counsel met with Assistant
Attorney General Fisher, which he anticipated would take place the following week. Internal
emails indicate that Lourie contacted Oosterbaan about his availability for a meeting with Starr,
but both Fisher and Lourie told OPR that such a meeting never took place, and OPR found no
evidence that it did.

        Acosta promptly responded to Lefkowitz by letter, directing him to raise his concerns about
victim notification with Villafaña or Sloman. Acosta also addressed Epstein’s evident efforts to
stop the NPA from being enforced:




152
          In a short email to Fisher, the next day, Lourie reported simply: “He was very nice. Kept me on the phone
for [a] half hour talking about [P]epperdine,” referring to the law school where Starr served as Dean.


                                                        95
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 122 of 348




                 [S]ince the signing of the September 24th agreement, more than two
                 months[] ago, it has become clear that several attorneys on your
                 legal team are dissatisfied with that result.

                          ....

                 [You], Professor Dershowitz, former Solicitor [General] Starr,
                 former United States Attorney Lewis, Ms. Sanchez and Messrs.
                 Black, Goldberger and Lefcourt previously had the opportunity to
                 review and raise objections to the terms of the Agreement. The
                 defense team, however, after extensive negotiation, chose to adopt
                 the Agreement. Since then counsel have objected to several steps
                 taken by the U.S. Attorney’s Office to effectuate the terms of the
                 Agreement, in essence presenting collateral challenges to portions
                 of the Agreement.

                 It is not the intention of this Office ever to require a defendant to
                 enter a plea against his wishes. Your client has the right to proceed
                 to trial. If your client is dissatisfied with his Agreement, or believes
                 that it is unlawful or unfair, we stand ready to unwind the
                 Agreement.

        In a separate, seven-page letter to Starr, with Villafaña’s and Sloman’s input, Acosta
responded to the substance of Starr’s November 28 letter to Assistant Attorney General Fisher.
Fisher told OPR that she did not recall why Acosta, rather than her office, responded to the letter,
but she conjectured that “probably I was trying to make sure that somebody responded since [the
Criminal Division wasn’t] going to respond.” 153

        In his seven-page letter, sent to Starr on December 4, 2007, Acosta wrote:

                 The Non-Prosecution Agreement entered into between this Office
                 and Mr. Epstein responds to Mr. Epstein’s desire to reach a global
                 resolution of his state and federal criminal liability. Under this
                 Agreement, this District has agreed to defer prosecution for
                 enumerated sections of Title 18 in favor of prosecution by the State
                 of Florida, provided . . . Mr. Epstein satisfies three general federal
                 interests: (1) that Mr. Epstein plead guilty to a “registerable”
                 offense; (2) that this plea include a binding recommendation for a
                 sufficient term of imprisonment; and (3) that the Agreement not
                 harm the interests of his victims.

        Acosta explained in the letter that the USAO’s intent was “to place the identified victims
in the same position as they would have been had Mr. Epstein been convicted at trial. No more;
no less.” Acosta documented the USAO’s understanding of the operation of the NPA’s § 2255

153
         The USAO may have been asked to respond because Starr’s letter raised issues that had not been previously
raised with the USAO, and it would normally fall to the USAO to address them in the first instance.


                                                       96
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 123 of 348




provision, recounted the history of NPA negotiations, and described the post-signing efforts by
Epstein’s counsel to challenge portions of the NPA. Acosta’s letter concluded:

               Although it happens rarely, I do not mind this Office’s decision
               being appealed to Washington, and have previously directed our
               prosecutors to delay filings in this case to provide defense counsel
               with the option of appealing our decisions. Indeed, although I am
               confident in our prosecutors’ evidence and legal analysis, I
               nonetheless directed them to consult with the subject matter experts
               in [CEOS] to confirm our interpretation of the law before approving
               their [charges]. I am thus surprised to read a letter addressed to
               Department Headquarters that raises issues that either have not been
               raised with this Office previously or that have been raised, and in
               fact resolved, in your client’s favor.

               I am troubled, likewise, by the apparent lack of finality in this
               Agreement. The AUSAs who have been negotiating with defense
               counsel have for some time complained to me regarding the tactics
               used by the defense team. It appears to them that as soon as
               resolution is reached on one issue, defense counsel finds ways to
               challenge the resolution collaterally. My response thus far has been
               that defense counsel is doing its job to vigorously represent the
               client. That said, there must be closure on this matter. Some in our
               Office are deeply concerned that defense counsel will continue to
               mount collateral challenges to provisions of the Agreement, even
               after Mr. Epstein has entered his guilty plea and thus rendered the
               agreement difficult, if not impossible, to unwind.

                       ....

               I would reiterate that it is not the intention of this Office ever to force
               the hand of a defendant to enter into an agreement against his
               wishes. Your client has the right to proceed to trial. Although time
               is of the essence . . . I am directing our prosecutors not to issue
               victim notification letters until this Friday . . . to provide you with
               time to review these options with your client. . . . We expect a
               written decision by [December 7, 2007] at 5 p.m., indicating
               whether the defense team wishes to reaffirm, or to unwind, the
               Agreement.

       Acosta explained to OPR that he did not view his letter as “inviting” Departmental review,
but he believed the Department had the “right” to address Epstein’s concerns. Moreover, the
USAO’s only option at that time was to declare Epstein in breach of the NPA, which would have
prompted litigation as to whether Epstein was, in fact, in breach. Acosta noted that defense counsel
repeatedly proclaimed Epstein’s intent to abide by the agreement, making any USAO effort to
declare him in breach more difficult. In fact, the day after receiving Acosta’s letter, Starr and
Lefkowitz responded to Acosta (with copies to Sloman and Assitant Attorney General Fisher) that

                                                   97
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 124 of 348




the defense “[f]irst and foremost” reaffirmed the NPA and that Epstein “has no intention of
unwinding the agreement.”

        On December 7, 2007—the deadline set by Acosta in his December 4, 2007 letter to Starr—
the defense transmitted to the USAO a one-sentence “Affirmation” of the NPA and its addendum,
signed by Epstein. 154

        F.       Despite Affirming the NPA, Defense Counsel Intensify Their Challenges to It
                 and Accuse Villafaña of Improper Conduct

                 1.       December 7 and 11, 2007: Starr and Lefkowitz Send to Acosta Letters
                          and “Ethics Opinions” Complaining about the Federal Investigation
                          and Villafaña

       On the same day that the defense team sent Epstein’s “Affirmation” to the USAO, Starr
and Lefkowitz sent to Acosta two “independent ethics opinions”—one authored by prominent
criminal defense attorney and former U.S. Attorney Joe Whitley, which assessed purported
improprieties in the federal investigation of Epstein, and the other, by a prominent retired federal
judge and former U.S. Attorney, arguing against the NPA’s use of the civil damages recovery
provision under 18 U.S.C. § 2255 “as a proxy for traditional criminal restitution.”

        Days later, on December 11, 2007, Starr sent a letter to Acosta transmitting two lengthy
submissions authored by Lefkowitz presenting substantive challenges to the NPA and to the
“background and conduct of the investigation.” These submissions repeated arguments previously
raised by the defense but also asserted new issues. In one submission, 20 pages long, Lefkowitz
addressed the “improper involvement” of federal authorities in the investigation and criticized
Villafaña for a number of alleged improprieties, including having engaged in “unprecedented
federal overreaching” by seeking to prosecute Epstein federally, “insist[ing]” that the State
Attorney’s Office “charge Mr. Epstein with violations of law and recommend a sentence that are
significantly harsher than what the State deemed appropriate,” and requiring that Epstein plead
guilty to a registrable offense, a “harsh” condition that was “unwarranted.” 155

         Lefkowitz also argued that the federal investigation relied upon a state investigation that
was “tainted” by the lead PBPD Detective’s misrepresentation of key facts in affidavits and
interview summaries, leading the USAO to make its charging decision based on flawed
information that “compromised the federal investigation.” Finally, Lefkowitz criticized federal
involvement in the state plea process as a violation of “the tenets of the Petite Policy.” In a second,
13-page submission, Lefkowitz reiterated Epstein’s complaints about the § 2255 component of the
NPA, arguing, among other things, that federal prosecutors “should not be in the business of
helping alleged victims of state crimes secure civil financial settlements.”




154
       The Affirmation read: “I, Jeffrey E. Epstein do hereby re-affirm the Non-Prosecution Agreement and
Addendum to same dated October 30, 2007.”
155
        Villafaña sent Lefkowitz a five-page letter responding to the accusations made against her personally.


                                                        98
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 125 of 348




      Notwithstanding these voluminous submissions, Lefkowitz added that Epstein
“unconditionally re-asserts his intention to fulfill and not seek to withdraw from or unwind” the
NPA.

                 2.       As a Result of the Starr and Lefkowitz Submissions, the New USAO
                          Criminal Chief Begins a Full Review of the Evidence, and Acosta
                          Agrees to Meet Again with Defense Counsel

       After reviewing Starr’s and Lefkowitz’s letters, Sloman notified Villafaña that “in light of
the recent Kirkland & Ellis correspondence” he had asked Robert Senior, who had succeeded
Menchel as Chief of the USAO’s Criminal Division, to review de novo the evidence underlying
the proposed revised indictment, and Sloman asked Villafaña to provide Senior with all the state
and FBI investigative materials.

       In the meantime, Acosta agreed to meet with Starr and other Epstein defense attorneys to
discuss the defense complaints raised in Lefkowitz’s December 11, 2007 submissions. 156 The
meeting took place in Miami on December 14, 2007. The defense team included Starr,
Dershowitz, Lefcourt, and Boston attorney Martin Weinberg. The USAO side included Acosta,
Sloman, Villafaña, and another senior AUSA, with the Miami FBI Special Agent in Charge and
Assistant Special Agent in Charge also present. In addition to previously raised arguments, during
this meeting, Epstein’s attorneys raised a new argument—that the state charge to which Epstein
had agreed to plead guilty did not apply to the facts of the case.

                 3.       The Defense Notifies Acosta That It May Pursue a Department Review
                          of the USAO’s Actions

         Shortly after the December 14, 2007 meeting, Lefkowitz notified Acosta that if the issues
raised at the meeting could not be resolved promptly, the defense team may “have no alternative
but to seek review in Washington.” Acosta notified Assistant Attorney General Fisher that the
defense team might make an appeal to her, and he asked her to grant such a request for review and
“to in fact review this case in an expedited manner [in order] to preserve the January 4th plea date.”
Starr and Lefkowitz then sent to Acosta a lengthy letter, with numerous previously submitted
defense submissions, reviewing issues discussed at the meeting, and advising that Epstein sought
a “prompt, independent, expedited review” of the evidence by “you or someone you trust.” The
letter reiterated Epstein’s position that his conduct did not amount to a registrable offense under
state law or a violation of federal law, and with respect to the NPA’s § 2255 provision, that it was
“improper” to require Epstein to pay damages “to individuals who do nothing but simply assert a
claim” under the statute.




156
         As Assistant Attorney General Fisher’s Chief of Staff, Lourie had informed Starr that Fisher hoped Starr
would speak to Acosta to “resolve the[] fairly narrow issues” raised in Starr’s correspondence with Acosta. Acosta
had the Starr and Lefkowitz submissions of December 11 forwarded to Fisher.


                                                       99
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 126 of 348




                  4.       Acosta Attempts to Revise the NPA § 2255 Language concerning
                           Monetary Damages, but the Defense Does Not Accept It

        Acosta undertook to respond to defense counsel’s continuing concern about the § 2255
provision. He sent to Deputy Assistant Attorney General Sigal Mandelker language that he
proposed including in a revision to the NPA’s § 2255 implementation section. Mandelker
forwarded the language to her counterpart in the Civil Division, who responded to Mandelker and
Acosta that he did not have “any insight” to offer. On December 19, 2007, after Acosta and
Sloman had a phone conversation with Starr and Lefkowitz, Acosta sent to Sanchez a letter
proposing to resolve “our disagreements over interpretation[]” by replacing the existing language
of the NPA relating to § 2255 with a provision that would read:

                  Any person, who while a minor, was a victim of a violation of an
                  offense enumerated in Title 18, United States Code, Section 2255,
                  will have the same rights to proceed under Section 2255 as she
                  would have had, if Mr. Epstein [had] been tried federally and
                  convicted of an enumerated offense. For purposes of implementing
                  this paragraph, the United States shall provide Mr. Epstein’s
                  attorneys with a list of individuals whom it was prepared to
                  name . . . as victims of an enumerated offense by Mr. Epstein. Any
                  judicial authority interpreting this provision, including any authority
                  determining which evidentiary burdens if any a plaintiff must meet,
                  shall consider that it is the intent of the parties to place these
                  identified victims in the same position as they would have been had
                  Mr. Epstein been convicted at trial. No more; no less.

Acosta also noted that he had resisted his prosecutors’ urging to declare the NPA breached by the
defense delays. 157

         Lefkowitz responded by letter a few days later, suggesting that Acosta’s proposal raised
“several troubling questions” and that “the problem arises from the incongruity that exists when
attempting to fit a federal civil remedies statute into a criminal plea agreement.” 158 In a follow-up
letter to Acosta, to address the USAO’s concern that Epstein was intentionally delaying the entry
of his guilty plea, Lefkowitz asserted that “any impediment to the resolution at issue is a direct
cause of the disagreements between the parties,” and that defense counsel had “at all times made
and will continue to make sincere efforts to resolve and finalize issues as expeditiously as
possible.”

        Acosta told OPR that despite this assurance from defense counsel, he was “increasingly
frustrated” by Epstein’s desire to take an “11th hour appeal” to the Department so soon before the

157
          As described in detail in Chapter Three, Acosta’s December 19, 2007 letter also addressed defense objections
to notifying the victims about the NPA and the state plea.
158
         After Starr and Lefkowitz had another conversation with Acosta and Sloman, Lefkowitz sent a second letter
to Acosta reiterating concerns with the § 2255 provision and asserting that the provision was “inherently flawed and
becoming truly unmanageable.” In the end, the defense team rejected Acosta’s December 19, 2007 NPA modification
letter.


                                                        100
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 127 of 348




scheduled January 4, 2008 plea hearing. As soon became apparent, Acosta was unable to achieve
an expedited review so that Epstein could plead guilty and be sentenced by
January 4, 2008, and the plea and sentencing date was rescheduled. On January 2, 2008, Sloman
spoke with Assistant State Attorney Belohlavek, who confirmed that the change of plea hearing
had been postponed. In an email reporting this to Acosta and Villafaña, Sloman said that Epstein’s
local defense attorney Goldberger had told Belohlavek the postponement was because the facts
“did not fit the proposed state charge,” and that Belohlavek told Sloman she agreed with that
assessment. 159 The next day, Villafaña sent to Acosta and Sloman a local newspaper article
reporting that Epstein’s state plea hearing was reset for March and in exchange for it the federal
authorities would drop their investigation of him. Acosta also sent to Sloman and Villafaña an
email memorializing a statement made to him by Lefkowitz in a phone call that day: “‘I
[Lefkowitz] may have made a mistake 6 months ago. [Belohlavek] told us solicitation [is] not
registrable. It turns out that the actual offense charged is.’” 160

                 5.       January 7, 2008: Acosta and Sloman Meet with Sanchez, Who Makes
                          Additional Allegations of USAO Misconduct

        On January 7, 2008, Acosta and Sloman met with defense attorney Sanchez at her request.
According to meeting notes made by Sloman, among other things, Sanchez alleged that the
USAO’s media spokesperson had improperly disclosed details of the Epstein case to a national
news reporter, and Sanchez “suggested that the USAO could avoid any potential ugliness in DC
by agreeing to a watered-down resolution for Epstein.” After Acosta excused himself to attend
another meeting and Sloman refused to speak further with Sanchez “without a witness present,”
she left. Later that day, Acosta and Sloman spoke by phone with Starr, Lefkowitz, and Sanchez,
who expressed concern about the “leak” to the news media, reiterated their objections to the NPA,
and pressed for the “watered-down resolution,” which they specified would mean allowing Epstein
to plead to a charge of coercion instead of procurement, avoid serving time in jail, and not register
as a sexual offender. A note in the margin of Sloman’s handwritten notes of the conversation
reads: “We’re back to where we started in September.”

        That evening, Villafaña expressed concern that the delay in resolving the matter was
affecting the USAO’s ability to go forward with a prosecution should Epstein renege on his
agreement, and she outlined for Acosta and Sloman the steps she proposed to take while Epstein
was pursuing Departmental review. Those steps included re-establishing contact with victims,
interviewing victims in New York and one victim who lived in a foreign country, making contact
with “potential sources of information” in the Virgin Islands, and re-initiating proceedings to
obtain Epstein’s computers.

       In the meantime, USAO Criminal Division Chief Robert Senior performed a “soup to nuts”
review of the Epstein investigation, reviewing the indictment package and all of the evidence
Villafaña had compiled. He told OPR that he could not recall the reason for his review, but opined

159
         Belohlavek told OPR that she did not recall this incident, but she noted that the PBPD report did set forth
facts supporting the charge of procurement of a minor.
160
         Although the meeting Lefkowitz had with Lourie, Villafaña, Krischer, and Belohlavek to discuss the state
resolution was only four months prior, not six, Lefkowitz’s reference was likely to the September 12, 2007 meeting.


                                                       101
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 128 of 348




that it was to establish whether, if the plea fell apart, he, as Chief, would agree “that we can go
forward with” the charges. He did recall being concerned, after completing the review, that “we
did not have . . . a lot of victims . . . lined up and ready to testify” and that some victims might “not
be favorable for us.” Nevertheless, he concluded that the proposed charges were sound, and he
told Acosta that he would approve proceeding with a federal case.

                6.       Acosta Asks CEOS to Review the Evidence

        Notwithstanding Senior’s favorable review, Acosta and Sloman told Starr and Lefkowitz
that they “appreciate[d]” that the defense wanted a “fresh face” to conduct a review, and noted that
the Criminal Chief had not undertaken the “in-depth work associated with the issues raised by the
defense.” They told the defense team that Acosta had asked CEOS to “come on board” and that
CEOS Chief Oosterbaan would designate an attorney having “a national perspective” to conduct
a fresh review in light of the defense submissions. Oosterbaan assigned a CEOS Trial Attorney
who Villafaña understood was to review the case and prepare for trial in the event Epstein did not
“consummate” the NPA. The CEOS Trial Attorney traveled to Florida to review the case
materials, and to meet with Villafaña to discuss the case and interview some of the victims. After
one such meeting, Villafaña wrote to Acosta and Sloman:

                We just finished interviewing three of the girls. I wish you could
                have been there to see how much this has affected them.

                One girl broke down sobbing so that we had to stop the interview
                twice within a 20 minute span. She regained her composure enough
                to continue a short time, but she said that she was having nightmares
                about Epstein coming after her and she started to break down again,
                so we stopped the interview.

                The second girl . . . told us that she was very upset about the 18
                month deal she had read about in the paper. She said that 18 months
                was nothing and that she had heard that the girls could get
                restitution, but she would rather not get any money and have Epstein
                spend a significant time in jail.

                         ....

                These girls deserve so much better than they have received so far,
                and I hate feeling that there is nothing I can do to help them. 161

        The CEOS Trial Attorney had substantial experience prosecuting child exploitation cases.
She told OPR that in her view, the victim witnesses in this case presented a number of challenges
for a prosecution: some of the victims did not want to admit they had sexual contact with Epstein;
some had recruited other victims to provide Epstein massages, and thus could have been charged
as accomplices; some had “drug histories and . . . things like that”; some could appear to have been
“complicit”; and there was no evidence of physical violence against the victims. She did not regard

161
        Villafaña added, “We have four more girls coming in tomorrow. Can I persuade you to attend?”


                                                    102
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 129 of 348




these victim issues as insurmountable but, based on these alone, the CEOS Trial Attorney
considered a potential prosecution of Epstein to be a “crap shoot.” In addition, she told OPR that
there were novel legal issues in the case that also presented difficulties, although she believed these
difficulties could be overcome. Shortly after the CEOS Trial Attorney met with the victims,
however, “things just stopped” when Oosterbaan instructed her to cease her involvement in the
case and CEOS engaged in the Criminal Division review sought by Epstein’s defense team.

IX.      FEBRUARY – JUNE 2008: THE DEPARTMENT’S REVIEW

        Epstein’s defense attorneys sought a broad review from the Department, one that would
encompass the defense complaints about federal jurisdiction, specific terms in the NPA, and the
various allegations of professional misconduct by USAO attorneys and other personnel. The
Department, however, only reviewed the issue of federal jurisdiction and never reviewed the NPA
or any specific provisions. 162 Nonetheless, the process took several months as the defense
appealed first to CEOS and the Department’s Criminal Division, and then to the Office of the
Deputy Attorney General. The chart set forth on the following page shows the positions and
relationships among the individuals in those offices involved in communicating with the USAO
or defense beginning in November 2007 or in those offices’ reviews, which continued through
June 2008.




162
          On February 28, 2008, USAO Criminal Division Chief Senior sent to the Civil Rights Division written
notification of the USAO’s “ongoing investigation of a child exploitation matter” involving Epstein and others “that
may result in charges of violations of 18 U.S.C. § 1591.” USAM § 8-3.120 required a U.S. Attorney to notify the
Civil Rights Division, in writing, “[a]t the outset of a criminal investigation . . . that may implicate federal criminal
civil rights statutes, . . . and in no event later than ten days before the commencement of the examination of witnesses
before a grand jury.” The provision also required notification to CEOS in cases involving sex trafficking of minors.
The written notification was to identify the targets of the investigation, the factual allegations to be investigated, the
statutes which may have been violated, the U.S. Attorney’s assessment of the significance of the case, whether the
case was of “national interest,” and the U.S. Attorney’s proposed staffing of the matter.

         Villafaña became aware of this requirement in late February 2008, and she prepared a written notification
that was edited by Sloman, who discussed it with Acosta. After briefly summarizing the facts, Senior advised:

                  The Office anticipates charges of violations of Title 18, United States Code,
                  Sections 371, 2422, 2423, and 1591. The investigation of the case by the City of
                  Palm Beach Police Department has resulted in press coverage because of the
                  titillating nature of the facts, but we see this case as similar to other “child
                  prostitution” cases charged by our office, and not a matter of “national interest”
                  as defined by the U.S. Attorney’s Manual.

         In the notification, Senior stated that CEOS “has been involved and is currently reviewing the matter,” he
anticipated the case would be staffed by USAO and Department personnel, and “[i]f we determine that the case should
be [charged], a copy [of the charging document] will be forwarded to you.” OPR did not locate a response from the
Civil Rights Division to the notification.


                                                          103
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 130 of 348




                                     *




 *Until late Feb. 2008


        A.       February – May 15, 2008: Review by CEOS and the Criminal Division

       On February 21, 2008, soon after the CEOS Trial Attorney met with victims, Oosterbaan
spoke with Lefkowitz about CEOS’s role. In a subsequent email to Villafaña, Sloman, and Senior,
Oosterbaan explained:

                 I told [Lefkowitz] that all I want to do is help the process move
                 forward, and if they think we best help the process by taking a fresh
                 and objective look at the case and their arguments [then] that is what
                 I want to do. I told him that if that’s what they want – if that is what
                 will help the process to move forward – then I don’t think it’s
                 advisable for CEOS to partner with the USAO on the case. He wants
                 to think about that (and probably talk to his co-counsel about

                                                  104
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 131 of 348




                 whether it is better to have us partnered in the case or just serve a
                 review function) and he said he’d get back to me later today.

          Oosterbaan told OPR that this email reflects that he likely told Acosta that he intended to
limit CEOS’s role to review only, and Acosta asked him to “make sure the defense is okay with
that,” to preempt a possible defense complaint about CEOS’s involvement in the review.
Oosterbaan explained to OPR that “the defense ke[pt] bringing up new arguments and new
problems and [the USAO was saying] look if we’re going to do this, if you’ve got a problem with
it, tell us now.”

        By February 25, 2008, Lefkowitz told Oosterbaan, who informed Sloman, that the CEOS
role should be “review only.” Lourie had just then left the Department to enter private practice,
and Oosterbaan continued to keep his direct supervisor, Deputy Assistant Attorney General
Mandelker, informed of the defense team contacts. Sloman emailed Lefkowitz that CEOS was
“ready to proceed immediately” with a review of the matter. Sloman advised Lefkowitz that “in
the event CEOS decides that a federal prosecution should not be undertaken against Mr. Epstein,
this Office will close its investigation,” but that, “should CEOS disagree with Mr. Epstein’s
position, Mr. Epstein shall have one week to abide by [the NPA].” Sloman forwarded this email
to Villafaña, who responded, “Why would we possibly let him keep the same deal after all he has
put us through? And after we have discovered 6 new girls . . . .”

        The defense soon signaled that the CEOS review would not end Epstein’s requests for the
Department’s involvement. On February 29, 2008, Lefkowitz requested a defense meeting with
Oosterbaan on March 12, 2008. 163 Starr spoke to Assistant Attorney General Fisher and “made it
clear that [the defense team would] want an audience with her if [CEOS] decid[ed] to support the
prosecution.” On March 6, 2008, Acosta alerted Sloman and Oosterbaan that Starr and Lefkowitz
had called him to express “concern” about Oosterbaan’s participation in the case, and indicated
that “they may ask for more senior involvement.” Acosta “informed them that they certainly had
the right to ask whomever they wanted for whatever they thought appropriate, and that whatever
process would be given them was up to whomever they asked.”

        The next day, Lefkowitz followed up with Acosta in an email:

                 We appreciate that you will afford us as much time as Main Justice
                 determines is appropriate for it to conduct a review of this matter.
                 As you have suggested, we will initiate that review process with
                 Drew Oosterbaan, and engage in a discussion with him about all of
                 the facts and circumstances, as well as the legal and policy issues
                 associated with this case. . . . However, due to our misgivings
                 (engendered because Drew has told us that he sees himself as a
                 prosecutor and has already made clear he would be ready and willing
                 to prosecute this case himself[)] we may well find it necessary to

163
         The defense team meeting with CEOS was originally to be set for late January, but never got scheduled for
that time. On February 25, Sloman informed Lefkowitz that the USAO was “very concerned about additional delays”
in the Departmental review process, but would agree to a short extension of the March 3 deadline “to provide CEOS
time to engage in a thorough review.”


                                                      105
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 132 of 348




                  appeal an adverse determination by him within the DOJ. Ken [Starr]
                  and I appreciate that you understand this and have no objection to
                  our seeking appellate review within DOJ.

        Starr, Lefkowitz, and Martin Weinberg attended the March 12, 2008 meeting, as well as
the former Principal Deputy Chief of CEOS, who had joined the Epstein defense team.
Oosterbaan, Mandelker, and a current CEOS Deputy Chief represented the Department. The
current CEOS Deputy Chief told OPR that it was primarily a “listening session” with Starr doing
most of the presentation. Oosterbaan told OPR that he recalled “some back and forth” because the
defense team was saying “some outrageous things.” Both Oosterbaan and his Deputy Chief were
disturbed that the former CEOS Principal Deputy Chief, who had been an aggressive advocate for
child exploitation prosecutions, was supporting the defense position, although according to the
CEOS Deputy Chief, the former Principal Deputy Chief gave only a “weak pitch” that was not
effective.

       After the meeting, Starr and Lefkowitz made multiple written submissions to the Criminal
Division. One submission provided a lengthy list of USAO actions that “have caused us serious
concern,” including the following:

                  “Federal involvement in a state criminal prosecution without any
                  communication with state authorities”; 164

                  the issuance of legal process and document requests for items that
                  “had no connection to the conduct at issue”;

                  the nomination “of an individual closely associated with one of the
                  Assistant United States Attorneys involved in this case” to serve as
                  the victims’ attorney representative;

                  the “insistence” on a victim notification letter inviting the victims to
                  make sworn statements at Epstein’s sentencing; and

                  the purported existence of a “relationship” between Sloman and a
                  law firm representing several of the alleged victims in civil suits
                  against Epstein. 165




164
          This complaint appeared to be at odds with Villafaña’s understanding that the defense objected to USAO
communications with the state authorities. In November 2007, Sloman noted to Lefkowitz, “Your recent
correspondence attempting to restrict our Office from communicating with the State Attorney’s Office . . . raises
concern.” In a March 2008 email reporting to CEOS about the state case, Villafaña noted that she did not know
whether a state “misdemeanor deal [was] back on the table because the defense demanded that we have no contact
with the State Attorney’s Office, so I haven’t spoken with the [Assistant State Attorney] in over 6 months.” Villafaña
later reported to Acosta and Sloman that when Krischer complained to her that the USAO had not been communicating
with him, she explained to Krischer that “it was the defense who were blocking the channels of communication.”
165
       In approximately 2001, Sloman briefly left the USAO and for a few months was in private practice with a
Miami attorney, whose practice specialized in plaintiffs’ sexual abuse claims. During 2007-2008, the attorney

                                                        106
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 133 of 348




         In another letter, Starr renewed the defense accusation that the USAO improperly disclosed
information about the case to the media, and accused Sloman and Villafaña of “encouraging civil
litigation” against Epstein. Finally, in a letter to Assistant Attorney General Fisher on
May 14, 2008, Starr thanked her for having spoken with him the previous day, reiterated the
defense team’s various complaints, and asked her to meet with him, Lefkowitz, and Whitley.

        Meanwhile, Oosterbaan’s Deputy Chief drafted a decision letter to be sent from Oosterbaan
to Lefkowitz, and over the course of several weeks, it was reviewed by and received input from
Deputy Assistant Attorney General Mandelker and Assistant Attorney General Fisher, as well as
the Criminal Division’s Appellate Section (regarding certain legal issues) and Office of
Enforcement Operations (regarding the Petite policy). Oosterbaan told OPR that, notwithstanding
the defense submissions on a wide variety of issues and complaints, CEOS’s review was limited
to determining whether there was a basis for a federal prosecution of Epstein.

        Oosterbaan’s letter, sent to Lefkowitz on May 15, 2008, notified the defense team that
CEOS had completed its independent evaluation of whether prosecution of Epstein for federal
criminal violations “would contradict criminal enforcement policy interests.” The letter specified
that CEOS’s review addressed the “narrow question” of whether a legitimate basis existed for a
federal prosecution, and that CEOS did not conduct a de novo review of the facts, analyze issues
relating to federal statutes that did not pertain to child exploitation, or review the terms of the NPA
or the prosecutorial misconduct allegations. The letter stated that based on its examination of the
material relevant to its limited review of the matter, CEOS had concluded that “federal prosecution
in this case would not be improper or inappropriate” and that Acosta “could properly use his
discretion to authorize prosecution in this case.”

         On May 19, 2008, Lefkowitz reached out to Acosta to request a meeting and specifically
asked that Acosta “not shunt me off to one of your staff.” Lefkowitz made several points in support
of the request for a meeting: (1) CEOS’s letter acknowledged that federal prosecution of Epstein
would involve a “novel application” of relevant federal statutes; 166 (2) CEOS’s conclusion that
federal prosecution would not be “an abuse of discretion” was “hardly an endorsement” of the
case; 167 (3) CEOS did not address Epstein’s prosecutorial misconduct allegations; and (4) “critical
new evidence,” in the form of recent defense counsel depositions of victims confirmed “that



represented Epstein victims. The Epstein defense team alleged in the letter that Sloman’s past association with the
attorney caused Sloman to take actions to favor victims’ potential civil lawsuits against Epstein.
166
          Oosterbaan’s letter stated, “Mr. Acosta can soundly exercise his authority to decide to pursue a prosecution
even though it might involve a novel application of a federal statute.” This statement referred to a defense argument
based on a prior Departmental expression of concern about a Congressional proposal to expand federal law to “adult
prostitution where no force, fraud or coercion was used.” Oosterbaan stated that “the Department’s efforts are properly
focused on the commercial sexual exploitation of children”—even if wholly local—and “the exploitation of adults
through force, fraud, or coercion.” He then observed that the fact “that a prosecution of Mr. Epstein might not look
precisely like the cases that came before it is not dispositive.”
167
        Oosterbaan began his letter, however, by making it clear that CEOS had considered “the narrow question as
to whether there is a legitimate basis for the U.S. Attorney’s Office to proceed with a federal prosecution of
Mr. Epstein.”


                                                         107
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 134 of 348




federal prosecution is not appropriate in this case.” 168 Lefkowitz alluded to the possibility of
seeking further review of the matter by the Deputy Attorney General or Attorney General, should
the defense be unable to “resolve this matter directly with” Acosta.

        Acosta declined the request to respond personally and directed Lefkowitz to communicate
with the “trial team.” That same day, Sloman sent Lefkowitz a letter asking that all further
communication about the case be made to Villafaña or her immediate supervisor, and reiterating
that Acosta would not respond personally to counsel’s email or calls. Sloman noted that the USAO
had “bent over backwards to exhaustively consider and re-consider” Epstein’s objections, but
“these objections have finally been exhausted.” Sloman advised that the USAO would terminate
the NPA unless Epstein complied with all of its terms by the close of business on
June 2, 2008.

        B.       May – June 23, 2008: Review by the Office of the Deputy Attorney General

        Also on May 19, 2008, Starr and Whitley co-authored a letter to Deputy Attorney General
Mark Filip asking for review “of the federal involvement in a quintessentially state matter.” 169 In
the letter, they acknowledged that CEOS had recently completed “a very limited review” of the
Epstein case, but contended that “full review of all the facts is urgently needed at senior levels of
the Justice Department.” They argued that federal prosecution of Epstein was “unwarranted,” and
that “the irregularity of conduct by prosecutors and the unorthodox terms of the [NPA] are beyond
any reasonable interpretation of the scope of a prosecutor’s responsibilities.” They followed up
with a second letter on May 27, 2008, in which they asserted “the bedrock need for integrity in the
enforcement of federal criminal laws” and “the profound questions raised by the unprecedented
extension of federal laws . . . to a prominent public figure who has close ties to President Clinton”
required Departmental review. On this latter point, they argued that Epstein “entered the public
arena only by virtue of his close personal association with former President Bill Clinton,” and that
there was “little doubt” that the USAO “never would have contemplated a prosecution in this case
if Mr. Epstein were just another ‘John.’” This was the first defense submission mentioning
Epstein’s connection to President Clinton and raising the insinuation that the federal involvement
in the investigation was due to politics.

        In the May 27, 2008 letter to the Deputy Attorney General, Starr and Whitley used the
existing June 2, 2008 deadline for the entry of Epstein’s guilty plea to argue that it made the need
for review of the case “all the more exigent.” John Roth, a Senior Associate Deputy Attorney
General who was handling the matter, instructed the USAO to rescind the deadline, and on
May 28, 2008, Sloman notified Lefkowitz that the USAO had postponed the deadline pending
completion of the review by the Deputy Attorney General’s office. 170 Meanwhile, the Criminal

168
         Under Florida Rule of Criminal Procedure 3.220, defendants are permitted to depose victims, and Epstein’s
counsel utilized that procedure aggressively and expansively to conduct sworn interviews of multiple victims,
including victims who were not part of the state prosecution, to learn information about the federal investigation.
169
        In addition to having served as U.S. Attorney in two different districts, Whitley had served as Acting
Associate Attorney General, the Department’s third-highest position.
170
        On May 28, 2008, Attorney General Mukasey was in Miami for unrelated events and had lunch at the USAO
with Acosta and other senior managers. OPR found no indication that the Epstein matter was discussed.


                                                       108
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 135 of 348




Division forwarded to Roth the prior defense submissions, describing them as “an enormous
amount of material” regarding the Epstein matter. On June 3, 2008, Sloman sent to Roth a lengthy
letter from Sloman to the Deputy Attorney General, recounting in detail the history of negotiations
with Epstein’s counsel culminating in the NPA, and addressing Epstein’s claims of professional
misconduct. Among the documents submitted with the letter were the prosecution memorandum,
one of the proposed charging documents, and the NPA with its addendum and Acosta’s
December 19, 2007 letter to Sanchez.

         As the review was ongoing in the Office of the Deputy Attorney General, State Attorney
Krischer mentioned to the USAO’s West Palm Beach manager that Krischer and Epstein’s local
defense attorney Jack Goldberger had arrived at a resolution of Epstein’s case that would involve
a 90-day jail term, but Krischer provided no further information. Upon learning of this, Villafaña
wrote to her immediate supervisor: “Please tell me that you are joking. Maybe we should throw
him [Epstein] a party and tell him we are sorry to have bothered him.” Villafaña and her immediate
supervisor later had phone and email exchanges with Krischer and with Epstein’s local counsel to
insist that the state plea comply with the terms of the NPA, or “we will consider it a breach of the
agreement and proceed accordingly.” 171

        Deputy Attorney General Filip told OPR he had never heard of Epstein before receiving
Starr’s letter. Following the office’s standard protocol, Starr’s letter was handled by John Roth,
an experienced senior federal prosecutor who had served some years before as an AUSA in the
USAO. Roth also told OPR that he had never before heard of Epstein. Roth explained to OPR
that he did not conduct an independent investigation, interview witnesses, or meet with Epstein’s
counsel, and instead limited his review to written materials submitted by Epstein’s attorneys and
by Sloman to the Deputy Attorney General’s office, as well as materials that the defense team and
the USAO had previously provided to CEOS and the Criminal Division front office, and that
CEOS furnished to him. Roth discussed the matter with two senior staff colleagues, as well as
with the Deputy Attorney General, who also reviewed the submissions.

         Roth told OPR that it was his understanding that Epstein had reneged on the NPA, and
because he believed the NPA was a “dead letter,” he did not review the terms of the agreement or
ratify it post hoc. On the other hand, Deputy Attorney General Filip told OPR he understood that
the NPA was still in effect and that Epstein was trying to undermine the federal jurisdictional basis
for the agreement. Apart from addressing Epstein’s federalism arguments, however, Deputy
Attorney General Filip did not believe it was the “mission” of the Office of the Deputy Attorney
General to review the Epstein case de novo or to examine the NPA’s terms or determine whether
the NPA reached the “right balance” between state and federal punishment. He told OPR, “[W]e
heard an appeal. . . . [Epstein] wanted a meeting to argue for relief. We didn’t give him a meeting
and we didn’t give him [any] relief.” Deputy Attorney General Filip told OPR that no one in his
office who looked at Epstein’s arguments “felt that it was a sympathetic appeal.” In particular, he
told OPR that defense counsel’s argument that there was no basis for a federal prosecution was
“ludicrous,” and the assertion that the USAO’s investigation of Epstein was politically motivated
“just seemed unserious.”


171
       Villafaña urged Sloman, “Someone really needs to talk to Barry.”


                                                     109
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 136 of 348




        On Monday, June 23, 2008, Roth sent a brief letter to Starr and Lefkowitz informing them
that the office had “completed a thorough review” of the USAO’s handling of the Epstein matter
and did not believe intervention by the Deputy Attorney General was warranted in view of the
“considerable discretion” vested by the Department in U.S. Attorneys. He added, “Even if we
were to substitute our judgment for that of the U.S. Attorney, we believe that federal prosecution
of this case is appropriate.”

        Immediately after receiving a copy of Roth’s letter, Villafaña notified defense counsel that
Epstein would have until close of business on Monday, June 30, 2008, to comply with the NPA
by entering his guilty plea, being sentenced, and surrendering to begin serving his sentence. On
June 26, 2008, Roth alerted the Office of the Attorney General that Epstein’s counsel might try to
contact the Attorney General to request additional review and urged the Attorney General not to
take defense counsel’s calls. Roth told OPR that he was concerned that Epstein’s team would try
to take a further appeal in order to delay resolution of the case.

        Meanwhile, Starr sent a concluding email to Acosta, acknowledging they had reached “the
end of a long and arduous road” and adding, “While I am obviously very unhappy at what I believe
is the government’s treatment of my client, a man whom I have come to deeply admire, I recognize
that we have filed and argued our ‘appellate motions’ and lost. . . . I would like to have . . . some
closure with you on this matter so that in the years to come, neither of us will harbor any ill will
over the matter.”

X.      JUNE 2008 – JUNE 2009: EPSTEIN ENTERS HIS PLEAS AND SERVES HIS
        CUSTODIAL SENTENCE

          On Friday, June 27, 2008, Villafaña renewed her requests to Epstein’s local attorneys
Goldberger and Black for a copy of the state plea agreement reached with the State Attorney’s
Office, noting that their failure to provide it was a material breach of the NPA. After receiving
and reviewing the plea agreement form, which was not yet signed, Villafaña sent another letter to
Goldberger and Black, informing them that the proposed sentencing provision did not comply with
the requirements of the NPA. Specifically, as written, the plea agreement called for a sentence of
12 months in “the Palm Beach County Detention Facility,” followed consecutively by “18 months
Community Control” with a special condition that the defendant serve “the first 6 months [of
community control] in the Palm Beach County Detention Facility.” Villafaña objected to the
community control provision, reminding Goldberger and Black that the NPA required Epstein to
“make a binding recommendation of eighteen months imprisonment, which means confinement
twenty-four hours a day at the County Jail.” In a subsequent email to Sloman, Villafaña recounted
that she had spoken about the issue with Goldberger, who “‘swore’ that Epstein would be in
custody 24-hours-a-day during the community confinement portion of his sentence.” Villafaña
added that Goldberger “let it slip that Epstein would not be at the jail, he would be at the stockade
. . . . Since we specifically discussed this at the meeting with [the State Attorney] months ago that
Epstein would be at [the jail], this certainly violates the spirit of the [NPA] agreement.”172
Villafaña told Sloman, “[S]omething smells very bad.”


172
        The Main Detention Center for Palm Beach County is a facility housing maximum, medium, and minimum
custody adult males, as well as juvenile and special population male and female inmates.                See

                                                   110
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 137 of 348




        The next day, Villafaña asked Goldberger to change the plea agreement by inserting the
word “imprisoned” after “6 months,” and Goldberger agreed to do so. Villafaña, however, did not
ask that the agreement be amended to clarify that the reference to “the Palm Beach County
Detention Facility” meant the jail, rather than the Stockade. The final signed plea agreement form
further clarified the sentence, providing that after serving 12 months in the Palm Beach County
Detention Facility, Epstein would be “sentenced to 6 months in the Palm Beach County Detention
Facility . . . to be served consecutive to the 12 month sentence,” followed by “12 months
Community Control.” The word “imprisoned” was hand written after “6 months” but then crossed
out and replaced by “jail sentence.” 173

         A.       June 30, 2008: Epstein Enters His Guilty Pleas in State Court

        Epstein, with his attorney Jack Goldberger, appeared in Palm Beach County court on
June 30, 2008, and entered guilty pleas to the indictment charging him with one felony count of
solicitation of prostitution and to a criminal information charging him with one felony count of
procurement of a minor to engage in prostitution. 174 At the plea hearing, which Villafaña and the
FBI case agent attended as spectators, Assistant State Attorney Belohlavek did not proffer the facts
of the case; instead she only recited the charging language in the indictment and the criminal
information:

                  [B]etween August 1, 2004 and October 31, 2005, the defendant in
                  Palm Beach County did solicit or procure someone to commit
                  [prostitution] on three or more occasions. And . . . between
                  August 1, 2004 and October 9, 2005, the defendant did procure a
                  minor under the age of 18 to commit prostitution in Palm Beach
                  County also. 175

        The court found this to be “a sufficient factual basis to support the pleas,” and engaged in
a colloquy with Belohlavek regarding Epstein’s victims:

                  The Court:                 Are there more than one victim?

                  Ms. Belohlavek:            There’s several.

                           ....



http://www.pbso.org/inside-pbso/corrections/general/. The “Stockade” was a “lower security ‘camp-style’ facility”
co-located with the Palm Beach County Sheriff’s Office. Both were administered by the Sheriff’s Office.
173
         Plea in the Circuit Court, signed June 30, 2008, and filed in court. Villafaña complained to Goldberger when
she learned later about the change from “imprisoned” to “jail sentence.”
174
         The Information is attached as Exhibit 5.
175
         State v. Epstein, case nos. 06-CF-9454 and 08-CF-9381, Transcript of Plea Conference at 41-42 (Fifteenth
Judicial Circuit, June 30, 2008) (Plea Hearing Transcript). Belohlavek told OPR that reciting the statutory language
of the charge as the factual basis for the plea was the typical practice for a state court plea.


                                                        111
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 138 of 348




                  The Court:                  Are all the victims in both these cases in
                                              agreement with the terms of the plea?

                  Ms. Belohlavek:             I have spoken to several myself and I have
                                              spoken to counsel, through counsel as to the
                                              other victim, and I believe, yes.

                  The Court:                  And with regard to the victims under age
                                              eighteen, is that victim’s parents or guardian
                                              in agreement with the plea?

                  Ms. Belohlavek:             That victim is not under age 18 any more and
                                              that’s why we spoke with her counsel.

                  The Court:                  And she is in agreement with the plea?

                  Ms. Belohlavek:             Yes. 176

       When the court asked if the plea was “in any way tied to any promises or representations
by any civil attorneys or other jurisdictions,” Goldberger and Belohlavek, with Epstein present,
spoke with the judge at sidebar and disclosed the existence of the “confidential” non-prosecution
agreement with the USAO, and the court ordered that a copy of it be filed under seal with the court.

        After the court accepted Epstein’s guilty pleas, and imposed sentence on him pursuant to
the plea agreement, Epstein was taken into custody to begin serving his sentence immediately.

        In the aftermath of the plea, numerous individuals familiar with the investigation expressed
positive reactions to the outcome, and Villafaña received several congratulatory messages.
Oosterbaan wrote, “Congratulations, Marie—at long last! Your work on this matter was truly
exceptional, and you obtained a very significant result that will serve the victims well.” One senior
colleague who was familiar with the case noted, “This case only resolved with the filthy rich bad
guy going to jail because of your dedication and determination.” Another wrote, “If it had not
been for you, he would have gotten away with it.” The CEOS Trial Attorney who had worked
briefly with Villafaña told her, “But for your tenacity, he’d be somewhere ruining another child’s
life.” One victim’s attorney stated, “[G]reat job of not letting this guy off.” But Villafaña was not
satisfied with the outcome, responding to one colleague, “After all the hell they put me through, I
don’t feel like celebrating 18 months. He should be spending 18 years in jail.”

       Acosta later publicly stated that the FBI Special Agent in Charge called him “to offer
congratulations” and “to praise our prosecutors for holding firm against the likes of Messrs. Black,



176
         Plea Hearing Transcript at 20, 42. OPR was unable to determine to which victims Belohlavek was referring,
and Belohlovek did not recall during her OPR interview, but it is possible that she was referring only to the victims of
the charged crimes rather than to all of the victims identified in either the state or federal investigations. Belohlavek
told OPR that because of the nature of the charges (that is, involving prostitution), she did not know whether
“technically under the law” the girls were “victims” whom she was required to notify of the plea hearing.


                                                          112
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 139 of 348




Dershowitz, Lefkowitz and Starr.” 177 In that same later public statement, Acosta noted that he
received communications from Dershowitz, Starr, and Lefkowitz, who “all sought to make peace”
with him; Acosta referred to it as “a proud moment.”

        On July 7, 2008, an Epstein victim filed an emergency petition against the Department, in
federal court in Miami, alleging violation of her rights under the CVRA; a second victim joined
the petition soon thereafter. The history of the litigation and issues relating to it are discussed in
Chapter Three of this Report.

        B.       Epstein Is Placed on Work Release

        A few days after Epstein’s guilty plea, Villafaña reported to Sloman that Epstein was
incarcerated at the low-security Stockade, rather than the Main Detention Center where county
prisoners were usually housed. She also told Sloman that according to the Sheriff’s Office, Epstein
was eligible for work release. Although the USAO had made clear that it expected Epstein to be
incarcerated 24 hours a day, every day, the subject of work release had not been addressed
explicitly during the NPA negotiations, and the NPA itself was silent on the issue. Epstein’s
acceptance into the work release program as a convicted sexual offender was seen by many as
another special benefit given to Epstein. Because the decision to allow Epstein into the work
release program was made by the Palm Beach Sheriff’s Office, OPR did not investigate whether
any state, county, or Sheriff’s Office rules were violated. OPR did examine the USAO’s
consideration of work release prior to signing the NPA and its subsequent unsuccessful efforts to
ensure that Epstein remained incarcerated 24 hours a day.

       The first specific reference to work release was made weeks after the NPA was signed,
when Lefkowitz asserted, in his October 23, 2007 letter to Acosta, that, “so long as Mr. Epstein’s
sentence does not explicitly violate the terms of the [NPA] he is entitled to any type of sentence
available to him, including but not limited to gain time and work release.”

        In November 2007, Sloman had an exchange of letters with Lefkowitz about the USAO’s
understanding that Epstein had agreed to serve his full jail term in “continuous confinement,”
pointing out that the NPA “clearly indicates that Mr. Epstein is to be incarcerated.” Sloman noted
that Florida’s Department of Corrections’s rules did not allow individuals registered as sexual
offenders to participate in work release, and thus Epstein would not be eligible for a work release
program. Sloman concluded that the USAO “is putting you on notice that it intends to make certain
that Mr. Epstein is ‘treated no better and no worse than anyone else’ convicted of the same
offense,” and that if Epstein were to be granted work release, the USAO would “investigate the
reasons why an exception was granted in Mr. Epstein’s case.” 178

        However, also in November, State Attorney Krischer told Sloman that Epstein was, in fact,
eligible to petition for work release because his sexual offender registration would not take place

177
          Letter from R. Alexander Acosta “To whom it may concern” (Mar. 20, 2011), published online in The Daily
Beast. The FBI Special Agent in Charge told OPR that he had no recollection of such a call, but acknowledged that
it could have occurred.
178
        Sloman provided a draft of this letter to Acosta for his approval before the letter was sent to Lefkowitz.


                                                        113
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 140 of 348




until after Epstein completed his sentence, but that Krischer would oppose such a petition “if it is
in the agreement.” 179 On November 16, 2007, the case agents met with Belohlavek and asked if
the State Attorney’s Office would oppose a request that Epstein be granted work release.
Belohlavek was noncommittal, and when the agents asked that she include language in the state’s
plea agreement prohibiting Epstein from participating in work release, she responded that she
would have to discuss the issue with the State Attorney. 180 Krischer later told OPR that work
release was “within the control of the Sheriff’s Office, not my office.” The state’s plea agreement
with Epstein did not address the issue of work release.

        The day after Epstein entered his June 30, 2008 plea, Villafaña and her immediate
supervisor met with a Palm Beach Sheriff’s Office official to discuss work release. According to
Villafaña, the official told them, “Epstein would be eligible for work release and will be placed on
work release,” a statement that contradicted the information the case agents had been given by a
jail supervisor the previous November, as well as statements made by defense attorney Jack
Goldberger to Villafaña just days before the plea was entered, when he “specifically told
[Villafaña] that [Epstein] would not get work release.” Villafaña alerted the Sheriff’s Office
official that although Epstein told the court during his plea proceeding that he had worked “every
day” for a “couple of years” at the “Florida Science Foundation,” that entity did not even exist
until November 2007. 181 Moreover, the address Epstein provided to the court for the “Florida
Science Foundation” was the office of Epstein’s attorney Jack Goldberger. Villafaña and her
supervisor asked that the Sheriff’s Office notify the USAO if Epstein applied for work release.

       Acosta told OPR that he was aware Villafaña was trying to ensure that Epstein did not get
work release, and he would not have contradicted her efforts. Acosta explained that the USAO
expected Epstein would be “treated just like everyone else,” but that, as shown by “our subsequent
communications with the [S]tate [A]ttorney’s [O]ffice,” having Epstein on work release “was not
what our office envisioned.”

       In August 2008, Villafaña spoke with defense attorney Black about ensuring Epstein’s
compliance with the NPA, and raised the issue of work release. Villafaña later reported to Acosta
and Sloman that Black assured her he had “reminded the team that . . . 18 months IN JAIL is a
material term of the agreement.”

        The USAO never received notice of Epstein’s work release application. On October 10,
2008, less than three-and-a-half months after Epstein entered his guilty plea, the Palm Beach
Sheriff’s Office placed him into the work release program, permitting him to leave the Stockade

179
        According to Sloman, Krischer explained that even without registration Epstein would be “treated” as a “sex
offender” and that “just like any other sex offender, he can petition the court for work release.”
180
         In the November 16, 2007 email, on which she copied Acosta, Villafaña also indicated that she was
“reviewing all of the statutes” to determine whether there was any impediment to a state judge granting Epstein work
release. In a subsequent email, the FBI case agents informed Villafaña that they had also spoken with a “jail
supervisor,” who advised them that although Epstein, as a sexual offender, would not qualify for work release, the
judge could nevertheless order him placed on work release if he was sentenced to a year or less of incarceration.
181
         During the plea hearing, Epstein told the court he was “President” of the Florida Science Foundation, it had
been in existence for 15 years, and he worked there “every day.” Plea Hearing Transcript at 27-29.


                                                        114
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 141 of 348




for up to 12 hours per day, six days per week, to work at the “Florida Science Foundation” office
in West Palm Beach. 182 In mid-November 2008, Villafaña learned that Epstein was on work
release. She notified Acosta, Sloman, and the USAO Criminal Division Chief of this development
in an email, and asked, “Can I indict him now?”

        On November 24, 2008, Villafaña sent defense attorney Black a letter, notifying him that
the USAO believed Epstein’s application to and participation in the work release program
constituted a material breach of the NPA. Villafaña reminded Black that she had “more than a
dozen e-mails” expressing the USAO’s “insistence” that Epstein be incarcerated for 18 months,
and that her June 27, 2008 letter to counsel made clear that this meant “confinement for twenty-
four hours a day.” Villafaña noted that Goldberger had not inserted the word “imprisoned” into
the plea agreement, as he had agreed to do, but instead inserted the term “jail sentence.” Villafaña
told counsel:

                 The [USAO’s] Agreement not to prosecute Mr. Epstein was based
                 upon its determination that eighteen months’ incarceration (i.e.,
                 confinement twenty-four hours a day) was sufficient to satisfy the
                 federal interest in Mr. Epstein’s crimes. Accordingly, the U.S.
                 Attorney’s Office hereby gives notice that Mr. Epstein has violated
                 the [NPA] by failing to remain incarcerated twenty-four hours a day
                 for the eighteen-month term of imprisonment. The United States
                 will exercise any and all rights it has under the [NPA] unless
                 Mr. Epstein immediately ceases and desists from his breach of this
                 agreement.

        According to Villafaña, the FBI case agent spoke with the Stockade’s work release
coordinator and reported back that that the work release coordinator told her he had been led to
believe the government knew Epstein had applied for the program, and that he had been threatened
with legal action if he did not allow Epstein to participate in work release.

        On November 26, 2008, the USAO advised the Department that Acosta was recused from
all matters involving the law firm of Kirkland & Ellis, which was still heavily involved in the
Epstein case, because Acosta was discussing with the firm the possibility of employment. 183 As a
result, Sloman became the senior USAO official responsible for making final decisions related to
Epstein.

       Also on November 26, 2008, Black responded to Villafaña’s letter, acknowledging that
Epstein was serving his sentence in the Palm Beach County Work Release Program, but denying
that Epstein was in breach of the NPA. 184 Black noted that the NPA did not prohibit work release;
the NPA expressly provided that Epstein was to be afforded the same benefits as any other inmate;

182
       Michele Dargan and David Rogers, “Palm Beach sex offender Jeffrey Epstein ‘treated differently,’” Palm
Beach Daily News, Dec. 13, 2008.
183
        The recusal was formally approved by the Department on December 8, 2008.
184
          Black forwarded the email to Sloman, noting that Villafaña “is very concerned about anything Epstein does”
and that the defense team would “abide by” Sloman’s decision on the issue.


                                                       115
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 142 of 348




Florida law treated work release as part of confinement; and the Palm Beach County Sheriff’s
Office had discretion to grant work release to any inmate. Black also claimed that Acosta
“recognized that Mr. Epstein might serve a portion of his sentence through the Work Release
Program” and pointed out that the December 6, 2007 draft victim notification letter sent to
Lefkowitz for review specifically referred to the victim’s right to be notified “if [Epstein] is
allowed to participate in a work release program.”

        On December 3, 2008, in advance of a scheduled meeting with Black, Villafaña sent
Sloman and Criminal Division Chief Senior an email about Epstein’s participation in the work
release program:

               It appears that, since Day 1, Goldberger and Krisher [sic] . . . have
               been scheming to get Epstein out on work release. For example, the
               indictment incorrectly charges Epstein for an offense that would
               have made him ineligible for work release if it had been charged
               correctly. (Remember that Krisher [sic] also went along with letting
               us believe that Epstein was pleading to a registrable offense when
               Epstein’s folks and Krisher [sic] believed that . . . the offense was
               not registrable.) Krisher [sic] and Goldberger also told us that
               Epstein would be housed at the Palm [Beach County] Jail, not the
               Stockade, but he would not have been eligible for work release if at
               the jail. . . .

               As part of his work release, Epstein has hired off-duty Sheriff’s
               deputies to provide him with “protection.” It appears that he is
               paying between $3000 and $4100 per week for this service, despite
               the work release rules barring anyone from the Sheriff’s Office (and
               the Sheriff’s Office itself) from having “any business transactions
               with inmates . . . while they are in the custody or supervision of the
               Sheriff . . . .”

Villafaña added that she and her immediate supervisor believed that the USAO “should not budge
on the 24-hour-a-day incarceration” requirement. Referring to the CVRA litigation, Villafaña also
pointed out that two victims had brought suit against the USAO “for failing to keep them informed
about the investigation,” and the office had “an obligation to inform all of the victims upon
Epstein’s release.”

         On December 11, 2008, Villafaña wrote to the Corrections Division of the Palm Beach
County Sheriff’s Office to express the USAO’s view that Epstein was not eligible for work release
and to alert the Sheriff’s Office that Epstein’s work release application contained several
inaccuracies and omitted relevant information. Villafaña pointed out that Epstein’s application
identified his place of employment as the “Florida Science Foundation,” and the telephone number
listed in the application for the “Florida Science Foundation” was the telephone number to the law
firm of Epstein’s attorney Jack Goldberger. Villafaña also noted that the individual identified in
the work release file as Epstein’s “supervisor” at the “Florida Science Foundation” had submitted
publicly available sworn filings to the Internal Revenue Service indicating that Epstein worked
only one hour per week and earned no compensation, but that same individual had represented to

                                                116
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 143 of 348




the Sheriff’s Office that Epstein’s duties required him to work six days a week for 12 hours per
day. Finally, Villafaña pointed out that Epstein’s purported “supervisor”—who as the
Foundation’s vice president was subordinate to Epstein, the Foundation’s president—had
promised to alert the Sheriff’s Office if Epstein failed to comply with his work schedule, but the
“supervisor” lived and worked in the New York metropolitan area and was unable to monitor
Epstein’s activities on a day-to-day basis. The Sheriff’s Office neither acknowledged nor
responded to Villafaña’s letter.

       In March 2009, Sloman met in Miami with Dershowitz for, as Dershowitz characterized it
in a subsequent email, “a relaxed drink and conversation,” which included a discussion of the
Epstein case. After that encounter, Dershowitz emailed Sloman, expressing appreciation for
Sloman’s “assurance that the feds will not interfere with how the Palm Beach sheriff administers”
Epstein’s sentence “as long as he is treated like any similarly situated inmate.” Sloman responded:

                Regarding Mr. Epstein, the United States Attorney’s Office will not
                interfere with how the Palm Beach Sheriff’s Office administers the
                sentence imposed by the Court. That being said, this does not mean
                that the USAO condones or encourages the PBSO to mitigate the
                terms and conditions of his sentence. Furthermore, it does not mean
                that, if contacted for our position concerning alternative custody or
                in-home detention, we would not object. To be clear, if contacted
                we will object. Naturally, I also expect that no one on behalf of
                Mr. Epstein will use my assurance to you to affirmatively represent
                to PBSO that the USAO does not object to an alternative custody or
                home detention.

       A week later, Dershowitz emailed Sloman again, this time expressing appreciation for
Sloman’s “willingness to call the sheriff and advise him that your office would take no position
on how he handled Epstein’s sentence,” as long as Epstein did not receive special treatment, but
adding, “[L]et’s put any call off for a while.”

       Epstein’s sentence required that he be confined to his home for a 12-month period
following his release from prison. On July 22, 2009, almost 13 months after he began serving his
sentence, Epstein was released from the Stockade and placed on home confinement. 185 At this
time, he registered as a sexual offender.

XI.     POST-RELEASE DEVELOPMENTS

       In the summer of 2009, allegations surfaced that Epstein had cooperated with the U.S.
Attorney’s Office for the Eastern District of New York’s investigation of investment bank Bear
Stearns, and that he had been released early from his 18-month imprisonment term because of that



185
        In Florida, what is commonly referred to as house arrest is actually the Community Control supervision
program. Florida Statute § 948.001(3) defines the program as “a form of intensive, supervised custody in the
community.”


                                                    117
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 144 of 348




cooperation. 186 When Villafaña spoke with attorneys in the Eastern District of New York,
however, an AUSA there told Villafaña that “[t]hey had never heard of” Epstein, and he had not
cooperated with the Bear Stearns case. 187 During her OPR interview, Villafaña told OPR that to
her knowledge, the rumor of Epstein’s cooperation was “completely false.”

        Villafaña and the USAO continued to monitor Epstein’s compliance with the terms of the
NPA. In August 2009, Villafaña alerted her supervisors that Epstein was in apparent violation of
his home detention—he had been spotted walking on the beach, and when stopped by the police,
he claimed that he was walking “to work” at an office nearly eight miles from his home. Villafaña
passed this information along to the Palm Beach County probation office. 188 By letter dated
September 1, 2009, Black wrote to Sloman seeking the USAO’s agreement to transfer supervision
of the community control phase of Epstein’s sentence to the U.S. Virgin Islands, where Epstein
maintained his “primary residence.” In response, Villafaña notified Black that the USAO opposed
such a request and would view it as a violation of the NPA. Three months later, Sloman met with
Dershowitz and, among other issues, informed him that the USAO opposed early termination of
Epstein’s community control supervision and would object to a request to transfer Epstein’s
supervision to the U.S. Virgin Islands.

       After serving his year on home detention in Florida, Epstein completed his sentence on
July 21, 2010.




186
         See “Out of Prison,” New York Post, July 23, 2009.
187
         The New York AUSA had emailed Villafaña, “We’re the prosecutors in [the Bear Stearns case] . . . . We
saw the below article from the New York Post and wanted to ask you about this defendant, Epstein, who we had never
heard of until this morning. We’ve since learned that he is pretty unsavory.” Villafaña reported to Sloman and other
supervisors that she “just got off the phone with the prosecutors from the Bear Stearns case in [the Eastern District of]
New York. They had seen the NY Post article that claimed that Epstein got such a low sentence because he was
cooperating with the feds on the Bear Stearns prosecution. They had never heard of him.” In a second email, she
confirmed, “There has been absolutely no cooperation here or in New York, from what they told me.”
188
         Black later wrote a letter to Villafaña claiming that Epstein had “specific authorization to walk to work,” the
distance between his home and office was “less than three miles,” and when the matter was “fully investigated,”
Epstein was found to be in “total compliance” with the requirements of his sentence.


                                                          118
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 145 of 348




                                        CHAPTER TWO
                          PART TWO: APPLICABLE STANDARDS


 I.    OPR’S ANALYTICAL FRAMEWORK

       OPR finds professional misconduct when an attorney intentionally violates or acts in
reckless disregard of a known, unambiguous obligation imposed by law, rule of professional
conduct, or Department regulation or policy. In determining whether an attorney has engaged in
professional misconduct, OPR uses the preponderance of the evidence standard to make factual
findings.

         An attorney intentionally violates an obligation or standard when the attorney (1) engages
in conduct with the purpose of obtaining a result that the obligation or standard unambiguously
prohibits; or (2) engages in conduct knowing its natural or probable consequence, and that
consequence is a result that the obligation or standard unambiguously prohibits. An attorney acts
in reckless disregard of an obligation or standard when (1) the attorney knows or should know,
based on his or her experience and the unambiguous nature of the obligation or standard, of an
obligation or standard; (2) the attorney knows or should know, based on his or her experience and
the unambiguous applicability of the obligation or standard, that the attorney’s conduct involves a
substantial likelihood that he or she will violate, or cause a violation of, the obligation or standard;
and (3) the attorney nonetheless engages in the conduct, which is objectively unreasonable under
all the circumstances. Thus, an attorney’s disregard of an obligation is reckless when it represents
a gross deviation from the standard of conduct that an objectively reasonable attorney would
observe in the same situation.

        If OPR determines that an attorney did not engage in professional misconduct, OPR
determines whether the attorney exercised poor judgment, engaged in other inappropriate conduct,
made a mistake, or acted appropriately under all the circumstances. An attorney exercises poor
judgment when, faced with alternative courses of action, he or she chooses a course of action that
is in marked contrast to the action that the Department may reasonably expect an attorney
exercising good judgment to take. Poor judgment differs from professional misconduct in that an
attorney may act inappropriately and thus exhibit poor judgment even though he or she may not
have violated or acted in reckless disregard of a clear obligation or standard. In addition, an
attorney may exhibit poor judgment even though an obligation or standard at issue is not
sufficiently clear and unambiguous to support a professional misconduct finding. A mistake, on
the other hand, results from an excusable human error despite an attorney’s exercise of reasonable
care under the circumstances.

        An attorney who makes a good faith attempt to ascertain the obligations and standards
imposed on the attorney and to comply with them in a given situation does not commit professional
misconduct. Evidence that an attorney made a good faith attempt to ascertain and comply with
the obligations and standards imposed can include, but is not limited to, the fact that the attorney
reviewed materials that define or discuss one or more potentially applicable obligations and
standards, consulted with a supervisor or ethics advisor, notified the tribunal or the attorney
representing a party or person with adverse interests of an intended course of conduct, or took

                                                 119
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 146 of 348




affirmative steps the attorney reasonably believed were required to comply with an obligation or
standard.

II.      APPLICABLE STANDARDS OF CONDUCT

         A.       The United States Attorneys’ Manual

        Among its many provisions, the United States Attorneys’ Manual (USAM) includes
general statements of principles that summarize appropriate considerations to be weighed, and
desirable practices to be followed, by federal prosecutors when discharging their prosecutorial
responsibilities. 189 The goal of the USAM is to promote “the reasoned exercise of prosecutorial
authority and contribute to the fair, evenhanded administration of the Federal criminal laws,” and
to promote public confidence that important prosecutorial decisions will be made “rationally and
objectively on the merits of each case.” USAM § 9-27.001.

        Because the USAM is designed to assist in structuring the decision-making process of
government attorneys, many of its principles are cast in general terms, with a view to providing
guidance rather than mandating results. Id.; see also USAM § 9-27.120, comment (“It is expected
that each Federal prosecutor will be guided by these principles in carrying out his/her criminal law
enforcement responsibilities . . . . However, it is not intended that reference to these principles will
require a particular prosecutorial decision in any given case.”); USAM § 9-27.110, comment
(“Under the Federal criminal justice system, the prosecutor has wide latitude in determining when,
whom, how, and even whether to prosecute for apparent violations of Federal criminal law.”).
However, USAM § 9-27.130 provides that AUSAs who depart from the principles of federal
prosecution articulated in the USAM may be subject to internal discipline. In particular, USAM
§ 9-27.130 states that each U.S. Attorney should establish internal office procedures to ensure that
prosecutorial decisions are made at an appropriate level of responsibility and are consistent with
the principles set forth in the USAM, and that serious, unjustified departures from the principles
set forth in the USAM are followed by remedial action, including the imposition of disciplinary
sanctions when warranted and deemed appropriate.

        U.S. Attorneys have “plenary authority with regard to federal criminal matters” and may
modify or depart from the principles set forth in the USAM as deemed necessary in the interest of
fair and effective law enforcement within their individual judicial districts. USAM §§ 9-2.001,
9.27-140. The USAM provisions are supplemented by the Department’s Criminal Resource
Manual, which provides additional guidance relating to the conduct of federal criminal
prosecutions.

                  1.       USAM Provisions Relating to the Initiation and Declination of a
                           Federal Prosecution

        Federal prosecutors do not open a case on every matter referred to them. USAM § 9-2.020
explicitly authorizes a U.S. Attorney “to decline prosecution in any case referred directly to

189
          In 2018, the USAM was revised and reissued as the Justice Manual. In assessing the subjects’ conduct, OPR
relies upon the standards of conduct in effect at the time of the events in issue. Accordingly, unless otherwise noted,
citations in this Report are to the 1997 edition of the USAM, as revised through January 2007.


                                                         120
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 147 of 348




him/her by an agency unless a statute provides otherwise.” Whenever a U.S. Attorney closes a
case without prosecution, the file should reflect the action taken and the reason for it. USAM
§ 9-27.220 sets forth the grounds to be considered in making the decision whether to commence
or decline federal prosecution. A federal prosecutor should commence or recommend prosecution
if he or she believes that admissible evidence will probably be sufficient to obtain and sustain a
conviction of a federal offense, unless (1) the prosecution would serve no federal interest; (2) the
person is subject to effective prosecution in another jurisdiction; or (3) there exists an adequate
alternative to prosecution. A comment to this provision indicates that it is the prosecutor’s task to
determine whether these circumstances exist, and in making that determination, the prosecutor
“should” consult USAM §§ 9-27.230, 9-27.240, or 9-27.250, as appropriate.

         USAM § 9-27.230 sets forth a non-exhaustive list of considerations that a federal
prosecutor should weigh in determining whether a substantial federal interest would be served by
initiating prosecution against a person:

                  1.       Federal law enforcement priorities; 190

                  2.       The nature and seriousness of the offense; 191

                  3.       The deterrent effect of prosecution;

                  4.       The person’s culpability in connection with the offense;

                  5.       The person’s history with respect to criminal activity;

                  6.       The person’s willingness to cooperate in the investigation
                           or prosecution of others; and

                  7.       The probable sentence or other consequences if the person
                           is convicted.

        The USAM contemplates that, on occasion, a federal prosecutor will decline to open a case
in deference to prosecution by the state in which the crime occurred. USAM § 9-27.240 directs
that in evaluating the effectiveness of prosecution in another jurisdiction, the federal prosecutor
should weigh “all relevant considerations,” including the strength of the other jurisdiction’s
interest in prosecution, the other jurisdiction’s ability and willingness to prosecute effectively, and
the probable sentence or other consequences the person will be subject to if convicted in the other
jurisdiction. A comment to this provision explains:



190
         A comment to this provision directs the prosecutor to consider carefully the extent to which a federal
prosecution would be consistent with established federal prosecutorial priorities.
191
          A comment to this provision explains that an assessment of the nature and seriousness of the offense must
also include consideration of the impact on the victim. The comment further cautions that when restitution is at issue,
“care should be taken . . . to ensure against contributing to an impression that an offender can escape prosecution
merely by returning the spoils of his/her crime.”


                                                         121
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 148 of 348




                 Some offenses, even though in violation of Federal law, are of
                 particularly strong interest to the authorities of the state or local
                 jurisdiction in which they occur, either because of the nature of the
                 offense, the identity of the offender or victim, the fact that the
                 investigation was conducted primarily by state or local
                 investigators, or some other circumstance. Whatever the reason,
                 when it appears that the Federal interest in prosecution is less
                 substantial than the interest of state or local authorities,
                 consideration should be given to referring the case to those
                 authorities rather than commencing or recommending a Federal
                 prosecution.

Another comment cautions that in assessing whether to defer to state or local authorities, “the
Federal prosecutor should be alert to any local conditions, attitudes, relationships or other
circumstances that might cast doubt on the likelihood of the state or local authorities conducting a
thorough and successful prosecution.”

        USAM § 9-27.260 identifies impermissible considerations relating to the decision whether
to initiate or decline a federal prosecution. Specifically, the decision may not be based on
consideration of the person’s race, religion, sex, national origin, or political association, activities,
or beliefs; the prosecutor’s “own personal feelings” about the person or the victim; or the possible
effect of the decision on the prosecutor’s own professional or personal circumstances. When
opting to decline federal prosecution, the prosecutor should ensure that the reasons for that decision
are communicated to the investigating agency and reflected in the office files. USAM § 9-27.270.

                 2.       USAM § 9-2.031: The Petite Policy

        Although the Constitution does not prohibit prosecutions of a defendant by both state and
federal authorities, even when the conduct charged is identical in both charging jurisdictions, the
Department has a long-standing policy, known as the Petite policy, governing federal prosecutions
charged after the initiation of a prosecution in another jurisdiction based on the same or similar
conduct. 192 The general principles applicable to the prosecution or declination decision are set
forth in USAM § 9-2.031, “Dual and Successive Prosecution Policy (‘Petite Policy’),” which
contains guidelines for a federal prosecutor’s exercise of discretion in determining whether to bring
a federal prosecution based on the substantially same act or transaction involved in a prior state or
federal proceeding. The policy applies “whenever there has been a prior state or federal
prosecution resulting in an acquittal, a conviction, including one resulting from a plea agreement,
or a dismissal or other termination on the merits after jeopardy has attached.”

        In circumstances in which the policy applies, a prosecutor nonetheless can initiate a new
federal prosecution when three substantive prerequisites exist. The prerequisites are as follows:

        (1)      The matter must involve a substantial federal interest. The determination whether
                 a substantial federal interest is involved is made on a case-by-case basis. Matters


192
        See Rinaldi v. United States, 434 U.S. 22, 27-29 (1977); Petite v. United States, 361 U.S. 529 (1960).


                                                       122
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 149 of 348




                  that come within the national investigation and prosecution priorities established
                  by the Department are more likely to satisfy this requirement than other matters.

         (2)      The prior prosecution must have left the substantial federal interest “demonstrably
                  unvindicated.” In general, the Department presumes that a prior prosecution has
                  vindicated federal interests, but that presumption may be overcome in certain
                  circumstances. As relevant here, the presumption may be overcome when the
                  choice of charges in the prior prosecution was based on factors such as
                  incompetence, corruption, intimidation, or undue influence. The presumption may
                  be overcome even when the prior prosecution resulted in a conviction, if the prior
                  sentence was “manifestly inadequate in light of the federal interest involved and a
                  substantially enhanced sentence—including forfeiture and restitution as well as
                  imprisonment and fines—is available through the contemplated federal
                  prosecution.”

         (3)      The government must believe that the defendant’s conduct constitutes a federal
                  offense, and that the admissible evidence probably will be sufficient to obtain and
                  sustain a conviction.

However, the satisfaction of the prerequisites does not require a prosecutor to proceed with a
federal investigation or charges nor is the Department required to approve the proposed
prosecution.

        The Petite policy cautions that whenever a matter involves overlapping federal and state
jurisdiction, federal prosecutors should consult with their state counterparts “to determine the most
appropriate single forum in which to proceed to satisfy the substantial federal and state interests
involved.” If a substantial question arises as to whether the Petite policy applies to a particular
prosecution, the prosecutor should submit the matter to the appropriate Assistant Attorney General
for resolution. Prior approval from the appropriate Assistant Attorney General must be obtained
before bringing a prosecution governed by this policy.

                  3.       USAM Provisions Relating to Plea Agreements

        Federal prosecutors have discretion to resolve an investigation or pending case through a
plea agreement. USAM §§ 9-27.330; 9-27.400. Negotiated pleas are also explicitly sanctioned
by Federal Rule of Criminal Procedure 11(c)(1). 193 Regardless of whether the plea agreement is
offered pre-charge or post-charge, the prosecutor’s plea bargaining “must honestly reflect the
totality and seriousness of the defendant’s conduct.” USAM § 9-27.400, comment. 194 The
importance of selecting a charge that reflects the seriousness of the conduct is echoed in USAM
§ 9-27.430, which directs the prosecutor to require a defendant to plead to an offense that
represents the most serious readily provable charge consistent with the nature and extent of the

193
          As previously noted, Rule 11(c)(1)(C) permits the parties to agree to resolve the case in exchange for a
specific sentence, subject to the court’s acceptance of the agreement.
194
          See also USAM § 9-27.300 (“Once the decision to prosecute has been made, the attorney for the government
should charge . . . the most serious offense that is consistent with the nature of the defendant’s conduct, and that is
likely to result in a sustainable conviction.”).


                                                         123
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 150 of 348




defendant’s criminal conduct, has an adequate factual basis, makes likely the imposition of an
appropriate sentence and order of restitution, and does not adversely affect the investigation or
prosecution of others. USAM § 9-27.420 specifies:

               In determining whether it would be appropriate to enter into a plea
               agreement, the attorney for the government should weigh all
               relevant considerations, including:

                       1.      The defendant’s willingness to cooperate in the
                       investigation or prosecution of others;

                       2.      The defendant’s history with respect to criminal
                       activity;

                       3.     The nature and seriousness of the offense or offenses
                       charged;

                       4.     The defendant’s remorse or contrition and his/her
                       willingness to assume responsibility for his/her conduct;

                       5.      The desirability of prompt and certain disposition of
                       the case;

                       6.     The likelihood of obtaining a conviction at trial;

                       7.     The probable effect on witnesses;

                       8.     The probable sentence or other consequences if the
                       defendant is convicted;

                       9.      The public interest in having the case tried rather
                       than disposed of by a guilty plea;

                       10.    The expense of trial and appeal;

                       11.    The need to avoid delay in the disposition of other
                       pending cases; and

                       12.    The effect upon the victim’s right to restitution.

               4.      USAM Provisions Relating to Non-Prosecution Agreements

       USAM § 9-27.600 authorizes government attorneys to enter into a non-prosecution
agreement in exchange for a person’s cooperation. The provision explains that a non-prosecution
agreement is appropriate for this purpose when, in the prosecutor’s judgment, the person’s timely
cooperation “appears to be necessary to the public interest and other means of obtaining the desired
cooperation are unavailable or would not be effective.” A comment to this provision explains that
such “other means” include seeking cooperation after trial and conviction, bargaining for

                                                124
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 151 of 348




cooperation as part of a plea agreement, or compelling cooperation under a “use immunity” order.
The comment observes that these alternative means “are clearly preferable to permitting an
offender to avoid any liability for his/her conduct” and “should be given serious consideration in
the first instance.” USAM §§ 9-27.620 and 9-27.630 set forth considerations a prosecutor should
take into account when entering into a non-prosecution agreement. Generally, the U.S. Attorney
has authority to approve a non-prosecution agreement. USAM § 9-27.600 comment. However,
USAM § 9-27.640 directs that a government attorney should not enter into a non-prosecution
agreement in exchange for a person’s cooperation without first obtaining the approval of the
appropriate Assistant Attorney General, or his or her designee, when the person is someone who
“is likely to become of major public interest.”

       These USAM provisions do not address the uses of non-prosecution agreements in
circumstances other than when needed to obtain cooperation.

               5.      USAM Provisions Relating to Grants of Immunity

        Nothing in the USAM directly prohibits the government from using the criminal exposure
of third parties in negotiating with a criminal defendant. Instead, the provision that addresses
immunity relates only to the exchange of limited immunity for the testimony of a witness who has
asserted a Fifth Amendment privilege against self-incrimination. See USAM §§ 9-23.100 et seq.

               6.      USAM/C.F.R. Provisions Relating to Financial Conflicts of Interest

        Department employees are expected to be aware of, and to comply with, all ethics-related
laws, rules, regulations, and policies. See, generally, USAM § 1-4.000 et seq. Specifically, a
government attorney is prohibited by criminal statute from participating personally and
substantially in any particular matter in which he has a financial interest or in which such an
interest can be imputed to him. See 18 U.S.C. § 208 and 5 C.F.R. §§ 2635.401-402. In addition,
a Department employee should seek advice from an ethics official before participating in any
matter in which his impartiality could be questioned. If a conflict of interest exists, in order for
the employee to participate in the matter, the head of the employee’s component, with the
concurrence of an ethics official, must make a determination that the interest of the government in
the employee’s participation outweighs the concern that a reasonable person may question the
integrity of the Department’s programs and operations. The determination must be made in
writing. See 5 C.F.R. §§ 2635.501-502.

       B.      Other Department Policies

               1.      Department Policies Relating to the Disposition of Charges

       The Attorney General has the responsibility for establishing prosecutorial priorities for the
Department. Over the span of several decades, each successive Attorney General has articulated
those priorities in policy memoranda issued to all federal prosecutors. As applicable here, on
September 22, 2003, Attorney General John Ashcroft issued a memorandum regarding
“Department Policy Concerning Charging Criminal Offenses, Disposition of Charges, and
Sentencing” (Ashcroft Memo). The Ashcroft Memo, which explicitly superseded all previous
Departmental guidance on the subject, set forth policies “designed to ensure that all federal

                                                125
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 152 of 348




prosecutors adhere to the principles and objectives” of the Sentencing Reform Act of 1984, the
Sentencing Guidelines, and the PROTECT Act “in their charging, case disposition, and sentencing
practices.” 195

        The Ashcroft Memo directed that, “in all federal cases, federal prosecutors must charge
and pursue the most serious, readily provable offense or offenses that are supported by the facts of
the case,” except as authorized by an Assistant Attorney General, U.S. Attorney, or designated
supervisory authority in certain articulated limited circumstances. The Ashcroft Memo cautioned
that a charge is not “readily provable” if the prosecutor harbors a good faith doubt, based on either
the law or the evidence, as to the government’s ability to prove the charge at trial. The Ashcroft
Memo explains that the “basic policy” “requires federal prosecutors to charge and pursue all
charges that are determined to be readily provable” and would yield the most substantial sentence
under the Sentencing Guidelines.

        The policy set forth six exceptions, including a catch-all exception that permits a prosecutor
to decline to pursue readily provable charges “in other exceptional circumstances” with the written
or otherwise documented approval of an Assistant Attorney General, U.S. Attorney, or “designated
supervisory attorney.” As examples of circumstances in which such declination would be
appropriate, the Ashcroft Memo cites to situations in which a U.S. Attorney’s Office is
“particularly over-burdened,” the trial is expected to be of exceptionally long duration, and
proceeding to trial would significantly reduce the total number of cases the office could resolve.
The Ashcroft Memo specifically notes that “[c]harges may be declined . . . pursuant to a plea
agreement only to the extent consistent” with the policies established by the Memo.

        On January 28, 2005, Deputy Attorney General James Comey issued a memorandum
entitled “Department Policies and Procedures Concerning Sentencing.” That memorandum
reiterated that federal prosecutors “must continue to charge and pursue the most serious readily
provable offenses,” and defined that term as the offenses that would “generate the most substantial
sentence” under the Sentencing Guidelines, any applicable mandatory minimum, and any
statutorily required consecutive sentence.

       Importantly, although the Ashcroft and Comey memoranda limit an individual line
prosecutor’s ability to decline “readily provable” charges in their entirety, no such restriction is
placed upon the U.S. Attorneys, who retained authority to approve exceptions to the policy. In
addition, the policy applies to “readily provable” charges, thus inherently allowing a prosecutor



195
         The Ashcroft Memo was issued before the Supreme Court decided United States v. Booker, 543 U.S. 220
(2005), which struck down the provision of the federal sentencing statute that required federal district judges to impose
a sentence within the applicable Federal Sentencing Guidelines range. Those Guidelines were the product of
the United States Sentencing Commission, which was created by the Sentencing Reform Act of 1984. The
Prosecutorial Remedies and Other Tools to End the Exploitation of Children Today (PROTECT) Act of 2003, Pub.
L. 108–21, 117 Stat. 650, was directed at preventing child abuse. It included a variety of provisions designed to
improve the investigation and prosecution of violent crimes against children. Among other things, the PROTECT Act
provided for specific sentencing considerations for certain sex-related offenses, such as those involving multiple
occasions of prohibited sexual conduct or those involving material with depictions of violence or with specified
numbers of images.


                                                          126
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 153 of 348




flexibility to decline to bring a particular charge based on a “good faith doubt” that the law or
evidence supports the charge.

                  2.       Department Policy Relating to Deportation of Criminal Aliens

        On April 28, 1995, the Attorney General issued a memorandum to all federal prosecutors
entitled “Deportation of Criminal Aliens,” directing federal prosecutors to actively and directly
become involved in the process of removing criminal aliens from the United States. In pertinent
part, this memorandum notes that prosecutors can make a major contribution to the expeditious
deportation of criminal aliens by effectively using available prosecution tools for dealing with
alien defendants. These tools include (1) stipulated administrative deportation orders in
connection with plea agreements; (2) deportation as a condition of supervised release under
18 U.S.C. § 3853(d); and (3) judicial deportation orders pursuant to 8 U.S.C. § 1252a(d). The
memorandum further directs:

                  All deportable criminal aliens should be deported unless
                  extraordinary circumstances exist. Accordingly, absent such
                  circumstances, Federal prosecutors should seek the deportation of
                  deportable alien defendants in whatever manner is deemed most
                  appropriate in a particular case. Exceptions to this policy must have
                  the written approval of the United States Attorney.

See also USAM § 9-73.520. A “criminal alien” is a foreign national who has been convicted of a
crime. 196

        Stipulated administrative deportation orders can be based “on the conviction for an offense
to which the alien will plead guilty,” provided that the offense is one of those enumerated in
8 U.S.C. § 1251 as an offense that causes an alien to be deported. Under 8 U.S.C.
§ 1251(a)(2)(A)(i), any alien who is convicted of a crime of “moral turpitude” within five years
after the date of entry (or 10 years in the case of an alien provided lawful permanent resident
status), and is either sentenced to confinement or confined to prison for one year or longer, is
deportable.

         C.       Case Law

                  1.       Prosecutorial Discretion

        On many occasions, the Supreme Court has discussed the breadth of the prosecutor’s
discretion in deciding whether and whom to prosecute. In Bordenkircher v. Hayes, 434 U.S. 357
(1978), the Court considered the propriety of a prosecutor’s threat during plea negotiations to seek
more serious charges against the accused if the accused did not plead guilty to the offense
originally charged. The defendant, Hayes, opted not to plead guilty to the original offense, and
196
           According to the U.S. Customs and Border Protection, “The term ‘criminal alien’ refers to aliens who have
been convicted of one or more crimes, whether in the United States or abroad, prior to interdiction by the U.S. Border
Patrol.” See U.S. Dept. of Homeland Security, U.S. Customs and Border Protection, CBP Enforcement Statistics,
Criminal Alien Statistics Fiscal Year 2020, available at https://www.cbp.gov/newsroom/stats/cbp-enforcement-
statistics/criminal-alien-statistics.


                                                        127
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 154 of 348




the prosecutor indicted him on more serious charges. Hayes was thereafter convicted and
sentenced under the new indictment. The state court of appeals rejected Hayes’s challenge to his
conviction, concluding that the prosecutor’s decision to indict on more serious charges was a
legitimate use of available leverage in the plea-bargaining process. Hayes filed for review of his
conviction and sentence in federal court, and although Hayes lost at the district court level, the
U.S. Court of Appeals for the Sixth Circuit concluded that the prosecutor’s conduct constituted
impermissible vindictive prosecution.

        The Supreme Court reversed the Sixth Circuit’s ruling. The Court opined that “acceptance
of the basic legitimacy of plea bargaining necessarily implies rejection of any notion that a guilty
plea is involuntary in a constitutional sense simply because it is the end result of the bargaining
process.” Id. at 363. A long as the prosecutor has probable cause to believe a crime has been
committed, “the decision whether or not to prosecute, and what charge to file or bring before a
grand jury, rests entirely in his discretion.” Id. at 364 (emphasis added). The Court explained that
selectivity in enforcement of the criminal law is not improper unless based upon an unjustifiable
standard such as race, religion, or other arbitrary classification. Id.

        These principles were reiterated in Wayte v. United States, 470 U.S. 598 (1985), a case
involving the government’s policy of prosecuting only those individuals who reported themselves
as having failed to register with the Selective Service system. The petitioner in Wayte claimed
that the self-reported non-registrants were “vocal” opponents of the registration program who were
being punished for the exercise of their First Amendment rights. The Supreme Court rejected this
argument, stating that the government has “broad discretion” in deciding whom to prosecute, and
that the limits of that discretion are reached only when the prosecutor’s decision is based on an
unjustifiable standard. Id. at 607-08. Because the passive enforcement policy was not intended to
have a discriminatory effect, the claim of selective prosecution failed.

        In Imbler v. Pachtman, 424 U.S. 409 (1976), the Supreme Court considered whether a state
prosecutor acting within the scope of his duties could be sued under 42 U.S.C. § 1983 for violation
of the defendant’s constitutional rights when the defendant alleged that the prosecutor and others
had unlawfully conspired to charge and convict him. The Court held that “in initiating a
prosecution and in presenting the State’s case,” conduct that is “intimately associated with the
judicial phase of the criminal process,” the prosecutor enjoyed absolute immunity from a civil suit
for damages. Id. at 430-31. In Harrington v. Almy, 977 F.2d 37 (1st Cir. 1992), the court applied
Imbler to a challenge to a prosecutor’s decision not to prosecute. The court noted that “given the
availability of immunity for the decision to charge, it becomes even more important that
symmetrical protection be available for the decision not to charge.” Id. at 41 (emphasis in
original).

       Finally, in an analogous area of the law, in Heckler v. Chaney, 470 U.S. 821 (1985), the
Supreme Court concluded that an agency’s decision not to undertake an enforcement action is not
reviewable under the federal Administrative Procedure Act, 5 U.S.C. §§ 500-706.

               2.      Plea Agreement Promises of Leniency towards a Third Party

        Case law regarding promises made during plea negotiations not to prosecute a third-party
arises in two contexts. First, defendants have challenged the voluntariness of the resulting plea

                                                128
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 155 of 348




when prosecutors have used third parties as leverage in plea negotiations. Numerous courts have
made clear, however, that a plea is not invalid when entered under an agreement that includes a
promise of leniency towards a third party or in response to a prosecutor’s threat to prosecute a third
party if a plea is not entered. See, e.g., United States v. Marquez, 909 F.2d 738, 741-42 (2d Cir.
1990) (rejecting claim that plea was involuntary because of pressure placed upon a defendant by
the government’s insistence that a defendant’s wife would not be offered a plea bargain unless he
pled guilty); Martin v. Kemp, 760 F.2d 1244, 1248 (11th Cir. 1985) (in order to satisfy “heavy
burden” of establishing that the government had not acted “in good faith,” a defendant challenging
voluntariness of his plea on grounds that the prosecutor had threatened to bring charges against
the defendant’s pregnant wife had to establish that government lacked probable cause to believe
the defendant’s wife had committed a crime at the time it threatened to charge her); Stinson v.
State, 839 So. 2d 906, 909 (Fla. App. 2003) (“In cases involving . . . a promise not to prosecute a
third party, the government must act in good faith . . . [and] must have probable cause to charge
the third party.”).

        The second context concerns situations in which courts have enforced prosecutors’
promises of leniency to third parties. For example, in State v. Frazier, 697 So. 2d 944 (Fla. App.
1997), as consideration for the defendant’s guilty plea, the prosecutor agreed and announced in
open court that the government would dismiss charges against the defendant’s niece and nephew,
who had all been charged as a result of the same incident. When the state reneged and attempted
to prosecute the niece and nephew, the trial court dismissed the charges against them, and the state
appealed. The appellate court affirmed the dismissal, concluding that under contract law
principles, the niece and nephew were third-party beneficiaries of the plea agreement and were
therefore entitled to enforce it.

       Apart from voluntariness or enforceability concerns, courts have not suggested that a
prosecutor’s promise not to prosecute a third party amounts to an inappropriate exercise of
prosecutorial discretion.

       D.      State Bar Rules

        During the period relevant to this Report, the five subject attorneys were members of the
bar in several different states and were subject to the rules of professional conduct in each state in
which they held membership. 197 In determining which rules apply, OPR applied the local rules of
the U.S. District Court for the Southern District of Florida (Local Rules) and the choice-of-law
provisions of each applicable bar. Local Rule 11.1(f) incorporates rules governing the admission,
practice, peer review, and discipline of attorneys (Attorney Admission Rules). 198 Attorney
Admission Rule 4(d) provides that any U.S. Attorney or AUSA employed full-time by the
government may appear and participate in particular actions or proceedings on behalf of the United
States in the attorney’s official capacity without petition for admission. Any attorney so appearing




197
       The subjects’ membership in state bars other than Florida would not affect OPR’s conclusions in this case.
198
       These rules have been in effect since December 1994.


                                                      129
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 156 of 348




is subject to all rules of the court. 199 Attorney Admission Rule 6(b)(2)(A) makes clear that
attorneys practicing before the court are subject to the Florida Bar’s Rules of Professional Conduct
(FRPC). Moreover, the choice-of-law provisions contained within the relevant state’s rules of
professional conduct make the FRPC applicable to their conduct.

                 1.       FRPC 4-1.1 – Competence

        FRPC 4-1.1 requires that a lawyer provide competent representation to a client. 200
Competent representation requires the legal knowledge, skill, thoroughness, and preparation
reasonably necessary for the representation. A comment to the rule clarifies that the factors
relevant to determining a lawyer’s competence to handle a particular matter include “the relative
complexity and specialized nature of the matter, the lawyer’s general experience, the lawyer’s
training and experience in the field in question, the preparation and study the lawyer is able to give
the matter, and whether it is feasible to refer the matter to, or associate or consult with, a lawyer
of established competence in the field.” The comment further notes that “[i]n many instances the
required proficiency is that of a general practitioner.” With respect to particular matters,
competence requires inquiry into and analysis of the factual and legal elements of the problem.
The comment to Rule 4-1.1 explains that “[t]he required attention and preparation are determined
in part by what is at stake; major litigation and complex transactions ordinarily require more
extensive treatment than matters of lesser complexity and consequence.”

                 2.       FRPC 4-1.3 – Diligence

        FRPC 4-1.3 specifies that a lawyer should act with reasonable diligence and promptness in
representing a client. A comment to this rule explains, “A lawyer should pursue a matter on behalf
of a client despite opposition, obstruction, or personal inconvenience to the lawyer and take
whatever lawful and ethical measures are required to vindicate a client’s cause or endeavor.” A
lawyer must exercise “zeal” in advocating for the client, but is not required “to press for every
advantage that might be realized for a client.”

                 3.       FRPC 4-4.1 – Candor in Dealing with Others

       FRPC 4-4.1 prohibits a lawyer from knowingly making a false statement of material fact
or law to a third person during the course of representation of a client. A comment to this rule
explains that “[m]isrepresentations can also occur by partially true but misleading statements or
omissions that are the equivalent of affirmative false statements,” and “[w]hether a particular
statement should be regarded as one of fact can depend on the circumstances.”




199
         See also 28 U.S.C. § 530B(a), providing that government attorneys are subject to state laws and state and
local federal court rules governing attorneys in each state where the government attorney engages in his duties.
200
         The federal prosecutor does not have an individual “client,” but rather represents the people of the United
States. See generally 28 U.S.C. § 547 (duties of U.S. Attorney); 28 C.F.R. § 0.5(b) (the Attorney General represents
the United States in legal matters).


                                                       130
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 157 of 348




                  4.       FRPC 4-8.4 – Conduct Prejudicial to the Administration of Justice

        FRPC 4-8.4(c) states that a lawyer shall not engage in conduct involving dishonesty, fraud,
deceit, or misrepresentation.

        FRPC 4-8.4(d) prohibits a lawyer from engaging in conduct in connection with the practice
of law that is prejudicial to the administration of justice.

        In Florida Bar v. Frederick, 756 So. 2d 79, 87 (Fla. 2000), the court noted that FRPC
4-8.4(d) is not limited to conduct that occurs in a judicial proceeding, but can be applied to
“conduct in connection with the practice of law.” In Florida Bar v. Shankman, 41 So. 3d 166, 172
(Fla. 2010), for example, an attorney’s continuous hiring and firing of firms to assist in the client’s
matter resulted in delayed resolution of the case and constituted a violation of FRPC 4-8.4(d) due
to the delay in the administration of justice and the increased costs to the client. 201




201
          OPR also examined FRPC 4-3.8, Special Responsibilities of a Prosecutor. Nothing in the text of that rule,
however, was relevant to the issues addressed in this Report. A comment to FRPC Rule 4-3.8 notes that Florida has
adopted the American Bar Association (ABA) Standards of Criminal Justice Relating to the Prosecution Function.
These “standards,” however, are not binding rules of conduct but rather provide guidance to prosecutors. Indeed, the
ABA has expressly stated that these standards “are not intended to serve as the basis for the imposition of professional
discipline, to create substantive or procedural rights for accused or convicted persons, to create a standard of care for
civil liability, or to serve as a predicate for a motion to suppress evidence or dismiss a charge.” OPR does not consider
the ABA standards as binding on the conduct of Department prosecutors.


                                                          131
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 158 of 348




                   [Page Intentionally Left Blank]




                                132
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 159 of 348




                                       CHAPTER TWO
                                  PART THREE: ANALYSIS


I.     OVERVIEW

        Following the Miami Herald report in November 2018, media scrutiny of and public
attention to the USAO’s handling of its Epstein investigation has continued unabated. At the heart
of the public’s concern is the perception that Epstein’s 18-month sentence, which resulted in a 13-
month term of actual incarceration, was too lenient and inadequately punished Epstein’s criminal
conduct. Although many records have been released as part of civil litigation stemming from
Epstein’s conduct, the public has received only limited information regarding the decision-making
process leading to the signed NPA. As a result, questions have arisen about Acosta and his staff’s
motivations for entering into the NPA. Publicly released communications between prosecutors
and defense counsel, the leniency of the sentence, and an unusual non-prosecution provision in the
NPA have led to allegations that Acosta and the USAO gave Epstein a “sweetheart deal” because
they were motivated by improper influences, such as their preexisting and personal relationships
with his attorneys, or even corrupt influences, such as the receipt of personal benefits from Epstein.

        Through its investigation, OPR has sought to answer the following core questions: (1) who
was responsible for the decision to resolve the federal investigation through the NPA and for its
specific terms; (2) did the NPA or any of its provisions violate Department policies or other rules
or regulations; and (3) were any of the subjects motivated to resolve the federal investigation by
improper factors, such as corruption or favoritism. To the extent that available records and witness
interviews shed light on these questions, OPR shows in detail the process that led to the NPA, from
the initial complaint to the USAO through the intense and often confusing negotiation process.
After a thorough and detailed examination of thousands of contemporaneous records and extensive
interviews of subjects and witnesses, OPR is able to answer most of the significant questions
concerning the NPA’s origins and development. Although some questions remain, OPR sets forth
its conclusions and the bases for them in this Part.

II.    ACOSTA REVIEWED AND APPROVED THE TERMS OF THE NPA AND IS
       ACCOUNTABLE FOR IT

        Although Acosta did not sign the NPA, he approved it, with knowledge of its terms. He
revised drafts of the NPA and added language that he thought appropriate. Acosta told OPR that
he either was informed of, or had access to information concerning, the underlying facts of the
case against Epstein. OPR did not find any evidence suggesting that any of his subordinates misled
him about the facts or withheld information that would have influenced his decision, and Acosta
did not make such a claim to OPR. As Acosta affirmed in his OPR interview, the “three pronged
resolution, two years . . . , registration and restitution, . . . ultimately that was approved on my
authority. . . . [U]ltimately, I approved it, and so, I . . . accept that. I’m not . . . pushing away
responsibility for it.”

      In making its misconduct assessments, OPR considers the conduct of subjects individually.
Menchel, Sloman, Lourie, and Villafaña were involved in the matter to varying degrees, at

                                                 133
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 160 of 348




different points in time, and regarding different decisions. Menchel, for example, participated in
formulating the USAO’s initial written offer to the defense, but he had no involvement with actions
or decisions made after August 3, 2007. Sloman was absent during part of the most intense
negotiations in September 2007 and did not see the final, signed version of the NPA until he
returned. Villafaña and Lourie participated in the negotiations, and Lourie either made decisions
during the September 12, 2007 meeting with the defense and State Attorney’s Office, or at least
indicated agreement pending Acosta’s approval. In any event, whatever the level of Sloman’s,
Menchel’s, Lourie’s, and Villafaña’s involvement, they acted with the knowledge and approval of
Acosta.

        Under OPR’s analytical framework, an attorney who makes a good faith attempt to
ascertain the obligations and standards imposed on the attorney and to comply with them in a given
situation does not commit professional misconduct. Evidence that an attorney made a good faith
attempt to ascertain and comply with the obligations and standards imposed can include, but is not
limited to, the fact that the attorney consulted with a supervisor. 202 In this regard, OPR’s
framework is similar to a standard provision of the professional conduct rules of most state bars,
which specify that a subordinate lawyer does not engage in misconduct if that lawyer acts in
accordance with a supervisory lawyer’s reasonable resolution of an arguable question of
professional duty. See, e.g., FRPC 4-5.2(b). Therefore, in addition to the fact that OPR did not
find a violation of a clear and unambiguous standard as discussed below, OPR concludes that
Menchel, Sloman, Lourie, and Villafaña did not commit professional misconduct with respect to
any aspect of the NPA because they acted under Acosta’s direction and with his approval.

III.     OPR FOUND THAT NONE OF THE SUBJECTS VIOLATED A CLEAR AND
         UNAMBIGUOUS STATUTE, PROFESSIONAL RESPONSIBILITY RULE OR
         STANDARD, OR DEPARTMENT REGULATION OR POLICY, IN
         NEGOTIATING, APPROVING, OR ENTERING INTO THE NPA

        A central issue OPR addressed in its investigation relating to the NPA was whether any of
the subjects, in developing, negotiating, or entering into the NPA, violated any clear and
unambiguous standard established by rule, regulation, or policy. OPR does not find professional
misconduct unless a subject attorney intentionally or recklessly violated a clear and unambiguous
standard. OPR considered three specific areas: (1) standards implicated by the decision to decline
a federal court prosecution; (2) standards implicated by the decision to resolve the federal
investigation through a non-prosecution agreement; and (3) standards implicated by any of the
NPA’s provisions, including the promise not to prosecute unidentified third parties. As discussed
below, OPR concludes that in each area, and in the absence of evidence establishing that his
decisions were based on corrupt or improper influences, the U.S. Attorney possessed broad
discretionary authority to proceed as he saw fit, authority that he could delegate to subordinates,
and that Acosta’s exercise of his discretionary authority did not breach any clear and unambiguous
standard. As a result, OPR concludes that none of the subject attorneys violated a clear and



202
         The failure to fully advise a supervisor of relevant and material facts can warrant a finding that the subordinate
attorney has not acted in “good faith.” OPR did not find evidence supporting such a conclusion here, and Acosta did
not claim that he was unaware of material facts needed to make his decision.


                                                           134
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 161 of 348




unambiguous standard or engaged in professional misconduct in developing, negotiating, or
entering into the NPA, including its addendum.

         A.       U.S. Attorneys Have Broad Discretion to Resolve Investigations or Cases as
                  They Deem Appropriate, and Acosta’s Decision to Decline to Prosecute
                  Epstein Federally Does Not Constitute Professional Misconduct

        The U.S. Attorneys exercise broad discretion in enforcing the nation’s criminal laws.203
As a general matter, federal prosecutors “are designated by statute as the President’s delegates to
help him discharge his constitutional responsibility to ‘take Care that the Laws be faithfully
executed.’” United States v. Armstrong, 517 U.S. 456, 464 (1996) (quoting U.S. Const. art. II,
§ 3). Unless based on an impermissible standard such as race, religion, or other arbitrary
classification, a prosecutor’s charging decisions—including declinations—are not dictated by law
or statute and are not subject to judicial review. See United States v. LaBonte, 520 U.S. 751, 762
(1997) (“Such discretion is an integral feature of the criminal justice system, and is appropriate,
so long as it is not based upon improper factors.”).

        Department policy guidance in effect at the time the USAO was handling the Epstein case
helped ensure “the reasoned exercise of prosecutorial authority,” but did not require “a particular
prosecutorial decision in any given case.” USAM §§ 9-27.001, 9-27.120 (comment). Rather than
mandating specific actions, the USAM identified considerations that should factor into a
prosecutor’s charging decisions, including that the defendant was “subject to effective prosecution
in another jurisdiction.” USAM § 9-27.220. Importantly, U.S. Attorneys had “plenary authority
with regard to federal criminal matters” and could modify or depart from the principles set forth
in the USAM as deemed necessary in the interest of fair and effective law enforcement within their
individual judicial districts. USAM §§ 9-2.001, 9-27.140. As stated in the USAM, “[t]he United
States Attorney is invested by statute and delegation from the Attorney General with the broadest
discretion in the exercise of such [prosecutive] authority,” which includes the authority to decline
prosecution. USAM § 9-2.001.

        In addition, the USAM contemplated that federal prosecutors would sometimes decline
federal prosecution in deference to a state prosecution of the same conduct and provided guidance
in the form of factors to be considered in making the decision, including the strength of the other
jurisdiction’s interest in prosecution, the other jurisdiction’s ability and willingness to prosecute
effectively, and the probable sentence or other consequences if the person is convicted in the other
jurisdiction. USAM § 9-27.240. 204 A comment to this provision stated that the factors are
“illustrative only, and the attorney for the government should also consider any others that appear
relevant to hi[m]/her in a particular case.”



203
        See, e.g., Wayte, 470 U.S. at 607; United States v. Goodwin, 457 U.S. 368, 380 n.11 (1982);
Bordenkircher, 434 U.S. at 364; Imbler, 424 U.S. 409.
204
          The discretionary authority under USAM § 9-27.240 to defer prosecution in favor of another jurisdiction is
distinct from the Petite policy, which establishes guidelines for the exercise of discretion in determining whether to
bring a federal prosecution based on conduct substantially the same as that involved in a prior state or federal
proceeding. See USAM § 9-2.031.


                                                        135
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 162 of 348




        As the U.S. Attorney, and in the absence of evidence establishing that his decision was
motivated by improper factors, Acosta had the “plenary authority” under federal law and under the
USAM to resolve the case as he deemed necessary and appropriate. As discussed in detail below,
OPR did not find evidence establishing that Acosta, or the other subjects, were motivated or
influenced by improper considerations. Because no clear and unambiguous standard required
Acosta to indict Epstein on federal charges or prohibited his decision to defer prosecution to the
state, OPR does not find misconduct based on Acosta’s decision to decline to initiate a federal
prosecution of Epstein.

        B.       No Clear and Unambiguous Standard Precluded Acosta’s Use of a
                 Non-Prosecution Agreement to Resolve the Federal Investigation of Epstein

       OPR found no statute or Department policy that was violated by Acosta’s decision to
resolve the federal investigation of Epstein through a non-prosecution agreement.

        The prosecutor’s broad charging discretion includes the option of resolving a case through
a non-prosecution agreement or a related and similar mechanism, a deferred prosecution
agreement. United States v. Fokker Servs. B.V., 818 F.3d 733 (D.C. Cir. 2016). These agreements
“afford a middle-ground option to the prosecution when, for example, it believes that a criminal
conviction may be difficult to obtain or may result in unwanted collateral consequences for a
defendant or third parties, but also believes that the defendant should not evade accountability
altogether.” Id. at 738. As with all prosecutorial charging decisions, the choice to resolve a case
through a non-prosecution agreement or a deferred prosecution agreement “resides fundamentally
with the Executive” branch. Id. at 741.

       OPR found no clear and unambiguous standard in the USAM prohibiting the use of a non-
prosecution agreement in the circumstances presented in Epstein’s case. The USAM specifically
authorized and provided guidance regarding non-prosecution agreements or deferred prosecution
agreements made in exchange for a person’s timely cooperation when such cooperation would put
the person in potential criminal jeopardy and when alternatives to full immunity (such as
testimonial immunity) were “impossible or impracticable.” USAM § 9-27.600 (comment). 205 The
“cooperation” contemplated was cooperation in the criminal investigation or prosecution of
another person. In certain circumstances, government attorneys were required to obtain approval
from the appropriate Assistant Attorney General before entering into a non-prosecution agreement
in exchange for cooperation.

        Epstein, however, was not providing “cooperation” as contemplated by the USAM, and the
USAM was silent as to whether a prosecutor could use a non-prosecution agreement in
circumstances other than in exchange for cooperation in the investigation or prosecution of
another. Notably, although the USAM provided guidance and approval requirements in cases
involving cooperation, the USAM did not prohibit the use of a non-prosecution agreement in other
situations. Accordingly, OPR concludes that the USAM did not establish a clear and unambiguous
obligation prohibiting Acosta from ending the federal investigation through a non-prosecution

205
         USAM § 9-27.650 required that non-prosecution agreements in exchange for cooperation be fully
memorialized in writing. Although this requirement was not applicable for the reasons given above, the NPA complied
by fully memorializing the terms of the agreement.


                                                       136
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 163 of 348




agreement that did not require Epstein’s cooperation nor did the USAM require Acosta to obtain
Departmental approval before doing so.

         C.       The NPA’s Individual Provisions Did Not Violate Any Clear and
                  Unambiguous Standards

        Although Acosta, as U.S. Attorney, had discretion generally to resolve the case through a
non-prosecution agreement that deferred prosecution to the state, OPR also considered whether a
clear and unambiguous standard governed any of the individual provisions of the NPA.
Specifically, OPR examined Acosta’s decision to permit Epstein to resolve the federal
investigation by pleading guilty to state charges of solicitation of minors to engage in prostitution
and solicitation to prostitution, with a joint, binding recommendation for an 18-month sentence of
incarceration. Because, as noted above, OPR found no clear guidance applicable to non-
prosecution agreements not involving cooperation, OPR examined Departmental policies relating
to plea offers to assess the propriety of the NPA’s charge and sentence requirements. OPR also
examined the provision declining to prosecute Epstein’s unidentified “potential co-conspirators,”
to determine whether that provision violated Departmental policy regarding grants of immunity.
Finally, OPR considered whether there was a clear and unambiguous obligation under the
Department’s policy regarding the deportation of criminal aliens, which would have required
further action to be taken against the two Epstein assistants who were foreign nationals.

       After considering the applicable rules and policies, OPR finds that Acosta’s decision to
resolve the federal investigation through the NPA did not violate any clear and unambiguous
standards and that Acosta had the authority to resolve the federal investigation through a state plea
and through the terms that he chose. Accordingly, OPR concludes that Acosta did not commit
professional misconduct in developing, negotiating, or approving the NPA, nor did the other
subjects who implemented his decisions with respect to the resolution. 206

                  1.       Acosta Had Authority to Approve an Agreement That Required
                           Epstein to Plead to Offenses Resulting in an 18-Month Term of
                           Incarceration

        Federal prosecutors have discretion to resolve a pending case or investigation through a
plea agreement, including a plea that calls for the imposition of a specific, predetermined sentence.
USAM §§ 9-27.330, 9-27.400; see also Federal Rule of Criminal Procedure 11(c)(1).

206
          OPR also considered whether Acosta, Sloman, Menchel, Lourie, or Villafaña failed to comply with
professional ethics standards requiring that attorneys exercise competence and diligence in their representation of a
client. Attorneys have a duty to provide competent, diligent representation to their clients, which generally requires
the legal knowledge, skill, thoroughness, and preparation reasonably necessary for the representation. See, e.g., FRPC
4-1.1, 4-1.3. The requirement of diligence obligates an attorney to exercise “zeal” in advocating for the client, but
does not require the attorney “to press for every advantage that might be realized for a client.” See FRPC 4-1.3
(comment). Although OPR criticizes certain decisions made during the USAO’s investigation of Epstein, those
decisions, even if flawed, did not violate the standard requiring the exercise of competence or diligence. The subjects
exhibited sufficient knowledge, skill, preparation, thoroughness, and zeal during the federal investigation and the NPA
negotiations to satisfy the general standards established by the professional responsibility rules. An attorney may
attain a flawed result but still exercise sufficient competence and diligence throughout the representation to meet the
requirements of the standard.


                                                         137
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 164 of 348




Longstanding Department policy directs prosecutors to require the defendant to plead to the most
serious readily provable charge consistent with the nature and extent of the defendant’s criminal
conduct, that has an adequate factual basis, is likely to result in a sustainable conviction, makes
likely the imposition of an appropriate sentence and restitution order, and does not adversely affect
the investigation or prosecution of others. See USAM §§ 9-27.430, 9-27-300, 9-27.400
(comment). The genesis of this policy, the Ashcroft Memo, specifically requires federal
prosecutors to charge and pursue all readily provable charges that would yield the most substantial
sentence under the Sentencing Guidelines. However, the Ashcroft Memo articulates an important
exception: a U.S. Attorney or a “designated supervisory attorney” may authorize a plea that does
not comport with this policy. 207 Moreover, the Ashcroft Memo explains that a charge is not
“readily provable” if the prosecutor harbors “a good faith doubt,” based on either the law or the
evidence, as to the government’s ability to prove the charge at trial.

        By its plain terms, the NPA arguably does not appear to satisfy the “most serious readily
provable charge” requirement. The draft indictment prepared by Villafaña proposed charging
Epstein with a variety of federal crimes relating to sexual conduct with and trafficking of minors,
and Epstein’s sentencing exposure under the federal guidelines was in the range of 168 to 210
months’ imprisonment. The original “term sheet” presented to the defense proposed a “non-
negotiable” requirement that Epstein plead guilty to three state offenses, in addition to the original
state indictment, with a joint, binding recommendation for a two-year term of incarceration.
Instead, Epstein was permitted to resolve his federal criminal exposure with a plea to the state
indictment and only one additional state offense, and an 18-month sentence.

       As discussed more fully later in this Report, Acosta, Sloman, Menchel, and Lourie
perceived risks to going forward to trial on the federal charges Villafaña outlined in the prosecution
memorandum and identified for OPR concerns with both the evidence and legal theories on which
a federal prosecution would be premised. On the other hand, Villafaña felt strongly that federal
charges should be brought, and the CEOS Chief reviewed the prosecution memorandum and twice
opined that the charges were appropriate. OPR found it unnecessary to resolve the question
whether federal charges against Epstein were readily provable, however, because Acosta had

207
        In addition to specified “Limited Exceptions,” this authorization is available in “Other Exceptional
Circumstances,” as follows:

                Prosecutors may decline to pursue or may dismiss readily provable charges in
                other exceptional circumstances with the written or otherwise documented
                approval of an Assistant Attorney General, United States Attorney, or designated
                supervisory attorney. This exception recognizes that the aims of the Sentencing
                Reform Act must be sought without ignoring the practical limitations of the
                federal criminal justice system. For example, a case-specific approval to dismiss
                charges in a particular case might be given because the United States Attorney’s
                Office is particularly over-burdened, the duration of the trial would be
                exceptionally long, and proceeding to trial would significantly reduce the total
                number of cases disposed of by the office. However, such case-by-case
                exceptions should be rare; otherwise the goals of fairness and equity will be
                jeopardized.

Ashcroft Memo at § I.B.6. See also USAM §§ 9-2.001 and 27.140 (U.S. Attorneys’ authority to depart from the
USAM).


                                                      138
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 165 of 348




authority to deviate from the Ashcroft Memo’s “most serious readily provable offense”
requirement.

        Although Acosta could not recall specifically how or by whom the decision was made to
allow Epstein to plead to only one of the three charges identified on the original term sheet, or how
or by whom the decision was made to reduce the sentencing requirement from two years to 18
months, Acosta was aware of these changes. He reviewed and approved the final NPA before it
was signed. Department policy gave him the discretion to approve the agreement, notwithstanding
any arguable failure to comply with the “most serious readily provable offense” requirement.
Furthermore, the Ashcroft Memo does not appear to preclude a U.S. Attorney from deferring to a
state prosecution, so it is not clear that the Memo’s terms apply to a situation involving state
charges. Accordingly, OPR concludes that the negotiation of an agreement that allowed Epstein
to resolve the federal investigation in return for the imposition of an 18-month state sentence did
not violate a clear and unambiguous standard and therefore does not constitute professional
misconduct.

               2.      The USAO’s Agreement Not to Prosecute Unidentified “Potential
                       Co-Conspirators” Did Not Violate a Clear and Unambiguous
                       Department Policy

        Several witnesses told OPR that they believed the government’s agreement not to prosecute
unidentified “potential co-conspirators” amounted to “transactional immunity,” which the
witnesses asserted is prohibited by Department policy. Although “use immunity” protects a
witness only against the government’s use of his or her immunized testimony in a prosecution of
the witness, and is frequently used by prosecutors, transactional immunity protects a witness from
prosecution altogether and is relatively rare.

       OPR found no policy prohibiting a U.S. Attorney from declining to prosecute third parties
or providing transactional immunity. One section of the USAM related to immunity but applied
only to the exchange of “use immunity” for the testimony of a witness who has asserted a Fifth
Amendment privilege. See USAM § 9-23.100 et seq. Statutory provisions relating to immunity
also address the same context. See 18 U.S.C. § 6002; 21 U.S.C. § 884. Moreover, apart from
voluntariness or enforceability concerns, courts have not suggested that a prosecutor’s promise not
to prosecute a third party amounts to an inappropriate exercise of prosecutorial discretion. See,
e.g., Marquez, 909 F.2d at 741-43; Kemp, 760 F.2d at 1248; Stinson, 839 So. 2d at 909; Frazier,
697 So. 2d 945. OPR found no clear and unambiguous standard that was violated by the USAO’s
agreement not to prosecute “potential co-conspirators,” and therefore cannot conclude that
negotiating or approving this provision violated a clear and unambiguous standard or constituted
professional misconduct.

        Notwithstanding this finding, in Section IV of this Part, OPR includes in its criticism of
Acosta’s decision to approve the NPA his approval of this provision without considering its
potential consequences, including to whom it would apply.




                                                139
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 166 of 348




               3.      The NPA Did Not Violate Department Policy Relating to Deportation
                       of Criminal Aliens

          During the negotiations, the USAO rejected a defense-offered provision prohibiting the
USAO from “request[ing], initiat[ing], or in any way encourag[ing] immigration authorities to
institute immigration proceedings” against two female assistants. However, OPR considered
whether the April 28, 1995 memorandum imposed any obligation on the USAO to prosecute
Epstein’s two female assistants who were known to be foreign nationals—as Villafaña urged in
her prosecution memorandum—and thus trigger their removal, or conversely, whether it precluded
the USAO from agreeing not to prosecute them as part of a negotiated resolution. OPR found
nothing in the policy that created a clear and unambiguous standard in either regard.

        The Attorney General’s April 28, 1995 memorandum regarding “Deportation of Criminal
Aliens” directed federal prosecutors to become involved actively and directly in the process of
removing criminal aliens from the United States, and, along with USAM § 9-73.520, provided that
“[a]ll deportable criminal aliens should be deported unless extraordinary circumstances exist.”
However, Epstein’s two assistants were not “deportable” unless and until convicted of a crime that
would have triggered their removal. But neither the policy memorandum nor the USAM imposed
an obligation on the USAO to prosecute or secure a conviction against a foreign national nor did
either provision preclude the USAO from declining to prosecute an alien using the same broad
discretion that otherwise applies to charging decisions.

        The policy guidance also requires “prompt and close coordination” with immigration
officials in cases involving alien defendants and specifies that prosecutors must notify immigration
authorities before engaging in plea negotiations with alien defendants. OPR learned during its
investigation that an ICE agent participated in the Epstein investigation in its early stages.
Moreover, because the USAO never engaged in plea negotiations with the two female assistants,
who, in any event, had not been charged and were therefore not “defendants,” no further
notification was required.

IV.    THE EVIDENCE DOES NOT ESTABLISH THAT THE SUBJECTS WERE
       INFLUENCED BY IMPROPER MOTIVES TO INCLUDE IN THE NPA TERMS
       FAVORABLE TO EPSTEIN OR TO OTHERWISE EXTEND BENEFITS TO
       EPSTEIN

        OPR investigated whether any of the subjects—Acosta, Sloman, Menchel, Lourie, or
Villafaña—was influenced by corruption, bias, or other improper motive, such as Epstein’s wealth,
status, or political associations, to include terms in the NPA that were favorable to Epstein, or
whether such motives otherwise affected the outcome of the federal investigation. OPR
considered the case-specific reasons the subjects identified as the motivation for the USAO’s
July 31, 2007 “term sheet” and Acosta’s approval of the NPA in September 2007. OPR also
thoroughly examined various factors forming the basis for allegations that the subjects were
motivated by improper influences, including the subjects’ preexisting relationships with defense
counsel; the subjects’ numerous meetings with Epstein’s team of nationally known attorneys;
emails between the subjects—particularly Villafaña—and defense counsel that appeared friendly,
casual, and deferential to defense counsel; and inclusion in the NPA of a broad provision declining


                                                140
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 167 of 348




to prosecute all of Epstein’s co-conspirators. These factors are analyzed in the following
discussions throughout this Section of the Report.

        As a threshold matter, OPR’s investigation of the subjects’ decisions and actions in the
Epstein matter uncovered no evidence of corruption such as bribery, gratuity, or illegal political or
personal consideration. In addition, OPR examined the extensive contemporaneous documentary
record, interviewed witnesses, and questioned the subject attorneys. The evidence shows three
sets of issues influenced Acosta’s decision to resolve the case through the NPA. The first—of
main concern to Acosta—involved considerations of federalism and deference to state authority.
The second arose from an assessment by Acosta’s senior advisers—Sloman, Menchel, and
Lourie—that the case carried substantial litigation risks, including both witness issues and what
some viewed as a novel application of certain federal statutes to the facts of the Epstein case. 208
The third was Acosta’s aim of obtaining a greater measure of justice for victims of Epstein’s
conduct and for the community than that proposed by the state.

         Although the NPA and the process for reaching it can be criticized, as OPR does, OPR did
not find evidence supporting a conclusion that the subjects were motivated by a desire to benefit
Epstein for personal gain or because of other improper considerations, such as Epstein’s wealth,
status, or associations. That is not to say that Epstein received no benefit from his enormous
wealth. He was able to hire nationally known attorneys who had prestige, skill, and extensive
experience in federal and state criminal law and in conducting negotiations. He had the resources
to finance an aggressive approach to the case that included the preparation of multiple written
submissions reflecting extensive research and analysis, as well as multiple in-person meetings
involving several of his attorneys and USAO personnel. He assembled a defense team well versed
in the USAO and the Department, with the knowledge to maneuver through the Department’s
various levels and offices, a process unknown to many criminal defense attorneys and infrequently
used even by those familiar with the Department’s hierarchy. Access to highly skilled and
prominent attorneys is not unusual in criminal cases involving corporations and their officers or
certain other white collar defendants, but it is not so typical for defendants charged with sex crimes
or violent offenses. Nonetheless, while recognizing that Epstein’s wealth played a role in the
outcome because he was able to hire skilled and assertive attorneys, OPR concludes that the
subjects were not motivated to resolve the federal investigation to Epstein’s benefit by improper
factors.

         A.       OPR Found No Evidence of Criminal Corruption, Such as Bribery, Gratuity,
                  or Illegal Political or Personal Consideration

        Some public criticism of the USAO’s handling of the Epstein matter implied that the
subjects’ decisions or actions may have been motivated by criminal corruption, although no
specific information substantiating such implications was identified. Throughout its investigation,

208
         Sloman asserted throughout his OPR interview that he did not participate in substantive discussions about
the Epstein investigation before the NPA was signed, and his attorney argued in his comments on OPR’s draft report
that OPR should not attribute to Sloman any input in Acosta’s decisions about how to resolve the case. However,
Sloman was included in numerous emails discussing the merits of and issues relating to the investigation, participated
in meetings with the defense team, and, according to Acosta, was one of the senior managers whom Acosta consulted
in determining how to resolve the Epstein investigation.


                                                        141
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 168 of 348




OPR was attentive to any evidence that any of the subjects was motivated by bribes, gratuities, or
other illegal political or personal considerations, and found no such indication. 209 Witnesses,
including law enforcement officials, were specifically asked whether they had any information
indicating such corruption, and all—notwithstanding the harsh criticism by some of those same
witnesses of the Epstein matter’s outcome—stated that they did not. Specifically, the FBI case
agent told OPR that she did not believe there had been any illegal influence, and that if she had
perceived any, she “would have gone screaming” to the FBI’s public corruption unit. The co-case
agent and the FBI supervisors up through the Special Agent in Charge likewise told OPR that they
were unaware of any indication that a prosecutor acted in the matter because of illegal factors such
as a gratuity or bribe or other corrupt influence, and that any such indication would immediately
have been referred for criminal investigation by the FBI.

         B.       Contemporaneous Written Records and Witness and Subject Interviews Did
                  Not Reveal Evidence Establishing That the Subjects Were Improperly
                  Influenced by Epstein’s Status, Wealth, or Associations

        Although Epstein’s name is now nationally recognized, in 2006 and 2007, he was not a
familiar national figure or even particularly well known in Florida. All five subjects told OPR that
when they first learned of the investigation, they had not heard of Epstein. Similarly, the FBI case
agent told OPR that when the investigation began, no one in the FBI appeared to have heard of
Epstein, and other witnesses also told OPR that they were initially unfamiliar with Epstein.
However, news reports about Epstein’s July 2006 arrest on the state indictment, which were
contemporaneous with the beginning of the federal investigation, identified him as a wealthy Palm
Beach resident with influential contacts, including William Clinton, Donald Trump, Kevin Spacey,
and Alan Dershowitz, and other “prominent businessmen, academics and scientists.” 210 Villafaña,
Lourie, Sloman, and Acosta learned of this press coverage early in the investigation, and thus
understood that Epstein was wealthy and associated with notable public figures. 211 The FBI case
agent also told OPR that “we knew who had been on his plane, we knew . . . some of his
connections.”

                  1.       The Contemporaneous Records Did Not Reveal Evidence Establishing
                           That the NPA Resulted from Improper Factors

        OPR found no evidence in the extensive contemporaneous documentary record that the
terms of the NPA resulted from improper factors, such as Epstein’s wealth or influential
connections. Epstein’s legal team overtly raised Epstein’s financial status in arguing for a sentence
that did not include a term of imprisonment on the ground that Epstein would be extorted in prison,
but the USAO insisted that Epstein serve a term of incarceration. Defense counsel mentioned
former President Clinton in one pre-NPA letter, but that reference was made in the context of a

209
         OPR’s jurisdiction does not extend to the investigation of allegations of criminal activity. If OPR had found
indication of criminal activity, it would have referred the matter to the appropriate Department investigative agencies.
210
         Larry Keller, “Billionaire solicited prostitutes three times, indictment says,” Palm Beach Post, July 24, 2006;
Nicole Janok, “Consultant to the rich indicted, jailed,” Palm Beach Post, July 24, 2006.
211
         Lourie later made Menchel aware of Epstein’s prominence in the course of forwarding to Menchel the initial
prosecution memorandum.


                                                         142
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 169 of 348




narrative of Epstein’s philanthropic activities, rather than presented as a suggestion that Epstein’s
association to the former President warranted leniency and, in any case, the USAO rejected the
defense argument that the matter should be left entirely to the state’s discretion. 212 The defense
submission to the Deputy Attorney General contained a direct reference to Epstein’s connection
to former President Clinton, but that submission was made well after the NPA was negotiated and
signed, and in it, counsel contended that the USAO had treated Epstein too harshly because of his
association with the former President. 213

                  2.       The Subjects Asserted That They Were Motivated by Reasonable
                           Strategic and Policy Considerations, Not Improper Influences

         In addition to reviewing the documentary evidence, OPR questioned the five subject
attorneys, all of whom denied being personally influenced by Epstein’s wealth or status in making
decisions regarding the investigation, in the decision to resolve the case through an NPA, or in
negotiating the NPA. Villafaña, in particular, was concerned from the outset of the federal
investigation that Epstein might try to employ against the USAO the same pressure that she
understood had been used with the State Attorney’s Office, and she proactively took steps to
counter Epstein’s possible influence by meeting with Acosta and Sloman to sensitize them to
Epstein’s tactics. Both Acosta and Sloman told OPR that the USAO had handled cases involving
wealthy, high-profile defendants before, including the Abramoff case. Acosta told OPR, “[W]e
tried to treat [the case] fairly, not looking at . . . how wealthy is he, but also not saying we need to
do this because he is so wealthy.” Menchel expressed a similar view, telling OPR that he did not
believe “it’s appropriate to go after somebody because of their status one way or the other.” Lourie
told OPR that Epstein’s status may have generated more “front office” involvement in the case,
but it did not affect the outcome, and Sloman “emphatically disagree[d]” with the suggestion that
the USAO’s handling of the case had been affected by Epstein’s wealth or influential connections.
Other witnesses corroborated the subjects’ testimony on this point, including the FBI case agents,
who told OPR that no one ever communicated to them that they should treat Epstein differently
because of his wealth. The CEOS Chief told OPR that he did not recall anyone at the USAO
expressing either qualms or enthusiasm about proceeding against Epstein because of his wealth
and influence.

         OPR takes note of but does not consider dispositive the absence of any affirmative
evidence that the subjects were acting from improper motivations or their denial of such
motivations. Of more significance, and as discussed more fully below, was the fact that
contemporaneous records support the subjects’ assertions that the decision to pursue a pre-charge
resolution was based on various case-specific legal and factual considerations. 214 OPR also

212
         In the pre-NPA letter to the USAO, counsel recited a litany of Epstein’s purported good deeds and charitable
works, including a trip Epstein took to Africa with former President Clinton to raise awareness of AIDS, and counsel
also noted that the former President had been quoted by New York Magazine describing Epstein as “a committed
philanthropist.”
213
          In the letter to the Deputy Attorney General, counsel suggested that the prosecution may have been
“politically motivated” due to Epstein’s “close personal association with former President Bill Clinton.”
214
          OPR also considered that all five subjects provided generally consistent explanations regarding the factors
that influenced Acosta’s decision to resolve the federal investigation through the NPA. Sloman, Menchel, Lourie, and
Villafaña all had long careers with the Department, and OPR considers it unlikely that they would all have joined with

                                                        143
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 170 of 348




considered that the USAO’s most pivotal decisions—to resolve the case through an NPA requiring
Epstein to serve time in jail, register as a sexual offender, and provide monetary damages to
victims—had been made by July 31, 2007, when the USAO presented its “term sheet” to the
defense. This was before Acosta had ever met with defense counsel and when he had not indicated
any plans to do so. It also was well before Acosta’s October 12, 2007 breakfast meeting with
defense counsel Lefkowitz, which received strong public and media criticism. OPR also
considered significant the fact that although the USAO made numerous concessions in the course
of negotiating the final NPA, the USAO did not accede to the defense request that the USAO end
federal involvement altogether and return the matter to the state authorities to handle as they saw
fit, and the USAO refused to eliminate its requirement that Epstein register as a sexual offender,
despite a strong push by the defense that it do so.

                 3.       Subject and Witness Interviews and Contemporaneous Records
                          Identified Case-Specific Considerations Relating to Evidence, Legal
                          Theories, Litigation Risk, and a Trial’s Potential Impact on Victims

        Acosta, Sloman, Menchel, and Lourie told OPR that they did not recall the specific content
of discussions about the challenges presented by a potential federal prosecution or reasons for
Acosta’s decision to resolve the federal investigation through the NPA, but they and Villafaña
identified for OPR several case-specific factors, unrelated to Epstein’s wealth or associations, that
either did or likely would have been included in those discussions and that OPR concludes likely
influenced Acosta’s decision-making. These considerations included assessment of the
evidentiary risks and the potential impact of a trial on the victims. For the most part, however,
these factors appear more aptly to pertain to the decision to resolve the case through a pre-charge
disposition, but do not directly explain why Acosta chose to resolve the federal investigation
through a guilty plea in state court. That decision appears to have stemmed from Acosta’s concerns
about intruding into an area he believed was traditionally handled by state law enforcement
authorities.

         In a declaration submitted to the district court in 2017 in connection with the CVRA
litigation, Villafaña explained the USAO’s rationale for terminating the federal investigation
through the NPA:

                 Prior to the Office making its decision to direct me to engage in
                 negotiations with Epstein’s counsel, I discussed the strengths and
                 weaknesses of the case with members of the Office’s management,
                 and informed them that most of the victims had expressed
                 significant concerns about having their identities disclosed. . . . It is
                 my understanding from these and other discussions that these
                 factors, that is, the various strengths and weaknesses of the case and
                 the various competing interests of the many different victims
                 (including the privacy concerns expressed by many), together with
                 the Office’s desire to obtain a guaranteed sentence of incarceration
                 for Epstein, the equivalent of uncontested restitution for the victims,

Acosta to improperly benefit Epstein or would have remained silent if they suspected that Acosta, or any of their
colleagues, was motivated by improper influences.


                                                      144
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 171 of 348




                  and guaranteed sexual offender registration by Epstein . . . were
                  among the factors [that led to the NPA]. 215

       During her OPR interview, Villafaña similarly described the victims’ general reluctance to
go forward with a trial:

                  [W]hen we would meet with victims, we would ask them how they
                  wanted the case to be resolved. And most of them wanted the case
                  to be resolved via a plea. Some of them wanted him not to be
                  prosecuted at all. Most of them did not want to have to come to
                  court and testify. They were very worried about their privacy
                  rights. 216

        In his written response to OPR, Lourie stated that although he did not specifically recall
the issues Villafaña set forth in her declaration, he believed they would have been important to the
USAO in 2007. Lourie also told OPR that he generally recalled concerns within the USAO about
the charges and a potential trial:

                  [M]y vague recollection is that I and others had concerns that there
                  was a substantial chance we would not prevail at both trial and on
                  appeal after a conviction, resulting in no jail time, no criminal

215
       Doe v. United States, No. 9:08-cv-80736 (S.D. Fla.), Declaration of A. Marie Villafaña in Support of
Government’s Response and Opposition to Petitioners’ Motion for Partial Summary Judgment and Cross-Motion for
Summary Judgment at 8-9 (June 2, 2017).
216
         These concerns are also reflected in a 2017 declaration filed by the FBI case agent in the CVRA litigation,
in which she stated, “During interviews conducted from 2006 to 2008, no victims expressed a strong opinion that
Epstein be prosecuted.” She further described the concerns of some of the victims:

                  Throughout the investigation, we interviewed many [of Epstein’s] victims . . . .
                  A majority of the victims expressed concern about the possible disclosure of their
                  identities to the public. A number of the victims raised concerns about having to
                  testify and/or their parents finding out about their involvement with Mr. Epstein.
                  Additionally, for some victims, learning of the Epstein investigation and possible
                  exposure of their identities caused them emotional distress. Overall, many of the
                  victims were troubled about the existence of the investigation. They displayed
                  feelings of embarrassment and humiliation and were reluctant to talk to
                  investigators. Some victims who were identified through the investigation refused
                  even to speak to us. Our concerns about the victims’ well-being and getting to
                  the truth were always at the forefront of our handling of the investigation.

         In addition, during the CVRA litigation, an attorney representing several victims filed a pleading to protect
the anonymity of his clients by preventing disclosure of their identities to the CVRA petitioners. See Response to
Court Order of July 6, 2015 and United States’ Notice of Partial Compliance (July 24, 2015). It is noteworthy that in
2020, when OPR attempted to contact victims, through their counsel, for interviews or responses to written questions
regarding contacts with the USAO, OPR was informed that most of the victims were still deeply concerned about
remaining anonymous. One victim described to OPR how she became distraught when, during the USAO’s
investigation, the FBI left a business card at her parents’ home and, as a result, her parents learned that she was a
victim of Epstein. At the time, the victim was a teenager; was “nervous, scared, and ashamed”; and did not want her
parents to know about the case.


                                                        145
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 172 of 348




               record, no restitution, no sex offender status, publication at a trial of
               the names of certain victims that didn’t want their names revealed
               and the general difficulties of a trial for the victims and their
               families.

       Although his emails showed that, at the time, he advocated for prosecution of Epstein,
Lourie told OPR it was also his general recollection that “everybody at the USAO working on the
matter had expressed concerns at various times about the long-term viability of a federal
prosecution of Epstein due to certain factual and legal hurdles, as well as issues with the
cooperation and desires of the victims.”

        Similarly, Menchel—who had experience prosecuting sexual assault crimes—recalled
understanding that many of the victims were unwilling to go forward and would have experienced
additional trauma as a result of a trial, and some had made statements exonerating Epstein.
Menchel told OPR he believed that if the USAO had filed the proposed charges against Epstein,
Epstein would have elected to go to trial. In Menchel’s view, the USAO therefore had to weigh
the risk of losing at trial, and thereby re-traumatizing the victims, against the benefits gained
through a negotiated result, which ensured that Epstein served time in jail, registered as a sexual
offender, and made restitution to his victims.

      Sloman also recalled witness challenges and concerns about the viability of the
government’s legal theories. He told OPR:

               [I]t seemed to me you had a tranche of witnesses who were not going
               to be reliable. You had a tranche [of] witnesses who were going to
               be severely impeached. People who loved Jeffrey Epstein who
               thought he was a Svengali . . . who were going to say I told him I
               was 18 years old.

               You had witnesses who were scared to death of the public light
               being shown on them because their parents didn’t even know -- had
               very vulnerable victims. You had all of these concerns.

        Acosta told OPR that he recalled discussions with his senior managers about the victims’
general credibility and reluctance to testify and the evidentiary strength of the case, all of which
factored into the resolution. He acknowledged that his understanding of the facts was not
“granular” and did not encompass a detailed understanding of each victim’s expected testimony,
but he trusted that his “team” had already “done the diligence necessary” to make
recommendations about the evidentiary strength of the case. Acosta recalled discussing the facts
with Sloman and Menchel, and possibly Lourie, none of whom had as detailed an understanding
of the facts as Villafaña. Nevertheless, OPR credits Acosta’s statement that he reasonably
believed, based on his conversations with others who expressed this view, that a trial would pose
significant evidentiary challenges.

       Other witnesses corroborated the subjects’ testimony regarding witness challenges,
including the FBI co-case agent, who recalled during his OPR interview that some of the victims
had expressed concern for their safety and “a lot of them d[id]n’t want to take the stand, and

                                                 146
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 173 of 348




d[id]n’t want to have to relive what happened to them.” 217 The co-case agent told OPR that one
of the “strategies” for dealing with the victims’ fear was “to keep them off the stand,” and he
generally remembered discussions about resolving the Epstein case in a way that protected the
victims’ identities. In addition, the CEOS Trial Attorney who briefly worked with Villafaña on
the case after the NPA was signed told OPR that in her meetings with some of the victims, she
formed the impression that they were not interested in the prosecution going forward. The CEOS
Trial Attorney told OPR that “[the victims] would have testified,” but would have required an
extensive amount of “victim management” because they were “deeply embarrassed” about
potentially being labeled as prostitutes. The CEOS Trial Attorney also told OPR that “there were
obvious weaknesses in the case,” from an evidentiary perspective. 218

        The contemporaneous records also reflect discussions of, or references to, various legal
and factual issues or other concerns about the case. For example, in an early email to Menchel,
Lourie noted that two key issues raised by Villafaña’s proposed charges were whether the USAO
could prove that Epstein traveled for the purpose of engaging in sex acts, and the fact that some
minor victims had told Epstein they were 18. He later opined to Acosta and Menchel that “there
is some risk on some of the statutes [proposed in Villafaña’s prosecution memorandum] as this is
uncharted territory to some degree.” In his July 5, 2007 email to Villafaña, Menchel cited Acosta’s
and Sloman’s “concerns about taking this case because of [the P]etit policy and a number of legal
issues” and Acosta’s concerns about “hurting Project Safe Childhood.” Defense counsel raised
myriad legal and factual challenges in their voluminous letters to the USAO. Defense submissions
attacked the legal theories for a federal prosecution and detailed factors that could have
undermined victims’ credibility, including victim statements favorable to Epstein and evidence of
victim drug and alcohol use, as well as the fact that some victims recruited other victims and
purportedly lied to Epstein about their ages.

        Acosta also recalled that although his “team” had expressed concern about the “trial
issues,” his own focus had been on “the legal side of things.” Notably, during his prior tenure as
the Assistant Attorney General in charge of the Department’s Civil Rights Division, Acosta had
been involved in efforts to address sex trafficking. He told OPR that one of the “background
issues” that the Civil Rights Division addressed under his leadership, and which influenced his
view of the Epstein case, was the distinction between sex trafficking and solicitation of
prostitution. Specifically, he was concerned about avoiding the creation of potentially unfavorable
federal precedent on the point of delineation between prostitution, which was traditionally a matter
of state concern, and sex trafficking, which remained a developing area of federal interest in
2007. 219


217
         In an affidavit filed in the CVRA litigation, the co-case agent noted that in early 2007, when he located a
victim living outside of the United States, she claimed only to “know Jeffrey Epstein,” and stated that she “moved
away to distance herself from this situation,” and “asked that [the agent] not bother her with this again.”
218
         In April 2007, a victim who was represented by an attorney paid by Epstein participated in a video-recorded
interview with the FBI, with her attorney and his investigator present. This victim denied being involved in, or being
a victim of, criminal activity. Later, the victim obtained new counsel and joined the CVRA litigation as “Jane Doe #2.”
219
          In his March 20, 2011 letter, addressed “To whom it may concern,” and published online in The Daily Beast,
Acosta described “a year-long assault on the prosecution and the prosecutors” by “an army of legal superstars.” Most
of the allegations made against the prosecutors occurred after the NPA was signed and certainly after Acosta approved

                                                         147
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 174 of 348




         The USAO might have been able to surmount the evidentiary, legal, and policy issues
presented by a federal prosecution of Epstein. Villafaña, in particular, believed she could have
prevailed had she taken the case to trial, and even after the NPA was negotiated, she repeatedly
recommended declaring Epstein in breach and proceeding with an indictment, because she
continued to have confidence in the case. 220 Oosterbaan and others also believed that the
government would succeed at trial. Furthermore, the victims were not a uniform group. Some of
them were afraid of testifying or having their identities made public; others wanted Epstein
prosecuted, but even among those, it is not clear how many expressed a willingness to testify at a
trial; and still others provided information favorable to Epstein. In the end, Acosta assumed
responsibility for deciding how to resolve the Epstein investigation and weighing the risks and
benefits of a trial versus those of a pre-charge disposition. His determination that a pre-charge
disposition was appropriate was not unreasonable under the circumstances.

        Although evidentiary and witness issues explain the subject supervisors’ concerns about
winning a potential trial and why the USAO would have sought some sort of pre-charge
disposition, they do not fully explain why Acosta decided to pursue a state-based resolution as
opposed to a traditional federal plea agreement. OPR did not find in the contemporaneous records
a memorandum or other memorialization of the reasoning underlying Acosta’s decision to offer a
state-based resolution or the terms offered to the defense on July 31, 2007.

        According to Acosta, “In 2006, it would have been extremely unusual for any United States
Attorney’s Office to become involved in a state solicitation case, even one involving underage
teens,” because solicitation was “the province of state prosecutors.” Acosta told OPR that he
developed “a preference for deferring to the state” to “make it clear that [the USAO was] not
stepping on something that is a purely local matter, because we [didn’t] want bad precedent for
the sake of the larger human trafficking issue.” Acosta also told OPR that it was his understanding
that the PBPD would not have brought the case to federal investigators if the State Attorney’s
Office had pursued a sanction against Epstein that included jail time and sexual offender
registration. Acosta viewed the USAO’s role in the case as limited to preventing the “manifest
injustice” that, in Acosta’s view, would have resulted from the state’s original plea proposal.
Acosta acknowledged that if the investigation had begun in the federal system, he would not have
viewed the terms set out in the NPA as a satisfactory result, but it was adequate to serve as a
“backstop” to the state’s prosecution, which he described as “a polite way of saying[,
‘]encouraging the state to do a little bit more.[’]” In sum, Acosta told OPR that the Epstein case
lay in “uncharted territory,” there was no certainty that the USAO would prevail if it went to trial,
and a potentially unfavorable outcome had to be “weighed against a certain plea with registration
that would make sure that the public knew that this person was a sex offender.”

       Acosta told OPR that he discussed the case primarily with Sloman and Menchel, and both
told OPR that while they did not share Acosta’s federalism concerns, they recalled that Acosta had



the terms offered to the defense on July 31, 2007. Therefore, any allegations against the prosecutors could not have
played a significant role in Acosta’s decisions as reflected in the term sheet.
220
        Sloman told OPR that Villafaña “always believed in the case.”


                                                       148
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 175 of 348




been concerned about policy and federalism issues. 221 Sloman told OPR that although he did not
remember specific conversations, he generally recalled that Acosta had been “sensitive to” Petite
policy and federalism concerns, which Sloman described as whether the USAO was “overstepping
our bounds by taking what is a traditional state case that was in the State Attorney’s Office that
was resolved by the State Attorney’s Office at some level.” During his OPR interview, Menchel
remembered that Acosta approached the case from “a broader policy perspective” and was worried
about “the impact that taking the case in federally may have on . . . other programs,” although
Menchel did not recall specifically what those programs were.

         C.       Other Significant Factors Are Inconsistent with a Conclusion That the
                  Subjects’ Actions Were Motivated by Improper Influences

        OPR considered additional aspects of the Epstein case that were inconsistent with a
suggestion that Acosta’s decision to offer the July 31, 2007 terms was driven by corruption, a
desire to provide an improper benefit to Epstein, or other improper influences.

         First, OPR considered highly significant the fact that if Acosta’s primary motivation was
to benefit Epstein, he had an option even more favorable to Epstein available to him. The NPA
required Epstein to serve time in jail and register as a sexual offender, and provided a mechanism
for the victims to seek monetary damages—outcomes unlikely if the matter had been abandoned
and sent back to the state for whatever result state authorities deemed appropriate. Epstein’s
attorneys had vehemently argued to the USAO that there was no federal interest in the investigation
and that his conduct was exclusively a matter of state concern. If the USAO had declined to
intervene in the case, as Epstein’s counsel repeatedly and strongly argued it should, the state would
have meted out the sole punishment for his behavior. Under the state’s original plan, Epstein likely
would have received a sentence of probation. Menchel described such a result as a mere “slap on
the wrist,” with “no jail time, no felony sex offense, no sexual offender registration, [and] no
restitution for the victims.” Instead of acceding to Epstein’s proposal, however, the USAO devised
a resolution of the federal investigation that, although widely criticized as inadequate to address
the seriousness of Epstein’s conduct, nevertheless penalized Epstein more than a guilty plea to the
state’s original charge, standing alone, would have done. Acosta’s affirmative decision to
intervene and to compel a more stringent and just resolution than the state had proposed, rather
than exercising his discretion to quietly decline prosecution, is strong circumstantial evidence that
he was not acting for the purpose of benefiting Epstein. 222 Similarly, despite defense counsel’s
repeated requests to eliminate the sexual offender registration requirement, Acosta refused to

221
        Sloman stated that although Acosta “was sensitive to [P]etite policy concerns, federalism concerns, . . . I was
not.” Menchel commented, “I don’t think it would have been a concern of mine.”
222
        Menchel also pointed out during his OPR interview that Acosta was Republican and “had nothing to gain”
by showing favoritism to Epstein, who had been portrayed in the media as “this big Democratic donor.” Villafaña
recounted for OPR an exchange between the USAO team and a defense attorney who argued in one meeting that—

                  we were prosecuting [Epstein] because he was Jewish. We then pointed out that
                  a number of members of [the USAO] chain of command were Jewish. Then he
                  said, well we’re prosecuting him because he was a Democrat. And again, we
                  pointed out that a number of us were Democrats. So then it went to, we were
                  prosecuting him because he was wealthy. . . . That one didn’t work so well.


                                                         149
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 176 of 348




reconsider the provision. Acosta could certainly have modified or eliminated the provision entirely
if his motivation was to benefit Epstein or Epstein’s attorneys.

        Second, Epstein himself was not satisfied with the NPA. Immediately after signing the
agreement, he sought to have the Department nullify it by declaring federal involvement in the
investigation inappropriate. In addition to repeatedly attacking the NPA in his submissions to the
Department, Epstein added to his evidentiary challenges and federalism claims allegations of
misconduct and improper bias on the part of specific USAO personnel. Epstein’s dissatisfaction
with the NPA, and his personal attacks on individual prosecutors involved in negotiating the
agreement, appear inconsistent with a conclusion that the subjects designed the NPA for Epstein’s
benefit.

       D.      OPR Does Not Find That the Subjects’ Preexisting Relationships with Defense
               Counsel, Decisions to Meet with Defense Counsel, and Other Factors
               Established That the Subjects Acted from Improper Influences or Provided
               Improper Benefits to Epstein

        In evaluating the subjects’ conduct, OPR considered various other factors featured in media
accounts to show that the subjects provided improper benefits to Epstein or which purportedly
suggested that the subjects acted from improper influences. OPR examined these factors but did
not find that they supported a finding that the subjects were influenced by favoritism, bias, or other
improper motivation.

               1.      The Evidence Does Not Establish That the Subjects Extended Any
                       Improper Benefit to Epstein because of Their Preexisting Relationships
                       with His Attorneys

        Epstein’s wealth enabled him to hire multiple attorneys who had preexisting personal
connections to some of the government attorneys involved in his case, in the State Attorney’s
Office, in the USAO, and elsewhere in the Department. Based on the attorneys Epstein selected
to represent him, a reasonable inference can be drawn that Epstein believed that hiring attorneys
with relationships to the prosecutors would be beneficial to him. One of the first attorneys who
contacted the USAO on Epstein’s behalf was Guy Lewis, a former AUSA in and U.S. Attorney
for the Southern District of Florida. Villafaña and Lourie had worked for Lewis, and Lourie was
close friends with one of Lewis’s law partners. Epstein also retained Lilly Ann Sanchez, a former
AUSA who had been Menchel’s deputy and with whom he had socialized. Later, when Epstein
was seeking Acosta’s personal involvement in the case, Epstein hired Kenneth Starr and Jay
Lefkowitz, prominent attorneys from Kirkland & Ellis with whom Acosta was acquainted from
his previous employment with that firm.

        Villafaña told OPR that she believed Acosta “was influenced by the stature of Epstein’s
attorneys.” Critically, however, other than the information regarding Menchel that is discussed in
the following subsection, neither Villafaña nor any of the other individuals OPR interviewed
identified any specific evidence suggesting that Acosta, or any of the other subjects, extended an
improper favor or benefit to Epstein because of a personal relationship with defense counsel (or
for any other improper reason). Villafaña explained how, in her view, the “legal prowess” of
Epstein’s attorneys had an impact on the case:

                                                 150
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 177 of 348




                 [O]ne of the issues in the case was the . . . defense’s ability to
                 describe the case or characterize the case as being legally complex.
                 It was not as legally complex as they made it out to be. But because
                 they were able to convince members of our office that it was
                 somehow extremely novel and legally complex, the issue became
                 who was likely to succeed in arguing these legal issues. And
                 because of that, the legal prowess, if you will, of the attorneys [ ]
                 [became] something to consider.

                          ....

                 I think that the ability of Alan Dershowitz and Ken Starr and Jay
                 Lefkowitz to convince Alex Acosta that I didn’t know what I was
                 talking [about] also, all came into play. So I think there were a
                 number of factors and it all came together.

        Although Villafaña was critical of Acosta’s consideration of the defense arguments, she
conceded that the defense team’s tactics demonstrated effective advocacy. Certainly, throughout
the case, Epstein’s attorneys prepared lengthy memoranda analyzing the evidence and arguing
nuanced legal points concerning federalism, the elements of numerous federal criminal statutes,
and the evidence relevant to those statutes, but it is not unusual or unreasonable for prosecutors to
carefully consider well-crafted legal arguments from defense counsel.

        There is little question that Epstein’s extensive team of attorneys was able to obtain
negotiated benefits for Epstein—although the USAO never wavered from its three core
requirements, it did agree to a reduction in prison time from its original offer, and it granted Epstein
certain other concessions during the negotiations. Epstein’s wealth provided him with skilled,
experienced negotiators who continually sought various incremental concessions, and with
attorneys who knew how to obtain Department review of a USAO matter, thereby delaying
undesired outcomes for as long as possible. 223 Despite Epstein’s evident intentions, however, OPR
did not find evidence warranting a conclusion that the NPA or its terms resulted from the subjects’
relationships with the attorneys he had selected to represent him.

                 2.       The Subjects Asserted That Their Relationships with Defense Counsel
                          Did Not Influence Their Actions

        Acosta, Menchel, Sloman, and Lourie each asserted that Epstein’s choice of counsel did
not affect his handling of the case. Menchel told OPR that once in private practice, former
colleagues often became adversaries. In Menchel’s view, such preexisting relationships were
useful because they afforded a defense attorney initial credibility and an insight into the issues a
prosecutor would likely view as areas of concern, which enabled the defense attorney to “tailor”
arguments in a way that would maximize their persuasive impact on the USAO. Menchel told
OPR, however, that these advantages did not “move the needle in any major way,” and he
“reject[ed] the notion” that anyone in the USAO had been “swayed” because of preexisting

223
         As Chief Reiter later observed in his deposition testimony, “[T]he Epstein case was an instance of a many
million dollars defense and what it can accomplish.”


                                                      151
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 178 of 348




friendships or associations with any of Epstein’s attorneys. In fact, Menchel told OPR that he and
his USAO colleagues viewed Epstein’s attempt to exert influence through his choice of counsel as
“ham-fisted” and “clumsy.”

        Sloman told OPR that although he became aware that Lourie was friends with Guy Lewis
and Lewis’s law partner, he was unaware of personal relationships between any of his other
colleagues and any of Epstein’s attorneys, but that in any event his attitude regarding cases
involving former colleagues “was that we would give them process, but we didn’t pull any punches
with them.” In Sloman’s view, preexisting relationships with defense counsel did not “change the
equation” because as AUSAs, he and his colleagues were motivated by what they perceived to be
best for the case.

        Lourie told OPR that his preexisting associations with Epstein’s attorneys “didn’t influence
anything.” Notably, at the outset of the Epstein case, Lourie sought guidance from the USAO’s
Professional Responsibility Officer about the propriety of his role as a supervisor in the
investigation, because of his acquaintance with Lewis and long-time friendship with Lewis’s law
partner. OPR considered Lourie’s caution in seeking and obtaining the Professional Responsibility
Officer’s advice as an indication that he was alert to his ethical responsibilities regarding
relationships with defense counsel, including avoiding the appearance of a conflict of interest.

        Acosta said during his OPR interview that he “developed” the three criteria reflected on
the term sheet—a sentence of incarceration, sexual offender registration, and monetary damages
for the victims—before he engaged directly with any of Epstein’s attorneys and before Epstein
added Starr and Lefkowitz, the Kirkland & Ellis attorneys, to his team. Acosta pointed out that
the USAO continued to insist on a resolution that satisfied all three of those criteria even after
Kirkland & Ellis became involved in the case.

        Acosta took other actions that appear inconsistent with an intent to benefit Starr and
Lefkowitz. On several occasions, when directly appealed to by Lefkowitz or Starr, he directed
them to address their communications to Villafaña, Sloman, and other subordinates. After his
October 12, 2007 breakfast meeting with Lefkowitz, Acosta immediately communicated with
Sloman about their conversation. In late 2008, when Acosta anticipated leaving the USAO and
was considering pursuing employment with Kirkland & Ellis, he recognized the conflict of interest
and instructed Sloman to stop copying him on emails relating to the Epstein matter. On Acosta’s
behalf, the USAO’s Professional Responsibility Officer sought and obtained formal Department
approval of Acosta’s recusal from the case based on the fact that he had “begun to discuss possible
employment” with Kirkland & Ellis. These actions support Acosta’s assertion that he was
cognizant of his ethical responsibilities concerning relationships with defense counsel. 224




224
          In addition, in May 2008, the USAO’s Professional Responsibility Officer consulted with the Department’s
Professional Responsibility Officer about whether Acosta should recuse from the Epstein matter because he was
considering seeking a visiting professorship at Harvard Law School in 2009, and Dershowitz—a Harvard Law School
professor—was representing Epstein “as a private, paying client, and not as any part of a Harvard Law School clinic
or law school teaching program” and “should have no role in deciding whether Mr. Acosta is offered any position as
a visiting professor.” The Department advised that these facts provided no basis for recusal.


                                                       152
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 179 of 348




         In its review of the documentary record, OPR examined an email written by Villafaña in
2018, more than a decade after the NPA was negotiated, in which she suggested that the two-year
sentence requirement in the initial “term sheet” provided to the defense was developed by Menchel
as a favor to defense attorney Sanchez. OPR examined the facts surrounding this allegation and
determined that there was no merit to it. Specifically, in December 2018, after the Miami Herald
investigative report renewed public attention to the case, Villafaña recounted in an email to a
supervisory AUSA, a conversation she recalled having had with Sloman about the case. 225 In the
email, Villafaña stated that she had not been a participant in discussions that led to Acosta’s
decision to offer a two-year plea deal, but she added the following: “Months (or possibly years)
later, I asked former First Assistant Jeff Sloman where the two-year figure came from. He said
that Lily [sic] Ann Sanchez (attorney for Epstein) asked Mr. Menchel to ‘do her a solid’ and
convince Mr. Acosta to offer two years.”

       OPR questioned both Villafaña and Sloman about the purported “do her a solid” remark.
Villafaña told OPR that she had been aware that Menchel and Sanchez were friends. During her
OPR interview, Villafaña explained:

                 [A] lot later, I asked Jeff. I said, you know, “Jeff, where did this two
                 years come from?” And he said, “Well, I always figured that . . .
                 Lilly asked Matt to do her a solid,” which I thought was such a
                 strange term, . . . “and to get her a good deal so that she would be in
                 Epstein’s good graces” and that that’s where the two years came
                 from. Although strangely enough, then several years after that, Jeff
                 Sloman asked me where the two years came from, and I had to
                 remind him of that conversation. So Jeff doesn’t know where the
                 two years came from.

         Because the email had been expressed in more definitive terms, OPR asked Villafaña
whether Sloman had affirmatively asserted that the two-year deal was a favor from Menchel to
defense counsel, or whether he had stated that he merely “figured” that was the case, but Villafaña
could not recall precisely what Sloman had said. At a follow-up interview, Villafaña again said
that she was unable to recall whether Sloman’s specific statement was “Lilly asked Matt to do her
a solid, and he did it,” or “I always figured Matt just wanted . . . to do her a solid.” Villafaña stated
that she was unaware of any information that “expressly [indicated] that there was any sort of
exchange of . . . a favor in either direction.”

         During his OPR interview, Sloman did not recall making such a remark, although he could
not rule out the possibility that Villafaña, for whom he repeatedly expressed great respect, “heard
that in some fashion.” He told OPR that if he did say something to Villafaña about Menchel having
done “a solid” for Epstein’s counsel, he could not have meant it seriously, and he explained, “[I]t’s
not something that I would have believed. Him doing her a solid. I mean that’s the furthest thing
from my recollection or impression even after years later.”


225
         Villafaña’s email stemmed from a congressional inquiry received by the Department concerning the Epstein
investigation and the NPA, to which the USAO had been asked to assist in responding. In her email, Villafaña
addressed several issues that she perceived to be the “three main questions” raised by the press coverage.


                                                      153
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 180 of 348




        Menchel told OPR that when he and Sanchez were in the USAO, they had a social
relationship, which included, in 2003, “a handful of dates over a period of two to three weeks. We
decided that . . . this was probably best not to pursue, and we mutually agreed to not do that.”226
Apart from that, he stated they were “close” and “hung out,” and he asserted that this was known
in the office at the time. Menchel said that his relationship with Sanchez “changed dramatically”
when she left the office for private practice, and that by the time he became involved in the Epstein
investigation, he had dated and married his wife, and his contact with Sanchez would “most likely”
have been at office events and when she attended his wedding. 227 Menchel added, “[T]hat was
three and a half years [prior] for a very brief period of time, and I don’t think I gave it a moment’s
thought.”

        When asked by OPR about the basis for the decision to make an offer of a two-year term
of incarceration, Menchel said that he did not recall discussions about the two-year offer and did
not recall how the office arrived at that figure. In response to OPR’s question, Menchel stated that
his relationship with Sanchez did “[n]ot at all” affect his handling of the Epstein case. Moreover,
Menchel asserted that the contemporaneous documentary record supports a conclusion that it was
Acosta, not Menchel, who made the decision to resolve the case with the two-year term.

        OPR carefully considered the documentary record on this point, as well as the statements
to OPR from Menchel, Villafaña, Sloman, and Acosta, and concludes that there is no evidence
supporting the suggestion that the plea was instigated by Menchel as a favor to defense counsel.
The USAO’s first plea overture to defense counsel, which took place sometime before June 26,
2007, occurred when Menchel spoke with Sanchez about the possibility of resolving the federal
case with a state plea that required jail time and sexual offender registration. According to the
email, “[i]t was a non-starter” for the defense. In the lengthy email exchange with Villafaña in
early July 2007, Menchel told her that his discussion with Sanchez about a state-based resolution
was made with Acosta’s “full knowledge.” Acosta corroborated this statement, telling OPR that
although he did not remember a specific conversation with Menchel concerning a state-based
resolution, he was certain Menchel would not have discussed this potential resolution with defense
counsel “without having discussed it with me.” 228 Moreover, the defense did not immediately

226
          Acosta, Sloman, and Lourie each told OPR that in 2007, he was not aware that Menchel had previously dated
Sanchez. OPR questioned the USAO’s Professional Responsibility Officer regarding whether Menchel had an
obligation to inform his supervisors of his dating relationship. The Professional Responsibility Officer said that it
would depend on “how long the relationship was and how compromised the individual felt he might appear to be,”
but he would have expected Menchel to raise the issue with Acosta. The Professional Responsibility Officer told OPR
that if he had been approached for advice at the time, he would have asked for more facts, but “[g]iven the sensitivity
of the [Epstein] matter, [my advice] would probably have been to tell him to step back and let somebody else take it
over.” Menchel told OPR that if his relationship with Sanchez had turned into something more than a handful of
dates, he would have advised his supervisors. Although OPR does not conclude Menchel’s prior relationship with
Sanchez influenced the Epstein investigation, OPR assesses that it would have been prudent for Menchel to have
informed his supervisors so they could make an independent assessment as to whether his continued involvement in
the Epstein investigation might create the appearance of a loss of impartiality.
227
         Menchel’s Outlook records also indicate he scheduled lunch with Sanchez on at least one occasion, in early
2006, after she left the USAO.
228
         In addition, Villafaña recalled Menchel stating at the July 26, 2007 meeting that “Alex has decided to offer
a two year state deal.”


                                                         154
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 181 of 348




accept the two-year proposal when it was made, but instead continued to press for a sentence of
home confinement, suggesting that the defense had not requested the two-year term as a favor and
did not view it as such. The defense had previously rejected the state’s offer of a sentence of
probation, and there is no indication in the contemporaneous records that Epstein viewed any jail
sentence favorably and certainly that did not appear to be the view of the defense team in the early
stages of the negotiations.

        As discussed below, after extensive questioning of the subjects about the basis for the two-
year offer, and a thorough review of the documentary record, OPR was unable to determine the
reasoning underlying the decision to offer two years as the term of incarceration, as opposed to
any other term of years. Nonetheless, OPR concludes from the evidence that Acosta was aware of
and approved the initial offer to the defense, which included the two-year term of incarceration.
The only evidence suggesting that the offer of two years stemmed from an improper motivation of
Menchel’s was a single second-hand statement in an email drafted many years later. Sloman, the
purported declarant, told OPR that he could not recall whether he made the statement, but he firmly
disputed that the email accurately reflected either the reason for the two-year proposal or his
understanding of that reason. Villafaña herself could remember little about the critical
conversation with Sloman, including whether she had recorded accurately what Sloman had said.
Given the lack of any corroborating evidence, and the evidence showing Epstein’s vigorous
resistance to the proposal, OPR concludes that there is no evidence to support the statement in
Villafaña’s 2018 email that Menchel had extended a two-year plea deal as a favor to one of
Epstein’s attorneys.

       E.      The Evidence Does Not Establish That the Subjects’ Meetings with Defense
               Counsel Were Improper Benefits to Epstein

       OPR considered whether decisions by Acosta, Sloman, Menchel, and Lourie to meet with
defense counsel while possible charges were under consideration or during the period after the
NPA was signed and before Epstein entered his state guilty pleas evidenced improper favoritism
toward or the provision of an improper benefit to the Epstein defense team.

               1.      The Evidence Shows That the Subjects’ Decisions to Meet with
                       Epstein’s Legal Team Were Warranted by Strategic Considerations

        Although pre-indictment negotiations are typical in white-collar criminal cases involving
financial crimes, witnesses told OPR that pre-charge meetings with defense counsel are infrequent
in sex offense cases. As the lead prosecutor, Villafaña vehemently opposed meeting with Epstein’s
attorneys and voiced her concerns to her supervisors, but was overruled by them. In Villafaña’s
view, the significance of the early meetings granted to the defense team was that, but for those
meetings, the USAO would not have offered the disposition set forth in the July 31, 2007 “term
sheet” and, moreover, “that term sheet would never have been offered to anyone else.”

        OPR’s investigation established that while the defense attorneys persistently contacted the
subjects through emails, correspondence, and phone calls, relatively few in-person meetings
actually occurred with the USAO personnel involved in the matter. As shown in the chart on the
following page, while the case was under federal investigation and before the NPA was signed,
the subject supervisors and defense counsel had five substantive meetings about the case—

                                                155
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 182 of 348
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 183 of 348




        OPR explored the subject supervisors’ reasoning for accommodating the defense requests
for in-person meetings and whether such accommodation was unusual. OPR questioned each of
the four supervisory subject attorneys about his rationale for engaging in multiple meetings with
the defense.

        Lourie could not recall his reasoning for meeting with Epstein’s defense counsel, but he
told OPR that his general practice was to meet with defense counsel when asked to do so. Lourie
recognized that some prosecutors—like Villafaña—viewed meeting with the defense as a sign of
“weakness,” but in Lourie’s view, “information is power,” and as long as the USAO did not share
information with the defense but rather listened to their arguments, meetings were “all power to
us.” Lourie explained that by meeting with the defense, “[Y]ou’re getting the information that
they think is important; that they’re going to focus on. The witnesses that they think are liars . . . .
And so you can form all of that into your strategy.” Lourie also told OPR that giving defense
counsel the opportunity to argue the defense position is an important “part of the process” that
helped ensure procedural fairness, allowing them to “believe that they are getting heard.” When
asked whether he afforded the same access to all defendants, Lourie responded, “I don’t recall ever
getting . . . so many requests for meetings . . . and so many appeals and so many audiences that
[Epstein’s attorneys] got. But this was I think the first time that that’s really happened.”

        Menchel, too, told OPR that his general view was that “ethically it’s appropriate” to give a
defense attorney “an audience,” and there was no real “downside” to doing so. Menchel added,
“[W]hat happens a lot of times is the government will carve around those points that are being
raised by the defense, and it’s good to know” what the defense will be.

        During his OPR interview, Acosta rejected the notion that his meeting with defense counsel
was unusual or outside the norm. He told OPR that his initial meeting with the defense team,
before the NPA was signed, was “not the first and only time that I granted a meeting . . . to defense
attorneys” who requested one. Acosta did not believe it was “atypical” for a U.S. Attorney to meet
with opposing counsel, particularly as a case was coming to resolution. Sloman corroborated
Acosta on this point, telling OPR that Acosta typically met with defense attorneys, and that the
USAO handled requests for meetings from Epstein’s counsel “in the normal course.” Furthermore,
Acosta said that notwithstanding that meeting and all the other “process” granted to the defense
by the USAO and the Department, “we successfully held firm in our positions” on the key elements
of the resolution—that is, the requirements that Epstein be incarcerated, register as a sexual
offender, and provide monetary damages to the victims.

       OPR examined the circumstances surrounding each subject’s decisions to have the
individual meetings with defense counsel to determine if those meetings had a neutral, strategic
purpose. The first meeting, on February 1, 2007, followed a phone call between Lourie and one
of Epstein’s attorneys, in which the attorney asked for a chance to “make a pitch” about the
victims’ lack of credibility and suggested that Epstein might agree to an interview following that
pitch. Villafaña objected to meeting with the defense, but she recalled that Lourie told her she was
not being a “strategic thinker,” and that he believed the meeting could lead to a debriefing of
Epstein. The meeting did not result in a debriefing of Epstein, but in advance of the follow-up
meeting on February 20, 2007, defense counsel gave the USAO audio recordings of the state’s
witness interviews. Contemporaneous documents indicate that Lourie was unpersuaded by the
defense arguments. After Villafaña circulated the prosecution memorandum, Lourie suggested

                                                 157
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 184 of 348




preparing a “short” charging document “with only ‘clean’ victims that they have not dirtied up
already.” 230 The fact that Lourie apparently used information gleaned from the defense about the
victims’ credibility to formulate his charging recommendation supported his statements to OPR
that such meetings were, in his experience, a useful source of information that could be factored
into the government’s charging strategy.

          The two February 2007 Villafaña/Lourie-level meetings focused on witness issues and
claims of misconduct by state investigators, but in late May 2007, defense attorneys requested
another meeting—this time with higher-level supervisors Menchel and Sloman—to make a
presentation concerning legal deficiencies in a potential federal prosecution. The request was
granted after Lourie recommended to Menchel and Sloman that “[i]t would probably be helpful to
us . . . to hear their legal arguments in case we have missed something.” The requested meeting
took place on June 26, 2007. Before the meeting, at Menchel’s direction, Villafaña provided to
the defense a list of statutes the USAO was considering as the basis for federal charges. Defense
counsel used that information to prepare a 19-page letter, submitted to the USAO the day before
the June 26 meeting, as “an overview” of the defense position. In an email to his colleagues,
Lourie evaluated the defense submission, noting its weaker and stronger arguments. A
contemporaneous email indicates that Menchel, Lourie, and Villafaña viewed the meeting itself as
primarily a “listening session.” 231 After the meeting, Epstein’s team submitted a second lengthy
letter to the USAO detailing Epstein’s “federalism” arguments that the USAO should let the state
handle the matter.

         Menchel apparently scheduled the next meeting with defense counsel, on July 31, 2007, to
facilitate the USAO’s presentation to the defense team of the “term sheet” describing the proposed
terms of a non-prosecution agreement.

        By early August, after the Kirkland & Ellis attorneys—Starr and Lefkowitz—joined the
defense team, Acosta believed they would likely “go to DC on the case, on the grounds . . . that I
have not met with them.” A meeting with the defense team was eventually scheduled for
September 7, 2007, when Acosta, Sloman, Villafaña, and Oosterbaan met with Starr, Lefkowitz,
and Sanchez. In an email to Sloman, Acosta explained that he intended to meet with the defense,
with Oosterbaan participating, “to discuss general legal policy only.” In another email to Sloman
and Lourie, Acosta explained, “This will end up [in the Department] anyhow, if we don’t meet
with them. I’d rather keep it here. Bringing [the CEOS Chief] in visibly does so. If our deadline
has to slip a bit to do that, it’s worth it.” Acosta told OPR that the meeting “was not a negotiation,”
but a chance for the defense to present their federalism arguments. Acosta said that he had already
decided how he wanted to resolve the case, and “[t]he September meeting did not alter or shift our
position.”



230
         Lourie also recommended that the initial charging document “should contain only the victims they have
nothing on at all.”
231
         During her OPR interview, the FBI case agent recalled that defense counsel asked questions about the
government’s case, including the number of victims and the type of sexual contact involved, and that during a break
in the meeting, she engaged in a “discussion” with Menchel about providing this information to the defense. She did
not recall specifics of the discussion, however.


                                                       158
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 185 of 348




       The meeting of USAO representatives and Epstein’s defense attorneys, together with the
State Attorney and the lead state prosecutor on September 12, 2007, was a necessary part of the
NPA negotiation process.

       Even after the NPA was signed, the defense continued to request meetings and reviews of
the case, both within the USAO and by the Department’s Criminal Division and the Deputy
Attorney General. Although limited reviews were granted, during this period there was only one
substantive meeting with Acosta, on December 14, 2007. 232 This meeting occurred in lieu of the
meeting Starr had requested of Assistant Attorney General Fisher, most likely because the defense
submissions to the Department’s Criminal Division had raised issues not previously raised with
the USAO and the Department determined that Acosta should address those in the first instance.233
Acosta told OPR that he did not ask for the Department review, but he also did not want to appear
as if he “fear[ed]” that review. Acosta’s nuanced position, however, was not clear to the
Department attorneys who responded to Epstein’s appeals and who perceived Acosta to be in favor
of a Department review, rather than merely tolerant of it. Notably, though, none of those meetings
or reviews resulted in the USAO abandoning the NPA, and Epstein gained no substantial
advantage from his continued entreaties.

         In sum, in evaluating the subjects’ conduct, OPR considered the number of meetings, their
purpose, the content of the discussions, and decisions made afterwards. OPR cannot say that the
number of meetings, particularly those occurring before the NPA was signed, was so far outside
the norm—for a high profile case with skilled defense attorneys—that the quantity of meetings
alone shows that the subjects were motivated by improper favoritism. In evaluating the subjects’
conduct, OPR considered that the meetings were held with different levels of USAO managers and
that the explanations for the decisions to participate in the meetings reflected reasonable strategic
goals. Although OPR cannot rule out the possibility that because Acosta, Menchel, Lourie, or
Sloman knew or knew of the defense attorneys, they may have been willing to meet with them, it
is also true that prosecutors routinely meet with defense attorneys, including those who are known
to them and those who are not. Furthermore, meetings are more likely to occur in high profile
cases involving defendants with the financial resources to hire skilled defense counsel who request
meetings at the highest levels of the USAO and the Department. Most significantly, OPR did not
find evidence supporting a conclusion that the meetings themselves resulted in any substantial
benefit to the defense. At each meeting, defense counsel strongly pressed the USAO—on factual,
legal, and policy grounds—to forgo its federal investigation and to return the matter to the state to
proceed as it saw fit. The USAO never yielded on that point. Accordingly, OPR did not find
evidence supporting a conclusion that Acosta, Sloman, Menchel, Lourie, or Villafaña met with
defense counsel for the purpose of benefiting Epstein or that the meetings themselves caused
Acosta or the other subjects to provide improper benefits to Epstein.




232
        Acosta’s October 12, 2007 breakfast meeting with Lefkowitz is discussed separately in the following section.
233
         Starr and other defense attorneys only obtained one meeting at the Department level, with Deputy Assistant
Attorney General Mandelker and CEOS Chief Oosterbaan in March 2008. Although Starr requested a meeting with
Assistant Attorney General Fisher and another with Deputy Attorney General Filip, those requests were not granted.


                                                       159
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 186 of 348




                 2.      The Evidence Does Not Establish That Acosta Negotiated a Deal
                         Favorable to Epstein over Breakfast with Defense Counsel

        OPR separately considered the circumstances of one specific meeting that has been the
subject of media attention and public criticism. The Miami Herald’s November 2018 reporting on
the Epstein investigation opened with an account of the October 12, 2007 breakfast meeting that
defense counsel Jay Lefkowitz arranged to have with Acosta at the West Palm Beach Marriott
hotel. According to the Miami Herald article, “a deal was struck” at the meeting to allow Epstein
to serve “just 13 months” in the county jail in exchange for the shuttering of the federal
investigation, and Acosta also agreed to “conceal” the full extent of Epstein’s crimes from the
victims and the public. 234 Although public criticism of the meeting has focused on the fact that
the meeting occurred in a hotel far from Acosta’s Miami office, the evidence shows that Acosta
traveled to West Palm Beach on October 11 for a press event and stayed overnight at the hotel,
near the USAO’s West Palm Beach office, because at midday on October 12 he was to speak at
the Palm Beach County Bench Bar Conference. After carefully considering the evidence
surrounding the breakfast meeting, including contemporaneous email communications and witness
accounts, OPR concludes that Acosta did not negotiate the NPA, or make any significant
concessions relating to it, during or as a result of the October breakfast meeting.

        Epstein and his attorneys signed the NPA on September 24, 2007—more than two weeks
before the October 12 breakfast meeting. The signed NPA contained all of the key provisions
resulting from the preceding weeks of negotiations between the parties, and despite a later
addendum and ongoing disputes about interpreting the damages provision of the agreement, those
key provisions remained in place thereafter. Acosta told OPR that throughout the negotiations
with the defense, he sought three goals: (1) Epstein’s guilty plea in state court to an offense
requiring registration as a sexual offender; (2) a sentence of imprisonment; and 3) a mechanism
through which victims could obtain monetary damages from Epstein. As noted previously, the
USAO’s original plea offer in Menchel’s August 3, 2007 letter expressed a “non-negotiable”
demand that Epstein agree to a two-year term of imprisonment, and the final NPA required only
an 18-month sentence, but the decision to reduce the required term of imprisonment from 24 to 18
months was made well before Acosta’s breakfast meeting with counsel. The NPA signed on
September 24, 2007, required 18 months’ incarceration, sexual offender registration, and a
mechanism for the victims to obtain monetary damages from Epstein, and OPR found that these
terms were not abandoned or materially altered after the breakfast meeting.

       At the time of Acosta’s October breakfast meeting with Lefkowitz, two issues involving
the NPA were in dispute. Neither of those issues was ultimately resolved in a way that materially
changed the key provisions of the NPA. First, at Sloman’s instigation, the USAO sought to change
the mechanism for appointing an attorney representative for the victims. This USAO-initiated
request had prompted discussions about an “addendum” to the NPA. Sloman sent the text of a
proposed NPA addendum to Lefkowitz on October 11, 2007. 235 Although OPR found no decisive

234
          Julie K. Brown, “Perversion of Justice: How a future Trump Cabinet member gave a serial sex abuser the
deal of a lifetime,” Miami Herald, Nov. 28, 2018.
235
       In his December 19, 2007, letter to defense attorney Sanchez, Acosta represented that he had proposed the
addendum at the breakfast meeting, but it is clear the addendum was being developed before then.


                                                     160
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 187 of 348




proof that this led to the breakfast meeting, email exchanges between Lefkowitz and Acosta show
that it was under discussion at the time they were scheduling the meeting. Shortly after the
breakfast meeting, Sloman, in Miami, sent an email to Lefkowitz (copying Acosta and Villafaña),
noting that he “just got off the phone with Alex” and offering a slightly revised portion of the
addendum relating to the mechanism for selection of the attorney representative. Sloman later
clarified for Villafaña that “Jay’s suggested revision has been rejected.”

        A second area of continuing negotiation arose from the defense claim that Epstein’s
obligation under the NPA to pay the attorney representative’s fees did not obligate him to pay the
fees and costs of contested litigation filed against him. Although this was at odds with the USAO’s
interpretation of the provision, the USAO and defense counsel reached agreement and clarified the
provision in the NPA addendum that was finalized several weeks after the October breakfast
meeting. Although the revised provision was to Epstein’s advantage, the revision concerned
attorney’s fees and did not materially impede the victims’ ability to seek damages from Epstein
under § 2255. The fact that the negotiations continued after the breakfast meeting indicates that
Acosta did not make promises at the meeting that resolved the issue.

        OPR found limited contemporaneous evidence concerning the discussion between Acosta
and Lefkowitz. In a letter sent to Acosta on October 23, 2007, two weeks after the breakfast
meeting, Lefkowitz represented that Acosta made three significant concessions during the meeting.
Specifically, Lefkowitz claimed that Acosta had agreed (1) not to intervene with the State
Attorney’s Office’s handling of the case, (2) not to contact any of the victim-witnesses or their
counsel, and (3) not to intervene regarding the sentence Epstein received. Acosta told OPR that
he did not remember the breakfast meeting and did not recall making the commitments defense
counsel attributed to him. Acosta also told OPR that Lefkowitz was not a reliable narrator of
events, and on several occasions in written communications had inaccurately and misleadingly
characterized conversations he had with Acosta.

       Of more significance for OPR’s evaluation was a contemporaneous document—an
October 25, 2007 draft response to Lefkowitz’s letter, which Sloman drafted, and Acosta reviewed
and edited for signature by Sloman—that disputed Lefkowitz’s claims. The draft letter stated:

               I specifically want to clarify one of the items that I believe was
               inaccurate in that October 23rd letter. Your letter claimed that this
               Office

                      would not intervene with the State Attorney’s Office
                      regarding this matter; or contact any of the identified
                      individuals, potential witnesses, or potential civil
                      claimants and their respective counsel in this matter;
                      and neither your Office nor the [FBI] would
                      intervene regarding the sentence Mr. Epstein
                      receives pursuant to a plea with the State, so long as
                      that sentence does not violate state law.

               As we discussed and, hopefully, clarified, and as the United States
               Attorney previously explained in an earlier conference call, such a

                                               161
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 188 of 348




               promise equates to the imposition of a gag order. Our Office cannot
               and will not agree to this.

               It is the intent of this Office to treat this matter like any other case.

        Acosta told OPR that this was a polite way of chastising Lefkowitz for mischaracterizing
what Acosta said during the breakfast meeting. Although OPR could not find evidence that the
letter was sent to Lefkowitz, OPR nonetheless considers it persuasive evidence that Acosta, shortly
after the breakfast meeting, disagreed with Lefkowitz’s description of their discussions and had
discussed those disagreements with Sloman.

        Nevertheless, OPR examined the three specific concessions that Lefkowitz described in
the October 23 letter, to determine whether evidence reflected that Acosta had made them during
the breakfast meeting. First, Lefkowitz claimed that Acosta agreed during the breakfast meeting
that he did not intend to interfere with the state’s handling of the case. Contemporaneous
documents show that well before the breakfast meeting, Acosta had expressed the view that he did
not want to “dictate” actions to the State Attorney or the state court. For example, during the NPA
negotiations, Acosta asked Villafaña to “soften” certain language that appeared to require the State
Attorney’s Office or the state court to take specific actions, such as requiring that Epstein enter his
guilty plea or report to begin serving his sentence by a certain date. Although Acosta may have
made a statement during the breakfast meeting expressing his disinclination to interfere with the
state’s proceedings, such a statement would have been a reiteration of his prior position on the
subject, rather than any new concession.

       Lefkowitz also claimed in his October 23, 2007 letter that Acosta agreed not to contact any
of the victims or potential witnesses or their counsel. For the reasons discussed more fully in
Chapter Three, OPR concludes that the decision not to notify the victims about the NPA did not
stem from the breakfast meeting, but rather reflected an assessment of multiple issues and
considerations discussed internally by the subjects who participated in that decision: Acosta,
Sloman, and Villafaña.

         Finally, Lefkowitz’s October 23 letter suggested that Acosta had agreed not to intervene
regarding the sentence Epstein received from the state court, and it asserted that Epstein was
“entitled to any type of sentence available to him, including but not limited to gain time and work
release.” Later communications between the USAO and defense counsel, however, show clearly
that Acosta did not abandon the NPA’s explicit sentencing provision. The NPA required Epstein
to make a joint recommendation with the State Attorney’s Office for an 18-month jail sentence,
although the parties understood that he would receive the same “gain time” benefits available to
all state inmates. After the October breakfast meeting, Sloman and Villafaña, on behalf of the
USAO, repeatedly made clear that it would hold Epstein to that requirement, and the USAO also
subsequently insisted that Epstein was ineligible for work release. For example, in a November 5,
2007 letter, Sloman requested confirmation from defense counsel that “Epstein intends to abide by
his agreement to plead guilty to the specified charges and to make a binding recommendation that
the Court impose a sentence of 18 months of continuous confinement in the county jail.” Shortly
before Epstein entered his plea in June 2008, Villafaña wrote to the State Attorney to remind him
that the NPA required Epstein to plead in state court to an offense that required an 18-month


                                                 162
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 189 of 348




sentence of incarceration, and the USAO would consider a plea that differed from that requirement
a breach of the NPA and would “proceed accordingly.”

        The guilty plea Epstein entered in state court in June 2008 was consistent with the dictates
of the NPA, and pursuant to that plea, the court imposed a sentence of 18 months’ incarceration.
Epstein, however, applied for and was accepted into the work release program, and was able to
serve a substantial portion of his sentence outside of the jail. The NPA did not reference work
release nor authorize Epstein to receive such benefits during his tenure at the Palm Beach County
Stockade. Moreover, Villafaña received assurances from defense counsel that Epstein would serve
his entire sentence of confinement “in custody.” Responsibility for the decision to afford Epstein
work release privileges during his incarceration rested with state officials, who had the sole
authority for administering the work release program.

        After considering the substantial record documenting the decisions made after Acosta’s
October 12, 2007 breakfast meeting with Lefkowitz, OPR found nothing in the record to suggest
that the meeting resulted in a material change to the NPA, affected the sentence Epstein served
pursuant to the NPA, or contributed to state officials’ decision to permit him to participate in work
release.

        F.       Villafaña’s Emails with Defense Attorney Lefkowitz during the NPA
                 Negotiations Do Not Establish That Villafaña, or Other Subjects, Intended to
                 Give Epstein Preferential Treatment or Were Motivated by Favoritism or
                 Other Improper Influences

         During the CVRA litigation, the petitioners obtained from Epstein’s attorney, and filed
under seal, a redacted series of email exchanges between Epstein attorney Lefkowitz and Villafaña
(and others with Acosta and Sloman) during September 2007 when the NPA was being finalized,
and thereafter. These emails had been redacted to delete most of Lefkowitz’s side of the
communications, and consequently they did not reflect the full context of Villafaña’s
communications to Lefkowitz. The redacted emails were later unsealed and made public over
Epstein’s objections. 236 Media coverage pointed to the content and tone of Villafaña’s emails as
proof that Villafaña and the USAO worked in concert with Epstein’s attorneys to keep the
“sweetheart” deal a secret from the victims and the public. Statements in several emails in
particular were cited as evidence of the USAO’s improper favoritism towards Epstein. In one
example, Villafaña told Lefkowitz that she was willing to include in the NPA a provision agreeing
not to prosecute others, but would “prefer not to highlight for the judge all of the other crimes and
all of the other persons that we could charge.” She also offered to meet with him “‘off campus’”
to finalize negotiations. She also proposed, “[o]n an ‘avoid the press’ note,” that filing federal
charges against Epstein in Miami rather than West Palm Beach would substantially reduce press
coverage.



236
         The USAO did not object to the unsealing but requested additional redactions of portions that would reveal
protected information. United States’ Response to Petitioners’ Motion to Use Correspondence to Prove Violations of
the [CVRA] and to Have Their Unredacted Pleadings Unsealed (Apr. 7, 2011). The court declined to order the
additional redactions.


                                                       163
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 190 of 348




       OPR asked Villafaña about these emails and about the tenor of her interactions with
Lefkowitz during the NPA negotiations and with other defense attorneys generally. Villafaña
acknowledged that their tone was collegial and collaborative, and explained that generally, the
tone of these emails reflected her personality and her commitment to complete the task her
supervisors had assigned to her:

               [I]f you were to pull all my e-mails on every case, you would find
               that that is how I communicate with people. I’m a Minnesota girl,
               and I prefer not to be confrontational until I have to be. And I can
               be when I need to be. But my instructions from my supervisors were
               to engage in these negotiations and to complete them. So I felt that
               given that task, the best way to complete them was to reach the
               agreement and, keeping in mind the terms that . . . our office had
               agreed to, and do that in a way that is civil. So . . . although my
               language in the kind of introductory or prefatory communications
               with Mr. Lefkowitz was casual and was friendly, when you look at
               the terms and when he would come back to me asking for changes,
               my response was always, “No, I will not make that change.”

         Villafaña denied any intention to keep the victims uninformed about the NPA or to provide
an improper benefit for Epstein, and she explained the context of the emails in question. The email
in which Villafaña expressed reluctance to “highlight for the judge all of the other crimes and all
of the other persons that we could charge” was written in response to a defense proposal to include
in the federal plea agreement the parties were then considering a promise by the government not
to prosecute Epstein’s assistants and other employees. Lefkowitz had proposed that the plea
agreement state, “Epstein’s fulfilling the terms and conditions of the Agreement also precludes the
initiation of any and all criminal charges which might otherwise in the future be brought against
[four named female assistants] or any employee of [a specific Epstein-owned corporate entity] for
any criminal charge that arises out of the ongoing federal investigation.” Villafaña told OPR that
the USAO was not intending to charge Epstein’s assistants and was not aware of anyone else who
could be charged, and thus did not oppose the request not to prosecute third parties. However,
Villafaña was concerned that an overly detailed federal plea agreement would prompt the court to
require the government to provide further information about the uncharged conduct, which might
lead Epstein to claim the government breached the agreement by providing information to the
court not directly connected to the charges to which he was pleading guilty. Villafaña was not the
only one to express concern about how deeply a federal court might probe the facts, and whether
such probing would interfere with the viability of a plea agreement. In an earlier email, Lourie
had suggested charging Epstein by complaint to allow the USAO more flexibility in plea
negotiations and avoid the problem that a court might not accept a plea to a conspiracy charge that
required dismissal of numerous substantive counts.

       As to Villafaña’s offer to meet with Lefkowitz “off campus” to resolve outstanding issues
in the NPA negotiation, she explained to OPR that she believed a face-to-face meeting at a
“neutral” location—with “all the necessary decision makers present or ‘on call’”— might facilitate
completion of the negotiations, which had dragged on for some time.



                                               164
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 191 of 348




        With regard to her comment about “avoid[ing] the press,” Villafaña told OPR that her goal
was to protect the anonymity of the victims. She said that the case was far more likely to be
covered by the Palm Beach press, which had already written articles about Epstein, than in Miami,
and “if [the victims] wanted to attend [the plea hearing], I wanted them to be able to go into the
courthouse without their faces being splashed all over the newspaper.”

        In evaluating the emails, OPR reviewed all the email exchanges between Villafaña, as well
as Sloman and Acosta, and Lefkowitz and other defense counsel, including the portions redacted
from the publicly released emails (except for a few to or from Acosta, copies of which OPR did
not locate in the USAO records). OPR also considered the emails in the broader context of
Villafaña’s overall conduct during the federal investigation of Epstein. The documentary record,
as well as witness and subject interviews, establishes that Villafaña consistently advocated in favor
of prosecuting Epstein and worked for months toward that goal. She repeatedly pressed her
supervisors for permission to indict Epstein and made numerous efforts to expand the scope of the
case. She opposed meetings with the defense team, and nearly withdrew from the case because
her supervisors agreed to those meetings. Villafaña objected to the decision to resolve the case
through a guilty plea in state court, and she engaged in a lengthy and heated email exchange with
Menchel about that subject. When she was assigned the task of creating an agreement to effect
that resolution, Villafaña fought hard during the ensuing negotiations to hold the USAO’s position
despite defense counsel’s aggressive tactics.

       OPR also considered statements of her supervisors regarding her interactions with defense
counsel. Sloman, in particular, told OPR that reports that Villafaña “was soft on Epstein . . .
couldn’t have been further from the truth.” Sloman added that Villafaña “did her best to implement
the decisions that were made and to hold Epstein accountable.” Lourie similarly told OPR that
when he read the district court’s February 2019 opinion in the CVRA litigation and the emails
from Villafaña cited in that opinion, he was “surprised to see how nice she was to them. And she
winds up taking it on the chin for being so nice to them. When I know the whole time she was the
one who wanted to go after him the most.” The AUSA who assisted Villafaña on the investigation
told OPR “everything that [Villafaña] did . . . was, as far as I could tell, [ ] completely pro
prosecution.”

        Because the emails in question were publicly disclosed without context and without other
information showing Villafaña’s consistent efforts to prosecute Epstein and to assist victims, a
public narrative developed that Villafaña colluded with defense counsel to benefit Epstein at the
expense of the victims. After thoroughly reviewing all of the available evidence, OPR finds that
narrative to be inaccurate. The USAO’s and Villafaña’s interactions with the victims can be
criticized, as OPR does in several respects in this Report, but the evidence is clear that any missteps
Villafaña may have made in her interactions with victims or their attorneys were not made for the
purpose of silencing victims. Rather, the evidence shows that Villafaña, in particular, cared deeply
about Epstein’s victims. Before the NPA was signed, she raised to her supervisors the issue of
consulting with victims, and after the NPA was signed, she drafted letters to notify victims
identified in the federal investigation of the pending state plea proceeding and inviting them to
appear. The draft letters led defense counsel to argue to Department management that Villafaña
and Sloman committed professional misconduct by “threaten[ing] to send a highly improper and
unusual ‘victim notification letter’ to all” of the listed victims. Given the full context of Villafaña’s
conduct throughout her tenure on the case, OPR concludes that her explanations for her emails are

                                                  165
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 192 of 348




entitled to significant weight, and OPR credits them. OPR finds, therefore, that the emails in
question do not themselves establish that Villafaña (or any other subject) acted to improperly
benefit Epstein, was motivated by favoritism or other improper influences, or sought to silence
victims.

         G.       The Evidence Does Not Establish That Acosta, Lourie, or Villafaña Agreed to
                  the NPA’s Provision Promising Not to Prosecute “Potential Co-conspirators”
                  in Order to Protect Any of Epstein’s Political, Celebrity, or Other Influential
                  Associates

        OPR examined the decision by the subjects who negotiated the NPA—Villafaña, Lourie,
and Acosta—to include in the agreement a provision in which the USAO agreed not to prosecute
“any potential co-conspirators of Epstein,” in addition to four named individuals, to determine
whether that provision resulted from the subjects’ improper favoritism towards Epstein or an
improper effort to shield from prosecution any of Epstein’s known associates. Other than various
drafts of the NPA and of a federal plea agreement, OPR found little in the contemporaneous
records mentioning the provision and nothing indicating that the subjects discussed or debated it—
or even gave it much consideration. Drafts of the NPA and of the federal plea agreement show
that the final broad language promising not to prosecute “any potential co-conspirators of Epstein”
evolved from a more narrow provision sought by the defense. The provision expanded as Villafaña
and defense counsel exchanged drafts of, first, a proposed federal plea agreement and, then, of the
NPA, with apparently little analysis and no substantive discussion within the USAO about the
provision. 237

       As the NPA drafting process concluded, Villafaña circulated to Lourie and another
supervisor a draft that contained the non-prosecution provision, telling Lourie it was “some of
[defense counsel’s] requested language regarding promises not to prosecute other people,” and
commenting only, “I don’t think it hurts us.” In a reply email, Lourie responded to another issue
237
          As set forth in OPR’s factual discussion, early in the negotiations over a federal plea agreement, the defense
sought a non-prosecution provision applicable to only four female named assistants of Epstein and to unnamed
employees of one of his companies. Villafaña initially countered with “standard language” referring to unnamed
“co-conspirators” so as to avoid “highlight[ing] for the judge all of the other crimes and all of the other persons that
we could charge.” Nonetheless, drafts of the NPA sent by Lefkowitz after Villafaña’s email continued to include
language referring to the four named assistants and unnamed employees. Villafaña, however, internally circulated
drafts of a federal plea agreement that included language stating, “This agreement resolves the federal criminal liability
of the defendant and any co-conspirators in the Southern District of Florida growing out of any criminal conduct by
those persons known to the [USAO] as of the date of this plea agreement.” The federal plea agreement draft revised
by Lourie and Acosta on September 20, 2007, included that language. When the defense team reverted to negotiation
of state charges, Villafaña advised them, “In the context of a non-prosecution agreement, the [USAO] may be more
willing to be specific about not pursuing charges against others.” The next day, Lefkowitz sent a revised draft NPA
referring to the four named assistants, “any employee” of the named company, and “any unnamed co-conspirators for
any criminal charge that arises out of the ongoing federal investigation.” The language was finally revised by Villafaña
to prohibit prosecution of “any potential co-conspirators of Epstein, including but not limited to [the four named
assistants].”

         In commenting on OPR’s draft report, Villafaña’s counsel and Lourie both noted that the non-prosecution
provision could bind only the USAO, and Lourie further opined that it was limited to certain specified federal charges
and a time-limited scope of conduct. Although the non-prosecution provision in the NPA did not explicitly contain
such limitations, those limitations were included in other parts of the agreement.


                                                          166
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 193 of 348




Villafaña had raised (defense counsel’s attempt to insert an immigration waiver into the
agreement), but Lourie did not comment on the provision promising not to prosecute co-
conspirators or ask Villafaña to explain why she believed the provision did not harm the
government’s interests. In a subsequent email about the draft NPA, Villafaña asked Lourie for
“[a]ny other thoughts,” but there is no indication that he provided further input. OPR found no
document that suggested Villafaña and Lourie discussed the provision further, or that the other
individuals who were copied on Villafaña’s email referencing the provision—her immediate
supervisor, the supervisor designated to succeed Lourie as manager of the West Palm Beach office,
and Villafaña’s co-counsel—commented on or had substantive discussions about it. Villafaña told
OPR that because none of the three supervisors responded to her observation that the non-
prosecution provision “doesn’t hurt us,” Villafaña assumed that they agreed with her assessment.

        Villafaña told OPR that she could not recall a conversation specifically about the provision
agreeing not to prosecute “any potential co-conspirators,” but she remembered generally that
defense counsel told her Epstein wanted “to make sure that he’s the only one who takes the blame
for what happened.” Villafaña told OPR that she and her colleagues believed Epstein’s conduct
was his own “dirty little secret.” Villafaña said that press coverage at the time of Epstein’s 2006
arrest did not allege that any of his famous contacts participated in Epstein’s illicit activity and that
none of the victims interviewed by the case agents before the NPA was signed told the investigators
about sexual activity with any of Epstein’s well-known contacts about whom allegations arose
many years later. 238 Villafaña acknowledged that investigators were aware of Epstein’s longtime
relationship with a close female friend who was a well-known socialite, but, according to
Villafaña, in 2007, they “didn’t have any specific evidence against her.” 239 Accordingly, Villafaña
believed that the only “co-conspirators” of Epstein who would benefit from the provision were the
four female assistants identified by name. 240 Villafaña also told OPR that the focus of the USAO’s
investigation was Epstein, and the office was not inclined to prosecute his four assistants if he
entered a plea. 241 Because Villafaña was unaware of anyone else who could or would be charged,
she perceived no reason to object to a provision promising not to prosecute other, unspecified
“co-conspirators.” Villafaña told OPR that given her understanding of the facts at that time, it did
not occur to her that the reference to other “potential co-conspirators” might be used to protect any
of Epstein’s influential associates.

        Lourie, who was transitioning to his detail at the Department’s Criminal Division at the
time Villafaña forwarded to him the draft NPA containing the non-prosecution provision, told OPR
that he did not know how the provision developed and did not recall any discussions about it.

238
        Villafaña told OPR that “none of . . . the victims that we spoke with ever talked about any other men being
involved in abusing them. It was only Jeffrey Epstein.”
239
         The FBI had interviewed one victim who implicated the female friend in Epstein’s conduct, but the conduct
involving the then minor did not occur in Florida.
240
         The FBI had learned that one of Epstein’s female assistants had engaged in sexual activity with at least one
girl in Epstein’s presence; this assistant was one of the named individuals for whom the defense sought the
government’s agreement not to prosecute from the outset. Villafaña explained to OPR that this individual was herself
believed to also have been at one time a victim.
241
         Villafaña told OPR that the USAO had decided that girls who recruited other girls would not be prosecuted.


                                                        167
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 194 of 348




Lourie described the promise not to prosecute “potential co-conspirators” as “unusual,” and told
OPR that he did not know why it was included in the agreement, but added that it would be “unlike
me if I read that language to just leave it in there unless I thought it was somehow helpful.” Lourie
posited that victims who recruited other underage girls to provide massages for Epstein
“theoretically” could have been charged as co-conspirators. He told OPR that when he saw the
provision, he may have understood the reference to unnamed “co-conspirators” as “a message to
any victims that had recruited other victims that there was no intent to charge them.”

        Acosta did not recall any discussions about the non-prosecution provision. But he told
OPR that Epstein was always “the focus” of the federal investigation, and he would have viewed
the federal interests as vindicated as long as Epstein was required to face “meaningful
consequences” for his actions. Acosta told OPR that when he reviewed the draft NPA, “[t]o the
extent I reviewed this co-conspirator provision, I can speculate that my thinking would have been
the focus is on Epstein[ ] . . . going to jail. Whether some of his employees go to jail, or other,
lesser involved [individuals], is not the focus of this.” Acosta also told OPR that he assumed
Villafaña and Lourie had considered the provision and decided that it was appropriate. Finally,
Sloman, who was not involved in negotiating the NPA, told OPR that in retrospect, he understood
the non-prosecution provision was designed to protect Epstein’s four assistants, and it “never
dawned” on him that it was intended to shield anyone else.

        This broad provision promising not to prosecute “any potential co-conspirators” is
troubling and, as discussed more fully later in this Report, OPR did not find evidence showing that
the subjects gave careful consideration to the potential scope of the provision or whether it was
warranted given that the investigation had been curtailed and the USAO lacked complete
information regarding possible co-conspirators. Villafaña precipitously revised a more narrow
provision sought by the defense. Given its evolution from a provision sought by the defense, it
appears unlikely to have been designed to protect the victims, and there is no indication that at the
time, the subjects believed that was the purpose. However, the USAO had not indicated interest
in prosecuting anyone other than the four named female assistants, and OPR found no record
indicating that Epstein had expressed concern about the prosecutive fate of anyone other than the
four assistants and unnamed employees of a specific Epstein company. Accordingly, OPR
concludes that the evidence does not show that Acosta, Lourie, or Villafaña agreed to the non-
prosecution provision to protect any of Epstein’s political, celebrity, or other influential
associates. 242

        H.       OPR’s Investigation Did Not Reveal Evidence Establishing That Epstein
                 Cooperated in Other Federal Investigations or Received Special Treatment on
                 That Basis

       One final issue OPR explored stemmed from media reports suggesting that Epstein may
have received special treatment from the USAO in return for his cooperation in another federal



242
         As previously stated, Sloman was on vacation when Villafaña included the provision in draft plea agreements
and did not monitor the case or comment on the various iterations of the NPA that were circulated during his absence.
Menchel left the USAO on August 3, 2007, before the parties drafted the NPA.


                                                        168
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 195 of 348




investigation. 243 Media reports in mid-2009 suggested Epstein was released from his state
incarceration “early” because he was assisting in a financial crimes investigation in the Eastern
District of New York involving Epstein’s former employer, Bear Stearns. At the time, Villafaña
was notified by the AUSAs handling the matter that they “had never heard of” Epstein and he was
providing “absolutely no cooperation” to the government. In 2011, Villafaña reported to senior
colleagues that “this is urban myth. The FBI and I looked into this and do not believe that any of
it is true.” Villafaña told OPR that the rumor that Epstein had cooperated with the case in New
York was “completely false.” Acosta told OPR that he did not have any information about Epstein
cooperating in a financial investigation or relating to media reports that Epstein had been an
“intelligence asset.” 244

        In addition to the contemporaneous record attesting that Epstein was not a cooperating
witness in a federal matter, OPR found no evidence suggesting that Epstein was such a cooperating
witness or “intelligence asset,” or that anyone—including any of the subjects of OPR’s
investigation—believed that to be the case, or that Epstein was afforded any benefit on such a
basis. OPR did not find any reference to Epstein’s purported cooperation, or even a suggestion
that he had assisted in a different matter, in any of the numerous communications sent by defense
counsel to the USAO and the Department. It is highly unlikely that defense counsel would have
omitted any reason warranting leniency for Epstein if it had existed.

        Accordingly, OPR concludes that none of the subjects of OPR’s investigation provided
Epstein with any benefits on the basis that he was a cooperating witness in an unrelated federal
investigation, and OPR found no evidence establishing that Epstein had received benefits for
cooperation in any matter.

V.       ACOSTA EXERCISED POOR JUDGMENT BY RESOLVING THE FEDERAL
         INVESTIGATION THROUGH THE NPA

        Although OPR finds that none of the subjects committed professional misconduct in this
matter, OPR concludes that Acosta exercised poor judgment when he agreed to end the federal
investigation through the NPA. Acosta’s flawed application of Petite policy principles to this case
and his concerns with overstepping the boundaries of federalism led to a decision to resolve the
federal investigation through an NPA that was too difficult to administer, leaving Epstein free to
manipulate the conditions of his sentence to his own advantage. The NPA relied on state
authorities to implement its key terms, leading to an absence of control by federal authorities over
the process. Although the prosecutors considered certain events that they addressed in the NPA,
such as gain time and community control, many other key issues were not, such as work release
and mechanisms for implementing the § 2255 provision. Important provisions, such as promising
not to prosecute all “potential co-conspirators,” were added with little discussion or consideration
by the prosecutors. In addition, although there were evidentiary and legal challenges to a

243
         See, e.g., Julie K. Brown, “Perversion of Justice: How a future Trump Cabinet member gave a serial sex
abuser the deal of a lifetime,” Miami Herald, Nov. 28, 2018.
244
         When OPR asked Acosta about his apparent equivocation during his 2019 press conference, in answering a
media question about whether he had knowledge of Epstein being an “intelligence asset,” Acosta stated to OPR that
“the answer is no.” Acosta was made aware that OPR could use a classified setting to discuss intelligence information.


                                                        169
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 196 of 348




successful federal prosecution, Acosta prematurely decided to resolve the case without adequately
addressing ways in which a federal case potentially could have been strengthened, such as by
obtaining Epstein’s missing computer equipment. Finally, a lack of coordination within the USAO
compounded Acosta’s flawed reasoning and resulted in insufficient oversight over the process of
drafting the NPA, a unique document that required more detailed attention and review than it
received. These problems were, moreover, entirely avoidable because federal prosecution, and
potentially a federal plea agreement, existed as viable alternatives to the NPA resolution.

        In evaluating Acosta’s conduct, OPR has considered and taken into account the fact that
some of Epstein’s conduct known today was not known in 2007 and that other circumstances have
changed in the interim, including some victims’ willingness to testify. OPR has also evaluated
Acosta’s decisions in a framework that recognizes and allows for decisions that are made in good
faith, even if the decision in question may not have led to the “best” result that potentially could
have been obtained. Nonetheless, after considering all of the available evidence and the totality
of the then-existing circumstances, OPR concludes that Acosta exercised poor judgment in that he
chose an action or course of action that was in marked contrast to that which the Department would
reasonably expect of an attorney exercising good judgment.

       A.      Acosta’s Decision to Resolve the Federal Investigation through a State Plea
               under Terms Incorporated into the NPA Was Based on a Flawed Application
               of the Petite Policy and Federalism Concerns, and Failed to Consider the
               Significant Disadvantages of a State-Based Resolution

         The Department formulated the Petite policy in response to a series of Supreme Court
opinions holding that the Constitution does not deny state and federal governments the power to
prosecute for the same act. Responding to the Court’s concerns about the “potential for abuse in
a rule permitting duplicate prosecutions,” the Department voluntarily adopted a policy of declining
to bring a federal prosecution following a completed state prosecution for the same conduct, except
when necessary to advance a compelling federal interest. See Rinaldi v. United States, 434 U.S.
at 28. On its face, the Petite policy applies to federal prosecutions that follow completed state
prosecutions. USAM § 9-2.031 (“This policy applies whenever there has been a prior state . . .
prosecution resulting in an acquittal, a conviction, including one resulting from a plea agreement,
or a dismissal or other termination of the case on the merits after jeopardy has attached.”). When
a state investigation or prosecution is still pending, the policy does not apply. Indeed, even when
a state prosecution has resulted in a decision on the merits, the policy permits a subsequent federal
prosecution when three substantive prerequisites are satisfied: a “substantial federal interest”
exists, “the result in the prior state prosecution was manifestly inadequate in light of the federal
interest involved,” and there is sufficient admissible evidence to obtain and sustain a conviction
on federal charges. The policy also does not apply when “the prior prosecution involved only a
minor part of the contemplated federal charges.”

        No one with whom OPR spoke disputed that the federal government had a substantial
interest in prosecuting Epstein. In her prosecution memorandum, Villafaña identified five federal
statutes that Epstein had potentially violated. The CEOS Chief described Villafaña’s assessment
of these statutes as “exhaustive,” and he concurred with her analysis of their applicability to the
facts of the case. Epstein’s crimes involved the sexual exploitation of children, interstate travel,
and the use of a facility of interstate commerce, all of which were areas of federal concern.

                                                170
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 197 of 348




Notably, in the early 2000s, the Department had begun pursuing specific initiatives to combat child
sex trafficking, including Project Safe Childhood, and Congress had then recently passed the
PROTECT Act. Acosta himself told OPR that the exploitation of minors was “an important federal
interest,” which in Epstein’s case was compounded by the “sordidness” of the acts involved and
the number of victims.

        It is also clear that because the state case against Epstein was still pending and had not
reached a conviction, acquittal, or other decision on the merits, the Petite policy did not apply and
certainly did not preclude a federal prosecution of Epstein. He had been charged with one state
charge of solicitation to prostitution on three occasions, involving one or more other persons
without regard to age—a charge that would have addressed only a scant portion of the conduct
under federal investigation. Acosta acknowledged to OPR that the Petite policy “on its face” did
not apply. Moreover, the State Attorney did not challenge the federal government’s assumption
of prosecutorial responsibility, and despite having obtained an indictment, held back on proceeding
with the state prosecution in deference to the federal government’s involvement. In these
circumstances, the USAO was free to proceed with a prosecution sufficient to ensure vindication
of the federal interest in prosecuting a man who traveled interstate repeatedly to prey upon minors.
The federal government was uniquely positioned to fully investigate the conduct of an individual
who engaged in repeated criminal conduct in Florida but who also traveled extensively and had
residences outside of Florida. Even if the Petite policy had applied, OPR has little doubt that the
USAO could have obtained authorization from the Department to proceed with a prosecution under
the circumstances of this case. 245

        Despite the undeniable federal interest in prosecuting Epstein, the fact that the Petite policy
did not apply, and the State Attorney’s willingness to hold the state prosecution in abeyance
pending the federal government’s assumption of the case, Acosta viewed the federal government’s
role in prosecuting Epstein as limited by principles of federalism. 246 In essence, Acosta believed
that a federal prosecution would have interfered improperly with the state’s authority. He
explained his reasoning to OPR:



245
          In 2008, the Office of Enforcement Operations, the office charged with reviewing Petite policy waiver
requests, opined that even if the Petite policy applied with respect to the victims of the indicted state charges, it would
not apply to federal prosecution of charges relating to any other victim. The office also noted that if other factors
existed, such as use of the internet to contact victims, those factors might warrant a waiver of the policy, if it did apply.
246
          In commenting on OPR’s draft report, Acosta’s counsel argued that OPR inappropriately bifurcated Acosta’s
concerns from those of the other subjects. However, OPR’s investigation made clear that, although Acosta shared his
subordinates’ concerns about the strength of the case, victim-witness credibility, and the novelty of some legal
theories, he alone focused on federalism issues. Acosta’s counsel also asserted that OPR “misunderstands and
devalues Secretary Acosta’s very real and legitimate interest in the development of human trafficking laws,” and
counsel further noted Acosta’s concerns that “bringing a case with serious evidentiary challenges pressing novel legal
issues could result in an outcome that set back the development of trafficking laws and resulted in an aggregate greater
harm to trafficking victims.” Although OPR carefully considered counsel’s arguments and agrees that it was
appropriate to consider any implications the proposed prosecution of Epstein might have for the Department’s anti-
trafficking efforts, OPR does not believe that those concerns warranted resolving the matter through the NPA, which,
for the reasons discussed in this Section, failed to satisfy the federal interest and allowed Epstein to manipulate the
state system to his benefit.


                                                            171
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 198 of 348




                [The prosecution] was going forward on the part of the state, and so
                here is the big bad federal government stepping on a sovereign . . .
                state, saying you’re not doing enough, [when] to my mind . . . the
                whole idea of the [P]etite policy is to recognize that the []state . . .
                is an independent entity, and that we should presume that what
                they’re doing is correct, even if we don’t like the outcome, except
                in the most unusual of circumstances.

        Acosta told OPR that “absent USAO intervention,” the state’s prosecution of Epstein
would have become final, and accordingly, it was “prudent” to employ Petite policy analysis. In
Acosta’s view, “the federal responsibility” in this unique situation was merely to serve as a “back-
stop [to] state authorities to ensure that there [was] no miscarriage of justice.” 247 Acosta told OPR
that he understood the PBPD would not have brought Epstein to the FBI’s attention if the State
Attorney had pursued charges that required Epstein’s incarceration. Acosta therefore decided that
the USAO could avert a “manifest injustice” by forcing the state to do more and require Epstein
to serve time in jail and register as a sexual offender.

         Acosta’s reasoning was flawed and unduly constricted. Acosta’s repeated references to a
“miscarriage of justice” or “manifest injustice” echoes the “manifestly inadequate” language used
in the Petite policy to define the circumstances in which the federal government may proceed with
a criminal case after a completed state prosecution. Nothing in the Petite policy, however, requires
similar restraint when the federal government pursues a case in the absence of a completed state
prosecution, even if the state is already investigating the same offense. The goal of the Petite
policy is to prevent multiple prosecutions for the same offense, not to compel the federal
government to defer to a parallel state interest in a case, particularly one in which state officials
involved in the state prosecution expressed significant concerns about it, and there were questions
regarding the state prosecutor’s commitment to the case. Acosta told OPR that “there are any
number of instances where the federal government or the state government can proceed, and state
charges are substantially less and different, and . . . the federal government . . . stands aside and
lets the state proceed.” The fact that the federal government can allow the state to proceed with a
prosecution, however, does not mean the federal government is compelled to do so, particularly in
a matter in which a distinct and important federal interest exists. Indeed, the State Attorney told
OPR that the federal government regularly takes over cases initiated by state investigators,
typically because federal charges result in “the best sentence.”

        Epstein was facing a substantial sentence under the federal sentencing guidelines. 248
Despite the Ashcroft Memo’s directive that federal prosecutors pursue “the most serious readily
provable offense,” Acosta’s decision to push “the state to do a little bit more” does not approach
that standard. In fact, Acosta conceded during his OPR interview that the NPA did not represent
an “appropriate punishment” in the federal system, nor even “the best outcome in the state system,”
and that if the investigation of Epstein had originated with the FBI, rather than as a referral from
the PBPD, the outcome might have been different. As U.S. Attorney, Acosta had the authority to

247
        Letter from R. Alexander Acosta “To whom it may concern” at 1 (Mar. 20, 2011), published online in The
Daily Beast.
248
        Villafaña estimated that the applicable sentencing guidelines range was 168 to 210 months’ imprisonment.


                                                      172
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 199 of 348




depart from the Ashcroft Memo. He told OPR, however, that he did not recall discussing the
Ashcroft Memo with his colleagues and nothing in the contemporaneous documentary record
suggests that he made a conscious decision to depart from it when he decided to resolve the federal
investigation through the NPA. Instead, it appears that Acosta simply failed to consider the tension
between federal charging policy and the strong federal interest in this case, on the one hand, and
his broad reading of the Petite policy and his general concerns about “federalism,” on the other
hand. OPR concludes that Acosta viewed the federal government’s role in prosecuting Epstein
too narrowly and through the wrong prism.

        Furthermore, Acosta’s federalism concerns about intruding on the state’s autonomy
resulted in an outcome—the NPA—that intruded far more on the state’s autonomy than a decision
to pursue a federal prosecution would have. 249 By means of the NPA, the federal government
dictated to the state the charges, the sentence, the timing, and certain conditions that the state had
to obtain during the state’s own prosecution. Acosta acknowledged during his OPR interview that
his “attempt to backstop the state here[] rebounded, because in the process, it . . . ended up being
arguably more intrusive.”

        Acosta’s concern about invading the state’s authority led to additional negative
consequences. Acosta revised the draft NPA in several respects to “soften” its tone, by substituting
provisions requiring Epstein to make his “best efforts” for language that appeared to dictate certain
actions to the state. In so doing, however, Acosta undermined the enforceability of the agreement,
making it difficult later to declare Epstein in breach when he failed to comply.

        OPR found no indication that when deciding to resolve the federal prosecution through a
mechanism that relied completely on state action, Acosta considered the numerous disadvantages
of having Epstein plead guilty in the state court system, a system in which none of the subjects had
practiced and with which they were unfamiliar. Villafaña recognized that there were “a lot of ways
to manipulate state sentences,” and she told OPR that she was concerned from the outset of
negotiations about entering into the NPA, because by sending the case back to the state the USAO
was “giving up all control over what was going on.” Villafaña also told OPR that defense counsel
“had a lot of experience with the state system. We did not.” Epstein’s ability to obtain work
release, a provision directly contrary to the USAO’s intent with respect to Epstein’s sentence, is a
clear example of the problem faced by the prosecutors when trying to craft a plea that depended
on a judicial system with which they were unfamiliar and over which they had no control.
Although the issue of gain time was considered and addressed in the NPA, none of the subject
attorneys negotiating the NPA realized until after the NPA was signed that Epstein might be
eligible for work release. Acosta, in particular, told OPR that “if it was typical to provide that kind
of work release in these cases, that would have been news to me.” Because work release was not
anticipated, the NPA did not specifically address it, and the USAO was unable to foreclose Epstein
from applying for admission to the program.


249
         The Petite policy only applies to the Department of Justice and federal prosecutions. It does not prevent state
authorities from pursuing state charges after a federal prosecution. See, e.g., United States v. Nichols and State v.
Nichols (dual prosecution for acts committed in the bombing of the Oklahoma City federal building). However, in
practice and to use their resources most efficiently, state authorities often choose not to pursue state charges if the
federal prosecution results in a conviction.


                                                         173
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 200 of 348




        The sexual offender registration provision is yet another example of how Acosta’s decision
to create an unorthodox mechanism that relied on state procedures to resolve the federal
investigation led to unanticipated consequences benefitting Epstein. Acosta told OPR that one of
the core aspects of the NPA was the requirement that Epstein plead guilty to a state charge
requiring registration as a sexual offender. He cited it as a provision that he insisted on from the
beginning and from which he never wavered. However, the USAO failed to anticipate certain
factors that affected the sexual offender registration requirement in other states where Epstein had
a residence. In selecting the conduct for the factual basis for the crime requiring sexual offender
registration, the state chose conduct involving a victim who was at least 16 at the time of her
interactions with Epstein, even though Epstein also had sexual contact with a 14-year old victim.
The victim’s age made a difference, as the age of consent in New Mexico, where Epstein had a
residence, was 16; therefore, Epstein was not required to register in that state. As a 2006 letter
from defense counsel Lefcourt to the State Attorney’s Office made clear, the defense team had
thoroughly researched the details and ramifications of Florida’s sexual offender registration
requirement; OPR did not find evidence indicating similar research and consideration by the
USAO.

        Finally, Acosta was well aware that the PBPD brought the case to the FBI’s attention
because of a concern that the State Attorney’s Office had succumbed to “pressure” from defense
counsel. Villafaña told OPR that she informed both Acosta and Sloman of this when she met with
them at the start of the federal investigation. Although Acosta did not remember the meeting with
Villafaña, he repeatedly told OPR during his interview that he was aware that the PBPD was
dissatisfied with the State Attorney’s Office’s handling of the case. Shortly before the NPA was
signed, moreover, additional information came to light that suggested the State Attorney’s Office
was predisposed to manipulating the process in Epstein’s favor. Specifically, during the
September 12, 2007 meeting, at the state prosecutor’s suggestion, the USAO team agreed, with
Acosta’s subsequent approval, to permit Epstein to plead guilty to one state charge of solicitation
of minors to engage in prostitution, rather than the three charges the USAO had originally
specified. The state prosecutor assured Lourie that the selected charge would require Epstein to
register as a sexual offender. Shortly thereafter, the USAO was told by defense counsel that despite
the assurances made to Lourie, the state prosecutor had advised Epstein—incorrectly, it turned
out—that a plea to that particular offense would not require him to register as a sexual offender.
Yet, despite this evidence, which at least suggested that the state authorities should not have been
considered to be a reliable partner in enforcing the NPA, Acosta did not alter his decision about
proceeding with a process that depended completely on state authorities for its successful
execution.

        OPR finds that Acosta was reasonably aware of the facts and circumstances presented by
this case. He stated that he engaged in discussions about various aspects of the case with Sloman
and Menchel, and relied upon them for their evaluation of the legal and evidentiary issues and for
their assessment of trial issues. Acosta was copied on many substantive emails, reviewed and
revised drafts of the NPA, and approved the final agreement. Yet, rather than focusing on whether
the state’s prosecution was sufficient to satisfy the federal interest in prosecuting Epstein, Acosta
focused on achieving the minimum outcome necessary to satisfy the state’s interest, as defined in
part by the state’s indictment, by using the threat of a federal prosecution to dictate the terms of



                                                174
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 201 of 348




Epstein’s state guilty plea. 250 As U.S. Attorney, Acosta had the authority to resolve the case in
this manner, but OPR concludes that in light of all the surrounding circumstances, his decision to
do so reflected poor judgment. Acosta’s application of Petite policy principles was too expansive,
his view of the federal interest in prosecuting Epstein was too narrow, and his understanding of
the state system was too imperfect to justify the decision to use the NPA. 251

         B.       The Assessment of the Merits of a Potential Federal Prosecution Was
                  Undermined by the Failure to Obtain Evidence or Take Other Investigative
                  Steps That Could Have Changed the Complexion of the Case

        The leniency resulting from Acosta’s decision to resolve the case through the NPA is also
troubling because the USAO reached agreement on the terms of the NPA without fully pursuing
evidence that could have changed the complexion of the case or afforded the USAO significant
leverage in negotiating with Epstein. Acosta told OPR that his decision to resolve the federal
investigation through the NPA was, in part, due to concerns about the merits of the case and
concerns about whether the government could win at trial. Yet, Acosta made the decision to
resolve the case through a state-based resolution and extended that proposal to Epstein’s defense
attorneys before the investigation was completed. As the investigation progressed, the FBI
continued to locate additional victims, and many had not been interviewed by the FBI by the time
of the initial offer. In other words, at the time of Acosta’s decision, the USAO did not know the
full scope of Epstein’s conduct; whether, given Epstein’s other domestic and foreign residences,
his criminal conduct had occurred in other locations; or whether the additional victims might
implicate other offenders. In addition, Villafaña planned to approach the female assistants to
attempt to obtain cooperation, but that step had not been taken. 252 Most importantly, Acosta ended
the investigation without the USAO having obtained an important category of potentially
significant evidence: the computers removed from Epstein’s home prior to the PBPD’s execution
of a search warrant.

       The PBPD knew that Epstein had surveillance cameras stationed in and around his home,
which potentially captured video evidence of people visiting his residence, and that before the state
250
         Acosta told OPR that he understood that if Epstein had pled to the original charges contemplated by the state,
he would have received a two-year sentence, and in that circumstance, the PBPD would not have brought the case to
the FBI. OPR was unable to verify that charges originally contemplated by the state would have resulted in a two-
year sentence. OPR’s investigation confirmed, however, that the PBPD brought the case to the FBI because the PBPD
Chief was dissatisfied with the state’s handling of the matter.
251
         In commenting on OPR’s draft report, Acosta’s attorney stated that Acosta “accept[ed] OPR’s conclusion
that deferring prosecution of Jeffrey Epstein to the State Attorney rather than proceeding with a federal indictment or
a federal plea was, in hindsight, poor judgment.” Acosta also acknowledged that the USAO’s handling of the matter
“would have benefited from more consistent staffing and attention. No one foresaw the additional challenges that the
chosen resolution would cause. And the [NPA] relied too much on state authorities, who gave Epstein and his counsel
too much wiggle-room.” Acosta’s counsel also noted that Acosta welcomed the public release of the Report, “did not
challenge OPR’s authority, welcomed the review, and cooperated fully.”
252
          Although the FBI interviewed numerous employees of Epstein and Villafaña identified three of his female
assistants as potential co-conspirators, at the time that the USAO extended the terms of its offer, there had been no
significant effort to obtain these individuals’ cooperation against Epstein. The FBI attempted unsuccessfully to make
contact with two female assistants on August 27, 2007, as Epstein’s private plane was departing for the Virgin Islands,
but agents were unable to locate them on board the plane.


                                                         175
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 202 of 348




search warrant was executed on that property, the computer equipment associated with those
cameras had been removed. Villafaña knew who had possession of the computer equipment.
Surveillance images might have shown the victims’ visits, and photographic evidence of their
appearance at the time of their encounters with Epstein could have countered the anticipated
argument that Epstein was unaware these girls were minors. The surveillance video might have
shown additional victims the investigators had not yet identified. Such images could have been
powerful visual evidence of the large number of girls Epstein victimized and the frequency of their
visits to his home, potentially persuasive proof to a jury that this was not a simple “solicitation”
case.

        Epstein’s personal computers possibly contained even more damning evidence. Villafaña
told OPR that the FBI had information that Epstein used hidden cameras in his New York residence
to record his sexual encounters, and one victim told agents that Epstein’s assistant photographed
her in the nude. Based on this evidence, and experience in other sex cases involving minors,
Villafaña and several other witnesses opined to OPR that the computers might have contained
child pornography. Moreover, Epstein lived a multi-state lifestyle; it was reasonable to assume
that he may have transmitted still images or videos taken at his Florida residence over the internet
to be accessed while at one of his other homes or while traveling. The interstate transmission of
child pornography was a separate, and serious, federal crime that could have changed the entire
complexion of the case against Epstein. 253 Villafaña told OPR, “[I]f the evidence had been what
we suspected it was . . . [i]t would have put this case completely to bed. It also would have
completely defeated all of these arguments about interstate nexus.”

        Because she recognized the potential significance of this evidence, Villafaña attempted to
obtain the missing computers. After Villafaña learned that an individual associated with one of
Epstein’s attorneys had possession of the computer equipment that was removed from Epstein’s
home, she consulted with Department subject matter experts to determine how best to obtain the
evidence. Following the advice she received and after notifying her supervisors, Villafaña took
legal steps to obtain the computer equipment.

        Epstein’s team sought to postpone compliance with the USAO’s demand for the
equipment. In late June 2007, defense attorney Sanchez requested an extension of time to comply;
in informing Sloman, Menchel, and Lourie of the request, Villafaña stressed that “we want to get
the computer equipment that was removed from Epstein’s home prior to the state search warrant
as soon as possible.” She agreed to extend the date for producing the computer equipment by one
week until July 17, 2007. On that day, Epstein initiated litigation regarding the computer
equipment. That litigation was still pending at the end of July, when Acosta decided to resolve

253
       18 U.S.C. § 2251(a) provides, in pertinent part:

                Any person who . . . induces . . . any minor to engage in . . . any sexually explicit
                conduct for the purpose of producing any visual depiction of such conduct, shall
                be punished . . . if such person knows or has reason to know that such visual
                depiction will be . . . transmitted using any means or facility of interstate . . .
                commerce or in or affecting interstate . . . commerce . . . [or] if that visual depiction
                was produced or transmitted using materials that have been mailed, shipped, or
                transported in or affecting interstate or . . . commerce by any means, including by
                computer.


                                                          176
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 203 of 348




the federal investigation in exchange for a plea in state court to a charge that carried a two-year
sentence. The FBI co-case agent told OPR that, in a meeting to discuss the resolution, at which
the FBI was present, the co-case agent specifically suggested that the USAO wait to pursue a
resolution until after the litigation was resolved, but this suggestion was “pushed under the rug”
without comment. Although the co-case agent could not recall who was present, the case agent
recalled that Menchel led the meeting, which occurred while the litigation was still pending.

        Even after the NPA two-year state plea resolution was presented to the defense, Villafaña
continued to press ahead to have the court resolve the issue concerning the defense production of
the computer equipment. On August 10, 2007, she asked Lourie for authorization to oppose
Epstein’s efforts to stay the litigation until after an anticipated meeting between the USAO and the
defense, informing Lourie that a victim interviewed that week claimed she started seeing Epstein
at age 14 and had been photographed in the nude. A few days later, Villafaña told defense counsel
that she had “conferred with the appropriate people, and we are not willing to agree to a stay.”
Defense counsel then contacted Lourie, who agreed to postpone the hearing until after the
upcoming meeting with Acosta. After the meeting, and when the court sought to reschedule the
hearing, Villafaña emailed Sloman to ask if she should “put it off”; he replied, “Yes,” and the
hearing was re-set for September 18, 2007. As negotiations towards the NPA progressed,
however, the hearing was postponed indefinitely. Ultimately the NPA itself put the issue to rest
by specifying that all legal process would be held in abeyance unless and until Epstein breached
the agreement.

        Villafaña told OPR that she had learned through law enforcement channels that the defense
team had reviewed the contents of Epstein’s computers. She told OPR that, in her view, “the fact
that the defense was trying desperately to put off the hearing . . . was further evidence of the
importance of the evidence.”

       OPR questioned Acosta about the decisions to initiate, and continue with, the NPA
negotiations while the litigation concerning the computers was still pending, and to agree to
postpone the litigation rather than exhausting all efforts to obtain and review the computer
evidence. Acosta told OPR that he had no recollection of Villafaña’s efforts to obtain the missing
computers, but he believed that “there was a desire to move quickly as opposed to slowly”
regarding the plea.

        Menchel, Sloman, and Lourie also all told OPR that they did not remember Villafaña’s
efforts to obtain the computers or recalled the issue only “vaguely.” Menchel expressed surprise
to OPR that a prosecutor could obtain “an entire computer” through the method utilized by
Villafaña, telling OPR, “I had not heard of that.” However, the contemporaneous records show
that Sloman, Menchel, and Lourie had each been aware in 2007 of Villafaña’s efforts to obtain
Epstein’s missing computer equipment.

        Villafaña kept Menchel, in particular, well informed of her efforts to obtain the computer
equipment. She sent to Menchel, or copied him on, several emails about her plan to obtain the
computer equipment; specifically, her emails on May 18, 2007, July 3, 2007, and July 16, 2007,
all discussed her proposed steps. Villafaña told OPR that Lourie was involved in early discussions
about her proposal to obtain the evidence. Lourie also received Villafaña’s July 16, 2007 email
discussing the computer equipment and the plan to obtain it, and on one occasion he spoke directly

                                                177
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 204 of 348




with one of Epstein’s defense attorneys about it. Sloman told OPR during his interview that he
“vaguely” remembered the computer issue. The documentary evidence confirms that he had at
least some contemporaneous knowledge of the issue—when asked by Villafaña whether to put off
a September 12, 2007 hearing on the litigation, he told her to do so. Finally, as noted previously,
the FBI co-case agent proposed at a meeting with USAO personnel that the USAO wait until the
litigation was resolved before pursuing plea negotiations.

         Contemporaneous records show that Acosta was likely aware before the NPA was signed
of the USAO’s efforts to obtain custody of Epstein’s computers and that after the NPA was signed,
he was informed about the use of legal process for obtaining the computer equipment. The NPA
itself provides that “the federal . . . investigation will be suspended, and all pending [legal process]
will be held in abeyance,” that Epstein will withdraw his “motion to intervene and to quash certain
[legal process],” and, further, that the parties would “maintain . . . evidence subject to [legal
process] that have been issued, and including certain computer equipment, inviolate” until the
NPA’s terms had been fully satisfied, at which point the legal process would be “deemed
withdrawn.” (Emphasis added.) Acosta’s numerous edits on the NPA’s final draft suggest that he
gave it a close read, and OPR expects that Acosta would not have approved the agreement without
understanding what legal process his office was agreeing to withdraw, or why the only type of
evidence specified was “certain computer equipment.” In addition, Acosta told OPR that he
worked closely with Sloman and Menchel, consulted with them, and relied on their counsel about
the case. Among other things, Acosta said he discussed with them concerns about the law and the
evidentiary issues presented by a federal criminal trial. Therefore, although it is possible that
Sloman made the decision to postpone the hearing concerning the USAO’s efforts to obtain the
computer equipment without consulting Acosta, once Acosta reviewed the draft NPA, Acosta was
on notice of the existence of and the ongoing litigation concerning Epstein’s missing computer
equipment.

        Villafaña knew where the computers were; litigation over the demand for the equipment
was already underway; there was good reason to believe the computers contained relevant—and
potentially critical—information; and it was clear Epstein did not want the contents of his
computers disclosed. Nothing in the available record reveals that the USAO benefitted from
abandoning pursuit of this evidence when they did, or that there was any significant consideration
of the costs and benefits of forgoing the litigation to obtain production of the computers.254
Instead, the USAO agreed to postpone and ultimately to abandon its efforts to obtain evidence that
could have significantly changed Acosta’s decision to resolve the federal investigation with a state
guilty plea or led to additional significant federal charges. By agreeing to postpone the litigation,
the USAO gave away leverage that might have caused the defense to come to an agreement much
earlier and on terms more favorable to the government. The USAO ultimately agreed to a term in
the NPA that permanently ended the government’s ability to obtain possible evidence of significant
crimes and did so with apparently little serious consideration of the potential cost.


254
         If the USAO had significant concerns about its likelihood of prevailing, postponing the litigation to use it as
leverage in the negotiations might have been strategically reasonable. Lourie suggested in his response to his interview
transcript that the court might have precluded production of the computers. However, OPR saw no evidence indicating
that Villafaña or her supervisors were concerned that the court would do so, and Villafaña had consulted with the
Department’s subject matter experts before initiating her action to obtain the equipment.


                                                         178
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 205 of 348




        To be clear, OPR is not suggesting that prosecutors must obtain all available evidence
before reaching plea agreements or that prosecutors cannot reasonably determine that reaching a
resolution is more beneficial than continuing to litigate evidentiary issues. Every case is different
and must be judged on its own facts. In this case, however, given the unorthodox nature of the
state-based resolution, the fact that Acosta’s decision to pursue it set the case on a wholly different
track than what had been originally contemplated by his experienced staff, the nature and scope of
Epstein’s criminal conduct, the circumstances surrounding the removal of the computers from
Epstein’s residence, and the potential for obtaining evidence revealing serious additional criminal
conduct, Acosta had a responsibility to ensure that he was fully informed about the consequences
of pursing the course of action that he proposed and particularly about the consequences flowing
from the express terms of the NPA. In deciding to resolve the case pre-charge, Acosta lost sight
of the bigger picture that the investigation was not completed and viable leads remained to be
pursued. The decision to forgo the government’s efforts to obtain the computer evidence and to
pursue significant investigative steps should have been made only after careful consideration of
all the costs and benefits of the proposed action. OPR did not find evidence that Acosta fully
considered the costs of ending the investigation prematurely. 255

         C.       OPR Was Unable to Determine the Basis for the Two-Year Term of
                  Incarceration, That It Was Tied to Traditional Sentencing Goals, or That It
                  Satisfied the Federal Interest in the Prosecution

       The heart of the controversy surrounding the Epstein case is the apparent undue leniency
afforded him concerning his sentence. After offering a deal that required a “non-negotiable”
24-month term of incarceration, Acosta agreed to resolve it for an 18-month term of incarceration,
knowing that gain time would reduce it further, and indeed, Epstein served only 13 months.
Epstein ultimately did not serve even that minimal sentence incarcerated on a full-time basis
because the state allowed Epstein into its work release program within the first four months of his
sentence. As Lourie told OPR, “[E]verything else that happened to [Epstein] is exactly what
should have happened to him. . . . He had to pay a lot of money. He had to register as a sex
offender,” but “in the perfect world, [Epstein] would have served more time in jail.”

        Due to the passage of time and the subjects’ inability to recall many details of the relevant
events, OPR was unable to develop a clear understanding of how the original two-year sentence
requirement was developed or by whom. Two possibilities were articulated during OPR’s subject
interviews: (1) the two years represented the sentence Epstein would have received had he pled
guilty to an unspecified charge originally contemplated by the state; or (2) the two years
represented the sentence the USAO determined Epstein would be willing to accept, thus avoiding
the need for a trial. As to the former possibility, Acosta told OPR that his “best understanding” of
the two-year proposal was that it correlated to “one of the original state charges.” He elaborated,

255
          In commenting on OPR’s draft report, Acosta’s attorney objected to OPR’s conclusion that Acosta knew or
should have known about the litigation regarding the computers and that he should have given greater consideration
to pursuing the computers before the NPA was signed. Acosta’s attorney asserted that Acosta was not involved in
that level of “granularity”; that his “‘small thoughts’ edits” on the NPA were limited and focused on policy; and that
it was appropriate for him to rely on his staff to raise any issues of concern to him. For the reasons stated above, OPR
nonetheless concludes that having developed a unique resolution to a federal investigation, Acosta had a greater
obligation to understand and consider what the USAO was giving up and the appropriateness of doing so.


                                                         179
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 206 of 348




“I’m reconstructing memories of . . . 12 years ago. I can speculate that at some point, the matter
came up, and I or someone else said . . . what would the original charges have likely brought? And
someone said this amount.” Acosta told OPR that he could not recall who initially proposed this
method, but he believed that it likely did not result from a single specific discussion but rather
from conversations over a course of time. Acosta could not recall specifically with whom he had
these discussions, other than that it would have been Lourie, Menchel, or Sloman. Villafaña was
not asked for her views on a two-year sentence, and she had no input into the decision before it
was made. Villafaña told OPR that she examined the state statutes and could not validate that a
state charge would have resulted in a 24-month sentence. OPR also examined applicable state
statutes and the Florida sentencing guidelines, but could not confirm that Epstein was, in fact,
facing a potential two-year sentence under charges contemplated by the PBPD.

         On the other hand, during his OPR interview, Lourie “guess[ed]” that “somehow the
defense conveyed . . . we’re going to trial if it’s more than two years.” Menchel similarly told
OPR that he did not know how the two year sentence was derived, but “obviously it was a number
that the office felt was palatable enough that [Epstein] would take” it. Sloman told OPR that he
had no idea how the two-year sentence proposal was reached.

        The contemporaneous documentary record, however, provides no indication that Epstein’s
team proposed a two-year sentence of incarceration or initially suggested, before the USAO made
its offer, that Epstein would accept a two-year term of incarceration. As late as July 25, 2007—
only days before the USAO provided the term sheet to defense counsel—Epstein’s counsel
submitted a letter to the USAO arguing that the federal government should not prosecute Epstein
at all. Furthermore, after the initial “term sheet” was presented and negotiations for the NPA
progressed, Epstein’s team continued to strongly press for less or no time in jail.

         The USAO had other charging and sentencing options available to it. The most obvious
alternative to the two-year sentence proposal was to offer Epstein a plea to a federal offense that
carried a harsher sentence. If federally charged, Epstein was facing a substantial sentence under
the federal sentencing guidelines, 168 to 210 months’ imprisonment. However, it is unlikely that
he would have agreed to a plea that required a guidelines sentence, even one at the lower end of
the guidelines. Menchel told OPR that he and his colleagues had been concerned that Epstein
would opt to go to trial if charged and presented with the option of pleading to a guidelines
sentence, and as previously discussed, there were both evidentiary and legal risks attendant upon
a trial in this case. If federally charged, Epstein’s sentencing exposure could have been managed
by offering him a plea under Federal Rule of Criminal Procedure 11(c) for a stipulated sentence,
which requires judicial approval. Acosta rejected this idea, however, apparently because of a
perception that the federal district courts in the Southern District of Florida did not view Rule 11(c)
pleas favorably and might refuse to accept such a plea and thus limit the USAO’s options.

        Another alternative was to offer Epstein a plea to conspiracy, a federal charge that carried
a maximum five-year sentence. Shortly after Villafaña circulated the prosecution memorandum
to her supervisors, Lourie recommended to Acosta charging Epstein by criminal complaint and
offering a plea to conspiracy “to make a plea attractive.” Similarly, before learning that Menchel
had already discussed a state-based resolution with Epstein’s counsel, Villafaña had considered
offering Epstein a plea to one count of conspiracy and a substantive charge, to be served
concurrently with any sentence he might receive separately as a result of the state’s outstanding

                                                 180
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 207 of 348




indictment. Given Epstein’s continued insistence that federal charges were not appropriate and
defense counsel’s efforts to minimize the amount of time Epstein would spend in jail, it is
questionable whether Epstein would have accepted such a plea offer, but the USAO did not even
extend the offer to determine what his response to it would be.

        Weighed against possible loss at trial were some clear advantages to a negotiated resolution
that ensured a conviction, including sexual offender registration and the opportunity to establish a
mechanism for the victims to recover damages. These advantages, added to Acosta’s concern
about intruding on the state’s authority, led him to the conclusion that a two-year state plea would
be sufficient to prevent manifest injustice. Menchel told OPR, “I don’t believe anybody at the
time that this resolution was entered into was looking at the two years as a fair result in terms of
the conduct. I think that was not the issue. The issue was whether or not if we took this case to
trial, would we risk losing everything?”

        During the course of negotiations over a potential federal plea, the USAO agreed to accept
a plea for an 18-month sentence, a reduction of six months from the original “non-negotiable” two-
year term. The subjects did not have a clear memory of why this reduction was made. Villafaña
attributed it to a conversation between Acosta and Lefkowitz, but Acosta attributed it to a decision
made during the negotiating process by Villafaña and Lourie, telling OPR that he understood his
attorneys needed flexibility to reach a final deal with Epstein.

        OPR found no contemporaneous documents showing the basis for the two-year term.
Despite extensive subject interviews and review of thousands of contemporaneous records, OPR
was unable to determine who initially proposed the two-year term of incarceration or why that
term, as opposed to other possible and lengthier terms, was settled on for the initial offer. The
term was not tied to statutory or guidelines sentences for potential federal charges or, as far as
OPR could determine, possible state charges. Furthermore, while the USAO initially informed the
defense that the two-year term was “non-negotiable,” Acosta failed to enforce that position and
rather than a “floor” for negotiations, it became a “ceiling” that was further reduced during the
negotiations. OPR was unable to find any evidence indicating that the term of incarceration was
tied either to the federal interest in seeking a just sentence for a serial sexual offender, or to other
traditional sentencing factors such as deterrence, either of Epstein or other offenders of similar
crimes. Instead, as previously noted, it appears that Acosta primarily considered only a
punishment that was somewhat more than that to which the state had agreed. As a result, the
USAO had little room to maneuver during the negotiations and because Acosta was unwilling to
enforce the “non-negotiable” initial offer, the government ended up with a term of incarceration
that was not much more than what the state had initially sought and which was significantly
disproportionate to the seriousness of Epstein’s conduct.

        In sum, it is evident that Acosta’s desire to resolve the federal case against Epstein led him
to arrive at a target term of incarceration that met his own goal of serving as a “backstop” to the
state, but that otherwise was untethered to any articulable, reasonable basis. In assessing the case
only through the lens of providing a “backstop” to the state, Acosta failed to consider the need for
a punishment commensurate with the seriousness of Epstein’s conduct and the federal interest in
addressing it.



                                                 181
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 208 of 348




       D.      Acosta’s Decisions Led to Difficulties Enforcing the NPA

        After the agreement was reached, the collateral attacks and continued appeals raised the
specter that the defense had negotiated in bad faith. At various points, individual members of the
USAO team became frustrated by defense tactics, and in some instances, consideration was given
to whether the USAO should declare a unilateral breach. Indeed, on November 24, 2008, the
USAO gave notice that it deemed Epstein’s participation in work release to be a breach of the
agreement but ultimately took no further action. Acosta told OPR: “I was personally very
frustrated with the failure to report on October 20, and had I envisioned that entire collateral attack,
I think I would have looked at this very differently.”

        Once the NPA was signed, Acosta could have ignored Epstein’s requests for further review
by the Department and, if Epstein failed to fulfill his obligations under the NPA to enter his state
guilty plea, declared Epstein to be in breach and proceeded to charge him federally. When
questioned about this issue, Acosta explained that he believed the Department had the “right” to
address Epstein’s concerns. He told OPR that because the USAO is part of the Department of
Justice, if a defendant asks for Departmental review, it would be “unseemly” to object. During his
OPR interview, Sloman described Acosta as very process-oriented, which he attributed to Acosta’s
prior Department experience. Sloman, however, believed the USAO gave Epstein “[t]oo much
process,” a result of the USAO’s desire to “do the right thing” and to the defense team’s ability to
keep pressing for more process without triggering a breach of the NPA. Furthermore, Epstein’s
defense counsel repeatedly and carefully made clear they were not repudiating the agreement.
Acosta told OPR that the USAO would have had to declare Epstein in breach of the NPA in order
to proceed to file federal charges, and Epstein would undoubtedly have litigated whether his effort
to obtain Departmental review constituted a breach. Acosta recalled that he was concerned, as was
Sloman, that a unilateral decision to rescind the non-prosecution agreement would result in
collateral litigation that would further delay matters and make what was likely a difficult trial even
harder.

        Acosta’s and Sloman’s concerns about declaring a breach were not unreasonable. A court
would have been unlikely to have determined that defense counsel’s appeal of the NPA to the
Department and unwillingness to set a state plea date while that appeal was ongoing was sufficient
to negate the agreement. However, some of the difficulty the USAO faced in declaring a breach
was caused by decisions Acosta made before and shortly after the NPA was signed. For example,
and significantly, it was Acosta who changed the language, “Epstein shall enter his guilty plea and
be sentenced not later than October 26, 2007” to “Epstein shall use [his] best efforts to enter his
guilty plea and be sentenced not later than October 26, 2007.” (Emphasis added.) Acosta also
agreed not to enforce the NPA’s October 26, 2007 deadline for entry of Epstein’s plea, and he told
defense counsel that he had no objection if they decided to pursue an appeal to the Department.
Following these decisions, the USAO would have had significant difficulty trying to prove that
Epstein was not using his “best efforts” to comply with the NPA and was intentionally failing to
comply, as opposed to pursuing a course to which the U.S. Attorney had at least implicitly agreed.

       E.      Acosta Did Not Exercise Sufficient Supervisory Review over the Process

       The question at the center of much of the public controversy concerning the USAO’s
handling of its criminal investigation of Epstein is why the USAO agreed to resolve a case in which

                                                 182
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 209 of 348




the defendant faced decades in prison for sexual crimes against minors with such an insignificant
term of incarceration, and made numerous other concessions to the defense. As OPR has set forth
in substantial detail in this Report, OPR did not find evidence to support allegations that the
prosecutors sought to benefit Epstein at the expense of the victims. Instead, the result can more
appropriately be tied to Acosta’s misplaced concerns about interfering with a traditionally state
crime and intruding on state authority. Acosta was also unwilling to abandon the path that he had
set, even when Villafaña and Lourie advocated to end the negotiations and even though Acosta
himself had learned that the state authorities may not have been a reliable partner.

        Many of the problems that developed might have been avoided had Acosta engaged in
greater consultation with his staff before making key decisions. The contemporaneous records
revealed problems with communication and coordination among the five key participants. Acosta
was involved to a greater extent and made more decisions than he did in a typical case. Lourie
told OPR that it was “unusual to have a U.S. Attorney get involved with this level of detail.”
Menchel told OPR, “I know we would have spoken about this case a lot, okay? And I’m sure with
Jeff as well, and there were conversations -- a meeting that I had with Marie and Andy as well.”
Lourie similarly told OPR:

               Well, . . . he would have been talking to Jeff and Matt, talking to me
               to the extent that he did, he would have been looking at the Pros
               Memo and . . . the guidance from CEOS, he would have been
               reading the defense attorney’s letters, maybe talking to the State
               Attorney, I don’t know, just . . . all these different sources of
               information he was -- I’m comfortable that he knew the case, you
               know, that he was, he was reading everything. Apparently, he, you
               know, read the Pros Memo, he read all the stuff . . . .

        At the same time, Acosta was significantly removed, both in physical distance and in levels
in the supervisory chain, from the individuals with the most knowledge of the facts of the case—
Villafaña and, to a lesser extent, Lourie. Lourie normally would have signed off on the prosecution
memorandum on his own, but as he told OPR, he recognized that the case was going to go through
the front office “[b]ecause there was front office involvement from the get go.” Yet, although
Acosta became involved at certain points in order to make decisions, he did not view himself as
overseeing the investigation or the details of implementing his decisions. OPR observed that as a
consequence, management of the case suffered from both an absence of ownership of the
investigation and failures in communication that affected critical decisions.

        On occasion, Villafaña included Acosta directly in emails, but often, information upon
which Acosta relied for his decisions and information about the decisions Acosta had made
traveled through multiple layers between Acosta and Villafaña. Villafaña did draft a detailed,
analytical prosecution memorandum, but it is not clear that Acosta read it and instead may have
relied on conversations primarily with Menchel and later with Sloman after Menchel’s departure.
Despite these discussions, though, it is not clear that Acosta was aware of certain information, such
as Oosterbaan’s strong opinion from the outset in favor of the prosecution or of Villafaña’s
concerns and objections to a state-based resolution or the final NPA. Acosta interpreted the state
indictment on only one charge as a sign that the case was weak evidentially, but it is not clear that
when making his decision to resolve the matter though a state-based plea, he knew the extent to

                                                183
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 210 of 348




which Villafaña and Lourie believed that the state had intentionally failed to aggressively pursue
a broader state indictment.

        One example illustrates this communication gap. In a September 20, 2007 email to Lourie
asking him to read the latest version of the proposed “hybrid” federal plea agreement (calling for
Epstein to plead to both state and federal charges), Acosta noted, “I don’t typically sign plea
agreements. We should only go forward if the trial team supports and signs this agreement. I
didn’t even sign the public corruption or [C]ali cartel agreements, so this should not be the first.”
(Emphasis added.) In his email to Villafaña, Lourie attached Acosta’s email and instructed
Villafaña to “change the signature block to your name and send as final to Jay [Lefkowitz].”
(Emphasis added.) Villafaña raised no objection to signing the agreement. Acosta told OPR that
he wanted to give the “trial team” a chance to “speak up and let him know” if they did not feel
comfortable with the agreement. Villafaña, however, told OPR that she did not understand that
she was being given an opportunity to object to the agreement; rather, she believed Acosta wanted
her to sign it because he was taking an “arm’s length” approach and signaling this “was not his
deal.” The fact that the top decision maker believed he was giving the line AUSA an opportunity
to reflect and stop the process if she believed the deal was inappropriate, but the line AUSA
believed she was being ordered to sign the agreement because her boss wanted to distance himself
from the decision, reflects a serious communication gap.

        As another example, at one point, Villafaña, frustrated and concerned about the decisions
being made concerning a possible resolution, requested a meeting with Acosta; in a sternly worded
rebuke, Menchel rejected the request. Although Menchel told OPR that he was not prohibiting
Villafaña from speaking to Acosta, Villafaña interpreted Menchel’s email to mean that she could
not seek a meeting with Acosta. As a consequence, Acosta made his decision about a state
resolution and the term of incarceration without any direct input from Villafaña. Acosta told OPR
that he was unaware that Villafaña had sought a meeting with him and he would have met with
her if she had asked him directly. OPR did not find any written evidence of a meeting involving
both Acosta—the final decision maker—and Villafaña—the person most knowledgeable about the
facts and the law—before Acosta made his decision to resolve the case through state charges or to
offer the two-year term, and Villafaña said she did not have any input into the decision. Although
a U.S. Attorney is certainly not required to have such direct input, and it may be that Menchel
presented what he believed to be Villafaña’s views, OPR found no evidence that Acosta was aware
of Villafaña’s strong views about, and objections to, the proposed resolution. 256

        Two logistical problems hindered effective communication. First, the senior managers
involved in the case—Acosta, Sloman, and Menchel—had offices located in Miami, while the
offices of the individuals most familiar with facts of the case—Villafaña and, to a lesser extent,
Lourie—were located in West Palm Beach. Consequently, Villafaña’s discussions with her senior

256
           In her 2017 Declaration in the CVRA litigation, Villafaña stated that, given the challenges of obtaining
victims’ cooperation with a federal prosecution, “I believed and still believe that a negotiated resolution of the matter
was in the best interests of the [USAO] and the victims as a whole. The [USAO] had also reached that same
conclusion.” Several subjects pointed to this statement as indicating that Villafaña in fact supported the NPA. In her
OPR interview, however, Villafaña drew a distinction between resolving the investigation through negotiations that
led to what in her view was a reasonable outcome, which she would have supported, and “this negotiated resolution”—
that is, the NPA—which she did not support.


                                                          184
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 211 of 348




managers required more effort than in other offices, where a line AUSA can more easily just stop
by a supervisor’s office to discuss a case. 257

        Second, key personnel were absent at varying times. Menchel’s last day in the office was
August 3, 2007, the day he sent to the defense his letter making the initial offer, and presumably
in the immediate period before his departure date, Menchel would have been trying to wrap up his
outstanding work. Yet, this was also the time when Acosta was deciding how to resolve the matter.
Similarly, in the critical month of September, the NPA and plea negotiations intensified and the
NPA evolved significantly, with the USAO having to consider multiple different options as key
provisions were continuously added or modified while Villafaña pressed to meet her late-
September deadline. Although Lourie was involved with the negotiations during this period, he
was at the same time transitioning not only to a new job but to one in Washington, D.C., and was
traveling between the two locations. Sloman was on vacation in the week preceding the signing,
when many significant changes were made to the agreement, and he did not participate in drafting
or reviewing the NPA before it was signed. Accordingly, during the key negotiation period for a
significant case involving a unique resolution, no one involved had both a thorough understanding
of the case and full ownership of the decisions that were being made. Villafaña certainly felt that
during the negotiations, she was only implementing decisions made by Acosta. Acosta, however,
told OPR that when reviewing the NPA, “I would have reviewed this for the policy concerns. Did
it do the . . . bullet points, and my assumption, rightly or wrongly, would have been that Andy and
Marie would have looked at this, and that this was . . . appropriate.”

        The consequences flowing from the lack of ownership and effective communication can
be seen in the NPA itself. As demonstrated by the contemporaneous communications, the
negotiations were at times confusing as the parties considered multiple options and even revisited
proposals previously rejected. Meanwhile, Villafaña sought to keep to a deadline that would allow
her to charge Epstein when she had planned to, if the parties did not reach agreement. In the end,
Acosta accepted several terms with little apparent discussion or consideration of the ramifications.

        The USAO’s agreement not to prosecute “any potential co-conspirators” is a notable
example. As previously noted, the only written discussion about the term that OPR found was
Villafaña’s email to Lourie and the incoming West Palm Beach manager, with copies to her
co-counsel and direct supervisor, stating that she did not believe the provision “hurts us,” and
neither Acosta, Lourie, nor Villafaña recalled any further discussion about the provision. Although
OPR did not find evidence showing that Acosta, Lourie, or Villafaña intended the scope of the
provision to protect anyone other than Epstein’s four assistants, the plain language of the provision
precluded the USAO from prosecuting anyone who engaged with Epstein in his criminal conduct,
within the limitations set by the overall agreement. This broad prosecution declination would
likely be unwise in most cases but in this case in particular, the USAO did not have a sufficient
investigative basis from which it could conclude with any reasonable certitude that there were no
other individuals who should be held accountable along with Epstein or that evidence might not
be developed implicating others. Prosecutors rarely promise not to prosecute unidentified third



257
         In his OPR interview, Acosta commented that although Menchel’s office was on the same floor as Acosta’s,
he was in a different suite, which “affects interaction.”


                                                      185
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 212 of 348




parties. 258 The rush to reach a resolution should not have led the USAO to agree to such a
significant provision without a full consideration of the potential consequences and justification
for the provision. It is highly doubtful that the USAO’s refusal to agree to that term would have
itself caused the negotiations to fail; the USAO’s rejection of the defense proposal concerning
immigration consequences did not affect Epstein’s willingness to sign the agreement. The
possibility that individuals other than Epstein’s four female assistants could have criminal
culpability for their involvement in his scheme could have been anticipated and should have caused
more careful consideration of the provision.

        Similarly, the confidentiality provision was also accepted with little apparent consideration
of the implications of the provision for the victims, and it eventually became clear that the defense
interpreted the provision as precluding the USAO from informing the victims about the status of
the investigation. Agreeing to a provision that restricted the USAO’s ability to disclose or release
information as it deemed appropriate mired the USAO in disputes about whether it was or would
be violating the terms of the NPA by disclosing information to victims or the special master.
Decisions about disclosure of information should have remained within the authority and province
of the USAO to decide as it saw fit.

        There is nothing improper about a U.S. Attorney not having a meeting with the line AUSA
or other involved members of the prosecution team before he or she makes a decision in a given
case; indeed, U.S. Attorneys often make decisions without having direct input from line AUSAs.
And Acosta did have discussions with Menchel, and possibly Sloman, before making the critical
decision to resolve the matter through a state plea, although the specifics of those discussions could
not be recalled by the participants due to the passage of time. This case, however, was different
from the norm, and Acosta was considering a resolution that was significantly different from the
usual plea agreement. Contemporaneous records show that Acosta believed the case should be
handled like any other, but Acosta’s decision to fashion an unorthodox resolution made the case
unlike any other, and it therefore required appropriate and commensurate oversight. Acosta may
well have decided to proceed in the same fashion even if he had sought and received a full briefing

258
         CEOS Chief Oosterbaan told OPR this provision was “very unusual.” Principal Associate Deputy Attorney
General John Roth commented, “I don’t know how it is that you give immunity to somebody who’s not identified. I
just don’t know how that works.” Villafaña’s co-counsel told OPR:

                 [I]t’s effectively transactional immunity which I didn’t think we were supposed
                 to do at the Department of Justice. . . . I’ve never heard of anything of the sort. . . .
                 [W]e go to great lengths in most plea agreements to go and not give immunity for
                 example, for crimes of violence, . . . for anything beyond the specific offense
                 which was being investigated during the specific time periods and for you and
                 nobody else. I mean on rare occasion I’ve seen cases where say someone was
                 dealing drugs and their wife was involved. . . . And they’ve got kids. . . . [and] it’s
                 understood that the wife probably could be prosecuted and sent to jail too, but you
                 know the husband’s willing to go and take the weight . . . . This is not one of
                 those.

Deputy Attorney General Filip called the provision “pretty weird.” Menchel’s successor as Criminal Chief told OPR
that he had never heard of such a thing in his 33 years of experience as a prosecutor. A senior AUSA with substantial
experience prosecuting sex crimes against children commented that it was “horrendous” to provide immunity for
participants in such conduct.


                                                           186
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 213 of 348




from Villafaña and others, but given the highly unusual procedure being considered, his decision
should have been made only after a full consideration of all of the possible ramifications and
consequences of pushing the matter into the state court system, with which neither Villafaña nor
the other subjects had experience, along with consideration of the legal and evidentiary issues and
possible means of overcoming those issues. OPR did not find evidence indicating that such a
meeting or discussion with the full team was held before the decision was made to pursue the
state-based resolution, before the decision was made to offer a two-year term of incarceration, or
before the NPA, with its unusual terms, was signed. As Acosta later recognized and told OPR,
“And a question that I think is a valid one in my mind is, did the focus on, let’s just get this done
and get a jail term, mean that we didn’t take a step back and say, let’s evaluate how this train is
moving?”

        Many features of the NPA were given inadequate consideration, including core provisions
like the term of incarceration and sexual offender registration, with the result that Epstein was able
to manipulate the process to his benefit. Members of his senior staff held differing opinions about
some of the issues that Acosta felt were important and that factored into his decision-making.
There does not seem to be a point, however, at which those differing opinions were considered
when forming a strategy; rather, Acosta seems to have made a decision that everyone beneath him
followed and attempted to implement but without a considered strategy beyond attaining the three
core elements. As the U.S. Attorney, Acosta had authority to proceed in this manner, but many of
the problems that developed with the NPA might have been avoided with a more thoughtful
approach. As Acosta belatedly recognized, “[I]f I was advising a fellow U.S. Attorney today, I
would say, think it through.” 259

        No one of the individual problems discussed above necessarily demonstrates poor
judgment by itself. However, in combination, the evidence shows that the state-based resolution
was ill conceived from the start and that the NPA resulted from a flawed decision-making process.
From the time the USAO opened its investigation, Acosta recognized the federal interest in
prosecuting Epstein, yet after that investigation had run for more than a year, he set the
investigation on a path not originally contemplated. Having done so, he had responsibility for
ensuring that he received and considered all of the necessary information before putting an end to
a federal investigation into serious criminal conduct. Acosta’s failure to adequately consider the
full ramifications of the NPA contributed to a process and ultimately a result that left not only the
line AUSA and the FBI case agents dissatisfied but also caused victims and the public to question
the motives of the prosecutors and whether any reasonable measure of justice was achieved.
Accordingly, OPR concludes that Acosta exercised poor judgment in that he chose a course of
action that was in marked contrast to the action that the Department would reasonably expect an
attorney exercising good judgment to take.




259
         In commenting on OPR’s draft report, Acosta’s attorney acknowledged that “[t]he matter would have
benefited from more consistent staffing and attention.”


                                                  187
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 214 of 348




                   [Page Intentionally Left Blank]




                                188
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 215 of 348




                                          CHAPTER THREE

      ISSUES RELATING TO THE GOVERNMENT’S INTERACTIONS
               AND COMMUNICATIONS WITH VICTIMS
                              PART ONE: FACTUAL BACKGROUND


I.      OVERVIEW

        Chapter Three describes the events pertaining to the federal government’s interactions and
communications with victims in the Epstein case, and should be read in conjunction with the
factual background set forth in Chapter Two, Part One. This chapter sets forth the pertinent legal
authorities and Department policies and practices regarding victim notification and consultation,
as well as OPR’s analysis and conclusions. OPR discusses key events relating to the USAO’s and
the FBI’s interactions with victims before and after the signing of the NPA, beginning with the
FBI’s initial contact with victims through letters informing them that the FBI had initiated an
investigation. A timeline of key events is provided on the following page.

II.     THE CVRA, 18 U.S.C. § 3771

        A.       History

        In December 1982, the President’s Task Force on Victims of Crime issued a final report
outlining recommendations for the three branches of government to improve the treatment of crime
victims. The Task Force concluded that victims have been “overlooked, their pleas for justice
have gone unheeded, and their wounds—personal, emotional and financial—have gone
unattended.” 260 Thereafter, the government enacted various laws addressing victims’ roles in the
criminal justice system: the Victim and Witness Protection Act of 1982, the Victims of Crime Act
of 1984, the Victims’ Rights and Restitution Act of 1990 (VRRA), the Violent Crime Control and
Law Enforcement Act of 1994, the Antiterrorism and Effective Death Penalty Act of 1996, the
Victim Rights Clarification Act of 1997, and the Justice for All Act of 2004. 261

        The CVRA, enacted on October 30, 2004, as part of the Justice for All Act, was designed
to protect crime victims and to make them “full participants in the criminal justice system.” 262 The
CVRA resulted from a multi-year bipartisan effort to approve a proposal for a constitutional
amendment guaranteeing victims’ rights, some of which had previously been codified as a victims’

260
        President’s Task Force on Victims of Crime Final Report at ii (Dec. 1982).
261
         See Pub. L. No. 97-291 (Victim and Witness Protection Act) (1982); Pub. L. No. 98-473 (Victims of Crime
Act) (1984); Pub. L. No. 101-647 (Victims’ Rights and Restitution Act) (1990); Pub. L. No. 103-322 (Violent Crime
Control and Law Enforcement Act) (1994); Pub. L. No. 104-132 (Antiterrorism and Effective Death Penalty Act)
(1996); Pub. L. No. 105-6 (Victim Rights Clarification Act) (1997); and Pub. L. No. 108-405 (Justice for All Act)
(2004).
262
         Kenna v. U.S. Dist. Court, 435 F.3d 1011, 1016 (9th Cir. 2006); United States v. Moussaoui, 483 F.3d 220,
234 (4th Cir. 2007); and Justice for All Act.


                                                      189
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 216 of 348




                                190
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 217 of 348




Bill of Rights in the VRRA. 263 Following multiple Senate Judiciary Committee subcommittee
hearings and various revisions of the proposed amendment, the Senators determined that such an
amendment was unlikely to be approved and, instead, they presented the CVRA as a compromise
measure. 264

         B.       Enumerated Rights

         The CVRA defines the term “crime victim” as “a person directly and proximately harmed
as a result of the commission of a Federal offense or an offense in the District of Columbia.”265
Initially, and at the time relevant to the federal Epstein investigation, the CVRA afforded crime
victims the following eight rights:

                  (1) The right to be reasonably protected from the accused.

                  (2) The right to reasonable, accurate, and timely notice of any public
                  court proceeding, or any parole proceeding, involving the crime or
                  of any release or escape of the accused.

                  (3) The right not to be excluded from any such public court
                  proceeding, unless the court, after receiving clear and convincing
                  evidence, determines that testimony by the victim would be
                  materially altered if the victim heard other testimony at that
                  proceeding.

                  (4) The right to be reasonably heard at any public proceeding in the
                  district court involving release, plea, sentencing, or any parole
                  proceeding.

                  (5) The reasonable right to confer with the attorney for the
                  Government in the case.

263
           See 150 Cong. Rec. S4260-01 at 1, 5 (2004). The VRRA identified victims’ rights to (1) be treated with
fairness and with respect for the victim’s dignity and privacy; (2) be reasonably protected from the accused offender;
(3) be notified of court proceedings; (4) be present at all public court proceedings that relate to the offense, unless the
court determines that testimony by the victim would be materially affected if the victim heard other testimony at trial;
(5) confer with an attorney for the Government in the case; (6) restitution; and (7) information about the conviction,
sentencing, imprisonment, and release of the offender. 42 U.S.C. § 10606(b) (1990). The relevant text of the VRRA
is set forth in Chapter Three, Part Two, Section 1.B of this Report.
264
          150 Cong. Rec. S4260-01 at 1, 5 (2004). Although nine congressional hearings were held between 1996 and
2003 concerning amending the Constitution to address victims’ rights, neither chamber of Congress voted on
legislation proposing an amendment. United States Government Accountability Office (GAO), GAO-09-54, Report
to Congressional Committees: Crime Victims’ Rights Act – Increasing Awareness, Modifying the Complaint Process
and Enhancing Compliance Monitoring Will Improve Implementation of the Act at 16 (Dec. 2008) (GAO CVRA
Awareness Report).
265
         The relevant text of the CVRA is set forth in Chapter Three, Part Two, Section I.A of this Report.


                                                           191
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 218 of 348




                 (6) The right to full and timely restitution as provided in law.

                 (7) The right to proceedings free from unreasonable delay.

                 (8) The right to be treated with fairness and with respect for the
                 victim’s dignity and privacy.

        Although many of the rights included in the CVRA already existed in federal law as part
of the VRRA, the CVRA afforded crime victims standing to assert their rights in federal court or
by administrative complaint to the Department, and obligated the court to ensure that such rights
were afforded. The passage of the CVRA repealed the rights portion of the VRRA (42 U.S.C.
§ 10606), but kept intact the portion of the VRRA directing federal law enforcement agencies to
provide certain victim services, such as counseling and medical care referrals (42 U.S.C.
§ 10607(c)). Department training emphasizes that the VRRA obligates the Department to provide
victim services, which attach upon the detection of a crime, while the CVRA contains court-
enforceable rights that attach upon the filing of a charging instrument.

        In 2015, Congress amended the CVRA and added the following two rights: 266

                 (9) The right to be informed in a timely manner of any plea bargain
                 or deferred prosecution agreement.

                 (10) The right to be informed of the rights under this section and the
                 services described in section 503(c) of the Victims’ Rights and
                 Restitution Act of 1990 (42 U.S.C. 10607(c)) and provided contact
                 information for the Office of the Victims’ Rights Ombudsman of the
                 Department of Justice.

III.    THE DEPARTMENT’S INTERPRETATION OF THE CVRA’S DEFINITION OF
        “CRIME VICTIM” AT THE TIME OF THE EPSTEIN INVESTIGATION

        A.       April 1, 2005 Office of Legal Counsel “Preliminary Review”

         In 2005, Department management requested informal guidance from the Department’s
Office of Legal Counsel (OLC) regarding interpretation of the CVRA’s definition of “crime
victim.” 267 On April 1, 2005, OLC provided “preliminary and informal” guidance by email,
concluding that “the status of a ‘crime victim’ may be reasonably understood to commence upon
the filing of a complaint, and that the status ends if there is a subsequent decision not to indict or
prosecute the Federal offense that directly caused the victim’s harm.” 268


266
        H. Rep. No. 114-7 (Jan. 27, 2015).
267
        OLC is responsible for providing legal advice to the President, Department components, and other executive
branch agencies.
268
         The OLC 2005 Informal Guidance is summarized in a Memorandum Opinion to the Acting Deputy Attorney
General from Deputy Assistant Attorney General John E. Bies (Dec. 17, 2010), published as Office of Legal Counsel,

                                                      192
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 219 of 348




        OLC concluded that because the CVRA defines “‘crime victim’ as a ‘person directly and
proximately harmed by the commission of a Federal offense,’ . . . the definition of victim is thus
tethered to the identification of a ‘Federal offense,’ an event that occurs with the filing of a
complaint.” OLC further concluded that because the House Report stated that the CVRA codifies
the “‘rights of crime victims in the Federal judicial system’” and a complaint “commences the
‘judicial process’ and places an offense within the ‘judicial system,’” the legislature must have
intended for CVRA rights to commence upon the filing of a complaint.

        OLC also found that the language of the CVRA rights supported its interpretation. For
example, the first right grants a victim protection from “the accused,” not a suspect. Additionally,
the second, third, and fourth rights refer to “victim notification, and access to, public proceedings
involving release, plea, sentencing or parole—none of which commence prior to the filing of a
complaint.”

         B.       2005 Attorney General Guidelines for Victim and Witness Assistance

        In May 2005, the Department updated its Attorney General Guidelines for Victim and
Witness Assistance (2005 Guidelines) to include the CVRA. 269 The 2005 Guidelines specifically
cited the CVRA requirement that agencies “engaged in the detection, investigation, or prosecution
of crime shall make their best efforts to see that crime victims are notified of, and accorded” their
CVRA rights, which in 2005 encompassed the initial eight CVRA rights.

        The 2005 Guidelines provided detail regarding implementation of the Department’s CVRA
duties and divided criminal cases into an “investigation stage,” a “prosecution stage,” and a
“corrections stage.” The individuals responsible for notifying crime victims of their CVRA rights
varied depending on the stage of the proceedings.

       During the “investigation stage” of cases in which the FBI was the investigating agency,
the Special Agent in Charge was responsible for identifying the victims “[a]t the earliest
opportunity after the detection of a crime” and notifying them of their rights under the CVRA and
services available under the VRRA and other federal statutes.

                  [D]uring the investigative stage, [the Department] mandates
                  compliance with the Victims’ Rights and Restitution Act, 42 U.S.C
                  § 10607, which requires federal officials to, among other things,
                  identify victims, protect victims, arrange for victims to receive
                  reasonable protection from suspected offenders, and provide

The Availability of Crime Victims’ Rights Under the Crime Victims’ Rights Act of 2004 (Dec. 17, 2010) (“OLC
Availability of Crime Victims’ Rights (2010)”) and available at https://www.justice.gov/sites/default/files/olc/
opinions/2010/12/31/availability-crime-victims-rights.pdf. “That [2005] informal guidance did not foreclose the
possibility that other definitions would also be reasonable.” OLC Availability of Crime Victims’ Rights (2010) at 1.
269
         The 2005 Guidelines are set forth in relevant part in Chapter Three, Part Two, Section II of this Report. The
Department promulgated the guidelines in response to a congressional directive in a predecessor statute to the CVRA,
which instructed the Attorney General to develop and implement such guidelines. Victim and Witness Protection Act,
Pub. L. No. 97-291, § 6, 96 Stat. 1248 (1982). The 2005 Guidelines were superseded in October 2011, as explained
below.


                                                        193
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 220 of 348




               information about available services for victims. Therefore, even
               though [the Department] may not afford CVRA rights to victims if
               charges have not been filed in their cases, the [D]epartment may
               provide certain services to victims that may serve the same function
               as some CVRA rights. 270

         The 2005 Guidelines stated that the “prosecution stage” of the case began when “charges
are filed and continue[d] through postsentencing legal proceedings.” The “U.S. Attorney in whose
district the prosecution is pending” was responsible for making “best efforts to see that crime
victims are notified” of their rights under the CVRA.

        During the prosecution stage, the 2005 Guidelines required the U.S. Attorney, or a
designee, to notify crime victims of case events, such as the filing of charges; the release of an
offender; the schedule of court proceedings; the acceptance of a guilty plea or nolo contendere or
rendering of a verdict; and any sentence imposed. The 2005 Guidelines required the responsible
official to “provide the victim with reasonable, accurate, and timely notice of any public court
proceeding . . . that involves the crime against the victim.”

        The 2005 Guidelines specifically required federal prosecutors to “be available to consult
with victims about [their] major case decisions,” such as dismissals, release of the accused, plea
negotiations, and pretrial diversion. In particular, the 2005 Guidelines required the responsible
official to make reasonable efforts to notify identified victims of, and consider victims’ views
about, prospective plea negotiations. Nevertheless, the 2005 Guidelines cautioned prosecutors to
“consider factors relevant to the wisdom and practicality of giving notice and considering [the
victim’s] views” in light of various factors such as “[w]hether the proposed plea involves
confidential information or conditions” and “[w]hether the victim is a possible witness in the case
and the effect that relaying any information may have on the defendant’s right to a fair trial.”
Lastly, the 2005 Guidelines stated that “[a] strong presumption exists in favor of providing rather
than withholding assistance and services to victims and witnesses of crime.”

       The “corrections stage” involved both pretrial detention of the defendant and incarceration
following a conviction. Depending on the agency having custody of the defendant, the U.S.
Attorney or other agencies were responsible for victim notifications during this stage.

IV.    USAO AND FBI VICTIM/WITNESS NOTIFICATION PRACTICE AT THE TIME
       OF THE EPSTEIN INVESTIGATION

       A.      USAO Training

        As U.S. Attorney, Acosta disseminated the May 2005 updated Guidelines to USAO
personnel with a transmittal memorandum dated February 27, 2006, stating that he expected each
recipient “to read and become familiar with the [2005] Guidelines.” Acosta noted in the
memorandum that the USAO had recently held an “all office training” addressing the 2005
Guidelines and that new USAO attorneys who missed the training were required to view a
videotaped version of the training “immediately.” Acosta further noted that the USAO’s
270
       GAO CVRA Awareness Report at 66.


                                               194
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 221 of 348




victim/witness staff were “ready to assist you with the details of victim notification, and other
areas for which United States Attorney[’]s Offices are now explicitly responsible under the act.”
The USAO’s Victim Witness Program Coordinator told OPR that the USAO provided annual
mandatory office-wide training on victim/witness issues and training for new employees.

         B.        The Automated Victim Notification System

       Both the FBI and the USAO manage contacts with crime victims through the Victim
Notification System (VNS), an automated system maintained by the Executive Office for United
States Attorneys. The 2005 Guidelines mandated that “victim contact information and notice to
victims of events . . . shall, absent exceptional circumstances (such as cases involving juvenile or
foreign victims), be conducted and maintained using VNS.” The VNS is separate from agency
case management systems maintained by the FBI and the USAO. Both the FBI and the USAO
use the VNS to generate form letters to victims at various points in the investigation and the
prosecution of a criminal case. Although each form letter can be augmented to add some limited
individual matter-specific content, the letters contain specific language concerning the purpose of
the contact that cannot be removed (such as the arrest of the defendant or the scheduling of a
sentencing hearing). 271

        In the usual course of a criminal case, the FBI collects victim contact information during
the investigation stage, which it stores in its case management system. The FBI’s Victim Specialist
exports the victim information data from the FBI’s case management system into the VNS
database. Victim information stored in the VNS is linked to the investigation’s VNS case number.
At the time of the Epstein investigation, the FBI’s Victim Specialist could use the VNS to generate
seven different form notification letters: (1) initial notification; (2) case is under investigation;
(3) arrest of the defendant; (4) declination of prosecution; (5) other; (6) advice of victim rights;
and (7) investigation closed.

        After a charging document has been filed and the “prosecution stage” begins, the USAO’s
Victim Witness Specialist assumes responsibility for victim notification. 272 The USAO imports
data from its case management system into the VNS and links to the previously loaded FBI VNS
data. The USAO’s Victim Witness Specialist uses the VNS to generate form letters providing
notice of case events, such as charges filed; an arraignment; a proposed plea agreement; change of
plea hearings; sentencing hearings; and the result of sentencing hearings.




271
          U.S. Dept. of Justice Office of the Inspector General Audit Division Audit Report 08-04, The Department of
Justice’s Victim Notification System at 29 (Jan. 2008), available at https://oig.justice.gov/reports/EOUSA/a0804/
final.pdf. The 2008 audit identified concerns with the VNS templates, including that “VNS users . . . cannot alter the
format to ensure that it fits with the specific case for which it is being sent,” and many users had noted that “information
in notifications became confusing and sometimes contradictory when various types of notifications were combined in
the same letter.”
272
        The FBI and the USAO have different titles for the individual who maintains victim contact: the FBI title is
“Victim Specialist,” and the USAO title is “Victim Witness Specialist.”


                                                           195
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 222 of 348




         C.       FBI Victim Notification Pamphlets

        The 2005 Guidelines recommended that “victims be given a printed brochure or card that
briefly describes their rights and available services . . . and [contact information for] the victim-
witness coordinator or specialist . . . .” At the time of the Epstein investigation, FBI agents
nationwide routinely followed a practice of providing victims with pamphlets entitled, “Help for
Victims of Crime” and “The Department of Justice Victim Notification System.” The “Help for
Victims of Crime” pamphlet contained a listing of the eight CVRA rights. The pamphlet stated:
“Most of these rights pertain to events occurring after the indictment of an individual for the crime,
and it will be the responsibility of the prosecuting United States Attorney’s Office to ensure you
are afforded those rights.” The case agent in the Epstein investigation told OPR that she provided
victims with the FBI pamphlet upon the conclusion of an interview. The pamphlet entitled “The
Department of Justice Victim Notification System” provided an overview of the VNS and
instructions on how to access the system.

V.       THE INTRODUCTORY USAO AND FBI LETTERS TO VICTIMS

         A.       August 2006: The FBI Victim Notification Letters

       On August 8, 2006, shortly after the FBI opened its investigation into Epstein, the Victim
Specialist for the West Palm Beach FBI office, under the case agent’s direction, prepared a “Victim
Notification Form” naming 30 victims in the Epstein investigation and stating that “additional
pertinent information” about them was available in the VNS. 273 Thereafter, the Victim Specialist
entered individual victim contact information she received from the case agent into the VNS
whenever the case agent directed the Victim Specialist to generate an initial letter to a particular
victim. The FBI case agent told OPR that formal victim notification was “always handled by the
[FBI’s Victim Specialist].” 274

        According to the VNS records, beginning on August 28, 2006, the FBI Victim Specialist
used the VNS to generate FBI letters to be sent to the victims, over her signature, identifying the
eight CVRA rights and inviting victims to provide updated contact information in order to receive
current status information about the matter. The FBI letters described the case as “currently under
investigation” and noted that “[t]his can be a lengthy process and we request your continued
patience while we conduct a thorough investigation.” The letters also stated that some of the
CVRA rights did not take effect until after an arrest or indictment: “We will make our best efforts
to ensure you are accorded the rights described. Most of these rights pertain to events occurring
after the arrest or indictment of an individual for the crime, and it will become the responsibility
of the prosecuting United States Attorney’s Office to ensure you are accorded those rights.” A
sample letter follows.


273
         These 30 were drawn from the PBPD investigative file and included individuals that the PBPD had not
designated as victims and individuals the PBPD had identified but not interviewed.
274
          The case agent told OPR, “[O]nce we identify a victim, then we bring [the FBI Victim Specialist] in, and as
far as anything pertaining to victim rights . . . and any resources, federal resources these victims may need comes from
[her], the Victim Specialist.”


                                                         196
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 223 of 348




                                197
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 224 of 348




        VNS data logs, correspondence maintained in the FBI’s case management system, and FBI
interview reports for the Epstein investigation reflect that, during the Epstein investigation, the
FBI generally issued its victim notification letters after the victim had been interviewed by FBI
case agents, but its practice was not uniform. 275

        B.       August 2006: The USAO’s Letters to Victims

        During the time that the FBI Victim Specialist was preparing and sending FBI victim
notification letters, Villafaña was also preparing her own introductory letter in anticipation of
meeting with each victim receiving the letter. Villafaña told OPR that she was “generally aware
that the FBI sends letters” but believed the FBI’s “process didn’t . . . have anything to do with my
process.” Villafaña told OPR the “FBI had their own victim notification system and their own
guidelines for when information had to be provided and what information had to be provided.”
Moreover, Villafaña “didn’t know when [FBI] letters went out” or “what they said.”276
Nevertheless, Villafaña told OPR that she did not intend for the letters she drafted to interfere with
the FBI’s notification responsibilities.

        In August 2006, Villafaña drafted her letters to victims who had been initially identified
by the FBI based on the PBPD investigative file. Villafaña told OPR that she “made the decision
to make contact with victims early,” and she composed the introductory letter and determined to
whom they would be sent. Although these letters contained CVRA rights information, Villafaña
mainly intended to use them as a vehicle to “introduce” herself and let the victims know the federal
investigation “would be a different process” from the State Attorney’s Office investigation in
which “the victims felt they had not been particularly well-treated.” Villafaña told OPR that in a
case in which she “needed to be talking to young girls frequently and asking them really intimate
275
         OPR found no uniformity in the time lapse between the FBI’s interview of a victim and the issuance of an
FBI letter to that particular victim, as the span of time between the two events varied from a few days to months.
Furthermore, not every victim interviewed by the FBI received an FBI letter subsequent to her interview, and some
FBI letters were sent to victims who had not been interviewed by the case agents. Finally, OPR’s review of FBI VNS
data revealed some letters that appeared to have been generated in the VNS and not included in the FBI case file. OPR
could not confirm whether such letters were mailed or delivered.
276
          Villafaña, who did not have supervisory authority over the FBI’s Victim Specialist, told OPR that she did
not review the FBI notification letters and did not see them until she gathered them for production in the CVRA
litigation, which was initiated after Epstein pled guilty on June 30, 2008.


                                                        198
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 225 of 348




questions,” she wanted to “make sure that they . . . feel like they can trust me.” Villafaña directed
the FBI case agents to hand deliver the letters “as they were conducting interviews.” Villafaña
told OPR that the USAO had “no standardized way to do any victim notifications prior to” the
filing of federal charges, and therefore Villafaña did not use a template or VNS-generated letter
for content, but instead used a letter she “had created and crafted [herself] for another case.” 277

        The letters contained contact information for Villafaña, the FBI case agent, and the
Department’s Office for Victims of Crime in Washington, D.C., and itemized the CVRA rights.
The USAO letters described the case as “under investigation” and stated that the victim would be
notified “[i]f anyone is charged in connection with the investigation.” The letters stated that, in
addition to their rights under the CVRA, victims were entitled to counseling, medical services, and
potential restitution from the perpetrator, and that, upon request, the government would provide a
list of counseling and medical services. 278 Lastly, the letters advised that investigators for the
defense might contact the victims and those who felt threatened or harassed should contact
Villafaña or the FBI case agent.

        Although the USAO letters did not contain any language limiting CVRA rights to the post-
arrest or indictment stage, Villafaña told OPR that she did not intend for the letters to activate the
USAO’s CVRA obligations, which she believed attached only after the filing of a criminal charge.
Villafaña told OPR that she did not think that victims potentially receiving both an FBI letter and
a USAO letter would be confused about their CVRA rights because the USAO letter “was coming
with an introduction from the agents [who were hand delivering them].” Later, in the course of
the CVRA litigation, Villafaña stated that she and the investigative team “adopted an approach of
providing more notice and assistance to potential victims than the CVRA may have required, even
before the circumstances of those individuals had been fully investigated and before any charging
decisions had been made.” 279

       Villafaña informed Lourie and Sloman about the letters, but the letters were not reviewed
by any of Villafaña’s supervisors, who considered such correspondence to be a non-management
task. Acosta told OPR, “I’ve had no other case where I’m even aware of victims being notified,
because I assume it all operates without it rising to management level.” Similarly, Menchel told
OPR,



277
          Villafaña told OPR that she thought that “at one point,” she showed the letter to the USAO’s Victim Witness
Specialist who “said it was fine.” The USAO’s Victim Witness Specialist told OPR that because the USAO did not
file a charging document in the Epstein matter, the USAO did not obtain VNS information from the FBI and did not
assume responsibility for victim contact. The USAO’s Victim Witness Specialist had no contact with Epstein’s
victims, and OPR’s examination of VNS data revealed no USAO case number linked to the FBI’s VNS data
concerning the Epstein investigation. OPR did locate some victim contact information in the VNS relating to the
USAO’s case number associated with the Epstein-related CVRA litigation filed in July 2008.
278
         Through its administration of the Crime Victims Fund, the Department’s Office for Victims of Crime
supports programs and services to help victims of crime.
279
         Villafaña informed OPR that, as the USAO Project Safe Childhood Coordinator [focusing on prosecutions
of individuals who exploit children through the internet], she “treated the [Guidelines] as a floor and tried to provide
a higher standard of contact.”


                                                         199
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 226 of 348




                  [A]s Chief of the Criminal Division of the USAO, I did not consider
                  it to be within my purview to ensure that appropriate victim
                  notifications occurred in every matter investigated or brought by the
                  Office. I also recall that the USAO employed one or more victim-
                  witness coordinators to work with line prosecutors to ensure that
                  appropriate victim notifications occurred in every matter
                  investigated or brought by the Office.

         C.       USAO and FBI Letters Are Hand Delivered

        The FBI case agent told OPR that the FBI made its notifications “at the time that we met
[with] the girls.” The case agent recalled that she hand delivered the USAO letters and FBI letters
to some victims following in-person interviews, and in the instances when she did not provide a
victim with a letter, she provided an FBI pamphlet containing CVRA rights information similar to
that set forth in the FBI letters. 280 The co-case agent also recalled that he may have delivered “a
few” letters to victims. The FBI Victim Specialist told OPR that she mailed some FBI letters to
victims and she provided some FBI letters to the case agent for hand delivery.

        Nevertheless, the case agent told OPR that she “did not sit there and go through every
right” with the victims. She stated, however, “[I]n the beginning whether it was through [the FBI
Victim Specialist] giving the letter, me giving a letter, the pamphlet, I believed that the girls knew
that they were victims and had rights, and they had a resource, [the FBI Victim Specialist], that
they could call for that.” The FBI case agent further explained that once the case agents connected
the FBI Victim Specialist with each victim, the Victim Specialist handled the victims’ “rights and
resources.”

VI.      AUGUST 2006 – SEPTEMBER 2007: FBI AND USAO CONTACTS WITH
         VICTIMS BEFORE THE NPA IS SIGNED

       Early in the investigation, Villafaña informed her supervisors that, up to that point,
“everyone whom the agents have spoken with so far has been willing to tell her story. Getting
them to tell their stories in front of a jury at trial may be much harder.” Between August 2006 and
September 24, 2007, when the NPA was signed, the FBI case agents interviewed 22 victims. On
a few occasions, Villafaña met with victims together with the FBI. Villafaña’s May 1, 2007 draft
indictment included substantive crimes against multiple victims, and Villafaña described the
circumstances of each of their encounters with Epstein in her prosecution memorandum.

        There is some evidence indicating that during interviews, some of the victims expressed to
the FBI case agents and Villafaña concerns about participating in a federal trial of Epstein, and
those discussions touched upon, in broad terms, the victims’ views regarding the desired outcome
of the investigation. Before the USAO entered into the NPA, however, no one from the



280
         The case agent told OPR, “I remember giving letters to the girls when we would talk to them at . . . the
conclusion, or . . . if I didn’t have the file on me[,] I had pamphlets in my car, or I made sure [the victims had contact
information for the FBI’s Victim Specialist].”


                                                          200
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 227 of 348




government informed any victim about the potential for resolving the federal investigation through
a state plea.

        A.       The Case Agents and Villafaña Solicit Some Victims’ Opinions about
                 Resolving the Federal Investigation

       Villafaña told OPR that when she and the case agents met with victims, “we would ask
them how they wanted the case to be resolved.” 281

                 And most of them wanted the case to be resolved via a plea. Some
                 of them wanted him not to be prosecuted at all. Most of them did
                 not want to have to come to court and testify. They were very
                 worried about their privacy rights. Some of them wanted him to go
                 to jail. But . . . [s]ome of them talked about bad experiences with
                 the State Attorney’s Office. And so, I felt like sending them back to
                 the State Attorney’s Office was not something that they would have
                 supported.

        Villafaña told OPR that she also recalled that some victims “expressed . . . concern about
their safety,” and were worried that Epstein would find out about their participation in the
investigation. In her 2017 declaration submitted in the CVRA litigation, Villafaña stated that the
two CVRA petitioners “never communicated [their] desires to me or the FBI case agents and my
role was to evaluate the entire situation, consider the input received from all of the victims, and
allow the Office to exercise its prosecutorial discretion accordingly.” 282 She also noted that some
victims “fear[ed] having their involvement with Epstein revealed and the negative impact it would
have on their relationships with family members, boyfriends, and others.”

        In the FBI case agent’s 2017 declaration filed in the CVRA litigation, she stated, “During
interviews conducted from 2006 to 2008, no victims expressed a strong opinion that Epstein be
prosecuted.” She further described the concerns of some of the victims:

                 Throughout the investigation, we interviewed many [of Epstein’s]
                 victims . . . . A majority of the victims expressed concern about the
                 possible disclosure of their identities to the public. A number of the
                 victims raised concerns about having to testify and/or their parents
                 finding out about their involvement with Mr. Epstein. Additionally,

281
          Villafaña created for OPR a chart listing victims identified in the state and federal investigations, with
notations indicating several with whom Villafaña recalled discussing their opinions about resolving the case. The
chart, however, does not indicate what the victims said, and Villafaña told OPR that the information contained in the
chart was based on her memory of her interactions with each victim. OPR was unable to determine the details or
extent of any such discussions occurring before September 24, 2007, because Villafaña did not have contemporaneous
notes of the interviews, and the FBI reports and corresponding notes of the interviews did not contain information
about the victims’ desired outcomes. The victims who provided information to OPR did not recall discussing potential
resolution of the federal investigation with anyone from the government.
282
        In the declaration, Villafaña stated, “Jane Doe 2 specifically told me that she did not want Epstein
prosecuted.”


                                                        201
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 228 of 348




                 for some victims, learning of the Epstein investigation and possible
                 exposure of their identities caused them emotional distress. Overall,
                 many of the victims were troubled about the existence of the
                 investigation. They displayed feelings of embarrassment and
                 humiliation and were reluctant to talk to investigators. Some
                 victims who were identified through the investigation refused even
                 to speak to us. Our concerns about the victims’ well-being and
                 getting to the truth were always at the forefront of our handling of
                 the investigation.

The case agent told OPR that although she encountered victims who were “strong” and
“believable,” she did not encounter any who vigorously advocated for the prosecution of Epstein.
Rather, “they were embarrassed,” “didn’t want their parents to know,” and “wanted to forget.” 283

        As of September 24, 2007, the date the NPA was signed, Villafaña informed Epstein
attorney Lefkowitz that she had compiled a preliminary list of victims including “34 confirmed
minors” and 6 other potential minor victims who had not yet been interviewed by the FBI. 284
Although the government had contacted many victims before the NPA was signed, Villafaña
acknowledged during the CVRA litigation that “individual victims were not consulted regarding
the agreement.”

        B.       Before the NPA Is Signed, Villafaña Expresses Concern That Victims Have
                 Not Been Consulted

      Before the NPA was signed, Villafaña articulated to her supervisors concerns about the
government’s failure to consult with victims.

                 1.       July 2007: Villafaña’s Email Exchanges with Menchel

        In July 2007, Villafaña learned that Menchel had discussed with defense counsel Sanchez
a possible state resolution to the federal investigation of Epstein. Villafaña was upset by this
information, and sent a strongly worded email to Menchel voicing her concerns. (A full account
of their email exchange is set forth at Chapter Two, Part One, Section IV.A.2.) In that email, she
told him that it was “inappropriate [for you] to make a plea offer that you know is completely
unacceptable to the FBI, ICE, the victims, and me. These plea negotiations violate . . . all of the




283
        The case agent also noted that the victim who became CVRA petitioner Jane Doe #2 had expressed in her
April 2007 video-recorded FBI interview her opinion that “nothing should happen to Epstein.”
284
          The “victims’ list” for purposes of the NPA was intended to include the names of all individuals whom the
government was prepared to name in a charging document “as victims of an offense enumerated in 18 U.S.C. § 2255.”
Although the charges Villafaña proposed on May 1, 2007, were based on crimes against 13 victims, thereafter, as
explained in Chapter Two of this Report, she continued to revise the proposed charges, adding and removing victims
as the federal investigation developed further evidence. At the time the NPA was signed, the proposed charges were
based on crimes against 19 victims, but others had been identified for potential inclusion.


                                                       202
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 229 of 348




various iterations of the victims’ rights legislation.” 285 Villafaña explained to OPR her reference
to the victims:

                  [M]y concern was that [Menchel] was violating the CVRA which
                  requires the attorneys for the government, which[] includes me[,] to
                  confer with the victims, and the [VRRA], which requires the agents
                  to keep the victims apprised of what’s happening with the case. So
                  in essence, I felt like he was exposing both myself and the agents to
                  allegations of not abiding by our obligations by engaging in these
                  plea negotiations without letting us know about it. 286

        In his reply to Villafaña’s email, and after noting that he found her email “totally
inappropriate,” Menchel denied that he had violated any Departmental policy, and he noted that
“[a]s Chief of the Criminal Division, I am the person designated by the U.S. Attorney to exercise
appropriate discretion in deciding whether certain pleas are appropriate and consistent with”
Departmental policy. Perceiving Menchel’s rebuke as a criticism of her judgment, Villafaña
responded, “[R]aising concerns about the forgotten voices of victims in this case should not be
classified as a lapse in judgment” and that her “first and only concern in this case . . . is the victims.”

        Menchel told OPR that he did not view his conversation with Sanchez as a plea offer,
asserted that he was not obligated to consult with victims during preliminary settlement
negotiations, and noted that he left the USAO before the NPA was fully negotiated or signed.
Menchel told OPR that “you have discussions . . . with [the] defense all the time, and the notion
that even just having a general discussion is something that must be vetted with victims . . . is not
even . . . in the same universe as to how I think about this.” Menchel also observed that on the
very day that Villafaña criticized him for engaging in settlement negotiations without consulting
her, the FBI, or the victims, Villafaña had herself sent an email to Sanchez offering “to discuss the
possibility of a federal resolution of Mr. Epstein’s case that could run concurrently with any state
resolution,” without having spoken to the victims about her proposal. 287




285
         Villafaña told OPR that “some victims, I felt strongly, would have objected to [a state-only disposition].”
Villafaña stated to OPR that at the time Menchel engaged in such negotiations, he would only have been aware of the
victim information contained in her prosecution memorandum, which included information about the “effects on the
victims” but did not likely contain information as to “how they would like the case resolved.” Villafaña asserted that
Menchel “never reached out to any of the victims to find out what their position would be.” Menchel told OPR that
the allegations in Villafaña’s email that he violated the Ashcroft Memo, USAM, and the CVRA were “way out of line
in terms of what the law is and the policies are.”
286
         As discussed, the Department’s position at the time was that the CVRA did not apply before charges were
filed against a defendant.
287
         In commenting on OPR’s draft report, Villafaña’s counsel asserted that her email to Sanchez was intended
only to determine whether Epstein was interested in opening plea negotiations.


                                                        203
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 230 of 348




                  2.       Villafaña Asserts That Her Supervisors Gave Instructions Not to
                           Consult Victims about the Plea Discussions, but Her Supervisors Do
                           Not Currently Recall Such Instructions

        Villafaña told OPR that during an “early” meeting with Acosta, Sloman, and Menchel,
which took place when “we were probably just entering into plea negotiations,” she raised the
government’s obligation to confer with victims. 288 Initially, Villafaña told OPR she was
instructed, “Don’t talk to [the victims]. Don’t tell them what’s happening,” but she was not told
why she should not speak to the victims, and she could not recall who gave her this instruction. In
a subsequent OPR interview, Villafaña recalled that when she raised the issue of notification
during the meeting, she was told, “Plea negotiations are confidential. You can’t disclose them.”289
Villafaña remained uncertain who gave her this instruction, but believed it may have been Acosta.

        Neither Acosta, Sloman, nor Menchel recalled a meeting at which Villafaña was directed
not to notify the victims. Acosta told OPR that the decision whether to solicit the victims’ view
“is something [that] I think was the focus of the trial team and not something that I was focused
on at least at this time,” and he did not “recall discussions about victim notification until after the
NPA was signed.” Sloman also told OPR that he did not recall a meeting at which victim
notification was discussed. Menchel wrote in his response to OPR, “I have no recollection of any
discussions or decisions regarding whether the USAO should notify victims of its intention to enter
into a pre-charge disposition of the Epstein matter.” Furthermore, Menchel told OPR he could not
think of a reason why the issue of victim notification would have arisen before he left the USAO,
because “we were way off from finalizing or having anything even close to a deal,” and it would
have been “premature” to consider notification. 290

                  3.       September 6, 2007: Villafaña Informs Sloman, Who Informs Acosta,
                           of Oosterbaan’s Opinion That Consultation with Victims Was
                           Required

       On September 6, 2007, in a lengthy email to Sloman responding to his question about the
government’s then-pending offer to the defense, Villafaña raised the victim consultation issue,
advising that, “the agents and I have not reached out to the victims to get their approval, which as
[CEOS Chief Oosterbaan] politely reminded me, is required under the law” and that “the [PBPD]

288
         Villafaña could not recall the specific date of the meeting, but Menchel left the USAO on August 3, 2007.
289
         Villafaña also recalled Menchel raising a concern that “telling them about the negotiations could cause
victims to exaggerate their stories because of their desire to obtain damages from Epstein.”
290
         In commenting on OPR’s draft report, Menchel’s counsel reiterated his contention that Villafaña’s claim
about a meeting involving Menchel in which she was instructed not to consult with victims was inaccurate and
inconsistent with other evidence. OPR carefully considered the comments but did not conclude that the evidence to
which Menchel’s attorney pointed necessarily refuted Villafaña’s assertion that she had received an instruction from
a supervisor not to inform victims about the plea negotiations. However, it is also true that OPR did not find any
reference in the emails and other documents dated before the NPA was signed to a meeting at which victim
consultation was discussed or to a specific instruction not to consult with the victims. This is one of several events
about which Menchel and Villafaña disagreed, but given OPR’s conclusion that the Department did not require
prosecutors to consult with victims before charges were brought, OPR does not reach a conclusion regarding the
alleged meeting and instruction.


                                                        204
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 231 of 348




Chief wanted to know if the victims had been consulted about the deal.” 291 Sloman forwarded this
email to Acosta. Villafaña recalled that Sloman responded to her email by telephone, possibly
after he had spoken to Acosta, and stated, “[Y]ou can’t do that now.” Villafaña did not recall
Sloman explaining at the time the reason for that instruction.

          Villafaña told OPR that shortly before the NPA was signed, Sloman told her, “[W]e’ve
been advised that . . . pre-charge resolutions do not require victim notification.” Sloman did not
recall any discussions, before the NPA was signed, about contacting the victims or conferring with
them regarding the potential resolution of the case. Sloman told OPR that he “did not think that
we had to consult with victims prior to entering into the NPA,” and “we did not have to seek
approval from victims to resolve a case. We did have an obligation to notify them of the resolution
in . . . filed cases.” Sloman said that no one other than Villafaña raised the notification issue, and
because the USAO envisioned a state court resolution of the matter, Sloman “did not think that we
had to consult with victims prior to entering into the NPA.” Lourie told OPR that he had no
memory of Villafaña being directed not to speak to the victims about the NPA. 292 Similarly, the
attorney who assumed Lourie’s supervisory duties after Lourie transitioned to his detail in the
Department told OPR that he did not recall any discussions regarding victim notification and he
“assumed that was being handled.” 293
        Acosta did not recall the September 6, 2007 email, but told OPR that “there is no
requirement to notify [the victims], because it’s not a plea, it’s deferring in favor of a state
prosecution.” Acosta told OPR that he could not recall any “pre-NPA discussions” regarding
victim notification or any particular concern that factored into the decision not to consult with the
victims before entering into the NPA. 294 Ultimately, Acosta acknowledged to OPR, “[C]learly,
given the way it’s played out, it may have been much better if we had [consulted with the victims].”

       CEOS Chief Oosterbaan told OPR that he disagreed with the USAO’s stance that the
CVRA did not require pre-charge victim consultation, but in his view the USAO “posture” was
not “an abuse of discretion” or “an ethical issue,” but rather reflected a “serious and legitimate



291
         Villafaña told OPR that she referred to Oosterbaan in the email because “he was the head of CEOS and
because I think they were tired of hearing me nag them [to notify the victims].” As previously noted, Villafaña’s
statement that victim approval had to be obtained was incorrect. Even when applicable, the CVRA only requires
consultation with victims, not their approval of a plea agreement. Moreover, Villafaña’s comments concerning the
pre-charge application of the USAO’s CVRA obligation to consult with the victims appear at odds with her statement
to OPR that the CVRA applied to the USAO only after a defendant was charged and that she did not intend to activate
the USAO’s CVRA obligations when she sent letters to victims in August 2006.
292
          Lourie noted that during this period, he had left Florida and was no longer the supervising AUSA in the
office, but was “help[ing] [] out” from offsite because he had “historical knowledge” of the case.
293
         The AUSA who for a time served as Villafaña’s co-counsel on the Epstein investigation similarly did not
“know anything about” discussions in the USAO regarding the need to inform victims of the likely disposition of the
case. The AUSA stated that he stopped working on the case “months earlier” and that he “didn’t have anything to do
with the [NPA] negotiations.”
294
            Villafaña told OPR that she was not aware of any “improper pressure or promise made to [Acosta] in order
to . . . instruct [her] not to make disclosures to the victim[s].”


                                                       205
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 232 of 348




disagreement” regarding the CVRA’s requirements. 295 Oosterbaan’s disagreement was based on
policy considerations, and he told OPR that “from a policy perspective,” CEOS would not “take a
position that you wouldn’t consult with [the victims].” Oosterbaan also told OPR that whether or
not the law required it, the victims should have been given an opportunity “to weigh in directly,”
but he did not fault the USAO’s motivations for failing to provide that opportunity:

                 The people I know, Andy [Lourie], Jeff [Sloman], . . . were trying
                 to do the right thing. . . . [T]hey weren’t acting unethically. I just
                 disagree with the outcome . . . but the point is they weren’t trying
                 . . . to do anything improper . . . it was more of this question of . . .
                 you can let the victims weigh in on this, you can get their input on
                 this and maybe it doesn’t sway you. You still do what you’re going
                 to do but . . . it’s hard to say it was a complete, completely clean
                 exercise of . . . prosecutorial discretion when [the USAO] didn’t
                 really know what [the victims] would say.

       Sloman told OPR, “I don’t think we had a concern about entering into the NPA at that point
in terms of notifying victims. . . . I was under the perception that once the NPA was entered into
and [Epstein] was going to enter a guilty plea in state court that we were going to notify the
victims.”

VII.    SEPTEMBER 24, 2007 – JUNE 30, 2008: AFTER THE NPA IS SIGNED, THE
        USAO MAKES VARIOUS VICTIM NOTIFICATION DECISIONS

        The contemporaneous emails make clear that once the NPA was signed, Villafaña and the
case agents planned to inform the victims about the resolution of the federal investigation.
However, the emails also show that the USAO was unclear about how much information could be
given to the victims in light of the NPA’s nondisclosure provision and consulted with Epstein’s
defense counsel regarding victim notifications. 296 As a result, although the expectation in the
USAO was that the victims would be informed about the NPA, the monetary damages provision,
and the state plea, the USAO became entangled in more negotiations with the defense attorneys,
who strongly objected to the government’s notification plan. In addition, Villafaña and the case
agents grew concerned that notifying the victims about the NPA monetary damages provision
would damage the victims’ credibility if Epstein breached the NPA and the case went to trial. In
the end, Acosta decided to defer to the State Attorney’s discretion whether to notify the victims
about the state plea, and information about the NPA and the monetary damages provision was not
provided to victims until after Epstein pled guilty in June 2008.




295
        Oosterbaan stated that, in retrospect, “maybe I should have been more aggressive with how . . . I dealt with
[the USAO].”
296
         The NPA nondisclosure provision stated: “The parties anticipate that this agreement will not be made part
of any public record. If the United States receives a Freedom of Information Act request or any compulsory process
commanding the disclosure of the agreement, it will provide notice to Epstein before making that disclosure.”


                                                       206
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 233 of 348




         A.        September – October 2007: The Case Agents Notify Some Victims about the
                   NPA, but Stop When the Case Agent Becomes Concerned about Potential
                   Impeachment

        In transmitting the signed NPA to Villafaña on September 24, 2007, defense attorney
Lefkowitz asked Villafaña to “do whatever you can to prevent [the NPA] from becoming
public.” 297 Villafaña forwarded this email to Acosta, Lourie, and the new West Palm Beach
manager noting that, “I don’t intend to do anything with it except put it in the case file.” Acosta
responded that he “thought the [NPA] already binds us not to make [it] public except as required
by law or [FOIA]” and noted that because the USAO would not proactively inform the media
about the NPA, “this is the State Attorney[’]s show.” 298 Acosta added, “In other words, what more
does he want?” Villafaña responded, “My guess is that if we tell anyone else (like the police chief
or FBI or the girls), that we ask them not to disclose.” Lourie agreed, noting that “there really is
no reason to tell anyone all the details of the non pros or provide a copy. The [PBPD] Chief was
only concerned that he not get surprised by all this.” 299 Acosta responded that he would set up a
call on September 26, 2007, to talk “about who we can tell and how much.” 300

        Also on September 24, 2007, Villafaña emailed the new West Palm Beach manager to
inform him that once the attorney representative was appointed for the victims, she planned to
“meet with the girls myself to explain how the system [for obtaining relief under 18 U.S.C. § 2255]
will work.” Villafaña also emailed Lefkowitz stating that she planned to discuss with him “what
I can tell [the attorney representative] and the girls about the agreement,” and she assured
Lefkowitz that her office “is telling Chief Reiter not to disclose the outcome to anyone.” Villafaña
also provided Lefkowitz with a list of potential candidates for the attorney representative position
and advocated for an attorney representative who would minimize press coverage of the matter.

        On September 26, 2007, Villafaña emailed Lefkowitz to request guidance on informing the
victims about the NPA: “Can you give me a call . . . I am meeting with the agents and want to
give them their marching orders regarding what they can tell the girls.” Villafaña told OPR that
because the government and the defense had not agreed on the attorney representative for the
victims, she reached out to the defense at the direction of either Acosta or Sloman in order to
coordinate how to inform the victims about the resolution of the case and the fact that there would
be an attorney to assist them in recovering monetary damages from Epstein. Villafaña told OPR
that the defense responded to her email by complaining to her supervisors that she should not be



297
          Villafaña had assured Lefkowitz that the NPA “would not be made public or filed with the Court, but it would
remain part of our case file. It probably would be subject to a FOIA request, but it is not something that we would
distribute without compulsory process.”
298
          Acosta told OPR that he believed that the NPA “would see the light of day” because the victims would have
to “hear about [their § 2255 rights] from somewhere” and “given the press interest, eventually this would be FOIA’d.”
299
          Lourie told OPR that the § 2255 provisions of the NPA “that benefitted the victims were there for the victims
to take advantage of. . . . and they did. How . . . they were going to receive that information and when they were going
to receive it is a different question, but there’s no . . . issue with the fact that they were going to get that information.”
300
         OPR was unable to determine whether the call took place.


                                                            207
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 234 of 348




involved in such notifications. According to Villafaña, Sloman then directed her to have the case
agents make the victim notifications.

          Accordingly, Villafaña directed the case agents to “meet with the victims to provide them
with information regarding the terms of the [NPA] and the conclusion of the federal investigation.”
The case agent told OPR, “[T]here was a discussion that Marie and I had as
to . . . how we would tell them, and what we would tell them, and what that was I don’t recall, but
it was the terms of the agreement.” Villafaña believed that if “victims were properly notified of
the terms [of the NPA] that applied to them, regarding their right to seek damages from [Epstein],
and he paid those damages, that the rest of the [NPA] doesn’t need to be disclosed.” Villafaña
“anticipated that [the case agents] would be able to inform the victims of the date of the state court
change of plea [hearing], but that date had not yet been set by state authorities at the time the first
victims were notified [by the FBI].” Villafaña told OPR that it was her belief that because the
USAO had agreed to a confidentiality clause, the government could not disclose the NPA to the
general public, but victims could be informed “because by its terms they needed to be told what
the agreement was about.” Villafaña told OPR that no one in her supervisory chain expressed a
concern that if victims learned of the NPA, they would try to prevent Epstein from entering a plea.


        Within a week after the NPA was signed, news media began reporting that the parties had
reached a deal to resolve the Epstein case. For example, on October 1, 2007, the
New York Post reported that Epstein “has agreed to plead guilty to soliciting underage prostitutes
at his Florida mansion in a deal that will send him to prison for about 18 months,” and noted that
Epstein would plead guilty in state court and that “the feds have agreed to drop their probe into
possible federal criminal violations in exchange for the guilty plea to the new state charge.” 301

       The case agent recalled informing some victims that “there was an agreement reached” and
“we would not be pursuing this federally.” In October 2007, for example, the case agents met with
victim Courtney Wild, “to advise her of the main terms of the Non-Prosecution Agreement.”
According to the case agent, during that meeting, the case agents told Wild “that an agreement had
been reached, Mr. Epstein was going to plead guilty to two state charges, and there would not be
a federal prosecution.” 302 However, in a declaration filed in 2015 in the CVRA litigation, Wild
described the conversation differently:

                  [T]he agents explained that Epstein was also being charged in State
                  court and may plea [sic] to state charges related to some of his other
                  victims. I knew that State charges had nothing to do with me.

301
          Dan Mangan, “‘Unhappy Ending’ Plea Deal—Moneyman to Get Jail For Teen Sex Massages,” New York
Post, Oct. 1, 2007. See also “Model Shop Denies Epstein Tie,” New York Post, Oct. 6, 2007; “Andrew Pal Faces Sex
List Shame,” Mail on Sunday, Oct. 14, 2007; “Epstein Eyes Sex-Rap Relief,” New York Post, Oct. 9, 2007; “Sex Case
‘Victims’ Lining Up,” New York Post “Page Six,” Oct. 15, 2007; Dareh Gregorian and Mathew Nestel, “I Was Teen
Prey of Pervert Tycoon,” New York Post, Oct. 18, 2007. The following month, the Palm Beach Post reported the end
of the federal investigation as well. See “Epstein Has One Less Worry These Days,” Palm Beach Post, Nov. 9, 2007;
“How Will System Judge Palm Beach Predator?,” Palm Beach Post “Opinion,” Nov. 16, 2007.
302
         The co-case agent recalled meeting with the victims about the resolution of the case, but could not recall the
specifics of the discussions.


                                                         208
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 235 of 348




                  During this meeting, the Agents did not explain that an agreement
                  had already been signed that precluded any prosecution of Epstein
                  for federal charges against me. I did not get the opportunity to meet
                  or confer with the prosecuting attorneys about any potential federal
                  deal that related to me or the crimes committed against me.

                  My understanding of the agents’ explanation was that the federal
                  investigation would continue. I also understood that my own case
                  would move forward towards prosecution of Epstein.

       In addition, the case agent spoke to two other victims and relayed their reactions to
Villafaña in an email:

                  Jane Doe #14 asked me why [Epstein] was receiving such a lite [sic]
                  jail sentence and Jane Doe #13 has asked for our Victim Witness
                  coordinator to get in touch with her so she can receive some much
                  needed [p]rofessional counseling. Other than that, their response
                  was filled with emotion and grateful to the Federal authorities for
                  pursuing justice and not giving up. 303

The case agent told OPR that when she informed one of these victims, that individual cried and
expressed “a sense of relief.” Counsel for “Jane Doe #13” told OPR that while his client recalled
meeting with the FBI on a number of occasions, she did not recall receiving any information about
Epstein’s guilty plea. In a letter to OPR, “Jane Doe #14’s” attorney stated that although her client
recalled speaking with an FBI agent, she was not told about the NPA or informed that Epstein
would not face federal charges in exchange for his state court plea.

        After meeting with these three victims, the FBI case agent became concerned that, if
Epstein breached the NPA and the case went to federal trial, the defense could use the victims’
knowledge of the NPA’s monetary damages provision as a basis to impeach the victims. 304 The
case agent explained to OPR that she became “uncomfortable” talking to the victims about the
damages provision, and that as the lead investigator, “if we did end up going to trial . . . [if]
Mr. Epstein breached this that I would be on the stand” testifying that “I told every one of these
girls that they could sue Mr. Epstein for money, and I was not comfortable with that, I didn’t think
it was right.”

       Similarly, the co-case agent told OPR, “[T]hat’s why we went back to Marie [Villafaña]
and said we’re not comfortable now putting this out there . . . because . . . it’s likely that [the case
agent] and I are going to have to take the stand if it went to trial, and this could be a problem.”
Villafaña told OPR that the case agents were concerned they would be accused of “offering a bribe

303
         The case agent did not record any of the victim notifications in interview reports, because “it wasn’t an
interview of them, it was a notification. . . . [I]f there was something . . . relevant [that] came up pertaining to the
investigation, or something that I thought was noteworthy . . . I might have [recorded it in an interview report].”
304
         Within limitations set by the Federal Rules of Evidence, a defendant may attack the credibility of a witness
through evidence of bias, which may include the witness having received money, or expecting to receive money, from
the government, the defendant, or other sources as a result of the witness’s allegations or testimony.


                                                         209
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 236 of 348




for [victims] to enhance their stories” and that the defense would try to have Villafaña or the case
agents removed from the case.

        Both the lead case agent and Villafaña told OPR that after the FBI raised with Villafaña
the concern that notifying the victims would create potential impeachment material in the event of
a breach and subsequent trial, they contacted the USAO’s Professional Responsibility Officer for
advice. Villafaña recalled that during a brief telephone consultation, the Professional
Responsibility Officer advised her and the case agent that “it’s not really that big a concern, but if
you’re concerned about it then you should stop making the notification.” 305 In her 2017 CVRA
declaration, the case agent stated that after conferring with the USAO, the case agents stopped
notifying victims about the NPA.

        B.        October 2007: Defense Attorneys Object to Government Victim Notifications

        While the case agents and Villafaña considered the impact that notifying the victims about
the resolution of the case might have on a potential trial, defense counsel also raised concerns
about what the victims could be told about the NPA. As discussed in Chapter Two, after the NPA
was signed on September 24, 2007, the USAO proposed using a special master to select the
attorney representative for the victims, which led to further discussions about the § 2255 provision.
On October 5, 2007, when defense attorney Lefkowitz sent Villafaña a letter responding to the
USAO’s proposal to use a special master, he cautioned that “neither federal agents nor anyone
from your Office should contact the identified individuals to inform them of the resolution of the
case” because such communications would “violate the confidentiality of the agreement” and
would prevent Epstein from having control over “what is communicated to the identified
individuals at this most critical stage.” Lefkowitz followed this communication with an October
10, 2007 letter to Acosta, arguing that “[n]either federal agents nor anyone from your Office should
contact the identified individuals to inform them of the resolution of the case.” 306 Rather,
Lefkowitz wanted to “participate in crafting a mutually acceptable communication to the identified
individuals.”

        On October 23, 2007, Villafaña raised the issue of victim notification with Sloman, stating:

                  We also have to contact the victims to tell [them] about the outcome
                  of the case and to advise them that an attorney will be contacting
                  them regarding possible claims against Mr. Epstein. If we don’t do
                  that, it may be a violation of the Florida Bar Rules for the selected
                  attorney to ‘cold call’ the girls.

         As discussed in greater detail in Chapter Two, on October 23, 2007, Lefkowitz sent Acosta
a letter stating that Epstein expected to enter a guilty plea in state court on November 20, 2007,

305
         The Professional Responsibility Officer told OPR that he did not recall the case agent contacting him about
victim notification, nor did he recall being involved in the Epstein matter before the CVRA litigation was instituted
in July 2008 and he was assigned to handle the litigation. Villafaña told OPR that they consulted the Professional
Responsibility Officer over the telephone, the call took no more than “five minutes,” and the Professional
Responsibility Officer had no other exposure to the case and thus “wouldn’t have [any] context for it.”
306
         Lefkowitz also argued that direct contact with the victims could violate grand jury secrecy rules.


                                                         210
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 237 of 348




and thanking Acosta for agreeing on October 12, 2007, not to “contact any of the identified
individuals, potential witnesses, or potential civil claimants and their respective counsel in this
matter.” 307 Shortly thereafter, Sloman drafted a response to Lefkowitz’s letter, which Acosta
revised to clarify the “inaccurate” representations made by Lefkowitz, in particular noting that
Acosta did not agree to a “gag order” with regard to victim contact. The draft response, as revised
by Acosta, stated:

                  You should understand, however, that there are some
                  communications that are typical in these matters. As an example,
                  our Office has an obligation to contact the victims to inform them
                  that either [the Special Master], or his designee, will be contact[ing]
                  them. Rest assured that we will continue to treat this matter as we
                  would any similarly situated case. 308

        In a November 5, 2007 letter, Sloman complained to Lefkowitz that private investigators
working for Epstein had been contacting victims and asking whether government agents had
discussed financial settlement with them. Sloman noted that the private investigators’ “actions are
troublesome because the FBI agents legally are required to advise the victims of the resolution of
the matter, which includes informing them that, as part of the resolution, Mr. Epstein has agreed
to pay damages in some circumstances.” The same day, Villafaña emailed Sloman expressing her
concern that “if we [file charges] now, cross-examination will consist of- ‘and the government told
you that if Mr. Epstein is convicted, you are entitled to a large amount of damages, right?’” 309

         C.       October – November 2007: The FBI and the USAO Continue to Investigate,
                  and the FBI Sends a Notice Letter to One Victim Stating That the Case is
                  “Under Investigation”

        Although Villafaña and the FBI case agents decided to stop informing victims about the
NPA, the FBI continued its investigation of the case, which included locating and interviewing
potential victims. In October and November 2007, the FBI interviewed 12 potential new victims,
8 of whom had been identified in a “preliminary” victim list in use at the time Epstein signed the




307
         Villafaña later emailed Sloman stating that she planned to meet with the case agents to have a “general
discussion about staying out of the civil litigation.”
308
        Sloman’s draft also stated that Acosta had informed the defense in a previous conference call that the USAO
would not accept a “gag order.” OPR recovered only a draft version of the communication and was unable to find
any evidence that the draft letter was finalized or sent to defense counsel.
309
          Subsequent records also referred to the prosecutors’ concerns about creating impeachment evidence and that
such concerns played a role in their decision not to notify victims of the NPA until after Epstein pled guilty. In August
2008, the AUSA handling the CVRA litigation emailed Villafaña, Acosta, and Sloman expressing his understanding
that the “victims were not consulted [concerning the NPA] . . . because [the USAO] did not believe the [CVRA]
applied.” Acosta responded: “As I recall, we also believed that contacting the victims would compromise them as
potential witnesses. Epstein argued very forcefully that they were doing this for the money and we did not want to
discuss liability with them, which was [a] key part of [the] agree[ment].”


                                                          211
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 238 of 348




NPA. 310 The FBI reports of the victim interviews do not mention the NPA or indicate that the
victims were asked for their input regarding the resolution of the case. Villafaña acknowledged
that she and the case agents did not tell any of the “new” post-NPA-signing victims about the
agreement because “at that point we believed that the NPA was never going to be performed and
that we were in fact going to be [charging] Mr. Epstein.”

         On October 12, 2007, the FBI Victim Specialist sent a VNS form notice letter to a victim
the case agents had interviewed two days earlier. This letter was identical to the VNS form notice
letter the FBI Victim Specialist sent to other victims before the NPA was signed, describing the
case as “under investigation” and requesting the victim’s “patience.” The letter listed the eight
CVRA rights, but made no mention of the NPA or the § 2255 provision. Villafaña told OPR she
was unaware the FBI sent the letter, but she knew “there were efforts to make sure that we had
identified all victims of the crimes under investigation.” In response to OPR’s questions about the
accuracy of the FBI letter’s characterization of the case as “under investigation,” Villafaña told
OPR that the NPA required Epstein to enter a plea by October 26, 2008, and “at this point we
weren’t actively looking for additional charges,” but “the investigation wasn’t technically
suspended until he completed all the terms of the NPA.”

         D.       The USAO Informs the Defense That It Intends to Notify Victims by Letter
                  about Epstein’s State Plea Hearing and the Resolution of the Federal
                  Investigation, but the Defense Strongly Objects to the Notification Plan

       In anticipation of Epstein’s state court plea, Villafaña reported on November 16, 2007, to
Acosta, Sloman, and other supervisors that she had learned, from FBI agents who met with
Assistant State Attorney Belohlavek, that the State Attorney’s Office wanted the USAO to notify
victims of the state plea hearing.

                  [Belohlavek] would still like us to do the victim notifications. The
                  State does not have a procedure (like we do federally) where the
                  Court has to provide a separate room for victims who want to attend
                  judicial proceedings, so I do not know how many victims will
                  actually want to be present. 311

Belohlavek told OPR that she did not recall the conversation referenced by the FBI nor any
coordination between her office and federal officials to contact or notify victims about Epstein’s
state plea hearing.

       On November 19, 2007, Villafaña decided that to avoid any misconduct accusations from
the defense about the information given to victims, she “would put the victim notification in
writing.” She provided Sloman with a draft victim notification letter, in which among other things,

310
        Not all the individuals interviewed qualified for inclusion on the victim list. For example, one would not
cooperate with investigators; a second claimed to have simply massaged Epstein with no sexual activity; and a third
claimed she had no contact with Epstein.
311
         Villafaña told OPR that she understood the state took the position that because “there was either only one or
two victims involved in their case,” they “could not do victim notifications to all of the victims.”


                                                        212
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 239 of 348




she would inform victims of the terms of the resolution of the federal case, including Epstein’s
agreement to plead guilty to state charges and serve 18 months in county jail, and the victims’
ability to seek monetary damages against Epstein. The letter also would invite victims to appear
at the state court hearing and make a statement under oath or provide a written statement to be
filed by the State Attorney’s Office. Sloman and Villafaña exchanged edits on the draft victim
notification letter, and Villafaña also informed Sloman that “[t]here are a few girls who didn’t
receive the original letters, so I will need to modify the introductory portion of the letter for
those.” 312

        Sloman informed Lefkowitz of the government’s need to meet its “statutory obligation
(Justice for All Act of 2004) to notify the victims of the anticipated upcoming events and their
rights associated with the agreement” and his intent to “notify the victims by letter after COB
Thursday, November 29.” Lefkowitz objected to the proposal to notify the victims, asserting that
it was “incendiary and inappropriate” and not warranted under the Justice for All Act of 2004. He
argued that the defense “should have a right to review and make objections to that submission
prior to it being sent to any alleged victims.” He also insisted that if any notification letters were
sent to “victims, who still have not been identified to us, it should happen only after Mr. Epstein
has entered his plea” and that the letter should come from the attorney representative rather than
the government. On November 28, 2007, at Sloman’s instruction, Villafaña provided Lefkowitz
with the draft victim notification letter, which would advise victims that the state court plea was
to occur on December 14, 2007. 313

        In a November 29, 2007 letter to Acosta, Lefkowitz strongly objected to the proposed draft
notification letter, arguing that the government was not obligated to send any letter to victims until
after Epstein’s plea and sentencing. Lefkowitz also contended that the victims had no right to
appear at Epstein’s state plea hearing and sentencing or to provide a written statement for such a
proceeding. In a November 30, 2007 reply letter to Lefkowitz, Acosta did not address the
substance of Lefkowitz’s arguments, but accused the defense team of “in essence presenting
collateral challenges” delaying effectuation of the NPA, and asserted that if Epstein was
dissatisfied with the NPA, “we stand ready to unwind the Agreement” and proceed to trial. Shortly
thereafter, Acosta informed defense counsel Starr by letter that he had directed prosecutors “not to
issue victim notification letters until this Friday [December 7] at 5 p.m., to provide you with time
to review these options with your client.” In the letter, Acosta also refuted defense allegations that
Villafaña had acted improperly by informing the victims of the potential for receiving monetary
damages, stating that “the victims were not told of the availability of Section 2255 relief during
the investigation phase of this matter.”

      On December 5, 2007, Starr and Lefkowitz sent a letter to Acosta, with copies to Sloman
and Assistant Attorney General Fisher, “reaffirm[ing]” the NPA, but taking “serious issue” with
312
          On November 28, 2007, two months after the NPA was signed, the lead case agent informed Villafaña that
only 15 of the then-known victims had received victim notification letters from either the FBI or the USAO. On
December 6, 2007, the lead case agent reported to Villafaña that she was “still holding many of the original V/W
letters addressed to victims from the USAO.”
313
          Villafaña understood the state prosecutors had set the December 14, 2007 date, and emailed them for
confirmation, stating, “[I]f the matter is set for the 14th, please let me know so I can include that in my victim
notifications.”


                                                      213
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 240 of 348




the USAO’s interpretation of the agreement and “the use of Section 2255.” The Starr and
Lefkowitz letter asserted it was “wholly inappropriate” for the USAO to send the proposed victim
notification letter “under any circumstances,” and “strongly urg[ed]” Acosta to withhold the
notification letter until after the defense was able “to discuss this matter with Assistant Attorney
General Fisher.”

        The following day, Sloman sent a letter to Lefkowitz, with copies to Acosta and Villafaña,
asserting that the VRRA obligated the government to notify victims of the 18 U.S.C. § 2255
proceedings as “other relief” to which they were entitled. Sloman also stated that the VRRA
obligated the government to provide the victims with information concerning restitution to which
they may be entitled and “the earliest possible” notice of the status of the investigation, the filing
of charges, and the acceptance of a plea. 314 (Emphasis in original). Sloman added:

                 Just as in 18 U.S.C. § 3771 [the CVRA], these sections are not
                 limited to proceedings in a federal district court. Our Non-
                 Prosecution Agreement resolves the federal investigation by
                 allowing Mr. Epstein to plead to a state offense. The victims
                 identified through the federal investigation should be appropriately
                 informed, and our Non-Prosecution Agreement does not require the
                 U.S. Attorney’s Office to forego [sic] its legal obligations. 315

Sloman also addressed the defense objection to advising the victims to contact Villafaña or the
FBI case agent with questions or concerns: “Again, federal law requires that victims have the
‘reasonable right to confer with the attorney for the Government in this case.’” Sloman advised
the defense: “The three victims who were notified prior to your objection had questions directed
to Mr. Epstein’s punishment, not the civil litigation. Those questions are appropriately directed to
law enforcement.”

         Along with this letter, Sloman forwarded to Lefkowitz for comment a revised draft victim
notification letter that was substantially similar to the prior draft provided to the defense. The
letter stated that “the federal investigation of Jeffrey Epstein has been completed,” Epstein would
plead guilty in state court, the parties would recommend 18 months of imprisonment at sentencing,
and Epstein would compensate victims for damage claims brought under 18 U.S.C. § 2255. The
letter provided specific information concerning the upcoming change of plea hearing:

                 As I mentioned above, as part of the resolution of the federal
                 investigation, Mr. Epstein has agreed to plead guilty to state charges.
                 Mr. Epstein’s change of plea and sentencing will occur on
                 December 14, 2007, at ___ a.m., before Judge Sandra K. McSorley,

314
        See 42 U.S.C. § 10607(c)(1)(B) and (c)(3).
315
         Emphasis in original. Sloman also stated that the USAO did not seek to “federalize” a state plea, but “is
simply informing the victims of their rights.” Villafaña informed OPR that Sloman approved and signed the letter,
but she was the primary author of the document. OPR notes that Villafaña was the principal author of most
correspondence in the Epstein case, and that following the signing of the NPA, regardless of whether the letter went
out with her, Sloman’s, or Acosta’s signature, the three attorneys reviewed and edited drafts of most correspondence
before a final version was sent to the defense.


                                                       214
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 241 of 348




                  in Courtroom 11F at the Palm Beach County Courthouse, 205 North
                  Dixie Highway, West Palm Beach, Florida. Pursuant to Florida
                  Statutes Sections 960.001(1)(k) and 921.143(1), you are entitled to
                  be present and to make a statement under oath. If you choose, you
                  can submit a written statement under oath, which may be filed by
                  the State Attorney’s Office on your behalf. If you elect to prepare a
                  written statement, it should address the following:

                            the facts of the case and the extent of any harm, including
                            social, psychological, or physical harm, financial losses, loss
                            of earnings directly or indirectly resulting from the crime for
                            which the defendant is being sentenced, and any matter
                            relevant to an appropriate disposition and sentence. Fl[a].
                            Stat. [§] 921.143(2).

Sloman told OPR that he was “proceeding under the belief that we were going to notify [the
victims], even though it wasn’t a federal case. Whether we were required or not.” Sloman also
told OPR that while “we didn’t think that we had an obligation to send them victim notification
letters . . . I think . . . Marie and . . . the agents . . . were keeping the victims apprised at some
level.”

        On December 7, 2007, Villafaña prepared letters containing the above information to be
sent to multiple victims and emailed Acosta and Sloman, requesting permission to send them.316
Sloman, however, had that day received a letter from Sanchez, advising that Epstein’s plea hearing
was scheduled for January 4, 2008, and requesting that the USAO “hold off” sending the victim
notification letters until “we can further discuss the contents.” Also that day, Starr and Lefkowitz
submitted to Acosta the two lengthy “independent ethics opinions” supporting the defense
arguments against the federal investigation and the NPA’s use of 18 U.S.C. § 2255. Sloman
responded to Villafaña’s request with an email instructing her to “Hold the letter.” 317 Sloman told
OPR that he “wanted to push the [victim notification] letter out,” but his instruction to Villafaña
was “the product of me speaking to somebody,” although he could not be definitive as to whom.
Sloman further told OPR that once the NPA “looked like it was going to fall apart,” the USAO
“had concerns that if we g[a]ve them the victim notification letter . . . and the deal fell apart, then
the victims would be instantly impeached by the provision that you’re entitled to monetary
compensation.”

        On December 10, 2007, Villafaña contacted the attorney who at the time represented the
victim who later became CVRA petitioner “Jane Doe #2” to inform him that she “was preparing
victim notification letters.” In her 2017 declaration filed in the CVRA litigation, Villafaña noted
that she reached out to Jane Doe #2’s counsel, despite the fact that the USAO no longer considered
316
          The FBI case agent had emailed Villafaña the day before stating, “The letter that is currently being revised
needs to take into account that several victims have never been notified by your office or mine.” The case agent also
stated, “I do not feel that [the defense] should have anything to do with the drafting or issuing of this letter. My
primary concern is that we meet our federal obligations to the victims in accordance with federal law.”
317
          Villafaña told OPR that she did not recall asking Sloman for an explanation for not sending the letters; rather,
she “just remember[ed] putting them all in the Redweld and putting them in a drawer and being disgusted.”


                                                          215
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 242 of 348




her a victim for purposes of the federal charges, and continued to treat her as a victim because she
wanted “to go above and beyond in terms of caring for the victims.” 318

         E.       December 19, 2007: Acosta Advises the Defense That the USAO Will Defer to
                  the State Attorney the Decision Whether to Notify Victims of the State Plea
                  Hearing, but the USAO Would Notify Them of the Federal Resolution, “as
                  Required by Law”

         On December 11, 2007, Starr transmitted to Acosta two lengthy submissions authored by
Lefkowitz presenting substantive challenges to the NPA and to “the background and conduct of
the investigation” into Epstein. Regarding issues relevant to victim notification, in his transmittal
letter, Starr asserted that the “latest episodes involving [§] 2255 notification to the alleged victims
put illustratively in bold relief our concerns that the ends of justice, time and time again, are not
being served.” By way of example, Starr complained the government had recently inappropriately
provided “oral notification of the victim notification letter” to one girl’s attorney, even though it
was clear from the girl’s recorded FBI interview that she “did not in any manner view herself as a
victim.”

       In his submissions, Lefkowitz argued that the government was not required to notify
victims of the § 2255 provision:

                  Villafaña’s decision to utilize a civil remedy statute in the place of
                  a restitution fund for the alleged victims eliminates the notification
                  requirement under the Justice for All Act of 2004, a federal law that
                  requires federal authorities to notify victims as to any available
                  restitution, not of any potential civil remedies. Despite this fact,
                  [she] proposed a Victims Notification letter to be sent to the alleged
                  federal victims.

        Lefkowitz also argued that a victim trust fund would provide a more appropriate
mechanism for compensating the victims than the government’s proposed use of 18 U.S.C. § 2255,
and a trust fund would not violate Epstein’s due process rights. Lefkowitz took issue with the
government’s “assertion” that the USAO was obligated to send a victim notification letter to the
alleged victims, or even that it was appropriate for the USAO to do so. Lefkowitz further argued
that the government misinterpreted both the CVRA and the VRRA, because neither applied to a
public, state court proceeding involving the entry of a plea on state charges.

      In a letter from Villafaña to Lefkowitz, responding to his allegations that she had
committed misconduct, she specifically addressed the “false” allegations that the government had



318
         As noted previously, in April 2007, this victim gave a video-recorded interview to the FBI that was favorable
to Epstein. Villafaña told OPR she was instructed by either Sloman or Acosta “not to consider [this individual] as a
victim for purposes of the NPA because she was not someone whom the Office was prepare[d] to include in” a federal
charging document. Accordingly, the victim who became “Jane Doe #2” was not included on the victim list ultimately
furnished to the defense. The attorney who was representing this victim at the time of her FBI interview was paid by
Epstein, and she subsequently obtained different counsel.


                                                        216
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 243 of 348




informed victims “of their right to collect damages prior to a thorough investigation of their
allegations against Mr. Epstein”:

                  None of the victims were informed of the right to sue under
                  Section 2255 prior to the investigation of the claims. Three victims
                  were notified shortly after the signing of the [NPA] of the general
                  terms of that Agreement. You raised objections to any victim
                  notification, and no further notifications were done. Throughout
                  this process you have seen that I have prepared this case as though
                  it would proceed to trial. Notifying the witnesses of the possibility
                  of damages claims prior to concluding the matter by plea or trial
                  would only undermine my case. If my reassurances are insufficient
                  the fact that not a single victim has threatened to sue Mr. Epstein
                  should assure you of the integrity of the investigation.

        On December 14, 2007, Villafaña forwarded to Acosta the draft victim notification letter
previously sent to the defense, along with two draft letters addressed to State Attorney Krischer;
Villafaña’s transmittal email to Acosta had the subject line, “The letters you requested.” One of
the draft letters to Krischer, to be signed by Villafaña, was to advise that the USAO had sent an
enclosed victim notification letter to specified identified victims and referred to an enclosed “list
of the identified victims and their contact information, in case you are required to provide them
with any further notification regarding their rights under Florida law.” 319 The second draft letter
to Krischer, for Acosta’s signature, requested that Krischer respond to defense counsel’s
allegations that the State Attorney’s Office was not comfortable with the proposed plea and
sentence because it believed that the case should be resolved with probation and no sexual offender
registration. OPR found no evidence that these letters were sent to Krischer. 320

        A few days later, in an apparent effort to move forward with victim notifications, Villafaña
emailed Sloman, stating, “[Is there] anything that I or the agents should be doing?” Villafaña told
Sloman that “[the FBI case agent] is all worked up because another agent and [a named AUSA]
are the subject of an OPR investigation for failing to properly confer with and notify victims [in
an unrelated matter]. We seem to be in a Catch 22.” 321 OPR did not find a response to Villafaña’s
email.

        In their December 14, 2007 meeting with Acosta and other USAO personnel and in their
lengthy follow-up letter to Acosta on December 17, 2007, Starr and Lefkowitz continued to press
their objections to the USAO’s involvement in the Epstein matter. They requested that Acosta

319
       The draft victim notification letter was identical to the draft victim notification letter sent to the defense on
December 6, 2007, except that it contained a new plea date of January 4, 2008.
320
           Moreover, the letters were not included in the publicly released State Attorney’s file, which included other
correspondence from the USAO. See Palm Beach State Attorney’s Office Public Records/Jeffrey Epstein, available
at http://sa15.org/stateattorney/NewsRoom/indexPR htm.
321
          OPR was unable to locate any records indicating that such allegations had ever been referred to OPR.
Villafaña told OPR that “Catch 22” was a reference to instructions from supervisors “[t]hat we can’t go forward on”
filing federal charges and “I was told not to do victim notifications and confer at the time.”


                                                         217
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 244 of 348




review the appropriateness of the potential federal charges and the government’s “unprecedentedly
expansive interpretation” of 18 U.S.C. § 2255.

         In a December 19, 2007 response to the defense team, Acosta offered to revise two
paragraphs in the NPA to resolve “disagreements” with the defense and to clarify that the parties
intended Epstein’s § 2255 liability to “place these identified victims in the same position as they
would have been had Mr. Epstein been convicted at trial. No more; no less.” Acosta also advised
that although the USAO intended to notify the victims of the resolution of the federal investigation,
the USAO would leave to the State Attorney the decision whether to notify victims about the state
proceedings:

                  I understand that the defense objects to the victims being given
                  notice of [the] time and place of Mr. Epstein’s state court sentencing
                  hearing. I have reviewed the proposed victim notification letter and
                  the statute. I would note that the United States provided the draft
                  letter to the defense as a courtesy. In addition, First Assistant United
                  States Attorney Sloman already incorporated in the letter several
                  edits that had been requested by defense counsel. I agree that [the
                  CVRA] applies to notice of proceedings and results of investigations
                  of federal crimes as opposed to the state crime. We intend to provide
                  victims with notice of the federal resolution, as required by law. We
                  will defer to the discretion of the State Attorney regarding whether
                  he wishes to provide victims with notice of the state proceedings,
                  although we will provide him with the information necessary to do
                  so if he wishes.

         Acosta told OPR that he “would not have sent this letter without running it by [Sloman], if
not other individuals in the office,” and records show he sent a draft to Sloman and Villafaña.
Acosta explained to OPR that he was not concerned about deferring to Krischer on the issue of
whether to notify the victims of the state proceedings because he did not view it as his role, or the
role of the USAO, “to direct the State Attorney’s Office on its obligations with respect to the state
outcome.” 322 Acosta further explained to OPR that despite the USAO’s initial concerns about the
State Attorney’s Office’s handling of the Epstein case, he did not believe it was appropriate to
question that office’s ability to “fulfill whatever obligation they have,” and he added, “Let’s not
assume . . . that the State Attorney’s Office is full of bad actors.” Acosta told OPR that it was his
understanding “that the victims would be aware of what was happening in the state court and have
an opportunity to speak up at the state court hearing.” Acosta also told OPR that the state would

322
          Sloman’s handwritten notes from a December 21, 2007 telephone conference indicate that Acosta asked the
defense, “Are there concerns re: 3771 lang[uage],” to which Lefkowitz replied, “The state should have their own
mechanism.” At the time of the Epstein matter, under the Florida Constitution, upon request, victims were afforded
the “right to reasonable, accurate, and timely notice of, and to be present at” a defendant’s plea and sentencing. Fla.
Const. art. I, § 16(b)(6). Similarly, pursuant to state statute, “Law enforcement personnel shall ensure” that victims
are given information about “[t]he stages in the criminal or juvenile justice process which are of significance to the
victim[.]” Fla. Stat. § 960.001(1)(a) (2007). Victims were also entitled to submit an oral or written impact statement.
Fla. Stat. § 960.001(1)(k) (2007). Moreover, “in a case in which the victim is a minor child,” the guardian or family
of the victim must be consulted by the state attorney “in order to obtain the views of the victim or family about the
disposition of any criminal or juvenile case” including plea agreements. Fla. Stat. § 960.001(1)(g) (2007).


                                                         218
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 245 of 348




have “notified [the victims] that that was an all-encompassing plea, that that state court sentence
would also mean that the federal government was not proceeding.”

        Sloman told OPR that he thought Acosta and Criminal Division Deputy Assistant Attorney
General Sigal Mandelker had agreed that the decision whether to notify the victims of the state
court proceedings should be “left to the state.” 323 Mandelker, however, had no memory of advising
Acosta to defer the decision to make notifications to the State Attorney, and she noted that the
“correspondence [OPR] provided to me from that time period” discussing such a decision
“demonstrates that all of the referenced language came from Mr. Acosta and/or his team, and that
I did not provide, suggest, or edit the language.” Sloman told OPR that he initially believed that
“the victims were going to be notified at some level, especially because they had restitution rights
under § 2255”; but, his expectations changed after “there was an agreement made that we were
going to allow the state, since it was going to be a state case, to decide how the victims were going
to be notified.”

        Assistant State Attorney Belohlavek told OPR that she did not at any time receive a victim
list from the USAO. She further said she did not receive any request from the USAO with regard
to contacting the victims.

       In response to Acosta’s December 19, 2007 letter, Lefkowitz asserted that the FBI should
not communicate with the victims, and that the state, not the USAO, should determine who can be
heard at the sentencing hearing:

                 [Y]our letter also suggests that our objection to your Office’s
                 proposed victims notification letter was that the women identified
                 as victims of federal crimes should not be notified of the state
                 proceedings. That is not true, as our previous letter clearly states.
                 Putting aside our threshold contention that many of those to whom
                 [CVRA] notification letters are intended are in fact not victims as
                 defined in the Attorney General’s 2000 Victim Witness
                 Guidelines—a status requiring physical, emotional or pecuniary
                 injury of the [victim]—it was and remains our position that these
                 women may be notified of such proceedings but since they are
                 neither witnesses nor victims to the state prosecution of this matter,
                 they should not be informed of fictitious “rights” or invited to make
                 sworn written or in-court testimonial statements against Mr. Epstein
                 at such proceedings, as Ms. Villafaña repeatedly maintained they
                 had the right to do. Additionally, it was and remains our position
                 that any notification should be by mail and that all proactive efforts
                 by the FBI to have communications with the witnesses after the
                 execution of the Agreement should finally come to an end. We
                 agree, however, with your December 19 modification of the
                 previously drafted federal notification letter and agree that the

323
         In his June 3, 2008 letter to Deputy Attorney General Mark Filip, Sloman wrote, “Acosta again consulted
with DAAG Mandelker who advised him to make the following proposal [to defer notification to the State Attorney’s
Office].” OPR found no other documentation relating to Mandelker’s purported involvement in the decision.


                                                      219
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 246 of 348




               decision as to who can be heard at a state sentencing is, amongst
               many other issues, properly within the aegis of state decision
               making. 324
        Following a conversation between Acosta and Lefkowitz, in which Acosta asked that the
defense clarify its positions on the USAO proposals regarding, among other things, notifications
to the victims, Lefkowitz responded with a December 26, 2007 letter to Acosta, objecting again to
notification of the victims. Lefkowitz argued that CVRA notification was not appropriate because
the Attorney General Guidelines defined “crime victim” as a person harmed as a result of an
offense charged in federal district court, and Epstein had not been charged in federal court.
Nevertheless, Lefkowitz added that, despite their objection to CVRA notification, “[W]e do not
object (as we made clear in our letter last week) that some form of notice be given to the alleged
victims.” Lefkowitz requested both that the defense be given an opportunity to review any notice
sent by the USAO, and that “any and all notices with respect to the alleged victims of state offenses
should be sent by the State Attorney rather than [the USAO],” and he agreed that the USAO
“should defer to the discretion of the State Attorney regarding all matters with regard to those
victims and the state proceedings.”

      Months later, in April 2008, Epstein’s attorneys complained in a letter to Mandelker that
Sloman and Villafaña committed professional misconduct by threatening to send a “highly
improper and unusual ‘victim notification letter’ to all” victims.

       F.      January – June 2008: While the Defense Presses Its Appeal to the Department
               in an Effort to Undo the NPA, the FBI and the USAO Continue Investigating
               Epstein

       As described in Chapter Two of this Report, from the time the NPA was signed through
the end of June 2008, the defense employed various measures to delay, or avoid entirely,
implementation of the NPA. Ultimately, defense counsel’s advocacy resulted in the USAO’s
decision to have the federal case reviewed afresh. A review of the evidence was undertaken first
by USAO Criminal Chief Robert Senior and then, briefly, by an experienced CEOS trial
attorney. A review of the case in light of the defense challenges was then conducted by CEOS
Chief Oosterbaan, in consultation with his staff and with Deputy Assistant Attorney General Sigal
Mandelker and Assistant Attorney General Alice Fisher, and then by the Office of the Deputy
Attorney General. Each review took weeks and delayed Epstein’s entry of his state guilty plea.

      As set forth below, during that time, Villafaña and the FBI continued investigating and
working toward potential federal charges.

               1.      Villafaña Prepares to Contact Victims in Anticipation That Epstein
                       Will Breach the NPA

        On January 3, 2008, the local newspaper reported that Epstein’s plea conference in state
court, at that point set for early January, had been rescheduled to March 2008, at which time he
would plead guilty to felony solicitation of prostitution, and that “in exchange” for the guilty plea,

324
       The 2000 Guidelines were superseded by the 2005 Guidelines.


                                                   220
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 247 of 348




“federal authorities are expected to drop their probe into whether Epstein broke any federal
laws.” 325

         Nevertheless, as Epstein’s team continued to argue to higher levels of the Department that
there was no appropriate federal interest in prosecuting Epstein and thus no basis for the NPA, and
with his attorneys asserting that “the facts had gotten better for Epstein,” Villafaña came to believe
that Epstein would likely breach the NPA. 326 In January 2008, Villafaña informed her supervisors
that the FBI “had very tight contact with the victims several months ago when we were prepared
to [file charges], but all the shenanigans over the past few months have resulted in no contact with
the vast majority of the victims.” Villafaña then proposed that the FBI “re-establish contact with
all the victims so that we know we can rely on them at trial.” 327 Villafaña told OPR that at this
point, “[w]hile the case was being investigat[ed] and prepared for indictment, I did not prepare or
send any victim notification letters—there simply was nothing to update. I did not receive any
victim calls during this time.”

                  2.        The FBI Uses VNS Form Letters to Re-Establish Contact with Victims

         On January 10, 2008, the FBI Victim Specialist mailed VNS generated victim notification
letters to 14 victims articulating the eight CVRA rights and inviting recipients to update their
contact information with the FBI in order to obtain current information about the matter. 328 The
case agent informed Villafaña in an email that the Victim Specialist sent a “standard form [FBI]
letter to all the remaining identified victims.” These 2008 letters were identical to the FBI form
letters the Victim Specialist had sent to victims between August 28, 2006, and October 12, 2007.
Like those previous letters, most of which were sent before the NPA was signed on September 24,
2007, the 2008 letters described the case as “currently under investigation” and noted that “[t]his
can be a lengthy process and we request your continued patience while we conduct a thorough
investigation.” The letters also stated:


325
         Michele Dargan, “Jeffrey Epstein Plea Hearing Moved to March,” Palm Beach Daily News “The Shiny
Sheet,” Jan. 3, 2008.
326
          Epstein’s attorneys used discovery proceedings in the state case to depose federal victims, and as they learned
unflattering details or potential impeachment information concerning likely federal victims, they argued for the
exclusion of those victims from the federal case. For example, defense attorneys questioned one victim as to whether
the federal prosecutors or FBI agents told her that she was entitled to receive money from Epstein. See Exhibit 9 to
Villafaña June 2, 2017 Declaration: Deposition of [REDACTED], State v. Epstein, Case No. 2006-CF-9454, at 44,
50, 51 (Feb. 20, 2008). One victim’s attorney told OPR that the defense attorneys tried to “smear” victims by asking
highly personal sexual questions about “terminations of pregnancies . . . sexual encounters . . . masturbation.”
Epstein’s attorney used similar tactics in questioning victims who filed civil cases against their client. For example,
the Miami Herald reported that, “One girl was asked about her abortions, and her parents, who were Catholic and
knew nothing about the abortions, were also deposed and questioned.” See Julie Brown, “Perversion of Justice: Cops
Worked to Put a Serial Sex Abuser in Prison. Prosecutors Worked to Cut Him a Break,” Miami Herald, Nov. 28,
2018.
327
         Villafaña also told her supervisors that she wanted the FBI to interview two specific victims.
328
         The Victim Specialist later generated an additional letter dated May 30, 2008. After Epstein’s June 30, 2008
state court pleas, she sent out substantially similar notification letters to two victims who resided outside of the United
States.


                                                           221
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 248 of 348




               We will make our best efforts to ensure you are accorded the rights
               described. Most of these rights pertain to events occurring after the
               arrest or indictment of an individual for the crime, and it will become
               the responsibility of the prosecuting United States Attorney’s Office
               to ensure you are accorded those rights. You may also seek the
               advice of a private attorney with respect to these rights.

The FBI case agent informed Villafaña that the Victim Specialist sent the letters and would follow
up with a phone call “to offer assistance and ensure that [the victims] have received their letter.”
A sample letter is shown on the following pages.

         Villafaña told OPR that she did not recall discussing the content of the letters at the time
they were sent to the victims, or reviewing the letters until they were collected for the CVRA
litigation, sometime after July 2008. Rather, according to Villafaña, “The decision to issue the
letter and the wording of those letters were exclusively FBI decisions.” Nevertheless, Villafaña
asserted to OPR that from her perspective, the language regarding the ongoing investigation “was
absolutely true and, despite being fully advised of our ongoing investigative activities, no one in
my supervisory chain ever told me that the case was not under investigation.” Villafaña identified
various investigative activities in which she engaged from “September 2007 until the end of June
2008,” such as collecting and reviewing evidence; interviewing new victims; re-interviewing
victims; identifying new charges; developing new charging strategies; drafting supplemental
prosecution memoranda; revising the charging package; and preparing to file charges. Similarly,
the FBI case agent told OPR that at the time the letters were sent the “case was never closed and
the investigation was continuing.” The co-case agent stated that the “the case was open . . . it’s
never been shut down.”

       Victim Courtney Wild received one of the January 10, 2008 FBI letters; much later, in the
course of the CVRA litigation, she stated that her “understanding of this letter was that [her] case
was still being investigated and the FBI and prosecutors were moving forward on the Federal
prosecution of Epstein for his crimes against [her].” 329




329
       CVRA petitioner Jane Doe #2 also received a January 10, 2008 FBI letter that was sent to her counsel.


                                                     222
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 249 of 348




                                223
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 250 of 348




                 3.        Villafaña, the FBI, and the CEOS Trial Attorney Interview Victims

       As Villafaña resumed organizing the case for charging and trial, the FBI case agent
provided Villafaña with a list of “the 19 identified victims we are planning on using in” the federal
charges and noted that she and her co-case agent wanted to further evaluate some additional
victims. 330 In Washington, D.C., CEOS assigned a Trial Attorney to the Epstein case in order to
bring expertise and “a national perspective” to the matter. 331

        On January 18, 2008, one attorney representing a victim and her family contacted Sloman
by telephone, stating that he planned to file civil litigation against Epstein on behalf of his clients,
who were “frustrated with the lack of progress in the state’s investigation” of Epstein. The attorney
asked Sloman if the USAO “could file criminal charges even though the state was looking into the
matter,” but Sloman declined to answer his questions concerning the investigation. 332 In late
January, the New York Post reported that the attorney’s clients had filed a $50 million civil suit
against Epstein in Florida and that “Epstein is expected to be sentenced to 18 months in prison
when he pleads guilty in March to a single charge of soliciting an underage prostitute.” 333

        Between January 31, 2008, and May 28, 2008, the FBI, with the prosecutors, interviewed
additional victims and reinterviewed several who had been interviewed before the NPA was
signed. 334 In late January 2008, as Villafaña and the CEOS Trial Attorney prepared to participate


330
         The case agent also informed Villafaña that she expected to ask for legal process soon in order to obtain
additional information.
331
          The CEOS Trial Attorney told OPR that she was under the impression that she was brought in to help prepare
for the trial because the “plea had fallen through.”
332
         Because Sloman and the attorney were former legal practice partners, Sloman reported the interaction to
Acosta, and the USAO reported the incident to OPR shortly thereafter. OPR reviewed the matter as an inquiry and
determined that no further action was warranted.
333
         Dareh Gregorian, “Tycoon Perved Me at 14 - $50M Suit Hits NY Creep Over Mansion Massage,” New York
Post, Jan. 25, 2008.
334
          An FBI interview report from May 28, 2008, indicates that one victim “believes Epstein should be prosecuted
for his actions.”


                                                        224
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 251 of 348




in FBI interviews of Wild and other victims, Villafaña informed CEOS Chief Oosterbaan that she
anticipated the victims “would be concerned about the status of the case.”

         On January 31, 2008, Villafaña, the CEOS Trial Attorney, and the FBI interviewed three
victims, including Wild. Prior to the interview, Wild had received the FBI’s January 10, 2008
letter stating that the case was under investigation; however, according to the case agent, Wild and
two other victims had also been told by the FBI, in October 2007, that the case had been resolved.
In her 2015 CVRA-case declaration, Wild stated that after receiving the FBI letter, she believed
that the FBI was investigating the case, and she was not told “about any [NPA] or any potential
resolution of the federal criminal investigation I was cooperating in. If I had been told of a[n
NPA], I would have objected.” In Villafaña’s 2017 declaration in the CVRA litigation, Villafaña
recalled interviewing Wild on January 31, 2008, along with FBI agents, and Villafaña told OPR
she “asked [Wild] whether she would be willing to testify if there were a trial.” Villafaña recalled
Wild responding that she “hoped Epstein would be prosecuted and that she was willing to
testify.” 335

       After the first three victim interviews on January 31, 2008, Villafaña described for Acosta
and Sloman the toll that the case had taken on two of the victims:

                  One girl broke down sobbing so that we had to stop the interview
                  twice . . . she said she was having nightmares about Epstein coming
                  after her and she started to break down again so we stopped the
                  interview.

                  The second girl . . . was very upset about the 18 month deal she had
                  read about in the paper. 336 She said that 18 months was nothing and
                  that she had heard that the girls could get restitution, but she would
                  rather not get any money and have Epstein spend a significant time
                  in jail. 337

Villafaña closed the email by requesting that Acosta and Sloman attend the interviews with victims
scheduled for the following day, but neither did so. 338 Acosta told OPR that it “wasn’t typical”

335
         The FBI report of the interview did not reflect a discussion of Wild’s intentions.
336
         See Dareh Gregorian, “Tycoon Perved Me at 14 - $50M Suit Hits NY Creep Over Mansion Massage,” New
York Post, Jan. 25, 2008. As early as October 2007, the New York Post reported the 18-month sentence and that
“[t]he feds have agreed to drop their probe into possible federal criminal violations in exchange for the guilty plea to
the new state charge.” Dan Mangan, “‘Unhappy Ending’ Plea Deal – Moneyman to Get Jail For Teen Sex Massages,”
New York Post, Oct. 1, 2007.
337
          Acosta told OPR, “The United States can’t unwind an agreement just because . . . some victim indicates that
they don’t like it.” The CEOS Trial Attorney recalled that she did not “think that any one of these girls was interested
in this prosecution going forward.” Furthermore, as previously noted, the CEOS Trial Attorney also opined that “[the
victims] would have testified for us,” but the case would have required an extensive amount of “victim management,”
as the girls were “deeply embarrassed” that they “were going to be called prostitutes.”
338
         OPR located FBI interview reports relating to only one February 1, 2008 victim interview. Although
Villafaña’s emails indicated that two additional victims were scheduled to be interviewed on February 1, 2008, OPR
located no corresponding reports for those victim interviews. OPR located undated handwritten notes Villafaña

                                                         225
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 252 of 348




for him, as U.S. Attorney, to attend witness interviews, and further, that no one in the USAO “was
questioning the pain or the suffering of the victims.” Sloman told OPR that he himself had “never
gone to a line assistant’s victim or witness interview.”

        Villafaña told OPR that although three of the victims interviewed during this period had
been notified by the FBI in October 2007 about the resolution of the case, at this point Villafaña
did not specifically tell these victims that “there was a signed non-prosecution agreement that had
these terms.” Villafaña also told OPR she “didn’t talk about money” because she “didn’t want
there to be an allegation at the time of trial . . . that [the victims] were either exaggerating their
claims or completely making up claims in order to increase their damages amount.” Rather,
according to Villafaña, she told the three victims that “an agreement had been reached where
[Epstein] was going to be entering a guilty plea, but it doesn’t look like he intends to actually
perform . . . [and] now it looks like this may have to be charged, and may have to go to trial.”
Villafaña recalled “explaining that the case was under investigation,” that they “were preparing
the case [for charging] again,” and “expressing our hope that charges would be brought.” Villafaña
recalled one victim “making a comment about the amount of [imprisonment] time and why was it
so low” and Villafaña answered, “that was the agreement that the office had reached.” 339

       With regard to the victims Villafaña interviewed who had not received an FBI notification
in October 2007, Villafaña recalled discussing one victim’s safety concerns but not whether they
discussed the agreement. She recalled telling another victim that “we thought we had reached an
agreement with [Epstein] and then we didn’t,” but was “pretty sure” that she did not mention the
agreement during the interview of the third victim. Villafaña explained that she likely did not
discuss the agreement because

                  at that point I just felt . . . like it was nonexistent. [The victim] didn’t
                  know anything about it beforehand, and as far as I could tell it was
                  going to end up being thrown on the heap, and I didn’t want to -- . . .
                  if you tell people, oh, look, he’s already admitted that he’s guilty,
                  like, I didn’t want that to color her statement. I just wanted to get
                  the facts of the case.

        The CEOS Trial Attorney told OPR that she did not recall any discussion with the victims
about the NPA or the status of the case. 340 She did remember explaining the significance of the
prosecution to one victim who “did not think anything should happen” to Epstein. The FBI case
agent told OPR that she did not recall the January 2008 interviews. OPR located notes to an FBI
interview report, stating that one of the victims wanted another victim to be prosecuted. Attorneys
for the two victims other than Wild who had been notified by the FBI in October 2007 about the
resolution of the case informed OPR that as of 2020, their clients had no memory of meeting with

authored concerning one of the two victims that contained no information regarding a discussion of the status of the
investigation or the resolution of the case. Through her attorney, this victim told OPR that she did not recall having
contact with anyone from the USAO.
339
         Villafaña did not recall any other specific questions from victims.
340
         The CEOS Trial Attorney noted that CEOS did not issue victim notifications; rather, such notifications were
generally handled by a Victim Witness Specialist in the assigned USAO.


                                                         226
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 253 of 348




prosecutors and did not recall learning any information about Epstein’s guilty plea until after the
plea was entered on June 30, 2008.

       When asked whether she was concerned that her statements would mislead the victims,
Villafaña told OPR:

                  From my perspective we were conducting an investigation and it
                  was an investigation that was going to lead to an indictment. You
                  know, I was interviewing witnesses, I was issuing [legal
                  process], . . . I was doing all [these] things to take the case to a
                  federal indictment and a federal trial. So to me, saying to a victim
                  the case is now back under investigation is perfectly accurate.

                  4.       February – March 2008: Villafaña Takes Additional Steps to Prepare
                           for a Prosecution of Epstein, Arranges for Pro Bono Attorneys for
                           Victims, and Cautions about Continued Delay

       In February 2008, Villafaña revised the prosecution memorandum and supplemental
memorandum. Villafaña removed some victims known to Epstein from the PBPD investigation
and others subject to impeachment as a result of civil suits they filed against Epstein, added newly
discovered victims, and made changes to the proposed indictment.

        While the defense appealed the USAO’s decision to prosecute Epstein to higher levels of
the Department, Villafaña sought help for victims whom defense investigators were harassing and
attempting to subpoena for depositions as part of Epstein’s defense in civil lawsuits that some
victims had brought against him, as well as purportedly in connection with the state criminal case.
Villafaña reported to her supervisors that she was able to locate a “national crime victims service
organization” to provide attorneys for the victims, and the FBI Victim Specialist contacted some
victims to provide contact information for the attorneys. 341 During this period, an attorney from
the victims service organization was able to help Courtney Wild avoid an improper deposition.
Villafaña also informed her supervisors, including Sloman, that “one of the victims tried to commit
suicide last week,” and advocated aggressively for a resolution to the case: “I just can’t stress
enough how important it is for these girls to have a resolution in this case. The ‘please be patient’
answer is really wearing thin, especially when Epstein’s group is still on the attack while we are
forced to wait on the sidelines.”

                  5.       March – April 2008: Villafaña Continues to Prepare for Filing Federal
                           Charges

       Villafaña continued to revise the proposed charges by adding new victims and by removing
others who had filed civil suits against Epstein. Villafaña also prepared search warrants for digital



341
         The FBI Victim Specialist informed Villafaña that she spoke “directly to seven victims” and informed them
of the pro bono counsel and explained that her “job as a Victim Specialist is to ensure that victims[] of a Federal crime
are afforded their rights, information and resource referral.”


                                                          227
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 254 of 348




camera memory cards seized by the PBPD in order to have them forensically examined for deleted
images that could contain child pornography. 342

       By early April 2008, as the defense pursued its appeal to the Department’s Criminal
Division, Acosta predicted in an email to Villafaña and Sloman that federal charges against Epstein
were “more and more likely.” Villafaña asked Oosterbaan for help to “move this [Criminal
Division review] process along,” noting that the defense continued to undermine the government’s
case by deposing the victims “under the guise of ‘trial prep’ for the state case” and that the “agents
and the victims” were “losing their patience.”

        On April 24, 2008, Villafaña emailed Sloman and USAO Criminal Division Chief Senior
asking whether she had the “green light” to file charges and raising the same concerns she had
expressed to Oosterbaan. Villafaña further cautioned that, although she was planning to file
charges on May 6, if that was not going to happen, “then we all need to meet with the victims, the
agents, and the police officers to decide how the case will be resolved and to provide them with an
explanation for the delay.” Because the Department’s Criminal Division did not conclude its
review of Epstein’s appeal by May 6, however, Villafaña did not file charges that day.

VIII. USAO SUPERVISORS CONSIDER CVRA OBLIGATIONS IN AN UNRELATED
      MATTER AND IN LIGHT OF A NEW FIFTH CIRCUIT OPINION

       During the period after the NPA was signed, and before Epstein complied with the NPA
by entering his state guilty pleas, the USAO supervisors were explicitly made aware of a conflict
between the Department’s position that CVRA’s victims’ rights attached upon the filing of a
criminal charge and a new federal appellate ruling to the contrary. The contemporaneous
communications confirm that in 2008, Acosta and Sloman were aware of the Department’s policy
regarding the issue.

        Unrelated to the Epstein investigation, on April 18, 2008, Acosta and Sloman received a
citizen complaint from an attorney who requested to meet with them regarding his belief that the
Florida Bar had violated his First Amendment rights. The attorney asserted that the CVRA
guaranteed him “an absolute right to meet” with USAO officials because he believed that he was
the victim of a federal crime. Acosta forwarded the message to the USAO Appellate Division
Chief, who informed Acosta and Sloman that, according to the 2005 Guidelines, “our obligations
under [the CVRA] are not triggered until charges are filed.” On April 24, 2008, the Appellate
Division Chief emailed Acosta and Sloman, stating that she had “confirmed with DOJ that [her]
reading of [the 2005 Guidelines] is correct and that our obligations under [the CVRA] are not
triggered until a case is filed.” 343

       On May 7, 2008, the Appellate Division Chief sent Acosta and Sloman a copy of a U.S.
Court of Appeals for the Fifth Circuit opinion issued that day, In re Dean, holding that a victim’s

342
         The forensic examination did not locate useful evidence on the memory cards.
343
          The Appellate Division Chief advised Acosta that Acosta could inform the complainant that, prior to the
initiation of charges, the investigating agency was responsible for carrying out the Department’s statutory obligations
to the victim.


                                                         228
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 255 of 348




CVRA rights attach prior to the filing of criminal charges. 344 The Appellate Division Chief noted
that, although the holding conflicted with the 2005 Guidelines, the “court’s opinion makes sense.”

        Dean involved a federal prosecution arising from a 2005 explosion at an oil refinery
operated by BP Products North America, Inc. (BP) that killed 15 people and injured more than
170. Before bringing criminal charges, the government negotiated a guilty plea with BP without
notifying the victims. The government filed a sealed motion, alerting the district court to the
potential plea and claiming that consultation with all the victims was impractical and that such
notification could result in media coverage that would undermine the plea negotiations. The court
then entered an order prohibiting the government from notifying the victims of the pending plea
agreement until after it had been signed by the parties. Thereafter, the government filed a criminal
information, the government and BP signed the plea agreement, and the government mailed notices
of the plea hearing to the victims informing them of their right to be heard. One month later, 12
victims asked the court to reject the plea because it was entered into in violation of their rights
under the CVRA. The district court denied their motion, but concluded that the CVRA rights to
confer with the prosecutor in the case and to be treated with fairness and respect for the victim’s
dignity and privacy vested prior to the initiation of charges. 345 The district court noted that the
legislative history reflected a view that “the right to confer was intended to be broad,” as well as
being a “mechanism[]” to ensure that victims were treated with fairness.

        In denying the victims relief, the Fifth Circuit nevertheless concluded that the district court
“failed to accord the victims the rights conferred by the CVRA.” 346 In particular, the Fifth Circuit
cited the district court’s acknowledgement that “[t]here are clearly rights under the CVRA that
apply before any prosecution is underway.” The Fifth Circuit also noted that such consultation
was not “an infringement” on the government’s independent prosecutorial discretion, but “it is
only a requirement that the government confer in some reasonable way with the victims before
ultimately exercising its broad discretion.” In the wake of the Dean opinion, two Department
components wrote separate memoranda to the Solicitor General with opposing views concerning
whether the CVRA right to confer with the prosecution vests prior to the initiation of a prosecution.

IX.     JUNE 2008: VILLAFAÑA’S PRE-PLEA CONTACTS WITH THE ATTORNEY
        REPRESENTING THE VICTIMS WHO LATER BECAME THE CVRA
        PETITIONERS

       According to an affidavit filed in the CVRA litigation by her attorney, Bradley Edwards,
Wild retained Edwards in June 2008 to represent her “because she was unable to get anyone from
the [USAO] to tell her what was actually going on with the federal criminal case against Jeffrey
Epstein.” 347 Villafaña told OPR that Wild did not contact her directly and she was not aware of

344
         In re Dean, 527 F.3d 391 (5th Cir. 2008). The Fifth Circuit opinion was not binding precedent in Florida,
which is within the Eleventh Circuit.
345
         United States v. BP Products North America, Inc., 2008 WL 501321, at *11 (S.D. Tex. 2008). Victims who
wished to be heard were permitted to speak at the plea hearing.
346
        Dean, 527 F.3d at 394.
347
        Before Epstein’s state court plea hearing, Edwards also began representing the victim who became Jane Doe
#2. Although OPR focuses on Villafaña’s communications with Edwards in this section, OPR notes that Villafaña

                                                      229
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 256 of 348




an instance in which Wild “asked a question that wasn’t answered” of anyone in the USAO or of
the FBI case agents.

        Edwards contacted Villafaña by email and telephone in mid-June, stating that he had
“information and concerns that [he] would like to share.” 348 In his affidavit, Edwards alleged that
during multiple telephone calls with Villafaña, he “asked very specific questions about what stage
the investigation was in,” and Villafaña replied that she could not answer his questions because
the matter “was an on-going active investigation[.]” Edwards attested that Villafaña gave him “the
impression that the Federal investigation was on-going, very expansive, and continuously growing,
both in the number of identified victims and [in] complexity.” 349

        In her written response to OPR, Villafaña said that she “listened more than [she] spoke”
during these interactions with Edwards, which occurred before the state court plea:

                  Given the uncertainty of the situation – Epstein was still challenging
                  our ability to prosecute him federally, pressing allegations of
                  prosecutorial misconduct, and trying to negotiate better plea terms,
                  while the agents, my supervisors, and I were all moving towards
                  [filing charges] – I did not feel comfortable sharing any information
                  about the case. It is also my practice not to talk about status before
                  the grand jury.

        In her 2017 declaration in the CVRA litigation, Villafaña explained that during these
exchanges, Villafaña did not inform Edwards of the existence of the NPA because she “did not
know whether the NPA remained viable at that time or whether Epstein would enter the state court
guilty plea that would trigger the NPA.” 350 Villafaña told OPR that she did not inform Edwards


also had interactions with other victims’ attorneys. For example, another attorney informed OPR that he spoke to
Villafaña two to five times concerning the status of the case and each time was told that the case was under
investigation. The attorney noted, “[W]e never got any information out of [Villafaña]. We were never told what was
happening or going on to any extent.” Villafaña’s counsel told OPR that Villafaña did not have any interaction with
the attorney or his law partner until after Epstein’s state court plea hearing, and that in her written communications
responding to the attorney’s inquiries, she provided information to the extent possible. OPR found no documentation
that Villafaña’s communications with the attorney occurred prior to June 30, 2008. Villafaña also had more ministerial
interactions with other victims’ counsel, as well as contact regarding their ongoing civil cases. For example, in March
2008, one victim’s attorney informed Villafaña of his representation of a victim and requested that the government
provide him with photographs of the victim and information concerning the tail registration number for Epstein’s
airplane. Villafaña responded that she was unable to provide the requested information, but asked that counsel keep
her updated about the civil litigation.
348
       Villafaña later stated in a July 9, 2008 declaration filed in the CVRA litigation that, although she invited
Edwards to provide her with information, “[n]othing was provided.”
349
         Edwards did not respond to OPR’s request to interview him, although he did assist OPR in locating other
attorneys who were representing victims.
350
         The government later admitted in court filings that Villafaña and Edwards “discussed the possibility of
federal charges being filed in the future and that the NPA was not mentioned.” Doe, Government’s Response to
Petitioners’ Statement of Undisputed Material Facts in Support of Petitioners’ Motion for Partial Summary Judgment
at 14, ¶101 (June 6, 2017).


                                                         230
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 257 of 348




about the NPA because it was “confidential” and because the case was under “investigation and
leading towards” the filing of charges. Villafaña recalled mentioning the conversation to her
supervisors and the case agents because she “thought he was somebody who could be of assistance
to us and . . . could perhaps persuade Alex Acosta that this was a case that was meritorious and
should be prosecuted.”

       Nevertheless, when OPR asked Villafaña why she did not inform Edwards of the same
information that the FBI and she had provided to Wild in October 2007 and January 2008,
Villafaña explained that she felt “prohibited”:

                 At the time that I spoke with him, you know, there had been all of
                 this . . . letter writing or all of these concerns and instructions that I
                 had been given by Alex [Acosta] and Jeff [Sloman] not to disclose
                 things further and not to have any involvement in victim
                 notification, and so I felt like that prohibited me from telling him
                 about the existence of the NPA.

X.      JUNE 2008: EFFORTS TO NOTIFY VICTIMS ABOUT THE JUNE 30, 2008 PLEA
        HEARING

       The Epstein team’s appeals through the Department ended on June 23, 2008, when the
Deputy Attorney General determined that “federal prosecution of this case is appropriate” and
Epstein’s allegations of prosecutorial misconduct did not rise to a level that would undermine such
a decision. Immediately thereafter, at Sloman’s instruction, Villafaña notified Lefkowitz that
Epstein had until “the close of business on Monday, June 30, 2008, to comply with the terms and
conditions of the agreement . . . including entry of a guilty plea, sentencing, and surrendering to
begin his sentence of imprisonment.” That same day, Villafaña made plans to file charges on July
1, 2008, if Epstein did not enter his guilty plea by the June 30 deadline.

        On Friday, June 27, 2008, Villafaña received a copy of the proposed state plea agreement
and learned that the plea hearing was scheduled for 8:30 a.m. on Monday, June 30, 2008. Also on
that Friday, Villafaña submitted to Sloman and Criminal Division Chief Senior a “final final”
proposed federal indictment of Epstein.

         Villafaña and the FBI finalized the government’s victim list that they intended to disclose,
for § 2255 purposes, to Epstein after the plea and, at Sloman’s instruction, Villafaña contacted
PBPD Chief Reiter to ask him to notify the victims of the plea hearing. Villafaña told OPR that
Sloman said, “Chief Reiter could contact the victims from the state case, and tell them about the
plea.” 351 On Saturday, June 28, 2008, Villafaña emailed Sloman to inform him that PBPD Chief
Reiter “is going to notify victims about the plea.” 352


351
         Villafaña further stated, “I requested permission to make oral notifications to the victims regarding the
upcoming change of plea, but the Office decided that victim notification could only come from a state investigator,
and Jeff Sloman asked PBPD Chief Reiter to assist.”
352
        Sloman replied, “Good.”


                                                       231
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 258 of 348




         Villafaña told OPR that before the state plea hearing, she sent Reiter a list of the victims,
including their telephone numbers, to notify and asked him to destroy the list. Villafaña recalled
that Reiter told her that he would “try to contact as many as he could” and that he would destroy
the list afterwards. Villafaña did not recall being “asked [to] provide a list of all our victims to the
State Attorney’s Office.”

         In his 2009 deposition, Reiter stated that Villafaña sent him a letter “around the time of
sentencing,” listing the victims in the federal investigation, and that she asked him to destroy the
letter after he reviewed it. Reiter recalled that he requested the list because he was aware that the
state grand jury’s indictment of Epstein did not include all of the victims that the PBPD had
identified and he “wanted to make sure that some prosecution body had considered all of our
victims.” 353

        In her 2017 declaration in the CVRA litigation, Villafaña stated that she and the PBPD
“attempted to notify the victims about [the June 30] hearing in the short time available to us.”354
In her 2008 declaration, however, Villafaña conceded that “all known victims were not notified.”

        Villafaña told OPR that Edwards was the only victim attorney she was authorized to
contact—she thought probably by Sloman—about the June 30, 2008 plea hearing because Edwards
“had expressed a specific interest in the outcome.” Villafaña recalled, “I was told that I could
inform [Edwards] of [the plea date], but I still couldn’t inform him of the NPA.” 355 In her 2008
declaration in the CVRA litigation, Villafaña stated that she called Edwards and informed him of
the plea hearing scheduled for Monday; Villafaña stated that Edwards told her that he could not
attend the hearing but “someone” would be present. In a later filing in the CVRA litigation,
however, Edwards asserted that Villafaña told him only that “Epstein was pleading guilty to state
solicitation of prostitution charges involving other victims—not Mr. Edwards’ clients nor any of
the federally-identified victims.” 356 Edwards further claimed that because Villafaña failed to
inform him that the “guilty pleas in state court would bring an end to the possibility of federal
prosecution pursuant to the plea agreement,” his clients did not attend the hearing. Villafaña told
OPR that her expectation was that the state plea proceeding would allow Edwards and his clients
the ability to comment on the resolution:



353
          Reiter showed the letter to the lead Detective so he could “confirm that all of the victims that we had for the
state case were included on that.” The Detective “looked at it and he said they’re all there and then [Reiter] destroyed
it.” The Detective recalled viewing the list in Reiter’s office, but he could not recall when Reiter showed it to him.
354
         The FBI co-case agent told OPR that “I don’t think the [FBI] reached out to anyone.”
355
       Villafaña told OPR that she thought that it was Sloman who gave her the instructions, but she could not
“remember the specifics of the conversation.”
356
          Villafaña stated that she “never told Attorney Edwards that the state charges involved ‘other victims,’ and
neither the state court charging instrument nor the factual proffer limited the procurement of prostitution charge to a
specific victim.” Although Edwards criticized Villafaña’s conduct in his CVRA filings, in his recently published
book, Edwards described Villafaña as a “kindhearted prosecutor who tried to do right,” noting that she “believ[ed] in
the victims and tr[ied] . . . to bring down Jeffrey Epstein.” Bradley J. Edwards with Brittany Henderson, Relentless
Pursuit at 380 (Gallery Books 2020).


                                                          232
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 259 of 348




                  [M]y expectation of what was going [to] happen at the plea was that
                  it would be like a federal plea where there would be a factual proffer
                  that was read, and where the judge would ask if there were any
                  victims present who wanted to be heard, and that at that point if Brad
                  Edwards wanted to address the court or if his clients wanted to
                  address the court, they would be given the opportunity to do so. 357

        Sloman told OPR that he did not recall directing Villafaña to contact anyone about the plea
hearing or directing her specifically not to contact anyone about it. Acosta told OPR that he
believed the state would notify the victims of the “all-encompassing plea” resolving the federal
case “and [the victims would] have an opportunity to speak up at the state court hearing.”
Nevertheless, Acosta did not know whether the state victims overlapped with the federal victims
or whether the USAO “shared that list with them.” Villafaña told OPR that she and Acosta
“understood that the state would notify the state victims” but that neither of them were aware “that
the state only believed they had one victim.” 358 Villafaña told OPR that there was “very little”
communication between the USAO and the State Attorney’s Office, and although she discussed a
factual proffer with the State Attorney’s Office and “the fact that . . . the federal investigation had
identified additional victims,” she did not recall discussing “who the specific people were that they
considered victims in the state case.” 359

         Sloman told OPR that the “public perception . . . that we tried to hide the fact of the results
of this resolution from the victims” was incorrect. He explained:

                  [E]ven though we didn’t have a legal obligation, I felt that the
                  victims were going to be notified and the state was going . . . to
                  fulfill that obligation, and even as another failsafe, [the victims]
                  would be notified of . . . the restitution mechanism that we had set
                  up on their behalf.

Sloman acknowledged that although neither the NPA terms nor the CVRA prevented the USAO
from exercising its discretion to notify the victims,

                  it was [of] concern that this was going to break down and . . . result
                  in us prosecuting Epstein and that the victims were going to be
                  witnesses and if we provided a victim notification indicating, hey,
                  you’re going to get $150,000, that’s . . . going to be instant
                  impeachment for the defense.

357
         Assistant State Attorney Belohlavek told OPR that federal victims who were not a party to the state case
would not have been able to simply appear at the state plea hearing and participate in the proceedings. Rather, such a
presentation would have required coordination between the USAO and the State Attorney’s Office and additional
investigation of the victims’ allegations and proposed statements by the State Attorney’s Office.
358
          In an email a few months earlier, Villafaña noted, “The state indictment [for solicitation of adult prostitution]
is related to two girls. One of those girls is included in the federal [charging document], the other is not.”
359
          As noted in Chapter Two, Villafaña had stopped communicating with the State Attorney’s Office regarding
the state case following Epstein’s defense team’s objections to those communications.


                                                           233
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 260 of 348




When asked why the USAO did not simply notify the victims of the change of plea hearing,
Sloman responded that he “was more focused on the restitution provisions. I didn’t get the sense
that the victims were overly interested in showing up . . . at the change of plea.”

       Also, in late June, Villafaña drafted a victim notification letter concerning the June 30,
2008 plea. 360 Villafaña told OPR that, because “Mr. Acosta had agreed in December 2007 that we
would not provide written notice of the state change of plea, the written victim notifications were
prepared to be sent immediately following Epstein’s guilty plea.” 361 As she did with prior draft
victim notification letters, Villafaña provided the draft to the defense for comments. 362

         Although Epstein’s plea hearing was set for June 30, 2008, Villafaña took steps to facilitate
the filing of federal charges on July 1, 2008, in the event he did not plead guilty in state court.

        OPR reviewed voluminous Epstein-related files that the State Attorney’s Office made
available online, but OPR was unable to locate any document establishing that before the hearing
date, the state informed victims of the June 30, 2008 plea. On March 12, 2008, the State Attorney’s
Office issued trial subpoenas to three victims and one non-law enforcement witness commanding
the individuals to “remain on call” during the week of July 8, 2008. However, the Palm Beach
County Sheriff was unable to serve one of the victims in person because the victim was “away [at]
college.”

XI.      JUNE 30, 2008: EPSTEIN ENTERS HIS GUILTY PLEAS IN A STATE COURT
         HEARING AT WHICH NO VICTIMS ARE PRESENT

        On June 30, 2008, Epstein appeared in state court in West Palm Beach, with his attorney
Jack Goldberger, and pled guilty to an information charging him with procuring a person under 18
for prostitution, as well as the indictment charging him with felony solicitation of prostitution. The
information charged that between August 1, 2004, and October 9, 2005, Epstein “did knowingly
and unlawfully procure for prostitution, or caused to be prostituted, [REDACTED], a person under
the age of 18 years,” and referred to no other victims. The indictment did not identify any victims
and alleged only that Epstein engaged in the charged conduct on three occasions between August
1, 2004, and October 31, 2005. Although the charges did not indicate whether they applied to
multiple victims, during the hearing, Assistant State Attorney Belohlavek informed the court that
“[t]here’s several” victims. When the court asked Belohlavek whether “the victims in both these
cases [were] in agreement with the terms of this plea,” Belohlavek replied, “I have spoken to
several myself and I have spoken to counsel, through counsel as to the other victim, and I believe,


360
          Sloman forwarded the draft victim notification letter to Acosta, who responded with his own edited version
stating, “What do you think?” Villafaña edited it further.
361
         The letter began with the statement, “On June 30, 2008, Jeffrey Epstein . . . entered a plea of guilty.” A week
after Epstein’s state guilty plea, Villafaña notified Acosta, Sloman, and other supervisors that “[Epstein’s local
attorney] Jack Goldberger is back in town today, so I am hoping that we will finalize the last piece of our agreement—
the victim list and Notification. If I face resistance on that front, I will let you know.”
362
          According to Villafaña, either Acosta or Sloman made the decision to send the notifications following the
state plea and to share the draft notification letters with the defense.


                                                         234
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 261 of 348




yes.” The court also asked Belohlavek if the juvenile victim’s parents or guardian agreed with the
plea, and Belohlavek stated that because the victim was no longer under age 18, Belohlavek spoke
with the victim’s counsel, who agreed with the plea agreement. 363

       Both Villafaña and the FBI case agent were present in the courtroom gallery to observe the
plea hearing. Later that day, Villafaña met with Goldberger and gave him the list of 31 individuals
the government was prepared to name as victims and to whom the § 2255 provision applied.

        In her 2015 CVRA case declaration, Wild stated that, “I did not have any reason to attend
that hearing because no one had told me that this guilty plea was related to the FBI’s investigation
of Epstein’s abuse of me.” She stated that she “would have attended and tried to object to the
judge and prevent that plea from going forward,” had she known that the state plea “had some
connection to blocking the prosecution of my case.” Similarly, CVRA petitioner Jane Doe #2
stated that “no one notified me that [Epstein’s] plea had anything to do with my case against him.”

        An attorney who represented several victims, including one whom the state had
subpoenaed for the potential July trial, told OPR that he was present in court on June 30, 2008, in
order to serve a complaint upon Epstein in connection with a civil lawsuit brought on behalf of
one of his clients. The USAO had not informed him about the plea hearing. 364 Moreover, the
attorney informed OPR that, although one of the victims he represented had been interviewed in
the PBPD’s investigation and had been deposed by Epstein’s attorneys in the state case (with the
Assistant State Attorney present), he did not recall receiving any notice of the June 30, 2008 plea
hearing from the State Attorney’s Office. 365 Similarly, another of the victims the state had
subpoenaed for the July trial told OPR through her attorney that she received subpoenas from the
State Attorney’s Office, but she was not invited to or aware of the state plea hearing. Belohlavek
told OPR that she did not recall whether she contacted any of the girls to appear at the hearing,
and she noted that given the charge of solicitation of prostitution, they may not have “technically”
been victims for purposes of notice under Florida law but, rather, witnesses. On July 24, 2008, the
State Attorney’s Office sent letters to two victims stating that the case was closed on June 26, 2008
(although the plea occurred on June 30, 2008) and listed Epstein’s sentence. The letters did not
mention the NPA or the federal investigation.

XII.    SIGNIFICANT POST-PLEA DEVELOPMENTS

        A.       Immediately After Epstein’s State Guilty Pleas, Villafaña Notifies Some
                 Victims’ Attorneys

        Villafaña’s contemporaneous notes show that immediately after Epstein’s June 30, 2008
guilty pleas, she attempted to reach by telephone five attorneys representing various victims in

363
         Villafaña, who was present in court and heard Belohlavek’s representation, told OPR that she had no
information as to whether or how the state had notified the victims about the plea hearing.
364
        Villafaña did contact this attorney’s law partner later that day.
365
          When interviewed by OPR in 2020, this same attorney indicated that he was surprised to learn that despite
the fact that his client was a minor at the time Epstein victimized her, she was not the minor victim that the state
identified in the information charging Epstein.


                                                         235
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 262 of 348




civil suits that were pending against Epstein. 366 Villafaña also emailed one of the pro bono
attorneys she had engaged to help victims avoid defense harassment, informing him that the federal
investigation had been resolved through a state plea and that Epstein had an “agreement” with the
USAO “requir[ing] him to make certain concessions regarding possible civil suits brought by the
victims.” Villafaña advised Goldberger: “The FBI has received several calls regarding the [NPA].
I do not know whether the title of the document was disclosed when the [NPA] was filed under
seal, but the FBI and our Office are declining comment if asked.”

        B.       July 7, 2008: The CVRA Litigation Is Initiated

        On July 3, 2008, victims’ attorney Edwards spoke to Villafaña by telephone about the
resolution of the state case against Epstein “and the next stage of the federal prosecution.” 367 In
his 2017 affidavit filed in the CVRA litigation, Edwards asserted that during this conversation,
Villafaña did not inform him of the NPA, but that during the call, he sensed that the USAO “was
beginning to negotiate with Epstein concerning the federally identified crimes.” However, in an
email Villafaña sent after the call, she informed Sloman that during the call, Edwards stated that
“his clients can name many more victims and wanted to know if we can get out of the deal.”
Villafaña told Sloman that after she told Edwards that the government was bound by the
agreement, assuming Epstein completed it, Edwards asked that “if there is the slightest bit of
hesitation on Epstein’s part of completing his performance, that he and his [three] clients be
allowed to consult with [the USAO] before making a decision.” 368

       That same day, Edwards wrote a letter to Villafaña, complaining that Epstein’s state court
sentence was “grossly inadequate for a predator of this magnitude” and urged Villafaña to “move
forward with the traditional indictments and criminal prosecution commensurate with the crimes
Mr. Epstein has committed.”

       On July 7, 2008, Edwards filed his emergency petition in the U.S. District Court for the
Southern District of Florida on behalf of Courtney Wild, who was then identified only as “Jane
Doe.” She was soon joined by a second petitioner, and they were respectively referred to as “Jane
Doe 1” and “Jane Doe 2.” 369 Edwards claimed that the government had violated his clients’ rights
under the CVRA by negotiating to resolve the federal investigation of Epstein without consulting
with the victims. The petition requested that the court order the United States to comply with the
CVRA. The USAO opposed the petition, arguing that the CVRA did not apply because there were




366
         According to Villafaña’s handwritten notes from June 30, 2008, Villafaña left a message for two of the
attorneys.
367
         In his 2017 affidavit filed in the CVRA case, Edwards recalled that his telephone conversation occurred on
June 30, 2008, but noted that it could possibly have occurred on July 3, 2008.
368
        Sloman responded, “Thanks.”
369
        Later attempts by two additional victims to join the ongoing CVRA litigation were denied by the court.


                                                       236
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 263 of 348




no federal charges filed against Epstein as a result of the government’s agreement in mid-2007 to
defer prosecution to the state. 370

         C.       July 2008: Villafaña Prepares and Sends a Victim Notification Letter to Listed
                  Victims

         On July 8, 2008, Villafaña provided Goldberger with an updated victim list for 18 U.S.C.
§ 2255 purposes, noting that she had inadvertently left off one individual in her June 30, 2008
letter. Villafaña also informed the defense that, beginning the following day, she would distribute
notifications to each of the 32 victims and their counsel informing them that Epstein’s attorney
would be the contact for any civil litigation, if the victim decided to pursue damages. Finally, the
letter informed the defense that the government would consider a denial by Epstein that any “one
of these victims is entitled to proceed under 18 U.S.C. § 2255” to be considered a breach of the
terms of the NPA.

         After exchanging emails and letters with the defense concerning the content of the notice
letter, Villafaña drafted a letter she sent, on July 9 and 10, to nine victims who had previously
retained counsel. The letter informed the victims and their counsel that, “[i]n light of” Epstein’s
June 30, 2008 state court plea to felony solicitation of prostitution and procurement of minors to
engage in prostitution, and his sentence of a total of 18 months’ imprisonment followed by 12
months’ community control, “the United States has agreed to defer federal prosecution in favor of
this state plea and sentence, subject to certain conditions.” The letter included a reference to the
18 U.S.C. § 2255 provision of the NPA, and although the defense had never agreed to it, used
language from Acosta’s December 19, 2007 letter to Epstein defense attorney Sanchez clarifying
the damages provision. The paragraph below was described as “[o]ne such condition to which
Epstein has agreed”:

                  Any person, who while a minor, was a victim of a violation of an
                  offense enumerated in Title 18, United States Code, Section 2255,
                  will have the same rights to proceed under Section 2255 as she
                  would have had, if Mr. Epstein had been tried federally and
                  convicted of an enumerated offense. For purposes of implementing
                  this paragraph, the United States shall provide Mr. Epstein’s
                  attorneys with a list of individuals whom it was prepared to
                  name . . . as victims of an enumerated offense by Mr. Epstein. Any
                  judicial authority interpreting this provision, including any authority
                  determining which evidentiary burdens if any a plaintiff must meet,
                  shall consider that it is the intent of the parties to place these
                  identified victims in the same position as they would have been had
                  Mr. Epstein been convicted at trial. No more; no less.

       On July 10, 2008, Villafaña sent Goldberger a “Final Notification of Identified Victims,”
highlighting the defendant’s obligations under the NPA concerning victim lawsuits pursuant to

370
          As described in Section XII.G of this Part, the matter continued in litigation for years and resulted in the
district court’s February 21, 2019 opinion concluding that the government violated the victims’ rights under the CVRA
by failing to consult with them before signing the NPA.


                                                        237
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 264 of 348




18 U.S.C. § 2255 and again listing the 32 “individuals whom the United States was prepared to
name as victims of an enumerated offense.” 371 The same day, Villafaña sent Goldberger a second
letter, noting that the defense would receive copies of all victim notifications on a rolling basis.

        Villafaña informed her managers that the FBI case agents would reach out by telephone to
the listed victims who were unrepresented, to inform them that the case was resolved and to
confirm their addresses for notification by mail. With regard to the content of the telephone calls,
Villafaña proposed the following language to the case agents:

                  We are calling to inform you about the resolution of the Epstein
                  investigation and to thank you for your help.

                  Mr. Epstein pled guilty to one child sex offense that will require him
                  to register as a sex offender for life and received a sentence of 18
                  months imprisonment followed by one year of home confinement.
                  Mr. Epstein also made a concession regarding the payment of
                  restitution.

                  All of these terms are set out in a letter that AUSA Villafaña is going
                  to send out. Do you have a lawyer? Get name or address. If not[,]
                  where do you want [the] letter sent? If you have questions when
                  you receive the letter, please understand that we cannot provide
                  legal advice but the lawyers at the following victim rights
                  organizations are able to help you at no cost to you. (Provide names
                  and phone numbers)

                  Also ask about counseling and let them know that counseling is still
                  available even though the investigation is closed.

         On July 21, 2008, Villafaña sent the letter to the 11 unrepresented victims whose addresses
the FBI had by that time confirmed. Villafaña provided Epstein’s defense counsel with a copy of
the letter sent to each victim, directly or though counsel (with the mailing addresses redacted).

         D.       July – August 2008: The FBI Sends the Victim Notification Letter to Victims
                  Residing Outside of the United States

        While attempting to locate and contact the unrepresented victims, the FBI obtained contact
information for two victims residing outside of the United States. On July 23 and August 8, 2008,
respectively, the FBI Victim Specialist transmitted an automated VNS form notification letter to
each victim through the FBI representative at the U.S diplomatic mission for each country. This


371
           A month later, in an August 18, 2008 letter to the USAO, the defense sought to limit the government’s victim
list to those victims who were identified before the September 24, 2007 execution of the NPA. Villafaña also raised
with Acosta, Sloman, and other supervisors the question whether the USAO had developed sufficient evidence to
include new victims it had identified since creation of the July 2008 list and whether Jane Doe #2, who had previously
given a statement in support of Epstein, should be added back to the list. Ultimately, Villafaña sent the defense a
letter confirming that the government’s July 10, 2008 victim list was “the final list.”


                                                         238
        Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 265 of 348




letter was substantially identical to the previous FBI victim notification letter the FBI had sent to
victims (in 2006, 2007, and 2008) in that it identified each recipient as “a possible victim of a
federal crime” and listed her eight CVRA rights.

        The letter did not indicate that Epstein had pled guilty in state court on June 30, 2008, or
that the USAO had resolved its investigation by deferring federal prosecution in favor of the state
plea. Rather, like the previous FBI VNS-generated letter, the letter requested the victims’
“assistance and cooperation while we are investigating the case.”

        For each of the two victims residing outside of the United States, Villafaña also drafted a
notification letter concerning the June 30, 2008 plea and the 18 U.S.C. § 2255 process, which were
to be hand delivered along with the FBI’s letters. However, FBI records do not reflect whether
the USAO’s letter was delivered to the two victims.

         E.       August – September 2008: The Federal Court Orders the USAO to Disclose
                  the NPA to Victims, and the USAO Sends a Revised Victim Notification Letter

      On August 1, 2008, the petitioners in the CVRA litigation filed a motion seeking access to
the NPA. The USAO opposed the motion by relying on the confidentiality portion of the NPA. 372
On August 21, 2008, the court ordered the government to provide the petitioners with a copy of
the NPA subject to a protective order. In addition, the court ordered the government to produce
the NPA to other identified victims upon request:

                  (d) If any individuals who have been identified by the USAO as
                  victims of Epstein and/or any attorney(s) for those individuals
                  request the opportunity to review the [NPA], then the USAO shall
                  produce the [NPA] to those individuals, so long as those individuals
                  also agree that they shall not disclose the [NPA] or its terms to any
                  third party absent further court order, following notice to and an
                  opportunity for Epstein’s counsel to be heard[.] 373

        In September 2008, the USAO sent a revised notification letter to victims, and attorneys
for represented victims, concerning Epstein’s state court guilty plea and his agreement to not
contest liability in victim civil suits brought under 18 U.S.C. § 2255.374 The September letter
appeared to address concerns raised by Epstein attorney Lefkowitz that the government’s earlier
notification letter referenced language concerning 18 U.S.C. § 2255 that the government had
proposed in Acosta’s December 19, 2007 letter to Epstein attorney Sanchez, but that the defense
had not accepted. 375 As a result of the defense objection, Villafaña determined that she was

372
         Pursuant to paragraph 13 of the NPA, Villafaña made Epstein’s attorneys aware of the petitioners’ request
for the NPA.
373
         Doe, Order to Compel Production and Protective Order at 1-2 (Aug. 21, 2008).
374
         The USAO also sent a notification letter to additional victims who had not received a notification letter in
July.
375
         This issue is discussed more fully in Chapter Two.


                                                        239
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 266 of 348




obligated to amend her prior letter to victims to correct the reference to the December letter. 376
Accordingly, the September letter contained no information about the parties’ intent in
implementing 18 U.S.C. § 2255, but merely referred to the NPA language concerning Epstein’s
waiver of his right to contest liability under the provision. In addition, the September letter
described the appointment of a special master, the special master’s selection of an attorney to
represent the victims in their 18 U.S.C. § 2255 litigation against Epstein, and Epstein’s agreement
to pay the attorney representative’s fees arising out of such litigation. The letter also clarified that
Epstein’s agreement to pay for attorneys’ fees did not extend to contested litigation against him.

       The government also intended for the letter to comply with the court’s order concerning
providing victims with copies of the NPA. The initial draft included a paragraph advising the
victims that they could receive a copy of the NPA:

                  In addition, a judge has ordered that the United States make
                  available to any designated victim (and/or her attorney) a copy of
                  the actual agreement between Mr. Epstein and the United States, so
                  long as the victim (and/or her attorney) reviews, signs, and agrees to
                  be bound by a Protective Order entered by the Court. If [the victim]
                  would like to review the Agreement, please let me know, and I will
                  forward a copy of the Protective Order for her signature.

        The government shared draft versions of the September letter with Epstein’s counsel and
responded to criticism of the content of the proposed letter. For example, in response to the above
language regarding the August 21, 2008 court order in the CVRA litigation, the defense argued
that there was “no court order requiring the government to provide the alleged ‘victims’ with notice
that the [NPA] is available to them upon request and doing so is in conflict with the confidentiality
provisions of the [NPA].” In response, and in consultation with USAO management, Villafaña
revised the paragraph as follows:

                  In addition, there has been litigation between the United States and
                  two other victims regarding the disclosure of the entire agreement
                  between the United States and Mr. Epstein. [The attorney selected
                  by the special master] can provide further guidance on this issue, or
                  if you select another attorney to represent you, that attorney can
                  review the Court’s order in the [CVRA litigation].

         On September 18, 2009, a state court judge unsealed the copy of the NPA that had been
filed in the state case. 377




376
          In the letter, Villafaña expressed frustration with defense counsels’ claim relative to the December 19, 2007
letter that was included in the July 2008 notification letter, noting that the July 2008 letter had been approved by
defense counsel before being sent.
377
         See Susan Spencer-Wendel, “Epstein’s Secret Pact With Fed Reveals ‘Highly Unusual’ Terms,” Palm Beach
Post, Sept. 19, 2009.


                                                         240
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 267 of 348




         F.       2010 – 2011:         Department and Congressional Actions Regarding
                  Interpretation of the CVRA

         In connection with the Department’s 2010 effort to update its 2005 Guidelines, the Office
of the Deputy Attorney General convened a Victim of Crimes Working Group that asked OLC to
revisit its 2005 preliminary review concerning the definition of “crime victim” under the CVRA
and solicited input concerning the issue from Department components and federal law enforcement
agencies. In response, OLC issued a December 17, 2010 opinion entitled, The Availability of
Crime Victims’ Rights Under the Crime Victims’ Rights Act of 2004. Based on the CVRA’s
language, relevant case law, and memoranda opinions from Department components, OLC
reaffirmed its 2005 conclusion that CVRA rights do not vest until a criminal charge has been filed
(by complaint, information, or indictment) and the rights cease to be available if “all charges are
dismissed either voluntarily or on the merits (or if the [g]overnment declines to bring formal
charges after the filing of a complaint).” 378

        After OLC issued its opinion, the Department revised the 2005 Guidelines in October 2011
but did not change its fundamental position that the CVRA rights did not vest until after criminal
charges were filed. The 2011 revision did, however, add language concerning victim consultation
before a defendant is charged: “In circumstances where plea negotiations occur before a case has
been brought, Department policy is that this should include reasonable consultation prior to the
filing of a charging instrument with the court.” 379 The use of the word “should” in the 2011
Guidelines indicates that “personnel are expected to take the action . . . unless there is an
appropriate, articulable reason not to do so.”380 Nevertheless, the required consultation “may be
general in nature” and “does not have to be specific to a particular plea offer.” 381 The revisions
also specified that AUSAs were to ensure that victims had a right to be reasonably heard at plea
proceedings. 382

        On November 2, 2011, U.S. Senator Jon Kyl, a co-sponsor of the CVRA, sent a letter to
Attorney General Eric Holder, arguing that the 2011 Guidelines revisions “conflict[ed] quite
clearly with the CVRA’s plain language” because the 2011 Guidelines did “not extend any rights
to victims until charges have been filed.” The Department’s response emphasized that the

378
          OLC “express[ed] no opinion” as to whether it is a matter of “good practice” to inform victims of their CVRA
rights prior to the filing of a complaint or after the dismissal of charges.
379
         See 2011 Guidelines, Art. V, ¶ G.2, available at https://www.justice.gov/sites/default/files/olp/docs/
ag_guidelines2012. pdf. In its 2011 online training video regarding the Guidelines, the Department encouraged such
consultation when reasonable, but it also continued to maintain that there was no CVRA right to confer for pre-
indictment plea negotiations.
380
         See 2011 Guidelines, Art. I, ¶ B.2.
381
         See 2011 Guidelines, Art. V, ¶ G.2.
382
         The 2005 Guidelines contained no specific provision requiring AUSAs to ensure that victims were able to
exercise their right to be reasonably heard at plea proceedings, only at sentencing. See 2005 Guidelines, Art. IV,
¶ C.3.b.(2). However, the 2005 Guidelines generally require AUSAs to use their best efforts to comply with the
CVRA, and the CVRA specifically affords victims the right to be heard at plea proceedings. The 2011 revision
remedied this omission.


                                                        241
         Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 268 of 348




Department had made its “best efforts in thousands of federal and District of Columbia cases to
assert, support, and defend crime victims’ rights.” The response also referenced OLC’s December
2010 opinion concluding that CVRA rights apply when criminal proceedings are initiated, noting
that “the new AG Guidelines go further and provide that Department prosecutors should make
reasonable efforts to notify identified victims of, and consider victims’ views about, prospective
plea negotiations, even prior to the filing of a charging instrument with the court.” 383

          In 2015, Congress amended the CVRA, and added the following two rights:

                   (9) The right to be informed in a timely manner of any plea bargain
                   or deferred prosecution agreement.

                   (10) The right to be informed of the rights under this section and the
                   services described in section 503(c) of the Victims’ Rights and
                   Restitution Act of 1990 (42 U.S.C. 10607(c)) and provided contact
                   information for the Office of the Victims’ Rights Ombudsman of the
                   Department of Justice.

          G.       The CVRA Litigation Proceedings and Current Status

        While the CVRA litigation was pending in the Southern District of Florida, numerous
federal civil suits against Epstein, brought in the same district, were transferred to the same judge
as “related cases,” as a matter of judicial economy pursuant to the Local Rules. As the parties
agreed on settlements in those civil cases, they were dismissed. 384 Several of the victims who had
settled their civil cases filed a pleading in the CVRA litigation asking the court to “maintain their
anonymity” and not “further disseminate[]” their identities to the CVRA petitioners. 385

        In the CVRA case, the petitioners claimed that the government violated their CVRA rights
to confer by (1) negotiating and signing the NPA without victim input; (2) sending letters to the
victims claiming that the matter was “under investigation” after the NPA was already signed; and
(3) not properly informing the victims that the state plea would also resolve the federal
investigation. In addition, the petitioners alleged that the government violated their CVRA right
to be treated with fairness by concealing the NPA negotiation and also violated their CVRA right
to reasonable notice by concealing that the state court proceeding impacted the enforcement of the
NPA and resolved the federal investigation.

       During the litigation, the USAO argued that (1) the victims had no right to notice or
conferral about the NPA because the CVRA rights did not apply pre-charge; (2) the government’s

383
          157 Cong. Rec. S7359-02 (2011) (Kyl letter and Department response).
384
         Epstein also resolved some county court civil cases during this time period as well. In addition, numerous
other cases were resolved outside of formal litigation. For example, one attorney told OPR that he resolved 16 victim
cases, but did not file all cases with the court. Court data indicate that the attorney filed only 3 of the 16 cases he said
he resolved.
385
          Doe, Response to Court Order of July 6, 2015 and United States’ Notice of Partial Compliance at 1 (July 24,
2015).


                                                           242
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 269 of 348




letters to victims sent after the NPA was signed were not misleading in stating that the matter was
“under investigation” because the government continued to investigate given its uncertainty that
Epstein would plead guilty; and (3) Villafaña contacted the petitioners’ attorney prior to Epstein’s
state plea to advise him of the hearing. Nonetheless, Villafaña told OPR that, while there were
valid reasons for the government’s position that CVRA rights do not apply pre-charge, “[T]his is
a case where I felt we should have done more than what was legally required. I was obviously
prepared to spend as much time, energy and effort necessary to meet with each and every [victim].”

        Over the course of the litigation, the district court made various rulings interpreting the
provisions of the CVRA, including the court’s key conclusion that victim CVRA rights “attach
before the Government brings formal charges against a defendant.” The court also held that
(1) “the CVRA authorizes the rescission or ‘reopening’ of a prosecutorial agreement, including a
non-prosecution agreement, reached in violation of a prosecutor’s conferral obligations under the
statute”; (2) the CVRA authorizes the setting aside of pre-charge prosecutorial agreements”;
(3) the CVRA’s “reasonable right to confer” “extends to the pre-charge state of criminal
investigations and proceedings”; (4) the alleged federal sex crimes committed by Epstein render
the Doe petitioners “victims” under the CVRA; and (5) “questions pertaining to [the] equitable
defense[s] are properly left for resolution after development of a full evidentiary record.”

         On February 21, 2019, the district court granted the petitioners’ Motion for Partial
Summary Judgment, ruling that “once the Government failed to advise the victims about its
intention to enter into the NPA, a violation of the CVRA occurred.” The government did not
dispute the fact that it did not confer with the petitioners prior to signing the NPA, and the court
concluded that “[a]t a bare minimum, the CVRA required the Government to inform Petitioners
that it intended to enter into an agreement not to prosecute Epstein.” The court found that the post-
NPA letters the government sent to victims describing the investigation as ongoing “misled the
victims to believe that federal prosecution was still a possibility” and that “[i]t was a material
omission for the Government to suggest to the victims that they have patience relative to an
investigation about which it had already bound itself not to prosecute.” 386

       The court relied on Dean and BP Products to support its holding and noted that the
government’s action with respect to the NPA was especially troubling because, unlike a plea
agreement for which the victims could voice objection at a sentencing hearing, “[o]nce an NPA is
entered into without notice, the matter is closed and the victims have no opportunity to be heard
regarding any aspect of the case.” The court also highlighted the inequity of the USAO’s failure
to communicate with the victims while it simultaneously engaged in “lengthy negotiations” with
Epstein’s counsel and assured the defense that the NPA would not be “made public or filed with
the Court.”

       Although the USAO defended its actions by citing the 2005 Guidelines for the
Department’s position that CVRA rights do not attach until after a defendant is charged, the court
was “not persuaded that the [G]uidelines were the basis for the Government’s decision to withhold
information about the NPA from the victims.” The court found that the government’s reliance on

386
         The court did not resolve the factual question as to whether the victims were given adequate notice of
Epstein’s state court plea hearing.


                                                     243
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 270 of 348




the 2005 Guidelines was inconsistent with positions the USAO had taken in correspondence with
Epstein’s attorneys, in which the government acknowledged that “it had obligations to notify the
victims.” The court ordered the parties to submit additional briefs regarding the appropriate
remedies. Accordingly, the petitioners requested multiple specific remedies, including rescission
of the NPA; a written apology to all victims from the government; a meeting with Acosta,
Villafaña, and her supervisors; access to government records, including grand jury materials;
training for USAO employees; and monetary sanctions and attorneys’ fees. 387

         Following Epstein’s indictment on federal charges in New York and subsequent death
while in custody, on September 16, 2019, the district judge presiding over the CVRA case denied
the petitioners’ motion for remedies and closed the case, stating that Epstein’s death “rendered the
most significant issue that was pending before the Court, namely, whether the Government’s
violation of Petitioners’ rights under the CVRA invalidated the NPA, moot.” 388 The court did not
order the government to take corrective measures, but stated that it “fully expects the Government
will honor its representation that it will provide training to its employees about the CVRA and the
proper treatment of crime victims.” 389 The court also denied the petitioners’ request for attorneys’
fees, finding that the government did not act in bad faith, because, “[a]lthough unsuccessful on the
merits of the issue of whether there was a violation of the CVRA, the Government asserted
legitimate and legally supportable positions throughout this litigation.”

        On September 30, 2019, Wild appealed the district court’s rejection of the requested
remedies, through a Petition for a Writ of Mandamus filed with the U.S. Court of Appeals for the
Eleventh Circuit. 390 In its responsive brief, the government expressed sympathy for Wild and
“regret[] [for] the manner in which it communicated with her in the past.” 391 Nevertheless, the
government argued that, “as a matter of law, the legal obligations under the CVRA do not attach
prior to the government charging a case” and thus, “the CVRA was not triggered in SDFL because
no criminal charges were brought.” 392 The government conceded, however, that with regard to
the New York prosecution in which Epstein had been indicted, “[p]etitioner and other Epstein

387
         Doe, Jane Doe 1 and Jane Doe 2’s Submission on Proposed Remedies (May 23, 2019).
388
          Doe, Opinion and Order (Sept. 16, 2019). Among other things, the court rejected the petitioners’ contention
that it did not address whether the government had violated the victims’ CVRA right to be treated with fairness and
to receive fair notice of the proceedings, noting that “[t]hese rights all flow from the right to confer and were
encompassed in the Court’s ruling finding a violation of the CVRA.”
389
        The Department’s Office of Legal Programs provided a training entitled Crime Victims’ Rights in the Federal
System to the USAO on January 10, 2020.
390
        See In re Wild, No. 19-13843, Petition for a Writ of Mandamus Pursuant to the Crime Victims’ Rights Act,
18 U.S.C. § 3771(d)(3) (Sept. 30, 2019).
391
         Wild, Brief of the United States of America in Response to Petition for Writ of Mandamus Under the Crime
Victims Rights Act at 14 (Oct. 31, 2019). As previously noted, at this point, the litigation was being handled by the
U.S. Attorney’s Office for the Northern District of Georgia.
392
          The government also noted that although the CVRA was amended in 2015 to include a victim’s right to be
notified in a timely manner of plea bargains and deferred prosecution agreements, “the amendment did not extend to
non-prosecution agreements” which, unlike plea agreements and deferred prosecution agreements, do not require court
involvement.


                                                        244
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 271 of 348




victims deserve to be treated with fairness and respect, and to be conferred with on the criminal
case, not just because the CVRA requires it, but because it’s the right thing to do.” During oral
argument on January 16, 2020, the government apologized for the USAO’s treatment of Wild:

               The issue is whether or not the office was fully transparent with
               Ms. Wild about what it is that was going on with respect to the NPA,
               and they made a mistake in causing her to believe that the case was
               ongoing when in fact the NPA had been signed. The government
               should have communicated in a straightforward and transparent way
               with Ms. Wild, and for that, we are genuinely sorry. 393

        On April 14, 2020, a divided panel of the Court of Appeals for the Eleventh Circuit denied
Wild’s petition for a writ of mandamus, concluding that “the CVRA does not apply before the
commencement of criminal proceedings—and thus, on the facts of this case, does not provide the
petitioner here with any judicially enforceable rights.” 394 The court conducted a thorough analysis
of the language of the statute, the legislative history, and previous court decisions. The court
distinguished In re Dean as “dictum” consisting of a “three-sentence discussion . . . devoid of any
analysis of the CVRA’s text, history, or structural underpinnings.” The court noted that its
interpretation of the CVRA was consistent with the Department’s 2010 OLC opinion concerning
victim standing under the CVRA and the Department’s efforts in “implementing regulations.”
Finally, the court raised separation of powers concerns with Wild’s (and the dissenting judge’s)
interpretation of victim standing under the CVRA, noting that such an interpretation would
interfere with prosecutorial discretion.
         Nevertheless, the court was highly critical of the government’s conduct in the underlying
case, stating that the government “[s]eemingly . . . defer[red] to Epstein’s lawyers” regarding
information it provided victims about the NPA and that its “efforts seem to have graduated from
passive nondisclosure to (or at least close to) active misrepresentation.” The court concluded that
although it “seems obvious” that the government “should have consulted with petitioner (and other
victims) before negotiating and executing Epstein’s NPA,” the court could not conclude that the
government was obligated to do so. In addition, the dissenting judge filed a lengthy and strongly
worded opinion asserting that the majority’s statutory interpretation was “contorted” because the
“plain and unambiguous text of the CVRA does not include [a] post-indictment temporal
restriction.”
       On May 5, 2020, Wild filed a petition for rehearing en banc. On August 7, 2020, the court
granted the petition for rehearing en banc and vacated the panel’s opinion; as of the date of this
Report, a briefing schedule has been issued and oral argument is set for December 3, 2020.




393
       Audio recording of Oral Argument, Wild, No. 19-13843 (Jan. 16, 2020).
394
       In re Wild, 955 F.3d 1196, 1220 (11th Cir. 2020).


                                                     245
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 272 of 348




                   [Page Intentionally Left Blank]




                                246
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 273 of 348




                                      CHAPTER THREE
                          PART TWO: APPLICABLE STANDARDS


I.      STATUTORY PROVISIONS

         Pertinent sections of the CVRA and the VRRA, applicable during the relevant time period,
are set forth below.

        A.      The CVRA, 18 U.S.C. § 3771

(a) Rights of Crime Victims. —A crime victim has the following rights:

     (1) The right to be reasonably protected from the accused.
     (2) The right to reasonable, accurate, and timely notice of any public court proceeding, or any
     parole proceeding, involving the crime or of any release or escape of the accused.
     (3) The right not to be excluded from any such public court proceeding, unless the court, after
     receiving clear and convincing evidence, determines that testimony by the victim would be
     materially altered if the victim heard other testimony at that proceeding.
     (4) The right to be reasonably heard at any public proceeding in the district court involving
     release, plea, sentencing, or any parole proceeding.
     (5) The reasonable right to confer with the attorney for the Government in the case.
     (6) The right to full and timely restitution as provided in law.
     (7) The right to proceedings free from unreasonable delay.
     (8) The right to be treated with fairness and with respect for the victim’s dignity and privacy.

     ....

(c) Best Efforts To Accord Rights.—

     (1) Government.—Officers and employees of the Department of Justice . . . shall make their
     best efforts to see that crime victims are notified of, and accorded, the rights described in
     subsection (a).

     ....

(e) Definitions.

     ....

     (2) Crime victim.—

        (A) In general. —The term “crime victim” means a person directly and proximately
        harmed as a result of the commission of a Federal offense or an offense in the District of
        Columbia.


                                                 247
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 274 of 348




       B.      The Victims’ Rights and Restitution Act of 1990 (VRRA), 34 U.S.C. § 20141,
               Services to Victims (formerly cited as 42 USCA § 10607)

(b) Identification of victims

   At the earliest opportunity after the detection of a crime at which it may be done without
   interfering with an investigation, a responsible official shall—

   (1) identify the victim or victims of a crime;
   (2) inform the victims of their right to receive, on request, the services described in subsection
   (c); and
   (3) inform each victim of the name, title, and business address and telephone number of the
   responsible official to whom the victim should address a request for each of the services
   described in subsection (c).

(c) Description of services

   (1) A responsible official shall—
       (A) inform a victim of the place where the victim may receive emergency medical and
       social services;
       (B) inform a victim of any restitution or other relief to which the victim may be entitled
       under this or any other law and manner in which such relief may be obtained;
       (C) inform a victim of public and private programs that are available to provide counseling,
       treatment, and other support to the victim; and
       (D) assist a victim in contacting the persons who are responsible for providing the services
       and relief described in subparagraphs (A), (B), and (C).

   (2) A responsible official shall arrange for a victim to receive reasonable protection from a
   suspected offender and persons acting in concert with or at the behest of the suspected offender.

   (3) During the investigation and prosecution of a crime, a responsible official shall provide a
   victim the earliest possible notice of—

       (A) the status of the investigation of the crime, to the extent it is appropriate to inform the
       victim and to the extent that it will not interfere with the investigation;
       (B) the arrest of a suspected offender;
       (C) the filing of charges against a suspected offender;
       (D) the scheduling of each court proceeding that the witness is either required to attend or,
       under section 10606(b)(4) of Title 42, is entitled to attend;
       (E) the release or detention status of an offender or suspected offender;
       (F) the acceptance of a plea of guilty or nolo contendere or the rendering of a verdict after
       trial; and
       (G) the sentence imposed on an offender, including the date on which the offender will be
       eligible for parole.



                                                248
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 275 of 348




      (4) During court proceedings, a responsible official shall ensure that a victim is provided a
      waiting area removed from and out of the sight and hearing of the defendant and defense
      witnesses.

      ....

(e) Definitions

      ....

      (2) the term “victim” means a person that has suffered direct physical, emotional, or pecuniary
      harm as a result of the commission of a crime . . . .

II.      DEPARTMENT POLICY: THE 2005 ATTORNEY GENERAL GUIDELINES FOR
         VICTIM AND WITNESS ASSISTANCE (2005 GUIDELINES)

       In 2005, the Department revised its guidelines for victim and witness assistance in order to
incorporate the provisions of the CVRA. The purpose of the 2005 Guidelines was “to establish
guidelines to be followed by officers and employees of Department of Justice investigative,
prosecutorial, and correctional components in the treatment of victims of and witnesses to crime.”
The relevant portions of the 2005 Guidelines are as follows:

Article IV: Services to Victims and Witnesses

      A. Investigation Stage
         The investigative agency’s responsibilities begin with the report of the crime and extend
         through the prosecution of the case. In some instances, when explicitly stated, the
         investigative agency’s responsibility for a certain task is transferred to the prosecuting
         agency when charges are filed.

         ....

         2. Identification of Victims. At the earliest opportunity after the detection of a crime at
         which it may be done without interfering with an investigation, the responsible official of
         the investigative agency shall identify the victims of the crime.

         3. Description of Services.

             a. Information, Notice, and Referral

                 (1) Initial Information and Notice. Responsible officials must advise a victim
                 pursuant to this section at the earliest opportunity after detection of a crime at which
                 it may be done without interfering with an investigation. To comply with this
                 requirement, it is recommended that victims be given a printed brochure or card
                 that briefly describes their rights and the available services, identifies the local


                                                  249
 Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 276 of 348




          service providers, and lists the names and telephone numbers of the victim-witness
          coordinator or specialist and other key officials. A victim must be informed of—

              (a) His or her rights as enumerated in 18 U.S.C. § 3771(a).

              (b) His or her right entitlement, on request, to the services listed in 42 U.S.C.
              § 10607(c).

              (c) The name, title, business address, and telephone number of the responsible
              official to whom such a request for services should be addressed.

              (d) The place where the victim may receive emergency medical or social
              services.

              (e) The availability of any restitution or other relief (including crime victim
              compensation programs) to which the victim may be entitled under this or any
              other applicable law and the manner in which such relief may be obtained.

              (f) Public and private programs that are available to provide counseling,
              treatment, and other support to the victim.

              ....

              (i) The availability of services for victims of domestic violence, sexual assault,
              or stalking.

              (j) The option of being included in VNS.

              (k) Available protections from intimidation and harassment.

              ....

          (3) Notice during the investigation. During the investigation of a crime, a
          responsible official shall provide the victim with the earliest possible notice
          concerning—

              (a) The status of the investigation of the crime, to the extent that it is
              appropriate and will not interfere with the investigation.

              (b) The arrest of a suspected offender.


B. Prosecution Stage

   The prosecution stage begins when charges are filed and continues through postsentencing
   legal proceedings, including appeals and collateral attacks.


                                          250
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 277 of 348




 1. Responsible Officials. For cases in which charges have been instituted, the responsible
 official is the U.S. Attorney in whose district the prosecution is pending.

 2. Services to Crime Victims

        ....

    b. Information, Notice, and Referrals

        (1) Notice of Rights. Officers and employees of the Department of Justice shall
        make their best efforts to see that crime victims are notified of the rights enumerated
        in 18 U.S.C. § 3771(a).

        (2) Notice of Right To Seek Counsel. The prosecutor shall advise the crime victim
        that the crime victim can seek the advice of an attorney with respect to the rights
        described in 18 U.S.C. § 3771(a).

        (3) Notice of Right To Attend Trial. The responsible official should inform the
        crime victim about the victim’s right to attend the trial regardless of whether the
        victim intends to make a statement or present any information about the effect of
        the crime on the victim during sentencing.

        (4) Notice of Case Events. During the prosecution of a crime, a responsible official
        shall provide the victim, using VNS (where appropriate), with reasonable notice
        of—

               (a) The filing of charges against a suspected offender.

               (b) The release or escape of an offender or suspected offender.

               (c) The schedule of court proceedings.

                  (i) The responsible official shall provide the victim with reasonable,
                  accurate, and timely notice of any public court proceeding or parole
                  proceeding that involves the crime against the victim. In the event of an
                  emergency or other last-minute hearing or change in the time or date of a
                  hearing, the responsible official should consider providing notice by
                  telephone or expedited means. This notification requirement relates to
                  postsentencing proceedings as well.

                  (ii) The responsible official shall also give reasonable notice of the
                  scheduling or rescheduling of any other court proceeding that the victim or
                  witness is required or entitled to attend.

               (d) The acceptance of a plea of guilty or nolo contendere or the rendering of
               a verdict after trial.

                                          251
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 278 of 348




            (e) If the offender is convicted, the sentence and conditions of supervised
       release, if any, that are imposed.

              ....

       (6) Referrals. Once charges are filed, the responsible official shall assist the victim
       in contacting the persons or offices responsible for providing the services and relief
       [previously identified].

    c. Consultation With a Government Attorney

       (1) In General. A victim has the reasonable right to confer with the attorney for the
       Government in the case. The victim’s right to confer, however, shall not be
       construed to impair prosecutorial discretion. Federal prosecutors should be
       available to consult with victims about major case decisions, such as dismissals,
       release of the accused pending judicial proceedings (when such release is for
       noninvestigative purposes), plea negotiations, and pretrial diversion. Because
       victims are not clients, may become adverse to the Government, and may disclose
       whatever they have learned from consulting with prosecutors, such consultations
       may be limited to gathering information from victims and conveying only
       nonsensitive data and public information. Consultations should comply with the
       prosecutor’s obligations under applicable rules of professional conduct.

       Representatives of the Department should take care to inform victims that neither
       the Department’s advocacy for victims nor any other effort that the Department
       may make on their behalf constitutes or creates an attorney-client relationship
       between such victims and the lawyers for the Government.

       Department personnel should not provide legal advice to victims.

       (2) Prosecutor Availability. Prosecutors should be reasonably available to consult
       with victims regarding significant adversities they may suffer as a result of delays
       in the prosecution of the case and should, at the appropriate time, inform the court
       of the reasonable concerns that have been conveyed to the prosecutor.

       (3) Proposed Plea Agreements. Responsible officials should make reasonable
       efforts to notify identified victims of, and consider victims’ views about,
       prospective plea negotiations. In determining what is reasonable, the responsible
       official should consider factors relevant to the wisdom and practicality of giving
       notice and considering views in the context of the particular case, including, but not
       limited to, the following factors:

           (a) The impact on public safety and risks to personal safety.
           (b) The number of victims.
           (c) Whether time is of the essence in negotiating or entering a proposed plea.

                                        252
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 279 of 348




                    (d) Whether the proposed plea involves confidential information or conditions.
                    (e) Whether there is another need for confidentiality.
                    (f) Whether the victim is a possible witness in the case and the effect that
                    relaying any information may have on the defendant’s right to a fair trial.

III.    FLORIDA RULES OF PROFESSIONAL CONDUCT

        A.     FRPC 4-4.1 – Candor in Dealing with Others

       FRPC 4-4.1 prohibits a lawyer from knowingly making a false statement of material fact
or law to a third person during the course of representation of a client. A comment to this rule
explains that “[m]isrepresentations can also occur by partially true but misleading statements or
omissions that are the equivalent of affirmative false statements,” and “[w]hether a particular
statement should be regarded as one of fact can depend on the circumstances.”

        B.     FRPC 4-8.4 – Conduct Prejudicial to the Administration of Justice

        FRPC 4-8.4(c) states that a lawyer shall not engage in conduct involving dishonesty, fraud,
deceit, or misrepresentation.

        FRPC 4-8.4(d) prohibits a lawyer from engaging in conduct in connection with the practice
of law that is prejudicial to the administration of justice.

        As previously noted, courts have determined that FRPC 4-8.4(d) is not limited to conduct
that occurs in a judicial proceeding, but can be applied to “conduct in connection with the practice
of law.” Frederick, 756 So. 2d at 87; see also Shankman, 41 So. 3d at 172.




                                                253
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 280 of 348




                   [Page Left Intentionally Blank]




                                254
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 281 of 348




                                        CHAPTER THREE
                                     PART THREE: ANALYSIS


I.     OVERVIEW

        In addition to criticism of Acosta’s decision to end the federal investigation by means of
the NPA, public and media attention also focused on the government’s treatment of victims. In
the CVRA litigation and in more recent media reports, victims complained that they were not
informed about the government’s intention to end its investigation of Epstein because the
government did not consult with victims before the NPA was signed; did not inform them of
Epstein’s state plea hearing and sentencing, thereby denying them the opportunity to attend; and
actively misled them through statements that the federal investigation was ongoing. The district
court overseeing the CVRA litigation concluded that the government violated the Crime Victims’
Rights Act and “misl[ed] the victims to believe that federal prosecution was still a possibility” and
that “[i]t was a material omission for the Government to suggest to the victims that they have
patience relative to an investigation about which it had already bound itself not to prosecute.” 395
The government’s conduct, which involved both FBI and USAO actions, led to allegations that
the prosecutors had purposefully failed to inform victims of the NPA to prevent victims from
complaining publicly or in state court.

        OPR examined the government’s course of conduct when interacting with the victims,
including the lack of consultation with the victims before the NPA was signed; Acosta’s decision
to defer to state authorities the decision to notify victims of Epstein’s state plea; and the decision
to delay informing victims about the NPA until after Epstein entered his plea on June 30, 2008.
OPR considered whether letters sent to victims by the FBI after the NPA was signed contained
false or misleading statements. OPR also evaluated representations Villafaña made to victims in
January and February 2008, and to an attorney for a victim in June 2008.

II.    THE SUBJECTS DID NOT VIOLATE A CLEAR AND UNAMBIGUOUS
       STANDARD BY ENTERING INTO THE NPA WITHOUT CONSULTING THE
       VICTIMS

        During the CVRA litigation, the government acknowledged that the USAO did not consult
with victims about the government’s intention to enter into the NPA. In its February 21, 2019
opinion, the district court concluded that “once the Government failed to advise the victims about
its intention to enter into the NPA, a violation of the CVRA occurred.” OPR considered this
finding as part of its investigation into the USAO’s handling of the Epstein case, and examined
whether, before the NPA was signed on September 24, 2007, federal prosecutors were obligated
to consult with victims under the CVRA, and if so, whether any of the subject attorneys—Acosta,
Sloman, Menchel, Lourie, or Villafaña—intentionally violated or recklessly disregarded that
obligation.


395
       Doe v. United States, 359 F. Supp. 3d 1201, 1219, 1221 (S.D. Fla. Feb. 21, 2019).


                                                     255
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 282 of 348




        As discussed below, OPR concludes that none of the subject attorneys violated a clear and
unambiguous duty under the CVRA because the USAO resolved the Epstein investigation without
a federal criminal charge. In September 2007, when the NPA was signed, the Department did not
interpret CVRA rights to attach unless and until federal charges had been filed, and the federal
courts had not established a clear and unambiguous standard applying the CVRA before criminal
charges were brought. Pursuant to OPR’s established analytical framework, OPR does not find
professional misconduct unless a subject attorney intentionally or recklessly violated a clear and
unambiguous standard. Accordingly, OPR finds that the subject attorneys’ conduct did not rise to
the level of professional misconduct. OPR nevertheless concludes that the lack of consultation
was part of a series of government interactions with victims that ultimately led to public and court
condemnation of the government’s treatment of the victims, reflected poorly on the Department as
a whole, and is contradictory to the Department’s mission to “minimize the frustration and
confusion that victims of a crime endure in its wake.” 396

        A.      At the Time, No Clear and Unambiguous Standard Required the USAO to
                Notify Victims Regarding Case-Related Events until after the Filing of
                Criminal Charges

        Although the rights enumerated in the CVRA are clear on their face, the threshold issue of
whether an individual qualifies as a victim to whom CVRA rights attach was neither clear nor
unambiguous at the time the USAO entered into the NPA with Epstein in September 2007. At that
time, the Department interpreted the CVRA in a way that differed markedly from the district
court’s later interpretation in the CVRA litigation.

        The CVRA defines a “crime victim” as “a person directly and proximately harmed as a
result of the commission of a Federal offense or an offense in the District of Columbia.” On April
1, 2005, soon after the CVRA was enacted, OLC concluded that “the status of a ‘crime victim’
may be reasonably understood to commence upon the filing of a criminal complaint, and that the
status ends if there is a subsequent decision not to indict or prosecute the Federal offense that
directly caused the victim’s harm.” Beginning with the 2005 OLC guidance, the Department has
consistently taken the position that CVRA rights do not apply until the initiation of criminal
charges against a defendant, whether by complaint, indictment, or information. OLC applied its
definition to all eight CVRA rights in effect in 2005, but noted that the obligation created by the
eighth CVRA right—to “treat[] victims with fairness and respect”—is “always expected of Federal
officials, and the Victims’ Rights and Restitution Act of 1990 [(VRRA)] indicates that this right
applies ‘throughout the criminal justice process.’” 397 Consistent with the OLC interpretation, in
May 2005, the Department issued the 2005 Guidelines to implement the CVRA.

         The 2005 Guidelines assigned CVRA-related obligations to prosecutors only after the
initiation of federal charges. Specifically, the 2005 Guidelines stated that during the “prosecution
stage,” the “responsible official” should make reasonable efforts to notify identified victims of,


396
        2005 Guidelines, Foreword.
397
        Nevertheless, the portion of the VRRA referenced in the OLC 2005 Informal Guidance, 42 U.S.C. § 10606,
had been repealed upon passage of the CVRA.


                                                    256
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 283 of 348




and consider victims’ views about, prospective plea negotiations. 398 The “prosecution stage”
began when charges were filed and continued through all post-sentencing legal proceedings. 399

         At the time the parties signed the NPA in September 2007, few courts had addressed victim
standing under the CVRA. Notably, district courts in New York and South Carolina had ruled that
standing attached only upon the filing of federal charges. 400 Two cases relied upon by the court
in its February 2019 opinion—Dean and its underlying district court opinion, BP Products—were
decided after the NPA was signed.

         The CVRA litigation and proposed federal legislation—both pending as of the date of this
Report—show that the interpretation of victim standing under the CVRA continues to be a matter
of debate. 401 In a November 21, 2019 letter to Attorney General William Barr, a Congressional
Representative stated that she had recently introduced legislation specifically to “[c]larify that
victims of federal crimes have the right to confer with the Government and be informed about key
pre-charging developments in a case, such as . . . non-prosecution agreements.” 402 The CVRA
litigation arising from the Epstein case shows the lack of clarity regarding when CVRA rights
apply: the district court concluded that CVRA rights applied pre-charge, but a sharply divided
panel of the Eleventh Circuit Court of Appeals came to a contrary conclusion, a decision that has
now been vacated while the entire court hears the case en banc.

        Because the Supreme Court had not addressed the issue of when CVRA rights apply, the
lower courts had reached divergent conclusions, and the Department had concluded that CVRA
rights did not apply pre-charge, OPR concludes that the subjects’ failure to consult with victims
before signing the NPA did not constitute professional misconduct because at that time, the CVRA
did not clearly and unambiguously require prosecutors to consult with victims before the filing of
federal criminal charges. 403

398
        2005 Guidelines, Art. IV, ¶ B.2.c.(3). Under the 2005 Guidelines, the term “should” means that “the
employee is expected to take the action or provide the service described unless there is an appropriate, articulable
reason not to do so.” Id., Art. II, ¶ C.
399
         Id., Art. IV, ¶ B.1.
400
         Searcy v. Paletz, 2007 WL 1875802, at *5 (D.S.C. June 27, 2007) (an inmate is not considered a crime victim
for purposes of the CVRA until the government has filed criminal charges); United States v. Turner, 367 F. Supp. 2d
319, 326-27 (E.D.N.Y. 2005) (victims are not entitled to CVRA rights until the government has filed charges, but
courts have discretion to take a more inclusive approach); and United States v. Guevara-Toloso, 2005 WL 1210982,
at *2 (E.D.N.Y. May 23, 2005) (order sua sponte) (in case involving a federal charge of illegal entry after a felony
conviction, the court determined that victims of the predicate state conviction were not victims under the CVRA).
401
        See Wild, 955 F.3d at 1220; Courtney Wild Crime Victims’ Rights Reform Act of 2019, H.R. 4729, 116th
Cong. (2019).
402
         165 Cong. Rec. E1495-01 (2019).
403
          Violations of an unambiguous obligation concerning victims’ rights could result in a violation of the rules of
professional responsibility. For example, in Attorney Griev. Comm’n of Md. v. Smith, 109 A.3d 1184 (Md. 2015), the
Court of Appeals of Maryland concluded that a prosecutor’s failure to provide any notice to the minor victim’s foster
family about the resolution of a sex abuse case during the ten months the prosecutor was responsible for the matter
was a “consistent failure” amounting to “gross negligence in the discharge of the prosecutorial function” that deprived
the victim of his rights under the Maryland Constitution. The court found violations of Maryland Rules of Professional

                                                         257
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 284 of 348




        In Wild, the Eleventh Circuit panel compared the language of the CVRA to the language
of the VRRA, noting that the VRRA “clearly extends victim-notice rights into the pre-charge
phase” and opining that the government “may well have violated” the VRRA with regards to its
investigation of Epstein. As a predecessor to the CVRA, the VRRA afforded victims various rights
and services; however, it provided no mechanism for a victim to assert such rights in federal court
or by administrative complaint. Like the CVRA, the rights portion of the VRRA established the
victims’ right to be treated with fairness and respect and the right to confer with an attorney for
the government. However, the rights portion of the VRRA was repealed upon passage of the
CVRA and was not in effect at the time of the Epstein investigation.

        The portion of the VRRA directing federal law enforcement agencies to provide certain
victim services such as counseling and medical care referrals remained in effect following passage
of the CVRA. Furthermore, two of the VRRA requirements—one requiring a responsible official
to “inform a victim of any restitution or other relief to which the victim may be entitled,” and
another requiring that a responsible official “shall provide a victim the earliest possible notice of
the status of the investigation of the crime, to the extent it is appropriate to inform the victim and
to the extent that it will not interfere with the investigation”—may have applied to the Epstein
investigation. However, the VRRA did not create a clear and unambiguous obligation on the part
of the subject attorneys, as the 2005 Guidelines assigned the duty of enforcing the two
requirements to the investigative agency rather than to prosecutors. Moreover, the VRRA did not
require notice to victims before the NPA was signed because, at that point, the case remained
“under investigation,” and the victims did not become entitled to pursue monetary damages under
the NPA until Epstein entered his guilty pleas in June 2008. Once Epstein did so, and the victims
identified by the USAO became entitled to pursue the § 2255 remedy, the USAO furnished the
victims with appropriate notification.

         B.       OPR Did Not Find Evidence Establishing That the Lack of Consultation Was
                  Intended to Silence Victims

        During her OPR interviews, Villafaña recalled more than one discussion in which she
raised with her supervisors the issue of consulting with the victims before the NPA was signed on
September 24, 2007. Acosta, Sloman, Menchel, and Lourie, however, had no recollection of
discussions about consulting victims before the NPA was signed, and Menchel disputed
Villafaña’s assertions. OPR found only one written reference before that date, explicitly raising
the issue of consultation. Given the absence of contemporaneous records, OPR was unable to
conclusively determine whether the lack of consultation stemmed from an affirmative decision
made by one or more of the subjects or whether the subjects discussed consulting the victims about
the NPA before it was signed. Villafaña’s recollection suggests that Acosta, Menchel, and Sloman
may have been concerned with maintaining the confidentiality of plea negotiations and did not
believe that the government was obligated to consult with victims about such negotiations. OPR

Conduct 1.3, lack of diligence, and 8.4(d), conduct prejudicial to the administration of justice. The holding in Smith
was based on Article 47 of the Maryland Constitution and various specific statutes affording victims the right, among
others, to receive various notices and an opportunity to be heard concerning “a case originating by indictment or
information filed in a circuit court.” However, both the underlying statutory provisions and, significantly, the facts
are substantially different from the Epstein investigation. In Smith, the criminal defendant had been arrested and
charged before entering a plea.


                                                        258
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 285 of 348




did not find evidence showing that the subjects intended to silence victims or to prevent them from
having input into the USAO’s intent to resolve the federal investigation.

        Although the contemporaneous records provide some information about victim notification
decisions made after the NPA was signed on September 24, 2007, the records contain little about
the subjects’ views regarding consultation with victims before the NPA was signed. In a
September 6, 2007 email primarily addressing other topics, as the plea negotiations were beginning
in earnest and almost three weeks before the NPA was signed, Villafaña raised the topic of victim
consultation with Sloman: “The agents and I have not reached out to the victims to get their
approval, which as [CEOS Chief Oosterbaan] politely reminded me, is required under the law. . . .
[A]nd the [PBPD] Chief wanted to know if the victims had been consulted about the deal.”404
Sloman forwarded the email to Acosta with a note stating, “fyi.” Villafaña recalled that after she
sent the email, Sloman told her by telephone, “[Y]ou can’t do that now.” 405 Villafaña also told
OPR that shortly before the NPA was signed, Sloman told her, “[W]e’ve been advised that . . . pre-
charge resolutions do not require victim notification.” Villafaña also recalled a discussion with
Acosta, Menchel, and Sloman, during which she stated that she would need to get victims’ input
on the terms being proposed to the defense, and she was told, “Plea negotiations are confidential.
You can’t disclose them.” 406

       None of the other subjects recalled a specific discussion before the NPA was signed about
the USAO’s CVRA obligations. Menchel told OPR he believed the USAO was not required to
consult with victims during the preliminary “general discussion” phase of settlement negotiations;
moreover, he left the USAO before the terms of the NPA were fully developed.

        Sloman told OPR that he “did not think that we had to consult with victims prior to entering
into the NPA” and “we did not have to seek approval from victims to resolve a case.” Sloman
believed the USAO was obligated only to notify victims about resolution of “the cases that we
handled, filed cases.” Sloman recalled that because the USAO envisioned a state court resolution
of the matter, he did not “think that that was a concern of ours at the time to consult with [the
victims] prior to entering into . . . the NPA.”

        Lourie told OPR that he did not recall any discussions about informing the victims about
the terms of the NPA or any instructions to Villafaña that she not discuss the NPA with the victims.
He stated that everything the USAO did was “to try and get the best result as possible for the
victims. . . . [O]nce you step back and look at the whole forest . . ., you will see that. . . . [I]f you
look at each tree and say, well, you didn’t do this right for the victim, you didn’t tell the victim
this and that, you’re missing the big picture.”


404
         As noted, the Department’s position at the time was that the CVRA did not require consultation with victims
because no criminal charges had been filed. In addition, Villafaña’s reference to victim “approval” was inaccurate
because the CVRA, even when applicable, requires only “consultation” with victims about prosecutorial decisions.
405
         Villafaña did not recall Sloman explaining the reason for the decision.
406
         Villafaña also told OPR that she recalled Menchel raising a concern that “telling them about the negotiations
could cause victims to exaggerate their stories because of their desire to obtain damages from Epstein.” Villafaña was
uncertain of the date of the conversation, but Menchel’s presence requires it to have occurred before August 3, 2007.


                                                        259
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 286 of 348




        Acosta told OPR that there was no requirement to notify the victims because the NPA was
“not a plea, it’s deferring in favor of a state prosecution.” Acosta said, “[W]hether or not victims’
views were elicited is something I think was the focus of the trial team and not something that I
was focused on at least at this time.” Acosta could not recall any particular concern that factored
into the decision not to consult with the victims before entering into the NPA, but he acknowledged
to OPR, “[C]learly, given the way it’s played out, it may have been much better if we had
[consulted with the victims].” 407

         As indicated, the contemporaneous records reflect little about decisions made regarding
victim consultation prior to when the NPA was signed. Villafaña raised the issue in writing to her
supervisors in early September, but there is no evidence showing whether her supervisors
affirmatively rejected Villafaña’s contention that the USAO was obligated to consult with victims,
ignored the suggestion, or failed to address it for other reasons, possibly because of the extended
uncertainty as to whether Epstein would ever agree to the government’s plea proposal. OPR notes
that its subject interviews were conducted more than a decade after the NPA was signed, and the
passage of time affected the recall of each individual OPR interviewed. Although Villafaña
recalled discussions with her supervisors about notifying victims, her supervisors did not, and
Menchel contended that Villafaña’s recollection is inaccurate. Assuming the discussions occurred,
the timing is unclear. Sloman was on vacation before the NPA was signed, so a call with Villafaña
about victim notification at that point in time appears unlikely. Any discussion involving Menchel
necessarily occurred before August 3, 2007, when it was unclear whether the defense would agree
to the government’s offer. Supervisors could well have decided that at such an early stage, there
was little to discuss with victims.

       To the extent that Villafaña’s supervisors affirmatively made a decision not to consult
victims, Villafaña’s recollection suggests that the decision arose from supervisors’ concerns about
the confidentiality of plea negotiations and a belief that the government was not obligated to
consult with victims about a pre-charge disposition. That belief accurately reflected the
Department’s position at the time about application of the CVRA. Importantly, OPR did not find
evidence establishing that the lack of consultation was for the purpose of silencing victims, and
Villafaña told OPR that she did not hear any supervisor express concerns about victims objecting
to the agreement if they learned of it. Because the subjects did not violate any clear and
unambiguous standard in the CVRA by failing to consult with the victims about the NPA, OPR
concludes that they did not engage in professional misconduct.

        However, OPR includes the lack of consultation in its criticism of a series of government
interactions with victims that ultimately led to public and court condemnation of the government’s
treatment of the victims. Although the government was not obligated to consult with victims, a
more straightforward and open approach would have been consistent with the government’s goal
to treat victims of crime with fairness and respect. This was particularly important in a case in
which victims felt excluded and mistreated by the state process. Furthermore, in this case,
consulting with the victims about a potential plea would have given the USAO greater insight into
the victims’ willingness to support a prosecution of Epstein. The consultation provision does not

407
            Villafaña told OPR that she was not aware of any “improper pressure or promise made to [Acosta] in order
to . . . instruct [her] not to make disclosures to the victim[s].”


                                                       260
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 287 of 348




require victim approval of the prosecutors’ plans, but it allows victims the opportunity to express
their views and to be heard before a final decision is made. The lack of consultation in this case
denied the victims that opportunity. 408

III.     LETTERS SENT TO VICTIMS BY THE FBI WERE NOT FALSE STATEMENTS
         BUT RISKED MISLEADING VICTIMS ABOUT THE STATUS OF THE
         FEDERAL INVESTIGATION

        After the NPA was signed on September 24, 2007, Villafaña and the FBI separately
communicated with numerous victims and victims’ attorneys, both in person and through letters.
Apart from three victims who likely were informed in October or November 2007 about a
resolution ending the federal investigation, victims were not informed about the NPA or even more
generally that the USAO had agreed to end its federal criminal investigation of Epstein if he pled
guilty to state charges until after Epstein entered his guilty plea in June 2008. Despite the
government’s agreement on September 24, 2007, to end its federal investigation upon Epstein’s
compliance with the terms of the NPA, the FBI sent to victims in October 2007, January 2008, and
May 2008, letters stating that the case was “currently under investigation.” In its February 21,
2019 opinion in the CVRA case, the district court found those letters “misl[ed] the victims to
believe that federal prosecution was still a possibility” and that “[i]t was a material omission for
the Government to suggest to the victims that they have patience relative to an investigation about
which it had already bound itself not to prosecute.” 409

        In the discussions throughout this section, OPR examines the government’s course of
conduct with victims after the NPA was signed. As set forth in the previous subsection, OPR did
not find evidence supporting a finding that Acosta, Sloman, or Villafaña acted with the intent to
silence victims. Nonetheless, after examining the full scope and context of the government’s
interactions with victims, OPR concludes that the government’s inconsistent messages concerning
the federal investigation led to victims feeling confused and ill-treated by the government.

        In this section, OPR examines and discusses letters sent to victims by the FBI that were the
subject of the district court’s findings. OPR found no evidence that Acosta, Sloman, or Villafaña
was aware of the content of the letters until the USAO received them from the FBI for production
for the CVRA litigation. OPR determined that the January 10, 2008 and May 30, 2008 letters that
the district court determined to be misleading, as well as the October 12, 2007 letter OPR located
during its investigation, were “standard form letter[s]” sent by the FBI’s Victim Specialist. As
noted previously in this Report, after the NPA was signed, Villafaña and the FBI agents continued
to conduct their investigation in anticipation that Epstein would breach the NPA; absent such a


408
          Villafaña told OPR that she recalled speaking to several victims along with FBI agents before the NPA was
signed and “ask[ing] them how they wanted the case to be resolved.” FBI interview reports indicate that Villafaña
was present with FBI agents for some of the interviews occurring well in advance of the NPA negotiations. See 2005
Guidelines, Art. IV, ¶ B.2.c (1) (consultations may be limited to gathering information from victims and conveying
only nonsensitive data and public information). However, Villafaña did not meet with all of the victims identified in
the federal investigation, including the CVRA litigation petitioners, and the government conceded during the CVRA
litigation that it entered into the NPA without conferring with the petitioners. Doe, 359 F. Supp. 3d at 1218.
409
         Doe, 359 F. Supp. 3d at 1219, 1221.


                                                        261
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 288 of 348




breach, however, Epstein would enter his state guilty plea and the federal investigation would end.
Thus, the statement that the case was “currently under investigation” was literally true, but the
omission of important contextual information about the existence of the NPA deprived the victims
of important information about the exact status of the investigation.

         A.       The USAO Was Not Responsible for Victim Notification Letters Sent by the
                  FBI in October 2007, January 2008, and May 2008 Describing the Status of
                  the Case as “Under Investigation”

        The 2005 Guidelines charged the FBI with informing the victims of CVRA rights and
available services during the “investigative stage” of a case. During the Epstein investigation, the
FBI case agents complied with the agency’s notification obligation by hand delivering pamphlets
to victims following their interviews and through computer-generated letters sent to the victims by
the FBI’s Victim Specialist. The FBI’s notification process is independent of the USAO’s. The
USAO has its own Victim Witness Specialist who assumes the responsibility for victim
notification after an indictment or complaint moved the case into the “prosecution stage.”

        The FBI’s Victim Specialist used the VNS to prepare the October 2007, January 2008, and
May 2008 letters, a system the FBI regularly employs to comply with its obligations under the
2005 Guidelines to inform the victims of their rights and other services during the “investigative
stage.” The stock language of that letter, however, was generic and failed to communicate the
unique case-specific status of the Epstein investigation at that time. The FBI Victim Specialist
who sent the letters acted at the case agent’s direction and was not aware of the existence of the
NPA at the time she created the letters. 410 Neither FBI case agent reviewed any of the letters sent
by the FBI’s Victim Specialist. 411 According to Villafaña, “The decision to issue the letters and
the wording of those letters were exclusively FBI decisions.” Although the FBI case agents
informed Villafaña after the fact that the FBI’s Victim Specialist sent her “standard form letter,”
Villafaña had never reviewed an FBI-generated victim notification letter and was not aware of its
contents. 412 Villafaña told OPR she was unaware of the content of the FBI letters until they were
collected for the CVRA litigation, sometime after July 2008.




410
        The case agent told OPR that she did not recall specifically directing the Victim Specialist to send a letter,
but acknowledged that “she would come to us before she would approach a victim.”
411
          The case agent told OPR that she had no role in drafting the letters and believed them to be “standard form
letters.” Similarly, the co-case agent told OPR, “I can’t think that I’ve ever reviewed any of them . . . they just go
from the victim coordinator.”
412
          Villafaña’s lack of familiarity with the language in the FBI letters led to some inconsistency in the
information provided to victims concerning their CVRA rights. Beginning in 2006, the FBI provided to victims
standard letters advising victims of their CVRA rights but which also noted that only some of the rights applied
pre-charge. During this period, Villafaña also crafted her own introductory letters to the victims to let them know of
their CVRA rights and that the federal investigation “would be a different process” from the prior state investigation
in which “the victims felt they had not been particularly well-treated by the State Attorney’s Office.” Villafaña told
OPR that in a case in which she “need[ed] to be talking to young girls frequently and asking them really intimate
questions,” she wanted to “make sure that they . . . feel like they can trust me.” Villafaña’s letter itemized the CVRA
rights, but it did not explain that those rights attached only after a formal charge had been made. The letter was hand

                                                         262
        Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 289 of 348




         B.      Because the Federal Investigation Continued after the NPA Was Signed, the
                 FBI Letters Were Accurate but Risked Misleading Victims regarding the
                 Status of the Federal Investigation

        As described previously, given Epstein’s appeal to the Department and continued delay
entering his guilty plea, Villafaña and other subjects came to believe that Epstein did not intend to
comply with the NPA and that the USAO would ultimately file charges against Epstein. By April
2008, Acosta predicted in an email that charging Epstein was “more and more likely.” As a result,
Villafaña and the case agents continued their efforts to prepare for a likely trial with additional
investigative steps. Among other actions, Villafaña, her supervisors, CEOS, and the case agents
engaged in the following investigative activities:

    •    The FBI interviewed victims in October and November 2007 and between January and
         May 2008, and discovered at least six new victims.
    •    In January 2008, CEOS assigned a Trial Attorney to bring expertise and “a national
         perspective” to the matter.
    •    In January and February 2008, Villafaña and the CEOS Trial Attorney participated in
         victim interviews.
    •    Villafaña revised the prosecution memorandum to focus “on victims who are unknown to
         Epstein’s counsel.”
    •    The USAO informed the Department’s Civil Rights Division “pursuant to USAM
         [§] 8-3.120,” of the USAO’s “ongoing investigation of a child exploitation matter”
         involving Epstein and others.
    •    Villafaña secured pro bono legal representation for victims whose depositions were being
         sought by Epstein’s attorneys in connection with the Florida criminal case. 413
    •    Villafaña prepared a revised draft indictment.
    •    Villafaña sought and obtained approval to provide immunity to a potential government
         witness in exchange for that witness’s testimony.
    •    Even after Epstein’s state plea hearing was set for June 30, 2008, Villafaña took steps to
         facilitate the filing of federal charges on July 1, 2008, in the event he did not plead guilty.
       Villafaña told OPR that from her perspective, the assertion in the FBI victim letter that the
case was “currently under investigation” was “absolutely true.” Similarly, the FBI case agent told
OPR that at the time the letters were sent the “case was never closed and the investigation was



delivered, along with the FBI’s own victim’s rights pamphlet and notification letter, to victims following their FBI
interviews.
413
         According to the 2017 affidavit filed by Wild’s CVRA-case attorney, Edwards, the pro bono counsel that
Villafaña secured assisted Wild in “avoiding the improper deposition.”


                                                       263
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 290 of 348




continuing.” The co-case agent also told OPR that, as of the time of his OPR interview in 2019,
the “the case was open . . . it’s never been shut down.”

         OPR found no evidence that the FBI’s victim letters were drafted with the intent to mislead
the victims about the status of the federal investigation. The “ongoing investigation” language
generated by the VNS was generic template language in use nationwide at the time and identical
to that contained in standard form notification letters the FBI generated and distributed from
August 2006 through the 2007 signing of the NPA. 414 Nevertheless, the FBI’s letters omitted
important information about the status of the case because they failed to notify the victims that a
federal prosecution would go forward only if Epstein failed to fulfill his obligations under an
agreement he had reached with the USAO. Victims receiving the FBI’s letter would logically
conclude that the federal government was continuing to gather evidence to support a federal
prosecution. CVRA petitioner Wild stated during the CVRA litigation that her “understanding of
this letter was that [her] case was still being investigated and the FBI and prosecutors were moving
forward on the Federal prosecution of Epstein for his crimes against” her. Furthermore, when the
fact that the USAO had agreed to end its federal investigation in September 2007 eventually came
to light, the statement in the subsequent letters contributed to victims’ and the public’s conclusions
that the government had purposefully kept victims in the dark.

        In sum, OPR concludes that the statement in the FBI victim letters that the matter was
“currently under investigation” was not false because the USAO and the FBI did continue to
investigate and prepare for a prosecution of Epstein. The letters, however, risked misleading the
victims, and contributed to victim frustration and confusion, because the letters did not provide
important information that would have advised victims of the actual status of the investigation.
Nonetheless, OPR found no evidence that Villafaña or her supervisors participated in drafting
those letters or were aware of the content of the FBI’s letters until the Department gathered them
for production in the CVRA litigation. The use of FBI form letters that gave incomplete
information about the status of the investigation demonstrated a lack of coordination between the
federal agencies responsible for communicating with Epstein’s victims and showed a lack of
attention to and oversight regarding communication with victims. Despite the fact that the case
was no longer on the typical path for resolving federal investigations, form letters continued to be
sent without any review by prosecutors or the case agents to determine whether the information
provided to the victims was appropriate under the circumstances. 415




414
          The Department of Justice Inspector General’s Audit Report of the Department’s Victim Notification System
indicates that letters the FBI system generated in 2006 contained stock language for the notification events of “Initial
(Investigative Agency)” and “Under Investigation” and letters generated in 2008 contained stock language for the
notification events of “Advice of Victims Rights (Investigative)” and “Under Investigation.”
415
         After Epstein entered his guilty pleas, the FBI sent a similar form letter requesting “assistance and
cooperation while we are investigating the case” to the two victims living outside the United States.


                                                         264
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 291 of 348




IV.    ACOSTA’S DECISION TO DEFER TO THE STATE ATTORNEY’S
       DISCRETION WHETHER TO NOTIFY VICTIMS ABOUT EPSTEIN’S STATE
       COURT PLEA HEARING DID NOT VIOLATE A CLEAR OR UNAMBIGUOUS
       STANDARD; HOWEVER, ACOSTA EXERCISED POOR JUDGMENT BY
       FAILING TO ENSURE THAT VICTIMS IDENTIFIED IN THE FEDERAL
       INVESTIGATION WERE ADVISED OF THE STATE PLEA HEARING

        As set forth in the factual discussion, within a few weeks of the NPA’s signing, it became
clear that the defense team disagreed with, and strongly objected to, the government’s plan to
inform victims of their ability to recover monetary damages from Epstein, under the 18 U.S.C.
§ 2255 provision of the NPA, and about Epstein’s state court plea hearing. The USAO initially
took the position that it was obligated to, and intended to, inform victims of both the NPA,
including the § 2255 provision, and Epstein’s change of plea hearing and sentencing, so that
victims who wanted to attend could do so.

        In November and December 2007, Epstein’s attorneys challenged the USAO’s position
regarding victim notification. Ultimately, Acosta made two distinct decisions concerning victim
notifications. Consistent with Acosta’s concerns about intruding into state actions, Acosta elected
to defer to state authorities the decision whether to notify victims about the state’s plea hearing
pursuant to the state’s own victim’s rights requirements. Acosta also determined that the USAO
would notify victims about their eligibility to obtain monetary damages from Epstein under § 2255,
a decision that was implemented by letters sent to victims after Epstein entered his state pleas.
This decision, which postponed notification of the NPA until after Epstein entered his guilty pleas,
was based, at least in part, on Villafaña’s and the case agents’ strategic concerns relating to
preserving the victims’ credibility and is discussed further in Section V, below.

        In this section, OPR analyzes Acosta’s decision to defer to the state the responsibility for
notifying victims of Epstein’s plea hearing and sentencing. OPR concludes that neither the CVRA
nor the VRRA required the government to notify victims of the state proceeding and therefore
Acosta did not violate any statutes or Department policy by deferring to the discretion of the State
Attorney whether to notify victims of Epstein’s state guilty pleas and sentencing. However, OPR
also concludes that Acosta exercised poor judgment because by failing to ensure that the state
intended to and would notify victims of the federal investigation, he failed to treat victims
forthrightly and with the sensitivity expected by the Department. Through counsel, Acosta
“strongly disagree[d]” with OPR’s conclusion and argued that OPR unfairly applied a standard
“never before expected of any U.S. Attorney.” OPR addresses Acosta’s criticisms in the
discussion below.

       A.      Acosta’s Decision to Defer to the State Attorney’s Discretion Whether to
               Notify Victims about Epstein’s State Court Plea Hearing Did Not Violate Any
               Clear or Unambiguous Standard

        In November 2007, Villafaña sought to avoid defense accusations of misconduct
concerning her interactions with the victims by preparing a written notice to victims informing
them of the resolution of the federal case and of their eligibility for monetary damages, and inviting
them to appear at the state plea hearing. Villafaña and Sloman exchanged edits of the draft letter
and, at Sloman’s instruction, she provided the draft to defense attorney Lefkowitz, who, in turn,

                                                 265
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 292 of 348




strongly objected to the government’s plan to notify victims of the state proceedings, which he
described as “highly inappropriate” and an “intrusion into state affairs, when the identified
individuals are not even victims of the crime for which Mr. Epstein is being sentenced.”

        Thereafter—at a time when the USAO believed Epstein’s plea to be imminent—Villafaña
drafted, and Sloman signed, the December 6, 2007 letter to Lefkowitz rejecting the defense
arguments regarding notification and reiterating the USAO’s position that the victims identified in
the federal investigation be invited to appear at the state plea hearing. The letter took an expansive
view of the applicable statutes by contending that both the CVRA and the VRRA required the
USAO to notify the victims of the state proceedings:

                  [T]hese sections are not limited to proceedings in a federal district
                  court. Our Non-Prosecution Agreement resolves the federal
                  investigation by allowing Mr. Epstein to plead to a state offense.
                  The victims identified through the federal investigation should be
                  appropriately informed, and our Non-Prosecution Agreement does
                  not require the U.S. Attorney’s Office to forego [sic] its legal
                  obligations. 416

        The letter also asserted that the VRRA obligated the USAO to provide the victims with
information concerning restitution to which they may be entitled and “the earliest possible” notice
of the status of the investigation, the filing of charges, and the acceptance of a plea. Along with
the letter, Sloman forwarded a revised draft victim notification letter to Lefkowitz for his
comments. This draft victim notification letter stated that the federal investigation had been
completed, Epstein would plead guilty in state court, the parties would recommend 18 months of
imprisonment at sentencing, and Epstein would compensate victims for monetary damages claims
brought under 18 U.S.C. § 2255. The draft victim notification letter provided specific information
concerning the upcoming change of plea hearing and invited the victims to attend or provide a
written statement to the State Attorney’s Office. When Lefkowitz asked Sloman to delay sending
victim notifications until after a discussion of their contents, Sloman instructed Villafaña, who was
preparing letters for transmittal to 30 victims, to “Hold the letter.” During his OPR interview,
Sloman recalled that he had “wanted to push the letter out,” but he “must have had a conversation
with somebody” about whether the CVRA applied, and based on that conversation he directed
Villafaña to hold the letter.

       In his response letter to Acosta, Lefkowitz contended that the government had
misinterpreted both the CVRA and VRRA because neither applied to the “public proceeding in
this matter [which] will be in state court for the purpose of the entry of a plea on state charges.”




416
         Sloman told Lefkowitz the USAO did not seek to “federalize” a state plea, but “is simply informing the
victims of their rights.” Sloman also addressed the defense attorneys’ objection to advising the victims that they could
contact Villafaña or the FBI case agent with questions or concerns by referencing the CVRA, noting, “Again, federal
law requires that victims have the ‘reasonable right to confer with the attorney for the Government in this case.’”


                                                         266
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 293 of 348




        Thereafter, in his December 19, 2007 letter to defense counsel mainly addressing other
matters, Acosta informed the defense that the USAO would defer to the State Attorney’s discretion
the responsibility for notifying victims about Epstein’s state plea hearing:

                 I understand that the defense objects to the victims being given
                 notice of [the] time and place of Mr. Epstein’s state court [plea and]
                 sentencing hearing.         I have reviewed the proposed victim
                 notification letter and the statute. I would note that the United States
                 provided the draft letter to the defense as a courtesy. In addition,
                 First Assistant United States Attorney Sloman already incorporated
                 in the letter several edits that had been requested by defense counsel.
                 I agree that Section 3771 applies to notice of proceedings and results
                 of investigations of federal crimes as opposed to the state crime. We
                 intend to provide victims with notice of the federal resolution, as
                 required by law. We will defer to the discretion of the State Attorney
                 regarding whether he wishes to provide victims with notice of the
                 state proceedings, although we will provide him with the
                 information necessary to do so if he wishes.

(Emphasis added.)

        Acosta told OPR that he “would not have sent this [letter] without running it by [Sloman],
if not other individuals in the office.” Acosta explained that it was “not for me to direct the State
Attorney, or for our office to direct the State Attorney’s Office on its obligations with respect to
the state outcome.” Acosta acknowledged that the USAO initially had concerns about the state’s
handling of the case, but he told OPR, “that doesn’t mean that they will not fulfill whatever
obligation they have. Let’s not assume. . . that the State Attorney’s office is full of bad actors.”
Sloman initially believed that “the victims were going to be notified at some level, especially
because they had restitution rights under [§] 2255”; but his expectations changed after “there was
an agreement made that we were going to allow the state, since it was going to be a state case, to
decide how the victims were going to be notified.” 417 Sloman told OPR he had been “proceeding
under the belief that we were going to notify the victims,” even though “this was not a federal
case,” but once the NPA “looked like it was going to fall apart,” the USAO “had concerns that if
we g[a]ve them the victim notification letter . . . and the deal fell apart, then the victims would be
instantly impeached by the provision that you’re entitled to monetary compensation.”

       OPR could not determine whether the State Attorney’s Office notified any victims in
advance of the June 30, 2008 state plea hearing. Krischer told OPR that the State Attorney’s Office
had a robust and effective victim notification process and staff, but he was not aware of whether
or how it was used in the Epstein case. Belohlavek told OPR that she could not recall whether
victims were notified of the hearing nor whether the state law required notification for the

417
          Sloman stated in his June 3, 2008 letter to Deputy Attorney General Filip that Acosta made the decision
together with the Department’s Criminal Division Deputy Assistant Attorney General Mandelker. Acosta did consult
with Mandelker about the § 2255 civil damages recovery process, but neither Acosta nor Mandelker recalled
discussing the issue of victim notification, and OPR found no other documentation indicating that Mandelker played
a role in the deferral decision.


                                                      267
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 294 of 348




particular charges and victims at issue. Once the hearing was scheduled, Sloman told Villafaña to
contact PBPD Chief Reiter about notifying the victims, and on June 28, 2008, she reported back
to Sloman that Reiter “is going to notify victims about the plea.” 418 Villafaña recalled that she
sent Reiter a list of the girls identified as victims during the federal investigation, and Reiter said
he would “contact as many as he could.” The contemporaneous records do not show how many
or which victims, if any, Reiter contacted, and no victims were present in the courtroom. No victim
who provided information to OPR, either in person or through her attorney, recalled receiving
notice of the plea hearing from federal or state officials. At the time Epstein pled guilty in state
court, no one in the USAO knew exactly who, if anyone, Reiter or the State Attorney’s Office had
notified about the proceeding. Accordingly, Villafaña, who was present in the courtroom for the
hearing, had no knowledge to whom Belohlavek referred when she told the court that the victims
were “in agreement with the terms of this plea.” 419

        OPR considered whether Acosta’s decision to defer to the State Attorney’s Office the
decision to notify victims of the scheduled date for Epstein’s plea hearing constituted professional
misconduct. OPR could not conclude that the CVRA or VRRA provisions in question, requiring
notice of any public proceeding involving the crime against the victim or that the victim is entitled
to attend, unambiguously required federal prosecutors to notify victims of state court proceedings.
Furthermore, as discussed previously, OLC had issued guidance stating that the CVRA did not
apply to cases in which no federal charges had been filed. 420 Moreover, the section of the VRRA
requiring notice of court proceedings that the victim is “entitled to attend” referred specifically to
proceedings under 42 U.S.C. § 10606(b)(4), which, at the time of the Epstein case, had become
part of the CVRA (18 U.S.C. § 3771(a)(2)). 421

        Because Acosta had no clear or unambiguous duty to inform victims identified in the
federal investigation of the state plea hearing, OPR concludes that his decision to defer to the State
Attorney the decision to notify victims of the state’s plea hearing and the responsibility for doing
so did not constitute professional misconduct. 422




418
          Sloman replied, “Good.” In her written response to OPR, Villafaña stated, “I requested permission to make
oral notifications to the victims regarding the upcoming change of plea, but the Office decided that victim notification
could only come from a state investigator, and Jeff Sloman asked PBPD Chief Reiter to assist.”
419
         Plea Hearing Transcript at 42.
420
         OLC 2005 CVRA Informal Guidance; see also United States v. Guevara-Toloso, No. 04-1455, 2005 WL
1210982, at *2 (E.D.N.Y. May 23, 2005) (in case involving a federal charge of illegal entry after a felony conviction,
the court determined that victims of the predicate state conviction were not victims under the CVRA).
421
         In Wild, the Eleventh Circuit panel noted that the petitioner argued “only in passing” that the government
violated her CVRA right “to reasonable, accurate, and timely notice of any public court proceeding . . . involving the
crime”; however, the court concluded this provision “clearly appl[ies] only after the initiation of criminal
proceedings.” Wild, 955 F.3d at 1205 n.7, 1208.
422
         The government’s letter to victims, following Epstein’s guilty pleas, informing them of the resolution of the
case by state plea and the availability of § 2255 relief, also appear to satisfy the potentially applicable VRRA
requirements to “inform a victim of any restitution or other relief to which the victim may be entitled,” and to “provide
a victim the earliest possible notice of the status of the investigation of the crime, to the extent it is appropriate to

                                                          268
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 295 of 348




         B.       Acosta Exercised Poor Judgment When He Failed to Ensure That Victims
                  Identified in the Federal Investigation Were Informed of the State Plea
                  Hearing

        Although Acosta (or the USAO) was not required by law or policy to notify victims of the
state’s plea hearing, he also was not prohibited by law or policy from notifying the victims that
the federal investigation had been resolved through an agreement that included pleas to state
charges. As the contemporary records indicate, Acosta consistently expressed hesitancy to
interfere in the state’s processes or to “dictate” actions to the State Attorney. His decision that the
USAO refrain from notifying victims about the state plea hearing and defer to the State Attorney’s
judgment regarding whether and whom to notify was consistent with this view. However, OPR
found no evidence that Acosta’s decision to defer victim notification “to the discretion of the State
Attorney” was ever actually communicated to any state authorities or that Acosta recognized that
the state, absent significant coordination with federal authorities, was unlikely to contact all of the
victims identified in the state and federal investigations or that the state would inform the victims
that it did notify that the state plea hearing was part of an agreement that resolved the federal
investigation into their own cases. 423

        Even taking into account Acosta’s views on principles of federalism and his reluctance to
interfere in state processes, Acosta should have recognized the problems that would likely stem
from passing the task of notifying victims to the State Attorney’s Office and made appropriate
efforts to ensure that those problems were minimized. Appropriate notification would have
included advising victims identified in the federal investigation that the USAO had declined to
bring charges and that the matter was being handled by the State Attorney, and, at a minimum,
provided the victims with Belohlavek’s contact information. Acosta could have interacted with
the State Attorney, or instructed Villafaña or others to do so, to ensure the state intended to make
notifications in a way that reached the most possible victims and that it had the information
necessary to accomplish the task. Instead, Acosta deferred the responsibility for victim notification
entirely to the State Attorney’s discretion without providing that office with the names of
individuals the USAO believed were victims and, apparently, without even informing the state
prosecutors that he was deferring to them to make the notifications, if they chose to do so.

        Epstein was required by the NPA to plead to only two state charges, and even assuming
that each charge was premised on a crime against a different victim, and the solicitation charge
involved three separate victims, there were thus only at most four victims of the charged state
offenses. Without at least inquiring into the state’s intentions, Acosta had no way of determining
whether the state intended to notify more than those few victims. Moreover, the federal
investigation had resulted in the identification of several victims who had not been identified by

inform the victim and to the extent that it will not interfere with the investigation.” See 42 U.S.C. §§ 10607(c)(1)(B)
and (c)(3)(A).
423
           Through counsel, Acosta argued that OPR’s criticism of him for “electing to ‘defer’ the notification
obligation to the state” was inappropriate and “a non sequitur” because “where no federal notification obligation
exists, it cannot be deferred.” OPR’s criticism, as explained further below, is not with the decision itself, but rather
with the fact that although Acosta intended for the federal victims to be notified of the state plea hearing, and believed
that they should receive such notification, he nonetheless left responsibility for such notification to the state without
ensuring that it had the information needed to do so and without determining the state’s intended course of action.


                                                          269
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 296 of 348




the PBPD during its investigation into Epstein’s conduct. Absent information from the USAO,
the state would not have been in a position to notify those additional victims of the state plea
proceeding, even if the State Attorney had decided to include other victims identified during the
state investigation. Furthermore, at the time he made his decision, Acosta had already been advised
by Villafaña that Belohlavek, in November 2007, had requested that the USAO notify victims,
presumably those identified during the federal investigation, about the state plea hearing.

        Acosta told OPR that it had been his understanding at the time of Epstein’s plea that the
victims would be made aware of the proceeding and would have an opportunity to speak. Acosta
also told OPR that he expected the state would have “notified [the victims] that that was an all-
encompassing plea, that the state court sentence would also mean that the federal government was
not proceeding.” There is no evidence, however, that he verified this understanding with Sloman
or Villafaña, let alone the State Attorney. OPR found no indication that Acosta ever
communicated, or directed Sloman or Villafaña to communicate, his decision to the State Attorney
or to provide the State Attorney’s Office with a complete list of victims identified during the
federal investigation. OPR located a draft letter to the State Attorney’s Office that Villafaña
prepared and forwarded to Acosta in December 2007, which did provide such information, but
OPR found no evidence that the letter was ever sent, and it was not among materials publicly
released from the State Attorney’s Office. 424 OPR also found evidence that both Sloman and
Villafaña interacted with the State Attorney’s Office in the months leading up to the June 30, 2008
plea hearing, but there is no indication that they discussed victim notification issues with that
office, and Villafaña’s last minute request to PBPD Chief Reiter to notify victims indicates that
the USAO had not coordinated with the State Attorney’s Office. Belohlavek told OPR that no one
from the USAO provided her with a list of victims or coordinated any notification of victims to
appear at the hearing.

        Krischer and Belohlavek were thus evidently unaware that Acosta had decided to leave it
to them to decide whether to notify victims about the state proceeding. In the absence of some
discussion of which or how many victims the state intended to notify, what the state intended to
tell them about Epstein’s plea, and whether the state intended to let the victims speak at the plea
hearing, Acosta had no way to ensure that his assumption about victim notification was accurate.
In other words, Acosta failed to plan for how all of the identified victims of Epstein’s crimes, both
federal and state, “would be aware of what was happening in the state court and have an
opportunity to speak up at the state court hearing.”

       OPR did not find evidence that Acosta acted for the purpose of excluding victims from the
plea hearing, and Acosta’s assumption that the state would handle victim notification appropriately
was not unsupported. State prosecutors are subject to victim notification requirements under the
Florida Constitution, and the state prosecution offices have victim witness personnel, resources,
and processes to help accomplish notification. However, Acosta was aware—through the
prosecution memoranda, the draft indictment, and email communications from Villafaña—that the
USAO’s investigation had expanded beyond those victims identified in the original PBPD

424
         The text of the letter indicated that Epstein’s attorneys asked the USAO not to inform victims of “any rights
they may have as victims of the charges filed by the State Attorney’s Office” and that the USAO was providing the
State Attorney’s Office with a list of the 33 identified federal victims “in case you are required to provide them with
any further notification regarding their rights under Florida law.”


                                                         270
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 297 of 348




investigation. Because the state indictment and information appeared to pertain to far fewer than
the total victims identified in either the state or the federal investigation, and no one at the USAO
was certain which victims were covered by the state charges, it should have been apparent to
Acosta that without advance planning between the USAO and the State Attorney’s Office, there
was a substantial risk that most of the victims identified in the federal investigation would not
receive notice of the hearing. 425 Notification to the broadest possible number of identified victims
could only have been successful if there was appropriate communication between the USAO and
the state prosecutors, communication that had previously been lacking regarding other significant
issues relating to Epstein. Villafaña and Sloman’s hastily arranged effort to enlist in the
notification process PBPD Chief Reiter, who likely played little role in complying with the state’s
victim notification obligations in a typical case, was not an adequate substitute for careful planning
and coordination with the State Attorney’s Office. 426

        Even if the State Attorney’s Office had notified all of the identified victims of the upcoming
plea hearing, there was no guarantee that such notification would have included information that
the state plea was resolving not just the state’s investigation of Epstein, but the federal investigation
as well. The State Attorney was not obligated by state statutes to inform the victims of the status
of the federal investigation, and there was little reason to assume Krischer, or one of his staff,
would voluntarily do so, thereby putting the State Attorney’s Office in the position of fielding
victim questions and concerns about the outcome. Furthermore, as both the USAO and the defense
had differing views as to who could lawfully participate in the state plea hearing, there is no
indication that Acosta, Sloman, or Villafaña took steps to confirm that, if victims appeared, they
could actually participate in the state court proceeding when they were not victims of the charged
crimes. 427

      Through counsel, Acosta asserted to OPR that because Villafaña and Sloman both told
OPR that they believed that state officials would notify the victims, “OPR identified no reason
why Secretary Acosta should have distrusted his team on these points.” Acosta’s counsel further

425
          Krischer told OPR that the state’s notification obligation extended to all victims identified in the state
investigation. Nonetheless, which victims were encompassed in the state’s investigation was unclear. The PBPD’s
probable cause affidavit included crimes against only 5 victims, not the 19 identified in the state
investigation. According to state records made public, the state subpoenaed to the grand jury only 3 victims. After
Epstein’s guilty plea, the state sent notification letters to only 2 victims. Belohlavek told OPR that because of the
nature of the charges, she did not know whether “technically under the law” the girls were “victims” she was required
to notify of the plea hearing.
426
           The State Attorney’s Office had its own procedures and employees who handled victim notification, and
Belohlavek told OPR that the Chief of the Police Department would not regularly play a role in the state victim
notification process.
427
          Although Villafaña’s notes indicate that she researched Florida Statutes §§ 960.001 and 921.143 when she
drafted unsent letters to victims in November and December 2007 inviting them to participate in the state plea hearing
pursuant to those statues, the caselaw was not clear that all federal victims would have been allowed to participate in
the state plea hearing. In Lefkowitz’s November 29, 2007 letter to Acosta, he argued that the statutes afforded a right
to speak at a defendant’s sentencing or to submit a statement only to the victims of the crime for which the defendant
was being sentenced. In April 2008, a Florida District Court of Appeal ruled against a defendant who argued that
Florida Statute § 921.143(l) did not allow the testimony of the victim’s relatives at the sentencing hearing. The court
ruled that § 921.143(l) “should not be read as limiting the testimony Rule 3.720(b) allows trial courts to consider at
sentencing hearings.” Smith v. State, 982 So. 2d 69, 72 (Fla. Dist. Ct. App. 2008).


                                                         271
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 298 of 348




argued that Acosta should have been able to rely on his staff to accomplish the victim notification
task, and thus had no responsibility to personally confirm that Chief Reiter would notify the
victims of the hearing. 428 Acosta is correct that under usual circumstances, USAO management
played no role in the victim notification process; however, in this case, the issue of victim
notification had been elevated from a rote administrative task to a major area of dispute with the
defense. Acosta personally involved himself by resolving the notification dispute with defense
counsel in his December 19, 2007 letter. Villafaña provided Acosta with a draft letter to state
officials that would have opened a dialogue concerning the notification of all the victims identified
in the federal investigation. OPR found no evidence, however, that Acosta sent the letter or any
similar communication to the State Attorney’s Office or that he provided Villafaña and Sloman
with instructions concerning victim notification other than those contained in his December 19,
2007 letter. Having inserted himself into the notification process, Acosta had a responsibility to
ensure that his expectation that the victims would be notified could be accomplished through the
state process.

        Many victims only learned of Epstein’s state court pleas when they later received a letter
from the USAO informing them that those pleas had resolved the federal investigation, and some
victims only learned of the state court pleas and sentencing from the news media. In the end,
although Villafaña and Sloman hastily attempted to ensure victim notification through Chief
Reiter, their effort was too little and too late to ensure that victims had the opportunity to attend
the plea hearing or were given sufficient information about its significance to their own cases.429
Although Acosta may have conferred with others about the decision to defer the responsibility for
notifying victims to the State Attorney, Acosta was responsible for choosing this course of action.
OPR concludes that under these unique circumstances, its criticisms are warranted because Acosta
personally decided to change the process initiated by his staff, and although he expected that the
federal victims would be notified, he did not take the necessary steps to ensure that they would be.
Acosta could have authorized disclosure of the plea hearing to victims, even if he did not believe
the CVRA required it, to ensure that the victims identified in the federal investigation were aware
of the state court proceeding. Because the state pleas ended the federal investigation into Epstein’s
conduct, ensuring that the victims were notified of the state plea hearing would have been
consistent with the Department’s overarching commitment to treat victims with fairness, dignity,
and sensitivity. Acosta’s failure to prioritize notification and coordinate communication about the

428
          As noted, in his comments on OPR’s draft report, Acosta’s counsel strongly objected to OPR’s finding of
poor judgment with respect to victim notification, arguing that OPR “unwarrantedly applies a standard never before
expected of any US Attorney,” and inappropriately criticizes Acosta for “not personally confirming that the State
Attorney had the information needed” to notify the victims and for “not personally confirming” that Chief Reiter had
actually notified the victims. For the reasons discussed, the issue is not whether Acosta “personally” took certain
specific steps but that he stopped his staff from implementing a notification plan they had devised, and instead, shifted
responsibility for notification to another entity while failing to consider how or even whether that entity would be able
to accomplish the notification that Acosta expected to happen.
429
          OPR notes that Villafaña contacted Reiter soon after the state plea hearing was scheduled, and the resulting
window of time for Reiter to make any notifications was short. Had the USAO coordinated with the State Attorney
at some point in time closer to Acosta’s December 19, 2007 letter and decision, the USAO could have ensured that
the State Attorney had an appropriate notification process in place to act quickly when the hearing was scheduled and
that issues concerning the victims’ appearance at the hearing were appropriately considered by state authorities.
Similarly, if the USAO believed that Reiter should make the notifications, it could have coordinated with Reiter in the
months that the matter was under review by the Department.


                                                          272
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 299 of 348




resolution of the case to ensure Epstein’s victims were given an opportunity to attend the plea
hearing, and to possibly speak about the impact of Epstein’s crimes, presented a glaring contrast
with Acosta’s responsiveness to the demands of Epstein’s attorneys, which included the unusual
courtesy of allowing them to preview and respond to the USAO’s draft victim notifications. This
contrast added to the victims’ perception that they had been treated unfairly, a view shared by the
public.

         Nothing in the documentary record suggests that Acosta thought through the issue of
determining which victims would be notified by the state, or that he took any steps to ensure that
all of the known federal victims received information about the state plea hearing. Instead, as with
his decision to resolve the federal investigation through a state-based resolution, Acosta exercised
poor judgment when he made critical decisions affecting the federal investigation and the victims,
but also failed to consider the full consequences of those decisions or what was needed to
implement them. Acosta’s failure to consider these issues before simply leaving the responsibility
for making notifications entirely to the State Attorney’s discretion reflected poorly on the USAO
and the Department as a whole. It left victims in the dark about an important proceeding that
resolved the federal investigation, an investigation about which the USAO had communicated with
victims for months. It also ultimately created the misimpression that the Department intentionally
sought to silence the victims by keeping them uninformed about the NPA and the resulting state
proceeding. Acosta failed to ensure that victims were afforded an opportunity to attend a hearing
that was related to their own cases and thus failed to ensure that victims were treated with
forthrightness and dignity.

V.       VILLAFAÑA DID NOT COMMIT PROFESSIONAL MISCONDUCT IN HER
         ORAL COMMUNICATIONS TO VICTIMS AND VICTIMS’ ATTORNEYS, IN
         WHICH SHE DESCRIBED THE CASE AS “UNDER INVESTIGATION” BUT DID
         NOT DISCLOSE THE EXISTENCE OF THE NPA TO SOME VICTIMS

        From September 24, 2007, when the NPA was signed, until after Epstein’s June 30, 2008
state court plea, the case agents, acting under Villafaña’s direction, directly informed only three
victims that the government had signed an NPA and that, if Epstein complied with its terms, the
federal investigation would be closed. During this time period, Villafaña and the case agents
interacted with several victims and their attorneys, and Villafaña contacted victims’ attorney
Bradley Edwards to encourage him to attend the state court plea hearing, but she did not inform
victims or Edwards of the NPA or the resolution of the federal investigation.

       As described in Part One of this chapter, after the NPA was signed, the FBI case agent and
co-case agent began notifying victims about the NPA. 430 After speaking to three victims, however,
the FBI case agent became concerned that informing the victims about the NPA and the monetary
damages provision would create potential impeachment material for the victims and the agent
should Epstein breach the NPA and the case proceed to indictment and trial. As the case agent
told OPR, “I would . . . have to testify that I told every one of these girls that they could sue
Mr. Epstein for money, and I was not comfortable with that, I didn’t think it was right.” The case

430
         Although Wild disputed that she was informed of the resolution of the federal case, the case agent’s email to
Villafaña from this time period reflects that at least one victim understood that the federal case was resolved and that
she was unhappy with the resolution.


                                                         273
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 300 of 348




agent and Villafaña consulted with the USAO’s Professional Responsibility Officer about the
matter, and thereafter stopped notifying the victims about the NPA and their ability to pursue
monetary damages according to its terms.

        Villafaña advised Sloman by email of her concerns regarding the potential impeachment
evidence, telling him, “One thing I am concerned about is that, if we [file charges] now, cross-
examination will consist of- ‘and the government told you that if Mr. Epstein is convicted, you are
entitled to a large amount of damages right?’” Explaining the decision in her later CVRA
declaration, Villafaña said that after Epstein’s attorneys “complained that the victims were
receiving an incentive to overstate their involvement with Mr. Epstein in order to increase their
damages claims,” she “concluded that informing additional victims could compromise the
witnesses’ credibility at trial if Epstein reneged on the agreement.” Acosta was aware of these
concerns as he referred to them in an August 2008 email, “[W]e also believed that contacting the
victims would compromise them as potential witnesses. Epstein argued very forcefully that they
were doing this for the money, and we did not want to discuss liability with them, which was [a]
key part of [the] agree[ment].”

       The case agents interviewed victims in October and November 2007, but did not inform
them about the NPA. 431 On January 31, 2008, the FBI agents, Villafaña, and the CEOS Trial
Attorney interviewed three victims, including Courtney Wild, and they interviewed at least one
more victim the next day. 432 Wild and two others had been contacted by the FBI in the fall of
2007 and may have been informed about the resolution of the federal investigation.

         Villafaña told OPR that during the January 31, 2008 interviews, she did not specifically
tell the victims that “there was a signed non-prosecution agreement that had these terms.” She
stated that she would not use “terminology” such as “NPA” because “most people don’t understand
what that means.” Instead, with respect to the three victims who, according to Villafaña, had been
informed by the FBI about the resolution, she stated that “an agreement had been reached where
[Epstein] was going to be entering a guilty plea, but it doesn’t look [like] he intends to actually
perform . . . [and] now it looks like this may have to be charged . . . and may have to go to trial.”
Villafaña recalled telling some victims that Epstein “was supposed to enter a plea in state court”
that would end the investigation, but she did not recall distinguishing between the “federal
investigation versus a state investigation.” Villafaña told OPR she explained “the case was under
investigation,” she and the agents “were preparing . . . again” to file charges, and they hoped “that
charges would be brought.” An email from Villafaña to Sloman and Acosta during this time period
reflects that she had such discussions with at least one victim interviewed on this date: “The
second girl . . . was very upset about the 18 month deal she had read about in the paper. . . .
[S]he would rather not get any money and have Epstein spend a significant time in jail.” Villafaña,
however, did not recall telling all of the victims interviewed at this time of the state plea; rather,
she likely only told those who knew about the resolution from the FBI. In her own 2015 CVRA-
case declaration, Wild stated that she “was not told about any [NPA] or any potential resolution of

431
         FBI agents also interviewed victims in March and May of 2008, without prosecutors, and did not inform the
victims of the NPA.
432
        Two additional victims were scheduled to be interviewed on February 1, 2008, but the evidence is unclear as
to whether the interviews occurred.


                                                       274
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 301 of 348




the federal investigation I was cooperating in. If I had been told of a[n NPA], I would have
objected.” Wild further stated in her declaration that, “Based on what the FBI had been telling me,
I thought they were still investigating my case.”

        Neither the CEOS Trial Attorney nor the FBI case agent recalled the specifics of the victim
interviews. The FBI reports memorializing each interview primarily addressed the facts elicited
from the victim regarding Epstein’s abuse and did not describe any discussion about the status of
the case or the victim’s view about the prosecution of Epstein. 433

        When asked whether she was concerned that failing to tell victims about the NPA when
she was interviewing them would mislead victims, as previously noted, Villafaña told OPR that
she believed she and the agents were conducting an investigation because they continued
“interviewing witnesses” and “doing all these things” to file charges and prepare for a federal trial.
As Villafaña stated, “So to me, saying to a victim the case is now back under investigation is
perfectly accurate.”

        Villafaña was also aware that some victims were represented by counsel in connection with
civil lawsuits against Epstein, but did not proactively inform the victims’ attorneys about the NPA.
In a 2017 affidavit filed in the CVRA litigation, victims’ attorney Bradley Edwards alleged that
during telephone calls with Villafaña, he “asked very specific questions about what stage the
investigation was in,” and Villafaña replied that she could not answer his questions because the
matter “was an on-going active investigation.” Edwards stated that Villafaña gave him “the
impression that the Federal investigation was on-going, very expansive, and continuously growing,
both in the number of identified victims and complexity.” Edwards also stated, “A fair
characterization of each call was that I provided information and asked questions and Villafaña
listened and expressed that she was unable to say much or answer the questions I was asking.”

        In her written response to OPR, Villafaña stated that she “listened more than [she] spoke”
during her interactions with Edwards and that due to the “uncertainty of the situation” and the
possibility of a trial, she “did not feel comfortable sharing any information about the case.”
Villafaña also told OPR that because of “all of these concerns and instructions that I had been
given by Alex [Acosta] and Jeff [Sloman] not to disclose things further and not to have any
involvement in victim notification,” she felt “prohibited” from providing additional information
to Edwards.

        Sloman told OPR that although neither the NPA terms nor the CVRA prevented the USAO
from exercising its discretion to notify the victims, “[I]t was [of] concern that this was going to
break down and . . . result in us prosecuting Epstein and that the victims were going to be witnesses
and if we provided a victim notification indicating, hey, you’re going to get $150,000, that’s . . .
going to be instant impeachment for the defense.” 434 Acosta told OPR that, because Epstein did

433
         As noted above, the FBI agent’s notes for one victim’s interview reported that she wanted another victim to
be prosecuted.
434
         When asked why the USAO did not simply notify the victims of the change of plea hearing, Sloman
responded that he “was more focused on the restitution provisions. I didn’t get the sense that the victims were overly
interested in showing up . . . at the change of plea.”


                                                        275
       Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 302 of 348




not plead guilty in October 2007 as the USAO expected, it was a “very open question” whether
the case would go to trial, and Acosta thought that “where there is no legal requirement[,] [t]here
has to be discretion to judge how much you can tell the victims and when.”

        Epstein’s attorneys’ conduct during the period between the signing of the NPA and
Epstein’s entry of his state guilty pleas illustrated the risk that Acosta, Sloman, and Villafaña all
identified. As Epstein’s counsel deposed victims related to the state court criminal charges and
civil cases against Epstein, counsel suggested that the victims were motivated to testify against
Epstein by the government’s promises of financial gain. For example, during a February 20, 2008
state deposition of a victim, defense counsel asked her whether the federal prosecutors or FBI
agents told her that she was entitled to receive money from Epstein. 435 In her 2017 declaration in
the CVRA litigation, Villafaña identified that line of questioning as a motivating factor in the
government’s decision to stop notifying the victims about the potential for 18 U.S.C. § 2255
recovery.

       On June 27, 2008, the Friday before Epstein’s Monday, June 30, 2008 state court guilty
plea hearing, Villafaña contacted Edwards to inform him about that upcoming hearing. Villafaña
told OPR she “was not given authorization to contact” any victim’s attorney other than Edwards
about the scheduled state plea hearing. 436 In his 2017 affidavit prepared for the CVRA litigation,
Edwards stated that Villafaña “gave the impression that she was caught off-guard herself that
Epstein was pleading guilty or that this event was happening at all.”

         Edwards said in a 2016 court filing that Villafaña told him only that “Epstein was pleading
guilty to state solicitation of prostitution charges involving other victims—not Mr. Edward’s
clients nor any of the federally-identified victims.” Villafaña stated in her 2017 declaration that
she “never told Attorney Edwards that the state charges involved ‘other victims,’ and neither the
state court charging instrument nor the factual proffer limited the procurement of prostitution
charge to a specific victim.” Villafaña told OPR she “strongly encouraged [Edwards] and his
clients to attend” the plea hearing but “could not be more explicit” because she was not “authorized
by the Office to disclose the terms of the NPA.” In his 2017 affidavit, Edwards acknowledged
that “Villafaña did express that this hearing was important, but never told me why she felt that
way.” Edwards claimed that Villafaña’s failure to inform him that the “guilty pleas in state court
would bring an end to the possibility of federal prosecution pursuant to the plea agreement”
resulted in his clients not attending the hearing. Edwards himself was out of town and not able to
435
          As previously noted, the defense used Florida criminal procedure to depose potential federal victims to learn
information concerning the federal investigation even though those individuals were not involved in the state
prosecution. For example, in a March 2008 email, Villafaña informed her managers that she spoke to a victim who
had received a subpoena “issued in connection with the state criminal case, which, as you know, doesn’t involve most
of the victims in our case (including the girl who was subpoenaed).” Villafaña further observed that because Epstein
is “going to plead to the solicitation of adults for prostitution charge [in state court], [the act of subpoenaing the victim]
seems to be a clear effort to find out about our case through the state case.”
436
         Villafaña’s June 30, 2008 handwritten notes reflect that, at the time of Epstein’s state court guilty plea,
Villafaña was aware of the identities of a least five other attorneys representing Epstein’s victims. In her written
response to OPR, Villafaña stated, “I requested permission to make oral notifications to the victims regarding the
upcoming change of plea, but the Office decided that victim notification could only come from a state investigator,
and Jeff Sloman asked PBPD Chief Reiter to assist.” On Saturday, June 28, 2008, Villafaña emailed Sloman to inform
him that PBPD Chief Reiter “is going to notify victims about the plea.” Sloman replied, “Good.”


                                                            276
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 303 of 348




attend the hearing. In his affidavit, Edwards asserted, “[T]here was no possible way I could have
believed that this state plea could affect the federal investigation or the rights of my clients in that
federal investigation.”

        In Wild, the Eleventh Circuit panel stated that the government “seemingly” deferred to
Epstein’s attorneys’ requests not to notify the victims about the NPA, and that in sending the
January and May 2008 FBI letters, the government’s efforts “seem to have graduated from passive
nondisclosure to (or at least close to) active misrepresentation.” 437 Although both the appellate
court and district court focused on the FBI’s letters for which OPR concludes that neither Villafaña,
Sloman, nor Acosta was responsible, OPR considered the courts’ analyses in evaluating whether
similar representations Villafaña made to the victims whom she interviewed on January 31 and
February 1, 2008, and to Edwards, were misleading. Therefore, OPR considered whether
Villafaña’s statements that the matter was “under investigation” and her failure to inform all of the
victims whom she interviewed or Edwards about the NPA violated FRPC 4-4.1(a), 4-8.4(c), or
4-8.4(d).

        FRPC 4-4.1(a) prohibits an attorney from “knowingly mak[ing] a false statement of
material fact or law to a third person” during the representation of a client. The FRPC defines
“knowingly” as “denot[ing] actual knowledge of the fact in question” and states that such
knowledge may be “inferred from circumstances.” 438 The comment to FRPC 4-4.1 states that
“[m]isrepresentations can also occur by partially true but misleading statements or omissions that
are the equivalent of affirmative false statements.” The comment references FRPC 4-8.4 “[f]or
dishonest conduct that does not amount to a false statement.” Like FRPC 4-4.1(a), Rule 4-8.4(c)
requires evidence that the attorney knew the statement in question was false. Under FRPC
4-8.4(c), the intent requirement can be satisfied “merely by showing that the conduct was
deliberate or knowing” and the “motive underlying the lawyer’s conduct is not determinative;
instead the issue is whether he or she purposefully acted.” 439 In Feinberg, the court concluded that
the prosecutor violated FRPC 4-4.1 and 4-8.4(c) and (d) by deliberately making untruthful
statements to a defense attorney, despite evidence that the prosecutor intended to help the
defendant by making the statements. 440 In this case, Villafaña was fully aware of the signed NPA
when she interviewed the victims on January 31 and February 1, 2008, and when she spoke to
Edwards on the telephone, but she did not inform them specifically of the signed NPA. The
question is whether this omission amounted to a knowing false statement or misrepresentation.

        One difficulty is determining what Villafaña actually said during conversations that
participants were asked to recall many years later. With respect to three of the victims whom she
interviewed in January and February 2008, Villafaña contended that she discussed the agreement
with them, even if she did not specifically refer to it as the NPA or discuss all of its terms, and as

437
        Wild, 955 F.3d at 1199-1200.
438
        See R. Regulating Fla. Bar 4-Preamble: A Lawyer’s Responsibilities, “Terminology.”
439
         Florida Bar v. Schwartz, 284 So. 3d 393, 396 (Fla. 2019) (citing Florida Bar v. Berthiaume, 78 So. 3d 503,
510 n.2 (Fla. 2011); Florida Bar v. Riggs, 944 So. 2d 167, 171 (Fla. 2006); Florida Bar v. Smith, 866 So. 2d 41, 46
(Fla. 2004)).
440
        Florida Bar v. Feinberg, 760 So. 2d 933, 937-38 (Fla. 2000).


                                                       277
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 304 of 348




previously noted, there is some contemporaneous evidence supporting her assertion. Villafaña’s
mention of the agreement, even if not described in specific terms, would have been sufficient to
apprise those victims of the status of the federal investigation.

        Nevertheless, Villafaña did not recall discussing the NPA specifically or in general terms
with other victims interviewed at that time, nor did she do so with Edwards or any other victim’s
attorney. OPR therefore considered whether the omission of information about the existence of
the NPA during these interactions rose to the level of professional misconduct in violation of FRPC
4-4.1 or 4-8.4. 441

         OPR evaluated Villafaña’s conduct in light of the comment to FRPC 4-4.1:

                  A lawyer is required to be truthful when dealing with others on a
                  client’s behalf, but generally has no affirmative duty to inform an
                  opposing party of relevant facts. A misrepresentation can occur if
                  the lawyer incorporates or affirms a statement of another person that
                  the lawyer knows is false. Misrepresentations can also occur by
                  partially true but misleading statements or omissions that are the
                  equivalent of affirmative false statements.

The victims and their attorneys were certainly not “opposing part[ies]” to the USAO, but the
comment indicates that the rule recognizes that omissions made during discussions with third
parties, even of relevant facts, are not always treated as false statements.

        Here, the evidence does not show that Villafaña knowingly made an affirmative false
statement to the victims or Edwards or that her omissions were “the equivalent of affirmative false
statements” about material facts. First, Villafaña told OPR that she believed the investigation was
ongoing and her statement to that effect truthful, and as discussed earlier in this Chapter, the
evidence shows that Villafaña and the agents did continue to investigate the case until Epstein
entered his guilty plea in state court in June 2008. Villafaña’s email correspondence with her
supervisors reflects her strong advocacy during that timeframe to declare Epstein in breach and to
charge him. The evidence similarly does not show that Villafaña knowingly made any affirmative
false statement to Edwards when she informed him of the state court plea, although she declined
to provide additional information in response to his questions. 442

        Second, in reaching its conclusion, OPR considered the full context in which Villafaña
interacted with the victims and Edwards. Prosecutors routinely make decisions about what
information will be disclosed to witnesses, including victims, for a variety of strategic reasons. In
many cases, prosecutors must make difficult decisions about providing information to witnesses,

441
         In Florida Bar v. Joy, the court affirmed a referee’s conclusion that Joy violated FRPCs 4-4.1(a) and 4-8.4(c)
“for making false statements by omission of material facts in his representations [to counsel].” Florida Bar v. Joy,
679 So. 2d 1165, 1166-68 (Fla. 1996). See also Florida Bar re Webster, 647 So. 2d 816 (Fla. 1994) (petition for
reinstatement denied due to “misrepresentation by omission”).
442
          In Feinberg, 760 So. 2d at 938, the court found that an Assistant State Attorney lacked candor and violated
ethics rules when, after meeting with a defendant outside his attorney’s presence, the prosecutor falsely stated to the
defense attorney that he (the prosecutor) had not met with the defendant.


                                                         278
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 305 of 348




and they often cannot fully reveal either the facts or the status of an investigation, even with
victims. The 2005 Guidelines advise that in consulting with a victim, prosecutors may be limited
in their disclosures: “Because victims are not clients, may become adverse to the Government,
and may disclose whatever they have learned from consulting with prosecutors, such consultations
may be limited to gathering information from victims and conveying only nonsensitive data and
public information.” 443

        Villafaña’s concern about generating potential impeachment evidence by informing
victims of their potential to recover monetary damages from Epstein was not unreasonable.
Indeed, the case agents initially raised the impeachment issue, and after considering the problem,
Villafaña agreed with the agents’ concerns. Villafaña raised those concerns with the USAO’s
Professional Responsibility Officer in October 2007 after the agents brought the issue to her
attention, and she ultimately raised the issue with Sloman and Acosta as well, neither of whom
advised her that those concerns were improper or unsound. OPR also considered that although
Villafaña had sought to notify the victims in writing of the NPA soon after it was signed, her
supervisor, the U.S. Attorney, had decided otherwise. When authorized to inform Edwards of the
scheduled change of plea hearing, she did so. Although she did not inform Edwards that the plea
was part of a global resolution that would end the federal investigation, the evidence does not show
that Villafaña acted for the purpose of deceiving Edwards or preventing him from attending the
hearing. Had she sought to exclude him from the state proceedings, she could have elected not to
inform Edwards at all, or she could have discouraged him from attending the state proceedings.
Rather, as Edwards confirmed, Villafaña told him the hearing was “important.” Villafaña sought
to strike a difficult balance of securing Edwards’s (and his clients’) attendance at the state court
plea, while obeying her management’s directive that informing victims of the resolution of the
federal investigation should not be done until completion of the state plea.

         Therefore, after carefully considering all of the circumstances, OPR concludes that the
evidence does not establish that Villafaña violated her obligations under FRPC 4-4.1 or 4-8.4(c)
or (d). 444 Nonetheless, as discussed below, Villafaña’s interactions with victims and victims’
attorneys without informing them of the NPA and the potential conclusion of the federal
investigation contributed to the likelihood that the victims would feel that the government was




443
          2005 Guidelines, Art. IV, ¶ B.2.c(1). As noted, some victims continued to express favorable views of Epstein
during interviews with the government and they, or their attorneys, could have provided information to Epstein about
the government’s communications. For example, within a day of Villafaña contacting a victim’s attorney about a
potential victim notification letter, Starr complained to Acosta that the government had recently inappropriately
provided “oral notification of the victim notification letter” to one girl’s attorney, even though it was clear from the
girl’s recorded FBI interview that she “did not in any manner view herself as a victim.”
444
          The case most directly on point is Smith, 109 A.3d 1184, in which the Maryland Court of Appeals affirmed
a violation of Maryland Rule of Professional Conduct 8.4(d) based on a prosecutor’s failure to notify the victim of the
resolution of a sex abuse case. However, as noted previously, in Smith, the criminal defendant had been arrested and
charged before entering a plea, and various specific statutes afforded victims the right to receive notices and an
opportunity to be heard concerning “a case originating by indictment or information in a circuit court.” In this case,
for the reasons previously discussed, Villafaña did not have a clear and unambiguous obligation to inform the victims
or Edwards of the NPA.


                                                         279
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 306 of 348




intentionally concealing information from them and was part of a series of interactions with
victims that led to condemnation of the government’s treatment of victims. 445

VI.     THE GOVERNMENT FAILED TO TREAT VICTIMS FORTHRIGHTLY AND
        WITH SENSITIVITY WHEN IT FAILED TO TIMELY PROVIDE VICTIMS
        WITH IMPORTANT INFORMATION ABOUT THE RESOLUTION OF THE
        FEDERAL INVESTIGATION

        Although OPR does not conclude that any of the subjects committed professional
misconduct, either by failing to consult with the victims before the NPA was signed or in
interactions afterwards, OPR’s findings are not an endorsement of the government’s course of
action. The government’s interactions with victims confused and frustrated many of the victims,
particularly the two CVRA petitioners and the two victims who had unsuccessfully attempted to
join in the CVRA litigation. As a result, the victims’ and the public’s perception of the matter is
that the prosecutors worked with Epstein’s attorneys to disenfranchise and silence the victims. It
is unfortunate, and appears fundamentally unfair to the victims, that Acosta and Sloman (after
Menchel and Lourie departed) took the unusual step of deciding to vet the USAO victim
notification letters with the defense after the NPA was signed, but failed to go beyond the
requirements of the CVRA or the 2005 Guidelines to consult with the victims before the NPA was
signed. This result is contrary to the Department’s intent, as set forth in the 2005 Guidelines, that
Department employees work to “minimize the frustration and confusion that victims of crime
endure in its wake.” When considering the entirety of the government’s interactions with victims,
OPR concludes that victims were not treated with the forthrightness and sensitivity expected by
the Department.

        Wild’s criticisms of the government’s conduct were based on interactions that are similar
to and generally representative of the government’s interactions with other Epstein victims and
that demonstrate an overall lack of sensitivity to the victims by the government. Wild experienced
a series of confusing and inconsistent communications in her interactions with Villafaña and the
case agents. Wild received Villafaña’s letter in June 2007 stating inaccurately that she was a
federal victim entitled to CVRA rights. She was interviewed by the FBI in August 2007 but was
not told that a potential outcome was a state plea. Shortly after the September 24, 2007 signing of
the NPA, the FBI contacted her to inform her of the resolution of the federal case. Nonetheless,
on January 10, 2008, the FBI sent her a victims’ rights letter indicating that the case was under
investigation and that some of her CVRA rights may not apply until after the defendant was
charged. On January 31, 2008, Villafaña re-interviewed Wild, along with a CEOS attorney and
the FBI agents, and told Wild that the case was under investigation, but did not specifically mention
the NPA, although she may have mentioned a possible resolution. In mid-June 2008, when
Edwards contacted Villafaña on Wild’s behalf, Villafaña informed him that the case was under
investigation but did not mention the NPA. Just before Epstein’s June 30, 2008 state court plea,

445
         OPR notes that, similar to Villafaña, Sloman interacted with a victim’s attorney during the time period
between the signing of the NPA and Epstein’s state guilty plea. In January 2008, Sloman received a telephone call
from his former law partner, who represented one of the victims and who asked Sloman whether the federal
government could bring charges against Epstein. Sloman, concerned about the potential for conflict of interest
allegations due to his prior business relations with the attorney, refused to answer any questions regarding Epstein.
Because Sloman refused to provide any information, OPR found no basis for finding that Sloman misled the attorney.


                                                        280
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 307 of 348




Villafaña informed Edwards about the state plea, but did not mention the NPA or the fact that the
state pleas would resolve the federal investigation. Edwards then filed the CVRA petition and
learned about the NPA signed months earlier and that the federal investigation of Epstein had
concluded with Epstein’s state guilty pleas. Wild only received access to the NPA when a judge
permitted it in August 2008 pursuant to a protective order. After considering this series of
interactions, it is not surprising that Wild came away from the experience feeling confused and
believing she had been misled.

        OPR did not find evidence supporting a conclusion that Villafaña, Acosta, Sloman,
Menchel, or Lourie opted not to consult with the victims in order to protect Epstein or shield the
NPA from public scrutiny. Although neither Sloman nor Acosta could recall a specific discussion
of CVRA obligations before the NPA was signed, both recalled knowing that victim consultation
was not required, and Menchel also told OPR that consultation was not required, at least not up to
the point when he left the USAO. The evidence is clear that Villafaña sought at various points to
consult with and to notify victims about the details of the NPA but was constrained before the
NPA was signed by managers who either made a decision to not consult victims or did not address
the issue after it was raised, and after the signing by her own concern about creating possible
impeachment evidence that would damage the victims’ credibility at a possible trial.

        Nonetheless, a more open and straightforward approach with the victims, both before and
after the signing of the NPA, would have been the better practice. Before the NPA was signed,
victims could have been asked for their views about the general terms the USAO was
contemplating offering, including that a plea to state charges was one of the options being
considered; asked for their views in general about a guilty plea; or, at a minimum, asked to share
their views of how the case should be resolved. Even if the USAO ultimately determined to
proceed with the NPA, the government would have had the benefit of the victims’ thoughts and
concerns, particularly on the issue of punishment, and victims would have felt included in the
process. OPR found no evidence that the benefits of victim consultation were discussed or
considered before the NPA was signed.

        After the NPA was signed, no one from the government explained the agreement to the
majority of the victims until months later and only after the entry of Epstein’s guilty plea.
Although the evidence supports Villafaña’s assertion that she acted from a good faith belief that
Epstein might breach the NPA and a potential trial would be harmed if information about the NPA
was divulged to the victims and their counsel, she, Sloman, and Acosta failed to consider how the
desire to shield the victims from that potential impeachment might impact the victims’ sense of
the openness and fairness of the process. As Wild stated during the CVRA litigation, she believed
she had been “mistreated in the process.” When deciding not to inform the victims of the NPA to
avoid creating impeachment evidence, Villafaña, Sloman, and Acosta do not appear to have
carefully considered possible alternatives to, or all of the ramifications of, that decision, nor did
they revisit the decision before Villafaña met the victims in person to discuss a potential trial or
spoke to Edwards or other attorneys representing victims. 446 Furthermore, more attention needed

446
         It is not at all clear whether a court would have permitted impeachment of the victims concerning one
provision in a plea agreement that otherwise could not be used as evidence. See Fed. R. Crim. P. 11(f) (“The
admissibility or inadmissibility of a plea, a plea discussion, and any related statement is governed by Federal Rule of
Evidence 410.”). In any case, the victims could have been impeached regarding the possibility of their obtaining
monetary damages through either a civil suit or through 18 U.S.C. § 2255 (if Epstein were convicted after a trial),

                                                         281
      Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 308 of 348




to be paid to the FBI’s communications to ensure that the victims were receiving accurate and
timely information that was consistent with the status of the case and with the USAO’s
communications with victims. 447

         The decision not to inform victims and their attorneys about the existence of the NPA gave
victims and the public the misimpression that the government had colluded with Epstein’s counsel
to keep the agreement secret from the victims. Moreover, the lack of openness about the NPA
gave the impression that the USAO lacked sensitivity for the victims in resolving the matter and
undercut public confidence in the legitimacy of the resulting plea agreement. The overall result of
the subjects’ anomalous handling of this case left at least some of the victims feeling ignored and
frustrated, failed to promote their healing process, and resulted in extensive public criticism.
Although OPR credits Villafaña’s statements that she wanted to go beyond her obligations in
dealing with victims, the end result nonetheless was that communications with victims were not
prioritized by the USAO. In part this was due to the fact that interactions with victims are generally
handled by staff in the USAO and the FBI who are trained and have expertise in dealing with
victims and other witnesses. However, decisions made by Acosta, Sloman, and Villafaña also
contributed to the problems. The government, as it ultimately acknowledged in the CVRA
litigation, could have, and should have, engaged with the victims in a more transparent and unified
fashion.

        OPR recognizes that the Epstein investigation occurred soon after the passage of the
CVRA. In the years since, the Department’s prosecutors and personnel have become more familiar
with its provisions. OPR encourages the Department as a whole to take the issues discussed above
into account when providing training and direction to its employees regarding victims’ rights to
ensure that in the future, Department attorneys’ actions promote victim inclusion whenever
possible. 448 For example, although the division of responsibility between the FBI and the USAO
for communicating with victims works efficiently and appropriately in the average case, the USAO
failed to consider that in a case involving a pre-charge disposition, the victims were receiving
inconsistent and confusing communications from the separate entities. In certain cases, such as the
Epstein case, prosecutors may need to provide more oversight when multiple Department
components are communicating with victims to avoid providing confusing and contradictory
messages.



independent of the NPA provision. OPR also notes that impeachment regarding the NPA provision may have
permitted the government to rehabilitate the victims through their prior statements to law enforcement. In other words,
while the USAO’s view concerning potential impeachment was not unreasonable, more extensive consideration of the
case agent’s concerns might have led the prosecutors to conclude that the risk of the information being used to
significantly damage the credibility of the victims was low.
447
          In addition to the FBI letters previously discussed, another example of the inconsistent communication can
be seen in letters that were to be sent after Epstein entered his guilty plea to two victims residing in foreign countries.
Although OPR was unable to confirm that the two victims actually received the letters, it appears from the records
OPR reviewed that the government intended to provide them with a standard FBI letter stating that the case was under
investigation while also providing them with a USAO letter stating that the case had been resolved through Epstein’s
state guilty plea.
448
         OPR understands that the Department is in the process of revising the 2011 Guidelines.


                                                           282
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 309 of 348




                                        CONCLUSION
        In November 2018, the Miami Herald published an extensive investigative report about
state and federal criminal investigations initiated more than 12 years earlier into allegations that
Jeffrey Epstein, a wealthy financier with residences in Florida, New York, and other United States
and foreign locations, had coerced girls into engaging in sexual activity with him at his Palm
Beach, Florida estate. The Miami Herald reported that in 2007, the U.S. Attorney for the Southern
District of Florida, R. Alexander Acosta, entered into an “extraordinary” deal with Epstein that
permitted Epstein to avoid federal prosecution and a potentially lengthy prison sentence by
pleading guilty in state court to “two prostitution charges,” immunized from prosecution Epstein’s
co-conspirators, and concealed from Epstein’s victims the terms of the NPA.

        Following the Miami Herald’s report, and after receiving a Congressional request to
investigate, OPR initiated an investigation into the allegations that prosecutors in the USAO
improperly resolved the federal investigation into the criminal conduct of Jeffrey Epstein by
negotiating and executing the NPA. OPR subsequently included in its investigation allegations
stemming from judicial criticism of the government’s conduct relating to federal prosecutors’ and
law enforcement agents’ interactions with Epstein’s victims. In July 2008, a victim, later joined
by a second victim, filed in federal court in the Southern District of Florida an emergency petition
for enforcement of her rights under the CVRA. In February 2019, the district court found that the
government violated the CVRA by failing to advise victims about its intention to enter into the
NPA. The court also found that letters the government sent to victims after the NPA was signed,
describing the investigation as ongoing, were misleading.

        During the course of its investigation, OPR obtained and reviewed hundreds of thousands
of records from the USAO, the FBI, and other Department of Justice components. The records
included emails, letters, memoranda, and investigative materials. OPR also collected and reviewed
materials relating to the state investigation and prosecution of Epstein, including sealed pleadings,
grand jury transcripts, and grand jury audio recordings; examined extensive publicly available
information, including depositions, pleadings, orders, and other court records; and reviewed media
reports and interviews, articles, podcasts, and books relating to the Epstein case. OPR conducted
more than 60 interviews of witnesses, including the FBI case agents, their supervisors, and FBI
administrative personnel; current and former USAO staff and attorneys; current and former
Department attorneys and senior managers; and the former State Attorney and Assistant State
Attorney in charge of the state investigation of Epstein. OPR also interviewed or received written
information from several victims and attorneys representing victims concerning victim contacts
with the USAO and federal law enforcement.

         OPR identified the following five former USAO attorneys as subjects of its investigation
based on information indicating that each of them was involved in the decision to resolve the case
through the NPA or in the negotiations leading to the agreement: former U.S. Attorney
R. Alexander Acosta, and former AUSAs Jeffrey H. Sloman, Matthew I. Menchel, Andrew C.
Lourie, and Ann Marie C. Villafaña. Each subject submitted written responses detailing their
involvement in the federal investigation of Epstein, the drafting and execution of the NPA, and
decisions relating to victim notification and consultation. OPR conducted extensive interviews of
all five subjects. The subjects also submitted comments on OPR’s draft report.

                                                283
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 310 of 348




        OPR evaluated the conduct of each subject based on his or her individual role in various
decisions and events and assessed that conduct pursuant to OPR’s analytical framework. OPR
found that Acosta made the pivotal decision to resolve the federal investigation of Epstein through
a state-based plea and either developed or approved the terms of the initial offer to the defense that
set the beginning point for the subsequent negotiations that led to the NPA. Although Acosta did
not sign the NPA, he participated in its drafting and approved it, with knowledge of its terms.
Therefore, OPR considers Acosta to be responsible for the NPA and for the actions of the other
subjects who implemented his decisions.

        Based on its extensive investigation, OPR concludes that the subjects did not commit
professional misconduct with respect to the development, negotiation, and approval of the NPA.
Under OPR’s framework, professional misconduct requires a finding that a subject attorney
intentionally or recklessly violated a clear and unambiguous standard governing the conduct at
issue. OPR found no clear and unambiguous standard that required Acosta to indict Epstein on
federal charges or that prohibited his decision to defer prosecution to the state. Furthermore, none
of the individual terms of the NPA violated Department or other applicable standards.

         As the U.S. Attorney, Acosta had the “plenary authority” under established federal law and
Department policy to resolve the case as he deemed necessary and appropriate, as long as his
decision was not motivated or influenced by improper factors. Acosta’s decision to decline to
initiate a federal prosecution of Epstein was within the scope of his authority, and OPR did not
find evidence that his decision was based on corruption or other impermissible considerations,
such as Epstein’s wealth, status, or associations. Evidence shows that Acosta resisted defense
efforts to have the matter returned to the state for whatever result state authorities deemed
appropriate, and he refused to eliminate the incarceration and sexual offender registration
requirements. OPR did not find evidence establishing that Acosta’s “breakfast meeting” with one
of Epstein’s defense counsel in October 2007 led to the NPA, which had been signed weeks earlier,
or to any other significant decision that benefited Epstein. The contemporaneous records show
that USAO managers’ concerns about legal issues, witness credibility, and the impact of a trial on
the victims led them to prefer a pre-charge resolution and that Acosta’s concerns about the proper
role of the federal government in prosecuting solicitation crimes resulted in his preference for a
state-based resolution. Accordingly, OPR does not find that Acosta engaged in professional
misconduct by resolving the federal investigation of Epstein in the way he did or that the other
subjects committed professional misconduct through their implementation of Acosta’s decisions.

        Nevertheless, OPR concludes that Acosta’s decision to resolve the federal investigation
through the NPA constitutes poor judgment. Although this decision was within the scope of
Acosta’s broad discretion and OPR does not find that it resulted from improper factors, the NPA
was a flawed mechanism for satisfying the federal interest that caused the government to open its
investigation of Epstein. In Acosta’s view, the federal government’s role in prosecuting Epstein
was limited by principles of federalism, under which the independent authority of the state should
be recognized, and the federal responsibility in this situation was to serve as a “backstop” to state
authorities by encouraging them to do more. However, Acosta failed to consider the difficulties
inherent in a resolution that relied heavily on action by numerous state officials over whom he had
no authority; he resolved the federal investigation before significant investigative steps were
completed; and he agreed to several unusual and problematic terms in the NPA without the
consideration required under the circumstances. In sum, Acosta’s application of federalism

                                                 284
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 311 of 348




principles was too expansive, his view of the federal interest in prosecuting Epstein was too
narrow, and his understanding of the state system was too imperfect to justify the decision to use
the NPA. Furthermore, because Acosta assumed a significant role in reviewing and drafting the
NPA and the other three subjects who were supervisors left the USAO, were transitioning to other
jobs, or were absent at critical junctures, Acosta should have ensured more effective coordination
and communication during the negotiations and before approving the final NPA. The NPA was a
unique resolution, and one that required greater oversight and supervision than Acosta provided.

        OPR further concludes that none of the subject attorneys committed professional
misconduct with respect to the government’s interactions with victims. The subjects did not
intentionally or recklessly violate a clear and unambiguous duty under the CVRA by entering into
the NPA without consulting with victims, because the USAO resolved the Epstein investigation
without a federal criminal charge. Significantly, at the time the NPA was signed, the Department
did not interpret CVRA rights to attach unless and until federal charges had been filed, and the
federal courts had not established a clear and unambiguous standard applying the CVRA before
criminal charges were brought. In addition, OPR did not find evidence that the lack of consultation
was for the purpose of silencing victims. Nonetheless, the lack of consultation was part of a series
of government interactions with victims that ultimately led to public and court condemnation of
the government’s treatment of the victims, reflected poorly on the Department as a whole, and is
contradictory to the Department’s mission to minimize the frustration and confusion that victims
of a crime endure.

         OPR determined that none of the subjects was responsible for communications sent to
certain victims after the NPA was signed that described the case as “under investigation” and that
failed to inform them of the NPA. The letters were sent by an FBI administrative employee who
was not directly involved in the investigation, incorporated standard form language used by the
FBI when communicating with victims, and were not drafted or reviewed by the subjects.
Moreover, the statement that the matter was “under investigation” was not false because the
government in fact continued to investigate the case in anticipation that Epstein would not fulfill
the terms of the NPA. However, the letters risked misleading the victims and contributed to victim
frustration and confusion by failing to provide important information about the status of the
investigation. The letters also demonstrated a lack of coordination between the federal agencies
responsible for communicating with Epstein’s victims and showed a lack of attention to and
oversight regarding communication with victims.

        After the NPA was signed, Acosta elected to defer to the State Attorney the decision
whether to notify victims about the state’s plea hearing pursuant to the state’s own victim’s rights
requirements. Although Acosta’s decision was within his authority and did not constitute
professional misconduct, OPR concludes that Acosta exercised poor judgment when he failed to
make certain that the state intended to and would notify victims identified through the federal
investigation about the state plea hearing. His decision left victims uninformed about an important
proceeding that resolved the federal investigation, an investigation about which the USAO had
communicated with victims for months. It also ultimately created the misimpression that the
Department intentionally sought to silence the victims. Acosta failed to ensure that victims were
made aware of a court proceeding that was related to their own cases, and thus he failed to ensure
that victims were treated with forthrightness and dignity.


                                                285
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 312 of 348




         OPR concludes that the decision to postpone notifying victims about the terms of the NPA
after it was signed and the omission of information about the NPA during victim interviews and
conversations with victims’ attorneys in 2008 do not constitute professional misconduct.
Contemporaneous records show that these actions were based on strategic concerns about creating
impeachment evidence that Epstein’s victims had financial motives to make claims against him,
evidence that could be used against victims at a trial, and were not for the purpose of silencing
victims. Nonetheless, the failure to reevaluate the strategy prior to interviews of victims and
discussions with victims’ attorneys occurring in 2008 led to interactions that contributed to
victims’ feelings that the government was intentionally concealing information from them.

        After examining the full scope and context of the government’s interactions with victims,
OPR concludes that the government’s lack of transparency and its inconsistent messages led to
victims feeling confused and ill-treated by the government; gave victims and the public the
misimpression that the government had colluded with Epstein’s counsel to keep the NPA secret
from the victims; and undercut public confidence in the legitimacy of the resulting agreement. The
overall result of the subjects’ anomalous handling of this case understandably left many victims
feeling ignored and frustrated and resulted in extensive public criticism. In sum, OPR concludes
that the victims were not treated with the forthrightness and sensitivity expected by the
Department.




                                               286
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 313 of 348




                                     METHODOLOGY
       A.      Document Review

       As referenced in the Executive Summary, OPR obtained and reviewed hundreds of
thousands of pages of documents from the U.S. Attorney’s Office for the Southern District of
Florida (USAO), other U.S. Attorney’s offices, the FBI, and other Department components,
including the Office of the Deputy Attorney General, the Criminal Division, and the Executive
Office for U.S. Attorneys (EOUSA). The categories of documents reviewed by OPR, and their
sources, are set forth below.

               1.      USAO Records

        The USAO provided OPR with access to all of its records from its handling of the Epstein
investigation and the CVRA litigation. The records included, but were not limited to, boxes of
material that Villafaña updated and maintained through the course of both actions, which contained
pleadings from the Epstein investigation, the CVRA litigation, and other related cases; extensive
compilations of internal and external correspondence, including letters and emails; evidence such
as telephone records, FBI reports, material received from the state investigation, and other
confidential investigative records; court transcripts; investigative transcripts; prosecution team
handwritten notes; research material; and draft and final case documents such as the NPA,
prosecution memoranda, and federal indictments.

        The USAO also provided OPR with access to filings, productions, and privileged material
in the CVRA litigation; Outlook data collected to respond to production requests in that case; a set
of Epstein case documents maintained by Acosta and Sloman; computer files regarding the Epstein
case collected by Sloman; Villafaña’s Outlook data; Acosta’s hard drive; and the permanently
retained official U.S. Attorney records of Acosta held by the Federal Records Center.

               2.      EOUSA Records

        EOUSA provided OPR with Outlook data from all five subjects and six additional
witnesses. This information, dating back to 2005, included all inbox, outbox, sent, deleted, and
saved emails, and calendar entries that it maintained. EOUSA provided OPR with over 850,000
Outlook records in total (not including email attachments or excluding duplicate records). OPR
identified key time periods and fully reviewed those records. OPR applied search terms to the
remainder of the records and reviewed any responsive documents.

        After reviewing the emails, OPR identified a data gap in Acosta’s email records: his inbox
contained no emails from May 26, 2007, through November 2, 2008. This gap, however, was not
present with respect to Acosta’s sent email. OPR requested that EOUSA investigate. During its
investigation, EOUSA discovered a data association error that incorrectly associated Acosta’s data
with an unrelated employee who had a similar name. Once the data was properly associated,
EOUSA found and produced 11,248 Acosta emails from April 3, 2008, through the end of his
tenure at the USAO. However, with respect to the remaining emails, EOUSA concluded that the
emails were not transferred from the USAO when, in 2008 and 2009, Outlook data for all U.S.


                                                287
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 314 of 348




Attorney’s Offices was migrated to EOUSA’s centralized system to be maintained. The USAO’s
data was migrated between March and June 2008.

         EOUSA and OPR separately confirmed with the USAO that it was unable to locate any
additional emails. OPR questioned Acosta, as well as numerous administrative staff, about the
email gap. Acosta and the witnesses denied having any knowledge of the problem, or that they or,
to their knowledge, anyone else made any efforts to intentionally delete the emails. In addition, at
OPR’s request, EOUSA conducted an analysis of records migrated from four other U.S. Attorney’s
Offices and found that each office provided data that also contained significant gaps in their U.S.
Attorney email records, although the time periods varied for each office. OPR found no evidence
indicating that the gap in Acosta’s emails was caused by any intentional act or for the purpose of
concealing evidence relating to the Epstein investigation and concludes that it was most likely the
result of a technological error.

       Although a gap in Acosta’s email inbox from May 26, 2007, through April 2, 2008,
remained, OPR was nonetheless able to examine a significant number of Acosta’s emails from this
time due to the extensive case files kept by the USAO; the availability of Acosta’s sent email,
which did not contain a similar gap; and the availability of emails of other USAO subjects and
witnesses who were included on emails with Acosta.

               3.      Federal Bureau of Investigation Records

        OPR worked with the FBI’s Palm Beach Office, including with two case agents and the
Victim Witness Specialist who worked on the Epstein matter, to obtain relevant FBI documents.
In addition, the FBI searched its Automated Case Support system and also provided documentation
concerning its victim notification system.

               4.      Criminal Division Records

       The Office of the Assistant Attorney General for the Criminal Division provided OPR with
Outlook data for the four individuals from that Office who examined issues connected to the
USAO’s Epstein investigation. The data included the individuals’ inbox, outbox, sent, deleted,
and saved emails, and calendar entries.

        CEOS also provided OPR with Outlook data for the four individuals from that office who
worked on, or examined issues connected to, the USAO’s Epstein investigation. The data included
the individuals’ inbox, outbox, sent, deleted, and saved emails. CEOS also conducted a check of
its shared hard drive and provided documents that were potentially relevant to OPR’s investigation.

               5.      Office of the Deputy Attorney General Records

       OPR obtained Outlook data for the three individuals from the Office of the Deputy
Attorney who examined issues connected to the USAO’s Epstein investigation, including the
former Deputy Attorney General. The data included the individuals’ inbox, outbox, sent, deleted,
and saved emails, and calendar entries.



                                                288
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 315 of 348




               6.      U.S. Attorney’s Office for the Middle District of Florida Records

        The U.S. Attorney’s Office for the Middle District of Florida provided OPR with records
related to its review of evidence against Epstein, after he concluded his Florida state sentence,
when the Department recused the USAO in August 2011 from “all matters, to include the
investigation and potential prosecution, relating to Jeffrey Epstein’s alleged sexual activities with
minor females,” and assigned the matter to the Middle District of Florida U.S. Attorney’s Office
for further consideration. The records included a declination of the matter due to the NPA.

               7.      U.S. Attorney’s Office for the Northern District of Georgia Records

        The U.S. Attorney’s Office for the Northern District of Georgia provided OPR with records
related to its work on the CVRA litigation after the recusal of the USAO.

               8.      Public Records

        OPR obtained and reviewed a variety of public records, including publicly released records
of the Palm Beach Police Department, the State Attorney’s Office for the 15th Judicial Circuit,
and the Palm Beach Sheriff’s Office; documents pertaining to the CVRA litigation and other court
proceedings involving Epstein and related individuals; and books and media reports.

       B.      Information from Subjects, Witnesses, and Victims

               1.      Subjects

        OPR requested that all five subjects provide written responses detailing their involvement
in the federal investigation of Epstein, the drafting and execution of the NPA, and decisions
relating to victim notification and consultation. In addition, OPR conducted extensive interviews
of each subject under oath and before a court reporter. Each subject was represented by counsel
and had access to relevant contemporaneous documents before the subject’s OPR interview. The
subjects reviewed and provided comments on their interview transcripts and on OPR’s draft report.

               2.      Witnesses

        OPR conducted more than 60 interviews of witnesses, including the FBI case agents, their
supervisors, and FBI administrative personnel. OPR interviewed current and former USAO staff
and attorneys and current and former Department attorneys and senior managers, including former
Deputy Attorney General Mark Filip and former Assistant Attorney General for the Criminal
Division Alice Fisher. OPR also interviewed former State Attorney Barry Krischer and former
Assistant State Attorney Lanna Behlolovick.

               3.      Communications with Victims and Victims’ Attorneys

       OPR contacted attorneys known to represent 26 victims among the 30 surviving individuals
who were identified in the USAO’s July 2008 listing of 32 victims the USAO was prepared to
include in federal charges against Epstein and who accordingly were entitled to the benefits of the
18 U.S.C. § 2255 monetary damages provision of the NPA. OPR contacted the attorneys to invite

                                                289
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 316 of 348




the victims to provide OPR with information regarding their contacts with, and notification
received from, the FBI and USAO, during the period before the NPA was signed or before
Epstein’s state plea hearing, about the status of the federal investigation, about Epstein’s state plea,
or about the NPA. OPR received information from or pertaining to 13 victims.




                                                 290
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 317 of 348




               EXHIBIT 1
              State Indictment
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 318 of 348




                   [Page Intentionally Left Blank]
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 319 of 348
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 320 of 348




                   [Page Intentionally Left Blank]
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 321 of 348




               EXHIBIT 2
        September 6, 2007
       Draft Non‐Prosecution
             Agreement
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 322 of 348




                   [Page Intentionally Left Blank]
    Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 323 of 348




IN RE:
INVESTIGATION OF
JEFFREY EPSTEIN
___________________________/



                          NON-PROSECUTION AGREEMENT

      IT APPEARING that Jeffrey Epstein (hereinafter “Epstein”) is reported to have
committed offenses against the United States from in or around 2001 through in or around
October 2005, including:

      (1)    knowingly and willfully conspiring with others known and unknown to commit
             an offense against the United States, that is, to use a facility or means of interstate
             or foreign commerce to knowingly persuade, induce, or entice minor females to
             engage in prostitution, in violation of Title 18, United States Code, Section
             2422(b); all in violation of Title 18, United States Code, Section 371;

      (2)    knowingly and willfully conspiring with others known and unknown to travel in
             interstate commerce for the purpose of engaging in illicit sexual conduct, as
             defined in 18 U.S.C. § 2423(f), with minor females, in violation of Title 18,
             United States Code, Section 2423(b); all in violation of Title 18, United States
             Code, Section 2423(e);

      (3)    using a facility or means of interstate or foreign commerce to knowingly
             persuade, induce, or entice minor females to engage in prostitution; in violation of
             Title 18, United States Code, Sections 2422(b) and 2;

      (4)    traveling in interstate commerce for the purpose of engaging in illicit sexual
             conduct, as defined in 18 U.S.C. § 2423(f), with minor females; in violation of
             Title 18, United States Code, Section 2423(b); and

      (5)    knowingly, in and affecting interstate and foreign commerce, recruiting, enticing,
             and obtaining by any means a person, knowing that the person had not attained
             the age of 18 years and would be caused to engage in a commercial sex act as
             defined in 18 U.S.C. § 1591(c)(1); in violation of Title 18, United States Code,
             Sections 1591(a)(1) and 2; and

      IT APPEARING that Epstein has accepted responsibility for his behavior by his

                                          1  4
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 324 of 348




signature on this Agreement; and

        IT APPEARING, after an investigation of the offenses and Epstein’s background, that
the interest of the United States and Epstein’s own interest and the interest of justice will be
served by the following procedure;

       THEREFORE, on the authority of R. Alexander Acosta, United States Attorney for the
Southern District of Florida, prosecution in this District for these offenses shall be deferred in
favor of prosecution by the State of Florida, provided that Epstein abides by the following
conditions and the requirements of this Agreement set out below.

       Should Epstein violate any of the conditions of this Agreement, the United States
Attorney may at any time initiate prosecution against Epstein for any offense. In this case, the
United States Attorney will furnish Epstein with notice specifying the conditions of the
Agreement which he has violated.

       After timely fulfilling all the terms and conditions of the Agreement, no prosecution for
the offenses set out on page 1 of this Agreement will be instituted in this District, and the
charges against Epstein if any, will be dismissed.

       Neither this Agreement nor any other document filed with the United States Attorney as
part of this Agreement will be used against Epstein, except for impeachment purposes, in
connection with any prosecution for the above-described offenses.

       Terms of the Agreement:

               1.     Epstein shall plead guilty (not nolo contendere) to an Information filed by
                      the State Attorney’s Office for the 15th Judicial Circuit in and for Palm
                      Beach County (hereinafter, the “State Attorney’s Office”) charging
                      violations of the following Florida Statutes:

                      (a)     lewd and lascivious battery on a child, in violation of Fl. Stat.
                              800.04(4);

                      (b)     solicitation of minors to engage in prostitution, in violation of Fl.
                              Stat. 796.03; and

                      (c)     engaging in sexual activity with minors at least sixteen years of
                              age, in violation of Fl. Stat. 794.05.

               2.     Epstein and the State Attorney’s Office shall make a joint, binding
                      recommendation that Epstein serve at least two years in prison, without
                      any opportunity for withholding adjudication or sentencing; and without
                      probation or community control in lieu of imprisonment.

                                           2  4
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 325 of 348




               3.     Epstein shall waive all challenges to the Information filed by the State
                      Attorney’s Office and shall waive the right to appeal his conviction and
                      sentence.

               4.     Epstein agrees that, if any of the victims identified in the federal
                      investigation file suit pursuant to 18 U.S.C. § 2255, Epstein will not
                      contest the jurisdiction of the U.S. District Court for the Southern District
                      of Florida over his person and/or the subject matter, and Epstein will not
                      contest that the identified victims are persons who, while minors, were
                      victims of violations of Title 18, United States Code, Sections(s) 2422
                      and/or 2423.

               5.     The United States shall provide Epstein’s attorneys with a list of the
                      identified victims, which will not exceed forty, after Epstein has signed
                      this agreement and entered his guilty plea. The United States shall make
                      a motion with the United States District Court for the Southern District of
                      Florida for the appointment of a guardian ad litem for the identified
                      victims and Epstein’s counsel may contact the identified victims through
                      that counsel.

               6.     Epstein shall enter his guilty plea and be sentenced not later than
                      September 28, 2007, and shall begin service of his sentence not later than
                      October 15, 2007.

        By signing this agreement, Epstein asserts and certifies that each of these terms is
material to this agreement and is supported by independent consideration and that a breach of
any one of these conditions allows the United States to elect to terminate the agreement and to
investigate and prosecute Epstein for any and all federal offenses.

        By signing this agreement, Epstein asserts and certifies that he is aware of the fact that
the Sixth Amendment to the Constitution of the United States provides that in all criminal
prosecutions the accused shall enjoy the right to a speedy and public trial. Epstein further is
aware that Rule 48(b) of the Federal Rules of Criminal Procedure provides that the Court may
dismiss an indictment, information, or complaint for unnecessary delay in presenting a charge to
the Grand Jury, filing an information, or in bringing a defendant to trial. Epstein hereby
requests that the United States Attorney for the Southern District of Florida defer such
prosecution. Epstein agrees and consents that any delay from the date of this Agreement to the
date of initiation of prosecution, as provided for in the terms expressed herein, shall be deemed
to be a necessary delay at his own request, and he hereby waives any defense to such prosecution
on the ground that such delay operated to deny him rights under Rule 48(b) of the Federal Rules
of Criminal Procedure and the Sixth Amendment to the Constitution of the United States to a
speedy trial or to bar the prosecution by reason of the running of the statute of limitations for a
period of months equal to the period between the signing of this agreement and the breach of this

                                           3  4
     Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 326 of 348




agreement. Epstein further asserts and certifies that he understands that the Fifth Amendment
and Rule 7(a) of the Federal Rules of Civil Procedure provide that all felonies must be charged
in an indictment presented to a grand jury. Epstein hereby agrees and consents that, if a
prosecution against him is instituted, it may be by way of an Information signed and filed by the
United States Attorney, and hereby waives his right to be indicted by a grand jury.

       By signing this agreement, Epstein asserts and certifies that the above has been read and
explained to him. Epstein hereby states that he understands the conditions of this
non-Prosecution Agreement and agrees to comply with them.



Dated: ___________                                  ____________________________________
                                                    Jeffrey Epstein


Dated: ___________                                  ____________________________________
                                                    Roy Black, Esq.
                                                    Counsel to Jeffrey Epstein

                                                    R. ALEXANDER ACOSTA
                                                    UNITED STATES ATTORNEY


Dated: ___________                                  ____________________________________
                                            By:     A. Marie Villafaña
                                                    Assistant United States Attorney




                                          4  4
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 327 of 348




               EXHIBIT 3
          September 24, 2007
           Non‐Prosecution
              Agreement
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 328 of 348




                   [Page Intentionally Left Blank]
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 329 of 348
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 330 of 348
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 331 of 348
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 332 of 348
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 333 of 348
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 334 of 348
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 335 of 348
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 336 of 348
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 337 of 348
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 338 of 348




                   [Page Intentionally Left Blank]
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 339 of 348




                    EXHIBIT 4
    Addendum to the
Non‐Prosecution Agreement
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 340 of 348




                   [Page Intentionally Left Blank]
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 341 of 348




INRE:

INVESTIGATION OF

JEFFREY EPSTEIN

__________.....                   (
ADDENDUM TO THE NON-PROSECUTION AGREEMENT
        IT APPEARING that the parties seek to clarify certain provisions of page 4, paragraph 7
of the Non-Prosecution Agreement (hereinafter "paragraph 7"), that agreement is modified as
follows:

7A.    The United States has the right to assign to an independent third-party the responsibility
       for consulting with and, subject to the good faith approval of Epstein's counsel, selecting
       the attorney representative for the individuals identified under the Agreement. If the
       United States elects to assign this responsibility to an independent third-party, both the
       United States and Epstein retain the right to make good faith objections to the attorney
       representative suggested by the independent third-party prior to the final designation of
       the attorney representative.

7B.     The parties will jointly prepare a short written submission to the independent third-party
        regarding the role ofthe attorney representative and regarding Epstein's Agreement to
        pay such attorney representative his or her regular customary hourly rate for representing
        such victims subject to the provisions of paragraph C, infra.

7C.     Pursuant to additional paragraph 7A, Epstein has agreed to pay the fees of the attorney
        representative selected by the independent third party. This provision, however, shall not
        obligate Epstein to pay the fees and costs of contested litigation filed against him. Thus,
        if after consideration of potential settlements, an attorney representative elects to file a
        contested lawsuit pursuant to 18 U.S.C. s 2255 or elects to pursue any other contested
        remedy, the paragraph 7 obligation of the Agreement to pay the costs of the attorney
        representative, as opposed to any statutory or other obligations to pay reasonable
        attorneys fees and costs such as those contained in s 2255 to bear the costs of the attorney
        representative, shall cease.
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 342 of 348
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 343 of 348
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 344 of 348
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 345 of 348




               EXHIBIT 5
             State Information
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 346 of 348




                   [Page Intentionally Left Blank]
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 347 of 348
Case 1:20-cr-00330-AJN Document 204-3 Filed 04/16/21 Page 348 of 348




                   [Page Intentionally Left Blank]
